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                                No. 23-10362

          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT

  ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION OF
 PRO-LIFE OBSTETRICIANS & GYNECOLOGISTS; AMERICAN COLLEGE OF
PEDIATRICIANS; CHRISTIAN MEDICAL & DENTAL ASSOCIATIONS; SHAUN
    JESTER, D.O.; REGINA FROST-CLARK, M.D.; TYLER JOHNSON, D.O.;
                       GEORGE DELGADO, M.D.,
                                       Plaintiffs-Appellees,
                                 v.

U.S. FOOD AND DRUG ADMINISTRATION; ROBERT M. CALIFF, Commissioner
of Food and Drugs; JANET WOODCOOK, M.D., in her official capacity as Principal
      Deputy Commissioner, U.S. Food and Drug Administration; PATRIZIA
CAVAZZONI, M.D., in her official capacity as Director, Center for Drug Evaluation
       and Research, U.S. Food and Drug Administration; UNITED STATES
   DEPARTMENT OF HEALTH AND HUMAN SERVICES; XAVIER BECERRA,
           Secretary, U.S. Department of Health and Human Services,
                                               Defendants-Appellants,

                        DANCO LABORATORIES, L.L.C.,
                                        Intervenor-Appellant.


              ADDENDUM TO EMERGENCY MOTION
                FOR A STAY PENDING APPEAL

                                           BRIAN M. BOYNTON
                                            Principal Deputy Assistant
                                            Attorney General
                                           LEIGHA SIMONTON
                                            United States Attorney
                                           SARAH E. HARRINGTON
                                            Deputy Assistant Attorney
                                            General
                                           MICHAEL S. RAAB
                                           CYNTHIA A. BARMORE
                                            Civil Division, Appellate Staff
                                            U.S. Department of Justice
                                            950 Pennsylvania Ave., NW
                                            Washington, DC 20530
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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION

 ALLIANCE FOR HIPPOCRATIC
 MEDICINE, et al.,

            Plaintiffs,

 v.                                                          2:22-CV-223-Z

 U.S. FOOD AND DRUG
 ADMINISTRATION, et al.,

            Defendants.

                          MEMORANDUM OPINION AND ORDER

       Before the Court is Plaintiffs’ Motion for Preliminary Injunction (“Motion”) (ECF No. 6), filed

on November 18, 2022. The Court GRANTS the Motion IN PART.

       BACKGROUND

       Over twenty years ago, the United States Food and Drug Administration (“FDA”) approved

chemical abortion (“2000 Approval”). The legality of the 2000 Approval is now before this Court.

Why did it take two decades for judicial review in federal court? After all, Plaintiffs’ petitions

challenging the 2000 Approval date back to the year 2002, right?

       Simply put, FDA stonewalled judicial review — until now. Before Plaintiffs filed this case,

FDA ignored their petitions for over sixteen years, even though the law requires an agency response

within “180 days of receipt of the petition.” 21 C.F.R. § 10.30(e)(2)). But FDA waited 4,971 days

to adjudicate Plaintiffs’ first petition and 994 days to adjudicate the second. See ECF Nos. 1-14,

1-28, 1-36, 1-44 (“2002 Petition,” “2019 Petition,” respectively). Had FDA responded to

Plaintiffs’ petitions within the 360 total days allotted, this case would have been in federal court

decades earlier. Instead, FDA postponed and procrastinated for nearly 6,000 days.




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        Plaintiffs are doctors and national medical associations that provide healthcare for pregnant and

post-abortive women and girls. Plaintiffs sued Defendants to challenge multiple administrative actions

culminating in the 2000 Approval of the chemical abortion regimen for mifepristone. ECF No. 1 at 2.

Mifepristone — also known as RU-486 or Mifeprex — is a synthetic steroid that blocks the hormone

progesterone, halts nutrition, and ultimately starves the unborn human until death. ECF No. 7 at 7–8.1

Because mifepristone alone will not always complete the abortion, FDA mandates a two-step drug

regimen: mifepristone to kill the unborn human, followed by misoprostol to induce cramping and

contractions to expel the unborn human from the mother’s womb. Id. at 8.

        In 1996, the Population Council2 filed a new drug application (“NDA”) with FDA for

mifepristone. ECF No. 1 at 35. Shortly thereafter, FDA reset the NDA from “standard” to “priority

review.” Id. In February 2000, FDA wrote a letter to the Population Council stating that “adequate

information ha[d] not been presented to demonstrate that the drug, when marketed in accordance

with the terms of distribution proposed, is safe and effective for use as recommended.” ECF No.

1-24 at 6 (emphasis added). FDA also noted the “restrictions on distribution will need to be

amended.” Id.




1
  Jurists often use the word “fetus” to inaccurately identify unborn humans in unscientific ways. The word “fetus”
refers to a specific gestational stage of development, as opposed to the zygote, blastocyst, or embryo stages.
See ROBERT P. GEORGE & CHRISTOPHER TOLLEFSEN, EMBRYO 27–56 (2008) (explaining the gestational stages of an
unborn human). Because other jurists use the terms “unborn human” or “unborn child” interchangeably, and because
both terms are inclusive of the multiple gestational stages relevant to the FDA Approval, 2016 Changes, and 2021
Changes, this Court uses “unborn human” or “unborn child” terminology throughout this Order, as appropriate.
2
  The Population Council was founded by John D. Rockefeller in 1952 after he convened a conference with
“population activists” such as Planned Parenthood’s director and several well-known eugenicists.
MATTHEW CONNELLY, FATAL MISCONCEPTION: THE STRUGGLE TO CONTROL WORLD POPULATION 156 (2008).
The conference attendees discussed “the problem of ‘quality.’” John D. Rockefeller, On the Origins of the
Population Council, 3 POPULATION AND DEV. REV. 493, 496 (1977). They concluded that “[m]odern civilization had
reduced the operation of natural selection by saving more ‘weak’ lives and enabling them to reproduce,” thereby
resulting in “a downward trend in . . . genetic quality.” Id.


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        Mere months later, FDA approved the chemical abortion regimen under Subpart H, commonly

known as “accelerated approval” and originally designed to expedite investigational HIV medications

during the AIDS epidemic.3 Subpart H accelerates approval of drugs “that have been studied for their

safety and effectiveness in treating serious or life-threatening illnesses and that provide meaningful

therapeutic benefit to patients over existing treatments (e.g., ability to treat patients unresponsive to, or

intolerant of, available therapy, or improved patient response over available therapy).” 21 C.F.R.

§ 314.500.

        FDA then imposed post-approval restrictions “to assure safe use.” See 21 C.F.R. § 314.520.

These restrictions were later adopted when Subpart H was codified as a Risk Evaluation and Mitigation

Strategy (“REMS”) “to ensure that the benefits of the drug outweigh the risks.” 21 U.S.C. § 355-1(a)(1)–

(2). The drugs were limited to women and girls with unborn children aged seven-weeks gestation

or younger. ECF No. 7 at 9. FDA also required three (3) in-person office visits: the first to

administer mifepristone, the second to administer misoprostol, and the third to assess any

complications and ensure there were no fetal remains in the womb. Id. Additionally, abortionists

were required to be properly trained to administer the regimen and to report all adverse events

from the drugs. Id.

        Plaintiffs American Association of Pro-Life Obstetricians & Gynecologists (“AAPLOG”)

and Christian Medical & Dental Associations filed the 2002 Petition with FDA challenging the

2000 Approval. Id. In 2006, the U.S. House Subcommittee on Criminal Justice, Drug Policy, and

Human Resources expressed the same concerns and held a hearing to investigate FDA’s handling




3
  See, e.g., Jessica Holden Kloda & Shahza Somerville, FDA’s Expedited Review Process: The Need for Speed, 35
APPLIED CLINICAL TRIALS 17, 17–18 (2015) (“In 1992, in response to a push by AIDS advocates to make the
investigational anti-AIDS drug azidothymidine (AZT) accessible, the FDA enacted ‘Subpart H’ commonly referred
to as accelerated approval; giving rise to expedited review of drugs by the FDA.”).


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of mifepristone and its subsequent monitoring of the drug. 4 Then-Chairman Souder remarked that

mifepristone was “associated with the deaths of at least 8 women, 9 life-threatening incidents, 232

hospitalizations, 116 blood transfusions, and 88 cases of infection.” 5 Additionally, Chairman

Souder noted “more than 950 adverse event cases” associated with mifepristone “out of only

575,000 prescriptions, at most.” 6 The subsequent Staff Report concluded that FDA’s approval and

monitoring of mifepristone was “substandard and necessitates the withdrawal of this dangerous

and fatal product before more women suffer the known and anticipated consequences or

fatalities.” 7 The report stated the “unusual approval” demonstrated a lower standard of care for

women, “and [mifepristone’s] withdrawal from the market is justified and necessary to protect the

public’s health.” 8

           FDA rejected the 2002 Petition on March 29, 2016 — nearly fourteen years after it was

filed. ECF No. 7 at 9. That same day, FDA approved several changes to the chemical abortion

drug regimen, including the removal of post-approval safety restrictions for pregnant women and

girls. Id. at 10. FDA increased the maximum gestational age from seven-weeks gestation to

ten-weeks gestation. Id. And FDA also: (1) changed the dosage for chemical abortion; (2) reduced

the number of required in-person office visits from three to one; (3) allowed non-doctors to

prescribe and administer chemical abortions; and (4) eliminated the requirement for prescribers to

report non-fatal adverse events from chemical abortion. Id.


4
 See The FDA and RU-486: Lowering the Standard for Women’s Health: Hearing Before the Subcomm. on Crim.
Just., Drug Pol’y, & Hum. Res. of the H. Comm. on Gov’t Reform, 109th Cong. 3 (2006) (“Subcommittee Report”).

5
 The transcript of the hearing before the House Subcommittee is available at https://www.govinfo.gov/content/pkg/
CHRG-109hhrg31397/html/CHRG-109hhrg31397.htm.
6
    Id.
7
    Subcommittee Report at 40.
8
    Id.


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       In March 2019, Plaintiffs AAPLOG and American College of Pediatricians filed the 2019

Petition challenging FDA’s 2016 removal of safety restrictions. Id. On April 11, 2019, FDA

approved GenBioPro, Inc.’s abbreviated new drug application (“ANDA”) for a generic version of

mifepristone without requiring or reviewing new peer-reviewed science (“2019 Generic

Approval”). Id. Two years later, on April 12, 2021, FDA announced it would “exercise

enforcement discretion” to allow “dispensing of mifepristone through the mail . . . or through a

mail-order pharmacy” during the COVID pandemic — notwithstanding the nearly 150-year-old

Comstock Act banning the mailing of “[e]very article, instrument, substance, drug, medicine or

thing” that produces “abortion.” Id. Finally, on December 16, 2021, FDA denied most of Plaintiff’s

2019 Petition. Id. at 11. Specifically, FDA expressly rejected the 2019 Petition’s request to keep

the in-person dispensing requirements and announced that the agency would permanently allow

chemical abortion by mail. Id.

       After Plaintiffs filed suit, Danco Laboratories, LLC (“Danco”) — the holder of the NDA for

mifepristone — moved to intervene as a defendant. ECF No. 19. On February 6, 2023, this Court

granted Danco’s motion. ECF No. 33. Plaintiffs now seek a preliminary injunction ordering

Defendants to withdraw or suspend: (1) FDA’s 2000 Approval and 2019 Approval of mifepristone

tablets, 200 mg, thereby removing both from the list of Approved Drugs; (2) FDA’s 2016 Changes

and 2019 Generic Approval; and (3) FDA’s April 12, 2021, Letter and December 16, 2021,

Response to the 2019 Petition concerning the in-person dispensing requirement for mifepristone.

ECF No. 7 at 12. Additionally, Plaintiffs seek to enjoin Defendants from taking actions

inconsistent with these orders. Id.




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        LEGAL STANDARD

        A court may issue a preliminary injunction when a movant satisfies the following four

factors: (1) a substantial likelihood of success on the merits; (2) a substantial threat of irreparable

harm if the injunction does not issue; (3) the threatened injury outweighs any harm that will result

if the injunction is granted; and (4) the grant of an injunction is in the public interest. See Louisiana

v. Becerra, 20 F.4th 260, 262 (5th Cir. 2021). “The purpose of a preliminary injunction is always

to prevent irreparable injury so as to preserve the court’s ability to render a meaningful decision

on the merits.” Canal Auth. of State of Fla. v. Callaway, 489 F.2d 567, 576 (5th Cir. 1974).

The same standards apply “to prevent irreparable injury” under the Administrative Procedure Act

(“APA”). See 5 U.S.C. § 705; Wages & White Lion Invs., L.L.C. v. U.S. Food & Drug Admin., 16

F.4th 1130, 1143 (5th Cir. 2021).

        ANALYSIS

        A. Plaintiffs Have Standing

        The judicial power of federal courts is limited to certain “Cases” and “Controversies.”

U.S. CONST. art. III, § 2. The case-or-controversy requirement requires a plaintiff to establish he

has standing to sue. See Cibolo Waste, Inc. v. City of San Antonio, 718 F.3d 469, 473 (5th Cir.

2013). To have standing, the party invoking federal jurisdiction must show: “(i) that he suffered

an injury in fact that is concrete, particularized, and actual or imminent; (ii) that the injury was

likely caused by the defendant; and (iii) that the injury would likely be redressed by judicial relief.”

TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021). Courts should assess whether the

alleged injury to the plaintiff has a “close relationship” to harm “traditionally” recognized as

providing a basis for a lawsuit in American courts. Id. at 2204. “[S]tanding is not dispensed in




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gross; rather, plaintiffs must demonstrate standing for each claim that they press and for each form

of relief that they seek (for example, injunctive relief and damages).” Id. at 2208.

         1. Plaintiff Medical Associations have Associational Standing

         “An association or organization can establish an injury-in-fact through either of two

theories, appropriately called ‘associational standing’ and ‘organizational standing.’” OCA-

Greater Hous. v. Texas, 867 F.3d 604, 610 (5th Cir. 2017). Under a theory of “associational

standing,” an association “has standing to bring a suit on behalf of its members when its members

would otherwise have standing to sue in their own right, the interests at stake are germane to the

organization’s purpose, and neither the claim asserted nor the relief requested requires the

participation of individual members in the lawsuit.” Tex. Ass’n of Mfrs. v. U.S. Consumer Prod.

Safety Comm’n, 989 F.3d 368, 377 (5th Cir. 2021) (quoting Friends of the Earth, Inc. v. Laidlaw

Env’t Servs. (TOC), Inc., 528 U.S. 167, 181 (2000)).

         Here, the associations’ members have standing because they allege adverse events from

chemical abortion drugs can overwhelm the medical system and place “enormous pressure and

stress” on doctors during emergencies and complications. 9 ECF No. 7 at 14. These emergencies

“consume crucial limited resources, including blood for transfusions, physician time and attention,

space in hospital and medical centers, and other equipment and medicines.” ECF No. 1-5 at 9. This

is especially true in maternity-care “deserts” — geographical areas with limited physician

availability. Id. These emergencies force doctors into situations “in which they feel complicit in

the elective chemical abortion by needing to remove a baby with a beating heart or pregnancy




9
  See James Studnicki et al., A Longitudinal Cohort Study of Emergency Room Utilization Following Mifepristone
Chemical and Surgical Abortions, 1999-2015, 8 HEALTH SERV. RSCH. MGMT. EPIDEMIOLOGY 8 (2021) (“ER visits
following mifepristone abortion grew from 3.6% of all postabortion visits in 2002 to 33.9% of all postabortion visits
in 2015. The trend toward increasing use of mifepristone abortion requires all concerned with health care utilization
to carefully follow the ramifications of ER utilization.”).


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tissue as the only means to save the life of the woman or girl.” ECF No. 1 at 85. Members of

Plaintiff medical associations “oppose being forced to end the life of a human being in the womb

for no medical reason, including by having to complete an incomplete elective chemical abortion.”

Id. at 86; see also Texas v. Becerra, No. 5:22-CV-185-H, 2022 WL 3639525, at *12 (N.D. Tex.

Aug. 23, 2022) (unwanted participation in elective abortions is cognizable under Article III).

       Plaintiffs also argue the challenged actions “prevent Plaintiff doctors from practicing

evidence-based medicine” and have caused Plaintiffs to face increased exposure to allegations of

malpractice and potential liability, along with higher insurance costs. ECF No. 7 at 15. The lack

of information on adverse events “harms the doctor-patient relationship” because women and girls

are prevented from giving informed consent to providers. Id.; see also American Medical

Association Code of Medical Ethics, Opinion 2.1.1: Informed Consent (informed consent is

“fundamental in both ethics and law”). To obtain informed consent, physicians must “[a]ssess the

patient’s ability to understand relevant medical information” and present to their patient “relevant

information accurately and sensitively,” including the burdens and risks of the procedure. Id.

       Women also perceive the harm to the informed-consent aspect of the physician-patient

relationship. In one study, fourteen percent of women and girls reported having received

insufficient information about (1) side effects, (2) the intensity of the cramping and bleeding,

(3) the next steps after expelling the aborted human, and (4) potential negative emotional reactions

like fear, uncertainty, sadness, regret, and pain. See Katherine A. Rafferty & Tessa Longbons,

#AbortionChangesYou: A Case Study to Understand the Communicative Tensions in Women’s

Medication      Abortion     Narratives,     36       HEALTH     COMMC’N.       1485,      1485–94

(2021). Plaintiff physicians’ lack of pertinent information on chemical abortion harms their

physician-patient relationships because they cannot receive informed consent from the women and




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girls they treat in their clinics. Plaintiffs allege these actions have “radically altered the standard

of care.” ECF No. 1-6 at 7.

         Additionally, Plaintiff medical associations have associational standing via their members’

third-party standing to sue on behalf of their patients. See N.Y. State Club Ass’n, Inc. v. City of

New York, 487 U.S. 1, 9 (1988) (“It does not matter what specific analysis is necessary to determine

that the members could bring the same suit.”); Pa. Psychiatric Soc. v. Green Spring Health Servs.,

Inc., 280 F.3d 278, 293 (3d Cir. 2002) (“So long as the association’s members have or will suffer

sufficient injury to merit standing and their members possess standing to represent the interests of

third-parties, then associations can advance the third-party claims of their members without

suffering injuries themselves.”); Ohio Ass’n of Indep. Schs. v. Goff, 92 F.3d 419, 422 (6th Cir.

1996) (associational standing via member schools’ third-party standing to assert constitutional

rights of parents to direct their children’s education); 13A Charles Alan Wright & Arthur R. Miller,

Federal Practice and Procedure § 3531.9.3 (3d ed. 2022) (“Doctors regularly achieve standing to

protect the rights of patients and their own related professional rights.”).

         The requirements for third-party standing are met here because: (1) the patients have

“endure[d] many intense side effects and suffer[ed] significant complications requiring medical

attention” and “suffer distress and regret”; 10 (2) the patients have a “close relation” to the physician

members of the Plaintiff medical associations; and (3) “some hindrance” exists to the patients’

ability to protect their interests. See ECF No. 7 at 13; Powers v. Ohio, 499 U.S. 400, 410–11

(1991); Singleton v. Wulff, 428 U.S. 106, 117 (1976) (women seeking abortions may be chilled

“by a desire to protect the very privacy of [their] decision from the publicity of a court suit”);



10
  Cf. TransUnion, 141 S. Ct. at 2211 (“Nor did those plaintiffs present evidence that . . . they suffered some other
injury (such as an emotional injury)”); Denney v. Deutsche Bank AG, 443 F.3d 253, 265 (2d Cir. 2006).



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Pa. Psychiatric, 280 F.3d at 290 (“[A] party need not face insurmountable hurdles to warrant third-

party standing.”). The injuries suffered by patients of the Plaintiff medical associations’ members

are sufficient to confer associational standing.

       Here, the physician-patient dynamic favors third-party standing. Unlike abortionists suing

on behalf of women seeking abortions, here there are no potential conflicts of interest between the

Plaintiff physicians and their patients. See June Med. Servs. L.L.C. v. Russo, 140 S. Ct. 2103, 2167

(2020) (Alito, J., dissenting), abrogated by Dobbs v. Jackson Women’s Health Org., 142 S. Ct.

2228 (2022) (abortionists have a “financial interest in avoiding burdensome regulations,” while

women seeking abortions “have an interest in the preservation of regulations that protect their

health”). And the case for a close physician-patient relationship is even stronger here than in the

abortion context. See id. at 2168 (“[A] woman who obtains an abortion typically does not develop

a close relationship with the doctor who performs the procedure. On the contrary, their relationship

is generally brief and very limited.”); see also ECF No. 1-9 at 7 (“[I]n many cases there is no

doctor-patient relationship [between a woman and an abortionist], so [women] often present to

overwhelmed emergency rooms in their distress, where they are usually cared for by physicians

other than the abortion prescriber.”); ECF No. 1-11 at 4 (because there “is no follow-up or

additional care provided to patients” by abortionists, there is “no established relationship with a

physician” and “patients are simply left to report to the emergency room”). Plaintiff physicians

often spend several hours treating post-abortive women, even hospitalizing them overnight or

providing treatment throughout several visits. See ECF No. 1-8 at 5–6. Given the Supreme Court’s

jurisprudence on the close relationship between abortionists and women, the facts of this case

indicate that Plaintiffs’ relationships with their patients are at least as close — if not closer — for

purposes of third-party standing.




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          Finally, women who have already obtained an abortion may be more hindered than women

who challenge restrictions on abortion. Women who have aborted a child — especially through

chemical abortion drugs that necessitate the woman seeing her aborted child once it passes — often

experience shame, regret, anxiety, depression, drug abuse, and suicidal thoughts because of the

abortion. See ECF No. 96 at 25; David C. Reardon et al., Deaths Associated with Pregnancy

Outcome: A Record Linkage Study of Low Income Women, 95 S. MED. J. 834, 834–41 (2002)

(women who receive abortions have a 154% higher risk of death from suicide than if they gave

birth, with persistent tendencies over time and across socioeconomic boundaries, indicating “self-

destructive tendencies, depression, and other unhealthy behavior aggravated by the abortion

experience”); Priscilla K. Coleman, Abortion and Mental Health: Quantitative Synthesis and

Analysis of Research Published 1995–2009, 199 BRITISH J. PSYCHIATRY 180, 180–86 (2011)

(same). Subsequently, in addition to the typical privacy concerns present in third-party standing in

abortion cases, adverse abortion experiences that are often deeply traumatizing pose a hindrance

to a woman’s ability to bring suit. In short, Plaintiffs — rather than their patients — are most likely

the “least awkward challenger[s]” to Defendants’ actions. Craig v. Boren, 429 U.S. 190, 197

(1976).

          2. Plaintiff Medical Associations have Organizational Standing

          “‘[O]rganizational standing’ does not depend on the standing of the organization’s

members.” OCA, 867 F.3d at 610. The organization can establish standing in its own name if it

“meets the same standing test that applies to individuals.” Id. (internal marks omitted).

An organization can have standing if it has “proven a drain on its resources resulting from

counteracting the effects of the defendant’s actions.” La. ACORN Fair Hous. v. LeBlanc, 211 F.3d

298, 305 (5th Cir. 2000); see also Zimmerman v. City of Austin, Tex., 881 F.3d 378, 390 (5th Cir.




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2018) (changing one’s “plans or strategies in response to an allegedly injurious law can itself be a

sufficient injury to confer standing”). “Such concrete and demonstrable injury to the organization’s

activities—with the consequent drain on the organization’s resources—constitutes far more than

simply a setback to the organization’s abstract social interests.” Havens Realty Corp. v. Coleman,

455 U.S. 363, 379 (1982) (internal marks omitted).

           One way an organization can establish standing is by “identifying specific projects that [it]

had to put on hold or otherwise curtail in order to respond to the [challenged action].” Tex. State

LULAC v. Elfant, 52 F.4th 248, 253 (5th Cir. 2022) (internal marks omitted). This is “not a

heightening of the Lujan standard, 11 but an example of how to satisfy it by pointing to a non-

litigation-related expense.” OCA, 867 F.3d at 612. Plaintiffs “need not identify specific projects

that they have placed on hold or otherwise curtailed.” 12 La Unión del Pueblo Entero v. Abbott, No.

5:21-CV-0844-XR, 2022 WL 3052489, at *31 (W.D. Tex. Aug. 2, 2022). Rather, this is simply

the “most secure foundation” to establish organizational standing. 13A Charles Alan Wright &

Arthur R. Miller, Federal Practice and Procedure § 3531.9.5 (3d ed. 2022). Furthermore, “‘[a]t

the pleading stage,’ we ‘liberally’ construe allegations of injury.” Bezet v. United States, 714 Fed.

Appx. 336, 339 (5th Cir. 2017) (quoting Little v. KPMG LLP, 575 F.3d 533, 540 (5th Cir. 2009)).

           Here, Plaintiff medical associations have standing via diversionary injury. Because of

FDA’s failure to require reporting of all adverse events, Plaintiffs allege FDA’s actions have

frustrated their ability to educate and inform their member physicians, their patients, and the public

on the dangers of chemical abortion drugs. ECF No. 7 at 12. As a result, Plaintiffs attest they have


11
     See Lujan v. Defs. of Wildlife, 504 U.S. 555 (1992).
12
   At the hearing, Danco argued Elfant held there was no standing where organizations failed to identify specific
projects put on hold. ECF No. 136 at 125. This is incorrect. The Fifth Circuit in Elfant assumed without deciding the
plaintiffs pled an injury-in-fact but held they did not have standing because the causation and redressability elements
were not met. See 52 F.4th at 255.



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diverted valuable resources away from advocacy and educational efforts to compensate for the

lack of information. See ECF No. 1 at 91. Such diversions expend considerable time, energy, and

resources, to the detriment of other priorities and functions and impair Plaintiffs’ ability to carry

out their educational purpose. Id. at 92; N.A.A.C.P. v. City of Kyle, Tex., 626 F.3d 233, 238 (5th

Cir. 2010). 13 Similarly, Plaintiffs allege their efforts to respond to FDA’s actions have “tak[en]

them away from other priorities such as fundraising and membership recruitment and retention.”

ECF Nos. 1-4 at 6, 1-5 at 11. Consequently, Plaintiffs have re-calibrated their outreach efforts to

spend extra time and money educating their members about the dangers of chemical abortion

drugs. Combined, these facts are sufficient to confer organizational standing. See OCA, 867 F.3d

at 612 (finding organizational standing even where the injury “was not large”); Fowler, 178 F.3d

at 356 (injuries in fact “need not measure more than an ‘identifiable trifle’”) (internal

marks omitted).

         3. Plaintiffs’ alleged Injuries are Concrete and Redressable

         Defendants contend that Plaintiffs’ theories of standing “depend upon layer after layer of

speculation.” ECF No. 28 at 20. But Plaintiffs allege FDA’s chemical abortion regimen “caused”

intense side effects and significant complications for their patients requiring medical intervention

and attention. ECF No. 7 at 13; see id. (“The harms that the FDA has wreaked on women and girls

have also injured, and will continue to injure, Plaintiff doctors and their medical practices.”); id. at

14 (“The FDA’s actions have placed enormous pressure and stress on Plaintiff doctors during these



13
   It is true that Plaintiffs must allege their activities in response to the challenged actions differ from their “routine”
activities. See, e.g., City of Kyle, 626 F.3d at 238. But Plaintiffs have done so. For example, Plaintiffs argue they
conducted independent studies and analyses of available data to the detriment of their advocacy, educational, and
recruitment efforts. ECF No. 1-8 at 8. The Fifth Circuit has found diversionary injuries to constitute injuries-in-fact
even where it was less clear the plaintiffs diverted from routine activities. See Ass’n of Cmty. Orgs. for Reform Now
v. Fowler, 178 F.3d 350, 360 (5th Cir. 1999) (injury-in-fact where organization regularly conducted voter
registration drives and “expended resources registering voters in low registration areas who would have already been
registered” if not for the challenged actions).


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emergency situations.”); id. at 15 (“The FDA has caused Plaintiff doctors to face increased

exposure to allegations of malpractice and potential liability, along with higher insurance costs.”).

In fact, Plaintiffs’ declarations list specific events where Plaintiff physicians provided emergency

care to women suffering from chemical abortion. See ECF Nos. 1-8 at 5–6, 1-9 at 4–9, 1-10 at 6–

7, 1-11 at 5–6. And Defendants even concede the existence of adverse events related to chemical

abortion drugs. See ECF No. 28 at 21. Consequently, Defendants misconstrue Plaintiffs’ pleadings

and mischaracterize Plaintiffs’ evidence as “speculative.” It is not.

       Past injuries thus distinguish this case from Clapper v. Amnesty Int’l USA, where the

Supreme Court held a “threatened injury must be certainly impending to constitute injury in fact.”

568 U.S. 398, 410 (2013) (quoting Whitmore v. Arkansas, 495 U.S. 149, 157–58 (1990)). Were

there no past injuries in this case, the alleged future harms are still less attenuated than those in

Clapper. See id. (finding “a highly attenuated chain of” five separate possibilities needed to align

for the alleged harm to occur); McCardell v. U.S. Dep’t of Hous. & Urb. Dev., 794 F.3d 510, 520

(5th Cir. 2015) (“[U]nlike in Clapper, where the alleged injury depended on a long and tenuous

chain of contingent events, the chain-of-events framework in this case involves fewer steps and no

unfounded assumptions.”) (internal marks omitted). See also ECF No. 1-31 at 10 (roughly eight

percent of women who use abortion pills will require surgical abortion); ECF No. 1-14 at 23

(discussing a study in which 18.3 percent of women required surgical intervention after chemical

abortion). And as post-Whitmore cases have demonstrated, the “certainly impending” standard for

an “imminent” injury is not as demanding as it sounds. See TransUnion, 141 S. Ct. at 2197

(material risk of future harm can suffice “so long as the risk of harm is sufficiently imminent and

substantial”); Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014) (“An allegation of

future injury may suffice if the threatened injury is ‘certainly impending,’ or there is a ‘substantial




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risk’ that the harm will occur.”) (emphasis added); Clapper, 568 U.S. at 414 n.5; Massachusetts v.

E.P.A., 549 U.S. 497, 526 n.23 (2007) (“Even a small probability of injury is sufficient . . . provided

of course that the relief sought would, if granted, reduce the probability.”); Deanda v. Becerra,

No. 2:20-CV-092-Z, 2022 WL 17572093, at *2 (N.D. Tex. Dec. 8, 2022) (collecting cases). 14

         For similar reasons, Defendants’ reliance on City of Los Angeles v. Lyons also fails.

461 U.S. 95 (1983). There, the Supreme Court held Lyons did not have standing to seek injunctive

relief because “[t]here was no finding that Lyons faced a real and immediate threat of again being

illegally choked” by Los Angeles police. Id. at 110. The Lyons holding “is based on the obvious

proposition that a prospective remedy will provide no relief for an injury that is, and likely will

remain, entirely in the past.” Am. Postal Workers Union v. Frank, 968 F.2d 1373, 1376 (1st Cir.

1992). “No such reluctance, however, is warranted here.” Hernandez v. Cremer, 913 F.2d 230,

234 (5th Cir. 1990). Considering FDA’s 2021 decision to permit “mail-in” chemical abortion,

many women and girls will consume mifepristone without physician supervision. And in

maternity-care “deserts,” women may not have ready access to emergency care. In sum, there are

fewer safety restrictions for women and girls today than ever before. Plaintiffs have good reasons

to believe their alleged injuries will continue in the future, and possibly with greater frequency

than in the past.




14
  Defendants’ reliance on Spokeo, Inc. v. Robins is also unavailing. 578 U.S. 330 (2016). Courts should indeed
assess whether the alleged injury to the plaintiff has a “close relationship” to harm “traditionally” recognized as the
basis for a lawsuit in American courts. See TransUnion, 141 S. Ct. at 2204. But “a plaintiff doesn’t need to
demonstrate that the level of harm he has suffered would be actionable under a similar, common-law cause of
action.” Perez v. McCreary, Veselka, Bragg & Allen, P.C., 45 F.4th 816, 822 (5th Cir. 2022). Rather, Plaintiffs only
need to show the type of harm allegedly suffered “is similar in kind to a type of harm that the common law has
recognized as actionable.” Id.; see also Campaign Legal Ctr. v. Scott, 49 F.4th 931, 940 (5th Cir. 2022) (Ho., J,
concurring) (evidence of injury required by TransUnion is not burdensome). Harm resulting from unsafe drugs is
similar to harm actionable under the common law.


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        Defendants next argue Plaintiffs’ theories depend on “unfettered choices made by

independent actors not before the courts and whose exercise of broad and legitimate discretion the

courts cannot presume either to control or to predict.” ECF No. 28 at 20 (quoting Lujan, 504 U.S.

at 562). “[A] plaintiff must allege personal injury fairly traceable to the defendant’s allegedly

unlawful conduct and likely to be redressed by the requested relief.” Allen v. Wright, 468 U.S. 737,

751 (1984), abrogated on other grounds by Lexmark Int’l, Inc. v. Static Control Components, Inc.,

572 U.S. 118, 134 (2014); see also Simon v. E. Ky. Welfare Rts. Org., 426 U.S. 26, 41–42 (1976)

(“In other words, the ‘case or controversy’ limitation of Art. III still requires that a federal court

act only to redress injury that fairly can be traced to the challenged action of the defendant, and

not injury that results from the independent action of some third party not before the court.”).

        In this case, a favorable decision would likely relieve Plaintiffs of at least some of the

injuries allegedly caused by FDA. See Larson v. Valente, 456 U.S. 228, 243 n.15 (1982)

(“[Plaintiffs] need not show that a favorable decision will relieve [their] every injury.”); Duke

Power Co. v. Carolina Env’t Study Grp., Inc., 438 U.S. 59, 74–75 (1978) (a “substantial

likelihood” of the requested relief redressing the alleged injury is enough); Sanchez v. R.G.L., 761

F.3d 495, 506 (5th Cir. 2014) (a plaintiff “need only show that a favorable ruling could potentially

lessen its injury”); Texas v. Becerra, 577 F. Supp. 3d 527, 560 (N.D. Tex. 2021) (“That the

plaintiffs have brought forth specific evidence and examples of how they will be harmed . . .

distinguishes this case from others where a third party’s actions might have hurt the plaintiff.”).

And redressability is satisfied even if relief must filter downstream through third parties uncertain

to comply with the result, provided the relief would either: (1) remove an obstacle for a nonparty

to act in a way favorable to the plaintiff; or (2) influence a nonparty to act in such a way. See, e.g.,

Dep’t of Com. v. New York, 139 S. Ct. 2551, 2565–66 (2019) (“[T]hird parties will likely react in




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predictable ways.”); Bennett v. Spear, 520 U.S. 154, 169 (1997) (defendants’ actions need not be

“the very last step in the chain of causation”); Larson, 456 U.S. at 242–44; NiGen Biotech, L.L.C.

v. Paxton, 804 F.3d 389, 396–98 (5th Cir. 2015). Therefore, Plaintiffs’ alleged injuries are fairly

traceable to Defendants and redressable by a favorable decision.

       4. Plaintiffs are within the “Zone of Interests”

       Plaintiffs are also within the zone of interests of the Federal Food, Drug, and Cosmetic Act

(“FFDCA”) and the Comstock Act. Plaintiffs suing under the APA must assert an interest that is

“arguably within the zone of interests to be protected or regulated by the statute that they say was

violated.” Texas v. United States, 809 F.3d 134, 162 (5th Cir. 2015) (internal marks omitted).

The zone-of-interests test “is not meant to be especially demanding” and is applied “in keeping

with Congress’s evident intent when enacting the APA to make agency action presumptively

reviewable.” Id. (internal marks omitted). The zone-of-interests test “looks to the law’s substantive

provisions to determine what interests (and hence which plaintiffs) are protected.” Simmons v.

UBS Fin. Servs., Inc., 972 F.3d 664, 669 (5th Cir. 2020). “That interest, at times, may reflect

aesthetic, conservational, and recreational as well as economic values.” Ass’n of Data Processing

Serv. Orgs., Inc. v. Camp, 397 U.S. 150, 154 (1970).

       A federal court’s obligation to hear and decide cases within its jurisdiction is “virtually

unflagging.” Lexmark, 572 U.S. at 126 (internal marks omitted). And “the trend is toward

enlargement of the class of people who may protest administrative action.” Camp, 397 U.S. at 154.

No “explicit statutory provision” is necessary to confer standing. Id. at 155. “The test forecloses

suit only when a plaintiff’s interests are so marginally related to or inconsistent with the purposes

implicit in the statute that it cannot reasonably be assumed that Congress intended to permit the

suit.” Texas v. United States, 809 F.3d at 162 (internal marks omitted). In other words, “[t]here is




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no presumption against judicial review and in favor of administrative absolutism unless that

purpose is fairly discernible in the statutory scheme.” Camp, 397 U.S. at 157 (internal marks

omitted); see also Barlow v. Collins, 397 U.S. 159, 165 (1970) (courts “must decide if Congress

has in express or implied terms precluded judicial review or committed the challenged action

entirely to administrative discretion”).

       Defendants argue that Plaintiffs identify no particular provision of the FFDCA protecting

their interests. ECF No. 28 at 26. But Plaintiffs’ interests are not “marginally related” to the

purposes implicit in the FFDCA. The statute’s substantive provisions protect the safety of

physicians’ patients and the integrity of the physician-patient relationship. See generally 21 U.S.C.

§ 355. Furthermore, this Court finds Plaintiffs have third-party standing on behalf of their patients.

Plaintiffs’ patients are within the zone of interest of the FFDCA because patients seek safe and

effective medical procedures.

       Likewise, Plaintiffs are within the zone of interests of the Comstock Act. This statute

“indicates a national policy of discountenancing abortion as inimical to the national life.” Bours v.

United States, 229 F. 960, 964 (7th Cir. 1915); see also Bolger v. Youngs Drug Prods. Corp., 463

U.S. 60, 71 n.19 (1983) (the “thrust” of the Comstock Act was “to prevent the mails from being

used to corrupt the public morals”). There is no evidence that Congress “sought to preclude judicial

review of administrative rulings” by FDA “as to the legitimate scope of activities” available

concerning chemical abortion drugs under these statutes. Camp, 397 U.S. at 157. For all the

aforementioned reasons, Plaintiffs have standing.

       B. Plaintiffs’ Claims Are Reviewable

       Defendants aver that “[a]ll of Plaintiffs’ claims are untimely or unexhausted except their

challenge to FDA’s December 16, 2021, response to the 2019 citizen petition.” ECF No. 28 at 26.




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This includes Plaintiffs’ challenges to: (1) the 2000 Approval and FDA’s 2016 Response to the

2002 Petition challenging that approval; (2) the 2019 Generic Approval; and (3), the April 2021

letter. As for FDA’s December 2021 Response to the 2019 Petition, Defendants maintain review

is limited to the narrow issues presented in the 2019 Petition — which did not include arguments

concerning the Comstock Act. Id. at 27–28. 15 The Court disagrees with each of these arguments.

        1. FDA “Reopened” its Decision in 2016 and 2021

        FDA’s final decision on a citizen petition constitutes “final agency action” under the APA.

21 C.F.R. § 10.45(c). Challenges to agency actions have a six-year statute of limitations period.

See 28 U.S.C. § 2401(a). Therefore, the statute of limitations for challenging the 2000 Approval

began running on March 29, 2016 — the date of FDA’s denial of the 2002 Petition. Because the

2016 Denial of the 2002 Petition occurred more than six years before Plaintiffs filed this suit,

Defendants argue the challenge is untimely. ECF No. 28 at 26. But if “the agency opened the issue

up anew, and then reexamined and reaffirmed its prior decision,” the agency’s second action —

rather than the original decision — starts the limitations period. See Texas v. Biden, 20 F.4th 928,

951 (5th Cir. 2021), rev’d in part on other grounds, 142 S. Ct. 2528 (2022).

        The reopening doctrine arises “where an agency conducts a rulemaking or adopts a policy

on an issue at one time, and then in a later rulemaking restates the policy or otherwise addresses

the issue again without altering the original decision.” 16 Wash. All. of Tech. Workers v. U.S. Dep’t

of Homeland Sec., 892 F.3d 332, 345 (D.C. Cir. 2018); see also Nat’l Biodiesel Bd. v. EPA, 843

F.3d 1010, 1017 (D.C. Cir. 2016) (“The reopener doctrine allows an otherwise untimely challenge



 The Court refers to the 2000 Approval, the 2016 Changes and denial of the 2002 Petition, and the 2019 Generic
15

Approval collectively as FDA’s “Pre-2021 Actions.” Similarly, the Court refers to FDA’s April 2021 letter and
December 2021 Response as FDA’s “2021 Actions.”
16
  Courts have even applied the doctrine where agencies decide not to engage in rulemaking and then revisit and
reaffirm that decision. See Pub. Citizen v. Nuclear Regul. Comm’n, 901 F.2d 147, 152 (D.C. Cir. 1990).


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to proceed where an agency has — either explicitly or implicitly — undertaken to reexamine its

former choice.”) (internal marks omitted); CTIA-Wireless Ass’n v. F.C.C., 466 F.3d 105, 112 (D.C.

Cir. 2006) (agency “reconsidered” policy by reaffirming policy and offering “two new

justifications” not found in prior orders).

       In the rulemaking context, courts have identified four non-exhaustive factors to apply the

doctrine where the agency: (1) proposed to make some change in the rules or policies; (2) called

for comment on new or changed provisions, but at the same time; (3) explained the unchanged,

republished portions; and (4) responded to at least one comment aimed at the previously decided

issue. Tripoli Rocketry Ass’n, Inc. v. U.S. Bureau of Alcohol, Tobacco & Firearms, No.

00CV0273(RBW), 2002 WL 33253171, at *6 (D.D.C. June 24, 2002) (internal marks omitted).

But a court “cannot stop there” — it “must look to the entire context of the rulemaking including

all relevant proposals and reactions of the agency to determine whether an issue was in fact

reopened.” Pub. Citizen, 901 F.2d at 150. For example, an agency can reopen a prior action if it

removes restrictions or safeguards related to the first action or affects a “sea change” in the

regulatory scheme. See Sierra Club v. EPA, 551 F.3d 1019, 1025 (D.C. Cir. 2008); Nat’l Biodiesel,

843 F.3d at 1017 (declining to apply doctrine when “the basic regulatory scheme remain[ed]

unchanged”); Pub. Citizen, 901 F.2d at 152 (agency reopens decision when it reiterates a policy in

such a way as to render the policy “subject to renewed challenge on any substantive grounds”).

       In the adjudication context, an agency need not solicit or respond to comments to reopen a

decision because adjudication does not require notice and comment procedures. See 5 U.S.C. §§

553(c), 554. The reopening doctrine has been applied in the adjudication context where an agency

undertakes a “serious, substantive reconsideration” of “a prior administrative decision.”

Chenault v. McHugh, 968 F. Supp. 2d 268, 275 (D.D.C. 2013); see also Battle v. Sec’y U.S. Dep’t




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of Navy, 757 Fed. Appx. 172, 175 (3d Cir. 2018) (a petition for reconsideration can restart Section

2401(a)’s limitation period if the agency reopens the action based on a finding of “new evidence”

or that the petition reflects some “changed circumstances”); Peavey v. United States, 128 F. Supp.

3d 85, 100 (D.D.C. 2015), aff’d, No. 15-5290, 2016 WL 4098768 (D.C. Cir. 2016) (reopening in

2011 occurred where agency “elected to conduct a substantive review” of servicemember’s 1968

application to correct military records). For formal agency adjudications, even an order stating

“only that it is denying reconsideration” is not conclusive if the agency has “altered its original

decision.” Sendra Corp. v. Magaw, 111 F.3d 162, 167 (D.C. Cir. 1997).

        The standard for reopening is satisfied here. FDA’s requirements for distribution in its 2000

Approval originally included:

              In-person dispensing from the doctor to the patient;

              Secure shipping procedures;

              Tracking system ability;

              Use of authorized distributors and agents; and

              Provision of the drug through direct, confidential physician distribution systems that
               ensures only qualified physicians will receive the drug for patient dispensing.

See ECF No. 1 at 40. FDA’s 2016 Changes to this regulatory scheme included the following

alterations:

              Extending the maximum gestational age at which a woman or girl can abort her unborn
               child from 49 days to 70 days;

              Altering the mifepristone dosage from 600 mg to 200 mg, the misoprostol dosage from
               400 mcg to 800 mcg, and misoprostol administration from oral to buccal;

              Eliminating the requirement that administration of misoprostol occur in-clinic;

              Broadening the window for misoprostol administration to include a range of 24–48
               hours after taking mifepristone, instead of 48 hours afterward;




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           Adding a repeat 800 mcg buccal dose of misoprostol in the event of incomplete
            chemical abortion;

           Removing the requirement for an in-person follow-up examination after an abortion;

           Allowing “healthcare providers” other than physicians to dispense and administer the
            chemical abortion drugs; and

           Eliminating the requirement for prescribers to report all non-fatal serious adverse
            events from chemical abortion drugs.

Id. at 53–54. And in 2021, FDA removed the “in-person dispensing requirement” and signaled that

it will soon allow pharmacies to dispense chemical abortion drugs. Id. at 68. Plaintiffs warn that

without this requirement, “there is a dramatically reduced chance that the prescriber can confirm

pregnancy and gestational age, discover ectopic pregnancies, and identify a victim of abuse or

human trafficking being coerced into having a chemical abortion.” ECF No. 120 at 19.

        FDA’s 2016 and 2021 Changes thus significantly departed from the agency’s original

approval of the abortion regimen. FDA repeatedly altered its original decision by removing

safeguards and changing the regulatory scheme for chemical abortion drugs. Sierra Club, 551 F.3d

at 1025; Nat’l Biodiesel, 843 F.3d at 1017. Additionally, FDA’s response to the 2019 Petition

explicitly states FDA “undertook a full review of the Mifepristone REMS Program” in 2021. ECF

No. 1-44 at 7 (emphasis added); 17 see also Peavey, 128 F. Supp. 3d at 100–02 (agency reopened

decision by conducting “thorough review” of the merits, even where the order did not state it was

a “reconsideration” and did not reference prior decision). And FDA even granted the 2019 Petition

in part. ECF No. 1-44 at 3. A “full review” of a REMS for a drug with known serious risks

necessarily considers the possibility that a drug is too dangerous to be on the market, any mitigation



17
  See also Questions and Answers on Mifepristone for Medical Termination of Pregnancy Through Ten Weeks
Gestation, FDA (Jan. 4, 2023), https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-
providers/questions-and-answers-mifepristone-medical-termination-pregnancy-through-ten-weeks-gestation
(describing the 2021 review as “comprehensive”).


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strategy notwithstanding. FDA has the authority to withdraw an approved drug application on this

basis. See 21 U.S.C. § 355(e). Because the agency reaffirmed its prior actions after undertaking a

substantive reconsideration of those actions, the limitations period for those actions starts in 2021.

See Pub. Citizen, 901 F.2d at 152 (an agency reconsidering and reaffirming original policy

“necessarily raises the lawfulness of the original policy, for agencies have an everpresent duty to

insure that their actions are lawful”). 18

        Alternatively, the Court finds Plaintiffs’ claims are not time-barred under the equitable

tolling doctrine. See United States v. Patterson, 211 F.3d 927, 931 (5th Cir. 2000) (courts “must

be cautious not to apply the statute of limitations too harshly”); P & V Enters. v. U.S. Army Corps

of Engr’s, 466 F. Supp. 2d 134, 149 (D.D.C. 2006), aff’d, 516 F.3d 1021 (D.C. Cir. 2008) (a

“rebuttable presumption of equitable tolling” applies to lawsuits governed by the six-year

limitations period of Section 2401(a)); Bornholdt v. Brady, 869 F.2d 57, 64 (2d Cir. 1989) (“The

existence of § 2401 as a catchall provision . . . does not necessarily mean that Congress intended

the six-year period to be applied whenever a substantive statute does not specify a limitations

period.”). “[A] litigant is entitled to equitable tolling of a statute of limitations only if the litigant

establishes two elements: (1) that he has been pursuing his rights diligently, and (2) that some

extraordinary circumstance stood in his way and prevented timely filing.” Menominee Indian Tribe

of Wis. v. United States, 577 U.S. 250, 255 (2016) (internal marks omitted); see also Holland v.

Florida, 560 U.S. 631, 650 (2010) (“The flexibility inherent in equitable procedure enables courts




18
  To date, it is unclear whether the reopening doctrine has been applied in the precise context of FDA’s approval of
an NDA. However, much of the rationale courts have applied in both the rulemaking and adjudication context
applies here. And the Court is unaware of any legal principle that would preclude the doctrine from being applied to
these facts. Assuming arguendo Plaintiffs’ allegations are true, a contrary holding would mean there is no judicial
remedy to FDA’s insistence on keeping an unsafe drug on the market, so long as enough time has passed.


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to meet new situations that demand equitable intervention, and to accord all the relief necessary to

correct particular injustices.”) (cleaned up).

        Equitable tolling is appropriate here in large part because of FDA’s unreasonable delay in

responding to Plaintiff’s 2002 and 2019 Petitions. See WildEarth Guardians v. U.S. Dep’t of Just.,

181 F. Supp. 3d 651, 670 (D. Ariz. 2015) (it is “grossly inappropriate” to apply a statute of

limitations where the agency unreasonably delayed a claim because the agency “could immunize

its allegedly unreasonable delay from judicial review simply by extending that delay for six years”)

(internal marks omitted). It took FDA 13 years, 7 months, and 9 days to respond to the 2002

Petition. FDA then moved the goalposts by substantially changing the regulatory scheme on the

same day it issued its Response. And it took FDA 2 years, 8 months, and 17 days to respond to the

2019 Petition which challenged those changes. Thus, in the 20 years between the 2002 Petition

and the filing of this suit, Plaintiffs were waiting on FDA for over 16 of those years. See Hill

Dermaceuticals, Inc. v. U.S. Food & Drug Admin., 524 F. Supp. 2d 5, 9 (D.D.C. 2007) (“Once

citizen petitions are submitted, the FDA Commissioner is required to respond in one of three

manners ‘within 180 days of receipt of the petition.’”) (quoting 21 C.F.R. § 10.30(e)(2)). 19

        Additionally, statutes of limitations “are primarily designed to assure fairness to

defendants,” and “to promote justice by preventing surprises through the revival of claims that

have been allowed to slumber until evidence is lost, memories have faded, and witnesses have

disappeared.” Clymore v. United States, 217 F.3d 370, 376 (5th Cir. 2000), as corrected on reh’g

(Aug. 24, 2000) (internal marks omitted). But it “has not been argued, and cannot seriously be,

that the government was unfairly surprised” when Plaintiffs filed this suit. Id. Plaintiffs have been



19
   Incidentally, the delayed FDA Response is extreme but not unprecedented. See, e.g., Bayer HealthCare, LLC v.
U.S. Food & Drug Admin., 942 F. Supp. 2d 17, 22 (D.D.C. 2013) (FDA had yet to respond to a 2006 petition when
it approved a related ANDA in 2013).


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reasonably diligent in pursuing their claims. See, e.g., ECF No. 1-4 at 6 (after years of waiting for

FDA to respond to the Petition, Plaintiff “called upon” FDA to issue a response in 2005 and again

in 2015). And the public interest in this case militates toward resolving Plaintiffs’ claims on the

merits. Accordingly, Plaintiffs’ challenges to FDA’s Pre-2021 Actions concerning chemical

abortion drugs are not time-barred.

       2. FDA’s April 2021 Decision on In-Person Dispensing Requirements is not
          “Committed to Agency Discretion by Law”

       Defendants also argue any challenge to FDA’s decision regarding the in-person dispensing

requirement is foreclosed under Heckler v. Chaney, 470 U.S. 821, 832 (1985). ECF No. 28 at 30.

In Heckler, the Supreme Court held that FDA’s decision not to recommend civil or criminal

enforcement action to prevent violations of the FFDCA was “committed to agency discretion by

law.” 470 U.S. at 837–38; see also Texas v. Biden, 20 F.4th at 982 (“In other words, a litigant may

not waltz into court, point his finger, and demand an agency investigate (or sue, or otherwise

enforce against) ‘that person over there.’”). “[T]he Supreme Court and the Fifth Circuit have

consistently read Heckler as sheltering one-off nonenforcement decisions rather than decisions to

suspend entire statutes.” Texas v. Biden, 20 F.4th at 983. The “committed to agency discretion by

law” exception to judicial review is a “very narrow exception” that applies only where “statutes

are drawn in such broad terms that in a given case there is no law to apply.” Citizens to Pres.

Overton Park, Inc. v. Volpe, 401 U.S. 402, 410 (1971), overruled on other grounds by Califano v.

Sanders, 430 U.S. 99 (1977).

       That is not the case here. The Secretary has the authority to determine that drugs with

“known serious risks” may be dispensed “only in certain health care settings, such as hospitals.”

See 21 U.S.C. § 355-1(f)(3)(C); Gomperts v. Azar, No. 1:19-CV-00345-DCN, 2020 WL 3963864,

at *1 (D. Idaho July 13, 2020) (“[T]hese restrictions mandate that Mifeprex be dispensed only in



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certain healthcare settings”). 20 The statute also provides other “elements to assure safe use” of

dangerous drugs. 21 U.S.C. § 355-1(f)(1), (3). The Secretary must publicly explain “how such

elements will mitigate the observed safety risk.” 21 U.S.C. § 355-1(f)(2). The Secretary must also

consider whether the elements would “be unduly burdensome on patient access to the drug” and

must “minimize the burden on the health care delivery system.” Id. Additionally, the elements

“shall include [one] or more goals to mitigate a specific serious risk listed in the labeling of the

drug.” 21 U.S.C. § 355-1(f)(3). And as the Court will later explain, federal law prohibits the

mailing of chemical abortion drugs. Thus, unlike in Heckler, there is “law to apply” to FDA’s

decision. See Texas v. Biden, 20 F.4th at 982 (“[T]he executive cannot look at a statute, recognize

that the statute is telling it to enforce the law in a particular way or against a particular entity, and

tell Congress to pound sand.”). And even if Defendants have significant discretion in how they

administer Section 355-1, that does not mean all related actions are immune to judicial review

under Section 701(a)(2) of the APA.

        In sum, Defendants cannot shield their decisions from judicial review merely by

characterizing the challenged action as exercising “enforcement discretion.” ECF No. 28 at 15; see

also Texas v. Biden, 20 F.4th at 987 (“The Government is still engaged in enforcement — even if

it chooses to do so in a way that ignores the statute. That’s obviously not nonenforcement.”); id.

at 985 (“Heckler cannot apply to agency actions that qualify as rules under 5 U.S.C. § 551(4).”);

Heckler, 470 U.S. at 833 n.4 (a decision to consciously and expressly adopt a general policy that

is “so extreme as to amount to abdication of its statutory responsibilities” is not “committed to

agency discretion”) (emphasis added). Furthermore, the suggestion that FDA has full discretion


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  See also Frequently Asked Questions (FAQS) about REMS, FDA (Jan. 26, 2018), https://www.fda.gov/drugs/risk-
evaluation-and-mitigation-strategies-rems/frequently-asked-questions-faqs-about-rems (“A REMS is required to
ensure the drug is administered only in a health care facility with personnel trained to manage severe allergic
reactions and immediate access to necessary treatments and equipment to managing such events.”).


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under Section 355-1 to not require any REMS for dangerous drugs would likely present

nondelegation problems even under a modest view of that doctrine. See, e.g., Gundy v. United

States, 139 S. Ct. 2116, 2123 (2019). So too the notion that FDA could exercise its non-

enforcement discretion in violation of other federal laws. Therefore, FDA’s decision to not enforce

the in-person dispensing requirement is reviewable because the decision is not committed to

agency discretion by law.

       3. Plaintiffs’ Failure to Exhaust Certain Claims is Excusable

       Plaintiffs allege FDA’s 2021 Decision to dispense mifepristone through the mail did not

acknowledge or address federal criminal laws that “expressly prohibit[] such downstream

distribution.” ECF No. 7 at 26. Defendants maintain Plaintiffs’ argument is unexhausted because

they failed to present it at any stage of any administrative proceeding. ECF No. 28 at 38. Similarly,

Plaintiffs have not exhausted their challenge to FDA’s approval of the supplemental NDA for

generic mifepristone. Id. at 26. These failures to exhaust claims do not preclude judicial review.

       “The general rule of nonreviewability is not absolute.” Myron v. Martin, 670 F.2d 49, 52

(5th Cir. 1982). To begin, exhaustion is not required where the agency action is “in excess of” the

agency’s authority. Id. And a court will review for the first time “a particular challenge to an

agency’s decision which was not raised during the agency proceedings” where the agency action

is “likely to result in individual injustice” or is “contrary to an important public policy extending

beyond the rights of the individual litigants.” Id.; see also Mathews v. Eldridge, 424 U.S. 319, 330

(1976) (“[C]ases may arise where a claimant’s interest in having a particular issue resolved

promptly is so great that deference to the agency’s judgment is inappropriate.”); Abbott

Laboratories v. Gardner, 387 U.S. 136, 149 (1967) (injunctive remedies applied to administrative

determinations should evaluate “both the fitness of the issues for judicial decision and the hardship




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to the parties of withholding court consideration”); Dawson Farms, LLC v. Farm Serv. Agency,

504 F.3d 592, 606 (5th Cir. 2007) (exhaustion may be excused when “irreparable injury will result

absent immediate judicial review”); Bd. of Pub. Instruction of Taylor Cnty., Fla. v. Finch, 414

F.2d 1068, 1072 (5th Cir. 1969) (exceptional circumstances include “where injustice might

otherwise result”).

       Courts have also excused a claimant’s failure to exhaust administrative remedies where

exhaustion “would be futile because the administrative agency will clearly reject the claim.”

Gulf Restoration Network v. Salazar, 683 F.3d 158, 176 (5th Cir. 2012) (internal marks omitted);

see also Oregon Nat. Desert Ass’n v. McDaniel, 751 F. Supp. 2d 1151, 1159 (D. Or. 2011)

(exceptional circumstances include evidence of administrative bias). Additionally, courts will

consider any issue that was “raised with sufficient clarity to allow the decision maker to understand

and rule on the issue raised, whether the issue was considered sua sponte by the agency or was

raised by someone other than the petitioning party.” Pac. Choice Seafood Co. v. Ross, 976 F.3d

932, 942 (9th Cir. 2020). In short, “there is no bright-line standard as to when this requirement has

been met.” Nat’l Parks & Conservation Ass’n v. Bureau of Land Mgmt., 606 F.3d 1058, 1065 (9th

Cir. 2010). Finally, “[a]dministrative remedies that are inadequate need not be exhausted.”

Coit Indep. Joint Venture v. Fed. Sav. & Loan Ins. Corp., 489 U.S. 561, 587 (1989) (a lack of

reasonable time limits in the claims procedure renders the procedure inadequate).

               a. Contrary to Public Policy

       Judicial review of Plaintiffs’ unexhausted claims is appropriate for several reasons.

First, Defendants’ alleged violation of the Comstock Act would be “contrary to an important public

policy.” Myron, 670 F.2d at 52. As a case Defendants rely upon explains, the word “abortion” in

the statute “indicates a national policy of discountenancing abortion as inimical to the national




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life.” See Bours, 229 F. at 964; ECF No. 28-1 at 206. And twenty-two states filed an amicus brief

arguing FDA’s decision to permit mail-in chemical abortion harms the public interest by

undermining states’ ability to enforce laws regulating abortion. 21 ECF No. 100 at 17.

                  b. Individual Injustice and Irreparable Injury

         Second, the agency’s actions are “likely to result in individual injustice” or cause

“irreparable injury.” Myron, 670 F.2d at 52; Dawson, 504 F.3d at 606. Plaintiffs allege “many

intense side effects” and “significant complications requiring medical attention” resulting from

Defendants’ actions. 22 ECF No. 7 at 13. Many women also experience intense psychological

trauma and post-traumatic stress from excessive bleeding and from seeing the remains of their

aborted children. See ECF No. 96 at 25–29; Pauline Slade et al., Termination of pregnancy:

Patient’s perception of care, J. OF FAMILY PLANNING & REPRODUCTIVE HEALTH CARE Vol. 27,

No. 2, 72–77 (2001) (“Seeing the foetus, in general, appears to be a difficult aspect of the medical

termination process which can be distressing, bring home the reality of the event and may influence

later emotional adaptation.”). Parenthetically, said “individual justice” and “irreparable injury”

analysis also arguably applies to the unborn humans extinguished by mifepristone — especially in




21
  See David S. Cohen et al., Abortion Pills, 76 STAN. L. REV. 1, 9 (forthcoming 2024) (“Despite state laws, mailed
medication abortion can cross borders in ways that undermine state laws . . . A new organization, Mayday Health,
for example, focuses on those who live in states with abortion bans, giving users step-by-step instructions on how to
set up temporary addresses in an abortion permissive state and forward the mail into the banned state.”) (internal
marks omitted).
22
   At least 4,213 adverse events from chemical abortion drugs have been reported. See ECF No. 96 at 12 n.16.
But the actual number is likely far higher because non-fatal adverse events are no longer required to be reported, and
because more than 60 percent of women and girls’ emergency room visits after chemical abortions are miscoded as
miscarriages. See James Studnicki et al., A Post Hoc Exploratory Analysis: Induced Complications Mistaken for
Miscarriage in the Emergency Room are a Risk Factor for Hospitalization, 9 HEALTH SERV. RSCH. MGMT.
EPIDEMIOLOGY 1, 1 (2022); see also ECF No. 1-8 at 7 (describing Plaintiffs’ difficulty in submitting adverse event
reports to mifepristone manufacturer Danco). Other data sources such as the Center for Disease Control and
Prevention Abortion Surveillance Reports are “profoundly flawed” because state reporting “is voluntary, with many
states reporting intermittently and some not at all.” Studnicki et al., supra note 9, at 2. One Plaintiff physician
alleges that when she reported an adverse event to her state’s health department, the “report was rejected because the
State said it was not a ‘true’ adverse event because the patient ultimately recovered.” ECF No. 1-10 at 7.


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the post-Dobbs era. See Dobbs, 142 S. Ct. at 2261 (“Nothing in the Constitution or in our Nation’s

legal traditions authorizes the Court to adopt [the] theory of life” that States are required “to regard

a fetus as lacking even the most basic human right — to live — at least until an arbitrary point in

a pregnancy has passed.”) (internal marks omitted); Brief of Amici Curiae Scholars of

Jurisprudence John M. Finnis and Robert P. George in Support of Petitioners, Dobbs, 142 S. Ct.

2228 (2022) (arguing unborn humans are constitutional “persons” entitled to equal protection).

                c. Administrative Procedures are Inadequate

        Third, FDA’s combined response time of over sixteen years to Plaintiffs’ two petitions

shows their procedures have been inadequate. See Coit, 489 U.S. at 587; Bowen v. City of New

York, 476 U.S. 467, 476 (1986) (“[T]he harm imposed by exhaustion would be irreparable.”).

FDA slow-walked — or rather, snail-walked — its response to the 2002 Petition by waiting nearly

fourteen years to deny the petition. ECF No. 7 at 9. Requiring Plaintiffs to exhaust their

administrative remedies may equate to another decade-plus of waiting for the agency to give them

the time of day.

                d. Exhaustion would be Futile

        Alternatively, any attempt by Plaintiffs to challenge Defendants’ actions would likely be

futile. Even if Plaintiffs did not endure sixteen years of delay, dawdle, and dithering, their efforts

would surely “be futile because the administrative agency will clearly reject the claim.”

Gulf Restoration Network, 683 F.3d at 176. “President Biden has emphasized the need to protect

access to mifepristone” since the day of the Supreme Court’s decision in Dobbs. 23 President Biden

stated that “protecting reproductive rights is essential to our Nation’s health, safety, and


23
  See FACT SHEET: President Biden to Sign Memorandum on Ensuring Safe Access to Medication Abortion,
THE WHITE HOUSE (Jan. 22, 2023), https://www.whitehouse.gov/briefing-room/statements-releases/2023/01/22/fact-
sheet-president-biden-to-sign-presidential-memorandum-on-ensuring-safe-access-to-medication-abortion/.



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progress.” 24 He also criticized States’ efforts to impose restrictions on mifepristone because such

efforts “have stoked confusion, sowed fear, and may prevent patients from accessing safe and

effective FDA-approved medication.” 25 Thus, it is unlikely FDA would reverse course on its

“mail-order” abortion regimen. ECF No. 7 at 7. Defendants’ position on the Comstock Act in this

litigation only confirms that fact. See ECF No. 28 at 38 (“Plaintiffs misconstrue the Comstock

Act.”). 26

                  e. The Comstock Act was raised with Sufficient Clarity

           Finally, the Comstock Act issue was “raised with sufficient clarity.” Ross, 976 F.3d at 942.

This is because: (1) the 2019 Petition requested FDA to retain the in-person requirement for

dispensing of chemical abortion drugs; and (2) the Comstock Act issue was also raised by the

United States Postal Service and the Department of Health & Human Services on July 1, 2022,

“[i]n the wake of” Dobbs. 27 The Office of Legal Counsel specifically mentioned FDA’s regimen

for chemical abortion drugs when concluding “the mere mailing of such drugs to a particular

jurisdiction is an insufficient basis for concluding that the sender intends them to be used

unlawfully.” OLC Memo at *1. This shows not only that the issue was raised with sufficient

clarity, but also the futility of raising the issue before the agency. Therefore, Plaintiffs’ failure to

exhaust their claims does not preclude judicial review.


24
  Memorandum on Further Efforts to Protect Access to Reproductive Healthcare Services, THE WHITE HOUSE (Jan.
22, 2023), https://www.whitehouse.gov/briefing-room/presidential-actions/2023/01/22/memorandum-on-further-
efforts-to-protect-access-to-reproductive-healthcare-services/.
25
     Id.
26
  The D.C. Circuit has hinted that the futility doctrine is ordinarily predicated on the “worthlessness of an argument
before an agency that has rejected it in the past” rather than the likelihood that “the agency would reject it in the
future.” Tesoro Refin. & Mktg. Co. v. FERC, 552 F.3d 868, 874 (D.C. Cir. 2009). But in this case, there is no
principled distinction between the two scenarios. Defendants do not even pretend the agency might have accepted
Plaintiffs’ arguments. Other cases may involve uncertainty about future agency rejection, but it is not this case.

 See Application of the Comstock Act to the Mailing of Prescription Drugs That Can Be Used for Abortions, 2022
27

WL 18273906 (O.L.C. Dec. 23, 2022) (“OLC Memo”).


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       C. Plaintiffs’ Challenges to FDA’s 2021 Actions Have a Substantial Likelihood of
          Success on the Merits

       “To satisfy the first element of likelihood of success on the merits,” Plaintiffs “must present

a prima facie case but need not show that [they are] certain to win.” Janvey v. Alguire¸ 647 F.3d

585, 595–96 (5th Cir. 2011) (internal marks omitted). Under the APA, courts must “hold unlawful

and set aside agency action, findings, and conclusions found to be . . . arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law,” or “in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C. § 706(2)(A) & (C).

       The Court will first address FDA’s 2021 Actions that eliminated the in-person dispensing

requirement and announced that FDA would allow abortionists to dispense chemical abortion

drugs by mail or mail-order pharmacy. Plaintiffs have a substantial likelihood of success on their

claims that these actions violate federal law.

       1. The Comstock Act prohibits the Mailing of Chemical Abortion Drugs

       The Comstock Act declares “[e]very obscene, lewd, lascivious, indecent, filthy or vile

article, matter, thing, device, or substance” to be “nonmailable matter” that “shall not be conveyed

in the mails or delivered from any post office or by any letter carrier.” 18 U.S.C. § 1461. The next

clauses declare nonmailable “[e]very article or thing designed, adapted, or intended for producing

abortion, or for any indecent or immoral use; and [e]very article, instrument, substance, drug,

medicine, or thing which is advertised or described in a manner calculated to lead another to use

or apply it for producing abortion, or for any indecent or immoral purpose.” Id. Similarly, Section

1462 forbids the use of “any express company or other common carrier” to transport chemical

abortion drugs “in interstate or foreign commerce.”

       Defendants’ argument that the Comstock Act does not prohibit the mailing of chemical

abortion drugs relies on the “reenactment canon.” That is, courts may distill a statute’s meaning



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when “federal courts of appeals settled upon a consensus view” and “Congress never modified the

relevant statutory text to reject or displace this settled construction.” ECF No. 28 at 39.

This purported “consensus view” is that the Comstock Act does not prohibit the mailing of items

designed to produce abortions “where the sender does not intend them to be used unlawfully.” Id.

This argument is unpersuasive for several reasons.

         “Congress is presumed to be aware of an administrative or judicial interpretation of a

statute and to adopt that interpretation when it re-enacts a statute without change.” Lorillard v.

Pons, 434 U.S. 575, 580 (1978). But “[t]here is an obvious trump to the reenactment argument”:

“‘[w]here the law is plain, subsequent reenactment does not constitute an adoption of a previous

administrative construction.’” Brown v. Gardner, 513 U.S. 115, 121 (1994) (quoting Demarest v.

Manspeaker, 498 U.S. 184, 190 (1991)); see also Milner v. Dep’t of Navy, 562 U.S. 562, 576

(2011) (“[W]e have no warrant to ignore clear statutory language on the ground that other courts

have done so.”). Additionally, the presumption only applies when the judicial or administrative

gloss “represented settled law when Congress reenacted the [language in question].” Keene Corp.

v. United States, 508 U.S. 200, 212 (1993); see also Jama v. Immigr. & Customs Enf’t, 543 U.S.

335, 349 (2005) (presumption applies only when the supposed judicial consensus at the time of

reenactment was “so broad and unquestioned that we must presume Congress knew of and

endorsed it”); Davis v. United States, 495 U.S. 472, 482 (1990); Fed. Deposit Ins. Corp. v. Phila.

Gear Corp., 476 U.S. 426, 437 (1986); United States v. Powell, 379 U.S. 48, 55 n.13 (1964). 28




28
  See also ANTONIN SCALIA & BRYAN A. GARNER, READING LAW: THE INTERPRETATION OF LEGAL TEXTS 325
(2012) (“But how numerous must the lower-court opinions be, or how prominent and long-standing the
administrative interpretation, to justify the level of lawyerly reliance that justifies the canon? What about two
intermediate-court decisions? (We doubt it — though some cases have relied on just a single intermediate-court
decision.) Or seven courts of first instance? (Perhaps.)”).


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       The canon is easily overcome for one simple reason: it is a dubious means of ascertaining

congressional intent. “There are plenty of reasons to reenact a statute that have nothing to do with

codifying the glosses that courts have already put on the statute.” CALEB NELSON, STATUTORY

INTERPRETATION 481 (2011). For example, perhaps the original statute contained a “sunset”

provision. Maybe Congress wanted to change the statute in some other respects but found it easier

to communicate those changes by reenacting a modified version of the complete statute “than by

casting each discrete change as an amendment to the existing language.” Id. at n.14. Or Congress

was perhaps conducting “a more general codification or reorganization of the statutes in a

particular field, for the sake of making the structure of its statutes easier to follow.” Id. “Or maybe

Congress simply wanted to enact the relevant title of the United States Code into positive law.” Id.

“To the extent that Congress reenacts statutory language for one of those other reasons, members

of Congress may well not mean to be expressing any view at all about the glosses that have piled

up in the meantime.” Id.; see also HENRY M. HART, JR., & ALBERT M. SACKS, THE LEGAL

PROCESS: BASIC PROBLEMS IN THE MAKING AND APPLICATION OF LAW 1367 (William N. Eskridge,

Jr., & Philip P. Frickey eds., 1994) (tent. ed. 1958) (criticizing the canon for adding to the costs of

the legislative process in counterproductive ways).

       Here, the plain text of the Comstock Act controls. See Bostock v. Clayton Cnty., Ga., 140

S. Ct. 1731, 1749 (2020) (“[W]hen the meaning of the statute’s terms is plain, our job is at an

end.”); Lawson v. FMR LLC, 571 U.S. 429, 441 (2014) (“Absent any textual qualification, we

presume the operative language means what it appears to mean.”). The Comstock Act declares

“nonmailable” every “article, instrument, substance, drug, medicine, or thing which is advertised

or described in a manner calculated to lead another to use it or apply it for producing abortion.”

18 U.S.C. § 1461 (emphasis added). It is indisputable that chemical abortion drugs are both




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“drug[s]” and are “for producing abortion.” Therefore, federal criminal law declares they are

“nonmailable.” See Texas v. Becerra, No. 5:22-CV-185-H, 2022 WL 3639525, at *26 n.21 (N.D.

Tex. Aug. 23, 2022) (“[F]ederal law bar[s] the importation or delivery of any device or medicine

designed to produce an abortion.”).

         The statute plainly does not require intent on the part of the seller that the drugs be used

“unlawfully.” To be sure, the statute does contain a catch-all provision that prohibits the mailing

of such things “for producing abortion, or for any indecent or immoral purpose.” 18 U.S.C. § 1461

(emphasis added). But “or” is “almost always disjunctive.” Encino Motorcars, LLC v. Navarro,

138 S. Ct. 1134, 1141 (2018) (internal marks omitted). Additionally, the “or” in Section 1461 is

preceded by a comma, further disjoining the list of nonmailable matter. Thus, the Court does not

read the “or” as an “and.” Similarly, the Act requires that the defendant “knowingly uses the mails

for the mailing” of anything declared by the Act “to be nonmailable.” 18 U.S.C. § 1461. A

defendant could satisfy this mens rea requirement by mailing mifepristone and knowing it is for

producing abortion. The statute does not require anything more. See, e.g., United States v. Lamott,

831 F.3d 1153, 1157 (9th Cir. 2016) (where Congress “intends to legislate a specific intent crime,”

the statute typically uses the phrase “with the intent to”) (internal marks omitted).

         Even if the statute were ambiguous, the legislative history also supports this

interpretation. 29 See H.R. Rep. No. 91-1105, at 2 (1970) (“Existing statutes completely prohibit

the importation, interstate transportation, and mailing of contraceptive materials, or the mailing of

advertisement or information concerning how or where such contraceptives may be obtained or

how conception may be prevented.”). Congress unsuccessfully tried to modify Section 1461 to



29
  This Court reviews the legislative history as mere evidence of the ordinary public meaning of the current statutory
language. See ANTONIN SCALIA, A MATTER OF INTERPRETATION 17 (1997) (“It is the law that governs, not the intent
of the lawgiver . . . Men may intend what they will; but it is only the laws that they enact which bind us.”).


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prohibit mailing drugs “intended by the offender . . . to be used to produce an illegal abortion.”

See REP. OF THE SUBCOMM. ON CRIM. JUST., 95TH CONG., REP. ON RECODIFICATION OF FED. CRIM.

LAW 40 (Comm. Print 1978) (emphasis added); Bostock, 140 S. Ct. at 1824 (Kavanaugh, J.,

dissenting) (“In the face of the unsuccessful legislative efforts . . . judges may not rewrite the law

simply because of their own policy views.”). 30 In fact, the House Subcommittee Report on the

proposed amendment acknowledged the plain meaning of the statute: “[U]nder current law, the

offender commits an offense whenever he ‘knowingly’ mails any of the designated abortion

materials,” and the proposed amendment would “require proof that the offender specifically

intended that the mailed materials be used to produce an illegal abortion.” 31 If Congress believed

the statute already contained the “intentionality” requirement gloss in prior reenactments, there is

little reason why Congress would amend the provision to include that requirement.

         Defendants aver Plaintiffs’ interpretation of the Comstock Act is foreclosed by the Food

and Drug Administration Amendments Act of 2007 (“FDAAA”) for one reason: “Congress was

well aware that it was directing mifepristone’s preexisting distribution scheme to continue” in

enacting the FDAAA. ECF No. 28 at 40. But neither “critics [of FDA’s 2000 Approval of

mifepristone] nor anyone else in the congressional debate mentioned the Comstock Act.”

OLC Memo at *7 n.18; see also In re Lively, 717 F.3d 406, 410 (5th Cir. 2013) (“Repeals by

implication are disfavored and will not be presumed unless the legislature’s intent is ‘clear and

manifest.’”) (internal marks omitted). Because the Comstock Act is not even implicitly mentioned



30
  Bostock’s majority opinion warns that “speculation about why a later Congress declined to adopt new legislation
offers a ‘particularly dangerous’ basis on which to rest an interpretation of an existing law a different and earlier
Congress did adopt.” 140 S. Ct. at 1747. But the opinion does not suggest judges can “rewrite the law.” Instead,
Bostock’s stated rationale was that the disputed term was implicit in the statutory text all along. No such “textualist”
analysis could plausibly justify Defendants’ interpretation of the Comstock Act, and Defendants offer none.
31
  REP. OF THE SUBCOMM. ON CRIM. JUST., 95TH CONG., REP. ON RECODIFICATION OF FED. CRIM. LAW 40 (Comm.
Print 1978) (emphasis added).


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in the FDAAA’s enactment, there is no repeal by implication. And in any case, Defendants’

arguments based on legislative history cannot overcome clear statutory text.

       Consequently, reenactment of the Comstock Act does not constitute an adoption of prior

constructions because “the law is plain.” Brown, 513 U.S. at 121 (1994). Even if that were not the

case, the reenactment canon does not apply here because the relevant judicial glosses do not

represent a “broad and unquestioned” consensus. Jama, 543 U.S. at 349. Defendants rely heavily

on the OLC Memo that purports to establish this “consensus.” But none of the cases cited in the

OLC Memo support the view that the Comstock Act bars the mailing of abortion drugs only when

the sender has the specific intent that the drugs be used unlawfully.

       On the contrary, the Seventh Circuit reasoned that the word “abortion” in the context of

the Act indicates “a national policy of discountenancing abortion as inimical to the national life.”

Bours, 229 F. at 964. Bours further declared “it is immaterial what the local statutory definition of

abortion is, what acts of abortion are included, or what excluded.” Id. Similarly, the Sixth Circuit’s

decision in Davis v. United States only suggests that legitimate uses of drugs should not fall within

the scope of the statute “merely because they are capable of illegal uses.” 62 F.2d 473, 474 (6th

Cir. 1933). In other words, the Davis holding reflects the position that legitimate uses — uses

beyond the purposes the statute condemns — should be excluded from the scope of the statute, not

that whatever uses are lawful under state law should be. ECF No. 114 at 10. Likewise, the Second

Circuit interpreted the statute to embrace articles the 1873 Congress “would have denounced as

immoral if it had understood all the conditions under which they were to be used.” United States

v. One Package, 86 F.2d 737, 739 (2d Cir. 1936). The court further observed that “[t]he word

‘unlawful’ would make this clear as to articles for producing abortion.” Id.; see also James S.

Witherspoon, Reexamining Roe: Nineteenth-Century Abortion Statutes and the Fourteenth




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Amendment, 17 ST. MARY’S L.J. 29, 33 (1985) (explaining that thirty of thirty-seven states had

statutory abortion prohibitions in 1868 — just five years before Congress enacted the Comstock

Act).

        Defendants maintain “the legality of the agency actions needs to be judged at the time of

the decision, all of which occurred when Roe and Casey were still good law.” ECF No. 136 at 109.

Even assuming that is true in all cases, Roe did not prohibit all restrictions on abortions. And it is

not obvious that enforcement of the Comstock Act post-Casey would have necessarily run afoul

of Casey’s “arbitrary ‘undue burden’ test.” Dobbs, 142 S. Ct. at 2266. Therefore, there is no reason

why the Act should not have at least been considered. In any case, the Comstock Act plainly

forecloses mail-order abortion in the present, and Defendants have stated no present or future

intention of complying with the law. Defendants cannot immunize the illegality of their actions by

pointing to a small window in the past where those actions might have been legal.

        In sum, the reenactment canon is inapplicable here because the law is plain. Even if that

were not true, the cases relied on in the OLC Memo do not support Defendants’ interpretation.

And even if they did, a small handful of cases cannot constitute the “broad and unquestioned”

consensus required under the reenactment canon. Therefore, Plaintiffs have a substantial likelihood

of prevailing on their claim that Defendants’ decision to allow the dispensing of chemical abortion

drugs through mail violates unambiguous federal criminal law.

        2. FDA’s 2021 Actions violate the Administrative Procedure Act

        Because FDA’s 2021 Actions violate the Comstock Act, they are “otherwise not in

accordance with law.” 5 U.S.C. § 706(2)(A). Additionally, the actions were likely “arbitrary and

capricious.” Id. FDA relied on FDA Adverse Event Reporting System data despite the agency’s

2016 decision to eliminate the requirement for abortionists to report non-fatal “adverse events.”




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ECF No. 7 at 25. Defendants maintain that “Plaintiffs offer no explanation for why it was

impermissible to rely on the reported data.” ECF No. 28 at 33. The explanation should be obvious

— it is circular and self-serving to practically eliminate an “adverse event” reporting requirement

and then point to a low number of “adverse events” as a justification for removing even more

restrictions than were already omitted in 2000 and 2016. In other words, it is a predetermined

conclusion in search of non-data — a database designed to produce a null set. But even if FDA’s

explanation were well-reasoned, the actions would still run afoul of the Comstock Act and

therefore violate the APA.

       D. Plaintiffs’ Challenges to FDA’s Pre-2021 Actions Have a Substantial Likelihood
          of Success on the Merits

       1. FDA’s 2000 Approval violated Subpart H

       In 1992, FDA issued regulations “needed to assure safe use” of new drugs designed to treat

life-threatening diseases like HIV and cancer. See 57 Fed. Reg. 58,942, 58,958 (Dec. 11, 1992)

(codified at 21 C.F.R. § 314.520). Subpart H — titled “Accelerated Approval of New Drugs for

Serious or Life-Threatening Illnesses” — applies to drugs that satisfy two requirements. First, the

drug must have been “studied for [its] safety and effectiveness in treating serious or life-threatening

illnesses.” 21 C.F.R. § 314.500. And second, the drug must “provide [a] meaningful therapeutic

benefit to patients over existing treatments.” Id. “These rules were promulgated by FDA . . . as

part of an attempt to correct perceived deficiencies in FDA’s approval process made apparent by

the need to quickly develop drugs for HIV/AIDS patients.” ECF No. 1-13 at 20.

       “When FDA originally approved Mifeprex, the agency relied upon Subpart H to place

certain restrictions on the manufacturer’s distribution of the drug product to assure its safe use.”

ECF No. 28 at 14; see also ECF No. 1-13 at 9 (the American Medical Association explained that

“[Mifepristone] poses a severe risk to patients unless the drug is administered as part of a complete



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treatment plan under the supervision of a physician”). Thus, to satisfy Subpart H, FDA deemed

pregnancy a “serious or life-threatening illness[]” and concluded that mifepristone “provide[d] [a]

meaningful therapeutic benefit to patients over existing treatments.” See 21 C.F.R. §§ 314.500;

314.560. FDA was wrong on both counts.

                  a. Pregnancy is not an “Illness”

           Pregnancy is a normal physiological state most women experience one or more times

during their childbearing years — a natural process essential to perpetuating human life.

Defendants even admit pregnancy is not an “illness.” FDA claims the Final Rule explained Subpart

H was available for serious or life-threatening “conditions,” whether or not they were understood

colloquially to be “illnesses.” ECF No. 28 at 36. But the Final Rule says no such thing. “One

comment asserted that neither depression nor psychosis is a disease, nor is either one serious or

life-threatening.” 57 Fed. Reg. 58,946. FDA responded to the comment that “signs of these

diseases are readily studied” and that its reference to depression and psychosis “was intended to

give examples of conditions or diseases that can be serious for certain populations or in some or

all of their phases.” Id. In other words, FDA’s response to this comment was not that depression

and psychosis qualify because they are “conditions” even though they are not colloquially

understood as “illnesses.” Rather, FDA simply disagreed with the comment’s characterization of

these conditions and explained that they were examples of “diseases” that can be “serious.”

Nothing in the Final Rule supports the interpretation that pregnancy is a serious or life-threatening

illness.

           FDA’s 2016 Denial of the 2002 Petition is similarly unpersuasive. For example, FDA noted

that approximately fifty percent of pregnancies in the United States are unintended and that

unintended pregnancies may cause depression and anxiety. ECF No. 1-28 at 5. But categorizing




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complications or negative psychological experiences arising from pregnancy as “illnesses” is

materially different than classifying pregnancy itself as a serious or life-threatening illness per se.

Tellingly, FDA never explains how or why a “condition” would not qualify as a “serious or life-

threatening illness.” Suppose that a woman experiences depression because of lower back pain

that inhibits her mobility. Under FDA’s reading, a new drug used to treat lower back pain — which

can cause depression, just like unplanned pregnancy — could obtain accelerated approval under

Subpart H.

       Defendants cite zero cases reading Subpart H like FDA reads Subpart H. On the contrary,

courts have read “serious or life-threatening illnesses” to mean what it says. See, e.g., Tummino v.

Hamburg, 936 F. Supp. 2d 162, 182 (E.D.N.Y. 2013) (“Whether an illness is ‘serious or life-

threatening’ ‘is based on its impact on such factors as survival, day-to-day functioning, or the

likelihood that the disease, if left untreated, will progress from a less severe condition to a more

serious one.’”) (quoting 57 Fed. Reg. at 13235). The preamble to the final rule also clarified the

terms “would be used as FDA has defined them in the past.” 57 Fed. Reg. at 13235.

       Likewise, the Final Rule expressly stated this nomenclature “is the same as FDA defined

and used the terms” in two rulemakings: the first in 1987; the second in 1988. 57 Fed. Reg. at

58,945. In the 1988 rulemaking, FDA defined “life-threatening” to include diseases or conditions

“where the likelihood of death is high unless the course of the disease is interrupted (e.g., AIDS

and cancer), as well as diseases or conditions with potentially fatal outcomes where the end point

of clinical trial analysis is survival (e.g., increased survival in persons who have had a stroke or

heart attack).” See 53 Fed. Reg. at 41517; id. at 41516 (referencing “AIDS, cancer, Parkinson’s

disease, and other serious conditions”); CSX Transp., Inc. v. Ala. Dep’t of Revenue, 562 U.S. 277,

294 (2011) (the canon of ejusdem generis “limits general terms that follow specific ones to matters




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similar to those specified”) (internal marks omitted). Therefore, “diseases” and “conditions” are

used interchangeably, and even “conditions” must be “serious” or “life-threatening” as defined.

       Food and Drug scholars have understood Subpart H’s scope the same way. See, e.g.,

Charles Steenburg, The Food and Drug Administration’s Use of Postmarketing (Phase IV) Study

Requirements: Exception to the Rule?, 61 FOOD & DRUG L.J. 295, 323 (2006) (Subpart H

“extend[s] only to drugs and biological products that target[] ‘serious or life-threatening illnesses’

and offer[] a ‘meaningful’ benefit over existing treatments”). Even the Population Council argued

to FDA that “the imposition of Subpart H is unlawful” because “[t]he plain meaning of these terms

does not comprehend normal, everyday occurrences such as pregnancy and unwanted pregnancy.”

ECF No. 1-14 at 21. This reading is also consistent with the fact that aside from mifepristone, FDA

had approved fewer than forty NDAs under Subpart H by early 2002. See id. at 20. And of those

other approvals, twenty were for the treatment of HIV and HIV-related diseases, nine were for the

treatment of various cancers and their symptoms, four were for severe bacterial infections, one

was for chronic hypertension, and one was for leprosy. Id. “One of these things is not like the

others, one of these things just doesn’t belong.” See Sesame Street.

               b. Defendants are not entitled to Auer Deference

       Courts sometimes extend Auer deference “to agencies’ reasonable readings of genuinely

ambiguous regulations.” Kisor v. Wilkie, 139 S. Ct. 2400, 2408 (2019). Auer deference is rooted

in an “always rebuttable” presumption “that Congress would generally want the agency to play the

primary role in resolving regulatory ambiguities.” Id. at 2412. “Auer deference is sometimes

appropriate and sometimes not.” Id. at 2408. “First and foremost, a court should not afford Auer

deference unless the regulation is genuinely ambiguous.” Id. at 2415. “And before concluding that

a rule is genuinely ambiguous, a court must exhaust all the traditional tools of construction.” Id.




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(internal marks omitted). “That means a court cannot wave the ambiguity flag just because it found

the regulation impenetrable on first read.” Id. If genuine ambiguity remains, the agency’s reading

must still be “reasonable.” Id. And even if the regulation is genuinely ambiguous, the agency’s

interpretation “must in some way implicate its substantive expertise.” Id. at 2417. Finally, an

agency’s reading of a rule must reflect “fair and considered judgment” to receive Auer deference.

Id. (internal marks omitted).

           Here, Auer deference is not appropriate because “the language of [the] regulation is plain

and unambiguous.” McCann v. Unum Provident, 907 F.3d 130, 144 (3d Cir. 2018). As explained,

FDA’s definitions in prior rulemakings foreclose its interpretation of Subpart H. If there is any

ambiguity in “serious or life-threatening illnesses,” the ordinary meaning principle resolves that

ambiguity. See Bostock, 140 S. Ct. at 1825 (Kavanaugh, J, dissenting) (“The ordinary meaning

principle is longstanding and well settled.”). “[C]ommon parlance matters in assessing the

ordinary meaning” of a statute or regulation “because courts heed how most people would have

understood the text.” Id. at 1828 (internal marks omitted). The word “illness” refers to “poor

health; sickness,” or “a specific sickness or disease, or an instance of such.” 32 Merriam-

Webster invokes the definition for “sickness” — “an unhealthy condition of body or mind.” 33

Likewise, a Wikipedia search for “illness” re-directs to the entry for “Disease,” which is defined

as “a particular abnormal condition that negatively affects the structure or function of all or part

of an organism, and that is not immediately due to any external injury.” 34 Pregnancy, on the other



32
  Illness, Dictionary.com, https://www.dictionary.com/browse/illness (last visited Mar. 22, 2023); see also
Bostock,140 S. Ct. at 1766 (Alito, J, dissenting) (“Dictionary definitions are valuable because they are evidence of
what people at the time of a statute’s enactment would have understood its words to mean.”).
33
     Illness, Merriam-Webster.com, https://www.merriam-webster.com/dictionary/illness (last visited Mar. 22, 2023).
34
     Disease, Wikipedia, https://en.wikipedia.org/wiki/Disease (emphasis added) (last visited Mar. 22, 2023).



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hand, is defined as “the time during which one or more offspring develops (gestates) inside a

woman’s uterus (womb).” 35

           Most readers would not define pregnancy to be a serious or life-threatening illness.

Even FDA does not earnestly defend that position. True, complications can arise during

pregnancy, and said complications can be serious or life-threatening. But that does not make

pregnancy itself an illness. See ECF No 1-13 at 21. And even if the regulation were genuinely

ambiguous after exhausting all traditional tools of statutory construction, Defendants’

interpretation: (1) is not reasonable; (2) does not implicate their substantive expertise; and (3) does

not reflect fair and considered judgment. Accordingly, Defendants are not entitled to Auer

deference on their interpretations of “serious or life-threatening illnesses.” By interpreting Subpart

H’s scope as reaching any state or side effect that can be considered an undefined “condition,”

Defendants broaden the regulation on accelerated approval of new drugs farther than the text of

the regulation would ever suggest. Therefore, FDA’s approval of chemical abortion drugs under

Subpart H exceeded its authority under the regulation’s first requirement.

                    c. Chemical Abortion Drugs do not provide a “Meaningful Therapeutic Benefit”

           FDA also exceeded its authority under the second requirement of Subpart H. In addition to

treating a serious or life-threatening illness, chemical abortion drugs must also provide a

“meaningful therapeutic benefit” to patients over surgical abortion. 21 C.F.R. § 314.500.

As explained, this cannot be the case because chemical abortion drugs do not treat “serious or life-

threatening illnesses” — a prerequisite to reaching the second requirement. Id. Similarly, chemical

abortion drugs cannot be “therapeutic” because the word relates to the treatment or curing of

disease. 36 But even putting that aside, chemical abortion drugs do not provide a meaningful


35
     Pregnancy, Wikipedia, https://en.wikipedia.org/wiki/Pregnancy (last visited Mar. 22, 2023).
36
     Therapeutic, Dictionary.com, https://www.dictionary.com/browse/illness (last visited Mar. 28, 2023).


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therapeutic benefit over surgical abortion. See 21 C.F.R. § 314.500 (examples include where the

benefit is the “ability to treat patients unresponsive to, or intolerant of, available therapy, or

improved patient response over available therapy”). To the extent surgical abortion can be

considered a “therapy,” the clinical trials did not compare chemical abortion with surgical abortion

to find such a benefit. ECF No. 1 at 44.

           Defendants argue just one “meaningful therapeutic benefit”: chemical abortion drugs

avoided “an invasive surgical procedure and anesthesia in 92 percent of” patients in the trial. ECF

No. 28 at 37. But “[b]y defining the ‘therapeutic benefit’ solely as the avoidance of the current

standard of care’s delivery mechanism, FDA effectively guarantees that a drug will satisfy this

second prong of Subpart H as long as it represents a different method of therapy.” ECF No. 1-14

at 22. And even if that were a benefit, chemical abortions are over fifty percent more likely than

surgical abortion to result in an emergency room visit within thirty days. ECF No. 7 at 21. 37

Consequently, the number of chemical abortion-related emergency room visits increased by over

five hundred percent between 2002 and 2015. ECF No. 1 at 19.

           One study revealed the overall incidence of adverse events is “fourfold higher” in chemical

abortions when compared to surgical abortions. 38 Women who underwent chemical abortions also

experienced far higher rates of hemorrhaging, incomplete abortion, and unplanned surgical

evacuation. 39 Chemical abortion patients “reported significantly higher levels of pain, nausea,



37
     Some studies report that the exact number is fifty-three percent. See Studnicki et al., supra note 22.
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  See Maarit Niinimäki et al., Immediate Complications After Medical Compared with Surgical Termination of
Pregnancy, 114 OBSTETRICS & GYNECOLOGY 795 (2009). FDA agrees with this study but finds it “not surprising”
given that chemical abortion “is associated with longer uterine bleeding.” ECF No. 1-44 at 38. See also ECF No 1-
13 at 15, n.68–72 (collecting studies demonstrating the far higher rates of adverse events in chemical abortion over
surgical abortion).
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     Id.



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vomiting and diarrhea during the actual abortion than did surgical patients . . . Post-abortion pain

occurred in 77.1% of mifepristone patients compared with only 10.5% of surgical patients.”

ECF No 1-13 at 24. And before the approval, an FDA medical officer recognized the “medical

regimen had more adverse events, particularly bleeding, than did surgical abortion. Failure rates

exceeded those for surgical abortion . . . This is a serious potential disadvantage of the medical

method.” Id. at 23 (emphasis added).

           Other studies show eighty-three percent of women report that chemical abortion “changed”

them — and seventy-seven percent of those women reported a negative change. 40 Thirty-

eight percent of women reported issues with anxiety, depression, drug abuse, and suicidal thoughts

because of the chemical abortion. 41 Bleeding from a chemical abortion, unlike surgical abortion,

can last up to several weeks. 42 And the mother seeing the aborted human “appears to be a difficult

aspect of the medical termination process which can be distressing, bring home the reality of the

event and may influence later emotional adaptation.” 43 “For example, one woman was surprised

and saddened to see that her aborted baby ‘had a head, hands, and legs’ with ‘[d]efined fingers and

toes.’” ECF No. 1 at 21. The entire abortion process takes place within the mother’s home, without

physician oversight, potentially leading to undetected ectopic pregnancies, failure of rH factor

incompatibility detection, and misdiagnosis of gestational age — all leading to severe or even fatal




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  See Katherine A. Rafferty & Tessa Longbons, #AbortionChangesYou: A Case Study to Understand the
Communicative Tensions in Women’s Medication Abortion Narratives, 36 HEALTH COMM. 1485, 1485–94 (2021),
https://www.tandfonline.com/doi/full/10.1080/10410236.2020.1770507.
41
     Id.
42
  After Mifepristone: When bleeding will start and how long will it last?, WOMEN ON WEB,
https://www.womenonweb.org/en/page/484/when-will-you-start-bleeding-and-howlong-will-it-last. See also ECF
No. 1-28 at 25 (“Up to 8% of all subjects may experience some type of bleeding for 30 days or more.”).

 Pauline Slade et al., Termination of Pregnancy: Patient’s Perception of Care, 27 J. OF FAMILY PLANNING &
43

REPRODUCTIVE HEALTH CARE 72, 76 (2001).


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consequences. See ECF No. 96 at 15–17. Contrary to popular belief and talking points, the

evidence shows chemical abortion is not “as easy as taking Advil.” Id. at 20.

            Compelling evidence suggests the statistics provided by FDA on the adverse effects of

chemical abortion understate the negative impact the chemical abortion regimen has on women

and girls. When women seek emergency care after receiving the chemical abortion pills, the

abortionist that prescribed the drugs is usually not the provider to manage the mother’s

complications. 44 Consequently, the treating physician may not know the adverse event is due to

mifepristone. Id. at 13. Studies support this conclusion by finding over sixty percent of women and

girls’ emergency room visits after chemical abortions are miscoded as “miscarriages” rather than

adverse effects to mifepristone. 45 Simply put, FDA’s data are incomplete and potentially

misleading, as are the statistics touted by mifepristone advocates.

            Lastly, chemical abortion does not “treat patients unresponsive to, or intolerant of,

available therapy.” See 21 C.F.R. § 314.500. “To the contrary, because ‘medical abortion failures

should be managed with surgical termination’ the option for surgical abortion must be available

for any Mifeprex patient.” ECF No. 1-14 at 23 (quoting the Mifeprex “Warnings” label). One study

showed that 18.3 percent of women required surgical intervention after the chemical abortion

regimen failed. Id. Hence, “any patient who would be intolerant of surgical abortion, if such a class

of patients exists, cannot use the Mifeprex Regimen.” Id. at 24. On balance, the data reflect little

to no benefit over surgical abortion — much less a “meaningful therapeutic” benefit.




44
  Kathi Aultman et al., Deaths and Severe Adverse Events after the use of Mifepristone as an Abortifacient from
September 2000 to February 2019, 36 ISSUES IN LAW & MED., 3–26 (2021).
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     Studnicki et al., supra note 9.


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               d. Defendants’ Misapplication of Subpart H has not been Cured by Congress

       Defendants contend “Plaintiffs’ arguments about Subpart H have been overtaken by

congressional action.” ECF No. 28 at 35. In the FDAAA, “Congress specifically directed” that

drugs with elements to assure safe use “in effect on the effective date on this Act” would be

“deemed to have in effect an approved” REMS. Id. (citing Pub. L. No. 110-85, § 909(b)(1)).

But the sponsors of such drugs were also required to submit a proposed REMS within 180 days.

See Pub. L. No. 110-85, § 909(b)(3). Hence, Congress “deemed” preexisting safety requirements

to be a sufficient REMS until a new REMS was approved. The FDAAA did not affect, however,

whether an NDA was properly approved or authorized under Subpart H in the first place.

Rather, the FDAAA required that such drugs needed continued restrictions in place to mitigate

risks. Implementation of a REMS under the FDAAA does not somehow repeal or supplant the

approval process under Subpart H or 21 U.S.C. § 355(d). The FDAAA only eased the regulatory

transition from Subpart H to the REMS provision. Simply stated, Congress’s general reiteration

that dangerous drugs should carry a REMS did not codify FDA’s specific approval of the

mifepristone NDA. It did not consider the chemical abortion approval at all.

       In sum, Subpart H doubly forecloses FDA’s approval of mifepristone. At most, FDA might

have lawfully approved mifepristone under Subpart H for cases where a pregnant woman’s life or

health is in danger. But even a limited approval of this sort would still not render pregnancy an

“illness.” And surgical abortion — a statistically far safer procedure — would still be available to

her. But in any case, that is not what FDA did. Instead, FDA manipulated and misconstrued the

text of Subpart H to greenlight elective chemical abortions on a wide scale. Therefore, Plaintiffs

have a substantial likelihood of prevailing on their claim that Defendants violated Subpart H.




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         2. FDA’s Pre-2021 Actions were Arbitrary and Capricious

         Under the FFDCA, a pharmaceutical company seeking to market a new drug must first

obtain FDA approval via an NDA. See 21 U.S.C. § 355(a), (b). The NDA must include “adequate

tests by all methods reasonably applicable to show whether or not such drug is safe for use under

the conditions prescribed, recommended, or suggested in the proposed labeling thereof.” 21 U.S.C.

§ 355(d).     The     trials    must     “provide      an      adequate     basis    for    physician      labeling.”

21 C.F.R. § 312.21(c). In those trials, “the drug is used the way it would be administered when

marketed.” 46 The Secretary must deny the NDA if “he has insufficient information to determine

whether such drug is safe for use under such conditions.” 21 U.S.C. § 355(d)(4).

         Here, the U.S. trials FDA relied upon when approving mifepristone required that: (1) each

woman receive an ultrasound to confirm gestational age and exclude an ectopic pregnancy; 47 (2)

physicians have experience in performing surgical abortions and admitting privileges at medical

facilities that provide emergency care; (3) all patients be within one hour of emergency facilities

or the facilities of the principal investigator; and (4) women be monitored for four hours to check

for adverse events after taking misoprostol. ECF No. 7 at 23. However, FDA included none of

these requirements — which were explicitly stated in the clinical trial FDA relied on most — in

the 2000 Approval. Id. Likewise, FDA’s 2016 Changes omitted the requirements of the underlying

tests: (1) gestational age confirmed by ultrasounds; (2) participants required to return for clinical

assessment; and (3) surgical intervention if necessary. Id. at 24.


46
   Glossary, WEILL CORNELL MEDICINE, https://research.weill.cornell.edu/compliance/human-subjects-research
/institutional-review-board/glossary-faqs-medical-terms-lay-3 (last visited Mar. 22, 2023) (emphasis added).
47
   The 2016 Denial of the 2002 Petition briefly notes the two French clinical trials did not require an ultrasound but
instead left the decision to the investigator’s discretion. ECF No. 1-28 at 19 n.47. Defendants do not explain how
many investigators chose to perform an ultrasound. The higher that number is, the more it supports Plaintiffs’
argument. But in any case, the U.S. trial was larger than the two French trials combined and is therefore the more
reliable study. Id. at 9.



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         Defendants maintain “there is no legal basis for Plaintiffs’ contention that the approved

conditions of use of a drug must duplicate the protocol requirements for the clinical trials

supporting its approval.” ECF No. 28 at 35. But FDA’s actions must not be arbitrary and

capricious. 48 See 5 U.S.C. § 706(2)(A); United States v. An Article of Device . . . Diapulse, 768

F.2d 826, 832–33 (7th Cir. 1985) (concluding FDA’s denial was not arbitrary and capricious

because the proposed labeling did not “specify conditions of use that are similar to those followed

in the studies”). “The scope of review under the arbitrary and capricious standard is narrow and a

court is not to substitute its judgment for that of the agency.” Motor Vehicle Mfrs. Ass’n of U.S.,

Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (internal marks omitted).

“Nevertheless, the agency must examine the relevant data and articulate a satisfactory explanation

for its action including a rational connection between the facts found and the choice made.” Id.

(internal marks omitted); see also Sw. Elec. Power Co. v. EPA, 920 F.3d 999, 1013 (5th Cir. 2019)

(judicial review of agency action “is not toothless”). Courts must “consider whether the decision

was based on a consideration of the relevant factors and whether there has been a clear error of

judgment.” Id. (internal marks omitted). An agency’s action is “arbitrary and capricious” if it

“entirely failed to consider an important aspect of the problem, offered an explanation for its

decision that runs counter to the evidence before the agency, or is so implausible that it could not

be ascribed to a difference in view or the product of agency expertise.” Id. Defendants fail this test.




48
  Plaintiffs also frame what the Court characterized as the “study-match problem” as a statutory violation of the
FFDCA. See ECF No. 7 at 22. The Court does not read 21 U.S.C. § 355(d) as necessarily requiring an exact
“match” between trial conditions and the conditions on the approved labeling of a new drug. But Section 355(d)
does mandate the Secretary “issue an order refusing to approve the application” if he finds the investigations do not
show the drug is safe for use under the suggested conditions in the proposed labeling. FDA made such a finding yet
did not deny the Application. See ECF No. 1-24 at 6 (“We have concluded that adequate information has not been
presented to demonstrate that the drug, when marketed in accordance with the terms of distribution proposed, is safe
and effective for use as recommended.”). Thus, even if Defendants could survive “arbitrary and capricious” analysis
of the “study-match problem,” Defendants still violated Section 355(d) on their own terms.


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                 a. The 2000 Approval

        To begin, FDA “entirely failed to consider an important aspect of the problem” by omitting

any evaluation of the psychological effects of the drug or an evaluation of the long-term medical

consequences of the drug. State Farm, 463 U.S. at 43; ECF No. 84 at 12. Considering the intense

psychological trauma and post-traumatic stress women often experience from chemical abortion,

this failure should not be overlooked or understated. Nor was the drug tested for under-18 girls

undergoing reproductive development. 49 But that is not all. Clinical trial protocols in the United

States for the 2000 Approval required a transvaginal ultrasound for each patient to accurately date

pregnancies and identify ectopic pregnancies. ECF No. 1-28 at 19. But FDA ultimately concluded

that “a provider can accurately make such a determination by performing a pelvic examination and

obtaining a careful history.” Id. Thus, FDA determined it was inappropriate “to mandate how

providers clinically assess women for duration of pregnancy and for ectopic pregnancy.” ECF No.

1-28 at 19. FDA believed “it is reasonable to expect that the women’s providers would not have

prescribed Mifeprex if a pelvic ultrasound examination had clearly identified an ectopic

pregnancy.” Id. at 20.

        FDA thus assumes physicians will ascertain gestational age. But put another way, there is

simply no requirement that any procedure is done to rule out an ectopic pregnancy — which is a

serious and life-threatening situation. This is arbitrary and capricious. The mere fact that other

clinical methods can be used to date pregnancies does not support the view that it should be the



49
   In 1998, FDA issued the “Pediatric Rule,” which “mandated that drug manufacturers evaluate the safety and
effectiveness of their products on pediatric patients, absent an applicable exception.” Ass’n of Am. Physicians &
Surgeons, Inc. v. U.S. Food & Drug Admin., 391 F. Supp. 2d 171, 173–74 (D.D.C. 2005). Two years after approving
mifepristone, FDA was enjoined from enforcing the Pediatric Rule because it lacked statutory authority in issuing
the rule. See Ass’n of Am. Physicians & Surgeons v. FDA, 226 F. Supp. 2d 204, 222 (D.D.C. 2002). In response,
Congress enacted the Pediatric Research Equity Act of 2003 to codify the Pediatric Rule. See 21 U.S.C. § 355c.
In the 2000 Approval, FDA clarified that the Mifeprex NDA was covered by the Pediatric Rule. See ECF No. 1-26
at 4. However, FDA fully waived the rule’s requirements without explanation. ECF No. 1-28 at 30.


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provider’s decision to decide which method — if any — is used to make this determination. FDA

has never denied that an ultrasound is the most accurate method to determine gestational age and

identify ectopic pregnancies. See ECF No. 1-14 at 62. And the fact that other clinical methods can

be used does not mean that all such methods are equal in their accuracy and reliability. 50 FDA did

rely on a study showing that clinicians rarely underestimate gestational age. ECF No. 1-28 at 19

n.49. But this study does nothing to support FDA’s view that a transvaginal ultrasound is not

necessary to diagnose ectopic pregnancies. To this point, FDA merely argues that even

transvaginal ultrasounds do not guarantee an existing ectopic pregnancy will be identified. Id. at

19. If that is the case, it does not follow that it should be left to the provider’s discretion to employ

less reliable methods — or no methods at all.

         Correct diagnosis of gestational age and ectopic pregnancies is vital. The error in FDA’s

judgment is borne out by myriad stories and studies brought to the Court’s attention. One woman

alleged she did not receive an ultrasound or any other physical examination before receiving

chemical abortion drugs from Planned Parenthood. ECF No. 1 at 22. “The abortionist misdated

the baby’s gestational age as six weeks, resulting in the at-home delivery of a ‘lifeless, fully-

formed baby in the toilet,’ later determined to be around 30-36 weeks old.” Id.; see also Patel v.

State, 60 N.E.3d 1041, 1043 (Ind. Ct. App. 2016) (woman who used chemical abortion drugs

“delivered a live baby of approximately twenty-five to thirty weeks gestation who died shortly

after birth”). Another woman was given chemical abortion drugs during an ectopic pregnancy

because her ultrasound “was not even that of a uterus but was of a bladder.” 51 ECF No. 31 at 5.


50
  Studies reflect that women recurrently miscalculate their unborn child’s gestational age. See P. Taipale & V.
Hiilesmaa, Predicting delivery date by ultrasound and last menstrual period in early gestation, 97 OBSTETRICS
GYN. 189 (2001); David A. Savitz et al., Comparison of pregnancy dating by last menstrual period, ultrasound
scanning, and their combination, 187 AM. J. OBSTETRICS GYN. 1660 (2002).
51
  This incident also demonstrates that even where ultrasounds are used, only a qualified provider can assure they are
done properly.


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The resulting rupture “led to massive infection and a collapse of her vital systems.” Id.

Amicus Human Coalition identified four of their clients who were unknowingly ectopic when they

arrived at their clinic “with abortion pills in hand.” ECF No. 96 at 20. And at least two women

died from chemical abortion drugs last year. See ECF No. 120 at 30 n.5. One of those women was

an estimated twenty-one weeks pregnant. See id. Presumably, the fact that the woman obtained

chemical abortion drugs more than two months past FDA’s gestational age cutoff suggests that no

adequate procedures confirmed the gestational age in her case.

           FDA has also reported at least ninety-seven cases where women with ectopic pregnancies

took mifepristone. 52 But these data are likely incomplete because FDA now only requires reporting

on deaths. See ECF No. 1 at 4. And as noted above, hospitals often miscode complications from

chemical abortions as miscarriages. Studies show that women are thirty percent more likely to die

from a ruptured ectopic pregnancy while seeking abortions if the condition remains undiagnosed. 53

A woman may interpret the warning signs of an ectopic pregnancy — cramping and severe

bleeding — as side effects of mifepristone. In reality, the symptoms indicate her life is in danger. 54

Another study revealed that of 5,619 chemical abortion visits, 452 patients had a pregnancy of

“unknown location” and 31 were treated for ectopic pregnancy — including 4 that were ruptured. 55

Yet another study examined 3,197 unique, U.S.-only adverse event reports dated September 2000




52
  FDA, Mifepristone US. Post-Marketing Adverse Events Summary Through 6/30/2022, http://www.fda.gov/media/
164331/download.

 H.K. Atrash et al., Ectopic pregnancy concurrent with induced abortion: incidence and mortality, 162 AM. J.
53

OBSTETRICS GYN. 726 (1990).
54
     Id.

 Alisa B. Goldberg et al., Mifepristone and Misoprostol for Undesired Pregnancy of Unknown Location, 139
55

OBSTETRICS GYN. 771, 775 (2022).



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to February 2019. 56 That study noted 20 deaths, 529 life-threatening events, and 1,957 severe

adverse events before concluding that a pre-abortion ultrasound “should be required to rule out

ectopic pregnancy and confirm gestational age.” 57

           The record confirms FDA once shared these concerns. After all, many tragedies could be

avoided by auditing physician qualifications and requiring ultrasounds. In 1996, the FDA

Advisory Committee expressed to the Population Council “serious reservations” on how the drugs

were described “in terms of assuring safe and adequate credentialing of providers.” ECF No. 1-14

at 51. Population Council initially committed to conducting post-approval studies in 1996, and

FDA reiterated these requirements mere months before the September 2000 approval. See ECF

No. 1-24 at 6 (“We remind you of your commitments dated September 16, 1996, to perform the . . .

Phase 4 studies.”). Those protocols would have required, inter alia, that the Population Council:

(1) assess the long-term effects of multiple uses of mifepristone; (2) ascertain the frequency with

which women follow the regimen and outcomes of those that do not; (3) study the safety and

efficacy of chemical abortion in girls under the age of eighteen; and (4) ascertain the regimen’s

effects on children born after treatment failure. 58 ECF No. 1-28 at 32.




56
     Aultman et al., supra note 44.

57
     Id.
58
   See 153 Cong. Rec. S5765 (daily ed. May 9, 2007) (statement of Sen. Coburn) (“I recently learned of a woman
who was given RU-486 after she had a seizure. Her physicians assumed that the seizure was life-threatening to the
baby she was carrying and gave her RU-486 for a therapeutic abortion. RU–486 was not effective in her case and the
woman carried the baby to term. When the baby was born at a low birth weight, it also suffered from failure to
thrive. That baby has had three subsequent brain surgeries due to hydrocephalus. The baby also suffers from
[idiopathic lymphocytic colitis] — an inflammatory disease of the colon, which is extremely rare in children. It is
clear that RU-486 not only is unsafe in women, but it is also not completely effective. And when it is not effective,
the results are devastating.”).


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           Similarly, on February 18, 2000 — months before chemical abortion approval — FDA

informed the Population Council that “adequate information ha[d] not been presented to

demonstrate that the drug, when marketed in accordance with the terms of distribution proposed,

is safe and effective for use as recommended.” ECF No. 1-24 at 6 (emphasis added). FDA then

stated the “restrictions on distribution will need to be amended.” Id. Accordingly, FDA informed

the Population Council that it would proceed under Subpart H — the only provision that could

implement the requisite restrictions on distribution. Id. But as explained above, that was the

improper regulation for the approval of chemical abortion. Regardless, the restrictions were

insufficient to ensure safe use.

           On June 1, 2000, FDA privately delivered to the Population Council a set of proposed

restrictions to rectify the safety issues. Said proposal required physicians who were: (1) “trained

and authorized by law” to perform surgical abortions; (2) trained in administering mifepristone

and treating adverse events; and (3) allowed “continuing access (e.g., admitting privileges) to a

medical facility equipped for instrumental pregnancy termination, resuscitation procedures, and

blood transfusion at the facility or [one hour’s] drive from the treatment facility.” See ECF No. 1-

14 at 53–54. When FDA’s proposal was leaked to the press, a political and editorial backlash

ensued. 59 In response, the Population Council rejected the proposal and repudiated the restrictions

the sponsor itself proposed in 1996 — what FDA deemed a “very significant change” in the

sponsor’s position. Id. at 50. Because “[t]he whole idea of mifepristone was to increase access,”

abortion advocates argued that restrictions on mifepristone “would effectively eliminate” the

drug’s “main advantage” and would “kill[] the drug.” 60


59
  Sheryl Gay Stolberg, FDA Adds Hurdles in Approval of Abortion Pill, THE NEW YORK TIMES (June 8, 2000),
https://www.nytimes.com/2000/06/08/us/fda-adds-hurdles-in-approval-of-abortion-pill.html.
60
     Id.


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          In September 2000, FDA abandoned its safety proposals and acquiesced to the objections

of the Population Council and Danco. Despite its “serious reservations” about mifepristone’s

safety, FDA approved a regimen that relied on a self-certification that a prescribing physician has

the ability to diagnose ectopic pregnancies. Id. at 51, 62; see also ECF No. 1-28 at 21 (“[W]e

concluded that there was no need for special certification programs or additional restrictions.”).

FDA later released the applicant entirely from its Phase 4 duties — twelve years after the 1996

commitment. ECF Nos. 1-24 at 6, 1-28 at 32; see also 21 C.F.R. § 314.510 (“Approval under this

section will be subject to the requirement that the applicant study the drug further, to verify and

describe its clinical benefit, where there is uncertainty . . . of the observed clinical benefit to

ultimate outcome. Postmarketing studies would usually be studies already underway.”) (emphasis

added).

          FDA must refuse to approve a drug if the agency determines there is “insufficient

information to determine whether such drug is safe for use” or a “lack of substantial evidence that

the drug will have the effect it purports or is represented to have” under the conditions of use in

the proposed label. 21 U.S.C. § 355(d)(4)–(5); see also 21 C.F.R. § 314.125(b). FDA is therefore

required to deny an NDA if it makes the exact findings FDA made in its 2000 review. “[A]n

agency’s decision to change course may be arbitrary and capricious if the agency ignores or

countermands its earlier factual findings without reasoned explanation for doing so.” F.C.C. v. Fox

Television Stations, Inc., 556 U.S. 502, 537 (2009). The agency must ordinarily “display awareness

that it is changing position,” and “must show that there are good reasons for the new policy.” Id.

at 515. And “if the agency’s decision was in any material way influenced by political concerns it

should not be upheld.” Earth Island Inst. v. Hogarth, 494 F.3d 757, 768 (9th Cir. 2007). FDA’s

only acknowledgments of its prior proposals were that “FDA and the applicant were not always in




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full agreement about the distribution restrictions” and that fulfilling the Phase 4 commitments

“would not be feasible.” ECF No. 1-28 at 18, 32–33.

           The Court does not second-guess FDA’s decision-making lightly. But here, FDA

acquiesced on its legitimate safety concerns — in violation of its statutory duty — based on plainly

unsound reasoning and studies that did not support its conclusions. There is also evidence

indicating FDA faced significant political pressure to forego its proposed safety precautions to

better advance the political objective of increased “access” to chemical abortion — which was the

“whole idea of mifepristone.” 61 As President Clinton’s Secretary for Health & Human Services

(“HHS”) explained to the White House, it was FDA that arranged the meeting between the French

pharmaceutical firm — who owned the mifepristone patent rights — and the eventual drug sponsor

Population Council. The purpose of the FDA-organized meeting was “to facilitate an agreement

between those parties to work together to test [mifepristone] and file a new drug application.” ECF

No. 95 at 14. HHS also “initiated” another meeting “to assess how the United States Government”

— i.e., the Clinton Administration — “might facilitate successful completion of the negotiations”

between the French firm and the American drug sponsor to secure patent rights and eventual FDA

approval. Id. at 16. In fact, for their “negotiations [to be] successfully concluded,” the HHS

Secretary believed American pressure on the French firm was necessary. 62 Id.

           Whether FDA abandoned its proposed restrictions because of political pressure or not, one

thing is clear: the lack of restrictions resulted in many deaths and many more severe or life-


61
     Stolberg, supra note 59.
62
  See also Lars Noah, A Miscarriage in the Drug Approval Process?: Mifepristone Embroils the FDA in Abortion
Politics, 36 WAKE FOREST L. REV. 571, 576 (2001) (“The Clinton administration went to great lengths to bring
mifepristone into the United States. From pressuring the hesitant manufacturer to apply for approval, and utilizing a
specialized review procedure normally reserved for life-saving drugs, to imposing unusual restrictions on
distribution, and promising to keep the identity of the manufacturer a secret, the FDA’s approval process deviated
from the norm in several respects.”).



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threatening adverse reactions. Due to FDA’s lax reporting requirements, the exact number is not

ascertainable. But it is likely far higher than its data indicate for reasons previously mentioned.

Whatever the numbers are, they likely would be considerably lower had FDA not acquiesced to

the pressure to increase access to chemical abortion at the expense of women’s safety.

FDA’s failure to insist on the inclusion of its proposed safety restrictions was not “the product of

reasoned decisionmaking.” State Farm, 463 U.S. at 52. To hold otherwise would be “tantamount

to abdicating the judiciary’s responsibility under the [APA] to set aside agency actions that are

‘arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.’”

A.L. Pharma, Inc. v. Shalala, 62 F.3d 1484, 1491 (D.C. Cir. 1995) (quoting 5 U.S.C. § 706(2)(A)).

Finally, the 2000 Approval was also arbitrary and capricious because it violated Subpart H. 63

                  b. The 2016 Changes

         FDA made numerous substantial changes to the chemical abortion regimen in 2016. These

changes include but are not limited to: (1) eliminating the requirement for prescribers to report all

nonfatal serious adverse events; (2) extending the maximum gestational age from 49 days to 70

days; (3) eliminating the requirement that administration of misoprostol occurs in-clinic; (4)

removing the requirement for an in-person follow-up exam; and (5) allowing “healthcare

providers” other than physicians to dispense chemical abortion drugs. ECF No. 1 at 53–54.

Plaintiffs allege the 2016 Changes were also arbitrary and capricious “because none of the studies

on which FDA relied were designed to evaluate the safety and effectiveness of chemical abortion



63
  As one scholar noted, “the agency took this route so that it could better justify imposing otherwise unauthorized
restrictions on the use and distribution of the drug.” See Noah, supra note 62, at 582. And “while agency action may
generally be ‘entitled to a presumption of regularity,’ here FDA itself acknowledges that its action has not been
regular: it failed to respond to the Citizen Petition for years.” Bayer, 942 F. Supp. 2d at 25 (internal marks omitted).
At the hearing, Defendants’ leading argument for Subpart H was that “none of it really matters” because of the
FDAAA. See ECF No. 136 at 100. “This is not the argument of an agency that is confident in the legality of its
actions.” ECF No. 100 at 15.



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drugs for use under the conditions prescribed, recommended, or suggested in the proposed

labeling.” ECF No. 7 at 24.

           For similar reasons as the 2000 Approval, the Court agrees. Unlike the crucial studies FDA

relied upon to extend the maximum gestational age, change the dosing regimen, and authorize a

repeat dose of misoprostol, the labeling approved by FDA in 2016 did not require: (1) an

ultrasound; (2) an in-person follow-up exam; or (3) the ability of abortionists to personally perform

a surgical abortion if necessary. Id. Simply put, FDA built on its already-suspect 2000 Approval

by removing even more restrictions related to chemical abortion drugs that were present during the

final phase of the investigation. And it did so by relying on studies that included the very conditions

FDA refused to adopt. 64 None of the studies compared the safety of the changes against the then-

current regimen, nor under the labeled conditions of use. Moreover, FDA shirked any

responsibility for the consequences of its actions by eliminating any requirement that non-fatal

adverse events be reported. Thus, FDA took its chemical abortion regimen — which had already

culminated in thousands of adverse events suffered by women and girls — and removed what little

restrictions protected these women and girls, systematically ensuring that almost all new adverse

events would go unreported or underreported.

           Defendants aver that “Plaintiffs point to no statutory provision requiring the conditions of

use in a drug’s approved labeling to duplicate the protocol requirements used in the studies

supporting its approval.” ECF No. 28 at 32. “The [FFDCA] thus requires FDA to apply its

scientific expertise in determining whether a drug has been shown to be safe and effective under

particular conditions of use, and the application of that expertise is owed substantial deference.”

Id. But FDA does not have unfettered discretion to approve dangerous drugs under substantially



64
     See ECF No. 1-35.


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different conditions than the tests, trials, and studies cited. To be clear, the Court does not hold

that any difference between approval conditions and testing conditions — no matter how well-

justified — means the approval fails as a matter of law. But the agency “must cogently explain

why it has exercised its discretion in a given manner,” and that explanation must be “sufficient to

enable [the Court] to conclude that the [agency’s action] was the product of reasoned

decisionmaking.” A.L. Pharma, 62 F.3d at 1491 (quoting State Farm, 463 U.S. at 52). Defendants

have not done so here. FDA’s 2016 Actions were not the product of reasoned decision-making.

               c. The 2019 Generic Approval

       The FFDCA allows a generic drug manufacturer to submit an ANDA for premarket review

and approval. 21 U.S.C. § 355(j); 21 C.F.R. § 314.94. The generic sponsor must show that: (1) the

conditions of use prescribed, recommended, or suggested in the labeling have been previously

approved; and (2) the drug product is chemically the same as the already approved drug —

allowing it to rely on FDA’s previous finding of safety and effectiveness for the approved drug.

Id. On April 11, 2019, FDA approved GenBioPro, Inc.’s ANDA for a generic version of

mifepristone. ECF No. 7 at 10. In doing so, FDA relied on Mifeprex’s safety data. Id.

       Plaintiffs argue the 2019 Approval was unlawful because FDA relied on the unlawful 2000

Approval and its unlawful 2016 Changes when approving generic mifepristone. ECF No. 7 at 27.

If FDA withdraws the listed drug on which the ANDA-approved generic drug is based, the agency

is generally required to withdraw the generic drug as well. 21 U.S.C. § 355(j)(6); 21 C.F.R. §

314.151. Because the Court agrees that Plaintiffs have a substantial likelihood of success in their

challenges to the 2000 and 2016 Actions, the Court is inclined to agree with Plaintiffs on this claim

as well.




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        E. There Is a Substantial Threat of Irreparable Harm

        To satisfy the second element of the preliminary injunction standard, Plaintiffs “must

demonstrate that if the district court denied the grant of a preliminary injunction, irreparable harm

would result.” Janvey, 647 F.3d at 600 (internal marks omitted). “In general, a harm is irreparable

where there is no adequate remedy at law, such as monetary damages.” Id. (internal marks

omitted). “When determining whether injury is irreparable, it is not so much the magnitude but the

irreparability that counts.” Texas v. U.S. Env’t Prot. Agency, 829 F.3d 405, 433–34 (5th Cir. 2016)

(internal marks omitted). Where “the likelihood of success on the merits is very high, a much

smaller quantum of injury will sustain an application for preliminary injunction.” Mova Pharm.

Corp. v. Shalala, 955 F. Supp. 128, 131 (D.D.C. 1997), aff’d, 140 F.3d 1060 (D.C. Cir. 1998)

(citing Cuomo v. U.S. Nuclear Regul. Comm’n, 772 F.2d 972, 974 (D.C.Cir. 1985) (per curiam)).

Plaintiffs’ Motion satisfies this standard.

        For reasons already stated, Plaintiffs are likely to suffer irreparable harm if the Motion is

not granted. At least two women died from chemical abortion drugs just last year. See ECF No.

120 at 30 n.5; 65 Deerfield Med. Ctr. v. City of Deerfield Beach, 661 F.2d 328, 338 (5th Cir. 1981)

(finding irreparable harm to third-party pregnant women). “The physical and emotional trauma

that chemical abortion inflicts on women and girls cannot be reversed or erased.” ECF No. 7 at 28;

see also E.E.O.C. v. Chrysler Corp., 733 F.2d 1183, 1186 (6th Cir. 1984) (affirming irreparable

harm for plaintiffs’ “emotional distress”). “The crucial time that doctors need to treat these injured

women and girls cannot be replaced.” Id. “The mental and monetary costs to these doctors cannot

be repaid.” Id. “And the time, energy and resources that Plaintiff medical associations expend in



65
  One of those women was reportedly twenty-one weeks pregnant, which is well past the cutoff for gestational age
even after the 2016 Changes. See id. The other maternal death occurred while the woman was seven weeks pregnant,
which falls within FDA’s current restrictions. Id.


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response to FDA’s actions on chemical abortion drugs cannot be recovered.” Id.; see also

Whitman-Walker Clinic, Inc. v. U.S. Dep’t of Health & Hum. Servs., 485 F. Supp. 3d 1, 56 (D.D.C.

2020) (obstacles that make it more difficult for an organization to accomplish its mission provide

injury for both standing and irreparable harm).

        Defendants’ respond that the drugs at issue have been on the market for more than twenty

years. ECF No. 28 at 41. This argument ignores that many restrictions and safeguards — which

no longer exist — were in place for most of that time. Defendants also argue “Plaintiffs’ extreme

delay” in filing suit shows they face no irreparable harm. Id. at 42. But the time between the

allegedly unlawful actions and the filing of a suit “is not determinative” of whether relief should

be granted. Boire v. Pilot Freight Carriers, Inc., 515 F.2d 1185, 1193 (5th Cir. 1975). Here, eleven

months does not constitute an “extreme” delay. See, e.g., Optimus Steel, LLC v. U.S. Army Corps

of Eng’rs, 492 F. Supp. 3d 701, 720 (E.D. Tex. 2020) (eleven-month delay did not militate against

equitable relief because “the Court can presume that Plaintiff needed ample time to evaluate its

claims”). 66 “[T]emporary injunctive relief may still be of great value to protect against ongoing

harms, even if the initial harm is in the distant past.” N.L.R.B. v. Hartman & Tyner, Inc., 714 F.3d

1244, 1252 (11th Cir. 2013).

        The Court also disagrees that Plaintiffs’ theories of injury “are too speculative to even show

standing.” ECF No. 28 at 42. Plaintiffs have credibly alleged past and future harm resulting from

the removal of restrictions for chemical abortion drugs. “Although a court’s analysis of likelihood

of success in the context of an injunctive relief request is governed by the deferential APA’s

arbitrary and capricious standard, a court does not always owe deference to federal agencies’

positions concerning irreparable harm, balance of hardships, or public interest.” San Luis & Delta-


 To clarify, the eleven months referenced here is the approximate time between FDA’s “final agency action” in the
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December 2021 Denial of the 2019 Petition and the commencement of this case.


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Mendota Water Auth. v. Jewell, 969 F. Supp. 2d 1211, 1215 (E.D. Cal. 2013); see also R.J.

Reynolds Vapor Co. v. FDA, No. 23-60037 (5th Cir. Mar. 23, 2023) 67 (noting FDA’s public interest

argument was “obviously colored by the FDA’s view of the merits”); Sierra Forest Legacy v.

Sherman, 646 F.3d 1161, 1186 (9th Cir. 2011) (“If the federal government’s experts were always

entitled to deference concerning the equities of an injunction, substantive relief against federal

government policies would be nearly unattainable, as government experts will likely attest that the

public interest favors the federal government’s preferred policy.”).

           F. Preliminary Injunction Would Serve the Public Interest

           The third and fourth factors — assessing the harm to the opposing party and weighing the

public interest — “merge when the Government is the opposing party.” Nken v. Holder, 556 U.S.

418, 435 (2009). “[T]he public interest weighs strongly in favor of preventing unsafe drugs from

entering the market.” Hill Dermaceuticals, 524 F. Supp. 2d at 12. “[T]here is generally no public

interest in the perpetuation of unlawful agency action.” State v. Biden, 10 F.4th 538, 560 (5th Cir.

2021) (internal marks omitted). And “there is a strong public interest in meticulous compliance

with the law by public officials.” Fund for Animals, Inc. v. Espy, 814 F. Supp. 142, 152 (D.D.C.

1993); see also State v. Biden, 10 F.4th at 559. “Indeed, the Constitution itself declares a prime

public interest that the President and, by necessary inference, his appointees in the Executive

Branch ‘take Care that the Laws be faithfully executed.’” Id. (internal marks omitted).

Additionally, Defendants’ actions harm States’ efforts to regulate chemical abortion “in the

interests of life, health, and liberty.” ECF No. 100 at 21. “The Court appreciates FDA’s

institutional interest but, given its long-standing disregard of [Plaintiffs’] Citizen Petition[s], its

argument has a hollow center.” Bayer HealthCare, 942 F. Supp. 2d at 26. To the extent Defendants



67
     https://www.ca5.uscourts.gov/opinions/pub/23/23-60037-CV0.pdf.


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and third parties would be harmed by an injunction, the Court still balances these factors in favor

of ensuring that women and girls are protected from unnecessary harm and that Defendants do not

disregard federal law.

       For these reasons, a preliminary injunction would serve the public interest.

Defendants maintain that unaborted children of the women “who seek but are unable to obtain an

abortion” are “expected to do worse in school,” “to have more behavioral and social issues, and

ultimately to attain lower levels of completed education.” ECF No. 28-2 at 7. “They are also

expected to have lower earnings as adults, poorer health, and an increased likelihood of criminal

involvement.” Id. But “[u]sing abortion to promote eugenic goals is morally and prudentially

debatable.” Planned Parenthood of Ind. & Ky., Inc. v. Comm’r of Ind. State Dep’t of Health, 917

F.3d 532, 536 (7th Cir. 2018) (Easterbrook, J., dissenting); see also Box v. Planned Parenthood of

Ind. & Ky., Inc., 139 S. Ct. 1780, 1790 (2019) (Thomas, J., concurring) (“[A]bortion has proved

to be a disturbingly effective tool for implementing the discriminatory preferences that undergird

eugenics.”). Though eugenics were once fashionable in the Commanding Heights and High Court,

they hold less purchase after the conflict, carnage, and casualties of the last century revealed the

bloody consequences of Social Darwinism practiced by would-be Übermenschen. Cf. Buck v. Bell,

274 U.S. 200, 207 (1927) (“It is better for all the world, if instead of waiting to execute degenerate

offspring for crime, or to let them starve for their imbecility, society can prevent those who are

manifestly unfit from continuing their kind. The principle that sustains compulsory vaccination is

broad enough to cover cutting the Fallopian tubes.”).

       Defendants are correct that one purpose of injunctive relief is to preserve the status quo.

See, e.g., City of Dallas v. Delta Air Lines, Inc., 847 F.3d 279, 285 (5th Cir. 2017). But the “status

quo” to be restored is “the last peaceable uncontested status existing between the parties before the




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dispute developed.” Texas v. Biden, No. 2:21-CV-067-Z, 2022 WL 17718634, at *9 (N.D. Tex.

Dec. 15, 2022) (internal marks omitted); see also Texas v. United States, 40 F.4th 205, 220 (5th

Cir. 2022) (the relevant status quo is the one “absent the unlawful agency action”); Wages & White

Lion, 16 F.4th at 1144 (“In other words, ‘the relief sought here would simply suspend

administrative alteration of the status quo.’”) (quoting Nken, 556 U.S. at 430 n.1); Callaway, 489

F.2d at 576 (“If the currently existing status quo itself is causing one of the parties irreparable

injury, it is necessary to alter the situation so as to prevent the injury.”). “[P]arties could otherwise

have no real opportunity to seek judicial review except at their peril.” Mila Sohoni, The Power to

Vacate a Rule, 88 GEO. WASH. L. REV. 1121, 1157–58 (2020). Chemical abortion is only the status

quo insofar as Defendants’ unlawful actions and their delay in responding to Plaintiffs’ petitions

have made it so. The fact that injunctive relief could upset this “status quo” is therefore an

insufficient basis to deny injunctive relief.

        G. A Stay Under Section 705 of the APA Is More Appropriate Than Ordering
           Withdrawal or Suspension of FDA’s Approval

        The Motion asks for injunctive relief but goes as far as requesting the Court to order

Defendants to “withdraw or suspend the approvals of chemical abortion drugs, and remove them

from the list of approved drugs.” ECF No. 7 at 7. Singular equitable relief is “commonplace” in

APA cases and is often “necessary to provide the plaintiffs” with “complete redress.” E. Bay

Sanctuary Covenant v. Biden, 993 F.3d 640, 681 (9th Cir. 2021) (internal marks omitted).

Although the Court finds Plaintiffs have a substantial likelihood of prevailing on the merits, the

Court instead exercises its authority under the APA to order less drastic relief. Section 705 of the

APA provides:




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        When an agency finds that justice so requires, it may postpone the effective date of
        action taken by it, pending judicial review. On such conditions as may be required
        and to the extent necessary to prevent irreparable injury, the reviewing court,
        including the court to which a case may be taken on appeal from or on application
        for certiorari or other writ to a reviewing court, may issue all necessary and
        appropriate process to postpone the effective date of an agency action or to
        preserve status or rights pending conclusion of the review proceedings.

5 U.S.C. § 705 (emphasis added).

        The Fifth Circuit has acknowledged “meaningful differences between an injunction, which

is a ‘drastic and extraordinary remedy,’ and vacatur, which is ‘a less drastic remedy.’” Texas v.

Biden, 2022 WL 17718634 at *7 (quoting Texas v. United States, 40 F.4th at 219). Whereas an

injunction “tells someone what to do or not to do,” a vacatur only reinstates “the status quo absent

the unlawful agency action and neither compels nor restrains further agency decision-making.” Id.

(internal marks omitted). A Section 705 stay can “be seen as an interim or lesser form of vacatur

under Section 706.” Id. “Just as a preliminary injunction is often a precursor to a permanent

injunction, a stay under Section 705 can be viewed as a precursor to vacatur under Section 706.”

Id.; see also Nken, 556 U.S. at 428–29 (a stay “temporarily suspend[s] the source of authority to

act — the order or judgment in question — not by directing an actor’s conduct”). “Motions to stay

agency action pursuant to [Section 705] are reviewed under the same standards used to evaluate

requests for interim injunctive relief.” Id. at *10 (citing Affinity Healthcare Servs., Inc. v. Sebelius,

720 F. Supp. 2d 12, 15 n.4 (D.D.C. 2010)); see also Nken, 556 U.S. at 434; Texas v. U.S. Env’t

Prot. Agency, 829 F.3d at 435. Because the Court finds injunctive relief is generally appropriate,

Section 705 plainly authorizes the lesser remedy of issuing “all necessary and appropriate process”

to postpone the effective date of the challenged actions. “Courts — including the Supreme Court

— routinely stay already-effective agency action under Section 705.” Id. at *8 (emphasis added)

(collecting cases).




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       Accordingly, the Court hereby STAYS the effective date of FDA’s September 28, 2000,

Approval of mifepristone and all subsequent challenged actions related to that approval — i.e., the

2016 Changes, the 2019 Generic Approval, and the 2021 Actions. This Court acknowledges that

its decision in Texas v. Biden has been appealed to the Fifth Circuit. See 2:21-CV-067-Z, ECF No.

184 (Feb. 13, 2023). If the Fifth Circuit reverses this Court’s Section 705 analysis, the Court

clarifies that it alternatively would have ordered Defendants to suspend the chemical abortion

approval and all subsequent challenged actions related to that approval until the Court can render

a decision on the merits.

       CONCLUSION

       For the foregoing reasons, the Court GRANTS the Motion IN PART. FDA’s approval of

mifepristone is hereby STAYED. The Court STAYS the applicability of this opinion and order

for seven (7) days to allow the federal government time to seek emergency relief from the United

States Court of Appeals for the Fifth Circuit.

       SO ORDERED.

       April 7, 2023

                                                      ________________________________
                                                      MATTHEW J. KACSMARYK
                                                      UNITED STATES DISTRICT JUDGE




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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                        AMARILLO DIVISION

ALLIANCE FOR HIPPOCRATIC
MEDICINE, on behalf of itself, its member
organizations, their members, and these
members patients; AMERICAN
ASSOCIATION OF PRO-LIFE                       Case No. _____________
OBSTETRICIANS AND
GYNECOLOGISTS, on behalf of itself, its
members, and their patients; AMERICAN
COLLEGE OF PEDIATRICIANS, on
behalf of itself, its members, and their
patients; CHRISTIAN MEDICAL &
DENTAL ASSOCIATIONS, on behalf of
itself, its members, and their patients;
SHAUN JESTER, D.O., on behalf of
himself and his patients; REGINA FROST-
CLARK, M.D., on behalf of herself and her
patients; TYLER JOHNSON, D.O., on
behalf of himself and his patients; and
GEORGE DELGADO, M.D., on behalf of
himself and his patients,
             Plaintiffs,

      v.

U.S. FOOD AND DRUG
ADMINISTRATION; ROBERT M.
CALIFF, M.D., in his official capacity as
Commissioner of Food and Drugs, U.S. Food
and Drug Administration; JANET
WOODCOCK, M.D., in her official capacity
as Principal Deputy Commissioner, U.S.
Food and Drug Administration; PATRIZIA
CAVAZZONI, M.D., in her official capacity
as Director, Center for Drug Evaluation and
Research, U.S. Food and Drug
Administration; U.S. DEPARTMENT OF
HEALTH AND HUMAN SERVICES; and
XAVIER BECERRA, in his official capacity
as Secretary, U.S. Department of Health and
Human Services,
            Defendants.


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                                 Add. 68                               MPI App. 001
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                                     COMPLAINT

               The U.S. Food and Drug Administration (FDA) must protect the

health, safety, and welfare of all Americans by rejecting or limiting the use of

dangerous drugs.

               But the FDA failed Americas women and girls when it chose politics

over science and approved chemical abortion drugs for use in the United States.

And it has continued to fail them by repeatedly removing even the most basic

precautionary requirements associated with their use.

               To date, the FDAs review, approval, and deregulation of chemical

abortion drugs has spanned three decades, correlated with four U.S. presidential

elections, and encompassed six discrete agency actions. Plaintiffs challenge these

six FDA actions and ask that the Court hold them unlawful, set them aside, and

vacate them.

               Beginning in January 1993, on his second full day in office, President

Bill Clinton directed his cabinet to legalize chemical abortion drugs in the United

States.

               President Clinton and his agency officials then pressured the French

manufacturer of the key chemical abortion drug, mifepristone (also known as RU-

486 and Mifeprex), to donate for free the U.S. patent rights of the drug to the

Population Councilas its name suggests, an entity focused on population control.

               After receiving the patent rights to mifepristone, the Population

Council submitted a new drug application, worked closely with the Clinton FDA

during the review process, and, not surprisingly, obtained the agencys approval on


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                                      Add. 69                               MPI App. 002
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September 28, 2000just over one month before the closely contested 2000 U.S.

presidential election.

             The only way the FDA could have approved chemical abortion drugs

was to use its accelerated drug approval authority, necessitating the FDA to call

pregnancy an illness and argue that these dangerous drugs provide a meaningful

therapeutic benefit over existing treatments.

             But pregnancy is not an illness, nor do chemical abortion drugs provide

a therapeutic benefit over surgical abortion. In asserting these transparently false

conclusions, the FDA exceeded its regulatory authority to approve the drugs.

             Whats more, the FDA needed to disavow science and the law because

the FDA never studied the safety of the drugs under the labeled conditions of use

despite being required to do so by the Federal Food, Drug, and Cosmetic Act

(FFDCA). The agency also ignored the potential impacts of the hormone-blocking

regimen on the developing bodies of adolescent girls in violation of the Pediatric

Research and Equity Act (PREA). And the FDA disregarded the substantial

evidence that chemical abortion drugs cause more complications than even surgical

abortions.

             Since then, the FDA has not followed the science, reversed course, or

fixed its mistakesall to the detriment of women and girls. Instead, the FDA has

doubled down on its actions and removed the few safeguards that were in place.

             In March 2016fourteen years after two Plaintiffs filed a citizen

petition with the FDA asking the agency to withdraw its approval of chemical




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                                    Add. 70                                MPI App. 003
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abortion drugsthe FDA rejected these Plaintiffs petition despite their

explanations that the agency violated federal laws by approving these drugs and

ignoring the substantial evidence that these drugs harm women and girls.

             On the same day that the FDA rejected the citizen petition and mere

months before another U.S. presidential election, the FDA also made major

changes to the chemical abortion drug regimen, eliminating crucial safeguards for

pregnant women and girls.

             For example, the FDA extended the permissible gestational age of the

baby for which a pregnant woman or girl may take chemical abortion drugsfrom

seven weeks to ten weeks.

             Numerous studies have demonstrated that there is an increased risk

from chemical abortion drugs to pregnant women and girls as the babys age

advances from seven weeks to ten weeks because the surface area of the placenta as

well as the size of the baby significantly grow during these three weeks.

             Also in 2016, the FDA changed the dosage and route of administration

for the chemical abortion drugs, reduced the number of required in-person office

visits from three to one, expanded who could prescribe and administer chemical

abortion drugs beyond medical doctors, and eliminated the requirement for

abortionists to report non-fatal complications from chemical abortion drugs

without requiring any objective clinical investigations or studies that evaluated the

safety and effectiveness of this new chemical abortion regimen or any safety

assessment of its effects on the developing bodies of girls under 18 years of age.




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                                     Add. 71                                MPI App. 004
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             These major changes failed to satisfy the rigorous scientific standards

of the FFDCA and violated PREAs requirement for a specific safety assessment of

these changes on pregnant girls who undergo the revised chemical abortion drug

regimen.

             Realizing a profit-making opportunity in the rapidly growing chemical

abortion business, another entity sought the FDAs approval to market and

distribute a generic version of mifepristone. In 2019, the FDA obliged and approved

the generic drugwithout requiring any new clinical investigations or studies that

evaluated the drugs safety and effectiveness under the requirements of the FFDCA,

nor any specific safety assessments on girls as set forth under PREA.

             A couple of years later, in April of 2021, shortly after President Joe

Biden took office, the FDAs new management issued a Non-Enforcement Decision

by which the agency would stop enforcing its requirement that abortionists provide

in-person dispensing of mifepristone and instead would temporarily allow mail-

order chemical abortions during the COVID-19 public health emergency.

             In December 2021two-and-a-half years after two Plaintiffs filed a

citizen petition asking the FDA to restore and strengthen the pre-2016 chemical

abortion drug regimen or, at minimum, to preserve the few remaining safeguards

for women and girlsthe FDA rejected almost all of these Plaintiffs citizen

petition. The FDA issued its denial despite their discussion of how the agency

violated the law by ignoring the growing and substantial evidence that these

dangerous drugs harm women and girls.




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                                    Add. 72                                MPI App. 005
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             On the same day that it rejected the citizen petition, the Biden FDA

also announced that it would permanently allow abortionists to send chemical

abortion drugs through the mail.

             This decision not only harms women and girls who voluntarily undergo

chemical abortions, but it also further helps sex traffickers and sexual abusers to

force their victims into getting abortions while preventing the authorities from

identifying these victims. In fact, the State of Texas has recognized that [d]ue to

the potentially high number of trafficking victims who undergo abortion procedures,

abortion facility employees are uniquely situated to identify and assist victims of

sex trafficking.

             In addition to the legal and scientific infirmities referenced above, all

of the FDAs actions on chemical abortion drugsthe 2000 approval, the 2016 major

changes, the 2019 generic drug approval, and the two 2021 actions to eliminate the

in-person dispensing requirementfailed to acknowledge and address the federal

laws that prohibit the distribution of chemical abortion drugs by postal mail,


1 See, e.g., Ex. 1, Laura J. Lederer & Christopher A. Wetzel, The Health

Consequences of Sex Trafficking and Their Implications for Identifying Victims in
Healthcare Facilities, Annals of Health Law, Winter 2014 at 61Laura J. Lederer &
Christopher A. Wetzel, The Health Consequences of Sex Trafficking and Their
Implications for Identifying Victims in Healthcare Facilities, Annals of Health Law,
Winter 2014 at 61, 73, 7778 (noting that survivors in study reported that they
often did not freely choose the abortions they had while being trafficked, these
[s]urvivors [] had significant contact with clinical treatment facilities, most
commonly Planned Parenthood clinics, and that these points of contact with
healthcare represent rare opportunities for victim identification and intervention.).
2 Ex. 2, C.S.H.B. 3446, H. Comm. Rpt., 84th Legis. (Mar. 12, 2015),

https://capitol.texas.gov/tlodocs/84R/analysis/pdf/HB03446H.pdf (a subsequent,
similar version was codified at Tex. Health & Safety Code § 245.025).


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                                     Add. 73                                MPI App. 006
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express company, or common carrier. See 18 U.S.C. §§ 1461, 1462. Instead, the

FDAs actions permitted and sometimes even encouraged these illegal activities.

             After two decades of engaging the FDA to no avail, Plaintiffs now ask

this Court to do what the FDA was and is legally required to do: protect women and

girls by holding unlawful, setting aside, and vacating the FDAs actions to approve

chemical abortion drugs and eviscerate crucial safeguards for those who undergo

this dangerous drug regimen.

                           JURISDICTION AND VENUE

             This Court has subject-matter jurisdiction under 28 U.S.C. § 1331

because this action raises federal questions under the Administrative Procedure Act

(APA), 5 U.S.C. §§ 553, 70106, and the FFDCA, 21 U.S.C. § 301 et seq.

             This Court also has jurisdiction under 28 U.S.C. § 1346(a) because this

is a civil action against the United States.

             Additionally, this Court has jurisdiction under 28 U.S.C. § 1361 to

compel an officer of the United States or any federal agency to perform his or her

duty.

             This Court has jurisdiction to review Defendants unlawful actions and

enter appropriate relief under the APA, 5 U.S.C. §§ 553, 70106.

             This Court has jurisdiction to issue equitable relief to enjoin ultra vires

agency action under an equitable cause of action. Larson v. Domestic & Foreign

Com. Corp., 337 U.S. 682, 68991 (1949).




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             This case seeks declaratory, injunctive, and other appropriate relief

under the Declaratory Judgment Act, 28 U.S.C. §§ 220102, 5 U.S.C. §§ 70506,

Federal Rule of Civil Procedure 57, and the Courts inherent equitable powers.

             This Court may award costs and attorneys fees under the Equal

Access to Justice Act, 28 U.S.C. § 2412.

             Venue is proper in this Court under 28 U.S.C. § 1391 because a

substantial part of the events or omissions giving rise to the claims occurred in this

district, and a substantial part of property that is the subject of the action is

situated here. This district and this division are where Plaintiffs Alliance for

Hippocratic Medicine, including the doctors of its member associations, and Dr.

Shaun Jester are situated and are injured by Defendants actions. Defendants are

United States agencies or officers sued in their official capacities. A substantial part

of the events or omissions giving rise to the Complaint occurred within the

Northern District of Texas.

                                     PLAINTIFFS

             Four national medical associations and four doctors experienced in

caring for pregnant and post-abortive patients bring this case. They seek to protect

women and girls from the documented dangers of chemical abortion drugs.

             Plaintiff Alliance for Hippocratic Medicine is a nonprofit membership

organization that upholds and promotes the fundamental principles of Hippocratic

medicine: protecting the vulnerable at the beginning and end of life; seeking the

ultimate good for the patient with compassion and moral integrity; and providing

health care with the highest standards of excellence based on medical science. The


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                                      Add. 75                                MPI App. 008
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Alliance for Hippocratic Medicines members currently are the American

Association of Pro-Life Obstetricians and Gynecologists, the American College of

Pediatricians, the Catholic Medical Association, the Christian Medical & Dental

Associations, and the Coptic Medical Association of North America. The Alliance for

Hippocratic Medicine is incorporated in the State of Texas and has its registered

agent in Amarillo, Texas. The Alliance for Hippocratic Medicine seeks relief on

behalf of itself, its current and future member organizations, their members, and

these members patients. Mr. Mario Dickerson and Drs. Donna Harrison, Jeffrey

Barrows, and Quentin Van Meter submit declarations in support of the Alliance for

Hippocratic Medicine.3

             Plaintiff American Association of Pro-Life Obstetricians and

Gynecologists (AAPLOG) is a nonprofit organization that encourages and equips its

members and other concerned medical practitioners to provide an evidence-based

rationale for defending the lives of both the pregnant mother and her unborn child.

AAPLOG aims to make known the evidence-based effects of abortion on women as

well as the scientific fact that human life begins at the moment of fertilization, with

the goal that all women, regardless of race, creed, or national origin, will be

empowered to make healthy and life-affirming choices. AAPLOG is incorporated in

the State of Florida, and headquartered in Indiana. AAPLOG has individual

members in Texas. AAPLOG seeks relief on behalf of itself, its current and future




 Ex. 3, Dickerson Decl. ¶ 7; Ex. 4, Harrison Decl. ¶ 6, 13; Ex. 5, Barrows Decl. ¶ 2;
Ex. 6, Van Meter Decl. ¶ 6.


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members, and their patients. Drs. Donna Harrison, Christina Francis, Ingrid Skop,

and Nancy Wozniak submit declarations in support of AAPLOG.4

             Plaintiff American College of Pediatricians is a national organization

of pediatricians and other health care professionals. The American College of

Pediatricians is a nonprofit organization founded in 2002, is incorporated in the

State of Tennessee, and has its registered agent in Tennessee. The American

College of Pediatricians membership includes more than 600 physicians and other

health care professionals drawn from 47 different states across the nation. The

American College of Pediatricians has members within this judicial district and

elsewhere in the State of Texas. The American College of Pediatricians seeks relief

on behalf of itself, its current and future members, and their patients. Dr. Quentin

Van Meter submits a declaration in support of the American College of

Pediatricians.5

             Plaintiff Christian Medical & Dental Associations is a national

nonprofit organization, headquartered in the State of Tennessee, of Christian

physicians, dentists, and allied health care professionals, with over 13,000 members

nationwide, including 1,237 overall members in Texas, of whom 607 are practicing

or retired physicians, and 35 are OB/Gyns. The Christian Medical & Dental

Associations sues on behalf of itself, its current and future members, and their




4 Ex. 4, Harrison Decl. ¶ 5; Ex. 7, Francis Decl. ¶ 4; Ex. 8, Skop Decl. ¶ 4; Ex. 9,

Wozniak Decl. ¶ 3.
5 Ex. 6, Van Meter Decl. ¶ 6.




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                                     Add. 77                                 MPI App. 010
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patients. Drs. Jeffrey Barrows and Steven Foley submit declarations in support of

the Christian Medical & Dental Associations. 6

             Plaintiff Dr. Shaun Jester, D.O, is a board-certified obstetrician and

gynecologist and the Medical Director of Moore County OB/Gyn in Dumas, Texas.

His practice includes cesarean section deliveries, hysterectomies, and other womens

health treatments. He has treated women who have had abortions, including one

woman who suffered an adverse event from a chemical abortion, for which he

submitted an adverse event report to the FDA. Dr. Jester sues on his own behalf

and on behalf of his current and future patients.

             Plaintiff Dr. Regina Frost-Clark, M.D., is a board-certified doctor in

obstetrics and gynecology. She practices with Ascension Medical Group St. John

OB/Gyn Associates in Saint Clair Shores, Michigan. Dr. Frost-Clark has treated

several women who have suffered complications from chemical abortions, many who

presented to the emergency room. Dr. Frost-Clark sues on her own behalf and on

behalf of her current and future patients.

             Plaintiff Dr. Tyler Johnson, D.O., is an emergency department

physician certified by the American Board of Emergency Medicine. Based out of

Leo, Indiana, Dr. Johnson serves as the director of emergency medicine at Parkview

Dekalb Hospital and practices in the emergency departments of hospitals

throughout northern Indiana. He has treated women in the emergency department




6 Ex. 5, Barrows Decl. ¶ 2; Ex. 10, Foley Decl. ¶ 5.




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                                     Add. 78                               MPI App. 011
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suffering complications from chemical abortion. Dr. Johnson sues on his own behalf

and on behalf of his current and future patients.

             Plaintiff Dr. George Delgado, M.D., is board-certified in family

medicine and in hospice and palliative medicine. He serves as the director of

medical affairs of Culture of Life Family Services, which based out of Escondido,

California, and provides comprehensive medical care and pro-life pregnancy clinic

services for women and children. He also serves as a medical advisor to the Abortion

Pill Rescue Network. Dr. Delgado established the Abortion Pill Reversal program

a process that can reverse the effects of the chemical abortion drug regimen and

allow women and girls to continue their pregnancies.7 He has treated women

suffering complications from chemical abortion and seeking to reverse the effects of

chemical abortion. Dr. Delgado sues on his own behalf and on behalf of his current

and future patients.

                                  DEFENDANTS

             Defendant FDA is an agency of the United States government within

the United States Department of Health and Human Services (HHS). The Secretary

of HHS has delegated to the FDA the authority to administer the provisions of the

FFDCA for approving new drug applications and authorizing a risk evaluation and

mitigation strategy (REMS) for dangerous drugs. The address of the FDAs

headquarters is 10903 New Hampshire Avenue, Silver Spring, Maryland 20993.




7 Abortion Pill Reversal, https://www.abortionpillreversal.com/abortion-pill-

reversal/overview (last visited Nov. 17, 2022).


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                                     Add. 79                              MPI App. 012
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             Defendant Robert Califf, M.D., who is being sued in his official

capacity, is the Commissioner of Food and Drugs at the FDA. He is responsible for

supervising the activities of the FDA, including the approval of new drug

applications and the issuance, suspension, waiver, or removal of a REMS.

Defendant Califfs address is 10903 New Hampshire Avenue, Silver Spring,

Maryland 20993.

             Defendant Janet Woodcock, M.D., who is being sued in her official

capacity, is the Principal Deputy Commissioner, Office of the Commissioner, at the

FDA. She works closely with the Commissioner of Food and Drugs to develop and

implement key public health initiatives and oversees the agencys day-to-day

functions. Defendant Woodcock served as the Acting Commissioner of Food and

Drugs from January 20, 2021, until February 17, 2022, and previously was the

Director of the FDAs Center for Drug Evaluation and Research. Defendant

Woodcocks address is 10903 New Hampshire Avenue, Silver Spring, Maryland

20993.

             Defendant Patrizia Cavazzoni, M.D., who is being sued in her official

capacity, is the Director of the FDAs Center for Drug Evaluation and Research. She

is responsible for the regulation of drugs throughout their lifecycle, the development

of new and generic drugs, the evaluation of applications to determine whether drugs

should be approved, the monitoring of the safety of drugs after they are marketed,

and the taking of enforcement actions to protect the public from harmful drugs.




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Defendant Cavazzonis address is 10903 New Hampshire Avenue, Silver Spring,

Maryland 20993.

              Defendant HHS is a federal agency within the executive branch of the

U.S. government, including under 5 U.S.C. § 551 and 701(b)(1). Its address is 200

Independence Avenue SW, Washington, D.C. 20201.

              Defendant Xavier Becerra is the Secretary of HHS and is sued in his

official capacity. He is responsible for the overall operations of HHS, including the

FDA. His address at HHS is 200 Independence Avenue SW, Washington, D.C.

20201.

              Collectively and as applicable, all defendants are referred to herein as

the FDA or Defendants. Plaintiffs also sue Defendants employees, agents, and

successors in office.

              The federal officials are subject to the APA. 5 U.S.C. § 701(b); 5 U.S.C.

§ 551(1).

                             FACTUAL ALLEGATIONS

I.      Introduction

              This case challenges the FDAs failure to abide by its legal obligations

to protect the health, safety, and welfare of women and girls8 when the agency

authorized the chemical abortion drugs mifepristone and misoprostol for use in the




8 The FDAs approval of chemical abortion lacks an age restriction and, therefore,

permits the use of the drug regimen by a pregnant girl of any age under 18 years.


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                                     Add. 81                                MPI App. 014
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United States and subsequently eliminated necessary safeguards for pregnant

women and girls who undergo this dangerous drug regimen.

             First, the FDA never had the authority to approve these drugs for sale.

In 2000, the FDA approved chemical abortion drugs under 21 C.F.R. § 314, Subpart

H (Subpart H). This regulation authorizes the FDA to grant accelerated approval

of certain new drug products that have been studied for their safety and

effectiveness in treating serious or life-threatening illnesses and that provide

meaningful therapeutic benefit to patients over existing treatments. 21 C.F.R.

§ 314.500 (emphasis added).

             But chemical abortion drugs do not treat serious or life-threatening

illnesses. Indeed, pregnancy is a normal physiological state that many females

experience one or more times during their childbearing years. Pregnancy rarely

leads to complications that threaten the life of the mother or the child. Following

delivery, almost all women return to a normal routine without disability.9

             Likewise, chemical abortion drugs do not provide a meaningful

therapeutic benefit to women and girls over existing treatments.

             To the contrary, the FDAs approval of chemical abortion drugs has

potentially serious and life-threatening effects on women and girls, especially when




9 Ex. 11, Byron Calhoun, The maternal mortality myth in the context of legalized

abortion, 80 The Linacre Quarterly 264, 264276 (2013); James Studnicki & Tessa
Longbons, Pregnancy Is Not More Dangerous Than Abortion, Natl Rev. (Aug. 28,
2022, 6:30 AM), https://www.nationalreview.com/2022/08/pregnancy-is-not-more-
dangerous-than-abortion/.


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                                     Add. 82                                MPI App. 015
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compared to surgical abortion, which uses medical devices and tools to physically

remove a baby from inside the pregnant mother.

             Even though endocrine disruptors such as mifepristone could have

significant impacts on an adolescent girls developing body and reproductive system,

the FDA never required an assessment that evaluated the safety and effectiveness

of chemical abortion drugs on pregnant girls under 18 years of age.

             Second, the FDA has not only continued to keep chemical abortion

drugs on the market, but the agency has also eliminated the few safeguards it

initially established to protect women and girls who go through the chemical

abortion drug regimen.

             In particular, in 2016, the FDA (1) increased the gestational age for

which a pregnant woman or girl may have a chemical abortion from 49 days

gestation to 70 days gestation; (2) changed the dosage and route of administration

for the chemical abortion drugs; (3) reduced the number of required in-person office

visits from three to one; (4) allowed non-doctors to prescribe and administer

chemical abortions; (5) failed to require a clinical study to determine the safety of

these changes to the chemical abortion drug regimen on pregnant girls under 18

years of age; and (6) eliminated the requirement for prescribers to report nonfatal

adverse events from chemical abortionthus ensuring that the FDA and the public

would never learn of the dangers and injuries that would befall women and girls

from removing these safeguards.




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                                     Add. 83                                MPI App. 016
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             What is more, in 2021, the FDA announced that it would allow

abortionists to dispense the chemical abortion drugs by mail or mail-order

pharmacyan action that a longstanding federal law independently and expressly

prohibits.

             Plaintiffs now ask this Court to protect women and girls by holding

unlawful, setting aside, and vacating the FDAs actions to approve and eliminate

the safeguards for those who take chemical abortion drugs.

II.   The Chemical Abortion Regimen and Its Adverse Health Effects

             The chemical abortion drug regimen requires the use of two drugs:

(1) mifepristone (also known as RU-486 and Mifeprex) and (2) misoprostol.

             As an endocrine disruptor, mifepristone is a synthetic steroid that

blocks progesterone receptors in the uterus of a woman or girl. The hormone

progesterone is necessary for the healthy growth of a baby and the maintenance of a

pregnancy. When a woman or girl ingests the chemical abortion drug mifepristone,

the drug blocks the action of the natural hormone progesterone, chemically destroys

the babys environment in the uterus, blocks nutrition to the baby, and ultimately

starves the baby to death in the mothers womb.10

             Because mifepristone alone works less than 25 percent of the time to

complete the abortion, the FDAs chemical abortion drug regimen mandates the use




10 See Ex. 4, Harrison Decl. at ¶ 21; Ex. 8, Skop Decl. at ¶ 10; Ex. 12, The FDA and

RU-486: Lowering the Standard for Womens Health: Hearing Before the Subcomm.
on Crim. Just., Drug Poly, & Hum. Res. of the H. Comm. on Govt Reform, 109th
Cong. 4 (2006).


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                                    Add. 84                               MPI App. 017
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of a second drugmisoprostolto induce cramping and contractions in an attempt

to expel the baby from the mothers womb.11

             The only other FDA-approved use of misoprostol is to reduce the risk of

gastric ulcers induced by nonsteroidal anti-inflammatory drugs (NSAIDs) in

patients at high risk of complications from gastric ulcers and patients at high risk of

developing gastric ulceration.12 Misoprostols label warns that the drug should not

be taken by pregnant women to reduce the risk of ulcers by NSAIDs.13

             The use of these two chemical abortion drugs causes significant

injuries and harms to pregnant women and girls.

             For example, upwards of ten percent (10%) of women who take

chemical abortion drugs will need follow-up medical treatment for an incomplete or

failed chemical abortion,14 with an average of thirty-nine percent (39%) of women

requiring surgery if taken in the second trimester.15




11 See Ex. 4, Harrison Decl. at ¶ 21; Ex. 13, 2002 Citizen Petition of AAPLOG to

FDA at 41 n.187 (Aug. 8, 2002); see also FDA-Approved Label for Mifepristone
(Mifeprex) (Mar. 2016), https://www.accessdata.fda.gov/drugsatfda_docs/label/
2016/020687s020lbl.pdf.
12 See, e.g., Ex. 14, FDA-Approved Label for Misoprostol (Cytotec) (Jan. 2017),

https://www.accessdata.fda.gov/drugsatfda_docs/label/2018/019268s051lbl.pdf.
13 Id.

   Ex. 18, Maarit Niinimaki et al., Comparison of rates of adverse events in
adolescent and adult women undergoing medical abortion: population register based
study, BJM, April 20, 2011, at 4.
15 Ex. 15, Maarit J. Mentula et al., Immediate adverse events after second trimester

medical termination of pregnancy: results of a nationwide registry study, 26 Hum.
Reprod. 927, 931 (2011).


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                                    Add. 85                                MPI App. 018
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             Twenty percent (20%) of females will have an adverse event after

taking chemical abortion drugsa rate four times higher than with surgical

abortion. This includes over fifteen percent (15%) of females experiencing

hemorrhaging and two percent (2%) having an infection during or after taking

chemical abortion drugs.16

             Chemical abortions are over fifty percent (50%) more likely than

surgical abortions to result in an emergency department visit within thirty days,

affecting one in twenty females.17

             The number of chemical abortion-related emergency room visits

increased by over five hundred percent (500%) between 2002 and 2015.18

             For those women and girls who take chemical abortion drugs, there is

a significant increase in risk of complications as the babys gestational age

increases. One study found that, after nine weeks gestation, almost four times as

many women and girls experience an incomplete abortion, nearly twice as many

suffer an infection, and over six times as many women and girls require surgical

abortion after consuming the chemical abortion drugs. 19




   Ex. 16, Maarit Niinimaki et al., Immediate complications after medical compared
with surgical termination of pregnancy, 114 Obstetrics & Gynecology 795 (2009).
   Ex. 17, James Studnicki et al., A Longitudinal Cohort Study of Emergency Room
Utilization Following Mifepristone Chemical and Surgical Abortions, 1999-2015,
Health Serv. Rsch. & Managerial Epidemiology, Nov. 9, 2021.
18 Id at 5.

19 Ex. 18, Niinimaki, supra note 14, at 5.




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                                     Add. 86                               MPI App. 019
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               Chemical abortion drugs have heightened risks for women and girls

with certain blood types. In fact, if a woman or girl with a Rh-negative blood type is

not administered certain medication (Rhogam) at the time of her chemical abortion,

she could experience isoimmunization, which threatens her ability to have future

successful pregnancies. If an Rh-negative woman or girl is left untreated, her future

baby will have a fourteen percent (14%) chance of being stillborn and a fifty percent

(50%) chance of being born alive but suffering neonatal death or brain injury.

Around fifteen percent (15%) of the U.S. population is at risk of this blood

condition.20

               Some abortion activists encourage women to lie to an emergency

department doctor by saying they are having a miscarriage if they suffer

complications requiring urgent care.21 If a chemical abortion is miscoded as a

miscarriage in the emergency room (which occurred sixty percent (60%) of the time

in one study), the treating doctors lack of knowledge results in the woman or girl




20 Ingrid Skop, The Evolution of Self-Managed Abortion: Does the Safety of Women

Seeking Abortion Even Matter Anymore?, Charlotte Lozier Institute (Mar. 1, 2022),
https://lozierinstitute.org/the-evolution-of-self-managed-abortion/.
21 See, e.g., Will a doctor be able to tell if youve taken abortion pills?, Women Help

Women (Sept. 23, 2019), https://womenhelp.org/en/page/1093/will-a-doctor-be-able-
to-tell-if-you-ve-taken-abortion-pills; How do you know if you have complications
and what should you do?, AidAccess, https://aidaccess.org/en/page/459/how-do-you-
know-if-you-have-complications-and-what-should-you-do (last visited Nov. 14,
2022).


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                                     Add. 87                                MPI App. 020
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being at significantly greater risk of needing multiple hospitalizations and follow-up

surgery.22

             The risk of chemical abortions is not only physical: women and girls

have described that their chemical abortion experiences harmed their mental health

and left them feeling unprepared, silenced, regretful, or left with no other choice

before undergoing a chemical abortion.23

             Abortionists exacerbate this harm to a womans or girls mental health

by not adequately informing her about what she will see when she self-administers

chemical abortion drugs at home or in a hotel. For example, one woman was

surprised and saddened to see that her aborted baby had a head, hands, and legs

with [d]efined fingers and toes.24

             Given the FDAs refusal to require an ultrasound, abortionists can

egregiously misdate the gestational age of a baby with devastating consequences.

One young woman has alleged that she did not receive an ultrasound or any other

physical examination to determine her babys gestational age prior to receiving




22 Ex. 19, James Studnicki et al., A Post Hoc Exploratory Analysis: Induced Abortion

Complications Mistaken for Miscarriage in the Emergency Room are a Risk Factor
for Hospitalization, Health Servs. Rsch. & Managerial Epidemiology, May 20, 2022.
23 Ex. 20, Katherine A. Rafferty & Tessa Longbons, #AbortionChangesYou: A Case

Study to Understand the Communicative Tensions in Womens Medication Abortion
Narratives, 36 Health Commcn 1485 (2021).
24 Caroline Kitchener, Covert network provides pills for thousands of abortions in

U.S. post Roe, Wash. Post: Politics (Oct. 18, 2022, 6:00 am),
https://www.washingtonpost.com/politics/2022/10/18/illegal-abortion-pill-network/.


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chemical abortion drugs from Planned Parenthood.25 The abortionist misdated the

babys gestational age as six weeks, resulting in the at-home delivery of a lifeless,

fully-formed baby in the toilet, later determined to be around 30-36 weeks old.26

Because of this chemical abortion, the woman alleges that she has endured

significant stress, trauma, emotional anguish, physical pain, including laceration

and an accelerated labor and delivery unaided by medication, lactation, soreness,

and bleeding.27

III.   The FDAs Authority to Review, Approve, or Deny New Drug
       Applications

             The FDAs approval of new drugs must comply with federal laws and

regulations that directly govern the agency, in addition to other laws that broadly

govern the federal governments actions. Specifically, the FDA must comply with

the Federal Food, Drug, and Cosmetic Act (FFDCA), the Pediatric Research Equity

Act of 2003 (PREA), and the agencys regulations. When taking regulatory action on

new drugs, the FDA must also meet the requirements of other federal laws

restricting the distribution of certain drugs.28




25 Complaint at 9, Doe v. Shah, No. 501531/2021, (Sup. Ct. of N.Y., Cnty. of Kings

Jan. 20, 2021), https://www.liveaction.org/news/wp-content/uploads/2022/10/Kings-
Co-501531_2021_JANE_DOE_v_MEERA_SHAH.pdf.
26 Id. at 1011.

27 Id. at 11.

28 For a general overview of the FDAs drug approval process, see How FDA

Approves Drugs and Regulates Their Safety and Effectiveness, Congressional
Research Service (May 8, 2018), https://crsreports.congress.gov/product/pdf/R/
R41983.


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      A.     New Drug Applications Under the Federal Food, Drug, and
             Cosmetic Act

             Under the FFDCA, anyone seeking to introduce into commerce and

distribute any new drug in the United States must first obtain the FDAs approval

by filing a new drug application (NDA). 21 U.S.C. § 355(a).

             A drug may be considered new by reason of the newness of use of

such drug in diagnosing, curing, mitigating, treating, or preventing a disease, or to

affect a structure or function of the body, even though such drug is not a new drug

when used in another disease or to affect another structure or function of the body.

21 C.F.R. § 310.3(h)(4). A drug may also be considered new by reason of the

newness of a dosage, or method or duration of administration or application, or

other condition of use prescribed, recommended, or suggested in the labeling of such

drug, even though such drug . . . is not a new drug. Id. § 310.3(h)(5).

             The NDA must contain extensive scientific data showing the safety

and effectiveness of the drug. 21 U.S.C. § 355(d); 21 C.F.R. § 314.125.

             Under the FFDCA, the FDA must reject an application if the clinical

investigations do not include adequate tests by all methods reasonably applicable

to show whether or not such drug is safe for use under the conditions prescribed,

recommended, or suggested in the proposed labeling thereof. 21 U.S.C. § 355(d);

21 C.F.R. § 314.125(b)(2).

             The FDA must also reject an application if the results of such tests

show that such drug is unsafe for use under such conditions or do not show that




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such drug is safe for use under such conditions. 21 U.S.C. § 355(d); 21 C.F.R.

§ 314.125(b)(3).

             The FDA shall refuse an application if, based upon information

submitted to the agency or upon the basis of any other information before the

agency, the FDA has insufficient information to determine whether such drug is

safe for use under such conditions. 21 U.S.C. § 355(d); 21 C.F.R. § 314.125(b)(4).

             Finally, the FDA must deny an application if there is a lack of

substantial evidence that the new drug will have the effect it purports or is

represented to have under the conditions of use prescribed, recommended, or

suggested in the proposed labeling thereof. 21 U.S.C. § 355(d); 21 C.F.R. §

314.125(b)(5).

             The FFDCA defines substantial evidence as evidence consisting of

adequate and well-controlled investigations, including clinical investigations, by

experts qualified by scientific training and experience to evaluate the effectiveness

of the drug involved, on the basis of which it could fairly and responsibly be

concluded by such experts that the drug will have the effect it purports or is

represented to have under the conditions of use prescribed, recommended, or

suggested in the labeling or proposed labeling thereof. 21 U.S.C. § 355(d).

             If a sponsor of an approved drug subsequently seeks to change the

labeling, market a new dosage or strength of the drug, or change the way it

manufactures a drug, the company must submit a supplemental new drug




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application (sNDA) seeking the FDAs approval of such changes. 21 U.S.C. § 355(b);

21 C.F.R. §§ 314.54, 314.70.

             Only the sponsor may submit a supplement to an application. 21

C.F.R. § 314.71(a).

             All procedures and actions that apply to an application under [21

C.F.R.] § 314.50 also apply to supplements, except that the information required in

the supplement is limited to that needed to support the change. 21 C.F.R.

§ 314.71(b); see also 21 C.F.R. § 314.54(a) (application need contain only that

information needed to support the modification(s) of the listed drug).

             The sNDA must also show that the drug is safe and effective for the

conditions of use prescribed, recommended, or suggested in the proposed labeling.

21 U.S.C. § 355(d).

             The FFDCA allows a generic drug manufacturer to submit an

abbreviated new drug application (ANDA) for approval to introduce into commerce

and distribute a generic version of an approved drug. 21 U.S.C. § 355(j).

             In the ANDA, the generic drug manufacturer must show, among other

things, that (a) the conditions of use prescribed, recommended, or suggested in the

labeling proposed for the new drug have been previously approved for a drug listed

and (b) the drug product is chemically the same as the already approved drug,

allowing it to rely on the FDAs previous finding of safety and effectiveness for the

approved drug. The route of administration, dosage form, and strength must also be

the same. 21 U.S.C. § 355(j); 21 C.F.R. § 314.94.




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      B.     Assessments on Pediatric Populations

             In 1998, the FDA issued a regulation, called the Pediatric Rule,

requiring an assessment specifically powered to determine the safety and

effectiveness of a new drug on pediatric patients. 29 This rule allowed for full or

partial waivers of its pediatric assessment requirements, set forth under then 21

C.F.R. § 314.55(c).

             A federal district court subsequently held that the FDA had exceeded

its statutory authority when issuing the Pediatric Rule and thus enjoined the FDA

from enforcing the regulation. See Assn of Am. Physicians & Surgeons v. FDA, 226

F. Supp. 2d 204 (D.D.C. 2002).

             In response, President George W. Bush and Congress enacted PREA to

codify the Pediatric Rule legislatively. This law expressly requires studies on the

safety and effectiveness of drugs intended for pediatric populations, unless certain

exceptions apply. The FDA may require an assessment on the drugs safety and

effectiveness, extrapolate findings from studies on adult populations, or waive the

assessment for pediatric populations. 21 U.S.C. § 355c.

             In general, PREA requires an application or supplement to an

application for a drug to include an assessment on the safety and effectiveness of

the drug for the claimed indications in all relevant pediatric subpopulations. 21

U.S.C. § 355c(a)(2)(A)(i). This assessment must also support dosing and



29 Ex. 21, Regulations Requiring Manufacturers to Assess the Safety and

Effectiveness of New Drugs and Biological Products in Pediatric Patients, 63 Fed.
Reg. 66,632 (Dec. 2, 1998).


                                           26
                                     Add. 93                                 MPI App. 026
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administration for each pediatric subpopulation for which the drug is safe and

effective. 21 U.S.C. § 355c(a)(2)(A)(ii).

              Under limited circumstances, PREA allows the FDA to avoid this

assessment and, instead, extrapolate the safety and effectiveness of a drug for

pediatric populations: If the course of the disease and the effects of the drug are

sufficiently similar in adults and pediatric patients, the [FDA] may conclude that

pediatric effectiveness can be extrapolated from adequate and well-controlled

studies in adults, usually supplemented with other information obtained in

pediatric patients. 21 U.S.C. § 355c(2)(B)(i) (emphasis added).

              To support this extrapolation, the FDA must include brief

documentation of the scientific data supporting the conclusion that the course of

the disease and the effects of the drug are sufficiently similar in adults and

pediatric patients. 21 U.S.C. § 355c(B)(iii) (emphasis added).

              In addition, PREA also allows the FDA to grant a full or partial waiver

of the requirement for pediatric assessments or reports on the investigation for a

drug if one of the following situations exists: (1) necessary studies are impossible or

highly impracticable; (2) there is evidence strongly suggesting that the drug or

biological product would be ineffective or unsafe in all pediatric age groups; or (3)

the drug does not represent a meaningful therapeutic benefit over existing

therapies for pediatric patients and it is not likely to be used in a substantial

number of pediatric patients. 21 U.S.C. § 355c(a)(5)(A), (B).




                                            27
                                       Add. 94                               MPI App. 027
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               PREA also deemed a waiver or deferral issued under the Pediatric

Rule between April 1, 1999, and December 3, 2003, to be a waiver or deferral under

21 U.S.C. § 355c(a). 21 U.S.C. § 355c note.

      C.       Subpart H Regulations for Accelerated Approval of Certain
               New Drugs for Serious and Life-Threatening Illnesses

               Both the FFDCA and PREA serve as the primary laws governing the

FDAs review and approval of new drugs. The FDA has also implemented certain

regulations to effectuate its legal obligations under these laws and to address

certain public health crises over the years.

               For example, on December 11, 1992, the FDA published the final rule,

New Drug, Antibiotic, and Biological Drug Product Regulations; Accelerated

Approval.30

               This final rule established procedures under which FDA will

accelerate approval of certain new drugs and biological products for serious or life-

threatening illnesses, with provision for required continued study of the drugs

clinical benefits after approval or for restrictions on distribution or use, where those

are necessary for safe use of the drugs.31

               The FDA intended these procedures to provide expedited marketing of

drugs for patients suffering from such illnesses when the drugs provide a

meaningful therapeutic advantage over existing treatment.32


30 Ex. 22, New Drug, Antibiotic, and Biological Drug Product Regulations;

Accelerated Approval, 57 Fed. Reg. 58,942 (Dec. 11, 1992).
31 Id. (emphasis added).

32 Id. (emphasis added).




                                           28
                                     Add. 95                                MPI App. 028
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               As codified under Subpart H, the FDA defined the scope of the new

regulations:

        This subpart applies to certain new drug products that have been
        studied for their safety and effectiveness in treating serious or life-
        threatening illnesses and that provide meaningful therapeutic benefit
        to patients over existing treatments (e.g., ability to treat patients
        unresponsive to, or intolerant of, available therapy, or improved
        patient response over available therapy).

21 C.F.R. § 314.500 (emphasis added).

               If the FDAs review under Subpart H concludes that a drug is effective

but can be safely used only if distribution or use is restricted, the agency must

require such postmarketing restrictions as are needed to assure safe use of the

drug product. 21 C.F.R. § 314.520(a).

               Such restrictions may include distribution (1) restricted to certain

facilities or physicians with special training or experience or (2) conditioned on the

performance of specified medical procedures. 21 C.F.R. § 314.520(a)(1), (2).

               The limitations must be commensurate with the specific safety

concerns presented by the drug product. 21 C.F.R. § 314.520(b).

               Under 21 C.F.R. § 314.530, the FDA may withdraw approval of drugs

approved under Section 314.520 if:

               (1) A postmarketing clinical study fails to verify clinical benefit;

               (2) The applicant fails to perform a required postmarketing study with
                   due diligence;

               (3) Use after marketing demonstrates that postmarketing restrictions
                   are inadequate to assure safe use of the drug product;

               (4) The applicant fails to adhere to the postmarketing restrictions
                   agreed upon;


                                            29
                                       Add. 96                                 MPI App. 029
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              (5) The promotional materials are false or misleading; or

              (6) Other evidence demonstrates that the drug product is not shown to
                  be safe or effective under its conditions of use.

              The FDAs preamble to the Subpart H rulemaking stated that [t]he

burden is on the applicant to ensure that the conditions of use under which the

applicants product was approved are being followed.33

              The only way the FDA can terminate an applicants Subpart H

restrictions is to notify the applicant that the restrictions . . . no longer apply

because the FDA [has] determine[d] that safe use of the drug product can be

assured through appropriate labeling. 21 C.F.R. § 314.560.

       D.     Drugs Approved with Previous Subpart H Restrictions Deemed
              to Have Risk Evaluation and Mitigation Strategies

              Congress decided to codify into law the FDAs postmarketing

regulations under Subpart H when it enacted the Food and Drug Administration

Amendments Act of 2007 (FDAAA) and created a new section of the FFDCA under

21 U.S.C. § 355-1. This new section authorizes the FDA to require persons

submitting certain new drug applications to submit and implement a risk

evaluation and mitigation strategy (REMS) if the FDA determines that a REMS is

necessary to ensure that the benefits of a drug outweigh the risks of the drug.

21 U.S.C. § 355-1(a).

              Section 909(b)(1) of the FDAAA specified that a drug that was

approved before the effective date of this Act is . . . deemed to have in effect an



33 Ex. 22, 57 Fed. Reg. at 58,952.




                                            30
                                      Add. 97                                  MPI App. 030
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approved [REMS] . . . if there are in effect on the effective date of this Act elements

to assure safe use [pursuant to Subpart H, 21 C.F.R. § 514.520]. H.R. 3580, 110th

Cong. (2007). Thus, if the FDA previously attached postmarketing restrictions on a

drug approved under Subpart H, the FDAAA converted those restrictions into a

REMS.

             Under the FDAAA, to allow safe access to drugs with known serious

risks, the FDA may require that the REMS include such elements as are necessary

to assure safe use of the drug, because of its inherent toxicity or potential

harmfulness if the agency determines that the drug is associated with a serious

adverse drug experience. 21 U.S.C. § 355-1(f)(1).

             These Elements to Assure Safe Use (ETASU) may require

(1) prescribers of the drug have particular training or experience or be specially

certified, (2) practitioners or health care settings that dispense the drug be

specially certified, (3) doctors dispense the drug to patients only in certain health

care settings, such as hospitals, (4) doctors dispense the drug to patients with

evidence or other documentation of safe-use conditions, such as laboratory test

results, (5) each patient be subject to certain monitoring, and (6) each patient be

enrolled in a registry. 21 U.S.C. § 355-1(f)(3).

             The FDA may also require an applicant to monitor and evaluate

implementation of the REMS, in addition to working to improve those elements.

21 U.S.C. § 355-1(g).




                                           31
                                      Add. 98                                MPI App. 031
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                The FDA may also include a communication plan to health care

providers as part of the REMS to disseminate certain information about the drug

and its risks. 21 U.S.C. § 355-1(e)(3).

                An applicant may propose the addition, modification, or removal of

[the REMS] . . . and shall include an adequate rationale to support such proposed

addition, modification, or removal. 21 U.S.C. § 355-1(g)(4)(A).

IV.   Federal Laws Restrict Distribution of Chemical Abortion Drugs

                Two federal laws restrict the distribution of abortion-inducing drugs.

18 U.S.C. §§ 146162. These laws apply to both upstream and downstream

distribution.

                First, 18 U.S.C. § 1461 prohibits the use of postal mails to convey or

deliver chemical abortion drugs. Specifically, it prohibits the mailing or delivery by

any letter carrier of [e]very article or thing designed, adapted, or intended for

producing abortion and [e]very article, instrument, substance, drug, medicine, or

thing, which is advertised or described in a manner calculated to lead to another to

use or apply it for producing abortion.

                Second, 18 U.S.C. § 1462 broadly prohibits the use of any express

company or other common carrier to transport abortion drugs in interstate or

foreign commerce. Specifically, it prohibits the use of any express company or

common carrier to distribute any drug, medicine, article, or thing designed,

adapted, or intended for producing abortion.




                                             32
                                       Add. 99                                MPI App. 032
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V.      The FDAs Review of the Population Councils Application to Market
        Chemical Abortion Drugs in the United States

              The French pharmaceutical company Roussel Uclaf S.A. first

developed and tested mifepristone under the name RU-486. By April 1990, the drug

had become fully available in France.34

              But Roussel Uclafs German parent company, Hoechst AG, prohibited

the drug manufacturer from attempting to enter the U.S. market and filing a new

drug application with the FDA.35 Hoechsts resistance and desire to keep a low

profile was due, in part, to its corporate history and complicity in previous mass

genocide.36

              Nevertheless, on January 22, 1993his second full day in office

President Bill Clinton directed then-HHS Secretary Donna Shalala to assess

initiatives to promote the testing and licensing of RU-486 in the United States.37

              According to a Roussel Uclaf official, President Clinton also wrote to

Hoechst asking the company to file a new drug application with the FDA, which

Hoechst refused to do.38




34 Ex. 13, 2002 Citizen Petition at 78.

35 Id at 8.

36 Julie A. Hogan, The Life of the Abortion Pill in the United States, at 2324 (2000),

http://nrs.harvard.edu/urn-3:HUL.InstRepos:8852153 (Hoechst traces its corporate
history to I.G. Farben, the manufacturer of Zyklon-B, which was used in the gas
chambers of Auschwitz, and therefore did not want to be credited with doing to
fetuses what the Nazis had done to the Jews.).
37 Ex. 13, 2002 Citizen Petition at 8.

38 Id.




                                           33
                                    Add. 100                               MPI App. 033
      Case: 23-10362   Document: 27 Page: 106            Date Filed: 04/10/2023
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             In early 1993, as HHS later reported, Secretary Shalala and then-FDA

Commissioner David Kessler likewise communicated with senior Roussel Uclaf

officials to begin efforts to pave the way for bringing RU-486 into the American

marketplace.39

             Specifically, according to HHS, [i]n April 1993, representatives of

FDA, Roussel Uclaf and the Population Council, a not-for-profit organization, met to

discuss U.S. clinical trials and licensing of RU-486. Between April 1993 and May

1994, the parties continued their negotiations. 40

             The Population Council is a nonprofit founded in 1952 by John D.

Rockefeller III to address supposed world overpopulation. . . . [Rockefeller] served as

the organizations first president.41

             The talks between the FDA, the Population Council, and Roussel Uclaf

culminated in what HHS called a donation: Roussel Uclaf transferred, without

remuneration, its United States patent rights to mifepristone (RU-486) to the

Population Council.42

             After obtaining the American patent rights to mifepristone, the

Population Council conducted clinical trials in the United States. 43



39 Id. (quoting HHS Fact Sheet, Mifepristone (RU-486): Brief Overview (May 16,

1994)).
40 HHS Fact Sheet, Mifepristone (RU-486): Brief Overview.

41 Population Council, https://www.influencewatch.org/non-profit/population-

council/ (last visited Nov. 15, 2022).
42 Ex. 13, 2002 Citizen Petition at 89 (quoting HHS Press Release, Roussel Uclaf

Donates U.S. Patent Rights for RU-486 to Population Council, (May 16, 1994)).
43 Id. at 9.




                                          34
                                    Add. 101                               MPI App. 034
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                The Population Council then filed a new drug application for

mifepristone 200 mg tablets on March 18, 1996.44

                The FDA initially accorded the drug standard review; but in a May 7,

1996, letter, the FDAs Center for Drug Evaluation and Research notified the

Population Council that mifepristone would receive priority review.45

                On September 18, 1996, the FDA issued a letter stating that the

application was approvable and requested more information from the Population

Council.46

                On February 18, 2000, the FDA issued a second approvable letter,

setting forth the remaining prerequisites for approval. This letter announced that

the FDA had considered this application under the restricted distribution

regulations contained in 21 C.F.R. § 314.500 (Subpart H) and [had] concluded that

restrictions as per [21] CFR § 314.520 on the distribution and use of mifepristone

are needed to assure safe use of this product.47

                The FDA told the Population Council that the agency would proceed

under Subpart H because the FDA concluded that adequate information has not

been presented to demonstrate that the drug, when marketed in accordance with

the terms of distribution proposed, is safe and effective for use as recommended. 48




44 Id. at 10.

45 Id.

46 Id. at 1011.

47 Ex. 23, FDA Letter to Population Council re: NDA (Feb. 18, 2000) at 5.

48 Id.




                                           35
                                     Add. 102                               MPI App. 035
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             Given the known dangers of chemical abortion drugs, the FDA needed

to approve the Population Councils application under Subpart H because this

regulatory authority provided the FDA with the only means to restrict the drugs

distribution and use to assure safe use. 21 C.F.R. 314.520.

             In response to the proposed Subpart H consideration, the Population

Council objected and explained that its application for mifepristone did not fall

within the scope of Subpart H.49

             The Population Council thus wrote a letter to the FDA just three

weeks before the final approval of mifepristone, arguing that it is clear that the

imposition of Subpart H is unlawful, unnecessary, and undesirable. We ask FDA to

reconsider.50

             The Population Council stated that [n]either pregnancy nor unwanted

pregnancy is an illness, and Subpart H is therefore inapplicable for that reason

alone.51

             Moreover, as the Population Council observed, [n]either is pregnancy

nor unwanted pregnancy a serious or life-threatening situation as that term is

defined in Subpart H.52

             And after quoting the preamble to the FDAs Subpart H Final Rule,

the Population Councils letter stated that [t]he plain meaning of these terms does



49 Ex. 13, 2002 Citizen Petition at 20.

50 Id.

51 Id.

52 Id.




                                          36
                                    Add. 103                               MPI App. 036
      Case: 23-10362   Document: 27 Page: 109          Date Filed: 04/10/2023
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not comprehend normal, everyday occurrences such as pregnancy and unwanted

pregnancy.53

              The letter added that unlike HIV infection, pulmonary tuberculosis,

cancer, and other illnesses, pregnancy and unwanted pregnancy do not affect

survival or day-to-day functioning as those terms are used in Subpart H. 54

              The Population Council explained that although a pregnancy

progresses, the development of a pregnancy is hardly the same as the worsening

of a disease that physicians call progression.55

              Despite these last-minute objections, the Population Council

ultimately ceased its opposition to the FDAs intention to approve chemical abortion

drugs under Subpart H on September 15, 2000.56

VI.      The FDAs Approval of the Population Councils Application to
         Market Chemical Abortion Drugs in the United States.

              On September 28, 2000, the FDA approved chemical abortion drugs

under Subpart H for the medical termination of intrauterine pregnancies through

49 days pregnancy.57

              The FDA informed the Population Council that Subpart H applies

when FDA concludes that a drug product shown to be effective can be safely used



53 Id.

54 Id.

55 Id.

56 Ex. 24, 2000 FDA Approval Memo. to Population Council re: NDA 20-687

Mifeprex (mifepristone) at 6 (Sept. 28, 2000).
57 Ex. 25, 2000 FDA Approval Letter for Mifeprex (mifepristone) Tablets at 1 (Sept.

28, 2000).


                                          37
                                    Add. 104                              MPI App. 037
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only if distribution or use is restricted, such as to certain physicians with certain

skills or experience.58

             The FDA would not have been able to approve the chemical abortion

drugs without invoking Subpart H, as it was the only authority available to the

agency to allow it to apply postmarketing restrictions on the drugs. 59

             To defend its use of Subpart H, the FDA agency declared that the

termination of an unwanted pregnancy is a serious condition within the scope of

Subpart H and asserted that [t]he meaningful therapeutic benefit over existing

surgical abortion is the avoidance of a surgical procedure. 60

             The FDA stated that the chemical abortion drugs labeling is now part

of a total risk management program. In particular, [t]he professional labeling,

Medication Guide, Patient Agreement, and Prescribers Agreement will together

constitute the approved product labeling to ensure any future generic drug

manufacturers will have the same risk management program.61

             The 2000 approval required the Population Council to include on the

drugs label a black box warning for special problems, particularly those that may

lead to death or serious injury.62



58 Ex. 24, 2000 FDA Approval Memo. at 6.

59 Ex. 26, 2003 Citizen Petitioners Response to Opposition Comments filed by The

Population Council, Inc. and Danco Laboratories, LLC to Comments at 24 (Oct. 10,
2003) https://www.aaplog.org/wp-content/uploads/2002/08/ResponseToDanco10-
03reRU-486.pdf (2003 Response).
60 Ex. 24, 2000 Approval Memo. at 6.

61 Id. at 2.

62 Id.




                                           38
                                      Add. 105                               MPI App. 038
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                 The approved regimen in 2000 contained measures to assure safe use,

including requiring at least three office visits: (1) the Day 1 in-person dispensing

and administration of mifepristone; (2) the Day 3 in-person dispensing and

administration of misoprostol; and (3) the Day 14 return to the doctors office to

confirm no fetal parts or tissue remain.63

                 The FDA explained that [r]eturning to the health care provider on

Day 3 for misoprostol . . . assures that the misoprostol is correctly administered,

and it has the additional advantage of contact between the patient and health care

provider to provide ongoing care, and to reinforce the need to return on Day 14 to

confirm that expulsion has occurred.64

                 The FDAs Subpart H restrictions included the following requirements

for abortionists: the ability to assess the duration of pregnancy accurately and to

diagnose ectopic pregnancies (chemical abortion drugs cannot end an ectopic

pregnancy, but the symptoms of these drugs resemble hemorrhaging from a life-

threatening ectopic pregnancy65); the requirement to report any hospitalization,

transfusion, or other serious events; and the ability to provide surgical intervention

or to ensure that the patient has access to other qualified physicians or medical

facilities.66



63 Id. at 23.

64 Id. at 3.

65 Ex. 8, Skop Decl. ¶ 29; AAPLOG Statement on FDA removing Mifepristone safety

protocols (REMS), at 2, https://aaplog.org/wp-content/uploads/2021/04/AAPLOG-
Statement-on-FDA-removing-mifepristone-REMS-April-2021-1.pdf.
66 Ex. 24, 2000 Approval Memo. at 6.




                                             39
                                      Add. 106                              MPI App. 039
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             The FDAs restrictions on the distribution of mifepristone included:

                 In-person dispensing from the doctor to the woman or girl;

                 Secure shipping procedures;

                 Tracking system ability;

                 Use of authorized distributors and agents; and

                 Provision of the drug through a direct, confidential physician

                 distribution system that ensures only qualified physicians will

                 receive the drug for patient dispensing.

             The FDA did not include prohibitions on the upstream distribution of

the chemical abortion drugsfrom the manufacturer or importer to the

abortionistby mail, express company, or common carrier as proscribed by federal

laws, nor did the FDA acknowledge and address these laws. 68

             The FDA also outlined the Population Councils two post-approval

study commitments.69 The Population Council was to conduct a monitoring study

to ensure providers who did not have surgical-intervention skills and referred

patients for surgery had similar patient outcomes as those patients under the care

of physicians who possessed surgical skills (such as those in the clinical trial). 70




67 Id.

68 Id.

69 Ex. 25, 2000 Approval Letter at 23.

70 Ex. 24, 2000 Approval Memo. at 7.




                                            40
                                     Add. 107                                 MPI App. 040
      Case: 23-10362   Document: 27 Page: 113           Date Filed: 04/10/2023
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The Population Council also agreed to study ongoing pregnancies and their

outcomes through a surveillance, reporting, and tracking system.71

               In the 2000 Approval, the FDA informed the Population Council that

the agency was waiving the pediatric study requirement for this action on this

application.72 Without explanation of the effects of chemical abortion drugs on

puberty or substantiation of its decision, the FDA asserted that there is no

biological reason to expect menstruating females under age 18 to have a different

physiological outcome with the regimen. 73

               The FDA nonetheless highlighted the findings of one limited study

that included 51 subjects under 20 years of age. The agency explained that the

approved labeling states that the safety and efficacy for girls under 18 years of age

have not been studied because the raw data from this limited study had not been

submitted for review, the pediatric population was not part of the NDA indication,

the data on safety and effectiveness were only reviewed for the indications age

group (1835 years of age), and the clinical trials excluded patients younger than 18

years old.74

               The FDA believed it would eventually overcome this data deficiency

because the Population Council would collect outcomes in their [post-approval]




71 Id.

72 Ex. 25, 2000 Approval Letter at 3.

73 Ex. 24, 2000 Approval Memo. at 7.

74 Id.




                                          41
                                    Add. 108                               MPI App. 041
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studies of women of all ages to further study this issue75even though those

studies were not designed to evaluate the safety and effectiveness of mifepristone on

girls under the age of 18 years.

              But the FDA released the Population Council from its obligation to

conduct these studies in 2008.76

              Therefore, since the 2000 Approval, the FDA has continued to allow

pregnant girls of any age to take chemical abortion drugsdespite never requiring a

study specifically designed to determine the safety and effectiveness of these drugs.

              With the FDA approval in hand, the Population Council then granted

Danco Laboratories, LLC (Danco), which was incorporated in the Cayman Islands

in 1995, an exclusive license to manufacture, market, and distribute Mifeprex in the

United States.77

VII.     2002 Citizen Petition

              The FDAs regulations prohibit a litigant from going straight to court

to challenge the agencys approval of a new drug. Instead, the FDAs regulations

require the submission of a citizen petition requesting the agency take or refrain

from taking any form of administration action before filing a lawsuit. 21 C.F.R.

§§ 10.30, 10.45(b). These regulations allow the FDA to indefinitely delay a final

response to a citizen petition. 21 C.F.R. § 10.30(e)(2)(iv). The FDAs eventual


75 Id.

76 Ex. 27, 2016 FDA Letter to AAPLOG, Christian Medical & Dental Associations,

and Concerned Women for America denying 2002 Citizen Petition, Docket No. FDA-
2002-P-0364, at 31 (Mar. 29, 2016) (2016 Petition Denial).
77 Ex. 13, 2002 Citizen Petition at 9.




                                          42
                                    Add. 109                               MPI App. 042
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decision on a citizen petition constitutes a final agency action for the underlying

FDA action and the related citizen petition, and both are reviewable in the courts

under the APA. 21 C.F.R. § 10.45(c).

               In August 2002, Plaintiffs AAPLOG and Christian Medical & Dental

Associations, along with the Concerned Women for America, (collectively, 2002

Petitioners), submitted a citizen petition (2002 Citizen Petition) with the FDA

pursuant to 21 C.F.R. §§ 10.30 and 10.35; 21 C.F.R. Part 314, Subpart H (§§

314.500314.560); and Section 505 of the FFDCA (21 U.S.C. § 355).78

               The 2002 Petitioners requested that the FDA impose an immediate

stay of the approval of mifepristone and ultimately revoke the approval, in addition

to requesting a full FDA audit of the underlying clinical studies. 79

               The 2002 Petitioners stated that the FDAs approval of mifepristone in

2000 violated the APA for many reasons, including because it was arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with the law,

given that (1) the FDA lacked the authority to approve mifepristone under Subpart

H and (2) the FDA incorporated misoprostol as part of the chemical abortion

regimen despite not receiving an sNDA for this new use of the drug.80

               The 2002 Petitioners explained how the 2000 Approval violated

Subpart H because pregnancy, without major complications, is not a serious or life-

threatening illness for purposes of this accelerated approval authority. Thus,


78 Id. at 1.

79 Id.

80 Id. at 1823, 4148.




                                           43
                                    Add. 110                               MPI App. 043
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pregnancy is not the kind of exceptional circumstance that falls within the scope of

Subpart H. The fact that the Mifeprex Regimen is intended for healthy women

provides further evidence of this point.81

                Moreover, there is a less dangerous, more effective alternative to

Mifeprex available for the termination of pregnancies: namely, surgical abortions.

Nor does mifepristone treat a subset of the female population that is unresponsive

to, or intolerant of surgical abortion. Indeed, as the 2000 Mifeprex label

acknowledged, because medical abortion failures should be managed with surgical

termination, the option for surgical abortion must be available for any woman or

girl who undergoes chemical abortion.82

                Nor did the clinical trials compare chemical abortion with the existing

therapy, surgical abortion, to support a finding of a meaningful therapeutic

benefit over existing treatments.83

                The 2002 Petitioners also pointed out that the clinical trials that the

Population Council submitted to support its NDA failed to present substantial

evidence that the mifepristone regimen is safe and effective. 84

                In fact, as the 2002 Citizen Petition demonstrated, the FDAs 2000

Approval has endangered womens lives because it lacked the necessary safeguards

for this dangerous regimen. For instance, the FDA failed to require an ultrasound,



81 Id. at 19.

82 Id. at 2122.

83 Id. at 37.

84 Id. at 2441.




                                             44
                                      Add. 111                                MPI App. 044
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which is necessary both to determine an accurate gestational age of the baby and to

rule out an ectopic pregnancy. The FDA also did not restrict the regimen to

physicians who have received proper training and possess admitting privileges to

emergency facilities. In light of the FDAs subsequent acknowledgment that women

had serious adverse events since the 2000 Approval, the 2002 Citizen Petition urged

the FDA to react to these sentinel events because the clinical trials underlying the

approval of the Mifeprex Regimen did not adhere to FDAs endorsed scientific

methodology for such trials.85

             What is more, the 2002 Petitioners challenged the 2000 Approval

because the U.S. clinical trial for mifepristone did not mirror the anticipated

conditions of use under the approved label despite the FFDCAs requirements under

21 U.S.C. § 355(d). Under the conditions of the U.S. clinical trial:

             (a) the investigators relied on transvaginal ultrasonography (along

                   with menstrual history and pelvic examination) to confirm the

                   gestational age of each pregnancy and exclude women with ectopic

                   pregnancies;

             (b) the physicians had experience in performing surgical abortions,

                   were trained in the administration of the mifepristone-misoprostol

                   procedure, and had admitting privileges at medical facilities that

                   could provide emergency care and hospitalization; and




85 Id. at 4971.




                                            45
                                     Add. 112                               MPI App. 045
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                (c) all patients needed to be within one hour of emergency facilities or

                   the facilities of the principal investigator; and

                (d) women were monitored for four hours for adverse events after

                   taking misoprostol.

                Because the FDAs 2000 Approval did not require these safeguards for

women and girls using chemical abortion drugs, the 2002 Petitioners reasoned that

the agency should not have extrapolated conclusions about the safety and

effectiveness of chemical abortion drugs under the approved label.87

                The 2002 Citizen Petition also requested that the FDA withdraw the

2000 Approval of the chemical abortion drugs because the sponsor had not been

enforcing the limited restrictions on the use of the drug regimen. Among the

deviations from the approved regimen, physicians were offering chemical abortion

drugs to women with pregnancies beyond the maximum seven weeks and

eliminating the second of the three prescribed visits (i.e., in-facility administration

of misoprostol).88

                Subpart H authorizes the FDA to withdraw approval of a drug

approved under Section 514.520 if [t]he applicant fails to adhere to the

postmarketing restrictions agreed upon. 21 C.F.R. § 314.530(a)(4). Because the

burden is on the applicant to ensure that the conditions of use under which the




86 Id. at 7576.

87 Id. at 76.

88 Id. at 7175.




                                             46
                                      Add. 113                                MPI App. 046
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applicants product was approved are being followed, the 2002 Petitioners asked

the FDA to exercise its authority to withdraw its approval for mifepristone. 89

                The 2002 Petitioners also challenged the FDAs decision to waive the

agencys regulatory requirement to conduct a pediatric studythe failure of which

endangered the health and safety of girlsbecause it did not meet the requirements

for such a waiver.90

                The 2002 Citizen Petition next pointed out that the FDA impermissibly

reduced the Population Councils post-approval studies during the final stages of

the FDAs review in 2000. Not only did FDA approve the NDA on the basis of

clinical trials so defective with respect to their design and execution as to render

them insufficient to establish short-term safety and effectiveness, but FDA also

permitted the Population Council to substantially pare down the [post-approval]

trials that it would perform.91

                Finally, the FDA then compounded its failure to require the

Population Council and Danco to comply with the strictures of the Pediatric Rule

when it permitted them to consider the effect of the Mifeprex Regimen on patients

under 18 as part of another study rather than as a separate [post-approval]

study.92 Because chemical abortion drugs could conceivably interfere with




89 Ex. 13, 2002 Citizen Petition at 75.

90 Id. at 7683.

91 Id. at 8485.

92 Id. at 86.




                                           47
                                     Add. 114                               MPI App. 047
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pubertal development, girls under 18 years of age deserve separate consideration

in studies with significant numbers of participants.93

              On October 10, 2003, the 2002 Petitioners filed a response (2003

Response) to opposition comments by the Population Council and Danco. The 2003

Response not only responded to these comments, but it also provided the FDA with

additional evidence that the safety and effectiveness of chemical abortion drugs

have not been established in accordance with the requirements of the FFDCA or the

FDAs own regulations.94

VIII. Implementation of a REMS for Mifepristone

              After receiving the 2002 Citizen Petition, the FDAs next significant

regulatory action on chemical abortion drugs involved incorporating Congresss

mandate to convert Subpart H postmarketing restrictions for previously approved

drugs into a REMS.

              As previously discussed, Section 909(b)(1) of the FDAAA specified that

a drug that was approved before the effective date of this Act is . . . deemed to have

in effect an approved [REMS] . . . if there are in effect on the effective date of this

Act elements to assure safe use [pursuant to 21 C.F.R. § 514.520].




93 Id. at 86, n. 377.

94 Ex. 26, 2003 Response.




                                           48
                                     Add. 115                                 MPI App. 048
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             In a March 27, 2008, Federal Register notice, the FDA identified

chemical abortion drugs as one of those drugs that FDA has determined will be

deemed to have in effect an approved REMS.95

             In 2011, pursuant to the 2008 notice, the FDA approved a REMS for

chemical abortion drugs in accordance with section 909(b)(1) of the FDAAA. 96

             The FDA determined that a REMS is necessary for MIFEPREX

(mifepristone) to ensure the benefits of the drug outweigh the risks of serious

complications.97

             The REMS incorporated the previous Subpart H restrictions and

consisted of a Medication Guide, elements to assure safe use, an implementation

system, and a timetable for submission of assessments of the REMS. 98

             The REMS required prescribers to certify that they are qualified to

prescribe MIFEPREX (mifepristone) and are able to assure patient access to

appropriate medical facilities to manage any complications. 99

             The FDA also instructed Danco that, [a]s part of the approval under

Subpart H, as required by 21 CFR § 314.550, you must submit all promotional



95 Ex. 28, Identification of Drug and Biological Products Deemed to Have Risk

Evaluation and Mitigation Strategies for Purposes of the Food and Drug
Administration Amendments Act of 2007, 73 Fed. Reg. 16,313, 16,314 (Mar. 27,
2008).
96 Ex. 29, 2011 FDA Supplemental Approval Letter to Danco Laboratories, LLC at 1

(June 6, 2011) (2011 Approval Letter).
97 Id. at 1.

98 Id. at 1; Ex. 30, 2011 REMS for NDA 20-687 Mifeprex (mifepristone) Tablets,

200mg (June 8, 2011) (2011 REMS).
99 Ex. 29, 2011 Approval Letter at 1; Ex. 30, 2011 REMS.




                                         49
                                   Add. 116                               MPI App. 049
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materials, including promotional labeling as well as advertisements, at least 30

days before the intended time of initial distribution of the labeling or initial

publication of the advertisement.100

IX.       The FDAs Denial of the 2002 Citizen Petition

               Almost fourteen years after receiving the 2002 Citizen Petitionon

March 29, 2016the FDA denied the 2002 Citizen Petition (2016 Denial).101

               The FDA abused its regulatory authority under 21 C.F.R.

§ 10.30(e)(2)(iv) to delay a final response to the 2002 Citizen Petition.

               In the 2016 Denial, the FDA asserted that it appropriately approved

chemical abortion drugs under Subpart H because [a]s FDA made clear in the

preamble to the final rule for subpart H, the subpart H regulations are intended to

apply to serious or life-threatening conditions, as well as to illnesses or diseases. 102

               The FDA further asserted that the Subpart H premable also made

clear that a condition need not be serious or life-threatening in all populations or in

all phases to fall within the scope of these regulations. 103

               The FDA asserted that [u]nwanted pregnancy falls within the scope of

subpart H under § 314.500 because unwanted pregnancy, like a number of illnesses




100 Ex. 29, 2011 Approval Letter at 23.

101 Ex. 27, 2016 Petition Denial.

102 Id. at 4 (emphasis added).

103 Id.




                                            50
                                     Add. 117                                 MPI App. 050
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or conditions, can be serious for certain populations or under certain

circumstances.104

                The FDA also asserted that chemical abortion provides a meaningful

therapeutic benefit to some patients over surgical abortion because chemical

abortion provides an alternative to surgical abortion, which itself can lead to

complications such as a severe allergic reaction, a sudden drop in blood pressure

with cardiorespiratory arrest, death, and a longer recovery time following the

procedure.105

                The FDA also asserted that the clinical trials constituted substantial

evidence of effectiveness, while contending that the FDA regulations do not

require that a study be blinded, randomized, and/or concurrently controlled. 106

                The FDA then asserted that its decision not to require studies of

pediatric patients was consistent with FDAs implementation of the regulations in

effect at that time. The agency also asserted that its 2000 Approval determined

that there were sufficient data from studies of mifepristone. Even though the 2000

Approval said the FDA was waiving the requirement for a pediatric assessment, the

2016 Petition Denial stated that the 2000 Approval should have stated our

conclusion that the pediatric study requirements were waived for pre-menarchal

patients and that the pediatric study requirements were met for post-menarchal




104 Id.

105 Id. at 5.

106 Id. at 9.




                                            51
                                      Add. 118                               MPI App. 051
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pediatric patients, rather than stating that we were waiving the requirements for

all pediatric groups.107

                 In response to the 2002 Citizen Petitions argument that the FDAs

inclusion of misoprostol as part of the mifepristone regimen was illegal because the

sponsor of that drug had not submitted an sNDA, the FDA asserted that [n]either

the FD&C Act nor FDA regulations require the submission of a supplemental NDA

by the sponsor of the misoprostol NDA for the use of misoprostol as part of the

approved treatment regimen for Mifeprex.108

                 The FDA provided [e]xamples of approved drug labeling that refer to

the concomitant use of another drug without there being a specific reference to the

combined therapy in the previously approved labeling for the reference drug. 109 But

the FDA did not purport to provide an example of drug labeling where that second

drug was not approved for the use of the new indication.

X.        The FDAs 2016 Major Changes to the Mifepristone Regimen

                 On the same day that the FDA denied the 2002 Citizen Petition

March 29, 2016the FDA also approved major changes to the mifepristone regimen

(2016 Major Changes) in response to an sNDA that Danco had submitted to the

FDA on May 28, 2015.110




107 Id. at 29.

108 Id. at 15.

109 Id.

110 Ex. 31, 2016 FDA Letter to Danco Laboratories re: NDA 020687, Supp 20 (Mar.

29, 2016).


                                            52
                                      Add. 119                              MPI App. 052
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            The FDA acknowledged that the 2000 Approval hinged on necessary

safeguards to protect women and girls from the dangers of chemical abortion drugs.

The FDAs Summary Review of the 2016 Major Changes recalled that [a]t the

time of the September, 2000 approval, FDA restricted distribution of Mifeprex

under 21 CFR 314.520. After summarizing the history and provisions of the REMS

for mifepristone, the FDA noted that [t]he REMS for Mifeprex incorporated the

restrictions under which the drug was originally approved. 111 But the FDA decided

to remove these crucial protections after reconsidering and reopening the 2000

Approval.

            The FDA acknowledged that these major changes are interrelated,

demonstrating the agencys awareness that each change impacted the others. 112

            The 2016 Major Changes included the following revisions to the 2000

Approvals safeguards for women and girls:

            (a) extending the maximum gestational age at which a woman or a girl

                can abort her baby from 49 days to 70 days;

            (b) altering the mifepristone dosage from 600 mg to 200 mg, the

                misoprostol dosage from 400 mcg to 800 mcg, and misoprostol

                administration from oral to buccal (cheek pouch);




111 Ex. 32, FDA, Center for Drug Evaluation and Research, Summary Review of

Application Number: 020687Orig1s020, at 4 (Mar. 29, 2016) (2016 Summary
Review).
112 Id. at 6.




                                        53
                                  Add. 120                              MPI App. 053
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                 (c) eliminating the requirement that administration of misoprostol

                    occur in-clinic;

                 (d) broadening the window for misoprostol administration to include a

                    range of 24-48 hours after taking mifepristone, instead of 48 hours

                    afterwards;

                 (e) adding a repeat 800 mcg buccal dose of misoprostol in the event of

                    an incomplete chemical abortion;

                 (f) removing the requirement for an in-person follow-up examination

                    after an abortion; and

                 (g) allowing healthcare providers other than physicians to dispense

                    and administer the chemical abortion drugs.

                 Despite these major changes to the regimen, the FDA eliminated the

requirement for prescribers to report all nonfatal serious adverse events from

chemical abortion drugs. Rather than require future adverse event reports from

abortionists about whether revising the dosages and removing the initial safeguards

harmed women and girls, the FDA simply asserted that after 15 years of reporting

serious adverse events, the safety profile for Mifeprex is essentially unchanged.

The FDA at least conceded that [i]t is important that the Agency be informed of

any deaths with Mifeprex to monitor new safety signals or trends. 114




113 Id. at 610.

114 Id. at 27.




                                             54
                                       Add. 121                              MPI App. 054
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             As with the 2000 Approval, the 2016 Major Changes did not include

prohibitions on the upstream distribution of chemical abortion drugs by mail,

express company, or common carrier as proscribed by federal laws, nor did the FDA

acknowledge and address these laws.

      A.     The FDAs Evidence for the Safety and Effectiveness of the
             2016 Major Changes

             The FDA lacked substantial evidence that the 2016 Major Changes

would have the effect it purported or was represented to have under the conditions

of use prescribed, recommended, or suggested in the proposed labeling thereof.

             The FDAs review and approval did not include a single adequate and

well-controlled investigation that evaluated the safety and effectiveness of

mifepristone and misoprostol under the conditions prescribed, recommended, or

suggested in the proposed labeling thereof.

             Instead, the FDA relied on studies that evaluated only one or just a

few of the major changes that the FDA enacted in 2016; as the FDA acknowledged,

in some cases data from a given study were relied on to provide evidence to support

multiple changes115but no study supported all the changes.

             For example, the FDA relied on a study lead by a former longtime

employee of the Population Council to support extending the maximum gestational

age to 70 days, changing the dosing regimen, and authorizing a repeat dose of




115 Ex. 32, 2016 Summary Review at 6.




                                         55
                                   Add. 122                               MPI App. 055
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misoprostol if the first dose fails.116 In this study, the abortionists (1) confirmed

gestational age (and presumably screened for ectopic pregnancies) based on routine

ultrasound practices, (2) required the study participants to return to the study site

7 to 14 days after using mifepristone for clinical assessment, which included

ultrasonography, and (3) intervened surgically if they deemed it medically

necessary or at the patients request.117 But the labeling that the FDA approved

with the 2016 Major Changes did not require (1) an ultrasound to confirm

gestational age or screen for an ectopic pregnancy, (2) an in-person follow-up exam

using ultrasonography, and (3) an ability of abortionists to personally perform

surgical abortion if necessary. Such variations between the study conditions and the

approved labeling fail to comply with the requirements of the FFDCA.

              Moreover, the studies on which the FDA relied for each individual

major change all contained at least one fatal flaw, including the following

substantial weaknesses: significant loss to follow-up; safeguards not required under

the labeling; small sample size lacking statistical significance; not powered to

evaluate safety; and bias.

              In fact, many of these studies showed that the new chemical abortion

regimen was unsafe for use under the conditions prescribed, recommended, or

suggested in the proposed labeling thereof, or they failed to show that chemical

abortion was safe under such conditions.


116 Ex. 33, Beverly Winikoff et al., Extending Outpatient Medical Abortion Services

Through 70 Days of Gestational Age, 120 Obstetrics & Gynecology 1070 (2012).
117 Id. at 1071.




                                           56
                                     Add. 123                                 MPI App. 056
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       B.     The FDAs Lack of Research on Pediatric Populations for the
              2016 Major Changes

              The FDAs 2016 Major Changes continued to allow pregnant girls of

any age to use chemical abortion drugsdespite not knowing whether these

dangerous drugs could have an adverse impact on the health, safety, and welfare of

developing girls.

              The FDA did not require Danco to submit an assessment on the safety

and effectiveness of the drug for the claimed indications in all relevant pediatric

subpopulations, nor did the FDA require Danco to submit an assessment that

supported the dosing and administration for each pediatric subpopulation for which

the drug is safe and effective.118

              The FDA granted a partial PREA waiver for pre-menarcheal females

ages birth to 12 years because it would be impossible to conduct studies in this

pediatric population, as pregnancy does not exist in premenarchal females. The

FDA then concluded that Danco fulfilled the remaining PREA requirement in

postmenarcheal females by submitting published studies of Mifeprex for pregnancy

termination in postmenarcheal females less than 17 years old. The FDA cited three

published studies in support of this conclusion.119

              The primary study on which the FDA relied, Efficacy and safety of

medical abortion using mifepristone and buccal misoprostol through 63 days, by

Mary Gatter and Deborah Nucatola of Planned Parenthood of Los Angeles and



118 Ex. 32, 2016 Summary Review at 1820.

119 Id. at 1819.




                                          57
                                     Add. 124                              MPI App. 057
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Kelly Cleland of Princeton Universitys Office of Population Research, evaluated the

proposed dosing regimen followed by home administration of misoprostol through

63 days gestation. The study also included postmenarcheal girls in the study

population, from which the FDA extrapolated its conclusion.120

             For the pediatric population under 18 years of age, the Planned

Parenthood study stated that it had a loss to follow-up of twenty percent (20%).

Therefore, the authors lacked any knowledge of whether these girls died, were

hospitalized, or experienced other serious adverse events.121 The authors also

recognized that [l]oss to follow-up was significantly higher among the youngest age

group.122

             The FDA minimized this significant data gap by asserting that loss to

follow-up was slightly higher in those less than 18 years old.123 Despite this

significant data gap, the FDA went on to conclude that age did not adversely

impact efficacy outcomes.124

             Furthermore, in this study, Planned Parenthood also performed an

ultrasound examination on all females prior to the chemical abortions, in addition

to giving them routine antibiotic coverage at the beginning of the chemical




120 Id. at 19 (citing Ex. 34, Mary Gatter et al., Efficacy and safety of medical

abortion using mifepristone and buccal misoprostol through 63 days, 91
Contraception 269 (2015).
121 Ex. 34, Gatter at 45.

122 Id. (emphasis added).

123 Ex. 32, 2016 Summary Review at 19 (emphasis added).

124 Id.




                                           58
                                    Add. 125                                 MPI App. 058
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abortion regimen.125 But the FDA did not require any of these safeguards for women

and girls under the 2016 Major Changes.

              The FDA did not address or discount any potential conflict of interest

or bias in the studydespite the study disclosing that Planned Parenthood

Federation of America provided funding for the study. Nor did the FDA address or

discount any potential conflict of interest or bias in the study even though its

authors, Mary Gatter126 and Deborah Nucatola,127 had significant incentives to

increase their income and Planned Parenthoods profits through abortion-related

actions outside of performing surgical abortion.128

              A second study that the FDA cited in support of its PREA conclusion

was based on a nationwide registry of induced abortions and hospital register data

in Finland.129 For the adolescent cohort who had chemical abortions, the study



125 Ex. 34, Gatter at 2.

126 See, e.g., The Center for Medical Progress, Second Planned Parenthood Senior

Executive Haggles Over Body Parts Prices, Changes Abortion Methods, YouTube
(July 21, 2015), https://www.youtube.com/watch?v=MjCs_gvImyw (video capturing
Gatter saying she want[s] a Lamborghini when discussing the price that she
would charge for selling intact aborted fetal body parts).
127 See, e.g., The Center for Medical Progress, Planned Parenthood Uses Partial-

Birth Abortions to Sell Baby Parts, YouTube (July 14, 2015),
https://www.youtube.com/watch?v=jjxwVuozMnU (video capturing Nucatola stating
that Planned Parenthood affiliates would be happy selling intact aborted fetal
body parts for a reasonable price that is a little better than break even).
128 The Fifth Circuit has recognized the overall authenticity and veracity of the

undercover videos capturing Planned Parenthoods desire to profit from the
trafficking of aborted fetal body parts. See Planned Parenthood of Greater Tex.
Family Planning & Preventative Health Servs., Inc. v. Smith, 913 F.3d 551, 559 n. 6
(5th Cir. 2019), on rehg en banc sub nom. Planned Parenthood of Greater Tex. Fam.
Plan. & Preventative Health Servs., Inc. v. Kauffman, 981 F.3d 347 (5th Cir. 2020).
129 Ex. 32 2016 Summary Review at 1920 (citing Ex. 18, Niinimaki, supra note 14).




                                          59
                                    Add. 126                                MPI App. 059
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found that 12.8% experienced hemorrhaging, 7.0% had incomplete abortions, and

11.0% needed surgical evacuation of retained products of conception.130 Because

these statistics were similar to those of the adult cohort, the FDA found these

statistics reassuring to support the safety profile of chemical abortion drugs for a

pediatric population.131

                 The third and final study that the FDA cited in support of its PREA

conclusion was a study of 28 adolescents, ages 14 to 17 years old, with pregnancies

under 57 days gestation.132 Even though the authors of this study cautioned that a

larger study was needed to make any generalizable conclusions for pediatric

populations, the FDA likewise found this small study reassuring.133

                 The FDA did not require any studies on the long-term effects of

chemical abortion drugs in pediatric populations with developing reproductive

systems.

XI.    2019 Citizen Petition

                 In response to the 2016 Major Changes, on March 29, 2019, Plaintiffs

AAPLOG and American College of Pediatricians (2019 Petitioners) submitted to the

FDA a citizen petition (2019 Citizen Petition) pursuant to 21 C.F.R. §§ 10.30 and

10.35; 21 C.F.R. Part 314, Subpart H (§§ 314.500314.560); and Section 505 of the

FFDCA (21 U.S.C. § 355). The 2019 Petitioners asked the FDA to (1) restore and



130 Ex. 18, Niinimaki, supra note 14 at 34.

131 Ex. 32, 2016 Summary Review at 20.

132 Id. at 19.

133 Id. at 20.




                                            60
                                      Add. 127                              MPI App. 060
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strengthen elements of the Mifeprex regimen and prescriber requirements approved

in 2000 and, in the event that the FDA denied that request, (2) retain the

Mifeprex Risk Evaluation and Mitigation Strategy (REMS), and continue limiting

the dispensing of Mifeprex to patients in clinics, medical offices, and hospitals, by or

under the supervision of a certified prescribers.134

             The 2019 Citizen Petition asked the FDA to take the following actions

to restore and strengthen elements of the chemical abortion drug regimen and

prescriber requirements approved in 2000 to protect the health, safety, and welfare

of women and girls:

             Reduce the maximum gestational age from 70 days to 49 days;

             Limit the ability to prescribe and dispense chemical abortion drugs to

             qualified, licensed physiciansnot other healthcare providers;

             Mandate certified abortionists to be physically present when

             dispensing chemical abortion drugs;

             Require that the prescriber perform an ultrasound to assess

             gestational age, identify ectopic pregnancies, ensure compliance with

             FDA restrictions, and adequately inform the woman of gestational age-

             specific risks, which rise with increasing gestational age;

             Restore the requirement for in-person administration of misoprostol;




134 Ex. 35, 2019 Citizen Petition of AAPLOG to FDA (Mar. 29, 2019).




                                          61
                                    Add. 128                                MPI App. 061
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              Restore the requirement for an in-person follow-up visit to confirm

              abortion and rule out life-threatening infection through clinical

              examination or ultrasonographic scan;

              Restore the 2000 label language that stated that chemical abortion

              drugs are contraindicated if a woman lacks adequate access to

              emergency medical care; and

              Restore the prescriber reporting requirements for all serious adverse

              events, including any deaths, hospitalizations, blood transfusions,

              emergency room visits, failures requiring surgical completion, ongoing

              pregnancy, or other major complications following the chemical

              abortion regimen.

              The 2019 Petitioners also asked the FDA to require a formal study of

outcomes for at-risk populations, including the pediatric female population, patients

with repeat chemical abortions, patients who have limited access to emergency

room services, and patients who self-administer misoprostol.136

              The 2019 Citizen Petition explained that [t]he developmental stage of

puberty involves a complex interplay of both progesterone and estrogen effects on

the developing female reproductive system. Therefore, [t]he use, and especially

the potential multiple use, of Mifeprex, which is a powerful progesterone blocker, is




135 Id.

136 Id. at 1314.




                                          62
                                    Add. 129                               MPI App. 062
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likely to significantly impact the developing reproductive system of the adolescent

female.137

              If the FDA refused to restore and strengthen the chemical abortion

regimen and prescriber requirements approved in 2000, the 2019 Citizen Petition

requested that the FDA retain the mifepristone REMS and continue limiting the

dispensing of mifepristone to clinics, medical offices, and hospitals, by or under the

supervision of a certified prescriber. In other words, the FDA should do no further

harm to the few remaining safeguards for women and girls who undergo the

chemical abortion drug regimen.138

              In particular, the 2019 Petitioners explained that eliminating or

relaxing the REMS to facilitate internet or telephone prescriptions would be

dangerous to women and girls.139 The 2019 Citizen Petition also raised concerns

about dispensing from a pharmacy instead of a clinical facility.140

              The 2019 Citizen Petition provided the FDA with detailed analysis and

data to support these requests.




137 Id.

138 Id. at 1425.

139 Id. at 1820.

140 Id. at 2023.




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XII.   The FDAs Approval of a Generic Version of Mifeprex and a Single,
       Shared System REMS

               On April 11, 2019, the FDA approved GenBioPro, Inc.s141 generic

version of Mifeprex, Mifepristone Tablets, 200 mg (2019 ANDA Approval). The

FDA determined GenBioPros Mifepristone Tablets, 200 mg, to be bioequivalent

and, therefore, therapeutically equivalent to the reference listed drug (RLD),

Mifeprex Tablets, 200 mg, of Danco Laboratories, LLC. GenBioPros generic

version of mifepristone has the same labeling and REMS as does Dancos

Mifeprex.142

               On the same day, the FDA approved modifications to the existing

REMS for chemical abortion drugs to establish a single, shared system REMS for

mifepristone products for the medical termination of intrauterine pregnancy, thus

allowing the FDA to have a uniform REMS for the chemical abortion drugs that two

companies were now marketing. The FDA did not make any substantive

modifications to the REMS approved in 2016.143




141 GenBioPro, Inc. is located at 3651 Lindell Road, Suite D1041, Las Vegas,

Nevada. https://www.dnb.com/business-directory/company-
profiles.genbiopro_inc.f925af03300887aacd053afe151fefb2.html.
142 Ex. 36, 2019 FDA ANDA Approval Letter to GenBioPro, Inc. (Apr. 11, 2019),

https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2019/091178Orig1s000ltr
.pdf.
143 Ex. 37, 2019 FDA Supplemental Approval Letter to Danco Laboratories, LLC

(Apr. 11, 2019), Supplement Approval, https://www.accessdata.fda.gov/drugsatfda_
docs/appletter/2019/020687Orig1s022ltr.pdf.


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XIII. 2020 ACOG-SMFM Letter to the FDA

               On April 20, 2020, the American College of Obstetricians and

Gynecologists (ACOG) and the Society for Maternal-Fetal Medicine (SMFM) sent a

joint letter (2020 ACOG-SMFM Letter), rather than a citizen petition, to the FDA

asking the agency to remove in-person dispensing requirement for mifepristone

during the COVID-19 pandemic and instead allow dispensing by mail or mail-order

pharmacy.144

               Following the letter, in May 2020, ACOG and others filed suit to enjoin

the FDAs in-person dispensing requirement for mifepristone during the pandemic.

Am. Coll. of Obstetricians & Gynecologists v. FDA, 472 F. Supp. 3d 183 (D. Md.

2020).

               The district court granted a nationwide preliminary injunction and

lifted the in-person dispensing requirement for the pandemic. Id. at 233, order

clarified, 2020 WL 8167535 (D. Md. Aug. 19, 2020). The Fourth Circuit refused to

stay the injunction. Court Order Denying Motion for Stay Pending Appeal, Am.

Coll. of Obstetricians & Gynecologists v. FDA, Nos. 20-1824 (4th Cir. Aug. 13, 2020),

ECF No. 30.

               The FDA then filed for an emergency stay of the injunction with the

U.S. Supreme Court. On January 12, 2021, the U.S. Supreme Court granted the

FDA an emergency stay of the district courts injunction.145



144 Ex. 38, 2020 Letter from ACOG and SMFM, to FDA about Mifepristone REMS

(Apr. 20, 2020) (2020 ACOG-SMFM Letter).
145 FDA v. Am. Coll. of Obstetricians & Gynecologists, 141 S. Ct. 578 (2021).




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XIV. 2021 FDA Letter in Response to 2020 ACOG-SMFM Letter

             President Joe Biden took office just eight days later. Acting under new

management, the FDA responded to the 2020 ACOG-SMFM letter on April 12,

2021, and stated that the agency intends to exercise enforcement discretion

during the COVID pandemic with respect to the in-person dispensing requirement

of the REMS for mifepristone (2021 Non-Enforcement Decision).146

             The FDAs 2021 Non-Enforcement Decision relied, in part, on the

supposed lack of reported adverse events caused by chemical abortion drugs

occurring between January 2020 and January 2021despite the agencys

elimination of non-fatal reporting requirements for abortionists in 2016.

Nevertheless, in 2021, the FDA still found that the small number of adverse events

reported to FDA during the COVID-19 public health emergency (PHE) provide no

indication that any program deviation or noncompliance with the Mifepristone

REMS Program contributed to the reported adverse events.147

             The FDAs 2021 Non-Enforcement Decision neither acknowledged nor

addressed the federal laws expressly prohibiting the distribution of mifepristone by

mail, express company, or common carrierdespite explicitly recognizing that this

action would allow dispensing of mifepristone through the mail . . . or through a

mail-order pharmacy.148




146 Ex. 39, 2021 FDA Letter to ACOG and SMFM About Mifepristone REMS, at 2

(Apr. 12, 2021) (2021 Non-Enforcement Decision).
147 Id.

148 Id.




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                                   Add. 133                                 MPI App. 066
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XV.   2021 Minor Changes

             On May 14, 2021, the FDA approved minor changes to the Patient

Agreement Form to use gender neutral language, replacing the pronouns she

and her with the patient. The FDA made similar revisions to the REMS

document to reflect the removal of the gender-specific pronouns in the Patient

Agreement Form.149

             Despite these changes, the FDA did not require Danco to submit

studies showing the safety and effectiveness of chemical abortion on women and

girls who may be taking puberty blockers, testosterone injections, or other

hormones in addition to the chemical abortion drugs.

             Currently, the May 14, 2021, minor changes are the last updates to

the REMS for chemical abortion drugs that the FDA has approved.150 As discussed

below, the FDA is requiring additional changes to the REMS.

XVI. The FDAs December 2021 Announcement of Further Reductions in
     Safeguards

             On December 16, 2021, Defendant Cavazonni, Director of the FDAs

Center for Drug Evaluation and Research, wrote a letter to Graham Chelius, M.D.,

of the Society of Family Planning and the California Academy of Family Physicians




149 Ex. 40, FDA Supplemental Approval Letter to Danco Laboratories, LLC (May 14,

2021), https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2021/020687Orig1
s024ltr.pdf.
150 Ex. 41, 2021 Updated REMS for Mifepristone Tablets, 200mg (May 14, 2021),

https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm?event=RemsDetails.pag
e&REMS=390.


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to inform him that the FDA had completed its review of the REMS for

mifepristone.151

              Although the FDA determined that the Mifepristone REMS Program

continues to be necessary to ensure that the benefits of the drug outweigh the

risks, the agency determined that it must be modified to minimize the burden on

the health care delivery system of complying with the REMS and to ensure that the

benefits of the drug outweigh the risks.152

              The letter identified specific new modifications to the REMS:

(1) removing the requirement that mifepristone be dispensed only in certain

healthcare settings, specifically clinics, medical offices, and hospitals (i.e., the in-

person dispensing requirement); and (2) adding a requirement that pharmacies

that dispense the drug be specially certified, signaling that the FDA will soon allow

pharmacies to dispense chemical abortion drugs. 153

              Defendant Cavazzoni also noted that the FDA had answered the

related 2019 Citizen Petition and would post the agencys response in the public

docket.154

XVII. The FDAs Denial and Granting of the 2019 Citizen Petition

              Accordingly, on December 16, 2021the same day that Defendant

Cavazzoni sent the letter to Dr. Chelius and over 2.5 years after receiving the 2019


151 Ex. 42, 2021 FDA Center for Drug Evaluation & Research Director Patrizia

Cavazzoni Letter to Dr. Graham Chelius (Dec. 16, 2021).
152 Id.

153 Id.

154 Id.




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                                      Add. 135                                  MPI App. 068
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Citizen Petitionthe FDA denied in part and granted in part the 2019 Citizen

Petition (2021 FDA Response).155

             The FDA granted the 2019 Citizen Petition only to the extent that the

agency agreed that a REMS is necessary to ensure that the benefits of

mifepristone in a regimen with misoprostol outweigh the risks. But the FDA

retained only the Prescriber Agreement Form and the Patient Agreement Form as

the remaining elements of the REMS.156

             Aside from retaining these two remaining requirements, the FDA

denied the 2019 Citizen Petitions requests (1) to restore and strengthen the

mifepristone and prescriber requirements approved in 2000 and (2) to continue

limiting the dispensing of mifepristone to women in clinics, medical offices, and

hospitals, by or under the supervision of a certified prescriber.157

             Before addressing the merits of the 2019 Citizen Petition, the FDA

discussed how chemical abortion drugs came to be regulated, starting with the 2000

Approval under Subpart H and the associated restrictions needed to assure the

safe use of the drug product. The FDA noted that it restricted the distribution of

chemical abortion drugs under Subpart H, 21 C.F.R. § 314.520. The agency also




155 Ex. 43, 2021 FDA Letter to AAPLOG and Am. Coll. of Pediatricians denying in

part and granting in part 2016 Citizen Petition, Docket No. FDA-2019-P-1534 (Dec.
16, 2021) (2021 FDA Response).
156 Id. at 2123.

157 Ex. 43, 2021 FDA Response.




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explained how and why chemical abortion drugs have an associated REMS to

assure safe use due to the drugs approval under Subpart H.158

                 After providing this regulatory background, the FDA defended its

decision in the 2016 Major Changes to reconsider and revise the safeguards codified

in the original 2000 Approval and the subsequent REMS. The agency also

disregarded the analyses and data set forth in the 2019 Citizen Petition.

                 The FDA repeated its previous justifications not to require studies in

the pertinent pediatric population in the underlying 2000 Approval and the 2016

Major Changes, and it again assertedwithout evidencethat the safety and

efficacy were expected to be the same for postpubertal (i.e., post-menarchal)

adolescents.159

                 In response to the 2019 Citizen Petitions request to preserve the few

safeguards after the 2016 Major Changes, the FDA stated that the REMS for

mifepristone must be modified to remove the requirement that mifepristone be

dispensed only in certain healthcare settings, specifically clinics, medical offices,

and hospitals, because this requirement is no longer necessary to ensure that the

benefits of the drug outweigh the risks.

                 In support of its claim that in-person dispensing is unnecessary, the

FDA relied on the small number of adverse events voluntarily reported in the

FDA Adverse Event Reporting System (FAERS) database to justify the elimination


158 Id. at 23.

159 Id. at 38.

   Id. at 25


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of this safeguard, even though the FDA had years ago removed the requirement for

abortionists to report nonfatal adverse events.161

              The FDA relied on the FAERS database despite conceding these facts:

FAERS data does have limitations; the FDA does not receive reports for every

adverse event; and thus FAERS data cannot be used to calculate the incidence of

an adverse event . . . in the U.S.162

              The FDA likewise admitted that FAERS is woefully inadequate to

determine the post-marketing safety of mifepristone due to its inability to

adequately assess the frequency or severity of adverse events and the adverse

events reported to the FDA represent a fraction of the actual adverse events

occurring in American women.163 The FDA also agreed that there are reporting

discrepancies [that] render the FAERS inadequate to evaluate the safety of

mifepristone abortions.164

              The complicated FAERS electronic submission process further hinders

the reporting of adverse events and exacerbates the unreliability of the number of




161 Id. at 2536.

162 Ex. 44, Questions and Answers on FDAs Adverse Event Reporting System

(FAERS), https://www.fda.gov/drugs/surveillance/questions-and-answers-fdas-
adverse-event-reporting-system-faers.
163 Ex. 45, Kathi A. Aultman et al., Deaths and Severe Adverse Events after the use

of Mifepristone as an Abortifacient from September 2000 to February 2019, 26 Law
& Medicine 3, 2526 (2021).
164 Ex. 46, Christiana A. Cirucci et al., Mifepristone Adverse Events Identified by

Planned Parenthood in 2009 and 2010 Compared to Those in the FDA Adverse
Event Reporting System and Those Obtained Through the Freedom of Information
Act, 8 Health Servs. Rsch & managerial Epidemiology 1 (2021).


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adverse event reports. Doctors or other interested individuals seeking to submit an

adverse event report must navigate a confusing webpage.165 Recognizing this

difficulty in submitting adverse event reports, the FDA provides a 48-page manual

as guidance on the technical specifications for submitting an adverse event form.166

              The FDA also relied on some published studies in making its 2021

decision to deny the 2019 Citizen Petition. The agency, however, noted that the

ability to generalize the results of these studies to the United States population is

hampered, the usefulness of the studies is limited in some instances by small

sample sizes and lack of follow-up information on outcomes with regard to both

safety and efficacy, and the FDA did not find any large clinical studies that were

designed to collect safety outcomes in healthcare systems similar to the United

States.167

              Despite these limitations, the FDA concluded that mifepristone would

remain safe and efficacy [would] be maintained if it removed the in-person

dispensing requirement from the REMS program.168




165 Ex. 47, FDA, FDA Adverse Event Reporting System (FAERS) Electronic

Submissions, https://www.fda.gov/drugs/questions-and-answers-fdas-adverse-event-
reporting-system-faers/fda-adverse-event-reporting-system-faers-electronic-
submissions.
166 Ex. 48, Specifications for Preparing and Submitting Electronic ICSRs and ICSR

Attachments (April 2021), https://www.fda.gov/media/132096/download.
167 Ex. 43, 2021 FDA Response at 28.

168 Id.




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              The FDAs 2021 Petition Response neither acknowledged nor

addressed the federal laws expressly prohibiting the distribution of mifepristone by

mail, express company, or common carrier.

              In summary, the following chart illustrates the changes to the

mifepristone regimen over the years:

      Regulation           2000 Approval           2016 Major           2021 Non-
                                                    Changes            Enforcement
                                                                       Decision and
                                                                      Petition Denial
 Maximum Gestational          49 days                70 days              70 days
 Age
 Dosage                     600 mg of             200 mg of            200 mg of
                            mifepristone          mifepristone         mifepristone
                            400 mcg of            800 mcg of           800 mcg of
                            misoprostol           misoprostol          misoprostol
 Route of misoprostol         Vaginal                Buccal                Buccal
 administration
 Timing of misoprostol     48 hours after        24-48 hours after    24-48 hours after
 administration             mifepristone           mifepristone         mifepristone
 Repeat dose of 800             No                      Yes                  Yes
 mcg misoprostol
 Dispensed only by or
 under the supervision          Yes                     No                   No
 of a physician
 In-person
 administration of              Yes                     No                   No
 drug regimen
 In-person dispensing           Yes                    Yes                   No
 of drug regimen
 Follow-up in-person
 evaluation post-               Yes                     No                   No
 abortion
 Requiring prescribers          Yes                     No                   No
 to report all non-fatal
 serious adverse events




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XVIII.       Injuries to Plaintiffs and Their Patients

             The Alliance for Hippocratic Medicine, the AAPLOG, the American

College of Pediatricians, and the Christian Medical & Dental Associations have

members in Texas and around the country who have treated and will continue to

treat women and girls who have suffered complications from the FDAs unlawful

approval of chemical abortion drugs and subsequent elimination of the safeguards

necessary to protect women and girls.

             These medical associations sue on their own behalf and on behalf of

their members and their members patientsall of whom have been harmed and

will continue to be harmed by the FDAs actions.

             Dr. Jester practices medicine in Texas and has treated a woman who

suffered complications from the FDAs unlawful approval of chemical abortion drugs

and elimination of the safeguards necessary to protect women and girls. Dr. Frost-

Clark, Dr. Johnson, and Dr. Delgado have also treated women and girls who have

suffered complications from the FDAs unlawful approval of chemical abortion drugs

and elimination of the safeguards necessary to protect women and girls.

             These doctors sue on behalf of themselves and their patientsboth of

whom have been harmed and will continue to be harmed by the FDAs actions.169




169 June Med. Servs. LLC v. Russo, 140 S. Ct. 2103, 211820 (2020) (holding that

doctors and medical providers had third-party standing on behalf of their patients
because the Court has long permitted them to invoke the rights of their actual or
potential patients).


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             The sworn declarations attached to the Complaint detail how each

Plaintiff has been, is, and/or will be personally and professionally injured by the

FDAs actions. As many of their injuries overlap, the injuries discussed below cite

the specific Plaintiff declaration(s) associated with those injuries. The Complaint

incorporates by reference each of the allegations in these declarations.

      A.     Injuries to Patients

             The FDAs 2000 Approval legalized an unsafe drug regimen.170

             Chemical abortion drugs cause women and girls to suffer many intense

side effects, including cramping, heavy bleeding, and severe pain.171

             Women and girls who take chemical abortion drugs experience

significantly more complications than those who have surgical abortions. 172

             The FDAs 2000 Approval has caused women and girls to suffer

complications from chemical abortion.173




170 See Compl. ¶¶ 141158.

171 Ex. 4, Harrison Decl. ¶ 23; Ex. 9, Wozniak Decl. ¶ 17; Ex. 8, Skop Decl. ¶ 13;

Ex. 49, Johnson Decl. ¶ 8; Ex. 50, Frost-Clark Decl. ¶ 9; Ex. 51, Delgado Decl. ¶ 11.
172 Ex. 4, Harrison Decl. ¶ 22; Ex. 9, Wozniak Decl. ¶ 15; Ex. 8, Skop Decl. ¶ 19;

Ex. 10, Foley Decl. ¶ 8; Ex. 51, Delgado Decl. ¶ 11.
173 Ex. 4, Harrison Decl. ¶ 24; Ex. 7, Francis Decl. ¶ 10; Ex. 9, Wozniak Decl. ¶ 8;

Ex. 8, Skop Decl. ¶¶1113, 1619, 2223; Ex. 52, Jester Decl. ¶ 16; Ex. 49, Johnson
Decl. ¶¶ 911; Ex. 10, Foley Decl. ¶ 3; Ex. 50, Frost-Clark Decl. ¶ 7; Ex. 3,
Dickerson Decl. ¶ 11.


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              Since the 2016 Major Changes, the rate of women and girls who have

suffered complications from chemical abortion and required critical medical

treatment has increased and will continue to increase.174

              The FDAs decision to expand the gestational age for approved

mifepristone use to 70 days (10 weeks) harms women.175

              This expansion of the permissible gestational age is especially

dangerous for women and girls when combined with the FDAs elimination of the

in-person dispensing and follow-up visit requirements.176

              The FDAs failure to require an ultrasound, its subsequent elimination

of in-person drug administration, physician supervision, and patient follow-up, and,

finally, its removal of the requirement of in-person dispensing in specified health

care settings, exposes women and girls to increased risk of suffering complications

from chemical abortion and requiring further medical attention following the drug

regimen.177

              Because the FDA does not require it, many abortionists do not remain

physically near women and girls during the most painful and excruciating periods of




174 Ex. 4, Harrison Decl. ¶ 26; Ex. 7, Francis Decl. ¶ 11; Ex. 9, Wozniak Decl. ¶ 18;

Ex. 52, Jester Decl. ¶ 23; Ex. 49, Johnson Decl. ¶ 9; Ex. 10, Foley Decl. ¶ 10; Ex. 51,
Delgado Decl. ¶¶ 16, 18; Ex. 3, Dickerson Decl. ¶ 11.
175 Ex. 9, Wozniak Decl. ¶ 10; Ex. 52, Jester Decl. ¶ 17.

176 Ex. 52, Jester Decl. ¶ 13.

177 Ex. 4, Harrison Decl. ¶¶ 2431; Ex. 7, Francis Decl. ¶ 11; Ex. 9, Wozniak

Decl. ¶¶ 810, 14; Ex. 8, Skop Decl. ¶¶ 20, 2529; Ex. 5, Barrows Decl. ¶¶ 1518;
Ex. 52, Jester Decl. ¶¶ 1518, 2223, 25; Ex. 10, Foley Decl. ¶ 9; Ex. 50, Frost-Clark
Decl. ¶¶ 1215.


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the chemical abortion drug regimen, often sending them home with the drugs.

Given their lack of admitting privileges and treatment capabilities, abortionists

usually instruct women to go to the emergency department of the closest hospital

for treatment of any severe adverse events. 178

             The FDA has eliminated all procedural safeguards that would rule out

ectopic pregnancies, verify gestational age, identify any contraindications to

prescribing mifepristone, or identify potential complications like sepsis and

hemorrhage, remaining fetal parts, and others until the patient is at a critical time

or it is too late to help the patient. As a result, women and girls often suffer

unexpected episodes of heavy bleeding or severe pain and must rush to the

emergency department of the nearest hospital.179

             As more women and girls require treatment in emergency

departments, the other patients of the treating doctors are adversely affected. With

the increase in women and girls suffering emergency complications from chemical

abortion or seeking to reverse the effects of the chemical abortion regimen, there is

a direct correlation in the decrease in time, attention, and resources that emergency

department doctors have to treat their other patients.180




178 Ex. 4, Harrison Decl. ¶ 19; Ex. 10, Foley Decl. ¶ 11.

179 Ex. 8, Skop Decl. ¶¶ 13, 1718, 2223, 2829; Ex. 5, Barrows Decl. ¶¶ 1718;

Ex. 52, Jester Decl. ¶¶ 13, 1516, 23; Ex. 10, Foley Decl. ¶ 9; Ex. 50, Frost-Clark
Decl. ¶¶ 1215.
180 Ex. 9, Wozniak Decl. ¶¶ 1718, 27; Ex. 7, Francis Decl. ¶ 12; Ex. 49, Johnson

Decl. ¶¶ 14, 16; Ex. 8, Skop Decl. ¶ 32; Ex. 10, Foley Decl. ¶ 10; Ex. 51, Delgado
Decl. ¶ 18; Ex. 3, Dickerson Decl. ¶ 14.


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             Abortionists commonly violate the remaining safeguards and the FDA-

approved label for chemical abortion drugs by giving the drugs to women who are

contraindicated for chemical abortion (i.e., could experience deadly adverse events if

they take the drugs) and then subsequently harmed by these drugs, demonstrating

that the FDAs remaining safeguards for women and girls are ineffective in

protecting them.181

             The FDAs decision not to require abortionists to report all adverse

events for chemical abortion drugs harms women and girls because it creates an

inaccurate and false safety profile for the use of chemical abortion drugs.182

             Due to inadequate adverse event reporting, the true rates of risks

associated with chemical abortion drugs remain undercounted and therefore are

unknown. Because abortion providers cannot know the accurate risk levels that

their patients face when ingesting these drugs, these providers cannot properly

inform their patients about the risks associated with chemical abortion. This

prevents women and girls from giving informed consent to these providers. 183

             Many women and girls do not fully understand the nature of chemical

abortion drugs and the risks that these drugs present to them. 184




181 Ex. 9, Wozniak Decl. ¶ 24.

182 Ex. 4, Harrison Decl. ¶ 35; Ex. 52, Jester Decl. ¶ 24.

183 Ex. 4, Harrison Decl. ¶¶ 3638; Ex. 9, Wozniak Decl. ¶¶ 1920; Ex. 49, Johnson

Decl. ¶ 17.
184 Ex. 4, Harrison Decl. ¶ 31; Ex. 8, Skop Decl. ¶¶ 13, 27; Ex. 52, Jester Decl. ¶ 24;

Ex. 49, Johnson Decl. ¶ 12; Ex. 10, Foley Decl. ¶¶ 12, 15; Ex. 51, Delgado Decl. ¶ 15.


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             Abortionists who prescribe or dispense chemical abortion drugs are not

providing women with an adequate, accurate assessment of the known risks and

effects associated with chemical abortion. Therefore, women and girls are unable to

give informed consent to the drugs they are receiving, and thus they are not

consenting at all to taking the chemical abortion drugsresulting in physical and

mental injuries.185

             Women and girls often suffer distress and regret after undergoing

chemical abortion, sometimes seeking to reverse the effects of mifepristone.186

             A woman or girl can experience these emotions and feelings upon

viewing the body of her lifeless baby after taking chemical abortion drugs.187

             Even with medical oversight, abortionists can sometimes coerce women

into taking chemical abortion drugswithout their true informed consent. 188

             The FDAs actions to eliminate in-person dispensing and

administration also harm women because the lack of oversight will likely

exacerbate human trafficking. Many trafficked women experience abortions and

doctors potentially serve as an important resource to intervene on behalf of these

trafficked women and girls.189



185 Ex. 4, Harrison Decl. ¶ 37; Ex. 8, Skop Decl. ¶¶ 14, 16, 27; Ex. 49, Johnson

Decl. ¶ 12; Ex. 10, Foley Decl. ¶ 15; Ex. 50, Frost-Clark Decl. ¶ 20; Ex. 51, Delgado
Decl. ¶ 15.
186 Ex. 8, Skop Decl. ¶¶ 1516; Ex. 10, Foley Decl. ¶¶ 12, 16; Ex. 51, Delgado

Decl. ¶ 14.
187 Ex. 8, Skop Decl. ¶ 15.

188 Ex. 51, Delgado Decl. ¶ 15.

189 Ex. 8, Skop Decl. ¶ 31.




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             Women and girls will continue to suffer complications from chemical

abortion drugs.190

      B.     Injuries to Plaintiff Doctors

             Because the FDAs 2000 Approval of chemical abortion drugs legalized

an unsafe drug regimen, women and girls have suffered many intense side effects

and increasing complicationsrequiring crucial medical attention and treatment. 191

             The FDAs 2000 Approval has caused medical professionals, including

Plaintiff doctors and the members of Plaintiff medical associations, to treat women

and girls who have suffered complications from mifepristone and misoprostol.192

             Since the 2016 Major Changes and the associated elimination of

necessary safeguards for women and girls, medical professionals, including Plaintiff

doctors and the members of Plaintiff medical associations, have seen and will

continue to see an additional increase in the rate of women and girls who have

suffered complications from chemical abortioncomplications requiring critical

treatment from these doctors.193


190 Ex. 4, Harrison Decl. ¶ 26; Ex. 7, Francis Decl. ¶ 11; Ex. 9, Wozniak Decl. ¶ 29;

Ex. 8, Skop Decl. ¶ 21; Ex. 52, Jester Decl. ¶ 20; Ex. 49, Johnson Decl. ¶ 18.
191 Ex. 4, Harrison Decl. ¶ 23; Ex. 9, Wozniak Decl. ¶¶ 15, 17; Ex. 8, Skop

Decl. ¶¶ 13, 18; 23; Ex. 5, Barrows Decl. ¶ 17; Ex. 49, Johnson Decl. ¶ 8; Ex. 50,
Frost-Clark Decl. ¶ 9; Ex. 51, Delgado Decl. ¶ 11; Ex. 10, Foley Decl. ¶ 8; Ex. 3,
Dickerson Decl. ¶ 11.
192 Ex. 4, Harrison Decl. ¶ 24; Ex. 7, Francis Decl. ¶ 10; Ex. 8, Skop Decl. ¶¶ 1221;

Ex. 52, Jester Decl. ¶ 17; Ex. 49, Johnson Decl. ¶ 9; Ex. 10, Foley Decl. ¶ 3; Ex. 50,
Frost-Clark Decl. ¶ 7; Ex. 3, Dickerson Decl. ¶¶ 11, 13.
193 Ex. 4, Harrison Decl. ¶ 26; Ex. 7, Francis Decl. ¶ 11; Ex. 9, Wozniak Decl. ¶ 18;

Ex. 52, Jester Decl. ¶¶ 18, 23, 25; Ex. 49, Johnson Decl. ¶ 9; Ex. 10, Foley Decl. ¶ 9;
Ex. 50, Frost-Clark Decl. ¶¶ 1215; Ex. 51, Delgado Decl. ¶¶ 13, 16; Ex. 3,
Dickerson Decl. ¶ 12.


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             The FDAs approved regimen for chemical abortion drugs harms not

only women and girls but also medical professionals, including Plaintiff doctors and

the members of Plaintiff medical associations, who respond and treat these

complications and other effects from chemical abortion drugs.194

             The FDAs elimination of most of the safeguards protecting women and

girls from the dangers of mifepristone has made chemical abortion more widely

available and with less medical supervisioncausing more women and girls to

experience complications from chemical abortion and, therefore, increasing

emergency situations. An increase in complications only compounds the harm to

doctors, including Plaintiff doctors and the members of Plaintiff medical

associations.195

              When women and girls suffer complications from chemical abortion

drugs, these adverse events can overwhelm the medical system and consume crucial

limited medical resources, including blood for transfusions, physician time and

attention, space in hospitals and medical centers, and other equipment and




194 Ex. 4, Harrison Decl. ¶¶ 2630; Ex. 7, Francis Decl. ¶¶ 1213; Ex. 9, Wozniak

Decl. ¶ 17; Ex. 8, Skop Decl. ¶¶ 25, 32; Ex. 52, Jester Decl. ¶¶ 17, 18; Ex. 49,
Johnson Decl. ¶ 14; Ex. 51, Delgado Decl. ¶ 13; Ex. 3, Dickerson Decl. ¶ 12.
195 Ex. 52, Jester Decl. ¶¶ 20, 25; Ex. 50, Frost-Clark Decl. ¶ 8; Ex. 4, Harrison

Decl. ¶¶ 2630, 28; Ex. 7, Francis Decl. ¶ 14; Ex. 8, Skop Decl. ¶¶ 20, 28, 32; Ex. 49,
Johnson Decl. ¶ 14; Ex. 10, Foley Decl. ¶ 10.


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medicines.196 This need for blood transfusions exacerbates the current critical

national blood shortage.197

              The increased occurrence of complications related to chemical abortion

drugs multiplies the workload of health care providers, including Plaintiff doctors

and the members of Plaintiff medical associations, in some cases by astronomical

amounts. This is especially true in maternity care deserts (i.e., geographic areas

where there are not a large number of OB/Gyn providers for patients).198

             When there is a complication from chemical abortion drugs, the typical

care doctors provide patients moves from simple patient management to

complicated patient management. Accordingly, a patient who suffers complications

from chemical abortion drugs requires significantly more time and attention from

providers than most patients require.199

             For example, Plaintiff Dr. Jester needed to treat a woman who had

traveled from Texas to New Mexico to obtain chemical abortion drugs from Planned

Parenthood. The woman returned to Texas, suffered from two weeks of moderate to

heavy bleeding, and then developed a uterine infection. At the hospital, Dr. Jester

provided her with intravenous antibiotics and performed a dilation and curettage



196 Ex. 4, Harrison Decl. ¶ 28; Ex. 7, Francis Decl. ¶ 17; Ex. 9, Wozniak Decl. ¶ 17.

197 Ex. 4, Harrison Decl. ¶ 19; see also Current National Blood Supply,

https://americasblood.org/for-donors/americas-blood-supply/ (last visited Nov. 16,
2022); Catherine Garcia, The urgent American blood shortage, explained, The Week
(Oct. 26, 2022), https://theweek.com/health-and-wellness/1017643/the-urgent-
american-blood-shortage-explained.
198 Ex. 4, Harrison Decl. ¶ 29; Ex. 7, Francis Decl. ¶ 14; Ex. 9, Wozniak ¶¶ 1718.

199 Ex. 4, Harrison Decl. ¶ 30.




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(i.e., the surgical procedure to remove a dead baby and pregnancy tissue from inside

the uterus). If she had waited a few more days before receiving care from Dr. Jester,

she could have been septic and died.200

             Dr. Nancy Wozniak, a member of Plaintiff AAPLOG, needed to treat a

woman who had contraindications to chemical abortion drugs (due to her taking

anti-coagulants) but still received chemical abortion drugs from Planned

Parenthood in Indiana. The woman consumed the first chemical abortion drug,

mifepristone, at Planned Parenthood and took an Uber for a ride home. During her

Uber ride, she began to experience bleeding and other adverse side effects from the

mifepristone. Instead of taking her home, the Uber driver took her to the emergency

department of Dr. Wozniaks hospital. Dr. Wozniak treated the woman and advised

her not to take the second chemical abortion drug, misoprostol, because of the grave

risk that she could bleed out and die.201

             The FDAs elimination of the in-person dispensing requirement for

chemical abortion drugsallowing mail-order abortionfurther harms the practice

of medicine. The increasing number of chemical abortions through mail-order or

telemedicine methods means that more women and girls will suffer complications

and require medical attention from doctors, including Plaintiff doctors and the




200 Ex. 52, Jester Decl. ¶ 17.

201 Ex. 9, Wozniak Decl. ¶¶ 2425.




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members of Plaintiff medical associations, especially given that remote abortionists

often cannot or do not treat such complications.202

             To circumvent state laws that regulate abortions and protect the

health and safety of women and girls, abortionists are relying on access to chemical

abortion drugs through mail-order schemes or telemedicine, further increasing the

use of these drugs and the complications associated with them.203

             As more emergency situations arise, emergency room doctors, such as

Plaintiff doctors and the members of Plaintiff medical associations, are having to

treat more patients, including performing hysterectomies or removing fetal parts

remains. The more patients suffering emergency complications from chemical

abortion or seeking to reverse the chemical abortion process, the less time and

attention these doctors have to treat their other patients. 204

             Because abortionists do not adequately describe what happens during

a chemical abortion and give these drugs to women and girls to take outside of the

abortion facility, doctors have needed to treat and care for many women who have

come to the emergency department for their intense bleeding and other effects of



202 Ex. 9, Wozniak Decl. ¶ 14; Ex. 5, Barrows Decl. ¶ 17; Ex. 52, Jester Decl. ¶¶ 22

23; Ex. 50, Frost-Clark Decl. ¶ 1215; Ex. 10, Foley Decl. ¶ 10.
203 Ex. 9, Wozniak Decl. ¶ 13; Ex. 10, Foley Decl. ¶ 10; see also Ruth Reader, State

abortion bans prove easy to evade, Politico (Nov. 11, 2022, 2:24 PM),
https://www.politico.com/news/2022/11/01/state-abortion-bans-medication-
00064407; Emily Bazelon, Risking Everything to Offer Abortions Across State Lines,
New York Times (Oct. 4, 2022), https://www.nytimes.com/2022/10/04/magazine/
abortion-interstate-travel-post-roe.html.
204 Ex. 9, Wozniak Decl. ¶¶ 1718, 27; Ex. 7, Francis Decl. ¶ 14; Ex. 49, Johnson

Decl. ¶¶ 14, 16; Ex. 8, Skop Decl. ¶ 32; Ex. 51, Delgado Decl. ¶ 18.


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the chemical abortion drugsalthough not considered complications from the

regimen.205

              Doctors, including Plaintiff doctors and the members of Plaintiff

medical associations, experience enormous pressure, stress, and chaos in these

emergency situations that the FDA created through its approval of chemical

abortion drugs and elimination of necessary safeguards.206

              Some of these emergency situations force pro-life doctors, including

Plaintiff doctors and the members of Plaintiff medical associations, into situations

in which they feel complicit in an elective chemical abortion by needing to remove a

baby with a beating heart or pregnancy tissue as the only means to save the life of

the woman or girl. This feeling of complicity in the act of an elective chemical

abortion causes great emotional suffering, mental anguish, and spiritual distress

among these doctors.207

              For example, Dr. Ingrid Skop, a member of Plaintiff AAPLOG, needed

to treat a young woman who had been bleeding for six weeks after she took

chemical abortion drugs at a Planned Parenthood facility. After two follow-up

appointments, Planned Parenthood had given her an additional dose of the second

chemical abortion drug, misoprostol, which failed to resolve her complications.

When Dr. Skop treated the young woman, Dr. Skop performed a sonogram,


205 Ex. 10, Foley Decl. ¶ 15; Ex. 49, Johnson Decl. ¶ 11.

206 Ex. 9, Wozniak Decl. ¶ 17; Ex. 5, Barrows Decl. ¶ 19; Ex. 52, Jester ¶ 20; Ex. 49,

Johnson ¶ 15; Ex. 3, Dickerson Decl. ¶ 14.
207 Ex. 8, Skop Decl. ¶ 34; Ex. 7, Francis Decl. ¶ 13; Ex. 5, Barrows Decl. ¶ 26; Ex. 3,

Dickerson Decl. ¶ 16.


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identified a significant amount of pregnancy tissue remaining in the womans

uterus, and had to perform a suction aspiration to resolve her complication.208

             The members of Plaintiff medical associations oppose being forced to

end the life of a human being in the womb for no medical reason, including by

having to complete an incomplete elective chemical abortion. The objections are

both ethical and medical as they stem from the purpose of medicine itself, which is

to heal and not to electively kill human beings regardless of their location.

Accordingly, Plaintiff medical associations and their members are harmed by the

FDAs repeated removal of necessary safeguards, which may force them to treat

women and girls seeking the completion of an elective chemical abortion. This

concern is real and imminent, especially in light of the Biden HHSs impermissible

actions to compel doctors to complete elective chemical abortions under the

Emergency Medical Treatment and Active Labor Act (EMTALA). 209

             The FDAs loosening of chemical abortion regulations impacts the

standard of care for chemical abortion drugs and the demands and expectations

that hospitals will put on their physicians.210




208 Ex. 8, Skop Decl. ¶ 23.

209 Ex. 4, Harrison Decl. ¶ 44; Ex. 5, Barrows Decl. ¶ 26; Ex. 3, Dickerson Decl. ¶ 16;

see also Reinforcement of EMTALA Obligations specific to Patients who are
Pregnant or are Experiencing Pregnancy Loss (QSO-21-22-Hospitals- UPDATED
JULY 2022), https://www.cms.gov/files/document/qso-22-22-hospitals.pdf.
210 Ex. 5, Barrows Decl. ¶ 25.




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             It grieves Plaintiff doctors and members of Plaintiff medical

associations to treat women and girls harmed by chemical abortion drugs, including

those who regret their decision to have a chemical abortion. 211

             When their patients have chemical abortions, doctors lose the

opportunity to provide professional services and care for the woman and child

through pregnancy, which causes harms to providers who no longer can care for

their patients and bring about a successful delivery of a new life. 212

             The FDAs elimination of the requirement for abortionists to report all

adverse events related to chemical abortion drugs leads to unreliable reporting.

Without an accurate understanding of the adverse effects of widespread chemical

abortion drug use, Plaintiff doctors and members of Plaintiff medical associations

cannot effectively practice evidence-based medicine. Health care providers cannot

assess the risks of a particular course of treatment if the FDA is not collecting and

tracking the risks. And, therefore, they cannot accurately advise their patients and

the public about these risks.213

             Many doctors likely do not know about the importance of reporting

adverse events related to chemical abortion drugs to the FDA. Similarly, many

doctors likely do not know how to report adverse events.214



211 Ex. 52, Jester Decl. ¶ 27; Ex. 8, Skop Decl. ¶ 33; Ex. 51, Delgado ¶ 14.

212 Ex. 51, Delgado Decl. ¶ 17; Ex. 52, Jester Decl. ¶ 19.

213 Ex. 9, Wozniak Decl. ¶¶ 1920; Ex. 5, Barrows Decl. ¶ 19; Ex. 8, Skop Decl. ¶ 30;

Ex. 4, Harrison Decl. ¶¶ 3639; Ex. 52, Jester Decl. ¶¶ 24, 26; Ex. 49, Johnson Decl.
¶ 17; Ex. 10, Foley Decl. ¶ 17; Ex. 50, Frost-Clark Decl. ¶ 22.
214 Ex. 4, Harrison Decl. ¶ 33.




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             Even when Plaintiff doctors and members of Plaintiff medical

associations want to voluntarily report adverse events associated with chemical

abortion to the FDA, they must go through the complicated, cumbersome, and time-

consuming FAERS submission process. The adverse event reporting requirements

and the FAERS submission process harm medical practices by taking away

significant time from a doctor to treat and meet with patients.215

             In addition, even when doctors want to voluntarily report adverse

events to the manufacturer, Danco, the doctor must print, fill out by hand, and then

either mail or email back the form to Danco. Much of the information required by

this form is impossible to obtain by the physician seeing the patient if they were not

the one who dispensed the medication (such as lot number and dosage)forcing the

doctor to leave several fields blank. There is no confirmation whether the reported

complications were recorded by Danco or reported to the FDA. Regardless, this

submission process harms medical practices by taking away significant time from a

doctor to treat and meet with patients.216

             Even when doctors want to report adverse events to their state

regulators, their reports can be rejected for improper reasons (e.g., asserting that

there was no adverse event because the doctor saved and treated the woman injured

by chemical abortion drugs).217



215 Ex. 7, Francis Decl. ¶¶ 1618; Ex. 4, Harrison Decl. ¶ 3334; Ex. 50, Frost-Clark

Decl. ¶ 23.
216 Ex. 7, Francis Decl. ¶¶ 1618.

217 Ex. 9, Wozniak Decl. ¶ 26.




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               Because many women and girls suffering complications from chemical

abortion drugs tell emergency department doctors that they are experiencing

miscarriages, these doctors might not report these incidences as adverse events and

so these complications are significantly underreported or not fully known.218

               The inability or refusal of a patient to disclose why she is presenting

herself in the emergency department or what drugs she has received also impedes

the ability of doctors, including Plaintiff doctors and the members of Plaintiff

medical associations, to practice medicine and provide proper treatment to these

patients.219

               The lack of accurate information on adverse events also harms the

doctor-patient relationship with all medical care providers because the patients no

longer trust that their health care providers are telling them the truth. This harms

even doctors who do not support or practice chemical abortions, such as the

members of the AAPLOG.220

               The FDAs removal of necessary safeguards for women and girls who

use chemical abortion drugs increases physicians exposure to potential liability.

Emergency department physicians often have no prior relationship with the

patient, lack access to the patients medical history, and encounter patients who do

not know what drugs they consumed or conceal the fact that they attempted a



218 Ex. 9, Wozniak Decl. ¶ 28; Ex. 10, Foley Decl. ¶ 14.

219 Ex. 9, Wozniak Decl. ¶ 28; Ex. 49, Johnson Decl. ¶¶ 13, 15; Ex. 10, Foley

Decl. ¶ 14; Ex. 50, Frost-Clark Decl. ¶¶ 1617, 19.
220 Ex. 4, Harrison Decl. ¶ 37.




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chemical abortion. These factors place physicians in higher-risk situations with less

critical information about patients, thus increasing their exposure to allegations of

malpractice and potential liability.221

             As this exposure increases, so does the cost to practice medicine,

including insurance costs.222

             Doctors, such as Dr. Jester and Dr. Delgado, serve patients as

professional health care providers. They provide care to all women and unborn

children, and they give them the best professional services possible. Just like all

other health care providers, a hospital or practice will bill for the costs of medical

services rendered. When their patients have chemical abortions, they lose the

opportunity to provide professional medical care for the woman and child through

pregnancy and bring about a successful delivery of a new life.223

             Plaintiffs expect to continue to treat women and girls who suffer

complications from chemical abortion drugs.224

      C.     Injuries to Plaintiff Medical Associations

             Plaintiffs medical associations have also suffered organizational harms

from the FDAs approval and deregulation of chemical abortion drugs.




221 Ex. 9, Wozniak Decl. ¶¶ 2122; Ex. 5, Barrows Decl. ¶¶ 2224; Ex. 52, Jester

Decl. ¶ 21; Ex. 49, Johnson Decl. ¶ 15; Ex. 10, Foley Decl. ¶ 14; Ex. 50, Frost-Clark
Decl. ¶¶ 1618; Ex. 3, Dickerson Decl. ¶ 15.
222 Ex. 5, Barrows Decl. ¶ 24.

223 Ex. 52, Jester Decl. ¶ 19; Ex. 51, Delgado ¶ 17.

224 Ex. 4, Harrison Decl. ¶ 26; Ex. 7, Francis Decl. ¶ 11; Ex. 9, Wozniak Decl. ¶ 29;

Ex. 8, Skop Decl. ¶ 21; Ex. 52, Jester Decl. ¶¶ 12, 20; Ex. 49, Johnson Decl. ¶ 18.


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              For example, the inability to share accurate information with member

physicians, their patients, and the public on the risks of chemical abortion

frustrates and complicates Plaintiff medical associations purpose to support

womens health and to educate doctors, their patients, and the public about these

dangers.225

              In addition, Plaintiff AAPLOG has needed to divert limited time,

energy, and resources to compensate for this lack of information by conducting their

own studies and analyses of the available data. This diversion of time, energy, and

resources comes to the detriment of other advocacy and educational efforts of

Plaintiff AAPLOG, including their efforts about the dangers of surgical abortion,

the conscience rights of doctors, and the sanctity of life at all stages.226

              Plaintiffs AAPLOG and Christian Medical & Dental Associations

submitted a citizen petition in 2002 challenging the FDAs 2000 Approval of

chemical abortion drugs and requesting an audit of the clinical studies. Both

associations were concerned about womens health issues and recognized that the

FDAs violations of its standards and rules in approving chemical abortion drugs

put the lives and health of women and girls at risk. It took considerable time,

energy, and resources to draft their 92-page petition and the 30-page response to

comments letter, in addition to compiling and analyzing supporting sources and




225 Ex. 4, Harrison Decl. ¶¶ 3839; Ex. 7, Francis Decl. ¶¶ 1920; Ex. 5, Barrows

Decl. ¶¶ 2021; Ex. 6, Van Meter Decl. ¶¶ 1920; Ex. 3, Dickerson Decl. ¶¶ 2122.
226 Ex. 4, Harrison Decl. ¶ 40; Ex. 7, Francis Decl. ¶ 21.




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studies. This effort caused both associations to divert limited time, energy, and

resources from its other priorities and routine functions. 227

                Similarly, Plaintiffs AAPLOG and American College of Pediatricians

submitted another citizen petition in 2019 challenging the FDAs 2016 Major

Changes to the chemical abortion drug regimen. It also took considerable time,

energy, and resources to draft the 26-page petition, in addition to compiling and

analyzing supporting sources and studies. This effort caused both associations to

divert limited time, energy, and resources from its other priorities and routine

functions.228

                The Catholic Medical Association, a member of the Alliance for

Hippocratic Medicine, has also taken actions to challenge the FDAs approval and

deregulation of chemical abortion drugsat the expense of other priorities.229

                Because abortion activists continue to file their own citizen petitions

and letters with the FDA asking the agency to eliminate all protections for women

and girls who take chemical abortion drugs, and knowing the Biden

administrations relentless, politicized efforts to push these drugs throughout the

country, Plaintiff medical associations continue to expend considerable time,

energy, and resources on its public advocacy and educational activities about

chemical abortion drugsto the detriment of their other priorities and functions.




227 Ex. 4, Harrison Decl. ¶ 41; Ex. 7, Francis Decl. ¶ 22; Ex. 5, Barrows Decl. ¶ 27.

228 Ex. 4, Harrison Decl. ¶ 42; Ex. 7, Francis Decl. ¶ 23; Ex. 6, Van Meter Decl. ¶ 21.

  Ex. 3, Dickerson Decl. ¶¶ 1720.


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This diversion of time, energy, and resources will not cease until the FDAs approval

and deregulation of chemical abortion drugs cease. 230

XIX. The Need for Judicial Relief

               Injunctive relief is necessary to prevent these harms, and judicial relief

is appropriate to vacate, set aside, enjoin, and declare these acts unlawful.

               All of the agency actions at issuethe 2000 Approval, the 2016

Petition Denial, the 2016 Major Changes, the 2019 ANDA Approval, the 2021 Non-

Enforcement Decision, and the 2021 Petition Response, as well as the agencys

failure to act and prohibit or restrict chemical abortion drugsare final agency

actions subject to judicial review under the APA.

               All the acts of Defendants described above, and their officers, agents,

employees, and servants, were executed and are continuing to be executed by

Defendants under the color and pretense of the policies, statutes, ordinances,

regulations, customs, and usages of the United States.

               Under 5 U.S.C. § 701(a), no statute precludes judicial review of the

agencys actions, and the actions are not committed to agency discretion by law.

               Under the APA, a reviewing court must hold unlawful and set aside

agency action, findings, and conclusions if they are in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right. 5 U.S.C.

§ 706(2)(C).




230 Ex. 4, Harrison Decl. ¶ 43; Ex. 7, Francis Decl. ¶ 24; Ex. 5, Barrows Decl. ¶ 27;

Ex. 6, Van Meter Decl. ¶ 22; Ex. 3, Dickerson Decl. ¶ 20.


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              Under the APA, a reviewing court must hold unlawful and set aside

agency action, findings, and conclusions if they are arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law. 5 U.S.C. § 706(2)(A).

              Likewise, a court must compel agency action unlawfully withheld.

5 U.S.C. § 706(1).

              Plaintiffs have no adequate remedy available at law.

              Plaintiffs have no adequate or available administrative remedy. In the

alternative, any administrative remedy would be futile or unnecessary.

              Defendants would suffer no harm from the relief requested, and the

relief requested would serve the public interest.

                               CLAIMS FOR RELIEF

                                     CLAIM ONE

                                  2000 APPROVAL

            ADMINISTRATIVE PROCEDURE ACT (5 U.S.C. § 706)
        IN EXCESS OF STATUTORY JURISDICTION, AUTHORITY, OR
             LIMITATIONS, OR SHORT OF STATUTORY RIGHT;
         ARBITRARY, CAPRICIOUS, AN ABUSE OF DISCRETION, OR
              OTHERWISE NOT IN ACCORDANCE WITH LAW

              Plaintiffs re-allege and incorporate, as though fully set forth,

paragraphs 1330 of this complaint.

              Defendants lacked legal authority in 2000 to approve mifepristone

under the FDAs Subpart H regulations.

I.      Subpart H

              The FDAs Subpart H regulations apply only to certain new drugs

that have been studied for their safety and effectiveness in treating serious or life-


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threatening illnesses and that provide meaningful therapeutic benefit to patients

over existing treatments (e.g., ability to treat patients unresponsive to, or intolerant

of, available therapy, or improved patient response over available therapy). 21

C.F.R. § 314.500.

             Pregnancy is not an illness.

             Pregnancy is neither serious nor life-threatening, as those terms

are understood in Subpart H.

             Chemical abortion does not provide a meaningful therapeutic benefit

to patients over existing treatments.

             Defendants lacked the authority to approve mifepristone for chemical

abortion under Subpart H in 2000.

             Because the French and American trials did not compare the Mifeprex

regimen with the then-existing method for ending pregnancies (i.e., surgical

abortion), the trials did not demonstrate a meaningful therapeutic benefit over

existing therapy.

             Thus, the FDAs 2000 Approval of mifepristone for chemical abortion

was arbitrary, capricious, an abuse of discretion, and otherwise not in accordance

with Subpart Hs provision for the accelerated approval of certain new drugs.

II.   FFDCA

             Defendants lacked legal authority in 2000 to approve mifepristone

under the FFDCA.

             The FDAs 2000 Approval violated the FFDCA because the clinical

trials on which the agency relied did not use the full set of design features the


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agency typically requires to produce unbiased investigations of drug safety and

effectiveness.

             Because these trials were not blinded, randomized, or concurrently

controlled, they did not establish the safety and effectiveness of the Mifeprex

regimen.

             The FDA also failed to perform a statistical analysis of the data from

the U.S. Clinical Trial.

             The FDA impermissibly extrapolated conclusions about the safety and

effectiveness of mifepristone from the U.S. Clinical Trial even though the agency did

not retain the requirements governing physician training, ultrasound, the post-

misoprostol waiting period, or physician privileges at facilities that provide

emergency care. The U.S. Clinical Trial failed to meet the requirements of the

FFDCA that the trial demonstrates safety and effectiveness under the conditions of

use prescribed, recommended, or suggested in the labeling or proposed labeling

thereof. Instead, the FDA had insufficient information on whether mifepristone was

safe under such conditions.

             Finally, the FDA violated the FFDCA and the agencys implementing

regulations because the agency mandated the use of misoprostol for chemical

abortion as part of the 2000 Approvaldespite the requirement that the sponsor

submit an sNDA for a new use of a previously approved drug.

             Therefore, Defendants lacked the authority to approve mifepristone for

chemical abortion under the FFDCA. Given these infirmities, the 2000 Approval




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was arbitrary, capricious, an abuse of discretion, and otherwise not in accordance

with the FFDCA.

III.   PREA

             Defendants lacked legal authority in 2000 to approve mifepristone

under PREA.

             In the 2000 Approval, the FDA stated that it was waiving the

pediatric study requirement for this action on this application.231

             Because the 2000 Approval failed to meet any of the qualifications for a

waiver, see 21 U.S.C. § 355c(a)(5)(A), (B), the FDA lacked authority when waiving

the pediatric study requirement without explanation, and the 2000 Approval was in

excess of statutory jurisdiction, authority, or limitations, or short of statutory right

when the FDA waived the pediatric study requirement without explanation. For the

same reason, the 2000 Approval was arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law when the FDA waived the pediatric study

requirement without explanation.

             In 2016, despite contrary evidence in the administrative record, the

FDA sought to provide an impermissible post-hoc rationalization that it

inaccurately stated in the 2000 Approval that it was waiving the pediatric study

requirements and, instead, should have said it had found that the requirements




231 Ex. 25, 2000 Approval Letter at 3.




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were met for post-menarchal pediatric patients by extrapolating from studies of

adult populations.232

             In addition to such a post-hoc rationalization being impermissible and

an inaccurate representation of the agencys decision-making at the time, the FDA

lacked authority under PREA. The 2000 Approval was in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right, and the 2000

Approval was arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law. Because the agency was allowed to extrapolate from studies of

adult populations only if the course of a disease is substantially similar in adults

and the pediatric population. Because pregnancy is not a disease, PREA did not

permit the FDA to make such an extrapolation.

             In addition to such a rationalization being impermissible and an

inaccurate representation of the agencys decision-making at the time, the FDA

lacked authority under PREA. The 2000 Approval was in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right, and the 2000

Approval was arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law because the FDA failed to satisfy the requirement for

documentation of the scientific data that supports its extrapolation that the course

of the disease and the effects of the drug are sufficiently similar in adult women

and pediatric girls.




232 Ex. 27, 2016 Petition Denial at 29.




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             In addition to such a rationalization being impermissible and an

inaccurate representation of the agencys decision-making at the time, the FDA

lacked authority under PREA, the 2000 Approval was in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right, and the 2000

Approval was arbitrary, capricious, an abuse of discretion, and not in accordance

with law because PREA allows the agency to extrapolate from adequate and well-

controlled studies in adults and, as discussed above, the U.S. Clinical Trial did not

include adequate and well-controlled studies in adults.

             In addition to such a rationalization being impermissible and an

inaccurate representation of the agencys decision-making at the time, the 2000

Approval was arbitrary, capricious, and an abuse of discretion because the FDAs

explanation that it expected girlsunder the age of 18 years and going through

reproductive developmentto have the same physiological outcome with the drug

regimen as adult women was unreasonable and not supported by the administrative

record.

             In addition to such a rationalization being impermissible and an

inaccurate representation of the agencys decision-making at the time, the 2000

Approval was arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law because the FDA did not require an assessment that evaluated

the safety and effectiveness of the drug for girls under 18 years of age.




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             Therefore, Defendants lacked the authority to approve mifepristone for

chemical abortion under PREA, and the 2000 Approval was arbitrary, capricious, an

abuse of discretion, and otherwise not in accordance with PREA.

IV.   Pretext

             The FDAs illegal and unreasonable rationales for the 2000 Approval

in light of the political context of the agencys actionsindicate that the stated

reasons for the 2000 Approval are pretext. Therefore, the FDAs 2000 Approval is

arbitrary, capricious, an abuse of discretion, and otherwise not in accordance with

law in violation of the APA. 5 U.S.C. § 706(2)(A).

V.    Reopener and Request

             The reopening doctrine . . . create[s] an exception to statutory limits

on the time for seeking review of an agency decision. Natl Assn of Reversionary

Prop. Owners v. Surface Transp. Bd., 158 F.3d 135, 141 (D.C. Cir. 1998). Under the

reopening doctrine, the time for seeking review starts anew where the agency

reopens an issue. Sierra Club v. EPA, 551 F.3d 1019, 1024 (D.C. Cir. 2008). The

U.S. Court of Appeals for the Fifth Circuit has adopted the reopening doctrine. See

Texas v. Biden, 20 F.4th 928, 95155 (5th Cir. 2021), revd on other grounds, Biden

v. Texas, 142 S. Ct. 2528 (2022).

             The FDAs 2016 Major Changes decision and the 2021 Petition

Response reopened the FDAs underlying 2000 Approval of chemical abortion drugs

for chemical abortion. When issuing these decisions, the FDA undertook a serious,

substantive reconsideration of the safeguards required in the 2000 Approval

decision and affirmed in the 2016 Petition Denial. Ultimately, by removing these


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safeguards, the FDA completely changed the regulatory context and created a

different regulatory construct for chemical abortion drugs.

             For the reasons stated above, the FDAs 2000 Approval of chemical

abortion drugs must be held unlawful, set aside, and preliminarily and permanently

enjoined.

                                     CLAIM TWO

                              2016 PETITION DENIAL

          ADMINISTRATIVE PROCEDURE ACT (5 U.S.C. § 706)
      IN EXCESS OF STATUTORY JURISDICTION, AUTHORITY, OR
           LIMITATIONS, OR SHORT OF STATUTORY RIGHT;
       ARBITRARY, CAPRICIOUS, AN ABUSE OF DISCRETION, OR
            OTHERWISE NOT IN ACCORDANCE WITH LAW

             Plaintiffs re-allege and incorporate, as though fully set forth,

paragraphs 1330 of this complaint.

             The 2002 Citizen Petition provided the FDA with substantial legal

arguments that the 2000 Approval exceeded the agencys authority and was not in

accordance with law under Subpart H, the FFDCA, and the Pediatric Rule.

             The 2002 Citizen Petition also provided the FDA with significant

scientific and factual reasons to withdraw the 2000 Approval.

             By disregarding the arguments, facts, and reasons set forth in the 2002

Citizen Petition, the FDAs 2016 Petition Denial was in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right; and it was

arbitrary, capricious, an abuse of discretion, and otherwise not in accordance with

law. The FDAs 2016 Petition Denial was unreasonable and not supported by the

administrative record.


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             The FDAs illegal and unreasonable rationales for the 2016 Petition

Denialin light of the political context of the agencys actionsindicate that the

stated reasons for the 2016 Petition Denial are pretext. Therefore, the FDAs 2016

Petition Denial is arbitrary, capricious, an abuse of discretion, and otherwise not in

accordance with law in violation of the APA. 5 U.S.C. § 706(2)(A).

             The reopening doctrine . . . create[s] an exception to statutory limits

on the time for seeking review [of an agency decision]. Surface Transp. Bd., 158

F.3d at 141. Under the reopening doctrine, the time for seeking review starts anew

where the agency reopens an issue. Sierra Club, 551 F.3d at 1024. The U.S. Court

of Appeals for the Fifth Circuit has adopted the reopening doctrine. See Texas v.

Biden, 20 F.4th at 95155.

             The FDAs 2016 Major Changes decision and the 2021 Petition

Response have reopened the FDAs 2016 Petition Denial. When issuing these

decisions, the FDA undertook a serious, substantive reconsideration of the

safeguards enshrined in the 2000 Approval decision. Ultimately, by removing the

safeguards in the 2000 Approval, the FDA created a different regulatory construct

and completely changed the regulatory context for the chemical abortion drug

regimen.

             Therefore, the FDAs 2016 Petition Denial must be held unlawful, set

aside, and preliminarily and permanently enjoined under the APA.




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                                  CLAIM THREE

                             2016 MAJOR CHANGES

          ADMINISTRATIVE PROCEDURE ACT (5 U.S.C. § 706)
      IN EXCESS OF STATUTORY JURISDICTION, AUTHORITY, OR
           LIMITATIONS, OR SHORT OF STATUTORY RIGHT;
       ARBITRARY, CAPRICIOUS, AN ABUSE OF DISCRETION, OR
            OTHERWISE NOT IN ACCORDANCE WITH LAW

             Plaintiffs re-allege and incorporate, as though fully set forth,

paragraphs 1330 of this complaint.

             Defendants lacked legal authority to make the 2016 Major Changes.

I.    FFDCA

             The FDAs 2016 Major Changes violated the FFDCA because they did

not include adequate tests by all methods reasonably applicable to show whether or

not such drug is safe for use under the conditions prescribed, recommended, or

suggested in the proposed labeling thereof.

             The 2016 Major Changes violated the FFDCA because the results of

the tests on which the FDA relied for its 2016 Major Changes showed that chemical

abortion is unsafe for use under such conditions, or they did not show that such

drug is safe for use under the conditions prescribed, recommended, or suggested in

the proposed labeling thereof.

             The 2016 Major Changes violated the FFDCA because the FDA had

insufficient information to determine whether mifepristone is safe for use under the

conditions prescribed, recommended, or suggested in the proposed labeling thereof.

             The FDAs 2016 Major Changes lacked substantial evidence that the

new drug will have the effect it purports or is represented to have under the


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conditions of use prescribed, recommended, or suggested in the proposed labeling

thereof.

             In violation of the FFDCA, none of the studies on which the FDA relied

for its 2016 Major Changes evaluated the safety and effectiveness of the chemical

abortion regimen under the conditions of the label approved in 2016, or they failed

to satisfy the substantial evidence requirement for showing the safety and

effectiveness of the regimen under the conditions of the label approved in 2016.

             Therefore, Defendants lacked legal authority to make the 2016 Major

Changes. The FDAs 2016 Major Changes were in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right under the FFDCA. The FDAs

2016 Major Changes were unreasonable and not supported by the administrative

record.

II.   PREA

             The FDA lacked legal authority under PREA to make the 2016 Major

Changes, and the 2016 Major Changes were in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right, and were arbitrary, capricious,

an abuse of discretion, and not in accordance with law, because PREA allows the

FDA to extrapolate from studies of adult populations only if the course of a disease

is substantially similar in adults and the pediatric population. Because pregnancy

is not a disease, PREA did not permit the FDA to make such an extrapolation.

             Defendants lacked legal authority under PREA to make the 2016

Major Changes and the 2016 Major Changes were in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right, and were arbitrary, capricious,


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an abuse of discretion, and not in accordance with law, because the FDA failed to

satisfy the requirement for documentation of the scientific data that supports its

extrapolation that the course of the disease and the effects of the drug are

sufficiently similar in adult women and pediatric girls.

             Defendants lacked legal authority under PREA to make the 2016

Major Changes and the 2016 Major Changes were in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right, and were arbitrary, capricious,

an abuse of discretion, and not in accordance with law, because the FDA did not

require an assessment that evaluated the safety and effectiveness of mifepristone

for girls under 18 years of age.

III.   Pretext

             The FDAs illegal and unreasonable rationales for the 2016 Major

Changesin light of the political context of the agencys actionsindicate that the

stated reasons for the 2016 Major Changes are pretext. Therefore, the FDAs 2016

Major Changes is arbitrary, capricious, an abuse of discretion, and otherwise not in

accordance with law in violation of the APA. 5 U.S.C. § 706(2)(A).

IV.    Request

             For the reasons stated above, the FDAs 2016 Major Changes must be

held unlawful, set aside, and preliminarily and permanently enjoined.




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                                   CLAIM FOUR

                2019 ABBREVIATED NEW DRUG APPROVAL

          ADMINISTRATIVE PROCEDURE ACT (5 U.S.C. § 706)
      IN EXCESS OF STATUTORY JURISDICTION, AUTHORITY, OR
           LIMITATIONS, OR SHORT OF STATUTORY RIGHT;
       ARBITRARY, CAPRICIOUS, AN ABUSE OF DISCRETION, OR
            OTHERWISE NOT IN ACCORDANCE WITH LAW

             Plaintiffs re-allege and incorporate, as though fully set forth,

paragraphs 1330 of this complaint.

             Defendants lacked legal authority to issue the 2019 ANDA Approval.

             Because the FDA relied on the unlawful 2000 Approval of Mifeprex as

a means to approve GenBioPros generic drug, Mifepristone Tablets, 200 mg, if the

Court finds that the 2000 Approval was unlawful, as set forth above, then the 2019

ANDA Approval needed independently to satisfy the requirements of the FFDCA

and PREA.

             Unable to rely on an unlawful approval, the FDAs approval of the

2019 ANDA Approval violated the FFDCA because it lacked the clinical

investigations, adequate testing, sufficient information, and substantial evidence to

show the safety and effectiveness of mifepristone under the conditions of use

prescribed, recommended, or suggested in the proposed labeling thereof as required

by 21 U.S.C. § 355(d).

             Unable to rely on an unlawful approval, the FDAs approval of the

2019 ANDA also violated PREA because the submission lacked the necessary

assessment on the safety and effectiveness of mifepristone on the pediatric

population as required by 21 U.S.C. § 355c(a).


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             For these reasons, the 2019 ANDA Approval was in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right, and the 2019

ANDA Approval was arbitrary, capricious, an abuse of discretion, and not in

accordance with law.

             The FDAs illegal and unreasonable rationales for the 2019 ANDA

Approvalin light of the political context of the agencys actionsindicate that the

stated reasons for the 2019 ANDA Approval are pretext. Therefore, the FDAs 2019

ANDA Approval is arbitrary, capricious, an abuse of discretion, and otherwise not

in accordance with law in violation of the APA. 5 U.S.C. § 706(2)(A).

             Therefore, the 2019 ANDA Approval must be held unlawful, set aside,

and preliminarily and permanently enjoined.

                                    CLAIM FIVE

 2000 APPROVAL, 2016 MAJOR CHANGES, 2019 ANDA APPROVAL, 2021
   NON-ENFORCEMENT DECISION, AND 2021 PETITION RESPONSE

   ULTRA VIRES; ADMINISTRATIVE PROCEDURE ACT (5 U.S.C. § 706)
     IN EXCESS OF STATUTORY JURISDICTION, AUTHORITY, OR
          LIMITATIONS, OR SHORT OF STATUTORY RIGHT;
      ARBITRARY, CAPRICIOUS, AN ABUSE OF DISCRETION, OR
           OTHERWISE NOT IN ACCORDANCE WITH LAW

             Plaintiffs re-allege and incorporate, as though fully set forth,

paragraphs 1330 of this complaint.

             The FDA lacked legal authority when issuing its 2000 Approval, 2016

Major Changes, 2021 Non-Enforcement Decision, and 2021 Petition Response.

             None of these FDA actions comply with the federal laws that expressly

prohibit the mailing or delivery by any letter carrier, express company, or other



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common carrier of any substance or drug intended for producing abortion. 18 U.S.C.

§§ 146162.

              Since the 2000 Approval, the FDA has failed to restrict the upstream

distribution of chemical abortion drugs from manufacturer or importer to

abortionists in violation of these federal laws.

              The FDAs 2021 Non-Enforcement Decision and 2021 Petition

Response also violated these federal laws because they impermissibly removed the

in-person dispensing requirement for chemical abortion drugs and, accordingly,

authorized the downstream distribution of chemical abortion drugs by mail, express

company, and other common carriers.

              Because a federal agency cannot permit what federal law expressly

prohibits, the FDA lacked legal authority when issuing its 2000 Approval, 2016

Major Changes, 2021 Non-Enforcement Decision, and 2021 Petition Response.

              Therefore, the FDAs 2000 Approval, 2016 Major Changes, 2021 Non-

Enforcement Decision, and 2021 Petition Response must be held unlawful, set

aside, and preliminarily and permanently enjoined under the Courts inherent

equitable power to enjoin ultra vires actions, Larson, 337 U.S. at 68991.




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                                     CLAIM SIX

                             2021 PETITION RESPONSE

          ADMINISTRATIVE PROCEDURE ACT (5 U.S.C. § 706)
      IN EXCESS OF STATUTORY JURISDICTION, AUTHORITY, OR
           LIMITATIONS, OR SHORT OF STATUTORY RIGHT;
       ARBITRARY, CAPRICIOUS, AN ABUSE OF DISCRETION, OR
            OTHERWISE NOT IN ACCORDANCE WITH LAW

             Plaintiffs re-allege and incorporate, as though fully set forth,

paragraphs 1330 of this complaint.

             The 2019 Citizen Petition provided the FDA with significant data and

reasons to justify restoring the pre-2016 REMS.

             The 2019 Citizen Petition also provided the FDA with significant data

and reasons to justify strengthening the REMS for chemical abortion drugs,

including the requirement that the abortionist uses an ultrasound to assess

gestational age and diagnose ectopic pregnancies.

             Finally, the 2019 Citizen Petition asked the FDA to require a formal

study of outcomes for at-risk populations, including girls under the age of 18 years,

as the agency has never studied these outcomes.

             By disregarding the data and reasons set forth in the 2019 Citizen

Petition, the FDAs 2021 Petition Response was unreasonable and not supported by

the administrative record.

             The FDAs 2021 Petition Response was in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right and arbitrary,

capricious, an abuse of discretion, and otherwise not in accordance with law.




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             The FDAs illegal and unreasonable rationales for the 2021 Petition

Denialin light of the political context of the agencys actionsindicate that the

stated reasons for the 2021 Petition Denial are pretext. Therefore, the FDAs 2021

Petition Denial is arbitrary, capricious, an abuse of discretion, and otherwise not in

accordance with law in violation of the APA. 5 U.S.C. § 706(2)(A).

             Therefore, the FDAs 2021 Petition Response must be held unlawful,

set aside, and preliminarily and permanently enjoined under the APA.

                             PRAYERS FOR RELIEF

      For these reasons, Plaintiffs respectfully request that the Court enter an

order as to Defendants, including their employees, agents, successors, and all

persons in active concert or participation with them.

             Issue a preliminary and permanent injunction ordering Defendants to

withdraw mifepristone and misoprostol as FDA-approved chemical abortion drugs

and to withdraw Defendants actions to deregulate these chemical abortion drugs.

             Hold unlawful, set aside, and vacate the 2000 Approval.

             Hold unlawful, set aside, and vacate the 2016 Petition Denial.

             Hold unlawful, set aside, and vacate the 2016 Major Changes.

             Hold unlawful, set aside, and vacate the 2019 ANDA Approval.

             Hold unlawful, set aside, and vacate the 2021 Non-Enforcement

Decision.

             Hold unlawful, set aside, and vacate the 2021 Petition Response.

             Declare that the chemical abortion drugs mifepristone and misoprostol

fall outside the scope of the FDAs regulation entitled Subpart HAccelerated


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Approval of New Drugs for Serious or Life-Threatening Illnesses (codified at 21

C.F.R. §§ 314.500, et seq.) because pregnancy is not an illness and these drugs do

not provide meaningful therapeutic benefit to patients over existing treatments.

             Declare that the Federal Food, Drug, and Cosmetic Act requires the

FDA to rely on clinical investigations and studies that show a drug is safe and

effective for use under the conditions prescribed, recommended, or suggested in the

proposed labeling thereof when reviewing and approving a new drug application or

a supplemental new drug application.

             Declare that the Federal Food, Drug, and Cosmetic Act prohibits the

FDA from relying on studies that incorporate safeguards and protections not

included under the conditions prescribed, recommended, or suggested in the

proposed labeling when reviewing and approving a new drug application or a

supplemental new drug application.

             Declare that the Federal Food, Drug, and Cosmetic Act prohibits the

FDA from relying exclusively on studies that fail to evaluate all the requested

changes in the proposed labeling thereof when reviewing and approving a new drug

application or a supplemental new drug application.

             Declare that 18 U.S.C. § 1461 and 18 U.S.C. § 1462 prohibit the FDA

from approving a new drug application or a supplemental new drug application that

fails to limit distribution of chemical abortion drugs in accordance with these laws.

             Retain jurisdiction of this matter for the purpose of enforcing this

Courts order.




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               Award Plaintiffs costs, attorneys fees, and other disbursements for

this action.

               Grant any other relief this Court deems equitable, just, and

appropriate.



Respectfully submitted this November 18, 2022.


                                  By: s/ Erik C. Baptist
                                   ERIK C. BAPTIST, D.C. Bar No. 490159
                                   ERIN MORROW HAWLEY, D.C. Bar No. 500782*
                                   MATTHEW S. BOWMAN, D.C. Bar No. 993261
                                   ERICA STEINMILLER-PERDOMO, FL Bar No. 118439
                                   ALLIANCE DEFENDING FREEDOM
                                   440 First Street NW, Suite 600
                                   Washington, DC 20001
                                   Telephone: (202) 393-8690
                                   Facsimile: (202) 347-3622
                                   ebaptist@ADFlegal.org
                                   ehawley@ADFlegal.org
                                   mbowman@ADFlegal.org
                                   esteinmiller@ADFlegal.org

                                    JULIE MARIE BLAKE, VA Bar No. 97891
                                    ALLIANCE DEFENDING FREEDOM
                                    44180 Riverside Parkway
                                    Lansdowne, Virginia 20176
                                    Telephone: (571) 707-4655
                                    Facsimile: (571) 707-4790
                                    jblake@ADFlegal.org

                                    DENISE M. HARLE, GA Bar No. 176758
                                    ALLIANCE DEFENDING FREEDOM
                                    1000 Hurricane Shoals Rd NE,
                                    Suite D-1100
                                    Lawrenceville, Georgia 30043
                                    Telephone: (770) 339-0774
                                    Facsimile: (770) 339-6744
                                    dharle@ADFlegal.org



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                             CHRISTIAN D. STEWART, TX Bar No. 24013569
                             MORGAN WILLIAMSON, LLP
                             701 S Taylor, Suite 400, LB 103
                             Amarillo, Texas 79101
                             Telephone: (806) 358-8116
                             Facsimile: (806) 350-7642
                             cstewart@mw-law.com

                             Attorneys for Plaintiffs

                             *Pro Hac Vice Application forthcoming




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                                           Citizen Petition

 March 29, 2019

 The undersigned submit this petition to request the Commissioner of Food and Drugs to:
 (I) restore and strengthen elements of the Mifeprex regimen and prescriber requirements
 approved in 2000, and (II) retain the Mifeprex Risk Evaluation and Mitigation Strategy
 (REMS), and continue limiting the dispensing of Mifeprex to patients in clinics, medical
 offices, and hospitals, by or under the supervision of a certified prescriber.

                                         A. Action Requested

     I. RESTORE AND STRENGTHEN ELEMENTS OF THE MIFEPREX REGIMEN
        AND PRESCRIBER REQUIREMENTS APPROVED IN 2000.

     Current language and requested language for the Mifeprex Label and the Mifeprex
 Risk Evaluation and Mitigation Strategy (REMS) are included in Exhibit A.1 Requests
 include:

     A. Indications and Usage. Mifeprex, in a regimen with misoprostol, for the
        termination of intrauterine pregnancy, should be limited to 49 days’ gestation.

     B. Dosage and Administration.

         1. Mifeprex should be administered by or under the supervision of a physically
            present and certified physician who has ruled out ectopic pregnancy.

         2. The use of Mifeprex and misoprostol for the termination of pregnancy should
            require three office visits by the patient.

     C. Contraindications. Mifeprex use is contraindicated for patients who do not have
        convenient access to emergency medical care.

     D. Adverse Event Reporting. Certified prescribers, emergency medical personnel,
        physicians treating complications, and Danco Laboratories should report to
        FDA’s MedWatch Reporting system any deaths, hospitalizations, blood
        transfusions, emergency room visits, failures requiring surgical completion,
        ongoing pregnancy, or other major complications following the use of Mifeprex
        and misoprostol.

 1
  Other documents will require corresponding modifications, including the Mifeprex Medication Guide,
 Prescriber Agreement Form, and Patient Agreement Form.


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    E. Additional studies. The Mifeprex REMS should require a formal study of
       outcomes for at-risk populations, including: patients under the age of 18; patients
       with repeat Mifeprex abortions; patients who have limited access to emergency
       room services; and patients who self-administer misoprostol.

    II.      RETAIN THE MIFEPREX RISK EVALUATION AND MITIGATION
             STRATEGY (REMS), AND CONTINUE LIMITING THE DISPENSING OF
             MIFEPREX TO PATIENTS IN CLINICS, MEDICAL OFFICES, AND
             HOSPITALS, BY OR UNDER THE SUPERVISION OF A CERTIFIED
             PRESCRIBER.

    A. Retain the Mifeprex REMS.

    B. Continue limiting the dispensing of Mifeprex to patients in clinics, medical
       offices, and hospitals, by or under the supervision of a certified prescriber.

          1. Mifeprex should be dispensed only in clinics, medical offices, and hospitals.

                 a. The “TelAbortion” Direct-to-Consumer Mifeprex Study

                 b. The Mifeprex through Pharmacy Dispensing Study

                 c. Beyond the Current Studies

          2. Mifeprex Prescribers Should be Certified.




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                                       B. Statement of Grounds

     I.   RESTORE AND STRENGTHEN ELEMENTS OF THE MIFEPREX REGIMEN
          AND PRESCRIBER REQUIREMENTS APPROVED IN 2000.2

      A. Indications and Usage. Mifeprex, in a regimen with misoprostol, for the
         termination of intrauterine pregnancy, should be limited to 49 days’ gestation.

     In 2016, FDA increased the maximum gestational age for Mifeprex use for abortion
 from 49 days (7 weeks) to 70 days (10 weeks), and changed the method of administration
 of misoprostol from oral to buccal (i.e., in the cheek pouch). However drug-induced
 abortion3 regimens demonstrate an increase in complications and failures after 49 days’
 gestation.

     In a 2011 study of thousands of patients, the majority of whom had a drug-induced
 abortion using what is now the Mifeprex regimen, the rate of infection and the rate of
 failure requiring surgical intervention increased with gestational age.4 The American
 College of Obstetricians and Gynecologists (ACOG) has stated: “the risk of clinically
 significant bleeding and transfusion may be lower in women who undergo medical
 abortion of gestations up to 49 days compared with those who undergo medical abortion
 of gestations of more than 49 days.”5

    Further, a 2015 meta-analysis examined all the existing publications on buccal
 administration of misoprostol, 20 studies in all, from November 2005 through January
 2015. The failure rate of the buccal misoprostol regimen increased as the gestational age

 2
   The FDA approved Mifeprex for use in the United States on September 28, 2000, with safeguards
 considered necessary to ensure patient safety. The drug’s initial approval was for termination of pregnancy,
 in a regimen with misoprostol, through 49 days of pregnancy. FDA significantly modified the drug’s label
 at the application of the manufacturer, Danco Laboratories, in 2016, extending approved use to 70 days of
 pregnancy. Additional changes included: a new dosage of both Mifeprex and misoprostol; permitting home
 administration of Mifeprex and misoprostol; a new route of administration for the misoprostol (buccal, in
 the cheek pouch); permitting non-physicians to become certified prescribers; a decrease from 3 to 1
 mandatory office visits by the patient; and reduced reporting requirements. U.S. Gov’t Accountability
 Office, GAO-18-292, Food and Drug Administration: Information on Mifeprex Labeling Changes and
 Ongoing Monitoring Efforts 4-7 (2018); Mifeprex Risk Evaluation and Mitigation Strategy (REMS),
 https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-29_REMS_full.pdf; Mifeprex
 Medication Guide, https://www.fda.gov/downloads/Drugs/DrugSafety/ucm088643.pdf.
 3
   The terms “Medication abortion,” “medical abortion,” “chemical abortion,” and “drug-induced abortion”
 [or termination of pregnancy] share the same meaning and refer to the use of abortion-inducing drugs,
 rather than surgery, to induce abortion. The current FDA-approved regimen uses two drugs, mifepristone
 (a.k.a. Mifeprex or RU-486) and misoprostol.
 4
   Mentula MJ, Niinimaki M, Suhonen S, Hemminki E, Gissler M, and Heinkinheimo O, Immediate Adverse
 Events after Second Trimester Medical Termination of Pregnancy: Results of a Nationwide Registry Study,
 Human Reproduction 26(4), 927-932 (2011).
 5
   ACOG Practice Bulletin 143: Medical Management of First-Trimester Abortion, p. 5 (Mar. 2014,
 reaffirmed 2016).


                                                      3
                                            Add. 194
                                                                                                     EX. 35 pg. 03
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 increased, especially at gestational ages greater than 49 days.6 The current FDA label also
 acknowledges this fact.7

     Given the serious risks of failure, hemorrhage, infection, and ongoing pregnancy that
 increase as pregnancy advances, the gestational limit for the Mifeprex regimen should
 have never been increased.

     B. Dosage and Administration.

     1. Mifeprex should be administered by or under the supervision of a physically
        present and certified physician who has ruled out ectopic pregnancy.

     The 2000 Mifeprex regimen required Mifeprex to be “provided by or under the
 supervision of a physician” who meets qualifications discussed in this section below.8
 However, the 2016 regimen replaced “physician” with “healthcare provider,” thus
 permitting non-physicians to apply to be certified prescribers. 9 Given the regimen’s
 serious risks, the FDA should limit the ability to prescribe and dispense Mifeprex to
 qualified, licensed physicians. Physicians are better trained to diagnose patients who have
 contraindications to Mifeprex and to verify gestational age.

     The current Mifeprex Risk Evaluation and Mitigation Strategy (REMS), discussed in
 Section II below, continues to provide that “Mifeprex must be dispensed to patients only
 in certain healthcare settings, specifically clinics, medical offices, and hospitals, by or
 under the supervision of a certified prescriber.” 10 Yet, abortion providers today are
 promoting and performing “telemedicine abortions,” where the certified prescriber’s
 “supervision” of the dispensing of Mifeprex is limited to a videoconference.11 This
 practice demonstrates a flagrant disregard for FDA safeguards.

     To ensure true supervision, the FDA should require certified prescribers to be
 physically present when Mifeprex is dispensed so that they can appropriately examine
 patients and rule out contraindications to the use of Mifeprex. This requirement would be
 consistent with other requirements in the Mifeprex Label and REMS.


 6
   Chen MJ, Creinin MD, Mifepristone with Buccal Misoprostol for Medical Abortion, Obstet. Gynecol 126
 (1) July 2015 12-21.
 7
   Mifeprex 2016 label, https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.
 8
   Mifeprex 2000 label, Dosage and Administration, emphasis added.
 9
   Mifeprex 2016 label, https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.
 10
    Mifeprex 2016 REMS, emphasis added,
 https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-29_REMS_full.pdf.
 11
    See Planned Parenthood Releases New Educational Video on Telemedicine Abortion (Feb. 6, 2018),
 https://www.plannedparenthood.org/about-us/newsroom/press-releases/planned-parenthood-releases-new-
 educational-video-on-telemedicine-abortion.


                                                   4
                                          Add. 195
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     In the Mifeprex Label, the FDA emphasizes that “Mifeprex is available only through
 a restricted program under a Risk Evaluation and Mitigation Strategy (REMS)” because
 of the drug’s “risks of serious complications.” In a bold-print box, the FDA states that
 before prescribing Mifeprex, a provider must inform a patient: about the risks of serious
 events; whom to call and what to do if certain symptoms occur; and to take the
 Medication Guide with her if she visits an emergency room or healthcare provider who
 did not prescribe Mifeprex, so that she receives appropriate, informed care.12

    Further, a provider must sign a Provider Agreement Form, attesting that he or she
 can:

      Assess the duration of pregnancy accurately. 13 Failures and complications of
      Mifeprex abortion increase with increasing gestational age. Mifeprex use is approved
      through 70 days’ gestation.14 FDA should strengthen this requirement by mandating
      that gestational age be accurately assessed by ultrasound in order to both ensure
      compliance with FDA restrictions and adequately inform the patient of gestational
      age-specific risks, which rise with increasing gestational age.

      Diagnose ectopic pregnancies15 (i.e., extrauterine pregnancy; pregnancy outside the
      uterus), which Mifeprex cannot end. When an ectopic pregnancy progresses, it can
      rupture the fallopian tube, causing bleeding, severe pain, or death. If a woman with an
      extrauterine pregnancy is given Mifeprex, she may believe the symptoms for ectopic
      pregnancy are simply the side effects of drug-induced abortion, which are similar. As
      of December 31, 2017, at least 97 women with ectopic pregnancies in the United
      States had been given Mifeprex.16 Of these women, at least two bled to death from an
      undiagnosed ectopic pregnancy.17 They likely did not recognize that their cramps,
      abdominal pain, and perhaps vaginal bleeding were dangerous—not side effects
      expected in a Mifeprex abortion.18


 12
    Mifeprex 2016 label, https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.
 13
    Mifeprex Prescriber Agreement Form,
 https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-
 29_Prescriber_Agreement_Form.pdf.
 14
    See Section I.A, supra.
 15
    Mifeprex Prescriber Agreement Form,
 https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-
 29_Prescriber_Agreement_Form.pdf.
 16
    Mifepristone U.S. Post-Marketing Adverse Events Summary through 12/31/2017, RCM # 2007-525,
 NDA 20-687,
 https://www.fda.gov/downloads/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProvid
 ers/UCM603000.pdf).
 17
    Id.
 18
    Donna Harrison, M.D. & Michael J. Norton Testimony before the Iowa Board of Medicine, p. 3 (Aug.
 21, 2013), citing Postmarket Drug Safety Information for Patients and Providers, Questions and Answers
 on Mifeprex,


                                                   5
                                          Add. 196
                                                                                               EX. 35 pg. 05
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     Provide surgical intervention if needed, or has made plans to provide such care
     through others.19 He or she must assure patient access to medical facilities equipped
     to provide blood transfusions and resuscitation, if necessary.20

      Clearly, a provider who does not physically meet with and examine a patient, but
 simply consults with the patient over the Internet, is not capable of fulfilling these
 requirements, or of ruling out additional contraindications (i.e., circumstances that make
 a treatment or medication unadvisable) to Mifeprex use. These physical contraindications
 include pelvic infections, ovarian masses, cardiac arrhythmias, and liver abnormalities.21
 A physician bears responsibility to diagnose and rule out contraindications prior to
 Mifeprex use. It is inadequate to entrust this critical care to another healthcare provider
 who is not trained in diagnosis. Further, a healthcare provider who is not physically
 accessible to a patient cannot provide adequate follow-up care to patients, as required by
 the FDA Mifeprex regimen.

     Thirty-four states permit only physicians to prescribe Mifeprex,22 with nineteen states
 requiring the provider to be physically present with the patient.23 For example, the law in
 Alabama states that the physical presence and care of a physician are necessary because
 “the failure and complications from medical abortion increase with advancing gestational
 age, because the physical symptoms of medical abortion can be identical to the symptoms
 of ectopic pregnancy, and because abortion-inducing drugs do not treat ectopic
 pregnancies but rather are contraindicated in ectopic pregnancies.”24

     Lawmakers in these states recognize that abortion providers cannot diagnose
 contraindications and cannot adequately care for their patients through a
 videoconference. Fundamentally, telemedicine “may be legitimate when it comes to
 discrete, document-based tasks such as reading X-rays,” but it “is not the standard of care
 when it comes to abortion or the management of miscarriage.”25




 https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm492
 705.htm.
 19
    Mifeprex Prescriber Agreement Form,
 https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-
 29_Prescriber_Agreement_Form.pdf.
 20
    Id.
 21
    Harrison & Norton Testimony, p. 3.
 22
    Donovan MK, Self-Managed Medication Abortion: Expanding the Available Options for U.S. Abortion
 Care, Guttmacher Policy Review, Vol. 21, p. 44 (2018).
 23
    Id.
 24
    Ala. Code § 26-23E-7.
 25
    Harrison & Morton Testimony, p. 19.


                                                 6
                                        Add. 197
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      2. The use of Mifeprex and misoprostol for the termination of pregnancy should
         require three office visits by the patient.

     The 2016 regimen significantly diminished doctor-patient interaction. While the 2000
 Mifeprex label required three patient visits with the abortion provider, women may now
 obtain Mifeprex at a clinic and self-administer it at home. They are no longer required to
 return to the clinic for the administration of misoprostol, which prevents abortion
 providers from ensuring that they take the drugs at the correct times. Further, providers
 may now “confirm” that a patient’s drug-induced abortion was successful without a clinic
 visit,26 increasing the threat that Rh-negative patients will not receive administration of
 Rhogam, which is necessary to prevent serious risks in subsequent pregnancies.

     The 2016 regimen directs that patients be given or prescribed misoprostol to take 24
 to 48 hours after taking Mifeprex. However, without monitoring, a patient may take
 misoprostol before 24 hours have passed since she consumed Mifeprex, rendering the
 regimen ineffective and increasing the likelihood that she will experience a failed drug-
 induced abortion and require surgery.

     Using buccal misoprostol sooner than 24 hours after administering mifepristone leads
 to a significantly increased failure rate. In one study investigating the timing of buccal
 misoprostol after mifepristone, nearly one out of every three to four women who took
 buccal misoprostol shortly after mifepristone failed to abort.27 The failure rate ranged
 from 27% to 31%, depending on the pregnancy gestation.28 Given these results, the
 authors of this study strongly recommended that buccal misoprostol not be taken
 immediately after mifepristone because of the very high abortion failure rate.29 However,
 with home administration of misoprostol, healthcare providers have no control over when
 their patients consume the drug.

     A woman may also choose to swallow misoprostol rather than keep the pill between
 her cheek and gum for 30 minutes, converting a “buccal” administration into an “oral”
 administration. An oral administration of misoprostol following the lower dose of
 mifepristone in the current regimen is not as effective in ending the pregnancy.

    Further, waiting until 24 hours after Mifeprex to administer misoprostol does not
 guarantee success, and the failure rate of buccal misoprostol is higher than that under the
 2000 regimen. A comprehensive systematic review and meta-analysis of the existing

 26
    See Mifeprex 2016 label,
 https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.
 27
    Lohr PA, Reeves MF, Hayes JL, Harwood B, Creinin MD, Oral Mifepristone and buccal misoprostol
 administered simultaneously for abortion: a pilot study, Contraception 76 (2007) 215-220.
 28
    Id.
 29
    Id.


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                                         Add. 198
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 studies of the 2016 regimen found that women who take misoprostol earlier than 48 hours
 after mifepristone are more likely to fail the regimen.30

    Under the 2000 regimen, doctors were also able to provide care to patients during the
 most challenging and painful time in the drug-induced abortion. According to the World
 Health Organization, up to 90% of women will abort within 4-6 hours after taking
 misoprostol.31 The 2000 regimen permitted a patient to be in a clinic for this period of
 time, during which she would be under the observation and care of medical personnel.
 This observation period is for “both patient safety and compassion. . . . This is the time
 when women should be in a place where their bleeding can be monitored, their vital signs
 can be observed by trained medical personnel, and they can receive sufficient pain
 medication during the most difficult part of the expulsion.”32

     Abortion complications are also more frequent when women abort at home, without
 the oversight of a healthcare provider. A 2018 combined retrospective and longitudinal
 follow-up study of complications related to induced abortion in Sweden determined that
 “[t]he complication frequency [of drug-induced abortion] was significantly higher among
 women <7 gestational weeks who had their abortions at home.”33

     In-person contact with a healthcare provider is critical to post-abortion care as well.
 Abortion providers should perform a “follow-up [physical exam] after the use of
 mifepristone in order to confirm abortion and rule out life-threatening infection.” 34
 Before FDA approved the 2016 regimen, the follow-up visit was considered “very
 important to confirm by clinical examination or ultrasonographic scan that a complete
 termination of pregnancy has occurred.”35 In fact, the 2000 label provided that “[e]ach
 patient must understand the necessity of completing the treatment schedule, including a
 follow-up visit approximately 14 days after taking Mifeprex.”36 ACOG’s current policy
 explains that:

         Women are not good candidates for medical abortion if they … desire
         quick completion of the abortion process [or] are not available for follow-
         up contact or evaluation….37

 30
    Chen MJ, Creinin MD, Mifepristone with Buccal Misoprostol for Medical Abortion, Obstet.Gynecol 126
 (1) July 2015 12-21.
 31
    World Health Organization, Safe Abortion: Technical and Policy Guidance for Health Systems 45.
 32
    Donna Harrison, M.D., Aff. Okla. Coalition for Reproductive Justice v. Cline, Case No. CV-2014-1886
 (Feb. 24, 2015) ¶ 136.
 33
    Carlsson I, Breding K, and Larsson PG, Complications Related to Induced Abortion: a Combined
 Retrospective and Longitudinal Follow-up Study, BMC Women’s Health (2018) 18:158, p. 4 (emphasis
 added).
 34
    Harrison & Norton Testimony, p. 18.
 35
    Mifeprex 2000 label, Day 14: Post-Treatment Examination.
 36
    Mifeprex 2000 label, Information for Patients.
 37
    ACOG Practice Bulletin 143, p. 6.


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                                          Add. 199
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      In addition to ensuring for all drug-induced abortion patients that the uterus has been
  emptied of retained tissue and that they are not suffering from infection, the follow-up
  examination is particularly critical for Rh-negative patients. These patients must be
  administered Rhogam in order to prevent Rh isoimmunization in subsequent pregnancies.
  Without follow-up, women will not receive the Rhogam after the abortion, greatly
  increasing their risk of subsequent Rh isoimmunization, which can endanger future
  pregnancies.38

      Nonetheless, abortion advocates strongly supported the reduction in required visits,
  and continue to advocate for the elimination of direct provider-patient contact. Gynuity
  Health Projects (an organization that “has been at the forefront of efforts to increase
  women’s access to medical abortion in settings throughout the world”)39 has conducted at
  least three domestic and five international studies40 on eliminating pelvic ultrasound or
  exam after drug-induced abortion. Following one study, researchers determined that
  “[s]emi-quantitative pregnancy tests … could be used in lieu of transvaginal ultrasound
  and/or serum hCG at clinic-based follow-up or by women themselves for home-based
  follow-up.”41

      In a more recent study, researchers asserted that the “common practice of scheduling
  a clinical contact after every medical abortion may not be necessary to ensure safety;
  enabling patients to determine for themselves whether or not a contact is needed can be a

  38
    ACOG Practice Bulletin 181: Prevention of Rh D Alloimmunization (Aug. 2017);
  and SOGC Clinical Practice Guidelines: Prevention of Rh Alloimmunization (No. 133, Sept. 2003).
  39
     See Gynuity Health Projects, Medical Abortion, https://gynuity.org/programs/medical-abortion. Founded
  by Beverly Winikoff, M.D, M.P.H., in 2003, Gynuity outlines on its “Medical Abortion” page the
  organization’s research projects, including efforts to: “Develop innovative service delivery systems through
  telemedicine; Simplify and de-medicalize medical abortion services; Expand access to medical abortion in
  the 1st and 2nd trimesters of pregnancy; Conduct clinical research to develop new abortion medications;
  Develop a ‘missed menses pill’/menstrual regulation method; Develop additional clinical indications for
  mifepristone.” Gynuity has launched a “coalition to expand access to mifepristone in the United States,”
  co-created a “medical abortion commodities database,” “introduce[d] medical abortion in new settings,”
  “incorporate[ed] new clinical evidence into service guidelines,” and “expanded medical abortion access
  through education and local champions.”
  40
     See, e.g., Self-Assessment of Medical Abortion Outcome Using Serial Multi-level Pregnancy Tests
  [NCT02570204] (Sept. 2015 – Dec. 2016),
  https://www.clinicaltrials.gov/ct2/show/NCT02570204?term=Self-
  Assessment+of+Medical+Abortion+Outcome+Using+Serial+Multi-level+Pregnancy&rank=1; Exploring
  the Role of At-home Semi-Quantitative Pregnancy Tests for Medical Abortion Follow-up [NCT01150279]
  (Aug. 2009 – May 2014),
  https://www.clinicaltrials.gov/ct2/show/NCT01150279?term=Exploring+the+Role+of+At-home+Semi-
  Quantitative+Pregnancy+Tests+for+Medical+Abortion+Follow-up&rank=1; De-Medicalizing Mifepristone
  Medical Abortion [NCT00120224] (May 2005 – Apr. 2007),
  https://www.clinicaltrials.gov/ct2/show/NCT00120224?term=De-
  Medicalizing+Mifepristone+Medical+Abortion&rank=1.
  41
     Lynd K, et al., Simplified Medical Abortion Using a Semi-Quantitative Pregnancy Test for Home-Based
  Follow-up, Int J Gynaecol Obstet. 2013 May;121(2):144-8.


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  reasonable approach.”42 They reached this conclusion even with 26% of participants
  failing to provide sufficient follow-up information.43

      Gynuity researchers also conducted a recent systematic review of existing studies on
  “the accuracy and acceptability of a strategy for identifying ongoing pregnancy after
  medical abortion treatment using a low-sensitivity pregnancy test (LSPT).” While the
  researchers acknowledged that “the LSPT strategy had moderate sensitivity for
  identifying ongoing pregnancy” and “the LSPT itself had a limited role in the detection of
  treatment failures [i.e., ongoing pregnancy] in the studies,” they stated that the “LSPT
  strategy shows promise for reducing the need for in-person follow-up after medical
  abortion. A range of home-based options should be validated to meet the varied needs of
  women and abortion providers in diverse settings.”44

      In reality, a de-emphasis on follow-up care increases risks of post-abortion
  complications. As discussed above, the 2000 regimen’s requirement that women return
  approximately 14 days after ingesting mifepristone was considered necessary to ensure
  that all pregnancy tissue had been passed. 45 This determination is crucial, because
  retained pregnancy tissue can lead to continued bleeding and serious intrauterine
  infections. The return visit permits healthcare providers to ensure that a patient is not
  experiencing these or other complications from the abortion procedure, and that Rh
  negative patients are administered Rhogam to protect future pregnancies.

      Abortion advocates argue that three clinic visits make accessing abortion-inducing
  drugs more difficult for patients with transportation challenges; however, as noted above,
  ACOG acknowledges that drug-induced abortion is contraindicated for patients who “are
  not available for follow-up contact or evaluation.”46 Surgical abortion is a better choice
  for these patients, because it “[d]oes not require follow-up in most cases.”47

      Drug-induced abortion is a longer process that requires more attention and care from
  healthcare providers. Three visits to a physician in the interest of patient safety should not
  be sacrificed for the convenience of healthcare providers or even their patients.




  42
     Raymond EG, et al., Self-assessment of Medical Abortion Outcome Using Symptoms and Home
  Pregnancy Tests, Contraception 97 (2018) 324-28.
  43
     Id.
  44
     Raymond EG, et al., Low-sensitivity Urine Pregnancy Testing to Assess Medical Abortion Outcome: A
  Systematic Review, Contraception (2018), https://doi.org/10.1016/j.contraception.2018.03.013 (emphasis
  added).
  45
     Mifeprex 2000 label, Day 14: Post-Treatment Examination.
  46
     ACOG Practice Bulletin 143, p. 6.
  47
     Id.


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                                            Add. 201
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       C. Contraindications. Mifeprex use is contraindicated for patients who do not have
          convenient access to emergency medical care.

       The 2000 Mifeprex Label stated:

          Because it is important to have access to appropriate medical care if an
          emergency develops, the treatment procedure is contraindicated if a
          patient does not have adequate access to medical facilities equipped to
          provide emergency treatment of incomplete abortion, blood transfusions,
          and emergency resuscitation during the period from the first visit until
          discharged by the administering physician.48

      This critical language was excluded from the 2016 Mifeprex Label. Yet, studies
  comparing the outcome of surgical versus drug-induced abortion “have clearly
  demonstrated that Mifeprex abortions have a greater risk of hemorrhage, infection,
  continued pregnancies, retained tissue and need for emergency reoperation than surgical
  abortions.” 49 ACOG acknowledges that “[c]ompared with surgical abortion, medical
  abortion takes longer to complete, requires more active patient participation, and is
  associated with higher reported rates of bleeding and cramping,” and has lower success
  rates.50

      Drug-induced abortion is optional. If a woman does not meet the criteria necessary to
  use abortion-inducing drugs, then surgical abortion is still an option. For women with
  transportation difficulties, an abortion provider can complete surgical abortion “in a
  predictable period of time,” and the procedure “[d]oes not require follow-up in most
  cases.”51

       Efforts to promote abortion-inducing drugs to women in rural areas where access to
  emergency medical care is scarce are detrimental to women’s health. It is better for a
  patient in a remote region to have a surgical abortion, “which requires a single visit, and
  is less likely to result in serious or life-threatening complications.”52




  48
     Mifeprex 2000 label, Contraindications.
  49
     Harrison Aff. ¶ 115.
  50
     ACOG Practice Bulletin 143, p. 3 & Box 1.
  51
     Id.
  52
     Harrison & Norton p. 9.


                                                 11
                                           Add. 202
                                                                                     EX. 35 pg. 011
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       D. Adverse Event Reporting. Certified prescribers, emergency medical personnel,
          physicians treating complications, and Danco Laboratories should report to
          FDA’s MedWatch Reporting system any deaths, hospitalizations, blood
          transfusions, emergency room visits, failures requiring surgical completion,
          ongoing pregnancy, or other major complications following the use of Mifeprex
          and misoprostol.

      The 2016 regimen dramatically reduced accountability for Mifeprex providers by
  limiting adverse event reporting (AER) requirements, a critical safety mechanism. 53
  While prescribers were required to report any serious adverse event associated with
  Mifeprex under the 2000 label, they are now required to report only deaths associated
  with Mifeprex.

      Even with the 2000 regimen requirements, collecting accurate and complete adverse
  event information was highly difficult. Adverse events were often not reported or were
  interpreted by emergency health care providers as the results of spontaneous abortion.54
  The Mifeprex label instructs prescribers to “[a]dvise the patient to take the Medication
  Guide with her if she visits an emergency room or a healthcare provider who did not
  prescribe Mifeprex, so that the provider knows that she is undergoing a medical
  abortion.” 55 Yet, many Mifeprex prescribers violate FDA protocol, instructing their
  patients to lie to emergency medical personnel. The organization Aid Access instructs
  patients that if they need to go to an emergency room:

          You do not have to tell the medical staff that you tried to induce an
          abortion; you can tell them that you had a spontaneous miscarriage.
          Doctors have the obligation to help in all cases and know how to handle a
          miscarriage. The symptoms of a miscarriage and an abortion with pills are
          exactly the same and the doctor will not be able to see or test for any
          evidence of an abortion, as long as the pills have completely dissolved.56

  Such deception prevents emergency healthcare providers from appropriately caring for
  their patients, and further decreases the likelihood that adverse events will be reported.

      With reduced AER reporting requirements under the 2016 label, what was previously
  difficult is now virtually impossible. The FDA cannot adequately assess the safety of the
  current Mifeprex regimen without comprehensive information on adverse events. AERs
  are the only objective means by which FDA has any data whatsoever on the effects of the

  53
     Mifeprex 2016 label.
  54
     See GAO-18-292, pp 24-25.
  55
     Mifeprex 2016 label, https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.
  56
     Aid Access, How do you know if you have complications, and what should you do?,
  https://aidaccess.org/en/page/459/how-do-you-know-if-you-have-complications-and-what-should-you-do.


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                                           Add. 203
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  Mifeprex regimen on women, and the voluntary and minimal nature of the current AERs
  means that FDA has no accurate information about the actual number of women injured
  by drug-induced abortion, or the nature of complications caused by this drug.

      After prescribing Mifeprex and misoprostol, certified prescribers should at minimum
  be required to report the following directly to the FDA Medwatch reporting system,
  copying Danco Laboratories: deaths, hospitalizations, blood transfusions, emergency
  room visits, failures requiring surgical completion, ongoing pregnancy, or other major
  complications. Detailed information must also be included, such as pulse, blood pressure,
  temperature, pre- and post-transfusion hemoglobin/hematocrit, white blood count,
  number of units of blood transfused, surgeries, and any other pertinent laboratory or
  hospital course information, as well as emergency room and hospital discharge
  diagnoses.

     Further, FDA should provide guidance to emergency healthcare providers and
  physicians responsible for treating complications so that they know how to distinguish
  complications following drug-induced abortion from complications following
  spontaneous miscarriage. The guidance should also instruct these providers on how to
  report adverse events.57

      The abysmal quality of the current AERs received from Danco Laboratories shows
  the lack of concern that Danco has demonstrated for the safety of the women who have
  undergone drug-induced abortion. Responsible reporting is a fundamental safety
  mechanism that should not be sacrificed in the interest of convenience for abortion
  providers.

       E. Additional Studies. The Mifeprex REMS should require a formal study of
          outcomes for at-risk populations, including: patients under the age of 18; patients
          with repeat Mifeprex abortions; patients who have limited access to emergency
          room services; and patients who self-administer misoprostol.

      Mifeprex was approved for use in the pediatric population in 2000 after the FDA
  waived, without explanation, the requirement for studies in the pediatric population. The
  developmental stage of puberty involves a complex interplay of both progesterone and
  estrogen effects on the developing female reproductive system. The use, and especially
  the potential multiple use, of Mifeprex, which is a powerful progesterone blocker, is

  57
    The Self-Induced Abortion Legal Team has created a document titled “Self-Induced Abortion and the
  Law: What Emergency Room Staff Need to Know.” This document heavily emphasizes patient privacy
  requirements, including the penalties that healthcare providers may face if they disclose patient
  information. While these concerns are valid, emergency healthcare providers should also have training on
  public health reporting requirements and how such reporting does not violate HIPAA or other laws
  regarding patient privacy. See, https://www.sialegalteam.org.


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                                            Add. 204
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  likely to significantly impact the developing reproductive system of the adolescent
  female.58 It is irresponsible to allow the continued uninvestigated use of Mifeprex in the
  pediatric female population 59 without requiring long-term studies on the impact of
  Mifeprex use on pubertal development.

     More than one out of every three abortions in the U.S. is a repeat abortion.60 The
  repeat use of Mifeprex has been associated in some studies with adverse reproductive
  health outcomes in future wanted pregnancies.61 This concern requires further study.

      The adverse events of hemorrhage, retained tissue, and infection are common after
  Mifeprex use. The hemorrhage is often significant enough to warrant transfusion. When
  patients lack access to emergency medical facilities, such complications could easily
  translate to deaths. Thus a study of deaths and of severe hemorrhages requiring
  transfusion should be done to compare outcomes in women with and without access to
  emergency medical facilities.

       II.   RETAIN THE MIFEPREX RISK EVALUATION AND MITIGATION
             STRATEGY (REMS), AND CONTINUE LIMITING THE DISPENSING OF
             MIFEPREX TO PATIENTS IN CLINICS, MEDICAL OFFICES, AND
             HOSPITALS, BY OR UNDER THE SUPERVISION OF A CERTIFIED
             PRESCRIBER.

         A. Retain the Mifeprex REMS.

      Mifeprex, when used for abortion, is subject to a Food and Drug Administration
  (FDA) Risk Evaluation and Mitigation Strategy (REMS) with elements to assure safe use
  (ETASU). FDA determined that the Mifeprex REMS is necessary to ensure the safety
  and efficacy of the drug, because it carries risks of life-threatening hemorrhage, infection,
  continued pregnancy, retained tissue, need for emergency surgery, and death. The
  approved Mifeprex regimen includes the use of another potent drug, misoprostol, which
  carries its own risks.

      Under the Mifeprex REMS with ETASU, a healthcare provider must be certified to
  prescribe Mifeprex by reviewing the prescribing information and completing a

  58
     Arain M, et al., Maturation of the adolescent brain, Neuropsychiatric Disease and Treatment, 2013:9
  449-461.
  59
     Because of their immaturity, minors are also less likely to understand the importance of following
  prescriber instruction or of recognizing when they need to seek emergency medical treatment.
  60
     Jones R, et al., Which Abortion Patients Have Had a Prior Abortion? Findings from the 2014 U.S.
  Abortion Patient Survey, Journal of Women’s Health, DOI: 10.1089/jwh.2017.6410 (2014).
  61
     Fang L, et al., Repeated Abortion Affects Subsequent Pregnancy Outcomes in BALB/c Mice, PLoS ONE
  7(10): e48384. doi:10.1371/journal.pone.0048384 (2012).



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                                           Add. 205
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  “Prescriber Agreement Form,” attesting that they can: assess the duration of pregnancy
  accurately; diagnose ectopic pregnancies; and provide surgical intervention in cases of
  incomplete abortion or severe bleeding, or designate someone else to provide that care.
  Further, they must agree to follow the guidelines for use of Mifeprex.

      The REMS also requires Mifeprex to “be dispensed to patients only in certain
  healthcare settings, specifically clinics, medical offices, and hospitals, by or under the
  supervision of a certified prescriber.” Mifeprex may not be distributed or dispensed
  through retail pharmacies. Also, a patient must sign a “Patient Agreement Form” and be
  fully informed of the risks by a certified prescriber. She must receive the Mifeprex
  Medication Guide, informing her that she needs a “follow-up assessment” 7 to 14 days
  after she has taken Mifeprex to ensure that she is well and has terminated her
  pregnancy.62

      The REMS remains the lone safeguard to monitor and mitigate the risks of death and
  adverse events from the Mifeprex regimen. Gynuity Health Projects and researchers from
  the University of California, San Francisco (UCSF) obtained approval from FDA through
  Investigational New Drug Applications (INDs) to conduct studies that do not comply
  with the Mifeprex REMS. They intend to use the results of these studies to press for the
  elimination of the Mifeprex REMS.63 [See Section II.B, below.]

      The Mifeprex Medication Guide acknowledges that serious risks accompany FDA’s
  approved regimen for drug-induced abortion, which includes the use of Mifeprex and
  another potent drug, misoprostol. The document improperly downplays the risks,
  however, stating that “rarely, serious and potentially life-threatening bleeding, infections,
  or other problems can occur following . . . medical abortion.” Specifically, “in about 1
  out of 100 women [administered Mifeprex and misoprostol] bleeding can be so heavy
  that it requires a surgical procedure.”64

     In fact, the internationally used criteria for reporting complications from drugs
  demonstrate that complications from drug-induced abortions are common, not rare. The
  Council for International Organizations of Medical Sciences (CIOMS)65 defines the word

  62
     GAO-18-292, pp 4-7 (2018); Mifeprex Risk Evaluation and Mitigation Strategy (REMS),
  https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-29_REMS_full.pdf; 21 U.S.C. §
  355-1; Mifeprex Medication Guide, https://www.fda.gov/downloads/Drugs/DrugSafety/ucm088643.pdf.
  63
     See Daniel Grossman, MD, Research Protocol: Alternative Provision of Medication Abortion via
  Pharmacy Dispensing, Version #:1.3 (July 17, 2018) p. 14.
  64
     Mifeprex Medication Guide, https://ww.w.fda.gov/downloads/Drugs/DrugSafety/ucm088643.pdf.
  65
     The Council for International Organizations of Medical Sciences (CIOMS) is an international, non-
  governmental, nonprofit organization established jointly by WHO and UNESCO in 1949. Through its
  membership, CIOMS is representative of a substantial proportion of the biomedical scientific community.
  In 2013, the membership of CIOMS included 49 international, national, and associate member
  organizations, representing many of the biomedical disciplines, national academies of sciences, and
  medical research councils.


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                                           Add. 206
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  “rare” in adverse event reporting as an event that happens in between “1 out of 1,000” to
  “1 out of 10,000” uses. “Common” is the uniform term used for events that happen in
  between “1 out of 10” to “1 out of 100” uses.66 Given that “about 1 out of 100 women”
  using Mifeprex/misoprostol require surgery, serious complications are common, not
  rare.67

      Also, as discussed in Section I.C above, Mifeprex abortions carry greater risks than
  surgical abortions.68 A study of over 42,000 women in Finland who had abortions from
  2000 to 2006 found that “overall, medical abortion had roughly four times the rate of
  adverse events than surgical abortion, and hemorrhaging was experienced by 16 percent
  of medical abortion patients compared with 2 percent of surgical abortion patients.”69

      A combined retrospective and longitudinal follow-up study of complications related
  to induced abortion in Sweden published in 2018 determined that the share of
  complications related to drug-induced abortions at less than 12 weeks increased
  significantly during 2008-2015 without an evident cause. The increase was from 4.2% in
  2008 to 8.2% in 2015, with incomplete abortion as the most common complication
  related to drug-induced abortions at less than 12 weeks.70

      Abortion advocates are also attacking the REMS by advocating for mifepristone use
  in spontaneous miscarriage management. In a small recent study, researchers compared
  the efficacy and safety of using mifepristone with misoprostol for the management of
  early miscarriages to using misoprostol alone.71 Notably, 6-10% of study participants had
  a gestational age of “4-5 weeks gestation.” 72 It is not clear from the authors how
  participants of that gestational age could meet the published guidelines for diagnosis of
  non-viable pregnancy recently published by the Society of Radiologists in Ultrasound
  multispecialty consensus panel.73 The panel requires the crown-rump length cutoff to 7
  mm for embryos without a heartbeat and the mean sac diameter cutoff to 25 mm for




  66
     CIOMS training manual on medicine safety,
  http://www.who.int/medicines/areas/quality_safety/safety_efficacy/trainingcourses/definitions.pdf.
  67
     See Mifeprex Medication Guide; CIOMS training manual on medicine safety, supra.
  68
     See Harrison Aff. ¶ 115; ACOG Practice Bulletin 143, p. 3 & Box 1.
  69
     GAO-18-292, p. 25, discussing Niinimaki M, et al., Immediate Complications after Medical Compared
  with Surgical Termination of Pregnancy, Obstetrics & Gynecology, vol. 114, no. 4 (October 2009): 795-
  804.
  70
     Carlsson I, Breding K, and Larsson PG, Complications Related to Induced Abortion: A Combined
  Retrospective and Longitudinal Follow-up Study, BMC Women’s Health (2018) 18:158.
  71
     Schreiber CA, et al, Mifepristone Pretreatment for the Medical Management of Early Pregnancy Loss, N
  Engl J Med 2018; 378:2161-70.
  72
     Id. Table 1.
  73
     Doubilet PM, Benson CB, Bourne T, et al., Diagnostic criteria for nonviable pregnancy early in the first
  trimester, N Engl J Med 2013; 369:1443–1451.


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                                             Add. 207
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  “empty” sacs, in order to minimize interventions that “interrupt a pregnancy that
  otherwise would have had a normal outcome.”74

      The authors admit that the study “was not powered to show differences between
  groups in the proportions of serious adverse events,”75 an important consideration prior to
  recommending a change in spontaneous abortion management protocols. Yet, the authors
  incorrectly stated “such events were rare.”76 Table 3 gives a total number of serious
  adverse events as 3.4% for the mifepristone pretreatment group, and 2.0% for the
  misoprostol alone group.77 Under the CIOMS criteria for reporting complications from
  drugs, discussed above, the rate of 2%-3.4% of adverse events in each study arm
  demonstrates clearly that adverse events are common, not rare, in both misoprostol alone
  and mifepristone + misoprostol miscarriage management.

      Further, the Mifeprex + misoprostol arm raises a concern about the need for further
  study of adverse events, especially hemorrhage. Mifepristone is known to inhibit
  endometrial hemostasis (i.e., arrest of bleeding),78 as demonstrated by many reports of
  hemorrhage with transfusions reported to the FDA after use of mifepristone and
  misoprostol for elective abortions.79

      Of additional concern is the vaginal route of administration of misoprostol. After
  reports of overwhelming sepsis following vaginal administration of misoprostol, Planned
  Parenthood changed the route of administration of misoprostol from vaginal to buccal,80
  with subsequent decrease in reported infections. Animal studies have demonstrated that
  both mifepristone81 and misoprostol82 can profoundly suppress innate immunity and the
  ability to fight infections.


  74
     Hu M, Poder L, Filly R, Impact of New Society of Radiologists in Ultrasound Early First-Trimester
  Diagnostic Criteria for Nonviable Pregnancy, J Ultrasound Med 2014; 33:1585–1588.
  75
     Schreiber, supra p. 2168.
  76
     Id.
  77
     Id. p. 2169.
  78
     Miech RP, Pathopharmacology of excessive hemorrhage in mifepristone abortions, Ann Pharmacother
  2007 Dec; 41(12):2002-7.
  79
     Gary MM, Harrison DJ. “Analysis of severe adverse events related to the use of mifepristone as an
  abortifacient.” Ann Pharmacother. 2006 Feb;40(2):191-7; Food and Drug Administration “Mifepristone
  U.S. Postmarketing Adverse Events Summary” 2011,
  https://www.minnpost.com/sites/default/files/attachments/Mifeprex_April2011_AEs.pdf.
  80
      Fjerstad M, Trussell J, Sivin I, Lichtenberg ES, Cullins V, Rates of Serious Infection after Changes in
  Regimens for Medical Abortion, N Engl J Med 2009; 361:145-51.
  81
     Sternberg EM, Hill JM, Chrousos GP, Kamilaris T, Listwak SJ, Gold PW, Wilder RL, Inflammatory
  mediator-induced hypothalamic-pituitary-adrenal axis activation is defective in streptococcal cell wall
  arthritis-susceptible Lewis rats, Proc Natl Acad Sci U S A. 1989 Apr;86(7):2374-8; Miech RP,
  Pathophysiology of mifepristone-induced septic shock due to Clostridium sordellii, Ann Pharmacother.
  2005 Sep;39(9):1483-8. Epub 2005 Jul 26.
  82
     Aronoff DM et al., Misoprostol impairs female reproductive tract innate immunity against clostridium
  sordellii, 180 J. Immunol. 8222-8230 (2008).


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                                              Add. 208
                                                                                                      EX. 35 pg. 017
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       Despite the clear methodological errors, including a failure to accurately diagnose
  fetal death according to accepted criteria as well as lack of adherence to the stated
  inclusion criteria, and despite the absence of power to evaluate safety, abortion advocates
  are calling for the routine use of mifepristone to manage spontaneous miscarriages.83 Any
  change in spontaneous miscarriage management with mifepristone should require an
  FDA New Drug Application (NDA) with two randomized controlled trials (RCTs)
  comparing the arms of mifepristone and misoprostol, misoprostol alone, surgical
  management, and expectant management. Without blinded RCTs to evaluate not only
  efficacy but also safety, it is premature to remove the REMS for Mifeprex to facilitate
  mifepristone access for spontaneous miscarriage management.

     Despite the presence of serious risks and contraindications to the Mifeprex regimen,
  Gynuity, the University of California, San Francisco (UCSF), and other abortion
  advocates want the FDA to eliminate the remaining safeguards that were enacted to
  ensure the safety and efficacy of Mifeprex. They are pursuing their goals through
  publication, advocacy, litigation,84 and/or controversial research enabled by FDA.85

     Further, as Section II.B below explains, lifting the REMS is only the starting point for
  abortion advocates.

       B. Continue limiting the dispensing of Mifeprex to patients in clinics, medical
          offices, and hospitals, by or under the supervision of a certified prescriber.

          1. Mifeprex should be dispensed only in clinics, medical offices, and hospitals.

      The Mifeprex REMS requires that Mifeprex “be dispensed to patients only in clinics,
  medical offices and hospitals, by or under the supervision of a certified prescriber.” That
  prescriber must be capable of assessing the duration of a pregnancy accurately,
  diagnosing ectopic pregnancies, and providing or referring for surgical intervention in
  cases of incomplete abortion or hemorrhaging.86

      Abortion advocates, however, want the FDA to permit healthcare providers to
  prescribe Mifeprex to pregnant patients over the Internet or phone, with the drug
  available at pharmacies or through the mail, and through advance provision (i.e., before a
  patient is pregnant). Eliminating or relaxing the REMS to facilitate Internet or telephone
  prescriptions would be dangerous to women and adolescent girls. Healthcare providers

  83
     Molly Walker, Mifepristone: Better for Managing Early Miscarriage, Medpage Today, (June 6, 2018),
  https://www.medpagetoday.com/obgyn/pregnancy/73336.
  84
     Chelius v. Azar. CIV. NO. 1:17-cv-00493-DKW-KSC (Dist. Ct. HI 2018).
  85
     See Section II.B, below.
  86
     Mifeprex Risk Evaluation and Mitigation Strategy (REMS),
  https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-29_REMS_full.pdf.


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  prescribing abortion-inducing drugs over the Internet or phone or before a patient is even
  pregnant cannot adequately evaluate patients for contraindications to the drugs.87 Further,
  as discussed above, Rh-negative patients must be administered Rhogam in order to
  prevent Rh isoimmunization in subsequent pregnancies. Without direct patient contact,
  women will not receive the Rhogam after the abortion, greatly increasing their risk of
  subsequent Rh isoimmunization, which can endanger future pregnancies.88 [See Section
  I.B.2, supra.]

      Telemedicine abortion further distances women from the practitioners responsible for
  caring for them, and approval by FDA would further absolve abortion providers of
  responsibility for the well-being of their patients. Promoting telemedicine abortion to
  women and adolescent girls in rural areas with limited access to healthcare is extremely
  dangerous—they will have little recourse if they face known and predictable emergency
  complications such as severe hemorrhage.89

      Nonetheless, Gynuity Health Projects and researchers from UCSF obtained approval
  from FDA through Investigational New Drug Applications (INDs) to conduct studies that
  do not comply with the Mifeprex REMS. They will use the results of these studies to
  press for the elimination of the Mifeprex REMS.

               a. The “TelAbortion” Direct-to-Consumer Mifeprex Study

      Gynuity Health Projects is the sponsor of the study “Feasibility of Medical Abortion
  by Direct-to-Consumer Telemedicine.” 90 Gynuity filed an IND with the FDA. 91 The
  status is listed as “recruiting,” with age eligibility that includes 11-year-old children and
  an estimated enrollment of 1,000 participants at five locations.92 The start date is listed as
  March 22, 2016, and the estimated completion date was extended from June 2018 to June
  2019.

      The study’s brief summary states: “This pilot study is designed to obtain preliminary
  data on the safety, acceptability, and feasibility of direct-to-consumer telemedicine

  87
     Harrison & Norton Testimony, p. 2.
  88
    ACOG Practice Bulletin 181: Prevention of Rh D Alloimmunization (Aug. 2017);
  and SOGC Clinical Practice Guidelines: Prevention of Rh Alloimmunization (No. 133, Sept. 2003).
  89
     Harrison & Norton Testimony, p. 9.
  90
     (NCT02513043), https://www.clinicaltrials.gov/ct2/show/NCT02513043?term=NCT02513043&rank=1.
  91
     Raymond EG, Chong E, & Hyland P, Increasing Access to Abortion with Telemedicine, JAMA Internal
  Medicine Vol. 176, N. 5 (May 2016).
  92
     Hawaii – University of Hawaii Women’s Options Center; Maine – Maine Family Planning; New York –
  Choices Women’s Medical Center (active, but not recruiting according to ClinicalTrials.gov, and not listed
  on TelAbortion.org); Oregon and Washington – Planned Parenthood Columbia Willamette; Oregon Health
  and Sciences University Women’s Health Research Unit. Washington State patients may also participate
  because an Oregon abortion provider is also licensed in Washington State. Claire Lampen, Webcam
  Abortion Services Offer Crucial Access—So What’s Stopping them? Gizmodo (Apr. 17, 2018).


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  abortion.”93 The study’s website states that “[a] TelAbortion involves all the same steps
  and procedures as a regular medical abortion, but you do them without going into an
  abortion clinic.”94

      Women who participate in the study have a video “evaluation” with the study
  abortion provider over the Internet, during which they can ask questions, provide medical
  history, and learn about the pre-abortion tests that they need. They also electronically
  sign consent forms for the study. Afterwards, they are required to obtain the tests and
  direct the reports to be sent to the study provider.

      Once a patient is determined eligible, the study provider will send her a package
  containing Mifeprex and misoprostol, with instructions that she must follow on her own.
  She is also instructed to have additional tests to verify that the abortion is complete, and
  later have another consultation with the study provider to review the results.95

      Obviously, a woman may not take the abortion drugs in the manner prescribed, nor
  obtain the follow-up care that is recommended. With a doctor-patient relationship limited
  to online chats, she has virtually no accountability or support as she navigates a
  complicated procedure. The responsibility of the provider of the drugs to follow up with
  the patient is obviated as well.

              b. The Mifeprex through Pharmacy Dispensing Study

          The University of California, San Francisco (UCSF) is the sponsor of the
  “Alternative Provision of Medication Abortion via Pharmacy Dispensing” study. 96
  Daniel Grossman, M.D., with UCSF is listed as the study’s “responsible party.”97 Like
  Gynuity, UCSF filed an IND with the FDA to obtain authorization for this study.98 The
  status is listed as “recruiting,” with July 2019 as the estimated completion date. The
  sponsors plan to recruit 300 patients at four study clinic sites and survey 50 pharmacists
  at associated study pharmacy sites.99




  93
     NCT02513043, https://www.clinicaltrials.gov/ct2/show/NCT02513043?term=NCT02513043&rank=1.
  94
    TelAbortion: The Telemedicine Abortion Study: FAQs, http://telabortion.org/faq/.
  95
     Id.
  96
     NCT03320057, https://www.clinicaltrials.gov/ct2/show/NCT03320057?term=NCT03320057&rank=1;
  Daniel Grossman, MD, Research Protocol: Alternative Provision of Medication Abortion via Pharmacy
  Dispensing, Version #:1.3 (JUL. 17, 2018) p. 5.
  97
     Id.
  98
     In a May 2018 phone conversation with a contact for the UCSF study, she stated that the study was
  approved through an IND application with FDA.
  99
     Grossman, pp. 5-7; 16-17.


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                                           Add. 211
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      The stated aim of the study is to “investigate the feasibility, acceptability, and
  effectiveness of pharmacy dispensing of Mifeprex; safety data will also be collected. . . .
  The results of this study eventually could lead to changes in the Mifeprex REMS. . . .”100

      The sponsors intend to measure “pharmacist satisfaction with dispensing Mifeprex
  and the proportion of pharmacists who refuse to dispense the medication to patients.”
  They secondarily intend to assess patient satisfaction, describe clinical outcomes,
  including effectiveness and adverse events, and compare pharmacists’ knowledge about
  medication abortion before and after.101

      Patients enroll at one of the study clinic sites on Day 1, where they choose medication
  abortion, have an ultrasound if one has not been done, and obtain pre-abortion
  counseling. They then are prescribed Mifeprex, misoprostol, and anything else necessary
  to be filled at the associated study pharmacy site.102 Some patients have serum hCG
  measured on the day of Mifeprex administration and again around eight days later “to
  assess for completion of the abortion.”103 The “follow-up” for patients “may include a
  follow-up visit or a phone call from clinic staff approximately 7-14 days after the initial
  visit.”104 However, as discussed extensively above, a clinician needs to perform an exam
  to rule out retained tissue—even if the patient has a negative serum hCG. A phone call
  that “may” be placed, or fail to connect, is not enough.

      Notably, “[a]ll except one of [the participating] pharmacies is [sic] located within the
  same building as the clinic….”105 While UCSF is using a community pharmacy not
  affiliated with the University, the other three study clinic sites are using affiliated
  pharmacies.106



  100
      Grossman, p.14 (emphasis added). The sponsors dubiously assert that “pharmacy dispensing could []
  help increase the number of clinicians willing and able to provide medication abortion by enabling them to
  avoid the associated costs and logistical challenges of stocking and dispensing the medication at their
  facilities.” They reference a survey of Fellows of the American College of Obstetricians and Gynecologists
  that sought to determine if doctors not presently practicing abortion would prescribe Mifeprex if their
  patients could obtain the drug at a pharmacy. Fifty-four percent responded to the survey. Seventy-seven
  percent of respondents do not perform abortions and nine percent perform surgical abortions only—of
  those, 19% said they would prescribe Mifeprex if it could be obtained at a pharmacy, and an additional
  18% said they were unsure. Based on this, the sponsors claim “the proportion of obstetrician-gynecologists
  providing [Mifeprex] would at least double (from 14% to 29%) “if the dispensing restriction in the REMS
  were removed and physicians could write a prescription for Mifeprex that could be dispensed at a
  pharmacy.” The fact that 46 percent of the fellows surveyed did not take the time to respond, however,
  places this conclusion in doubt. See Grossman, pp. 12-14.
  101
      Grossman, pp. 15-16.
  102
      Grossman, p. 23.
  103
      Grossman, p. 23.
  104
      Grossman, p. 24.
  105
      Grossman, p. 20.
  106
      Grossman, pp 16-17.


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      While the rationale for the study states that pharmacy dispensing of Mifeprex could
  “help facilitate provision of medication abortion through telemedicine,”107 the sponsors
  emphasize that the only difference between this study and FDA protocol “is that the
  patient would obtain the mifepristone directly from the pharmacist, rather than in a clinic
  facility.”108 In fact, the schedules for the participating pharmacists are “mapped” to
  “ensure that trained pharmacists are available to dispense to study participants during
  business hours.”109

      The following demonstrates the extensive assistance that the sponsors offer patients
  in obtaining the drugs from the participating pharmacies:

          [The patient] will be told that only a limited number of pharmacies are
          able to dispense Mifeprex and given information about how to get to the
          participating pharmacy (as well as the hours during which a participating
          pharmacist will be working, if needed). If there are any gaps in staffing at
          the pharmacy, the patient will be notified of the timing of those gaps in
          coverage before leaving the clinic via the pharmacy directions/handout. If
          this will be an issue for the patient, a solution will be found at the clinic
          before the patient leaves or she will not be enrolled in the study. Patients
          will be told that if they have any problems accessing the medications at
          the clinic, they should come back to the clinic [where they can obtain
          Mifeprex].110

      While this assistance may ensure that the study does not deviate dramatically from
  FDA protocol, the study certainly does not model the experience a patient would have
  outside of this controlled environment—particularly a patient who obtains Mifeprex
  through telemedicine and has no physical contact with her prescriber.

       The physical proximity of the study pharmacy sites to the study clinic sites, the
  probable professional associations between participating doctors and pharmacists, and the
  extensive assistance offered by the clinics to ensure that patients access abortion-inducing
  drugs at participating pharmacies, raise questions as to whether the study is
  fundamentally biased and will inaccurately forecast widespread behavior and experiences
  if the REMS is removed. Therefore, any results of the study cannot provide a justification
  for permitting pharmacy distribution of Mifeprex, much less abortion through
  telemedicine.



  107
      Grossman, p. 6.
  108
      Grossman, p. 6.
  109
      Grossman, p. 18.
  110
      Grossman, pp. 19-20.


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                                       Add. 213
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      Further, as discussed below, eliminating the REMS to enable pharmacy dispensing of
  Mifeprex is only the beginning of a long-term strategy to achieve over-the-counter status
  for Mifeprex, further diminishing patient care and abortion provider accountability.

               c. Beyond the Current Studies

      A recent article by Dr. Grossman and colleagues reveals that they want Mifeprex
  access extended even beyond the parameters contained in their Pharmacy Dispensing
  study. They used an online survey to gauge women’s “personal interest in and general
  support for three alternative methods for accessing abortion pills: (1) in advance from a
  doctor for future use, (2) over-the-counter (OTC) from a drugstore and (3) online without
  a prescription.”111

      None of the options in the survey require a healthcare provider to provide patient care
  comparable to even the inadequate care provided in the two studies discussed above.
  Only the first option requires a prescription from a doctor; however, the doctor would not
  know in advance when his patient actually becomes pregnant and chooses to use the
  drugs. The survey disingenuously stated that “[m]edication abortion, or the abortion pill,
  is a safe and effective way to terminate a pregnancy up to 10 weeks,” without informing
  participants of a single risk associated with the regimen.112

     Further, in a November, 21, 2018 op-ed, Dr. Grossman advocated for providing
  abortion pills before women are pregnant. He stated:

          The idea is simple: Give women abortion pills before they need them –
          “advance provision,” as it’s known – so that they can take them as soon as
          they discover a pregnancy. Women could get the pills from their
          gynecologist at the time of their annual exam, say, or the pills could be
          made available online.113

      Incredibly, Dr. Grossman stated that he has “few medical concerns about handing out
  abortion pills in advance.”114 He asserts that evidence from advance provision research
  “could strengthen the case for making [abortion-inducing drugs] available without a
  prescription.”115


  111
      Biggs MA, et al, Support for and interest in alternative models of medication abortion provision among
  a national probability sample of U.S. women, Contraception (2018),
  https://doi.org/10.1016/j.contraception.2018.10.007.
  112
      See id.
  113
      Daniel Grossman, American women should have access to abortion pills before they need them, Los
  Angeles Times (Nov. 21, 2018).
  114
      Id.
  115
      Id.


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                                             Add. 214
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     In addition to his failure to address all of the dangers posed by abortion-inducing
  drugs, Dr. Grossman does not acknowledge the risk that women will share their abortion-
  inducing pills with other women. While an abortion provider may screen his patient for
  contraindications to Mifeprex, nothing will stop his patient from giving her stored
  Mifeprex to a friend who is unaware that she is Rh negative, for instance, which poses
  health risks for future pregnancies (See section I.B.2, supra).

      In fact, Dr. Grossman’s research program has listed a study titled “Alternative
  Provision of Medication Abortion Via Advance Provision” on ClinicalTrials.gov, with
  May 2019 listed as the estimated study start date.116 In the study, patients who are “at risk
  of unintended pregnancy and with a desire to avoid pregnancy will be assessed by a
  clinician and provided counseling on pregnancy recognition and testing, as well as how to
  administer [drug-induced abortion] at home.” They will then receive Mifeprex and
  misoprostol while not pregnant. If/when the patient becomes pregnant and wants to take
  the drugs, she is instructed to contact a study clinician for an “over-the-phone assessment
  of eligibility” for drug-induced abortion, “including evaluation of contraindications and
  gestational age” before taking the drugs, and “then attend a follow-up visit with the
  clinician.”117 However, it is impossible for the study sponsors to truly assess the patient
  for contraindications, verify gestational age, prevent patients from sharing the drugs with
  others, or ensure that patients attend a follow-up visit.

     In a 2018 Policy Review, the Guttmacher Institute also advocated for lifting the
  Mifeprex REMS. However, the article did not stop there. The author argues:

          [w]hile lifting the REMS on mifepristone would open new possibilities for
          medication abortion access, stopping there would fall short of realizing the
          full potential of this method, particularly when it comes to self-managed
          abortion care. In a self-management model, anyone who needs to
          terminate a pregnancy would be able to legally access mifepristone and
          misoprostol without a requirement to see a health care provider or
          pharmacist first. . . . To fully integrate self-managed medication abortion
          with existing abortion practices in the United States, misoprostol and
          mifepristone must first become available without a prescription.118

      These recent publications demonstrate how abortion advocates will continue to
  pressure FDA to eliminate the REMS and move towards over-the-counter access for
  Mifeprex. In spite of the serious risks and contraindications to the Mifeprex regimen,
  abortion advocates will not rest until Mifeprex is available to all, without a prescription
  116
      NCT03829696, https://clinicaltrials.gov/ct2/show/NCT03829696?term=NCT03829696&rank=1.
  117
      Id.
  118
      Donovan MK, Self-Managed Medication Abortion: Expanding the Available Options for U.S. Abortion
  Care, Guttmacher Policy Review, vol. 21 (2018).


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                                          Add. 215
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  or mandatory medical management of any kind. The FDA’s vigilance in protecting
  women from such negligence is critically important.

          2. Mifeprex Prescribers Should be Certified.

      The 2016 regimen requires Mifeprex prescribers to be certified as qualified. This is
  simply common sense—only healthcare providers qualified to prescribe an abortion-
  inducing drug should do so. The prescriber form attests that the healthcare provider must
  be able to assess pregnancy duration, diagnose ectopic pregnancy, and provide or refer
  for surgical intervention if necessary.

     Given that drug-induced abortion is contraindicated beyond 10 weeks’ gestation and
  when the pregnancy is not in the uterus, and that at least 1 out of 100 women using
  Mifeprex need surgery, 119 these qualifications are entirely logical. Yet, abortion
  advocates, ignoring the best interests of their patients, claim such restrictions are
  onerous.120

  CONCLUSION

      The Mifeprex REMS with ETASU remains critical for patient safety. Mifeprex
  carries risks of life-threatening hemorrhage, infection, continued pregnancy, retained
  tissue, need for emergency surgery, and death. The 2000 regimen provided significantly
  more protections for patients than the 2016 regimen. FDA should restore and strengthen
  elements of the Mifeprex regimen and provider requirements, including: limiting
  Mifeprex use to 49 days’ gestation; requiring that Mifeprex be administered only by or
  under the supervision of a physically present physician; requiring three office visits by a
  patient who has been prescribed Mifeprex; clarifying that Mifeprex use is contraindicated
  for patients who do not have convenient access to emergency medical care; expanding
  mandatory adverse event reporting; and requiring additional studies of Mifeprex use in
  at-risk populations.

      At the very least, FDA should not further erode patient protections. The agency
  should retain the Mifeprex REMS, and continue limiting the dispensing of Mifeprex to
  patients in clinics, medical offices, and hospitals, by or under the supervision of a
  certified prescriber.




  119
      Mifeprex Risk Evaluation and Mitigation Strategy (REMS),
  https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-29_REMS_full.pdf.
  120
      Mifeprex REMS Study Group, Sixteen Years of Overregulation: Time to Unburden Mifeprex, N Engl. J.
  Med. 376;8 (Feb. 23, 2017).


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                                          Add. 216
                                                                                               EX. 35 pg. 025
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                                 C. Environmental Impact

  This petition is categorically excluded under 21 C.F.R. § 25.30.

                                    D. Economic Impact

  Available upon Commissioner’s request, pursuant to 21 C.F.R. §10.30(3).

                                      E. Certification

  The undersigned certify, that, to the best knowledge and belief of the undersigned, this
  petition includes all information and views on which the petition relies, and that it
  includes representative data and information known to the petitioners, which are
  unfavorable to the petition.

  Signature: /s/ Donna J. Harrison M.D., Executive Director

  Name of petitioner: American Association of Pro-Life Obstetricians and Gynecologists

  Mailing address: PO Box 395, Eau Claire, MI 49111-0395

  Telephone number: (202) 230-0997

  Signature: /s/ Quentin L. Van Meter, M.D., FCP, President

  Name of petitioner: American College of Pediatricians

  Mailing address: PO Box 357190, Gainesville, FL 32635-7190

  Telephone number: (352) 376-1877




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        This report explores the Food and Drug Administration’s activities as they relate to RU-
486 – the abortion pill – including the highly unusual process by which the drug was approved,
the failures to ensure that the drug is dispensed as the Food and Drug Administration (FDA)
requires, the subsequent illnesses, hospitalizations and deaths known to be associated with the
drug and the failure to provide any meaningful restrictions despite evidence of its association
with a 100% fatal septic infection.

        On May 17, 2006, Congressman Mark Souder, Chairman of the Subcommittee on
Criminal Justice, Drug Policy and Human Resources (“Subcommittee”), House Committee on
Government Reform, convened a hearing to inquire into the safety of the FDA-approved drug
Mifeprex (the trade name for mifepristone) commonly known as RU-486. The hearing was
entitled, “RU-486 - Demonstrating a Low Standard for Women’s Health?” The Subcommittee’s
hearing followed several months of investigative inquiries with the FDA after the Agency’s July
2005 disclosure that four women had died of a septic infection after taking RU-486 to induce an
abortion. 1

        This Subcommittee Staff Report (“Report”) provides background information about RU-
486, including the reasons the drug was brought to market. It also explores the allegation that
FDA disregarded various statutes and rules in the RU-486 approval process, and it examines RU-
486’s safety record in the United States. The accumulation of safety data from “real world” use
of the drug in America has allowed Subcommittee investigators to more completely grasp FDA's
understanding of the risks posed by RU-486 when it approved the drug on September 28, 2000.

      Based on the significant demonstrated danger this drug poses to women, the Report
examines options for withdrawing this drug from the market.



       RU-486 is the common name for mifepristone, which in the United States is marketed
under the trade name Mifeprex. Shanghai HuaLian Pharmaceutical Co., Ltd. 2 of China produces
the drug, which is imported and distributed by Danco Laboratories, 3 a corporate entity located in
the Caribbean nation of the Cayman Islands. RU-486, Danco’s sole product, 4 is approved for the

1
 FDA Public Health Advisory: Sepsis and Medical Abortion, July 19, 2005. Available at
http://www.fda.gov/cder/drug/advisory/mifeprex.htm (last visited October 14, 2006).
2
  Letter from David W. Boyer, Assistant Commissioner for Legislation, Food and Drug Administration, to Senator
Jim DeMint (August 11, 2006) (on file with Subcommittee).
3
 See, Foes criticize Chinese manufacture of abortion pill for U.S., CNN.com, (Oct. 13, 2000) at
http://archives.cnn.com/2000/HEALTH/women/10/13/abortionpill.plant.ap/index.html (last visited October 10,
2006).
4
 Unlike other drug companies with multiple products that are approved by or in application before the FDA--and
which therefore cooperate with the FDA to withdraw drug products when recognizable problems arise--Danco has


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                                              Add. 220
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termination of an established pregnancy through 49 days development (LMP), 5 when used in
conjunction with the prostaglandin, misoprostol. 6

        RU-486 terminates pregnancy by blocking progesterone receptors in the uterus, a
hormone necessary for the maintenance of pregnancy. 7 This leads to degeneration of the uterine
lining, blocking nutrition to the prenate, thus resulting in its death. 8 Mifeprex is used in
combination with a prostaglandin called misoprostol, which causes contractions that expel the
contents of the uterus.9 This is an off-label use for misoprostol, which contains an FDA-
mandated black-box warning against using the drug during pregnancy. 10

       Under the protocol approved by the FDA – one considerably less stringent than the
agency’s proposed protocol leaked to the public a few months prior to approval – if the patient is

no other products for which it must be answerable to the FDA. See also, Rogoff, Natasha L, Haven or Havoc?, PBS
Frontline, February 19, 2004 at http://www.pbs.org/wgbh/pages/frontline/shows/tax/schemes/cayman.html.



5
 FDA Approval Memo (September 28, 2000); “LMP” refers to the first day of the last menstrual period, and is the
customary measure of gestational age, from approximately 14 days pre-fertilization of the conceptus.
6
  The FDA examined misoprostol to see if the deadly Clostridium Sordellii bacteria that killed four California
women after taking RU-486 was associated with misoprostol, rather than the Mifeprex: “An FDA Public Health
Advisory in mifepristone dated July 22, 2005 reported 4 cases of septic death in California following the use of
mifepristone and intravaginal misoprostol for medical abortion. For this reason, DRUP [Division of Reproductive
and Urologic Products] and DDRE [Division of Drug Risk Evaluation] met on July 19, 2005, to discuss searches of
the AWRS database to further investigate this cluster of repo0rts. At this meeting, DDRE agreed to provide 3
consults to examine this issue… The proposed consults were as follows:
         Consult #1: Review of all reports of serious infections with misoprostol in women of childbearing age
         Consult #2: Review of all reports for suspected intravaginal products with a fatal outcome
         Consult #3: Review of all serious, unusual infections with intravaginal products.”
“This review did not identify any new safety signal associated with intravaginal product administration, especially in
regards to infection or pregnancy status.” FDA Office of Drug Safety Postmarketing Safety Review, December 8,
2005 (on file with the Subcommittee).
The FDA also tested the manufacturing lots from which the misoprostol was distributed and eliminated that drug
product as a source of contamination that would have caused the fatal C. Sordellii infections. See Marc Fischer,
M.D., M.P.H., CDC, Clostridium sordelli Toxic Shock Syndrome Following Medical Abortion, Public Workshop on
Emerging Clostridial Disease,” (CDC Conference Center: Atlanta, Georgia, May 11, 2006). Available at
http://www.fda.gov/cder/meeting/clostridial/fisher.pdf (last visited October 20, 2006).
7
 See., e.g., University of Chicago Department of Obstetrics and Gynecology, Information on Hormonal Imbalance,
available at http://babies.bsd.uchicago.edu/endo/hormoneImbalance.htm (last visited October 10, 2006).
8
  Etienne-Emile Baulieu, “RU-486 as an Antiprogesterone Steroid: From Receptor to Contragestion and Beyond,”
Journal of the American Medical Assn. 262:13; 1808-1814 (October 6, 1989).
9
  Pfizer (along with their generic subsidiary) and Teva Pharmaceuticals, the makers of misoprostol, have never filed
a New Drug Application to seek approval from the FDA for its use in abortion. It was approved for use with ulcers,
and is contraindicated for pregnancy. Pfizer’s German affiliate recently pulled the drug from the market.
10
  Cytotec (misoprostol) Full Revised Label, April 17, 2002, available at www.fda.gov/cder/foi/label/2002/19268slr
037.pdf (last visited October 10, 2006).



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found to be a candidate for a chemical abortion (according to criteria such as gestational age of
49 days or less, absence of ectopic pregnancy and a host of health contraindications), she is given
600 mg of Mifeprex to consume at once and instructed to return two days later to consume orally
400 mcg of misoprostol. Patients are further instructed to return in 14 days for a follow-up,
which could include a surgical abortion in the three percent to 7.9% of cases in which the
chemical abortion fails. 11

         Many providers, however, deviate from the FDA protocol, extending the RU-486
abortion cut-off to 56 and even 63 days’ gestation, 12 cutting the dose of Mifeprex by two-thirds,
and handing the patient misoprostol pills to insert vaginally at home two days later. 13 Failure
rates at these gestational ages are approximately 17% and 23% respectively.

        In the decade preceding FDA approval of RU-486 for use in the United States, advocates
of RU-486 promoted the drug as a private, easy, safe and effective method of pregnancy
termination,14 offering women the choice of ending pregnancy at an earlier stage and in a less
“invasive,” instrumented manner, when compared to surgical and suction abortion methods. 15 In
sum, the public was told that access to RU-486 had everything to do with women’s privacy and
choices.

        Cited as justification for RU-486 approval and use were the following goals: “defusing
the abortion conflict,”16 putting abortion “into the medical mainstream and out of this ghettoized
place it’s been in,” 17 making “abortion … more socially acceptable,” 18 “expanding the number



11
  See Mifeprex Label (“Medical abortion failures should be managed with surgical termination.” Also, “Each
patient must understand…that medical abortion treatment failures are managed by surgical termination.”) at
http://www.fda.gov/cder/foi/label/2005/020687s013lbl.pdf (last visited October 10, 2006).
12
   Some abortion providers (e.g., Planned Parenthood of New York City at
www.ppnyc.org/services/factsheets/mifep.htm, Capital Care Women’s Center at
www.capitalcarewomenscenter.com/services.php, and Camelback Family Planning at
www.camelbackfamilyplanning.com/abortionpill.html.), even advertise the availability of RU-486 through 63 days
LMP, by which time the rate of incomplete abortion, infection, and other complications rises sharply. In U.S.
clinical trials, the failure rate for RU-486 abortions jumps to 17% at 50-56 days LMP, and to 23% at 57-63 days
LMP, from 8% at 49 days or less. Irving Spitz et al., “Early pregnancy termination with mifepristone and
misoprostol in the United States,” New England Journal of Medicine 1998, 338:1241-47.
13
  Evidence of this method deviation can be found in many Adverse Event Reports, including those reporting on the
deaths of four California women from toxic shock related to C. Sordellii.
14
  Lawrence Lader. RU486: The Pill that Could End the Abortion Wars and Why American Women Don’t Have It.
Reading, Mass.: Addison-Wesley Publ. Co., 1991, 17-26.
15
  Planned Parenthood of New York City Press Release, December 4, 2000: “Women will now have access to this
option of a very safe, early abortion without undergoing an invasive procedure. … By allowing women to take part
in their own care, mifepristone offers women more privacy in their decisions and control over their bodies.”
16
  Margaret Talbot, “The Little White Pill,” New York Times Magazine, July 11, 1999, quoting Seattle abortion
provider Suzanne Poppema, M.D.
17
     Ibid, quoting Carole Joffe, professor of sociology, University of California-Davis.
18
     Ibid.



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of abortion providers” 19 and even advancing the U.S. aim of “population control” 20 in the
developing world. One vocal advocate explained: “Abortion in the U.S. is this degraded,
shameful, violence-surrounded thing. …It’s not like that in Europe. So that makes our context
for medical [e.g., RU-486] abortion unique.” 21 Safety and efficacy questions were brushed aside
with assurances that several hundred thousand women in France and China had already used RU-
486 to induce abortion. 22

        One might reasonably wonder why, when the surgical option is readily available
and exponentially safer, 23 the FDA would approve, or the abortion industry would support, a
chemical procedure that subjects women to increased pain and risk. To answer this question, it is
helpful to understand abortion industry fears concerning the dwindling number of providers, and
to assess the industry’s leverage and access within the FDA.

        The National Abortion Federation reported in May 2004 that the “number of abortion
providers has declined by 37% since 1982.” 24 In 1997, 36% of ob/gyns reported ever
performing elective abortions.25 Among them, 57% were fifty years of age or older and another
30% were 40 or older. 26       In other words, the abortion industry perceived that—unless drastic
measures were taken—it was in danger of losing nearly 57% of its doctors by 2012 and 87% of
its doctors by 2022, significantly reducing the availability of abortion in the United States. 27
19
  Margaret Talbot, “The Little White Pill,” New York Times Magazine, July 11, 1999, quoting Seattle abortion
provider Suzanne Poppema, M.D.
20
  Nathanson, Bernard, “Drugs for the Production of Abortion: A Review,” Obstet & Gyn Survey 25:8; 727-731
(1970); Renate Klein et al., RU 486: Misconceptions, Myths and Morals. Melbourne, Aus.: Spinifex Press, 1991
The book is out of print, but the full text is available at http://www.spinifexpress.com.au/non-fict/ru486.htm (last
visited October 20, 2006) at 59: “It is a further misconception to believe that this [RU-486] research took place in
order to expand or improve women's 'choices' to control their reproduction. Quite unmistakenly, the concept evolved
as a means of population control. More than 20 years ago, the Center of Population Research of the U.S. National
Institutes of Health became interested in the corpus luteum and called for research to determine whether to find
'means to inhibit corpus luteum function is a desirable goal'. The specific intention of such research was to restrict
population growth in countries that were judged to be 'under-developed.’ If successful, the method(s) could be
extended to groups in the United States, Black, Hispanic and Native American Women (Department of Health,
Education and Welfare, NIH, USA, 1969).”
21
  Margaret Talbot, “The Little White Pill,” New York Times Magazine, July 11, 1999, quoting Carole Joffe,
professor of sociology, University of California-Davis.
22
  Lawrence Lader. A Private Matter: RU-486 and the Abortion Crisis. Amherst, N.Y.: Prometheus Books, 1995,
115-117.
23
   The Alan Guttmacher Institute, an affiliate of Planned Parenthood, reports that the mortality rate for women who
procure a surgical abortion is 0.1 in 100,000 during the first eight weeks of pregnancy, the period for which RU-486
is available for women. Dr. Michael Green, based on usage rates of 460,000 and 4 deaths, suggested that the risk of
death from chemical abortion is ten times greater. See, Michael F. Green, M.D., Fatal Infections Associated with
Mifepristone-Induced Abortion, Dec. 1, 2005, N. ENGL. J. MED 353;22 at 2318.
24
 Abortion Access Project, Fact Sheet: The Shortage of Abortion Providers, May 6, 2004, available at
www.abortionaccess.org/AAP/publica_resources/fact_sheets/shortage_provider.htm (last visited October 10, 2006).
25
     Kaiser Family Foundation, Abortion, Issue update, Menlo Park, CA: Kaiser Family Foundation, May 1999.
26
     Ibid.
27
  Lawrence B. Finer and Stanley K. Henshaw, “Abortion Incidence and Services In the United States in 2000,”
Perspectives on Sexual and Reproductive Health, 2003, 35(1):6-15.


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                                                Add. 223
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       The industry, then, out of concern for its own preservation, pinned its hopes on chemical
abortion. A Kaiser Family Foundation survey, for example, noted: “Many reproductive health
groups in the U.S. have looked to widespread availability and marketing of mifepristone … to
expand access to abortion in this country.” 28 Pediatrician Eric Schaff, who oversaw at least one
RU-486 trial, put the matter somewhat more crudely. Objecting to an FDA proposal (never
formally adopted) that any doctor dispensing RU-486 would have to be trained in surgical
abortion, Dr. Schaff explained, “The whole idea of [RU-486] was to increase access. … [The
FDA proposal] kills the drug if it can’t be used by primary care providers.” 29

        Despite the problems associated with RU-486 (discussed in depth in Section III, below),
it looked like a panacea for the abortion industry. Advocates predicted that the number of
providers would increase. The Kaiser Family Foundation stated that one-third of all ob/gyns
who did not perform abortions said they would be “very” or “somewhat” likely to prescribe
mifepristone for abortions if approved by the FDA. 30 Furthermore, rather than limiting abortion
procedures to medical doctors alone, advocates saw an opportunity for nurse practitioners,
nurses, and others to administer abortions to women. 31

        In June 1989, one year after its introduction into the French market, the FDA issued an
import alert on RU-486. The concern was that women would obtain the drug themselves and use
it without support from a physician. The wisdom of this policy is supported by the fact that, as
the RU-486 label states, nearly all users of RU-486 will experience adverse events. 32 But it
wasn’t long before Democrats, led by then-Representative Ron Wyden of Oregon, seized this
opportunity to politicize the approval process.

        Under the auspices of the Committee on Small Business’s Subcommittee on Regulation,
Business Opportunities and Energy, as early as September 18, 1990, Representative Wyden was
investigating the FDA’s import alert on RU-486, alleging that the FDA’s overriding concerns for
the alert were political, rather than medical, and that the actions of the FDA were preventing
cures for several diseases, including breast and brain cancer, Cushing’s disease, glaucoma and




28
  Kaiser Family Foundation, News Release, June 8, 2000, available at www.kff.org/womenshealth/20000613a-
PressRelease2.cfm (last visited October 10, 2006).
29
     Sheryl Gay Stolberg, "F.D.A. Adds Hurdles in Approval of Abortion Pill," New York Times, June 8, 2000.
30
  Kaiser Family Foundation, News Release, June 8, 2000, available at www.kff.org/womenshealth/20000613a-
PressRelease2.cfm (last visited October 10, 2006).
31
   Press release, Ibis Reproductive Health, the National Abortion Federation, and the Abortion Access Project, May
9, 2006, available at www.prochoice.org/news/releases/20060509.html (last visited October 10, 2006).
32
  Mifeprex Label, available at http://www.fda.gov/cder/foi/label/2005/020687s013lbl.pdf (last visited September
28, 2006): “Nearly all of the women who receive Mifeprex and misoprostol will report adverse reactions, and many
can be expected to report more than one such reaction.”




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                                                 Add. 224
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diabetes. Two hearings in his committee followed, one in November of 1990 33 and another in
December, 1991. 34

       Following these hearings, Representative Wyden introduced legislation to prohibit the
FDA from taking any action to bar the import of RU-486 unless the FDA finds that it is being
imported for an illegal use. 35

       It is interesting to contrast the interests of Representative Wyden and the abortion
industry with the concerns of the American Medical Association (AMA), which offered this
view about the health and safety of women who might obtain and use RU-486 without a
physician’s supervision:

           “[I]t is the AMA’s understanding that RU-486 poses a severe risk to patients
           unless the drug is administered as part of a complete treatment plan under the
           supervision of a physician…Rumors exist that the FDA, due to political pressure,
           is standing in the way of research on RU-486. We do not believe this to be true.
           On the contrary, it is the FDA’s responsibility to ban a drug that has not met legal
           and regulatory requirements for importation into the United States. Because RU-
           486 has not met these requirements, the FDA complied with its charge and acted
           well within its authority in issuing its June 9, 1989, automatic detention import
           alert concerning the drug.” 36

        In the meantime, women’s groups orchestrated an offensive consisting of media stunts to
exert political pressure on the FDA. Lawrence Lader, founding chairman of the then-National
Abortion Rights Action League (NARAL), and Ms. Leona Benton, who volunteered to serve as a
“test case,” traveled to Europe to acquire RU-486 with the specific purpose of being
apprehended by Customs agents when they returned on July 1, 1992. 37 Agents seized the pills,
and 45 members of the press showed up to publicize her “plight.”

        Ms. Benton immediately filed suit against the FDA in federal district court (Brooklyn),
and Judge Charles Sifton ruled in her favor on July 14. Before she could physically recover the
confiscated pills, however, government attorneys filed an appeal with the U.S. Court of Appeals
for the Second Circuit, where a three-judge panel reversed Judge Sifton’s order. The U.S.
Supreme Court accepted an expedited appeal and, on July 17, ruled 7-2 against releasing the

33
  RU-486: The Import Ban and its Effect on Medical Research: Hearing before the House Subcommittee on
Regulation, Business Opportunities and Energy, Committee on Small Business, 101st Cong. (Nov. 19, 1990).
34
 Safety and Effectiveness of the Abortifacient RU-486 in Foreign Markets: Opportunities and Obstacles to U.S.
Commercialization: Hearing before the House Subcommittee on Regulation, Business Opportunities and Energy,
Committee on Small Business, 101st Cong. (Dec. 5, 1991).
35
     H.R. 875 “RU-486 Regulatory Fairness Act of 1991,” introduced February 6, 1991.
36
   RU-486: The Import Ban and its Effect on Medical Research: Hearing before the House Subcommittee on
Regulation, Business Opportunities and Energy, Committee on Small Business, 101st Cong. (Nov. 19, 1990)
(statement of Dr. John P. Seward, Board Member, American Medical Association).
37
  Lawrence Lader, A Private Matter: RU 486 and the Abortion Crisis. Amherst, N.Y.: Prometheus Books, 1995,
135-136.



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                                                Add. 225
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pills. 38 In the interim, she and Lawrence Lader gained widespread publicity concerning RU-486
in the media. She had a surgical abortion. 39

       In that same month, Public Media Video released a documentary financed by the Chicago
abortion advocacy group, Women’s Issues Network, entitled, “Science Held Hostage: RU-486
and the Politics of Abortion,” hosted by Cybil Shepard. They held a screening on Capitol Hill.

        In the six years since approval, mounting evidence points unavoidably to one conclusion:
the political motivations for bringing RU-486 to the U.S. market overwhelmed considerations of
women’s health and safety.

        In a September 28, 2000 interview following the announcement of the FDA’s approval of
RU-486, then-FDA Commissioner Dr. Jane E. Henney stated: “Politics had no role in this
decision.” 40 That assurance has been called into question by documents made public this year
which reveal the Clinton Administration’s vigorous role from 1993 forward 41 in facilitating the
abortion drug’s entry and approval. The actors behind these documents approached approval as
a matter of logistics rather than as involving an open-minded scientific inquiry. One
memorandum goes so far as to advise the Administration on how to contextualize the anticipated
FDA approval of the drug in terms of “promoting women’s health and maintaining the close
relationship of the Administration to these [pro-choice women’s] groups.” 42

        However, had the FDA undertaken a thorough review of the scientific literature
evaluating RU-486/prostaglandin abortions before approving RU-486, the agency would have
been alerted to paramount safety concerns. Certainly, the FDA Medical Officer’s Review,
discussed in detail below, falls short of endorsing the safety of RU-486. Even so, only two
additional studies are referenced in the Medical Officer’s Review 43 apart from discussion of the
U.S. clinical trials and the two so-called “pivotal French trials” conducted by the manufacturer.
In light of this omission, and more significantly, in light of the FDA’s approval of RU-486, one
wonders why numerous studies demonstrating the inherent risks to women who undergo RU-486
abortions did not appear to influence the FDA’s decision to approve RU-486.

       And, in fact, such a thorough review of medical and scientific literature on RU-486 had
already been published in 1991 by three women who describe themselves as pro-choice


38
     Benten v. Kessler, 505 U.S. 1084 (1992).
39
     Ibid., at 139.
40
  Gina Kolata, “U.S. Approves Abortion Pill; Drug Offers More Privacy, and Could Reshape Debate,” The New
York Times, September 29, 2000.
41
  See, various documents compiled by Judicial Watch, Inc.. and appended to “A Judicial Watch Special Report: The
Clinton RU-486 Files,” April 26, 2006, available at http://JudicialWatch.org/archive/2006/jw-ru486-report.pdf.
42
 HHS Chief of Staff Kevin Thurm, Memorandum to White House Director of Public Policy Carol Rasco, Subject:
RU-486, dated May 11, 1994.
43
  Beverly Winikoff et al., “The Acceptability of Medical Abortion In China, Cuba and India,” Int Fam Plan
Perspect. (1997) 23:73-78 & 89; and J.T. Jensen et al., “Outcomes of Suction Curettage and Mifepristone Abortion
in the United States,” Contraception (1999): 153-159.



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                                                Add. 226
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feminists. A brief synopsis of some of the studies they review will help set the context for the
discussion of the FDA’s approval process, which follows in Part II (below).

        Renate Klein, 44 Janice G. Raymond 45 and Dr. Lynette J. Dumble 46 co-authored a
“comprehensive literature review and analysis of hundreds of medical and scientific articles on
RU 486/PG [prostaglandin], a large percentage of which have a connection with Roussel
Uclaf,” 47 the pharmaceutical company that developed RU-486 in the 1980s.

        The first clinical trial of RU-486 in humans took place in October 1981 in Geneva,
Switzerland after only 17 months of animal research with rats, rabbits and monkeys, 48 although
the results of animal trials were not such a resounding success that they justified the rush to
human trials. “RU 486 caused the death in two out of three monkeys in toxicity tests,” 49 for
example. None of the eleven women in Geneva who were given 200 mg of RU-486 per day for
three consecutive days died, but only nine pregnancies were terminated (eight after five days and
the ninth at nine days). Furthermore, one woman claimed initially as a “success” later required
uterine evacuation, and another woman needed emergency surgery and a blood transfusion due
to heavy bleeding.50 Klein et al. describe how the Parisian newspaper Liberation reported on the
Geneva trial: “Liberation commented that, given these associated complications and risks, RU
486 was no ‘abortion miracle.’ Liberation also reported that RU 486 is not only an anti-
progesterone but an anti-glucocorticosteroid which can take the place of cortisone in the adrenal
glands, and that contraindications emanating from this double action of the drug could be a
problem,” 51 as it turned out to be for two out of three monkeys.

        Roussel Uclaf staff proceeded next to clinical trials on small groups of women in France,
Sweden, Australia, Holland, the United States of America, England, Finland and China. The
manufacturer supplied RU-486 for these trials, and its staff and consultants co-authored articles
reporting on the results. 52 The success rates (defined as “a complete termination of pregnancy

44
  Ms. Klein is a biologist, professor of sociology and women’s studies and author/editor of numerous books on
reproductive technologies.
45
     Then Professor, University of Massachusetts and associate director of MIT’s Institute on Women and Technology.
46
 Then visiting professor of surgery at the University of Texas and senior research fellow in the University of
Melbourne’s Department of Surgery, Royal Melbourne Hospital.
47
  Renate Klein et al., RU 486: Misconceptions, Myths and Morals. Melbourne, Aus.: Spinifex Press, 1991 The
book is out of print, but the full text is available at http://www.spinifexpress.com.au/non-fict/ru486.htm (last visited
October 20, 2006) at 4.,.
48
     Ibid., at 9-10.
49
  Lawrence Lader. RU486: The Pill that Could End the Abortion Wars and Why American Women Don’t Have It.
Reading, Mass.: Addison-Wesley Publ. Co., 1991, 17-26, at 48.
50
  Renate Klein et al., RU 486: Misconceptions, Myths and Morals. Melbourne, Aus.: Spinifex Press, 1991 The
book is out of print, but the full text is available at http://www.spinifexpress.com.au/non-fict/ru486.htm (last visited
October 20, 2006) at 10, citing Etienne-Emile Baulieu, “RU-486 as an Antiprogesterone Steroid: From Receptor to
Contragestion and Beyond,” Journal of the American Medical Assn. 262:13; 1808-1814 (October 6, 1989)..
51
     Ibid., at 10.
52
     Ibid.



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                                                  Add. 227
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without the need for further medical intervention”) using RU-486 alone ranged from 54% 53 and
61%54 to a high of 85% 55 and 90% 56 -- at best substantially below the 99% success rate for
surgical abortion.

         The Kovacs et al. trial, finding a 61% average efficacy, illustrates some of the risks
encountered in RU-486 use. A total of 37 women “with amenorrhea of 42 days or less” were
given RU-486 twice daily for four days at several different levels of dosage. All patients
attended three follow-up visits at one, two and five-to-six weeks after the “therapy” began. In
three patients (8%) pregnancy was unaffected by the drug. Two patients required blood
transfusion and curettage due to heavy bleeding, and another was found at the second follow-up
visit to have an extra-uterine pregnancy. Kovacs et al. concluded that “treatment with RU 486
may provide a novel therapy for ‘menstrual regulation’ but the efficacy of the treatment needs to
be improved to compete with alternatives such as vacuum aspiration.” 57

       In 1984, researchers in Sweden began using a prostaglandin in conjunction with RU-486
to improve efficacy rates (achieving complete abortions in 32 of 34 women subjects, or 94%),
without, however, having first undertaken basic research into the potential adverse effects arising
from interactions between these drugs. 58

        In late 1988, the French Minister of Health issued approval for the marketing of RU-486
in France. 59 A distinguished committee of scientific and medical experts, which included the
president of France’s National Academy of Medicine, the head of Nephrology Department,
Necker Hospital (Paris), research directors at the (French) National Institute for Health and
Medical Research and National Center for Scientific Research, began reviewing data on 30,000
women who by then had used RU-486. In April 1990, this committee issued its scathing “Report
of the International Inquiry Commission on RU 486”, which faults the approval of RU-486 on
several grounds and which warns of the inherent and well-documented risks of RU-
53
  Herrmann, W.L., Wyss, Rolf, Riondel, A., Philibert, Daniel, Teutsch, Georges, Sakiz, Eduoard and Baulieu,
Etienne-Emile. (1982). Effet d'un stéroide antiprogesterone chez la femme: interruption du cycle menstruel et de la
grossesse au début. C R Acad Sci Paris 294.933-938.[The effect of an anti-progesterone steroid on women:
interruption of the menstrual cycle and early pregnancy. Reports of Proceedings of the Academy of Sciences, Paris].
54
  Kovacs, L., Sas, M., Resch, B.A, Ugocsai, G. Swahn, Marja-Lisa, Bygdeman, Marc and Rowe, PJ. (1984).
Termination of early pregnancy by RU 486 - an antiprogestational compound. Contracep 29.399-410.
55
  Couzinet, Béatrice, Le Strat, Nelly, Ulmann, André, Baulieu, Etienne-Emile and Schaison, Gilbert. (1986).
Termination of early pregnancy by the progesterone antagonist RU 486 (Mifepristone). New England Journal of
Medicine 315.1565-1570.
56
  Grimes, David A., Mishell, Daniel R., Shoupe, Donna and Lacarra, Maria. (1988). Early abortion with a single
dose of the antiprogestin RU-486. American Journal of Obstetrics and Gynecology 158: 1307-1312.
57
  Kovacs, L., Sas, M., Resch, B.A, Ugocsai, G. Swahn, Marja-Lisa, Bygdeman, Marc and Rowe, PJ. (1984).
Termination of early pregnancy by RU 486 - an antiprogestational compound. Contracep 29.399-410.
58
  Bygdeman, Marc and Swahn, Marja-Liisa. (1985). Progesterone receptor blockage: Effect on uterine contractility
and early pregnancy. Contraception 32; 45-51, cited in Klein et al., RU 486: Misconceptions, Myths and Morals.
Melbourne, Aus.: Spinifex Press, 1991 The book is out of print, but the full text is available at
http://www.spinifexpress.com.au/non-fict/ru486.htm (last visited October 20, 2006) at 11.
59
  Report of the International Inquiry Commission on RU 486, April 1990, available at
http://www.trdd.org/RU486/RUCIEE.HTM (last visited Oct. 18, 2006).



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486/prostaglandin abortions. They note cardiovascular and respiratory risks – a full year before
the first such fatality, but already evident from the report of one woman who lapsed into a 36-
hour-long coma during an RU-486 abortion. 60

       Among the many serious issues raised by the International Inquiry Commission on RU
486 are these:

             • the “very strong anti-glucocorticoid” effect of RU-486 (with which the FDA is now
                familiar, following the deaths from septic shock of four California women)
             • the continued uncertainty surrounding RU-486’s mode of action
             • the necessity of using a prostaglandin to achieve marginally acceptable effectiveness,
                in light of the known serious side effects of prostaglandin
             • metrorrhagia in over 90% of cases, lasting from 1 to 35 days (in “many cases an
                emergency ‘Revision Uterine’ [uterine evacuation] was necessary to contain the
                hemorrhaging. In certain cases, the only recourse was an emergency blood
                transfusion, with all the risks this involves.”)
             • “Beyond far heavier risks [compared to] the surgical method … there is – with the
                medicinal method – an uncertainty about the result during 5 to 12 days,” as well as
                     - “failure for 5% of the women who will therefore undergo surgery,
                     - “around 5 to 10% persistent hemorrhages will need medicinal or surgical
                     treatment,
                     - “absolute necessity, some days after abortion, to [perform] an ultrasound
                     examination and a HCG dosage, to be completely sure there [are] no traces of the
                     fetus.”
             • the risks to women who do not return for follow-up treatment
             • recently published studies demonstrating “a strong stimulating effect by RU 486 on
                the growth of a breast cancerous cellular line” 61 and immune system inhibition. 62

        On immune system inhibition, one wonders how the FDA could have failed to take note
of the World Health Organization’s 1991 study, 63 in which “9 of the 341 women (2.6%) with
complete abortion and … 5 of the 17 subjects (29.4%) with incomplete abortion” had to be given
“antibiotic therapy to prevent or cure suspected genitourinary infection” during the six-week
follow-up period. 64 Nearly thirty percent of incomplete abortions involved infection.

      A last example of facts the FDA should have taken into account in the agency’s review of
RU-486 is the personal story of Tamara Keta Hodgson, a nurse who took part in the RU-486

60
     Ibid.
61
   The referenced report cites RT Bowden, JR Hissom, MR Moore. (1989) “Growth stimulation of T47D human
breast cancer cells by the anti-progestin RU-486,” Endocrinology 124; 2642-2644.
62
  BJ Van Voorhis, DJ Anderson, and JA Hill (1989), “The effects of RU 486 on immune function and steroid-
induced immunosuppression in vitro,” J Clin Endocrinol Metab 69:1195-1199.
63
  World Health Organization. (1991) “Pregnancy termination with mifepristone and gemeprost: a multicenter
comparison between repeated doses and a single dose of mifepristone. Fertil Steril 56: 32-40.
64
     Id., at 37.



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trials conducted by Dr. David Grimes in Los Angeles. In a letter published in the Los Angeles
Times under the heading “Pros and Cons of ‘Dr. Grimes’ bitter pill,’ ” Ms. Hodgson writes:

              I took RU-486 in December, 1986, when I was three weeks pregnant. Twenty-
           four hours later I began to have severe cramping and started vomiting. When this
           had gone on for 10 to 12 hours, a friend took me to the County-USC Emergency
           Room. After an excruciating pelvic exam, I was given a shot of Demerol, which
           did nothing, and a prescription for a prostaglandin inhibitor to slow down the
           process, which did relieve the pain. I had mild bleeding for a few days and then
           six days after taking the drug, I began to hemorrhage. I continued to bleed or spot
           until mid-March, 1987.

              I'm not sure why I had such an extreme response. I chose to take the drug
           rather than have a surgical abortion because it had been presented to me as a
           relatively benign experience. I also thought it might help advance the causes of
           both science and women.

              Do I think RU-486 should be licensed in the United States? I'm not sure. I had
           access to many resources not available to the general population of women who
           might take this drug. I am a registered nurse who works at one of the most
           sophisticated hospitals in the world. I was cared for by the research team
           investigating the drug. I had no children who needed to be cared for.

              The same cannot be said for women of the Third World. It also cannot be said
           for women in the United States who do not have access to adequate health care. 65

        Despite all this, what many abortion advocates promoted as a “miracle pill” 66 has turned
out to be anything but. Even before its approval, the medical community knew what American
women would soon learn by experience:
               mifepristone interferes with the body’s immune response 67

65
     Los Angeles Times, May 6, 1990, at E-20.
66
  David Van Biema, “But Will It End the Abortion Debate?” Time, June 14, 1993; available at
http://www.time.com/time/magazine/article/0,9171,978680,00.html (last visited October 20, 2006).
67
  See, Jeanette I. Webster and Esther M. Sternberg, Role of the Hypothalamic-Pituitary-Adrenal Axis,
Glucocorticoids and Glucocorticoid Receptors in Toxic Sequelae of Exposure to Bacterial and Viral Products,
Journal of Endocrinology 2004, 181:207-221 (“Natural and synthetic glucocorticoids protect against the lethal
effects of many bacterial and viral components...agents that block the hypothalamic-pituitary-adrenal axis, as
in…mifepristone…enhance lipopolysaccharide (LPS) and endotoxin lethality and LPS-induced fever. Even the
normally endotoxin-nonresponsive C3H/HeJ mice could be made endotoxin sensitive by RU-486.”). See also,
Ralph P. Miech, Pathophysiology of Mifepristone-Induced Septic Shock Due to Clostridium Sordellii, The Annals of
Pharmacotherapy, September 2005, 39:
           “Mifepristone is a potent progesterone antagonist that, in addition to its ability to block
           glucocorticoid receptors, blocks progesterone receptors...Blockade of progesterone
           receptors…results in rejection of the developing placenta and death of the embryo. Prolonged
           ischemia of the decidua and the embryonic placenta causes necrosis [death] of these tissues.
           Mifepristone also [causes] cervical dilation and liquefaction of the cervical mucus plug. The
           combined loss of a closed cervix and the protective cervical mucus plug permits contamination of


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                                                 Add. 230
                                                                                                       EX. 12 pg. 013
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                  it is more inconvenient than surgical abortion 68
                  it is more painful 69
                  it is less effective 70
                  it is associated with more adverse events 71
                  it causes more frequent and more severe hemorrhage than its surgical
                  counterpart 72

         the decidua and the intrauterine necrotic cells with aerobic and anaerobic bacteria from the normal
         vaginal flora.”
See also, Sharon Worchester, Mifepristone Deaths Raise Unanswered Questions, Ob. Gyn. News, (October 1, 2005)
at 13. (Quoting Dr. James A. McGregor)(“Mifepristone has multiple pharmacologic properties that may interfere
with innate immune responses to infection, toxin exposures, and inflammatory stimuli.”).
68
  See FDA Medical Officer’s Review of Amendments 024 and 033, Final Reports for the U.S. Clinical Trials
Inducing Abortion up to 63 Days Gestational Age and Complete Responses Regarding Distribution System and
Phase 4 Commitments, Finalized November 22, 1999 (dated January 27, 2000), available at
http://www.fda.gov/cder/foi/nda/2000/20687_Mifepristone_medr_P1.pdf (last visited September 28, 2006):
                   This method of pregnancy termination is of limited value because of the relatively short
        window of opportunity, [sic] in which it can be employed. Its safety and effectiveness is based on
        its use during the seven weeks following the first day of the last menstrual period. This means that
        most women would not suspect that they are pregnant and have a confirmatory pregnancy test
        until at least four weeks after the beginning of their last menses. This, then, leaves only a three
        week period for the women to secure this method of abortion.
        Another disadvantage of this method of pregnancy termination is the need for at least three visits
        to the medical facility [sic] including at least a four hours [sic] stay after the administration of the
        misoprostol.
        In addition, medical follow-up is required to ensure that surgical termination is performed in case
        the medical termination attempt fails since misoprostol has been reported to be teratogenic in
        humans (limb defects and skull defects)...
        [In a comparison of medical termination of pregnancy with surgical termination,] [t]he medical regimen
        had more adverse events, particularly bleeding, than did surgical abortion. Failure rates for medical
        abortion exceeded those for surgical abortion…[and] increased with gestational age. Specific symptoms
        and adverse events, including cramping, nausea, and vomiting, were far more frequent among the medical
        than the surgical abortion patients… On the whole, medical abortion patients reported significantly more
        blood loss than did surgical abortion patients…
69
   See, e.g., B. Elul, et.al, Side Effects of Mifepristone-Misoprostol Abortion Versus Surgical Abortion, Data From a
Trial in China, Cuba, and India, Contraception 59:107-114, 111 (1999): China—60.3% chemical, 36.0% surgical
patients experienced pain / cramps; Cuba—89.2 % chemical, 65.4% surgical; India—61.9% chemical, 36.8%
surgical.
70
  See, e.g., Beverly Winikoff, et. al., Safety, efficacy and acceptability of medical abortion in China, Cuba, and
India: A comparative trial of Mifepristone-misoprostol versus surgical abortion, Am. J. Obstet. Gynecol. 431, 434
(Feb. 1997). Failure Rates: China—chemical 8.6%, surgical .4%; Cuba—chemical 16.0%, surgical 4.0%; India—
chemical 5.2%, surgical 0%.
71
  See, e.g., E. Cabezas, Medical versus surgical abortion, 63 Internat. J Gynecol. & Obstet. Supp. 1, S141, S144
(1999). Cramping: chemical 60.0%, surgical 48.3%; Nausea: chemical 30.6%, surgical 8.9%; Vomiting: chemical
15.1%, surgical 2.0%.
72
  See Ibid., chemical abortion patients experienced 2.3 days of heavy bleeding, 4.8 days of normal bleeding, and 4.9
days of light bleeding compared to 0.3, 1.8, and 3.3 days for surgical, respectively. Furthermore, 50.8% of chemical
abortion patients bled more than expected, compared to 7.3% for surgical patients; and 64.1% of chemical abortion
patients bled longer than expected, compared to 18.7% of surgical abortion patients. See also, Y.F. Chan, et.al.,


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                                                 Add. 231
                                                                                                            EX. 12 pg. 014
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          The safety issues associated with RU-486 are discussed in depth in Section III, below.



        Since FDA approved RU-486 in September 2000, a number of criticisms have been
lodged against FDA alleging procedural irregularities in the approval process. 73 The
Subcommittee investigators were aware of these criticisms and requested information from FDA
regarding the issues raised by opponents of the approval. This section assesses the claims made
and FDA’s responses to the following allegations: 1) that FDA’s approval was based solely on
data from uncontrolled trials; 2) that FDA used Subpart H unlawfully when it approved the drug
and, furthermore, that the clinical data used in support of the application was insufficient to
satisfy Subpart H requirements; and, 3) that FDA unlawfully mandated the unapproved use of a
drug, misoprostol, as part of the RU-486 abortion regimen.

           A. The Approval was Unlawfully Based Solely on Data from Uncontrolled Trials

        FDA’s reputation as the world’s foremost regulator of drug products is based largely on
the rigor which it demands for data submitted in support of drug applications. The law requires,
in Section 505(d)(5) of the Food, Drug and Cosmetic Act, that FDA shall not approve a drug
when “there is a lack of substantial evidence that the drug will have the effect it purports or is
represented to have under the conditions of use prescribed, recommended, or suggested in the
proposed labeling.” 74 “Substantial evidence” means “evidence consisting of adequate and well-
controlled investigations, including clinical investigations, by experts qualified by scientific
training and experience to evaluate the effectiveness of the drug involved . . . .” 75

        Over the years, FDA’s high standard in supervising the production of clinical trial data
has been referred to as its “gold standard.” Typically, FDA requires data from two clinical trials
that are randomized, blinded and controlled against a “comparator” – often a placebo but more
typically an alternative therapy. 76 FDA’s Section 314.126(e) indicates that “[u]ncontrolled

Blood Loss in Termination of Early Pregnancy by Vacuum Aspiration and by Combination of Mifepristone and
Gemeprost, Contraception 47:85-95, 90 (1993): Groups receiving 200mg, 400mg, and 600mg of mifepristone
experienced an average loss of 84.1ml, 99.9ml, and 101.4ml of blood respectively (ranges were 16.8 - 371.3ml, 16.7
- 524.3ml, and 20.8 - 472.4ml, respectively) compared to an average blood loss of 53.2ml for patients undergoing a
vacuum aspiration abortion (range of 29.3ml - 226.0ml).
73
   For example several groups have filed a “citizen petition” with FDA regarding RU-486’s approval. See Citizen
Petition of the American Association of Pro Life Obstetricians and Gynecologists, the Christian Medical
Association, and Concerned Women for America, Request for Stay and Repeal of the Approval of Mifeprex
(mifepristone) for the Medical Termination of Intrauterine Pregnancy through 49 Days’ Gestation, Docket No. 02P-
0377 (filed Aug. 20, 2002) (“Mifeprex Citizen Petition”). On October 10, 2003, these groups filed a response to the
Danco Laboratories and the Population Council’s Opposition to the Citizen Petition which was filed in March 2003.
These documents are available in FDA Docket No. 02P-0377.
74
     21 U.S.C. § 355(d)(5).
75
     21 U.S.C. § 355(d).
76
   FDA issued a guidance document in 1998 (“Guidance for Industry: Providing Clinical Evidence of Effectiveness
for Human Drug and Biological Products,” May 1998)(“FDA Clinical Evidence Guidance”) that outlines the


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                                               Add. 232
                                                                                                      EX. 12 pg. 015
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studies or partially controlled studies are not acceptable as the sole basis for the approval of
claims of effectiveness.” 77 The question of whether the RU-486 trial data was produced solely
by uncontrolled clinical trials was examined by the Subcommittee investigators.

        The French and American trial data were generated by trials in which the participants
were given mifepristone and misoprostol to chemically end pregnancies. The RU-486 regimen
was judged to have been effective, “defined as the termination of pregnancy with complete
expulsion of the conceptus without the need for a surgical procedure.” 78 The studies measured
the rate at which RU-486/misoprostol abortions succeeded or failed at different gestational ages.

        However, neither the French nor American RU-486 trials randomized trial participants
concurrently against either a placebo or the most similar RU-486 alternative, first-trimester
surgical abortion.79 Neither the French trials, 80 nor the American trial was concurrently
controlled. 81 Furthermore, no discussion of controls can be found in FDA analyses of the
French trials 82 or in the Spitz Study 83 that reported the results of the U.S. trial. Thus, the
question arose as to whether the RU-486 trials were in fact uncontrolled.




requirements of its drug trial policies with respect to proving effectiveness. Additionally, FDA has signed on to the
principles enunciated in documents produced by the International Conference on Harmonization on Harmonisation
of Technical Requirements for Registration of Pharmaceuticals for Human Use (“ICH”).
77
     21 C.F.R. § 314.126(e).
78
  Spitz, Bardin, Benton, and Robbins, “Early Pregnancy Termination with Mifepristone and Misoprostol in the
United States,” 338 New England Journal of Medicine (1998), 1241-47.
79
   Blinding would have been very difficult to achieve with respect to the medical personnel performing the surgical
abortion or dispensing the drugs to the patient, but blinding of abortion evaluators might have been achievable. In
any event, scientifically rigorous randomized and concurrently controlled trials could have been performed with
limited or no blinding.
80
   Center for Drug Evaluation and Research, Food and Drug Administration, Statistical Review and Evaluation for
NDA 2-687 (Mifepristone), at 2-4 (May 21, 1996). The French trial is referred to as FFR/91/486/14. Available at
http://www.fda.gov/cder/foi/nda/2000/20687_Mifepristone_statr.pdf.
81
  Letter from David W. Boyer, Assistant Commissioner for Legislation, Food and Drug Administration, to Hon.
Mark E. Souder, Chairman, Subcommittee on Criminal Justice, Drug Policy, and Human Resources (August 17,
2006) (on file with Subcommittee).
82
  Center for Drug Evaluation and Research, Food and Drug Administration, Statistical Review and Evaluation for
NDA 2-687 (Mifepristone) (May 21, 1996). The French trial is referred to as FFR/91/486/14. Available at
http://www.fda.gov/cder/foi/nda/2000/20687_Mifepristone_statr.pdf.
83
 Spitz, Bardin, Benton, and Robbins, “Early Pregnancy Termination with Mifepristone and Misoprostol in the
United States,” 338 New England Journal of Medicine (1998), 1241-47.




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                                                Add. 233
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        At the Subcommittee’s May 17, 2006 hearing, RU-486: Demonstrating a Low Standard
for Women’s Health?, Dr. Woodcock, Deputy Commissioner for Operations for the Food and
Drug Administration, asserted in her written testimony for the Subcommittee that “[FDA’s]
finding of drug effectiveness was based on a comparison to a historical control of the expected
rate of continued pregnancy.” 84

        In response to a post-hearing Subcommittee question, FDA noted that the historical
control, used in the RU-486 clinical trials, comprised of “the well-established data and pool of
medical knowledge concerning both the natural course of pregnancy itself, including the well-
documented rate of spontaneous abortion or miscarriage (less than 20%), and surgical
abortion.” 85 We take this to mean that the spontaneous abortion rate and the rate of induced
abortion were together subtracted from the expected rate of ongoing pregnancy. It is important,
then, to examine the FDA’s claim that the French and U.S. trials were historically controlled.

        First, FDA’s assertion that the French and U.S. trials were historically controlled appears
to be a post hoc assertion. There is no mention of any control group in the Spitz Study; 86 the
word “control” does not appear in the article. Moreover, an FDA statistician reviewing the
French trial data asserted that “[i]n the absence of a concurrent control group in each of these
studies, it is a matter of clinical judgment whether or not the sponsor’s proposed therapeutic
regimen is a viable alternative to uterine aspiration for the termination of pregnancy” 87
(emphasis added). The reviewer made no mention of a historical control to which mifepristone
would be compared, and it is well known that controls have to be specified before trials are
performed. The lack of a prior delineation of the controls demonstrates that FDA’s claims are
not supported by the record.

       Second, the U.S. RU-486 trials were conducted with specific groups of persons excluded.
The Spitz Study 88 lists those disqualified from participation as follows:

        “Women with liver, respiratory, renal, adrenal, or cardiovascular disease,
        thromboembolism, hypertension, anemia, insulin-dependent diabetes mellitus,
        coagulopathy, or known allergy to prostaglandins were excluded, as were women
        less than 18 years of age or those more than 35 years of age who smoked more
84
   See RU-486: Demonstrating a Low Standard for Women’s Health? Hearing before the House Subcommittee on
Criminal Justice, Drug Policy and Human Res., Committee on Government Reform, 109th Cong. (May 17, 2006)
(statement of Janet Woodcock, M.D., Deputy Commissioner for Operations, FDA) Available at
http://reform.house.gov/UploadedFiles/Woodcock%20Testimony.pdf.
85
  Letter from David W. Boyer, Assistant Commissioner for Legislation, Food and Drug Administration, to Hon.
Mark E. Souder, Chairman, Subcommittee on Criminal Justice, Drug Policy, and Human Resources (August 17,
2006) (on file with Subcommittee).
86
 Spitz, Bardin, Benton, and Robbins, “Early Pregnancy Termination with Mifepristone and Misoprostol in the
United States,” 338 New England Journal of Medicine (1998), 1241-47.
87
  Center for Drug Evaluation and Research, Food and Drug Administration, Statistical Review and Evaluation for
NDA 2-687 (Mifepristone) at 7-8 (May 21, 1996). The French trial is referred to as FFR/91/486/14. Available at
http://www.fda.gov/cder/foi/nda/2000/20687_Mifepristone_statr.pdf.
88
 Spitz, Bardin, Benton, and Robbins, “Early Pregnancy Termination with Mifepristone and Misoprostol in the
United States,” 338 New England Journal of Medicine (1998), 1241-47.



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                                              Add. 234
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             than 10 cigarettes per day and had another cardiovascular risk factor. Women
             were also excluded if they had in situ intrauterine devices, were breast-feeding,
             were receiving anticoagulation or long-term glucocorticoid therapy, had adnexal
             masses, had ectopic pregnancies, or had signs or symptoms suggesting they might
             abort spontaneously. 89

        Yet when FDA was asked what populations were excluded from its control group, the
Subcommittee was told that “[a] historical control group does not include specific individuals,
but rather is based on experience historically derived from the adequately documented natural
history of the condition.” 90 FDA made this additional point: “Thus, historical control
populations usually cannot be assessed with respect to certain variables, such as the inclusion or
exclusion of specific sub-populations.” 91 This answer is methodologically insufficient, and it
underscores the conclusion that, regardless of FDA’s statement to the contrary, these trials were
uncontrolled. The trial and control groups must be matched to each other in almost all possible
ways if there is to be a meaningful control. If it was not possible to match the populations with
the historical data set, then a concurrent control should have been used.

        Finally, FDA allowed the use of uncontrolled trials for medical abortion because it
defined the clinical endpoint too restrictively. 92 Neither spontaneous nor medical abortions
produce only simple zero or one outcomes – that is, one-dimensional instances of success or
failure. Not all abortions, whether spontaneous or medical, pass by themselves. Many require
surgical intervention to be completed, or serious complications may ensue. FDA’s cramped
definition of RU-486 “effectiveness” ignores this. 93 A control should have been used in the RU-
486 trial that compared different methods of producing the experimental outcome – first-
trimester pregnancy termination – while assessing each method’s ability to manage highly
predictable, regular complications of medical abortion (i.e., hemorrhage, incomplete abortion).
As the International Conference on Harmonization 94 has noted, “non-defined” external controls
89
     Ibid, at 1241-2.
90
  Letter from David W. Boyer, Assistant Commissioner for Legislation, Food and Drug Administration, to Hon.
Mark E. Souder, Chairman, Subcommittee on Criminal Justice, Drug Policy, and Human Resources (August 17,
2006) (on file with Subcommittee).
91
     Ibid.
92
     Ibid.
93
   Ibid. (“In the case of medical abortion, determining the effectivness of the drug is straightforward, because it is
relatively easy to determine whether the pregnancy has been terminated. Therefore, it is unnecessary to utilize a
randomized clinical trial design.”).
94
  FDA, “International Conference on Harmonisation; Guidance on General Considerations for Clinical Trials,”
Notice, 62 Fed. Reg. 66113 (Dec. 17, 1997) (FDA Guidance (ICH: E8): General Considerations). The International
Conference on Harmonization “is a unique project that brings together the regulatory authorities of Europe, Japan
and the United States and experts from the pharmaceutical industry in the three regions to discuss scientific and
technical aspects of product registration. The purpose is to make recommendations on ways to achieve greater
harmonisation in the interpretation and application of technical guidelines and requirements for product registration
in order to reduce or obviate the need to duplicate the testing carried out during the research and development of
new medicines. The objective of such harmonisation is a more economical use of human, animal and material
resources, and the elimination of unnecessary delay in the global development and availability of new medicines
whilst maintaining safeguards on quality, safety and efficacy, and regulatory obligations to protect public health.”
See www.ich.org (last visited October 10, 2006).


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                                                 Add. 235
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– those in which “a comparator group [is] based on general medical knowledge of outcome” –
are “particularly dangerous” and “such trials are generally considered uncontrolled.” 95 Such a
characterization pertains in instances like this in which the study’s dependent variable (i.e., the
termination of pregnancy ) has been defined so narrowly as to give the false impression of
complete knowledge of a simple medical outcome.

          B. FDA’s Abuse of Subpart H

        RU-486 was approved through an important part of FDA’s drug approval rules called
“Subpart H.” 96 In the Subcommittee’s May 17 hearing, Dr. Woodcock told the Subcommittee,
“FDA approved the Mifeprex NDA [new drug application] under Subpart H at the sponsor’s
request because the Agency determined that post-marketing distribution restrictions on the
product were necessary to ensure its safe use.” 97

         These rules were promulgated by FDA in 1992 as part of an attempt to correct perceived
deficiencies in FDA’s approval process made apparent by the need to quickly develop drugs for
HIV/AIDS patients. However, in order to benefit from the provisions contained in Subpart H
(e.g., its restricted distribution provisions in the case of RU-486) certain conditions must be
satisfied, and in the RU-486 instance, Subpart H was unlawfully used for its approval.

          Inducing Medical Abortion Does Not Qualify for Subpart H

        Supbart H can only be applied to drug products “that have been studied for their safety
and effectiveness in treating serious or life-threatening illnesses….” 98 (emphasis added). FDA
was aware of this requirement, and FDA asserted in its approval memo to the Population Council
“that the termination of an unwanted pregnancy is a serious condition within the scope of
Subpart H….” 99 (emphasis added).

95
   FDA Guidance (ICH E10): Choice of Control Group at 5 (§ 1.3.5). Section 2.5.4 adds the following point to this
discussion: “An externally controlled trial should generally be considered only when prior belief in the superiority of
the test therapy to all available alternatives is so strong that alternative designs appear unacceptable and the disease
or condition to be treated has a well-documented, highly predictable course. It is often possible, even in these cases,
to use alternative, randomized, concurrently controlled designs.”
96
   Medical Officer’s Review of Amendments 024 and 033, Final Reports for the U.S. Clinical Trials Inducing
Abortion up to 63 Days Gestational Age and Complete Responses Regarding Distribution System and Phase 4
Commitments, Finalized November 22, 1999 (dated January 27, 2000), available at
http://www.fda.gov/cder/foi/nda/2000/20687_Mifepristone_medr_P1.pdf (last visited September 28, 2006).. The
Subpart H rules are found at 21 C.F.R. § 314.500ff.
97
   See RU-486: Demonstrating a Low Standard for Women’s Health? Hearing before the House Subcommittee on
Criminal Justice, Drug Policy and Human Res., Committee on Government Reform, 109th Cong. (May 17, 2006)
(statement of Janet Woodcock, M.D., Deputy Commissioner for Operations, FDA) Available at
http://reform.house.gov/UploadedFiles/Woodcock%20Testimony.pdf. We note that the Mifeprex Citizen Petition
references a letter from Sandra Arnold of the Population Council to FDA, dated Sept. 6, 2000, in which she
vociferously protests Mifeprex’s approval under Subpart H. Mifeprex Citizen Petition at 20 (“. . . it is clear that the
imposition of Subpart H is unlawful, unnecessary, and undesirable. We ask FDA to reconsider.”).
98
     21 C.F.R. § 314.500.
99
  Medical Officer’s Review of Amendments 024 and 033, Final Reports for the U.S. Clinical Trials Inducing
Abortion up to 63 Days Gestational Age and Complete Responses Regarding Distribution System and Phase 4


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        Linguistic gymnastics notwithstanding, pregnancy or the termination of pregnancy is not
a “serious or life-threatening illness,” and therefore does not fall within the defined reach of
Subpart H; the term “serious condition” is not found in the Subpart H rule. Subpart H is
intended for the treatment of “serious or life-threatening illnesses,” not conditions. There are
situations in which pregnancies become serious or life-threatening, but the underlying condition
is not “serious or life-threatening.” Moreover, pregnancy itself is not an illness. There are
situations in which serious or life-threatening complications may arise, but these are atypical
events.

       It is difficult to find a credible counter-argument from FDA or any private party
defending the use of Subpart H to approve RU-486. This is not a mere technicality. If the
condition being treated did not qualify for Subpart H approval, then the various restrictions that
could be imposed pursuant to Subpart H to ensure the safe distribution of the drug would not
have been available to the agency.

         The FDA imposed several such restrictions on the distribution of Mifeprex. 100 (These
restrictions, however, are less rigorous than what was initially proposed prior to approval. 101 )

       Mifepristone must be provided by or under the supervision of a physician who meets the
following qualifications:
           Ability to assess the duration of pregnancy accurately
           Ability to diagnose ectopic pregnancies
           Ability to provide surgical intervention in cases of incomplete abortion or severe
           bleeding, or have made plans to provide such care through other qualified physicians,
           and are able to assure patient access to medical facilities equipped to provide blood
           transfusions and resuscitation, if necessary
           Has read and understood the prescribing information of Mifeprex
           Must provide each patient with a Medication Guide and must fully explain the
           procedure to each patient, provide her with a copy of the Medication Guide and
           Patient Agreement, given her an opportunity to read and discuss both the Medication
           Guide and the Patient Agreement, obtain her signature on the Patient Agreement and
           must sign it as well
           Must notify the sponsor or its designate in writing as discussed in the Package Insert
           under the heading DOSEAGE AND ADMINISTRATION in the event of an on-going


Commitments, Finalized November 22, 1999 (dated January 27, 2000), available at
http://www.fda.gov/cder/foi/nda/2000/20687_Mifepristone_medr_P1.pdf (last visited September 28, 2006).
100
  Memorandum from FDA Center for Drug Evaluation and Research to Population Council 6, (Sept. 28, 2000).
Available at http://www.fda.gov/cder/drug/infopage/mifepristone/memo.pdf (last visited October 15, 2006).
101
   FDA “Division Director Memo to File” on Mifepristone NDA, September 17, 1996 (on file with the
Subcommittee): “The applicant has appropriately proposed that drug distribution be limited to licensed physicians
(with prior training in assessing the length of pregnancy, in diagnosing ectopic pregnancy, and in the performanceof
surgical abortion) who will attend educational seminars on the safe use of this regimen.” The final restrictions allow
for distribution under the supervision of a physician, rather than limiting it to licensed physicians, and do not require
educational training on the safe use of the regimen.



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                                                 Add. 237
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               pregnancy, which is not terminated subsequent to the conclusion of the treatment
               procedure
               Must report any hospitalization, transfusion or other serious events to the sponsor or
               its designate
               Must record the Mifeprex package serial number in each patient’s record

       With respect to the aspects of distribution other than physician qualifications described
above, distribution of Mifeprex will be in accordance with the system described in the
Population Council’s submission of March 30, 2000, which includes the following:

               Secure manufacturing, receiving, and holding areas for the drug
               Secure shipping procedures, including tamper-proof seals
               Controlled returns procedures
               Tracking system ability to trace individual packages to the patient level, while
               maintaining patient confidentiality
               Use of authorized distributors and agents with necessary expertise to handle
               distribution requirements for the drug
               Provision of drug through a direct, confidential physician distribution system that
               ensures only qualified physicians will receive the drug for patient dispensing

        In addition, the Population Council agreed to two post-marketing studies on the
effects of RU-486 on women 102 (though earlier reviews considered six post-marketing
studies, four of them were dropped when the drug was approved 103 ). In the six years
since the approval of RU-486, these studies have not been completed. 104

           The RU-486 Trials Did Not Establish a “Substantial Benefit” for Subpart H

         In addition to being intended for drug products studied for their safety and effectiveness
in treating serious or life-threatening illnesses, Subpart H is intended only for those products that
“provide meaningful therapeutic benefit to patients over existing treatments (e.g., ability to treat
patients unresponsive to, or intolerant of, available therapy, or improved patient response over
available therapy.)” 105 FDA’s Approval Memo stated that, for RU-486, “….[t]he meaningful
therapeutic benefit over existing surgical abortion is the avoidance of a surgical procedure.” 106
The French and American clinical trial data did not satisfy the requirements established in the
102
  Memorandum from FDA Center for Drug Evaluation and Research to Population Council 6, (Sept. 28, 2000).
Available at http://www.fda.gov/cder/drug/infopage/mifepristone/memo.pdf (last visited October 15, 2006).
103
   Center for Drug Evaluation and Research, Food and Drug Administration, Office Memo to Population Council
(documenting the approval action for RU-486) September 28, 2000. Available at
http://www.fda.gov/cder/drug/infopage/mifepristone/memo.pdf (last visited October 15, 2006).
104
   Letter from David W. Boyer, Assistant Commissioner for Legislation, Food and Drug Administration, to Hon.
Mark E. Souder, Chairman, Subcommittee on Criminal Justice, Drug Policy, and Human Resources (July 31, 2006)
(on file with Subcommittee).
105
      21 C.F.R. § 314.500.
106
   Memorandum from FDA Center for Drug Evaluation and Research to Population Council 6, (Sept. 28, 2000).
Available at http://www.fda.gov/cder/drug/infopage/mifepristone/memo.pdf (last visited October 15, 2006).



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Subpart H rules for establishing a meaningful therapeutic benefit to patients over existing
treatments.

        First, RU-486 was not approved for a medical indication intended for only the treatment
of patients who were intolerant of surgical abortion. It was approved to treat the general
population of women seeking first-trimester abortions. FDA baldly asserted that there was a
clinical benefit for chemical abortion, and made no effort to produce statistical evidence of an
actual benefit.

         Second, surgery is an integral part of the RU-486 abortion process, because a substantial
proportion of women require D&C’s after beginning the mifepristone regimen. Therefore,
women who have RU-486 abortions must be able to tolerate the surgical procedure. This fact
alone makes it all the more difficult to accept FDA’s bald assertion of a meaningful therapeutic
benefit above that presented by surgical abortion. While such a benefit may exist, the law
requires FDA to make its judgments based on scientific evidence. Subpart H requires that both
safety and effectiveness be established for the Subpart H drug above the existing standard of
care. At the very least, FDA should have required the drug sponsor to conduct non-inferiority
trials to generate data for the drug application.

        Third, even though some women may prefer RU-486 abortions over surgical abortions,
that fact does not establish the existence of a therapeutic benefit in and of itself. One can
imagine numerous ways of delivering therapies that are more desirable for the patient – for
example, pills rather than injection – but FDA must establish this fact statistically.

        Fourth, it appears that no concurrently-controlled trials comparing medical and surgical
abortion were required by FDA, because the Agency already knew that medical abortion—i.e.,
abortion by RU-486—is unambiguously inferior to surgical abortion with respect to safety and
effectiveness. Prior to the approval of the RU-486 NDA, the FDA medical officer made the
following observations about studies that had compared medical and surgical abortion:

        [In a study comparing medical and surgical abortion in India, Cuba, and China (n
        = 1373)], [t]he medical regimen had more adverse events, particularly bleeding,
        than did surgical abortion. Failure rates for medical abortion exceeded those for
        surgical abortion (8.6% versus 0.4% in China, 16.0% versus 4.0% in Cuba, and
        5.2% versus 0% in India)…. Three patients (all medical abortions) received blood
        transfusions. This is a serious potential disadvantage of the medical method. On
        the whole, medical abortion patients reported significantly more blood loss than
        did surgical abortion patients…. 107

        [In another non-concurrent study of 377 patients comparing mifepristone to
        surgical abortion in the U.S patients], [f]our mifepristone patients required
        curettage for acute bleeding while no surgical patients did. Nine mifepristone
107
    Medical Officer’s Review of Amendments 024 and 033, Final Reports for the U.S. Clinical Trials Inducing
Abortion up to 63 Days Gestational Age and Complete Responses Regarding Distribution System and Phase 4
Commitments, Finalized November 22, 1999 (dated January 27, 2000), available at
http://www.fda.gov/cder/foi/nda/2000/20687_Mifepristone_medr_P1.pdf (last visited September 28, 2006).



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              patients required curettage to manage ongoing pregnancy while no surgical
              patients did. Five mifepristone patients required suction curettage because of
              incomplete abortion while no surgical patients did. Fourteen mifepristone and
              eight surgical patients required suction curettage for persistent bleeding. The
              median time delay for therapeutic curettage was significantly longer in the
              mifepristone group than in the surgical group (35 days versus 8 days).
              Mifepristone patients experienced significantly longer postprocedure bleeding
              than did surgical patients. The mean difference in bleeding days between cohorts
              was 9.6 days (95% CI, 6.8, 12.4)…. Overall, mifepristone abortion patients
              reported significantly higher levels of pain, nausea, vomiting, and diarrhea during
              the actual abortion than did surgical patients… Mifepristone patients reported
              more problems during the follow-up interval than did surgical patients. Post-
              abortion pain occurred in 77.1% of mifepristone patients compared with only
              10.5% of surgical patients…. Nausea or vomiting in the follow-up interval was
              common in the mifepristone group (68.6%), but rare among surgical patients.” 108

        Given these comments, it is impossible to conclude that RU-486 medical abortions
provide a meaningful therapeutic benefit over surgical abortion. Consequently, FDA’s approval
of the RU-486 NDA using Subpart H was unjustified and unlawful.

              C. The Highly Unusual Placement of Misoprostol on the Mifeprex Label

        When FDA approved the Population Council’s RU-486 application it also mandated the
use of another drug, misoprostol, as part of a two-drug abortion regimen. The use of misoprostol
was not only an unapproved or off-label use – it was actually contraindicated at that time. 109
This aspect of the approval highlights another irregular component of FDA’s approach to
reviewing the RU-486 NDA. Shortly after FDA’s approval of mifepristone, Peter Barton Hutt, a
former FDA general counsel and noted commenter on food and drug law, told the Wall Street
Journal that FDA appeared to have created “an extraordinary precedent”, because FDA was
“seemingly encouraging a drug’s unapproved use.” 110 He added that the agency is in an
“embarrassing and uncomfortable position.” 111

        The Subcommittee’s questions to FDA on this matter have produced some information
but no clear sense as to what FDA’s policy is with respect to placing off-label or contraindicated
drug uses on another drug’s label. 112


108
      Ibid.
109
   On April 17, 2002, the misoprostol label was amended to remove “the contraindication and precaution that
Cytotec should not be used in women who are pregnant.”
110
   Rachel Zimmerman, “Clash Between Pharmacia and FDA May Hinder the Use of RU-486,” Wall Street Journal
(Oct. 18, 2000): at B1.
111
      Ibid.
112
   In addition to questioning the FDA on this matter, the Subcommittee has looked for, and failed, to find any FDA
Guidance documents on this topic.



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                                               Add. 240
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        Attention is drawn to two problems. First, it is well known that the NDA-holder for
misoprostol (Searle) did not want to have its product used or labeled to reflect off-label uses as
an abortifacient. 113 Thus, FDA mandated misoprostol’s use in this abortion regimen and placed
information about Searle’s product on the Mifeprex label. Second, the entire edifice of FDA’s
regulation of drugs rests on the principle that only indications whose effectiveness has been
demonstrated with “substantial evidence” may be placed on the label. FDA has procedures by
which new indications can be approved using the supplementary new drug applications. No
supplementary drug application was ever filed for misoprostol’s use as an abortifacient.

       In her prepared testimony before the Subcommittee, Dr. Woodcock noted that the FDA
was “aware that questions ha[d] been raised about the use of misoprostol, a drug indicated for the
prevention of NSAID-induced gastric ulcers, in the medical abortion regimen with mifepristone,
without a separate approval and labeling of misoprostol for this use.” 114 She then observed that
numerous cases existed “where the labeling of one drug recommends its use with a second drug
without the approval of the sponsor of the second drug.” 115

         This statement is troubling and warrants further investigation. First, Woodcock’s use of
“recommends” is grossly inaccurate. In the Mifeprex regimen, the use of misoprostol is
mandated. A physician might use an off-label variant of the regimen and, therefore, use another
prostaglandin, but the Mifeprex label gives very specific directives to use misoprostol. 116 The
non-optional nature of the regimen is carried forward into the language of the Patient Agreement
Form which states: “I understand that I will take misoprostol in my provider’s office two days
after I take Mifeprex (Day 3).” 117 Second, Subcommittee investigators finds it problematic that
FDA can dictate that a drug – under the proprietary control of a firm whose NDA has been
approved – can be approved for a use to which it objects.

       In a letter to Chairman Souder, FDA provided two examples in which non-approved uses
appear on FDA-approved labels. 118 The examples relate to coronary heart disease and metastatic


113
    See letter from Searle warning against the use of misoprostol in abortion:
http://www.fda.gov/medwatch/safety/2000/cytote.htm (last visited October 20, 2006).
114
    See RU-486: Demonstrating a Low Standard for Women’s Health? Hearing before the House Subcommittee on
Criminal Justice, Drug Policy and Human Res., Committee on Government Reform, 109th Cong. (May 17, 2006)
(statement of Janet Woodcock, M.D., Deputy Commissioner for Operations, FDA) Available at
http://reform.house.gov/UploadedFiles/Woodcock%20Testimony.pdf.
115
      Ibid.
116
    Mifeprex Label, available at http://www.fda.gov/cder/foi/label/2005/020687s013lbl.pdf (last visited September
28, 2006).
117
    Mifeprex Patient Agreement, Item # 6, available at
http://www.fda.gov/cder/drug/infopage/mifepristone/patientAgreement20050719.pdf (last visited October 20, 2006).
118
   Letter from David W. Boyer, Assistant Commissioner for Legislation, Food and Drug Administration, to Hon.
Mark E. Souder, Chairman, Subcommittee on Criminal Justice, Drug Policy, and Human Resources (May 2, 2006)
(on file with Subcommittee). See also, See RU-486: Demonstrating a Low Standard for Women’s Health? Hearing
before the House Subcommittee on Criminal Justice, Drug Policy and Human Res., Committee on Government
Reform, 109th Cong. (May 17, 2006) (statement of Janet Woodcock, M.D., Deputy Commissioner for Operations,
FDA) Available at http://reform.house.gov/UploadedFiles/Woodcock%20Testimony.pdf.



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                                               Add. 241
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breast cancer, and the relevant labels should be read to understand the comments that follow. 119
Some comments are in order. First, there is no mandated use of the second/off-label drug in
either example. Second, in the coronary disease case, the drugs were designed and approved to
work on aspects of cardiovascular system-blood pressure regulation. There is nothing unusual in
this use of drugs intended to manage cardiac failure.

       These facts provide a qualitative difference with the Mifeprex regimen in which
misoprostol was not designed to work to produce abortions – or uterine contractions for that
matter. Rather, misoprostol was a medication intended to protect the gastro-intestinal tract from
adverse events related to the use of non-steroidal anti-inflammatory medication – an indication
far removed from misoprostol’s novel application as an abortifacient.

        Finally, FDA’s Herceptin/Taxol example is somewhat disingenuous. After reading each
drug’s label, one recognizes that Taxol is approved for metastatic breast cancer treatment as a
single agent, and so is Herceptin, but neither is specifically indicated for metastatic breast cancer
treatment where no prior chemotherapy has been given. The combination use is approved (but
not MANDATED) for patients with metastatic breast cancer overexpressing HER2 protein who
have not received any prior chemotherapy.

        Both drugs are approved for use in metastatic breast cancer. Herceptin’s indication is
more specifically tied to use when there is overexpression of HER2 protein. If there has been no
other chemotherapy given then both may be used together. FDA seems to be splitting hairs
when it claims that the use of Taxol in such cases is off-label. That characterization depends
upon a fine distinction having to do with a specific tumor marker and whether or not other
chemotherapy had been used.

       The tenuousness of FDA’s examples leads the Subcommittee to conclude that FDA is
having difficulty finding examples that parallel the mandated, dissimilar off-label use of
misoprostol in the Mifeprex regimen.




       Since the introduction of RU-486 to the U.S. market, the FDA has acknowledged, as of
May 2, 2006, the deaths of six women associated with the drug, nine life-threatening incidents,
232 hospitalizations, 116 blood transfusions, and 88 cases of infection. 120 These and other cases
have added up to a total of 1070 adverse event reports (AERs) as of April 2006. 121
119
      The relevant information can be found using the website: <www.rxlist.com>.
120
   Letter from David W. Boyer, Assistant Commissioner for Legislation, Food and Drug Administration, to Hon.
Mark E. Souder, Chairman, Subcommittee on Criminal Justice, Drug Policy, and Human Resources (May 2, 2006)
(on file with Subcommittee).
121
   Numbers do not convey the full story. More telling are the first-hand accounts of women who have lived these
events. Below are some examples from the Individual Safety Reports (ISRs) which describe in detail the type of
experience RU-486 chemical abortion has turned out to be (mistakes are as they appear in the originals):
                                                                                                          “I was
issued RU-486 in effort of obtaining an abortion. I followed directions exactly, and after taking the ru-486, I was in


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                                                 Add. 242
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excrutiating physical pain, for at least 12 hours straight and I was bleeding extremely excessively. I was bleeding
through my pants but was in so much pain I couldn’t even clean myself. It was the worst physical pain I’ve ever
experienced in my life. This extreme pain was constant the whole 12 hours, it did not let up at all the whole time. I
vomited continuously but couldn’t even hold my head up. I had unbelievable abdominal pains, I can’t even put in
words. I couldn’t speak, eat, drink, sit up, and had difficulty breathing. The only thing I could do was lie on the
floor and pull my hair to deal with the pain. I couldn’t clean myself or go to the bathroom, I thought I was going to
die. After about 7 hours of this, I really wanted to die because I couldn’t take the pain anymore. I wanted to call the
hospital but I was hours from any hospital because I went to our cabin in a remote area to have privacy during this
time. The administering clinic was closed since it was the weekend…. I was not informed of the extent of these
side effects, I was told it would be just like a menstrual period. I never would have taken this had I been properly
informed, even of the possibility of those effects…I was not told that this drug was experimental and not approved
by the FDA…I believe they outright lied to me…when I returned to the clinic after the abortion was complete, they
were not very attentive or interested in me, I explained to them my pains even though they didn’t ask me any
questions. I filled out a questionairre that they gave me before I took the drug and they said I have to do the
questionnaire ever couple hours during the abortion, but when I offered it to them upon return, they didn’t even want
the questionaire, they didn’t take it.”
                                                          “28 year old Gr5. Para 2 Ab 2 at 6 weeks 5 days gestation
received 200 mg Mifeprex on [redacted] and inserted 800 mcg misoprostol vaginally on [redacted] at 11:00 a.m.
The bleeding was ‘normal’ until 3:30 p.m. when it became heavier. That evening she stated ‘it was like water
coming out of me’ and she felt dizzy. That evening she reported that she briefly ‘passed out’ twice. She went to an
emergency room and received [missing] litres of IV fluid and had a D&C. Her hemoglobin on arrival was 8.7 gm/dl
and was [missing] gm/dl after the D&C. She was started on iron supplementation. On [redacted] her hematocrit
was 28% at the clinic and she reported that she was resting, on limited to light activity and doing well.”
                                                         I took RU-486 last year and it caused me serious problems.
After 15 days after taking it I hemorrhaged while at work requiring subsequent D&C, then had an infection that
would not go away despite multiple antibiotics. I ended up being hospitalized and having multiple tests due to the
infection and pain. I was hospitalized for four days in september of last year. Even after being hospitalized I was
very ill for quite some time. I believe it took me until December to fully recover, during this time I lost quiet a bit of
weight and had to enter counseling as a result of all the problems after using RU486.”
                                                             “Previous to 2002 I had two pregnancies and two live
births…In 2002, 2003, and 2004, I had a three abortions at a very early stage, using the ‘French’ pill—RU-486—
with each being almost exactly a year apart. I had the same experience each time. I developed a very bad case of
bacterial vaginosis…I also was told to insert the final pill vaginally in all three cases. I had no idea it could even be
taken orally.”
                                                             “I was given 2-step Abortion Pill. In the middle of the
night I was awoken by severe abdominal pains. Having had endometriosis has built my pain tolerance quite high,
but this pain was excruciating. Between the pain and diarrhea, I wanted to pass-out. I laid on the cold tile of the
bathroom floor for 4 hours to keep me from fainting and because I couldn’t get up. I thought it would eventually
taper off, but after 4 hours I was exhausted and couldn’t tolerate the pain. I yelled until my sister woke up to help
me and asked her to call 911. She knew that I never go to the hospital, much less ask for 911, she immediately
called. At the hospital, blood tests –b-hcg- kept coming back positive and I was still in alot of pain. They sent me
for ultrasounds, blood tests again, and pelvic exams. I asked for more morphine, but they told my sister that they
gave me the maximum dose and were surprised that I was still moaning of pain. The doctor said that my body was
going through labor over and over, but wasn’t ridding of anything. After the 3rd pelvic exam and blood test, the
HCG count started coming down.”
                                                                  “Approximately 2 1/2 weeks after taking Mifeprex
and Cytotec to end a pregnancy, I began having very heavy bleeding. This was after I had not bled for a week, and
after a 2 week follow up at a clinic—in which was told I was fine—I began hemorraging on the evening of the 14th,
passing clots approximately 3 inches in size. I went through approximately 7 pads in 2 hours. The clinic wanted me
to wait until the morning to get care from their facility, but when we called the local ER, they told me I needed to
come in right away to get examined. I was cold, weak, and fatigued during the 2 hours my bleeding was excessively
heavy. Unfortunately I was not able to make it into the ER because I am a single mother of 4, and had noone to care



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         A. Adverse Events for RU-486

        These reports are based on the FDA’s Adverse Event Reporting System (AERS), a
voluntary system, with inherent underreporting. Common estimates of the proportion of adverse
events actually captured by FDA in AERS are from one to ten percent. FDA acknowledges that
it does not capture all adverse events associated with a drug: “When evaluating reports from the
AERS system, it is important to recognize several caveats. First, accumulated case reports
cannot be used to calculate actual incidences of adverse events or estimates of risk for a product,
as the reporting of adverse events is a voluntary process with inherent underreporting” 122
(emphasis added).

        The Government Accountability Office (GAO) has also commented on the
underreporting of Adverse Events: “FDA cannot establish the true frequency of adverse events in
the population with AERS data. The inability to calculate the true frequency makes it hard to
establish the magnitude of a safety problem, and it makes comparisons of risks across similar
drugs difficult.” 123

        FDA nonetheless claims that it is capturing most adverse events associated with RU-486:
“Because healthcare professionals who prescribe Mifeprex have agreed in writing” (with the
manufacturer, Danco, not the FDA) “to report ‘any hospitalizations, transfusions or other serious
events’ to the manufacturer, FDA believes that there are unlikely to be significant numbers of
serious adverse events, including deaths, associated with Mifeprex that have not been reported to
the Agency.” 124

        During the Subcommittee staff’s review of the 1070 Adverse Event Reports that had been
reported through April 2006, ISRs were found that had been submitted through MedWatch, the
voluntary reporting mechanism for AERS, rather than through Danco. FDA acknowledged that
these reports were not matched by reports submitted through Danco, 125 undermining the
Agency’s claim that it is capturing most adverse events.




for my children. Luckily for me, the bleeding lessened. I was told it was ‘normal’ to bleed for up to 4 weeks, but I
am NOW at day 32 and still bleeding.”
122
   Letter from David W. Boyer, Assistant Commissioner for Legislation, Food and Drug Administration, to Hon.
Mark E. Souder, Chairman, Subcommittee on Criminal Justice, Drug Policy, and Human Resources (May 2, 2006)
(on file with Subcommittee).
123
  Drug Safety: Improvement Needed in FDA's Postmarket Decision-making and Oversight Process GAO-06-402
March 31, 2006.
124
   Letter from David W. Boyer, Assistant Commissioner for Legislation, Food and Drug Administration, to Hon.
Mark E. Souder, Chairman, Subcommittee on Criminal Justice, Drug Policy, and Human Resources (July 31, 2006)
(on file with Subcommittee).
125
   Letter from David W. Boyer, Assistant Commissioner for Legislation, Food and Drug Administration, to Hon.
Mark E. Souder, Chairman, Subcommittee on Criminal Justice, Drug Policy, and Human Resources (June 30, 2006)
(on file with Subcommittee).



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        In light of FDA’s repeated claim that it captures most RU-486-related adverse events—
despite the Agency’s own acknowledgement of underreporting and experience to the contrary—
it is important to note that there is no true enforcement mechanism, either by Danco or the FDA,
for ensuring that doctors report all adverse events, and there is little incentive on the part of the
prescribing physician to do so. 126

          Even Danco has noted that the FDA’s “obligatory” reporting system is of little value. In
2003, Dr. Richard Hausknecht, Medical Director for Danco, wrote that “[t]he obligatory
reporting of adverse events is limited to transfusions, hospitalizations, ongoing pregnancies or
‘other serious adverse events,’ which allows considerable subjective judgment on the part of the
providers. In addition, the reporting of other common adverse events may not be reported at
all.” 127

        Moreover, emergency room personnel and medical professionals who do not prescribe
RU-486, but who may likely treat the infected or hemorrhaging patient, or provide surgical
intervention, have no obligation whatsoever to report adverse events for RU-486, even assuming
that the healthcare worker is aware the patient took the RU-486 drug regimen. 128 In such
scenarios, prescribing physicians may remain unaware of adverse events that take place after
they administer RU-486, alleviating them of reporting requirements. This underscores the fact
that there is not an accurate picture of the total adverse events that are being experienced with
this drug.

         In addition to the fact that there is no accurate number of adverse events to serve as a
realistic “numerator” for evaluating the rate of adverse events actually being experienced in the
population, the FDA does not use an accurate figure for the true number of patients who have
taken RU-486 as a “denominator.” Rather, FDA accepts and reports “estimates” proposed by
Danco. The most recent estimate is that 612,000 women in the U.S. have used RU-486 as of
July 24, 2006.129

        This estimate is likely inflated, since Danco arrives at its estimate by basing it on the
number of packages sold (in three-pill packages of 200 mg pills) and multiplying that number by
three to account for the number of doses that are given at the off-label 200 mg dose (rather than


126
   Although RU-486 is approved for use through 49 days of pregnancy, it is commonly prescribed in the United
States up to 63 days of pregnancy. Physicians also commonly prescribe a dosing regimen that is different from that
approved by the FDA. Therefore, it has been suggested that in fact there is a disincentive on the part of prescribing
physicians to report adverse events that may be attributed to a physician’s negligence or willingness to prescribe a
regimen that is outside the FDA-approved regimen for RU-486.
127
   Hausknecht, R., “Mifepristone and Misoprostol for Early Medical Abortion: 18 Months Experience in the United
States,” Contraception 67 (2003) 463-465.
128
   Treating personnel might never know that a woman has taken RU-486; Women who seek medical treatment for
adverse reactions after RU-486 may be too sick to disclose, may fail to disclose, or may simply refuse to disclose
(because she does not want it in her medical record) that she has taken the RU-486 drug regimen.
129
  Letter from David W. Boyer, Assistant Commissioner for Legislation, Food and Drug Administration, to Hon.
Mark E. Souder, Chairman, Subcommittee on Criminal Justice, Drug Policy, and Human Resources (August 17.
2006) (on file with Subcommittee).



                                                         28
                                                Add. 245
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the FDA approved 600 mg dose). 130 That Danco is allowed to provide a loosely-figured
estimate flouts the restricted approval provision for RU-486, which requires Danco to distribute
the drug with a tracking system allowing the company to track packages “to the patient level
while maintaining patient confidentiality.” 131

        For FDA to rely upon guesses as a basis for understanding safety problems with RU-486
is highly problematic. Danco’s estimate is used as the denominator for determining the rate of
adverse events associated with the drug. The larger the denominator, the lower the percentage of
adverse events. This inaccuracy of using Danco’s estimate is inexcusable in light of the way the
estimate is relied upon to determine and discuss the rate of adverse events associated with RU-
486.

        B.       RU-486 Safety Issues Known Prior to Approval

        Prior to FDA’s approval of RU-486, the Agency’s own medical experts recognized that
any benefits that could be gained from the use of this drug for a “medical abortion” were limited
at best and that significant dangers were inherent in its use. These dangers are especially acute
when compared to surgical abortion. According to the FDA’s medical reviewer, writing before
the drug’s approval:

        This method of pregnancy termination is of limited value because of the relatively
        short window of opportunity, [sic] in which it can be employed. Its safety and
        effectiveness is based on its use during the seven weeks following the first day of
        the last menstrual period. This means that most women would not suspect that
        they are pregnant and have a confirmatory pregnancy test until at least four weeks
        after the beginning of their last menses. This, then, leaves only a three week
        period for the women to secure this method of abortion.

        Another disadvantage of this method of pregnancy termination is the need for at
        least three visits to the medical facility [sic] including at least a four hours [sic]
        stay after the administration of the misoprostol.

        In addition, medical follow-up is required to ensure that surgical termination is
        performed in case the medical termination attempt fails since misoprostol has
        been reported to be teratogenic in humans (limb defects and skull defects)...

        [In a comparison of medical termination of pregnancy with surgical termination,]
        [t]he medical regimen had more adverse events, particularly bleeding, than did
        surgical abortion. Failure rates for medical abortion exceeded those for surgical

130
   Richard Hausknecht, Medical Director for Danco, described how Danco estimates the usage figures for RU-486:
“Denominators… were estimated from sales figures. Although the FDA-approved regimen specified a single oral
dose of mifepristone 600 mg, many physicians are using a lower dose (200 mg), …[an] estimated range was based
upon Planned Parenthood practices and National Abortion Federation (NAF) polling of their membership
practices…[and by] [a]djusting for utilization patterns of providers.” Contraception 67 (2003): 463-65.
131
   CDER Office Memo to Population Council, September 28, 2006. At
http://www.fda.gov/cder/drug/infopage/mifepristone/memo.pdf (last visited September 28, 2006).



                                                      29
                                              Add. 246
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              abortion…[and] increased with gestational age. Specific symptoms and adverse
              events, including cramping, nausea, and vomiting, were far more frequent among
              the medical than the surgical abortion patients… On the whole, medical abortion
              patients reported significantly more blood loss than did surgical abortion
              patients…. 132

       The negative physical experience of RU-486 was explained this way by Dr. Tom
Tvedten, an abortion provider in Little Rock, Arkansas: "With medical termination, the
discomfort is significant because they have to go through mini-labor…There's a lot of hard
cramps and usually significant bleeding. It's cheaper, safer and less painful to have a surgical
termination." 133

        In fact, as explained in the RU-486 label, “nearly all of the women who receive Mifeprex
and misoprostol will report adverse reactions, and many can be expected to report more than one
such reaction,” 134 including: abdominal pain; uterine cramping; nausea; headache; vomiting;
diarrhea; dizziness; fatigue; back pain; uterine hemorrhage; fever; viral infections; vaginitis;
rigors (chills/shaking); dyspepsia; insomnia; asthenia; leg pain; anxiety; anemia; leucorrhea;
sinusitis; syncope; endrometritis / salpingitis / pelvic inflammatory disease; decrease in
hemoglobin greater than 2 g/dL; pelvic pain; and fainting. 135

       The FDA’s Medical Officer’s review notes that, “[m]ore than one adverse event was
reported for most patients…Approximately 23% of the adverse events in each gestational age
group were judged to be severe.” 136

       In addition to these known, startling adverse effects, of which the FDA was aware during
the RU-486 NDA review process, the incredibly high failure rate of the drug was also known,
averaging 14.6% in the U.S. trial testing the drug through 63 days gestation.

         The FDA’s Medical Officer’s review noted that in the U.S. trial of 2015 women, “[a]
total of 295 patients were classified as having failed medical abortion.” 137 This represents a
132
   Medical Officer’s Review of Amendments 024 and 033, Final Reports for the U.S. Clinical Trials Inducing
Abortion up to 63 Days Gestational Age and Complete Responses Regarding Distribution System and Phase 4
Commitments, Finalized November 22, 1999 (dated January 27, 2000), available at
http://www.fda.gov/cder/foi/nda/2000/20687_Mifepristone_medr_P1.pdf (last visited September 28, 2006).
133
   John Leland, Under Din of Abortion Debate, an Experience Shared Quietly, N.Y. TIMES, Sept. 18, 2005, at
http://www.nytimes.com/glogin?URI=http://www.nytimes.com/2005/09/18/national/18abortion.html&OQ=_rQ3D1
&OP=41647c1fQ2FQ2AQ7EklQ2AbBG)ABB7FQ2AFqqjQ2AqQ2FQ2A42Q2A-_7VB-_YQ2A42_lBA7VB-
vC7KY. (Quoting Dr. Tom Tvedten of Little Rock, Arkansas).
134
   Mifeprex Label, available at http://www.fda.gov/cder/foi/label/2005/020687s013lbl.pdf (last visited September
28, 2006).
135
      Ibid.
136
   Medical Officer’s Review of Amendments 024 and 033, Final Reports for the U.S. Clinical Trials Inducing
Abortion up to 63 Days Gestational Age and Complete Responses Regarding Distribution System and Phase 4
Commitments, Finalized November 22, 1999 (dated January 27, 2000), available at
http://www.fda.gov/cder/foi/nda/2000/20687_Mifepristone_medr_P1.pdf (last visited September 28, 2006).
137
      Ibid.



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                                               Add. 247
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failure in 14.6% of total patients. “Of these patients, 79 (27%) had ongoing pregnancies, 126
(43%) had incomplete abortions, 30 (10%) requested and had surgical terminations, and the
remaining 60 (20%) patients had surgical terminations performed because of medical indications
directly related to the medical procedure.” 138

        The “best” outcome was in the patient group consisting of women whose pregnancies
were less than or equal to 49 days. In this group, 7.9% of patients required surgical intervention
after taking RU-486. As the gestational age increases, the failure rate of RU-486 increases
rapidly, to 17% in the 50-56 days gestation group, and 23% in the 57-63 days gestation group.

         By any objective standard, a failure rate approaching eight percent and requiring
subsequent surgical intervention as the “best” outcome is a dismal result. Nonetheless, the
Medical Officer stated that “[t]he 92% success rate in the 49 days group is an acceptable
one.” 139 This failure rate, along with the anticipated adverse events that patients would
experience, is explicit in the FDA Medical Officer’s review, and also part of the RU-486
label. 140

      Despite these known problems with adverse events and high failure rates, the FDA
recommended and gave approval for distributing this drug to women.

              B. Post-Approval Hemorrhage, Infections and Deaths

        As stated above, the FDA has acknowledged the deaths of six U.S. women associated
with RU-486, nine life-threatening incidents, 232 hospitalizations, 116 blood transfusions and 88
cases of infection. 141 A quarter all the patients were hospitalized. 142 These and other cases add
up to a total of 1070 adverse event reports (AERs) as of April 2006.

        A review 143 of only a portion of all the reported AERs demonstrates in real world
experience how women have suffered after taking dangerous drug. Out of only 607 unique
adverse events submitted to the FDA, the high number of serious and life-threatening events is
startling:

              The most frequent [adverse event reports] were hemorrhage (n=237) and infection (66).
              Hemorrhages included 1 fatal, 42 life threatening, and 168 serious case; 68 required
              transfusions. Infections included 7 cases of septic shock (3 fatal, 4 life-threatening) and
138
      Ibid.
139
      Ibid.
140
   Mifeprex Label, available at http://www.fda.gov/cder/foi/label/2005/020687s013lbl.pdf (last visited September
28, 2006).
141
   Letter from David W. Boyer, Assistant Commissioner for Legislation, Food and Drug Administration, to Hon.
Mark E. Souder, Chairman, Subcommittee on Criminal Justice, Drug Policy, and Human Resources (May 2, 2006)
(on file with Subcommittee).
142
      Ibid.
143
  M. M. Gary, D. J. Harrison, Analysis of Severe Adverse Events Related to the Use of Mifepristone as an
Abortifacient, The Annals of Pharmacotherapy, February 2006, 40.



                                                       31
                                               Add. 248
                                                                                                     EX. 12 pg. 031
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              43 cases requiring parenteral antibiotics. Surgical interventions were required in 513
              cases (235 emergent, 278 nonemergent). Emergent cases included 17 ectopic
              pregnancies (11 ruptured). Second trimester viability was documented in 22 cases (9 lost
              to follow-up, 13 documented fetal outcome). Of the 13 documented cases, 9 were
              terminated without comment on fetal morphology, 1 was enrolled in fetal registry, and 3
              fetuses were diagnosed with serious malformations, suggesting a malformation rate of
              23%. 144

        Since this review by Gary and Harrison, there have been hundreds more adverse event
reports and two additional reported septic infection deaths. Nearly all among the afflicted and
dead who experienced these serious adverse events following RU-486 were healthy women of
child-bearing age. (This is in sharp contrast to other drugs with inherent risks—Viagra, for
example—which result in adverse events often after repeated use over long intervals of time, in
patients with other risk factors associated with age or disease.) Without access to emergency
room services, women who suffered severe hemorrhage would have died.

       In total, there are eight known deaths following RU-486: four Californians and one
Canadian from C. Sordellii septic infection; a Tennessee woman with ruptured ectopic
pregnancy; a Swedish teen, from massive hemorrhage; and a British female, from “unknown
etiology,” (but her clinical presentation of shock and an autopsy revealing one liter of blood in
her stomach makes sepsis a plausible etiology). 145

        Five of the eight known deaths following the use of RU-486 have been the result of a
toxic shock-like syndrome initiated by the bacteria C. Sordellii. This bacteria is thought to exist
in low numbers in the reproductive tracts of many women and is normally contained by the
immune system. 146 Experts in immunology, 147 pharmacology 148 and maternal-fetal medicine 149

144
      Ibid.
145
      Ibid.
146
  Letter to the Editor, James A. McGregor and Ozlem Equiles, Risks of Mifepristone Abortion in Context,
Contraception 2005, 71: 161.
147
   See, Jeanette I. Webster and Esther M. Sternberg, Role of the Hypothalamic-Pituitary-Adrenal Axis,
Glucocorticoids and Glucocorticoid Receptors in Toxic Sequelae of Exposure to Bacterial and Viral Products,
Journal of Endocrinology 2004, 181:207-221 (“Natural and synthetic glucocorticoids protect against the lethal
effects of many bacterial and viral components...agents that block the hypothalamic-pituitary-adrenal axis, as
in…mifepristone…enhance lipopolysaccharide (LPS) and endotoxin lethality and LPS-induced fever. Even the
normally endotoxin-nonresponsive C3H/HeJ mice could be made endotoxin sensitive by RU-486.”)
148
  See, Ralph P. Miech, Pathophysiology of Mifepristone-Induced Septic Shock Due to Clostridium Sordellii, The
Annals of Pharmacotherapy, September 2005, 39:
              “Mifepristone is a potent progesterone antagonist that, in addition to its ability to block
              glucocorticoid receptors, blocks progesterone receptors...Blockade of progesterone
              receptors…results in rejection of the developing placenta and death of the embryo. Prolonged
              ischemia of the decidua and the embryonic placenta causes necrosis [death] of these tissues.
              Mifepristone also [causes] cervical dilation and liquefaction of the cervical mucus plug. The
              combined loss of a closed cervix and the protective cervical mucus plug permits contamination of
              the decidua and the intrauterine necrotic cells with aerobic and anaerobic bacteria from the normal
              vaginal flora.”



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                                                     Add. 249
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have suggested that because RU-486 interferes with the immune response, the bacteria, if
present, are then able to flourish, causing a widespread, multi-organ infection in the woman.

        The infections are not accompanied by a fever, and symptoms match those that are
expected after taking the RU-486 regimen (cramping, pain, bleeding, nausea, vomiting), making
detection of the fast-spreading infection difficult. Each of the women infected with C. Sordellii
after RU-486 were dead within five to seven days.

              The FDA describes the clinical presentation of C. Sordellii infection the following way:
       -      Rapid onset of influenza like symptoms (nausea, vomiting, and weakness)
       -      Hypothermia or absence of fever
       -      Absence of purulent discharge
       -      Localized pelvic tenderness may be absent
       -      Elevated hematocrit and marked leukemoid reaction
       -      Progressive refractory hypotension
       -      Marked edema with peritoneal and pleural effusions
       -      Rapidly fatal despite aggressive treatment 150 (emphasis added).

         To investigate the nature of the C. Sordellii bacteria, the FDA and CDC held the
“Emerging Clostridial Disease” workshop on May 11, 2006. 151 Workshop presenters – experts
in the fields of pharmacology, immunology, and maternal-fetal medicine – noted that the rapid
growth of the C. Sordellii bacteria likely forecloses effective treatment; 152 that there is no
currently identifiable “window of opportunity” for treatment once a woman is infected, even
with major interventions such as hysterectomy; 153 and that antibiotic prophylaxis was unlikely to
provide any protection in the RU-486 / C. Sordellii context. 154 The fatality rate has been 100%
for the women who contracted C. Sordellii infection after RU-486.

       In an effort to dismiss any association between RU-486 and the C. Sordellii deaths, some
have promoted the idea that C. Sordellii is linked to pregnancy and childbirth, not the abortion
pill. However, in five years, five women have died from this infection after taking RU-486. In
contrast, the FDA has noted that there were “only five additional cases not associated with




149
    See, Sharon Worchester, Mifepristone Deaths Raise Unanswered Questions, Ob. Gyn. News, (October 1, 2005)
at 13. (Quoting Dr. James A. McGregor)(“Mifepristone has multiple pharmacologic properties that may interfere
with innate immune responses to infection, toxin exposures, and inflammatory stimuli.”).
150
      Food and Drug Administration “Center Director Briefing” June 27, 2005 (on file with the Subcommittee).
151
   A full transcript for the meeting is available at: http://www.fda.gov/cder/meeting/clostridial/transcript.pdf (last
visited October 13, 2006).
152
  Letter to the Editor, James A. McGregor and Ozlem Equiles, Risks of Mifepristone Abortion in Context,
Contraception 2005, 71: 161.
153
   Public Workshop on Emerging Clostridial Disease,” (CDC Conference Center: Atlanta, Georgia, May 11, 2006).
Transcript available at http://www.fda.gov/cder/meeting/clostridial/transcript.pdf (last visited October 13, 2006).
154
      Ibid.



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                                                  Add. 250
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mifepristone/misoprostol retrieved with a text search of the entire AERS database” 155 of 3.5
million records.156

        Distinguishing the 100% fatality rate with this infection following RU-486 among
women who were otherwise healthy, the FDA noted, “[t]he patients in these 5 [non-RU-486
related] cases had weakened or altered immune function due to chemotherapy and age (neonatal
& elderly patients), and use of multiple antibiotics. None of these five cases involved
intravaginal product administration and 3 cases had a fatal outcome. In contrast to these 5
additional cases in [3.5 million] AERS, the 4 U.S. confirmed cases of Clostridium Sordellii
infection with medical abortion involved healthy patients and all cases had fatal outcome” 157
(emphasis added).

       A more extensive database search for any reported C. Sordellii infections since 1925
found a total of eleven fatal cases related to post-partum/ob-gyn infection or to spontaneous
abortion. 158 In contrast with this small number of cases (11 since 1925) five women in five years
are known to have died from C. Sordellii following RU-486.

         Experts studying the immune suppression properties of RU-486 have found that it has the
ability to block innate immune response. 159 Lazar had published information as early as 1992

155
   Memorandum, Department of Health and Human Services, Food and Drug Administration, Center for Drug
Evaluation and Research, April 12, 2006, From [redacted], Division of Drug Risk Evaluation, Through: [redacted]
Division of Drug Risk Evaluation, TO: [redacted] Division of Reproductive and Urologic Products. Subject:
Supplementary investigations related to reports of fatal infections associated with mifepristone and misoprostol use
for medical abortion. [handwritten note: DFS 4/17/06 Consult #3]
156
   Letter from David W. Boyer, Assistant Commissioner for Legislation, Food and Drug Administration, to Hon.
Mark E. Souder, Chairman, Subcommittee on Criminal Justice, Drug Policy, and Human Resources (May 2, 2006)
(on file with Subcommittee).
157
   Memorandum, Department of Health and Human Services, Food and Drug Administration, Center for Drug
Evaluation and Research, April 12, 2006, From [redacted], Division of Drug Risk Evaluation, Through: [redacted]
Division of Drug Risk Evaluation, TO: [redacted] Division of Reproductive and Urologic Products. Subject:
Supplementary investigations related to reports of fatal infections associated with mifepristone and misoprostol use
for medical abortion. [handwritten note: DFS 4/17/06 Consult #3]
158
   Dennis L. Stevens, M.D., PhD., Clostridium sordellii: Clinical Settings, Diagnostic Clues and Pathogenic
Mechanisms, Public Workshop on Emerging Clostridial Disease,” (CDC Conference Center: Atlanta, Georgia, May
11, 2006). Available at http://www.fda.gov/cder/meeting/clostridial/stevens.pdf (last visited October 13, 2006).
159
   See, Jeanette I. Webster and Esther M. Sternberg, Role of the Hypothalamic-Pituitary-Adrenal Axis,
Glucocorticoids and Glucocorticoid Receptors in Toxic Sequelae of Exposure to Bacterial and Viral Products,
Journal of Endocrinology 2004, 181:207-221 (“Natural and synthetic glucocorticoids protect against the lethal
effects of many bacterial and viral components...agents that block the hypothalamic-pituitary-adrenal axis, as
in…mifepristone…enhance lipopolysaccharide (LPS) and endotoxin lethality and LPS-induced fever. Even the
normally endotoxin-nonresponsive C3H/HeJ mice could be made endotoxin sensitive by RU-486.”). See also,
Ralph P. Miech, Pathophysiology of Mifepristone-Induced Septic Shock Due to Clostridium Sordellii, The Annals of
Pharmacotherapy, September 2005, 39:
         “Mifepristone is a potent progesterone antagonist that, in addition to its ability to block
         glucocorticoid receptors, blocks progesterone receptors...Blockade of progesterone
         receptors…results in rejection of the developing placenta and death of the embryo. Prolonged
         ischemia of the decidua and the embryonic placenta causes necrosis [death] of these tissues.
         Mifepristone also [causes] cervical dilation and liquefaction of the cervical mucus plug. The


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about the increase in fatal septic infection in mice after receiving RU-486, which caused the
survival rate to drop dramatically from the control level of 71% to only 15%. 160 Nonetheless,
the theory that RU-486 suppresses the immune system was only noted by the FDA as late as
2003,161 and it wasn’t until 2004 that the Agency conducted the minimal inquiry of a literature
review to examine the immune suppression properties of RU-486:.

        “The Division of Anti-Infective Drug Products (DAIDP) reviewed the medical literature
        to examine the potential impact that either or both mifepristone and misoprostol might
        have on human immune function. They concluded, ’Systemic levels of mifepristone and
        misoprostol may both influence the host response to infection via their anti-inflammatory
        effects, respectively. In theory, these effects may predispose an individual to infection or
        may predispose an infected individual to a worse outcome. Such roles are apparently
        dependent on dose, timing, and rates of uptake and intracellular degradation in different
        target tissues’” 162 (emphasis added).

Beyond this, there is little more in the thousands of pages of documents provided to the
Subcommittee to indicate an extensive FDA examination of the immune suppression properties
of RU-486.

        In the meantime, women who take RU-486 are exposing themselves to an exponentially
greater risk of infection or death as compared to the alternative of surgical abortion. The risk of
death from infection is at least ten times greater than surgical abortion during the first eight
weeks of pregnancy. 163 In addition to C. Sordellii infection, women taking RU-486 have
developed other infections following the abortion pill regimen. The FDA has acknowledged 88
reported cases of infection following RU-486.

       The most frequent serious adverse event is hemorrhage, where women who lost enough
blood as to require transfusions. These cases of massive hemorrhage comprise 12% of the RU-

        combined loss of a closed cervix and the protective cervical mucus plug permits contamination of
        the decidua and the intrauterine necrotic cells with aerobic and anaerobic bacteria from the normal
        vaginal flora.”
See also, Sharon Worchester, Mifepristone Deaths Raise Unanswered Questions, Ob. Gyn. News, (October 1, 2005)
at 13. (Quoting Dr. James A. McGregor)(“Mifepristone has multiple pharmacologic properties that may interfere
with innate immune responses to infection, toxin exposures, and inflammatory stimuli.”).
160
  G. Lazar, et al., Modification of septic shock in mice by the antiglucocorticoid RU 38486, 36 Circulatory Shock
180 (1992).
161
  FDA Division of Anti-Infective Drug Products, Report of Medical Officer Consultation (Intravaginal
Misoprostol), November 19, 2003, at 4 (on file with the Subcommittee)..
162
   FDA Mifeprex plus Misoprostol Postmarketing Safety Review, November 15, 2004, at 24 (on file with the
Subcommittee).
163
   See, Michael F. Green, M.D., Fatal Infections Associated with Mifepristone-Induced Abortion, Dec. 1, 2005, N.
ENGL. J. MED 353;22 at 2318. The mortality rate for women who procure a surgical abortion is 0.1 in 100,000
during the first eight weeks of pregnancy, the period for which RU-486 is available for women. Dr. Michael Green,
based on usage rates of 460,000 and 4 deaths, suggested that the risk of death from chemical abortion is ten times
greater. The rate could be higher, if an accurate numerator is used for the true number of patients who have taken
RU-486.



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                                               Add. 252
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486 AERS. 164 A review of the AERS through September 2005 finds that fifteen women suffered
hemorrhages so serious that they lost over half of their entire blood volume and would have died
without rapid access to emergency room services. 165

        According to Dr. Donna Harrison, who testified before the Subcommittee at the May 17
hearing RU-486: Demonstrating a Low Standard for Women’s Health?, “In my experience as an
ob-gyn, the volume of blood loss seen in the life-threatening cases is comparable to that observed
in major surgical trauma cases like motor-vehicle accidents. This volume of blood loss is rarely
seen in early surgical abortion without perforation of the uterus, and it is rarely seen in
spontaneous abortion.” 166

       As with other adverse events associated with RU-486, no risk factors for hemorrhage
have been identified. Rather, they are unpredictable and sporadic. 167

       The proven health risks and demonstrated association with fatal septic infections
necessarily prompt urgent consideration of this drug’s immediate withdrawal from the market.



   The high incidence of adverse events has prompted Danco, in cooperation with the
FDA, to take steps to alert women and the medical community to the dangers of the
drug: 168

              “Dear Health Care Provider” Letter, April 19, 2002 (warning of danger of
              ruptured ectopic pregnancies). 169
              “Dear Emergency Room Director” Letter, November 12, 2004 (warning of
              infection, heavy bleeding and ruptured ectopic pregnancy). 170
              “Dear Health Care Professional” Letter, November 12, 2004 (warning of
              infection, heavy bleeding and ruptured ectopic pregnancy). 171
              Updated label, December 22, 2004 (reflecting danger of infection, heavy bleeding
              and ruptured ectopic pregnancy). 172

164
   Letter from David W. Boyer, Assistant Commissioner for Legislation, Food and Drug Administration, to Hon.
Mark E. Souder, Chairman, Subcommittee on Criminal Justice, Drug Policy, and Human Resources (May 2, 2006)
(on file with Subcommittee).
165
    See RU-486: Demonstrating a Low Standard for Women’s Health? Hearing before the House Subcommittee on
Criminal Justice, Drug Policy and Human Res., Committee on Government Reform, 109th Cong. (May 17, 2006)
(statement of Donna Harrison, M.D.) Available at
http://reform.house.gov/UploadedFiles/Harrison%20Testimony%20-%20scan%20test.%20w%20attchmts.pdf.
166
      Ibid.
167
      Ibid.
168
      See Danco’s website, http://www.earlyoptionpill.com/.
169
      Available at http://www.fda.gov/medwatch/SAFETY/2002/mifeprex_deardoc.pdf (last visited October 14, 2006).
170
      Available at http://www.fda.gov/cder/drug/infopage/mifepristone/DearER.pdf (last visited October 14, 2006).
171
      Available at http://www.fda.gov/cder/drug/infopage/mifepristone/DearHCP.pdf (last visited October 14, 2006).



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                                                 Add. 253
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           “Dear Health Care Provider” Letter, July 19, 2005 (warning of the cases of fatal
           septic shock). 173
           Updated label, July 19, 2005 (warning of danger of fatal C. Sordellii
           infections). 174

         In light of the significant health risks posed by this drug, the current restrictions, and the
letters and label changes subsequent to approval are demonstrably insufficient to protect women
from the dangers of RU-486. Rather, the FDA possesses the authority to suspend or withdraw
approval of the drug under various provisions. The most important, and perhaps necessary and
justified for removing RU-486 from the market, is the Imminent Hazard authority possessed by
the Secretary of Health and Human Services.

           “Imminent Hazard” is defined and the criteria to be considered are set forth in 21 CFR
2.5:

           (a) Within the meaning of the Federal Food, Drug and Cosmetic Act an imminent hazard
           to the public health is considered to exist when the evidence is sufficient to show that a
           product or practice, posing a significant threat of danger to health, creates a public health
           situation (1) that should be corrected immediately to prevent injury and (2) that should
           not be permitted to continue while a hearing or other formal proceeding is being held.
           The imminent hazard may be declared at any point in the chain of events which may
           ultimately result in harm to the public health. The occurrence of the final anticipated
           injury is not essential to establish that an imminent hazard of such occurrence exists.

           (b) In exercising his judgment on whether an imminent hazard exists, the Commissioner
           will consider the number of injuries anticipated and the nature, severity, and duration of
           the anticipated injury.

        Under this provision, the Secretary’s decision is subject to judicial review, but the courts
are deferential to the Secretary’s conclusions. 175 Within the context of RU-486, the
unpredictability and frequency of serious adverse event and death (discussed in Section III
above) warrants withdrawal of this dangerous drug from the market.

      The FDA also possesses the authority to unilaterally withdraw approval of a drug under
21 CFR 314.530. RU-486 falls into the withdrawal categories of this provision:

172
      Available at http://www.fda.gov/cder/foi/label/2004/020687lbl_Revised.pdf (last visited October 14, 2006).
173
   Available at http://www.fda.gov/medwatch/safety/2005/mifeprex_deardoc_071905.pdf (last visited October 14,
2006).
174
      Available at http://www.fda.gov/cder/drug/infopage/mifepristone/DearHCP.pdf (last visited October 14, 2006).
175
   See Forsham v. Califano, 442 F. Supp. 203 (D. D.C. 1977)(this case appears to be the only instance in which the
“imminent hazard” authority of the HHS Secretary has invoked). See also RU-486: Demonstrating a Low Standard
for Women’s Health? Hearing before the House Subcommittee on Criminal Justice, Drug Policy and Human Res.,
Committee on Government Reform, 109th Cong. (May 17, 2006) (statement of O. Carter Snead, Assoc. Professor,
University of Notre Dame Law School). Available at
http://reform.house.gov/UploadedFiles/Snead%20Testimony.pdf.



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              (a)(1) A post-marketing clinical study fails to verify clinical benefit

        Since its approval, RU-486 has been associated with six known U.S. deaths of healthy
women. 176 The safety problems associated with RU-486 are discussed above. Additionally,
because women who visit the emergency room arrive with symptoms virtually identical to those
associated with miscarriage, 177 deaths within the U.S. following the use of RU-486 may be
higher, but unreported.

        Moreover, as discussed above, the mortality rate for surgical abortion for the first eight
weeks of pregnancy is 0.1 per 100,000. 178 The makers of RU-486 report that 575,000 women
have used the drug (based on units shipped, not units prescribed, and based on the assumption
that one tablet—rather than the FDA-approved three—is administered to the patient; 179 the
actual number of women who have taken the drug may be much lower). Using the figure of
575,000 women having taken RU-486, this works out to a known death rate of approximately
1.39 per 100,000, nearly 14 times greater than surgical abortion. As noted above, Subpart H
drug approval is conditioned on “meaningful therapeutic benefit.” The statistics demonstrate
that medical abortion is far more dangerous than the existing treatment of surgical abortion,
which is proof of a lack of clinical benefit.

               (a)(3) Use after marketing demonstrates that post-marketing restrictions are inadequate
              to assure safe use of the drug product

        Experience shows that post-marketing restrictions on RU-486 are inadequate to assure
the safe use of the product, because the medical community has ignored them on a widespread
basis. As noted earlier in this report, abortion providers routinely use RU-486 beyond the time
periods approved by the FDA 180 and with dosing regimens that stray from the FDA’s approved




176
   Letter from David W. Boyer, Assistant Commissioner for Legislation, Food and Drug Administration, to Hon.
Mark E. Souder, Chairman, Subcommittee on Criminal Justice, Drug Policy, and Human Resources, (May 2, 2006)
(on file with Subcommittee).
177
  “Dear Emergency Room Director” Letter from Danco Laboratories to emergency room directors, (Nov. 12,
2004), at http://www.fda.gov/cder/drug/infopage/mifepristone/DearER.pdf.
178
   Michael F. Green, M.D., Fatal Infections Associated with Mifepristone-Induced Abortion, Dec. 1, 2005, N. ENGL.
J. M ED 353:22 at 2318.
179
      Ibid.
180
    Some abortion providers (e.g., Planned Parenthood of New York City at
www.ppnyc.org/services/factsheets/mifep.htm, Capital Care Women’s Center at
www.capitalcarewomenscenter.com/services.php, and Camelback Family Planning at
www.camelbackfamilyplanning.com/abortionpill.html.), even advertise the availability of RU-486 through 63 days
LMP, by which time the rate of incomplete abortion, infection, and other complications rises sharply. In U.S.
clinical trials, the failure rate for RU-486 abortions jumps to 17% at 50-56 days LMP, and to 23% at 57-63 days
LMP, from 8% at 49 days or less. Irving Spitz et al., “Early pregnancy termination with mifepristone and
misoprostol in the United States,” New England Journal of Medicine 1998, 338:1241-47.



                                                        38
                                                Add. 255
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regimen. 181 While off-label use of drugs is common, it runs contrary to the entire purpose of the
regulatory regime approved for RU-486 under Subpart H.

       The FDA is aware of the medical community’s refusal to heed the regulations it instated
on RU-486. In its own words, the FDA “is aware that…some [physicians] may have chosen to
use a modified version of the Patient Agreement form. However, these decisions are made by
physicians exercising their own judgment about what is best for their patients ” 182

         This is contrary to the detailed Risk Management Program, explained in the FDA memo
detailing the drug’s approval, which states: “the signed agreement form will be given to the
patient for her reference and another kept in the medical records,” and “[the prescribing
physician] must provide each patient…with a copy of the Medication Guide and Patient
Agreement, give her an opportunity to read and discuss both the Medication Guide and the
Patient Agreement, obtain her signature on the Patient Agreement and must sign it as well.” 183
The FDA determined that these restrictions were critical to the safe use of the drug, and in spite
of this, physicians have refused to heed them.

              (a)(4) The applicant fails to adhere to the post-marketing restrictions agreed upon

        Although the FDA stipulated that the manufacturer have systems in place to track the
distribution of RU-486 “to the patient level,” and that require physicians to “record the Mifeprex
package serial number in each patient’s record,” 184 Danco has not provided reliable patient
numbers, but rather estimates. 185

       In addition to the FDA requiring patients to sign a Patient Agreement form, the
Population Council agreed, as part of the approval process, to “auditing prescribers to ascertain
whether they have obtained signed copies of the Patient Agreement forms.” It is unclear whether
the Population Council, Danco, or any other entity associated with the production of RU-486 has
adhered to this requirement.

              (a)(5) The promotional materials are false or misleading

181
   R. Hausknecht, “Mifepristone and Misoprostol for Early Medical Abortion: 18 Months Experience in the United
States,” Contraception 67 (2003): 463-65: “Although the FDA-approved regimen specified a single oral dose of
mifepristone 600 mg, many physicians are using a lower dose (200 mg).”
182
  Letter from Patrick Ronan, Associate Commissioner for Legislation Department of Health and Human Services
FDA to Hon. Mark E. Souder, (March 16, 2006) (on file with Govt. Reform Subcommittee on Criminal Justice,
Drug Policy, and Human Resources).
183
   Memorandum from FDA Center for Drug Evaluation and Research to Population Council 6, (Sept. 28, 2000)
(available at http://www.fda.gov/cder/drug/infopage/mifepristone/memo.pdf).
184
      Ibid.
185
   Richard Hausknecht, Medical Director for Danco, described how Danco estimates the usage figures for RU-486:
“Denominators… were estimated from sales figures. Although the FDA-approved regimen specified a single oral
dose of mifepristone 600 mg, many physicians are using a lower dose (200 mg), …[an] estimated range was based
upon Planned Parenthood practices and National Abortion Federation (NAF) polling of their membership
practices…[and by] [a]djusting for utilization patterns of providers.” Contraception 67 (2003): 463-65.



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                                              Add. 256
                                                                                                  EX. 12 pg. 039
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        The FDA conditioned approval of RU-486 on tracking its use “to the patient level.” In
spite of this, the manufacturer estimates the usage of its drug for its promotional materials. 186
This affects the perceived safety of the drug, as the manufacturer may be overstating its actual
usage in comparison with the adverse events reported.

       Both the “Imminent Hazard” provision and the regulatory provision for approval
withdrawal under Subpart H provide sufficient authority for the Administration to remove this
dangerous drug from the market.



        The integrity of the FDA in the approval and monitoring of RU-486 has been substandard
and necessitates the withdrawal of this dangerous and fatal product before more women suffer
the known and anticipated consequences or fatalities. RU-486 is a hazardous drug for women,
its unusual approval demonstrates a lower standard of care for women, and its withdrawal from
the market is justified and necessary to protect the public’s health.




186
   Ibid. See also, Letter from David W. Boyer, Assistant Commissioner for Legislation, to Hon. Mark E. Souder,
Chairman, Subcommittee on Criminal Justice, Drug Policy, and Human Resources, (May 2, 2006) (on file with
Subcommittee); FDA Announces Mifeprex Not Cause of One of Two Recent Abortion-Related Deaths, KAISER
NETWORK DAILY REPORTS, (April 11, 2006) at
http://www.kaisernetwork.org/daily_reports/rep_index.cfm?DR_ID=36534. ("We stand behind the safety profile of
the drug, which has been used by approximately 575,000 women in this country since FDA approval in 2000,"
quoting Cynthia Summers, director of marketing and public affairs at Danco Laboratories, originally in Wall Street
Journal, April 11, 2006.)



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                                               Add. 257
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         (Slip Opinion)

                 Application of the Comstock Act to the Mailing of
                Prescription Drugs That Can Be Used for Abortions
         Section 1461 of title 18 of the U.S. Code does not prohibit the mailing of certain drugs
            that can be used to perform abortions where the sender lacks the intent that the recipi-
            ent of the drugs will use them unlawfully. Because there are manifold ways in which
            recipients in every state may lawfully use such drugs, including to produce an abor-
            tion, the mere mailing of such drugs to a particular jurisdiction is an insufficient basis
            for concluding that the sender intends them to be used unlawfully.

                                                                                 December 23, 2022

                    MEMORANDUM OPINION FOR THE GENERAL COUNSEL
                           UNITED STATES POSTAL SERVICE

            In the wake of the United States Supreme Court’s recent decision over-
         ruling Roe v. Wade, 410 U.S. 113 (1973), 1 you have asked for this Of-
         fice’s view on whether section 1461 of title 18 of the United States Code
         prohibits the mailing of mifepristone and misoprostol, two prescription
         drugs that are commonly used to produce abortions, 2 among other purpos-
         es. Memorandum for Christopher Schroeder, Assistant Attorney General,
         Office of Legal Counsel, from Thomas J. Marshall, General Counsel,
         United States Postal Service, Re: Request for an Interpretation of 18
         U.S.C. § 1461, at 1 (July 1, 2022) (“USPS Request”). Originally enacted
         as part of the Comstock Act of 1873, section 1461 currently declares
         “[e]very article or thing designed, adapted, or intended for producing
         abortion,” as well as “[e]very article, instrument, substance, drug, medi-
         cine, or thing which is advertised or described in a manner calculated to
         lead another to use or apply it for producing abortion,” to be “nonmailable
         matter” that the United States Postal Service (“USPS”) may not lawfully
         deliver. 18 U.S.C. § 1461.
            We conclude that section 1461 does not prohibit the mailing, or the de-
         livery or receipt by mail, of mifepristone or misoprostol where the sender




            1 See Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228 (2022).

            2 See Ctrs. for Disease Control & Prevention, U.S. Dep’t of Health & Hum. Servs.,

         Abortion Surveillance—United States, 2019, 70 MMWR Surveillance Summaries, Nov.
         26, 2019, at 8, https://www.cdc.gov/mmwr/volumes/70/ss/ss7009a1.htm.

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         lacks the intent that the recipient of the drugs will use them unlawfully. 3
         This conclusion is based upon a longstanding judicial construction of the
         Comstock Act, which Congress ratified and USPS itself accepted. Federal
         law does not prohibit the use of mifepristone and misoprostol. Indeed, the
         U.S. Food and Drug Administration (“FDA”) has determined the use of
         mifepristone in a regimen with misoprostol to be safe and effective for the
         medical termination of early pregnancy. 4 Moreover, there are manifold
         ways in which recipients in every state may use these drugs, including to
         produce an abortion, without violating state law. Therefore, the mere
         mailing of such drugs to a particular jurisdiction is an insufficient basis
         for concluding that the sender intends them to be used unlawfully. 5

            3 A cognate provision, 18 U.S.C. § 1462, imposes similar abortion-related prohibitions

         on using an express company or other common carrier for “carriage” of such items. Our
         analysis in this memorandum is applicable to that provision as well.
            Sections 1461 and 1462 refer not only to persons who transmit such items by mail or
         by common carrier—the senders—but also to individuals who “knowingly cause[]” such
         items to be mailed, id. § 1461; “knowingly take[]” any such items from the mail for the
         purpose of circulating or disposing of them, id.; or “knowingly take[] or receive[]” such
         items from an express company or common carrier, id. § 1462. In the different contexts of
         obscenity and child pornography, courts of appeals have held that section 1461 applies to
         the act of the recipient who orders the nonmailable material and thereby “causes” it to be
         mailed. See, e.g., United States v. Carmack, 910 F.2d 748, 748 (11th Cir. 1990); United
         States v. Johnson, 855 F.2d 299, 305–06 (6th Cir. 1988). But see Johnson, 855 F.2d at
         307–11 (Merritt, J., dissenting); United States v. Sidelko, 248 F. Supp. 813, 815 (M.D. Pa.
         1965). As far as we know, however, these provisions have never been applied to prose-
         cute the recipients of abortion- and contraception-related materials. Moreover, the court
         of appeals decisions we discuss below construed the relevant provisions of the Comstock
         Act to turn on the nature of the sender’s intent, not that of the recipient. Consistent with
         this practice, we focus on the sender throughout this memorandum. To the extent a
         recipient might be covered, however, our analysis herein would apply and therefore
         section 1461 would not prohibit that person from ordering or receiving the drugs if she
         does not intend that they be used unlawfully.
            4 See Mifeprex (Mifepristone) Tablets, U.S. Food & Drug Admin. 2 (Mar. 2016),

         https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf (mifepris-
         tone label); see also Mifeprex (Mifepristone) Information, U.S. Food & Drug Admin.,
         https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-providers
         /mifeprex-mifepristone-information (last updated Dec. 16, 2021).
            5 For purposes of this opinion, we assume but do not decide that section 1461 could be

         constitutionally applied to the mailing of drugs intended to produce abortions. We also
         assume without deciding that state law, as well as federal, is relevant to the application of
         section 1461. In addition, we do not address here whether and under what circumstances
         the mailing of mifepristone or misoprostol might violate other federal laws. Finally, as

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               Application of the Comstock Act to Drugs That Can Be Used for Abortions

                                                         I.

            The Comstock Act has a long and complex history. The original 1873
         law was the handiwork of Anthony Comstock—“a prominent anti-vice
         crusader who believed that anything remotely touching upon sex was . . .
         obscene”—who successfully lobbied Congress and state legislatures in the
         nineteenth century to enact expansive laws “to prevent the mails from
         being used to corrupt the public morals.” Bolger v. Youngs Drug Prods.
         Corp., 463 U.S. 60, 70 n.19 (1983) (omission in original) (quotation
         marks and citations omitted); see also Priscilla J. Smith, Contraceptive
         Comstockery: Reasoning from Immorality to Illness in the Twenty-First
         Century, 47 Conn. L. Rev. 971, 982–84 (2015). Originally entitled “An
         Act for the Suppression of Trade in, and Circulation of, obscene Litera-
         ture and Articles of immoral Use,” Act of Mar. 3, 1873, ch. 258, 17 Stat.
         598 (“1873 Act”), the Act is perhaps best known for having prohibited the
         distribution of a wide range of writings until courts and the Executive
         Branch determined that the Free Speech Clause of the First Amendment
         significantly limited the permissible reach of the law, see, e.g., Bolger,
         463 U.S. at 69–75. In addition, the Act also included several restrictions
         on the conveyance of things designed to prevent conception or to produce
         abortion. 6 Congress largely repealed the references to contraceptives in

         you note, USPS Request at 3, some states have independently enacted laws to restrict the
         mailing of these drugs for abortion purposes within their jurisdiction. See, e.g., Tex.
         Health & Safety Code § 171.063(b-1). We do not here assess the possible effect of federal
         law on such state restrictions, other than to note our agreement with your view that the
         doctrine of intergovernmental immunity would preclude application of such state laws
         against USPS employees who are complying with their duties under federal law. See
         Intergovernmental Immunity for the Department of Veterans Affairs and Its Employees
         When Providing Certain Abortion Services, 46 Op. O.L.C. __, at *1–5, *10 (Sept. 21,
         2022).
            6 The original 1873 Act consisted of five sections, three of which are relevant to this

         opinion. Section 1 of the Act prohibited, inter alia, the sale, distribution, or possession, in
         the District of Columbia and federal territories, of “any drug or medicine, or any article
         whatever, for the prevention of conception, or for causing unlawful abortion,” along with
         advertisements for contraceptives and abortion services and information about how to
         obtain them. 1873 Act § 1, 17 Stat. at 598–99 (emphasis added). Congress chose not to
         include that prohibition when it comprehensively enacted title 18 into positive law in
         1948. See Pub. L. No. 80-772, § 21, 62 Stat. 683, 864 (1948) (repealing, inter alia, 18
         U.S.C. § 512 (1946)).
            Section 2 of the Act, which eventually became codified as section 1461, criminalized
         the mailing of, inter alia, “obscene, lewd, or lascivious” writings; “any article or thing

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         1971. See Pub. L. No. 91-662, 84 Stat. 1973 (1971) (discussed infra Part
         I.C).
            In its current form, section 1461, which is derived from section 2 of the
         1873 Act, begins by declaring “[e]very obscene, lewd, lascivious, inde-
         cent, filthy or vile article, matter, thing, device, or substance” to be “non-
         mailable matter” that “shall not be conveyed in the mails or delivered
         from any post office or by any letter carrier.” 18 U.S.C. § 1461. The next
         clauses declare nonmailable “[e]very article or thing designed, adapted, or
         intended for producing abortion, or for any indecent or immoral use; and
         [e]very article, instrument, substance, drug, medicine, or thing which is
         advertised or described in a manner calculated to lead another to use or
         apply it for producing abortion, or for any indecent or immoral purpose.”
         Id.; see also 39 U.S.C. § 3001(a) (likewise declaring such matter to be
         “nonmailable”). Section 1461 further makes it a felony to “knowingly
         use[] the mails for the mailing, carriage in the mails, or delivery” of any
         such things, or to “knowingly cause[]” them “to be delivered by mail
         according to the direction thereon.” 18 U.S.C. § 1461. In addition, 18
         U.S.C. § 1462 imposes two other, related prohibitions: it makes it unlaw-
         ful to bring those same things “into the United States, or any place subject
         to the jurisdiction thereof,” and it prohibits the knowing use of “any




         intended or adapted for any indecent or immoral use or nature”; and “any article or thing
         designed or intended for the prevention of conception or procuring of abortion.” 1873 Act
         § 2, 17 Stat. at 599. Before Congress enacted title 18 into positive law in 1948, the
         provision that is now section 1461 was codified at 18 U.S.C. § 334 (1925–1926).
             Section 3 of the 1873 Act prohibited all persons “from importing into the United
         States” any of the “hereinbefore-mentioned articles or things”—referring to the items
         prohibited by sections 1 and 2. 1873 Act § 3, 17 Stat. at 599. One year later, see Act of
         June 20, 1874, ch. 333, 18 Stat. pt. 3, at 113–14, Congress codified section 3 of the
         Comstock Act as section 2491 of the Revised Statutes and, in doing so, replaced the
         section’s reference to the “hereinbefore-mentioned articles or things” with a list of articles
         and things pulled from the other provisions of the Comstock Act, see Rev. Stat. § 2491
         (1st ed. 1875), 18 Stat. pt. 1, at 460; see also Rev. Stat. § 2491 (2d ed. 1878), 18 Stat.
         pt. 1, at 457. In supplying content to these words, Congress prohibited the importation of
         articles or things “for causing unlawful abortion,” reflecting the language of section 1 of
         the original Comstock Act. Rev. Stat. § 2491 (1st ed. 1875), 18 Stat. pt. 1, at 460. Con-
         gress consistently retained the words “unlawful abortion” in follow-on versions of this
         restriction, including in subsequent Tariff Acts through 1930, after which the provision
         was codified at 19 U.S.C. § 1305.

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               Application of the Comstock Act to Drugs That Can Be Used for Abortions

         express company or other common carrier or interactive computer ser-
         vice” for “carriage” of such items “in interstate or foreign commerce.” 7
            Over the course of the last century, the Judiciary, Congress, and USPS
         have all settled upon an understanding of the reach of section 1461 and
         the related provisions of the Comstock Act that is narrower than a literal
         reading might suggest. This construction occurred long before the Su-
         preme Court’s decisions in Griswold v. Connecticut, 381 U.S. 479 (1965),
         and Roe and thus was not dependent upon the Court’s recognition of
         constitutional rights regarding the prevention or termination of pregnancy.
         Beginning early in the twentieth century, federal courts construed the
         provisions not to prohibit all mailing or other conveyance of items that
         can be used to prevent or terminate pregnancy. By the middle of the
         century, the well-established, consensus interpretation was that none of
         the Comstock Act provisions, including section 1461, prohibits a sender
         from conveying such items where the sender does not intend that they be
         used unlawfully. USPS accepted that construction and informed Congress
         of it. On several occasions, Congress reenacted and amended the Com-
         stock Act against the backdrop of the judicial precedent in a manner that
         ratified the federal courts’ narrowing construction.

                                                     A.

            Since early in the twentieth century, federal courts have agreed that
         section 1461 and related Comstock Act provisions do not categorically
         prohibit the mailing or other conveyance of items designed, adapted, or
         intended for preventing or terminating pregnancy.
            In 1915, in Bours v. United States, 229 F. 960 (7th Cir. 1915), the U.S.
         Court of Appeals for the Seventh Circuit reversed the conviction of a
         doctor who had mailed a letter addressing how a woman might procure an
         “operation” from him. The court noted that Congress enacted the provi-
         sion that is now section 1461 pursuant to its “national power of control-
         ling the mails” and held that, “[i]n applying the national statute to an
         alleged offensive use of the mails at a named place, it is immaterial what

            7 The importation prohibition—along with 19 U.S.C. § 1305 (prohibiting the importa-

         tion into the United States of “any drug or medicine or any article whatever for causing
         unlawful abortion”)—derives from section 3 of the original 1873 Act, see § 3, 17 Stat. at
         599. The common-carrier prohibitions derive from an 1897 law extending the mailing
         prohibitions of the original Comstock Act to common carriers. See Act of Feb. 8, 1897,
         ch. 172, 29 Stat. 512.

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         the local statutory definition of abortion is, what acts of abortion are
         included, or what excluded.” Id. at 964. The court further held that
         “[t]hough the letter of the statute would cover all acts of abortion,” under
         a “reasonable construction,” the statute should not be read to prohibit the
         mailing of advertisements for a procedure a doctor would perform in
         order “to save [the] life” of the woman. Id. Because the indictment had
         not drawn this distinction, the defendant had no opportunity to explain
         whether he had intended to perform the operation “only under such cir-
         cumstances as would make it the duty of any reputable physician to per-
         form the act.” Id. at 965. Therefore, the court reversed the judgment and
         remanded the case. Id. at 966.
            Fifteen years later, in Youngs Rubber Corp. v. C.I. Lee & Co., 45 F.2d
         103 (2d Cir. 1930), the U.S. Court of Appeals for the Second Circuit also
         reasoned in dicta that the statute could not be construed as expansively as
         its language might suggest. Youngs Rubber was a trademark infringement
         suit in which the defendants argued that the plaintiff’s business was
         unlawful because it involved sending Trojan condoms to druggists for
         retail sale via the mail and common carriage, a practice that—according to
         the defendant—violated the Comstock Act. Id. at 108. “Taken literally,”
         the appeals court wrote, the Comstock Act’s “language would seem to
         forbid the transportation by mail or common carriage of anything
         ‘adapted,’ in the sense of being suitable or fitted, for preventing concep-
         tion or for any indecent or immoral purpose, even though the article might
         also be capable of legitimate uses and the sender in good faith supposed
         that it would be used only legitimately.” Id. “Such a construction,” the
         court cautioned, “would prevent mailing to or by a physician of any drug
         or mechanical device ‘adapted’ for contraceptive or abortifacient uses,
         although the physician desired to use or to prescribe it for proper medical
         purposes.” Id. The court observed that New York law did not prohibit
         supplying such articles to physicians “or by their direction or prescrip-
         tion.” Id. at 109 (quotation marks omitted). Reasoning that “[t]he inten-
         tion to prevent a proper medical use of drugs or other articles merely
         because they are capable of illegal uses is not lightly to be ascribed to
         Congress,” the court construed the statute’s contraception and abortion
         prohibitions to “requir[e] an intent on the part of the sender that the article
         mailed or shipped by common carrier be used for illegal contraception or
         abortion.” Id. at 108.
            In 1933, the U.S. Court of Appeals for the Sixth Circuit embraced the
         same limiting construction of the Comstock Act. Davis v. United States,

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               Application of the Comstock Act to Drugs That Can Be Used for Abortions

         62 F.2d 473 (6th Cir. 1933), involved a defendant who was convicted of,
         among other things, the sale of “rubber sundries” to druggists that were
         delivered by common carrier. Id. at 474. Invoking the “rule of reasonable
         construction,” id. at 475, the Davis court reversed the conviction because
         the district court did not permit the admission of evidence that the defend-
         ant had sent the items intending that they be used for “treatment and
         prevention of disease” rather than to prevent conception, id. at 474. The
         court quoted with approval Youngs Rubber’s view that the statute should
         be read to “requir[e] an intent on the part of the sender that the article
         mailed or shipped by common carrier be used for illegal contraception or
         abortion or for indecent or immoral purposes,” id., and noted that the
         “soundness of its reasoning commends itself to us,” id. at 475. The court
         accordingly rejected the district court’s conclusion that the statute “brings
         within the condemnation of each section articles or things that are capable
         of being used for the specified purposes without respect to their having a
         legitimate use, and without regard to the intent of the persons mailing
         [them],” id. at 474, holding instead that “intent that the articles . . .
         shipped in interstate commerce were to be used for condemned purposes
         is a prerequisite to conviction,” id. at 475.
            Three years later, the Second Circuit revisited the issue and adopted
         Youngs Rubber’s dicta as a holding in United States v. One Package, 86
         F.2d 737 (2d Cir. 1936). In that case, a New York gynecologist had im-
         ported vaginal pessaries from a Japanese sender who had asked the doctor
         to use them in her practice to assess whether they were useful for contra-
         ceptive purposes. Id. at 738. At the time, New York law prohibited the
         sale or provision of articles for the prevention of conception, but it in-
         cluded an exception for the provision of such things to physicians “who
         may in good faith prescribe their use for the cure or prevention of dis-
         ease.” Id. (citing N.Y. Penal Law § 1145 (Consol. Laws, c. 40)). The
         doctor testified that she prescribed the items only where her patient had a
         health-related reason such that “it would not be desirable for a patient to
         undertake a pregnancy,” which the court of appeals apparently understood
         to fall within the exception under New York law that permitted physicians
         to provide patients with contraceptives for particular purposes. Id. 8 The
         court quoted favorably, and at length, from the dicta in Youngs Rubber,
         and noted the accord of the Sixth Circuit in Davis. Id. at 738–39. It then

           8 The court of appeals noted that the accuracy and good faith of the doctor’s testimony

         was “not questioned.” One Package, 86 F.2d at 738.

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         dismissed the case because none of the relevant provisions should be read
         to prohibit the mailing or importation of items to prevent or terminate
         pregnancy with the intent that they be used for lawful purposes. Id. at
         739–40. The court reasoned that it was appropriate to, in effect, imply the
         insertion of the adjective “unlawful,” which expressly modified the word
         “abortion” in some provisions of the Comstock Act, to modify the terms
         “prevention of conception” and “abortion” throughout the various provi-
         sions that derived from the Act. Id. 9 The court elaborated:
               [W]e are satisfied that this statute, as well as all the acts we have re-
               ferred to, embraced only such articles as Congress would have de-
               nounced as immoral if it had understood all the conditions under
               which they were to be used. Its design, in our opinion, was not to
               prevent the importation, sale, or carriage by mail of things which
               might intelligently be employed by conscientious and competent
               physicians for the purpose of saving life or promoting the well being
               of their patients. The word “unlawful” would make this clear as to

            9 The case involved the “prevention of conception” prong of the Tariff Act of 1930—a

         descendent provision of the original Comstock Act—which prohibited importing articles
         “for the prevention of conception or for causing unlawful abortion.” One Package, 86
         F.2d at 738 (emphasis added) (quoting 19 U.S.C. § 1305(a) (1934)); see also supra
         note 6. The court noted that the original 1873 Comstock Act likewise used the adjective
         “unlawful” to modify “abortion” in one of its provisions (section 1—involving the sale
         and possession of abortifacients in federal territories) but not in others, and not as to
         articles for preventing conception. One Package, 86 F.2d at 739. The court reasoned that
         Congress could not reasonably have had the design to make the “unlawful” nature of the
         intended use an element of the offense under some of the abortion-related prohibitions but
         not others, or as to the importation of items used for abortion but not those used for
         contraception. See id. (“[I]n the Comstock Act, . . . the word ‘unlawful’ was sometimes
         inserted to qualify the word ‘abortion,’ and sometimes omitted. It seems hard to suppose
         that under the second and third sections articles intended for use in procuring abortions
         were prohibited in all cases while, under the first section, they were only prohibited when
         intended for use in an ‘unlawful abortion.’”). Instead, the court reasoned, the adjective
         “unlawful” must in effect be read to modify all of the prohibitions. Id.; see also id. at 740
         (Learned Hand, J., concurring) (“[I]t is of considerable importance that the law as to
         importations should be the same as that as to the mails; we ought not impute differences
         of intention upon slight distinctions in expression.”). The One Package court’s analysis
         that the adjective “unlawful” should be read to modify all of the provisions of the Com-
         stock Act is bolstered by the 1874 Congress’s understanding of the term “hereinbefore-
         mentioned articles” in section 3 of the Comstock Act to prohibit the import only of
         articles, drugs, or medicines “for causing unlawful abortion.” See supra note 6; Rev. Stat.
         § 2491 (1st ed. 1875), 18 Stat. pt. 1, at 460.

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               articles for producing abortion, and the courts have read an exemp-
               tion into the act covering such articles even where the word “unlaw-
               ful” is not used. The same exception should apply to articles for pre-
               venting conception. . . . It seems unreasonable to suppose that the
               national scheme of legislation involves such inconsistencies and re-
               quires the complete suppression of articles, the use of which in many
               cases is advocated by such a weight of authority in the medical
               world.
         Id.
            The Second Circuit again reaffirmed this construction of the statute
         shortly thereafter in United States v. Nicholas, 97 F.2d 510 (2d Cir. 1938),
         which involved the Comstock Act’s prohibition on mailing information
         about contraception. Citing Youngs Rubber and One Package, the court in
         Nicholas noted: “We have twice decided that contraceptive articles may
         have lawful uses and that statutes prohibiting them should be read as
         forbidding them only when unlawfully employed.” Id. at 512. 10 Applying
         this reading, the court held that USPS was required to deliver a magazine
         containing contraception-related information to a magazine editor who
         might then distribute it to persons such as physicians who could use the
         information lawfully. Id. The court further held that USPS should detain a
         book containing such information when it was addressed to an individual
         “about whom nothing” was known “except that he was not a physician,”
         id. at 511, but allowed for the recipient to “prove whether he is among the
         privileged classes” whose possession of the book “would be lawful,” id. at
         512.


             10 Although Nicholas described the relevant inquiry as being whether the articles were

         “unlawfully employed,” rather than whether the sender intended that they be used unlaw-
         fully—the touchstone the court had adopted in Youngs Rubber and One Package—this
         difference in phrasing does not reflect a departure relevant to our analysis. The court’s
         invocation of those two earlier decisions without qualification, as well as its further
         citation to Davis, indicates that it did not intend to deviate from the interpretation of the
         Act that the court had adopted in those decisions. Both the Historical and Revision Note
         to section 1461 and subsequent federal decisions understood Nicholas similarly. See 18
         U.S.C. § 1461 (Historical and Revision Note) (observing that Nicholas followed “[t]he
         same rule” as Davis, which held that “the intent of the person” that a mailing “be used for
         condemned purposes was necessary for a conviction” (emphasis added)); United States v.
         Gentile, 211 F. Supp. 383, 385 n.5 (D. Md. 1962) (citing, inter alia, Nicholas for the
         proposition that “contraceptive devices [must be] shipped and received with intent that
         they be used for illegal contraception or abortion”).

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            In 1944, the U.S. Court of Appeals for the D.C. Circuit also narrowly
         construed the statute in the context of a report about contraceptive materi-
         als that a consumer group had published and mailed to individuals who
         submitted a signed certificate attesting, “I am married and use prophylac-
         tic materials on the advice of a physician.” Consumers Union of United
         States, Inc. v. Walker, 145 F.2d 33, 33 (D.C. Cir. 1944). The appeals court
         explained that it was “inclined to follow the interpretation [of the Com-
         stock Act] which has been adopted in other circuits,” citing to Nicholas,
         Davis, Youngs Rubber, and One Package. Id. at 35 & n.11. It therefore
         concluded that “Congress did not intend to exclude from the mails proper-
         ly prepared information intended for properly qualified people,” and held
         that the report “was proper in character within the meaning of those
         decisions.” Id. at 35.
            Subsequent judicial discussions of the relevant Comstock Act provi-
         sions recognized the narrowing construction upon which the courts of
         appeals had converged. See, e.g., United States v. Gentile, 211 F. Supp.
         383, 385 n.5 (D. Md. 1962) (“It seems clear under the authorities that in
         order to make out an offense under this paragraph the Government should
         be required to allege and prove that contraceptive devices are shipped and
         received with intent that they be used for illegal contraception or abortion
         or for indecent or immoral purposes.” (citing Youngs Rubber, Davis, and
         Nicholas)); United States v. H.L. Blake Co., 189 F. Supp. 930, 934–35
         (W.D. Ark. 1960) (“It would seem reasonable to give the word ‘adapted’ a
         more limited meaning than that above suggested and to construe the
         whole phrase ‘designed, adapted or intended’ as requiring an intent on the
         part of the sender that the article mailed or shipped by common carrier be
         used for illegal contraception or abortion or for indecent or immoral
         purposes.” (quoting Youngs Rubber, 45 F.2d at 108)); United States v. 31
         Photographs, 156 F. Supp. 350, 357 (S.D.N.Y. 1957) (characterizing the
         appellate court decisions as “upholding importation of contraceptives and
         books dealing with contraception when sought to be brought into the
         country for purposes of scientific and medical research,” such that “only
         contraceptives intended for ‘unlawful’ use were banned” (citing, inter
         alia, One Package, Nicholas, Davis, and Walker)); see also Poe v.
         Ullman, 367 U.S. 497, 546 n.12 (1961) (Harlan, J., dissenting) (“[B]y
         judicial interpretation . . . the absolute prohibitions of the [Comstock] law
         were qualified to exclude professional medical use.” (citing Youngs Rub-
         ber, Davis, and One Package)).


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            As the court in one of those later cases noted, the analysis in Youngs
         Rubber “has been cited many times and has become the law to be applied
         to the facts where the question of a violation of the statute . . . is before
         the court.” H.L. Blake Co., 189 F. Supp. at 934. Under that “law to be
         applied,” the court explained, “it is well established that the defendants
         should not be convicted unless it is established beyond a reasonable doubt
         that at the time they mailed the sample packages of prophylactics . . . they
         intended them to ‘be used for illegal contraception.’” Id. at 935 (quoting
         Youngs Rubber, 45 F.2d at 108). 11

                                                      B.

            Congress has amended the Comstock Act’s provisions numerous times
         since the federal courts’ decisions in Bours, Youngs Rubber, Davis, One
         Package, Nicholas, and Walker, each time perpetuating the wording of the
         Act’s abortion-related provisions. Moreover, as we explain in greater
         detail below, USPS accepted the courts’ narrowing construction of the
         Act in administrative rulings, and it informed Congress of the agency’s
         acceptance of that construction in connection with Congress’s amendment
         of the contraception-related provisions of the Comstock Act.
            We conclude that Congress’s repeated actions, taken “[a]gainst this
         background understanding in the legal and regulatory system,” Texas
         Dep’t of Housing & Cmty. Affs. v. Inclusive Cmtys. Project, 576 U.S. 519,
         536 (2015), ratified the Judiciary’s settled narrowing construction. See id.
         (“If a word or phrase has been . . . given a uniform interpretation by
         inferior courts . . . , a later version of that act perpetuating the wording is
         presumed to carry forward that interpretation.” (omissions in original)
         (quoting Antonin Scalia & Bryan A. Garner, Reading Law: The Interpre-

            11 The leading cases that established this accepted construction—Youngs Rubber, One

         Package, and Davis—each involved items that could be used to prevent conception rather
         than to produce abortion. Nevertheless, the canonical passage from Youngs Rubber,
         repeated in each of the cases and in others thereafter, referred both to items designed to
         prevent conception and to those designed to induce abortions. Moreover, the court in One
         Package went to lengths to explain that all of the relevant Comstock Act prohibitions
         should be read consistently to require proof of a sender’s intent to facilitate unlawful
         downstream use. See supra note 9; see also Bours, 229 F. 960 (construing narrowly the
         prohibition on mailing of information about how to obtain abortions). We therefore agree
         with your assessment that “there is no apparent reason why the case-law principles
         applicable to contraceptive articles (formerly) under Section 1461 would not also apply to
         abortion-inducing articles under the same provision.” USPS Request at 3 n.3.

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         tation of Legal Texts 322 (2012))); Lorillard v. Pons, 434 U.S. 575, 580
         (1978) (“Congress is presumed to be aware of an administrative or judi-
         cial interpretation of a statute and to adopt that interpretation when it re-
         enacts a statute without change.”); cf. Bragdon v. Abbott, 524 U.S. 624,
         645 (1998) (“When administrative and judicial interpretations have settled
         the meaning of an existing statutory provision, repetition of the same
         language in a new statute indicates, as a general matter, the intent to
         incorporate its administrative and judicial interpretations as well.”);
         Forest Grove Sch. Dist. v. T.A., 557 U.S. 230, 244 n.11 (2009) (holding
         that when Congress amended the Individuals with Disabilities Education
         Act without altering the text of a provision that the Supreme Court had
         previously interpreted, Congress “implicitly adopted [the Court’s] con-
         struction of the statute”).
            The conclusion that Congress ratified the longstanding judicial view of
         the Comstock Act is strongly reinforced by the Historical and Revision
         Note that was included in the 1945 report of the House Committee on the
         Revision of the Laws 12 when Congress enacted title 18 of the U.S. Code
         into positive law. 13 That Note subsequently was appended to the official
         U.S. Code entries for sections 1461 and 1462. See 18 U.S.C. § 1461
         (Historical and Revision Note). 14 It specifically “invited” the “attention of
         Congress” to the courts of appeals’ decisions in Youngs Rubber, Davis,
         Nicholas, and One Package, and quoted at length from Youngs Rubber,
         including its conclusion that the relevant provisions of the statute should
         be construed to require “an intent on the part of the sender that the article


            12 See H.R. Rep. No. 79-152, at A96–97 (1945).

            13 See Pub. L. No. 80-772, 62 Stat. at 768.

            14 The Historical and Revision Notes were written by a staff of experts hired by Con-

         gress to revise the U.S. Code in the 1940s, including the editorial staffs of the West and
         Thompson publishing companies, the former Chief of the Appellate Section of the
         Department of Justice Criminal Division, and other contributors from both inside and
         outside of government. See H.R. Rep. No. 79-152, at 1–7 (1945) (describing in detail this
         revision process and noting that “[t]he [House] Committee on Revision of the Laws has
         exercised close and constant supervision over this work through its general counsel . . .
         and its special counsel”). The Supreme Court has discussed or relied on Historical and
         Revision Notes numerous times, most frequently during the middle of the twentieth
         century. See, e.g., Ex parte Collett, 337 U.S. 55, 65–71 (1949) (discussing a revision note
         to 28 U.S.C. § 1404 and concluding that the revision note was highly significant in
         determining the meaning of section 1404(a)); W. Pac. R.R. Corp. v. W. Pac. R.R. Co., 345
         U.S. 247, 254–55 (1953); Muniz v. Hoffman, 422 U.S. 454, 471–73 (1975).

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         mailed or shipped by common carrier be used for illegal contraception or
         abortion.” Id. 15
            Congress subsequently amended the Comstock Act four times (in 1955,
         1958, 1971, and 1994) without changing the language in any respect that
         suggested disagreement with the well-established narrowing interpretation
         that the Historical and Revision Note had specifically brought to its atten-
         tion. Congress made the third of these amendments in 1971—removing
         the Act’s references to contraceptives—after being informed by the Post-

           15 The Note’s complete discussion of the court of appeals decisions is as follows:

              The attention of Congress is invited to the following decisions of the Federal courts
              construing this section and section 1462 of this title.
              In Youngs Rubber Corporation, Inc. v. C. I. Lee & Co., Inc., C.C.A. 1930, 45 F. 2d
              103, it was said that the word “adapted” as used in this section and in section 1462
              of this title, the latter relating to importation and transportation of obscene matter,
              is not to be construed literally, the more reasonable interpretation being to construe
              the whole phrase “designed, adapted or intended” as requiring “an intent on the part
              of the sender that the article mailed or shipped by common carrier be used for ille-
              gal contraception or abortion or for indecent or immoral purposes.” The court
              pointed out that, taken literally, the language of these sections would seem to forbid
              the transportation by mail or common carrier of anything “adapted,” in the sense of
              being suitable or fitted, for preventing conception or for any indecent or immoral
              purpose, “even though the article might also be capable of legitimate uses and the
              sender in good faith supposed that it would be used only legitimately. Such a con-
              struction would prevent mailing to or by a physician of any drug or mechanical de-
              vice ‘adapted’ for contraceptive or abortifacient uses, although the physician de-
              sired to use or to prescribe it for proper medical purposes. The intention to prevent
              a proper medical use of drugs or other articles merely because they are capable of
              illegal uses is not lightly to be ascribed to Congress. Section 334 [this section] for-
              bids also the mailing of obscene books and writings; yet it has never been thought
              to bar from the mails medical writings sent to or by physicians for proper purposes,
              though of a character which would render them highly indecent if sent broadcast to
              all classes of persons.” In United States v. Nicholas, C.C.A. 1938, 97 F. 2d 510,
              ruling directly on this point, it was held that the importation or sending through the
              mails of contraceptive articles or publications is not forbidden absolutely, but only
              when such articles or publications are unlawfully employed. The same rule was fol-
              lowed in Davis v. United States, C.C.A. 1933, 62 F. 2d 473, quoting the obiter
              opinion from Youngs Rubber Corporation v. C. I. Lee & Co., supra, and holding
              that the intent of the person mailing a circular conveying information for preventing
              conception that the article described therein should be used for condemned purpos-
              es was necessary for a conviction; also that this section must be given a reasonable
              construction. (See also United States v. One Package, C.C.A. 1936, 86 F. 2d 737.)
         18 U.S.C. § 1461 (Historical and Revision Note).

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         master General that both the federal courts and USPS had adopted this
         narrowing interpretation. See H.R. Rep. No. 91-1105, at 3–4 (1970). 16
         Moreover, we have found no evidence that Congress disapproved of the
         interpretation. 17 Indeed, in 2007 Congress legislated regarding the FDA’s
         treatment of mifepristone in a manner consistent with the understanding
         that the Comstock Act does not categorically prohibit the covered modes
         of conveying abortion-inducing drugs. 18
            Congress’s several actions “perpetuating the wording” of the Comstock
         Act’s abortion provisions against the backdrop of a well-established,
         settled judicial construction that was brought to Congress’s attention


            16 See supra note 11 (explaining that the courts of appeals’ rationales applied equally

         to conveyance of items to prevent conception and to produce abortion).
             17 The House report stated at the outset of its discussion that “[e]xisting statutes com-

         pletely prohibit the importation, interstate transportation, and mailing of contraceptive
         materials, or the mailing of advertisement or information concerning how or where such
         contraceptives may be obtained or how conception may be prevented.” H.R. Rep. No. 91-
         1105, at 2. That introductory remark, however, plainly was a reference to the literal text
         of the provisions, as opposed to their settled meaning. The report proceeded to convey the
         Postmaster General’s description of the settled judicial and administrative narrowing
         construction of the statute, noting that it was in tension with the text of the contraception
         provisions, and neither the report nor any evidence in the legislative record of which we
         are aware expresses the committee’s disagreement with that construction.
             18 In approving a mifepristone product for certain abortions in 2000, the FDA imposed

         certain restrictions on distribution as a condition of approval, pursuant to its regulatory
         authority. See Letter for Sandra P. Arnold, Vice President, Population Council, from Ctr.
         for Drug Evaluation & Rsch., U.S. Food & Drug Admin., Re: NDA 20-687 (Sept. 28,
         2000). In the Food and Drug Administration Amendments Act of 2007 (“FDAAA”),
         Congress provided that any such restrictions, identified in the FDAAA as “elements to
         assure safe use,” were deemed to be a “Risk Evaluation and Mitigation Strategy” that
         would continue to be required under the new statutory regime unless and until the FDA
         determined that modifications were necessary. See Pub. L. No. 110-85, tit. IX, § 909(b),
         121 Stat. 823, 950–51 (2007). In the debate preceding this amendment, critics of the
         FDA’s 2000 approval of mifepristone for abortion purposes acknowledged that the
         legislation would apply to that mifepristone approval. See 153 Cong. Rec. S5765 (daily
         ed. May 9, 2007) (statement of Sen. Coburn); 153 Cong. Rec. S5469–70 (daily ed. May 2,
         2007) (statement of Sen. DeMint). Yet neither those critics nor anyone else in the con-
         gressional debate mentioned the Comstock Act, even though it would have been natural to
         assume that the FDA’s 2000 approval had resulted in the distribution of mifepristone to
         certified physicians through the mail or by common carrier. Congress’s decision to carry
         forward the FDA’s regulatory conditions for mifepristone without addressing such modes
         of distribution suggests that Congress did not understand the Comstock Act to invariably
         prohibit the conveyance by mail or common carrier of drugs intended to induce abortions.

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         establishes Congress’s acceptance of that narrowing construction. Inclu-
         sive Cmtys. Project, 576 U.S. at 536. That construction, as noted, does not
         prohibit the mailing of an item that is designed, adapted, or intended for
         producing abortion in the absence of an intent by the sender that the item
         will be used unlawfully.

                                                 C.

            USPS has accepted the settled judicial construction of the Comstock
         Act—and reported as much to Congress.
            In 1951, the Solicitor of the Post Office Department, Roy C. Frank,
         wrote to an Arizona postmaster concerning a Planned Parenthood clinic’s
         mailing of diaphragms and vaginal jellies to its patients “for medicinal
         purposes.” Contraceptive Matter—Mailings—Physicians, 9 Op. Sol.
         P.O.D. 47 (1951) (No. 40). Citing “the decisions of the Federal courts,”
         Frank opined that a “mailing of contraceptives by a physician to a patient
         would not be regarded as a violation” of the Comstock Act. Id. Similarly,
         in 1963, when the St. Louis Postmaster detained 490 “contraceptive
         devices and substances,” the USPS General Counsel informed him that he
         should “dispatch” those items because “there is no available evidence that
         the items in each of these parcels were being distributed for unlawful
         purposes.” Letter for Harriet F. Pilpel, Greenbaum, Wolff & Ernst, from
         Louis J. Doyle, General Counsel, Post Office Department (Oct. 24, 1963)
         (on file with the Smith College Libraries). In a letter to the sender Emko
         Company’s counsel, the USPS General Counsel added that “should we
         obtain evidence in the future that [Emko] is distributing contraceptive
         devices and substances for unlawful purposes we will again look into the
         matter.” Id.
            Of particular importance, when Congress was considering amendments
         to the Comstock Act in 1970, USPS brought to Congress’s attention its
         acceptance of the Judiciary’s narrowing construction. The Postmaster
         General submitted a statement to Congress about his agency’s understand-
         ing that “the delivery by mail of contraceptive information or materials
         has by court decisions, and administrative rulings based on such deci-
         sions, been considered proper in cases where a lawful and permissive
         purpose is present.” See H.R. Rep. No. 91-1105, at 3–4 (1970). As a
         result, “[t]he lawful mailing . . . of contraceptive articles . . . is dependent
         on the interpretation given to the intended purpose.” Id. at 4. The Post-
         master General noted that “[w]hat is a lawful purpose within the meaning

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         of the interpretations given, though vaguely identifiable, has with the
         passage of time also been considerably broadened” and that “many States
         . . . have adopted positive legislation to authorize or encourage public
         family planning services.” Id. As a result, by the time the Postmaster
         General wrote to Congress in 1970—after the Court’s Griswold decision
         holding unconstitutional a state prohibition on the use of contraception—
         “it [was] quite clear that the cited law as presently written [was] unen-
         forceable.” Id.
             The House Ways and Means Committee included the Postmaster Gen-
         eral’s statement in its report on the draft amendment and noted that “[i]n
         view of” that statement—along with statements supporting the draft
         amendment by the Departments of Labor and of Health, Education, and
         Welfare—the Committee on Ways and Means was “unanimous in recom-
         mending enactment of H.R. 4605.” Id. Congress then amended the Com-
         stock Act to repeal most of the Act’s applications to contraceptives. See
         Pub. L. No. 91-662, 84 Stat. at 1973–74. 19

                                                 *****

            Thus, before the Court’s recognition of a constitutional right to contra-
         ception in Griswold and to abortion in Roe, the Judiciary, Congress, and
         USPS itself all understood section 1461 and the related provisions of the
         Comstock Act not to prohibit the conveyance of articles intended for
         preventing conception or producing an abortion where the sender lacks
         the intent that those items should be used unlawfully. We further note
         that, shortly after Congress amended the Comstock Act in 1971 to elimi-
         nate the restrictions on contraceptives, the Supreme Court’s decision in
         Roe effectively rendered unenforceable the restrictions on articles “de-
         signed, adapted, or intended for producing abortion.” For the past half
         century, courts have not had the occasion to elaborate further on the
         meaning of the Comstock Act as it relates to abortion, including regarding


            19 Although the 1971 Congress eliminated the preexisting broad prohibitions on send-

         ing contraception-related articles and information using the mails or common carriage, it
         added a narrower prohibition designed to prevent the mailing of unsolicited contraceptive
         items and advertising to private homes. See 39 U.S.C. § 3001(e); see also 18 U.S.C.
         § 1461 (making it a crime to knowingly use the mails to mail anything deemed “nonmail-
         able” in section 3001(e)). In Bolger, the Supreme Court held that the ban on unsolicited
         advertisements of contraceptives violates the First Amendment. 463 U.S. at 61.

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         the sources of law that inform whether an abortion would be “unlawful”
         for purposes of the established construction of the Act.

                                                      II.

            In Part I we demonstrated that, in accord with the prevailing judicial
         construction Congress ratified, section 1461 does not prohibit the mailing
         of articles that can be used to produce abortion, including mifepristone
         and misoprostol, where the sender lacks the intent that those items should
         be used unlawfully. 20 We turn now to address the many circumstances in
         which a sender of these drugs typically will lack an intent that they be
         used unlawfully.
            Federal law does not prohibit the use of mifepristone and misoprostol
         for producing abortions. Indeed, the FDA has determined the use of
         mifepristone in a regimen with misoprostol to be safe and effective for the
         medical termination of early pregnancy. And, to the extent relevant, these
         drugs can serve important medical purposes and recipients in every state
         can use them lawfully in some circumstances. This is true even when the
         drugs would be delivered to an address in a jurisdiction with restrictive
         abortion laws, because women who receive the drugs in all fifty states
         may, at least in some circumstances, lawfully use mifepristone and miso-
         prostol to induce an abortion.
            We note that those sending or delivering mifepristone and misoprostol
         typically will lack complete knowledge of how the recipients intend to use
         them and whether that use is unlawful under relevant law. Therefore, even
         when a sender or deliverer of mifepristone or misoprostol, including
         USPS, knows that a package contains such drugs—or indeed that they
         will be used to facilitate an abortion—such knowledge alone is not a
         sufficient basis for concluding that section 1461 has been violated. We
         also recognize that USPS may have reason to consider adopting uniform
         policies or practices regarding the mailing of mifepristone or misoprostol.
         Cf. Smith v. United States, 431 U.S. 291, 304 n.10 (1977) (“[T]he nation-
         wide character of the postal system argues in favor of a nationally uni-
         form construction of [section] 1461.”).




            20 See supra note 3 (noting that the same test would apply to section 1462 and to recip-

         ients of the drugs to the extent those persons might be amenable to prosecution).

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            We have not undertaken the challenging task of a detailed review of
         state abortion laws, but we can offer some illustrative uses for mifepris-
         tone and misoprostol that the law of a given state would not prohibit:
            • First, in most states—where a majority of the U.S. population
              lives—abortion continues to be lawful until at least twenty weeks’
              gestation. It is very unlikely that someone sending validly prescribed
              mifepristone or misoprostol into such states will intend for them to
              be used unlawfully.
            • Second, even some states that in recent months have enacted or be-
              gun to enforce more restrictive abortion laws continue to allow abor-
              tion for at least some number of weeks of pregnancy. Use of mife-
              pristone and misoprostol to terminate a pregnancy that falls within
              that period would be lawful.
            • Third, thus far, no state that has enacted or newly begun to enforce
              restrictions on abortion in the wake of Dobbs v. Jackson Women’s
              Health Organization, 142 S. Ct. 2228 (2022), prohibits abortions
              that are necessary to preserve the life of the woman. 21 Many medical
              conditions that make pregnancy potentially life-threatening—for in-
              stance, certain heart conditions, pulmonary hypertension, or Marfan
              Syndrome 22—are known in the first trimester, when women most
              commonly use mifepristone and misoprostol to induce an abortion.
              Such a use of these drugs to terminate a life-threatening pregnancy
              would be lawful.
            • Fourth, some state abortion restrictions also include exceptions for
              cases of rape or incest, to protect the health of the woman, or where
              there are severe fetal anomalies. The use of mifepristone or miso-



            21 See Dobbs, 142 S. Ct. at 2305 n.2 (Kavanaugh, J., concurring) (“Abortion statutes

         traditionally and currently provide for an exception when an abortion is necessary to
         protect the life of the mother.”); see also Roe, 410 U.S. at 173 (Rehnquist, J., dissenting)
         (“[I]f [a state] statute were to prohibit an abortion even where the mother’s life is in
         jeopardy, I have little doubt that such a statute would lack a rational relation to a valid
         state objective . . . .”).
            22 See, e.g., Inst. of Med., Clinical Prevention Services for Women: Closing the Gaps

         103–04 (2011); see also Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 737 (2014)
         (Kennedy, J., concurring) (noting that “[t]here are many medical conditions for which
         pregnancy is contraindicated”).

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               prostol to produce an abortion in such cases would therefore be law-
               ful.
            • Fifth, some states that regulate the conduct of certain actors involved
              in abortions do not make it unlawful for the woman herself to abort
              her pregnancy. In those contexts, section 1461 might not prohibit the
              mailing of mifepristone and misoprostol to a woman in a state with
              restrictions on abortion, even if the sender does so with the intent
              that the woman use the drugs to produce an abortion.
            • Sixth, even if a state prohibits a pregnant person from ingesting mif-
              epristone or misoprostol for the purpose of inducing an abortion,
              such an individual has a constitutional right to travel to another state
              that has not prohibited that activity and to ingest the drugs there. 23
              Someone sending a woman these drugs is unlikely to know where
              she will use them, which might be in a state in which such use is
              lawful.
            • Seventh, federal agencies provide abortion services in some circum-
              stances without regard to contrary state law. 24 Mailings of abortion

            23 See Dobbs, 142 S. Ct. at 2309 (Kavanaugh, J., concurring) (“[M]ay a State bar a

         resident of that State from traveling to another State to obtain an abortion? In my view,
         the answer is no based on the constitutional right to interstate travel.”); id. (referring to
         the question as “not especially difficult”); see also Bigelow v. Virginia, 421 U.S. 809, 824
         (1975) (explaining that Virginia could not “prevent its residents from traveling to New
         York to obtain [abortion] services or . . . prosecute them for going there” (citing United
         States v. Guest, 383 U.S. 745, 757–59 (1966))).
             24 The Department of Veterans Affairs (“VA”), for example, recently has begun

         providing abortions to veterans and certain other VA beneficiaries without regard to state
         law when the life or health of the woman would be endangered if the pregnancy were
         carried to term or the pregnancy is the result of an act of rape or incest. See Reproductive
         Health Services, 87 Fed. Reg. 55,287, 55,288 (Sept. 9, 2022). “[S]tates may not restrict
         VA and its employees acting within the scope of their federal authority from providing
         abortion services as authorized by federal law, including VA’s rule.” Intergovernmental
         Immunity for the Department of Veterans Affairs and Its Employees When Providing
         Certain Abortion Services, 46 Op. O.L.C. __, at *10; see also 87 Fed. Reg. at 55,294
         (noting that state and local laws, including criminal laws, that “restrict[], limit[], or
         otherwise impede[] a VA professional’s provision of care permitted by” this new rule
         “would be preempted” (citing 38 C.F.R. § 17.419(b))). Also, the Department of Defense
         (“DoD”) has for many years provided service members, dependents, and other beneficiar-
         ies of DoD health care services with abortion services when a pregnancy is the result of
         rape or incest or when continuing the pregnancy would endanger the woman’s life, and
         DoD has indicated it will continue to do so without regard to contrary state laws. See

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               medications intended to be used pursuant to these federal authorities
               would be lawful under section 1461, because contrary state law
               could not constitutionally be applied.
            • Finally, individuals use mifepristone and misoprostol for medical
              purposes other than to induce abortions and the legality of those uses
              would remain unaffected by state restrictions on abortion. For in-
              stance, the same dosages of mifepristone and misoprostol that are
              used for medication abortion can be used to treat a miscarriage,25 and
              misoprostol is commonly prescribed for the prevention and treatment
              of gastric ulcers. 26
            Thus, no matter where the drugs are delivered, a variety of uses of mif-
         epristone and misoprostol serve important medical purposes and are
         lawful under federal and state law. Accordingly, USPS could not reasona-
         bly assume that the drugs are nonmailable simply because they are being
         sent into a jurisdiction that significantly restricts abortion. Nor would
         such an assumption based solely on the recipient’s address be reasonable
         even if it is apparent that some women in a particular state are using the
         drugs in question in violation of state law. Cf. Youngs Rubber, 45 F.2d at
         110 (although the volume of the plaintiff’s sales nationwide justified an
         inference that the drug stores to which the condoms were being delivered
         must have been selling at least some of them for purposes that were
         prohibited under state law—“and that plaintiff must know this”—that was
         insufficient to conclude that the company intended such illegal conduct by
         the recipients).
            In conclusion, section 1461 does not prohibit the mailing of mifepris-
         tone or misoprostol where the sender lacks the intent that the recipient
         will use them unlawfully. And in light of the many lawful uses of mife-
         pristone and misoprostol, the fact that these drugs are being mailed to a

         Memorandum for Senior Pentagon Leadership from Gilbert R. Cisneros, Jr., Under
         Secretary of Defense for Personnel and Readiness, Department of Defense, Re: Ensuring
         Access to Essential Women’s Health Care Services for Service Members, Dependents,
         Beneficiaries, and Department of Defense Civilian Employees (June 28, 2022).
            25 See, e.g., Honor Macnaughton, Melissa Nothnagle & Jessica Early, Mifepristone and

         Misoprostol for Early Pregnancy Loss and Medication Abortion, 103 Am. Fam. Physician
         473, 475 (Apr. 15, 2021).
            26 See Cytotec Misoprostol Tablets, U.S. Food & Drug Admin. 5–6 (Aug. 2016),

         https://www.accessdata.fda.gov/drugsatfda_docs/label/2018/019268s051lbl.pdf (miso-
         prostol label).

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         jurisdiction that significantly restricts abortion is not a sufficient basis for
         concluding that the mailing violates section 1461. 27

                                             CHRISTOPHER H. SCHROEDER
                                               Assistant Attorney General
                                                 Office of Legal Counsel




            27 While this request was pending, we received a similar request from the Department

         of Health and Human Services (“HHS”) regarding the Comstock Act in connection with
         the Food and Drug Administration’s Risk Evaluation and Mitigation Strategy for mife-
         pristone. We conveyed our conclusions by e-mail to HHS on December 19, 2022, and we
         noted there that this memorandum was forthcoming. E-mail for Samuel Bagenstos,
         General Counsel, HHS, from Christopher H. Schroeder, Assistant Attorney General,
         Office of Legal Counsel, Re: Advice Regarding Comstock (Dec. 19, 2022, 8:31 PM).

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                                UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                      AMARILLO DIVISION


        Alliance for Hippocratic Medicine, et al.,

                                        Plaintiffs,
                                                                Case No. 2:22-cv-00223-Z
                                v.

     U.S. Food and Drug Administration, et al.,

                                        Defendant.


                                     DECLARATION OF JASON LINDO

          I, Jason Lindo, Ph.D., pursuant to 28 U.S.C. § 1746, declare under penalty of perjury that

the following is true and correct.


   I.          Professional Credentials and Experience

          1.      I provide the following facts and opinions as an expert in the field of economics,

policy evaluation, and reproductive health care. I am a Professor of Economics and the Ray A.

Rothrock ’77 Senior Fellow at Texas A&M University. Prior to my appointment as full

professor on September 1, 2018, I was an Associate Professor of Economics at Texas A&M

beginning in 2013.

          2.      I have been a Research Associate at the National Bureau of Economic Research

(NBER) since 2014, and before that, I was a Faculty Research Fellow at NBER beginning in

2011. NBER is the nation’s leading nonprofit economic research organization, studying a wide

range of topics, including the effects of various public policies.

          3.      I received a B.A. in economics in 2004, an M.A. in economics in 2005, and a

Ph.D. in economics in 2009—all from the University of California, Davis.




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         4.      I have published 28 research articles in peer-reviewed journals and books. I am a

Specialized Co-editor of Economic Inquiry, in which role I determine whether the journal should

publish submitted papers in the areas of health economics, public economics, and policy

evaluation.

         5.      My research interests include health economics and issues concerning youth,

including the economic effects of abortion and contraceptive policies. My recent and ongoing

work is especially focused on documenting the effects of changes in access to reproductive

healthcare.

         6.      I have taught courses on empirical research methods at the undergraduate and

graduate levels for 13 years. These courses focus on the quantitative methods that economists

use to evaluate the causal effects of government programs and other interventions, how these

methods overcome problems that often plague correlational analyses, and the conditions under

which these methods are appropriate. They also cover how these methods are used in the context

of research on reproductive health care.

         7.      A copy of my curriculum vitae setting forth my experience, education, and

credentials in greater detail is attached as Exhibit A.

   II.        Summary of Findings Below

         8.      Individuals seeking abortions in the United States come from an extremely

diverse set of backgrounds. Nonetheless, a substantial majority have incomes below the federal

poverty line, a majority have prior children, and a majority are neither married nor cohabitating.

         9.      Individuals report seeking abortions for many different reasons and combinations

of reasons. The most frequently cited reasons, which have substantial overlap, include: financial

insecurity, poor timing and/or not being ready, educational and career plans, problems associated




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with their partners, concerns about their existing children, and concerns about health that would

arise from continuing the pregnancy.

       10.     The Food and Drug Administration approved mifepristone for use in 2000. Since

2000, the overall number of abortions in the United States has decreased substantially. Though

the number of abortions is decreasing, the proportion of people who do obtain abortions who opt

for a medication abortion is increasing. This is shown in the figure below (and discussed in

greater detail in a subsequent section).




       11.     The share of abortions that are medication abortions has grown especially quickly

in recent years. Today, over 50 percent of abortions are medication abortions.

       12.     As detailed below, informational resources provided to abortion patients typically

highlight that the choice to have a medication abortion or a surgical abortion is a personal

decision, and that there are many reasons why people with different preferences may choose one



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method over the other.1 These informational resources often include among the advantages of

medication abortion such factors as: it is less physically invasive (i.e., eliminates the need to

have a procedure in which a doctor inserts surgical instruments into the uterus); it is more

private; and it allows greater control over when, where, and with whom the abortion occurs.

Surveys of patients presenting for abortion at clinics where they could obtain either a medication

abortion or a surgical abortion also highlight these factors, among many others, as important in

influencing people’s preferences for medication abortion.

         13.     People may also obtain a medication abortion, rather than a surgical abortion,

because medication abortion is the only option offered by a provider that is accessible to them.

This is particularly relevant given that 31 percent of clinics providing abortion only provide

medication abortion and because people seeking abortions, particularly surgical abortions, face

many obstacles to obtaining care, including obstacles related to travel. It is also relevant because

medication abortions are available, at least in some circumstances, via telehealth, whereas

surgical abortions are not.

         14.     The American College of Obstetricians and Gynecologists also highlights that

certain medical conditions may make medication abortion preferable.2

         15.     Given the large number of abortion patients who have medication abortions and

their clearly articulated needs and/or informed reasons for doing so, removing medication

abortion as an option would represent a shift that is substantially detrimental to a very large share

of individuals seeking abortions. It would prevent many individuals from choosing the method



1
  Here and below, I use “medication abortion” to refer to the typical practice used in the United States of
administering mifepristone to stop a pregnancy from progressing followed by misoprostol to expel the contents of
the uterus.
2
  American College of Obstetricians and Gynecologists’ Committee on Practice Bulletins—Gynecology, Society of
Family Planning. Medication Abortion Up to 70 Days of Gestation: ACOG Practice Bulletin, Number 225. Obstet
Gynecol. 2020 Oct;136(4):e31-e47. doi: 10.1097/AOG.0000000000004082. PMID: 32804884.


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that is best for them given their own health or other needs and/or preferences. Others will be

made worse off still because some abortion providers and locations will no longer be available to

them—i.e., if their closest or preferred clinic is only equipped to provide medication abortion. As

a result, for some of these individuals, financial and logistical constraints will delay their ability

to obtain an abortion. For others, it will make them unable to obtain an abortion.

         16.     Those seeking abortions will also be made worse off by the broader effect on the

landscape for abortion care. Though the effect will be less than one-for-one, the demand for

surgical abortions will increase if people can no longer obtain medication abortions. Many

factors will prevent abortion providers from meeting a large and sudden increase in demand for

surgical abortions, including infrastructure and staffing. As a result, the increase in demand for

surgical abortions is expected to increase waiting times for all individuals seeking abortions (not

just those with a preference for medication abortions).

         17.     Abortion providers often provide many other forms of health care, including

contraception, sexually transmitted infections (“STI”) screening, clinical breast exams, etc. A

surge in demand for them to provide surgical abortions could impair their ability to provide such

care, which could have detrimental impacts on their other patients.

         18.     Increased waiting times for abortion will cause delays such that some people will

have abortions at later stages of pregnancy and some will be prevented from obtaining abortions

at all. For those who have delayed abortions, the financial consequences can be devastating

because: (i) a large share of individuals seeking abortion have low incomes, (ii) the cost of an

abortion very early in pregnancy is already so high that it would be classified as a catastrophic

health expenditure3 for most middle-income individuals, and (iii) the cost of obtaining an


3
 The term “catastrophic health expenditure” generally refers to circumstances in which the out-of-pocket cost of a
health service is above 40 percent of nonsubsistence income, where nonsubsistence income is income minus the


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abortion increases significantly with the gestational age of the fetus. Delayed abortions may also

increase the risk that a person’s privacy is compromised in a way that harms them, e.g., by

increasing the likelihood that their pregnancy becomes apparent to others. Delays in abortion

access will also place people at a greater risk of complications; while abortion is generally

considered by the medical community to be extremely safe at any point and also to be safer than

childbirth, the risks increase as pregnancy progresses.4

        19.      Increased waiting times will also prevent some people from having an abortion

altogether. This will cause heightened health risks associated with continuing the pregnancy to

childbirth.5 Rigorous quantitative research detailed further below indicates that it will also

reduce their earnings, increase poverty and/or depth of poverty, increase other measures of

financial distress, reduce levels of education, and increase domestic violence.

        20.      Rigorous quantitative research also indicates that there will be extensive effects

on the children of people who seek but are unable to obtain an abortion. As a result of the

impacts on their parents, these children are expected to do worse in school (lower test scores and

increased grade repetition), to have more behavioral and social issues, and ultimately to attain

lower levels of completed education. They are also expected to have lower earnings as adults,

poorer health, and an increased likelihood of criminal involvement.




minimum amount that is needed to pay for basic necessities (food, childcare, health, housing, transportation, taxes,
clothing, and personal items). It is a commonly used measure of the severity with which the expenditure will
impoverish a household.
4
  See, e.g., Bartlett LA, Berg CJ, Shulman HB, Zane SB, Green CA, Whitehead S, Atrash HK. Risk factors for legal
induced abortion-related mortality in the United States. Obstet Gynecol. 2004 Apr;103(4):729-37. doi:
10.1097/01.AOG.0000116260.81570.60. PMID: 15051566; Frick AC, Drey EA, Diedrich JT, Steinauer JE. Effect
of prior cesarean delivery on risk of second-trimester surgical abortion complications. Obstet Gynecol. 2010
Apr;115(4):760-764. doi: 10.1097/AOG.0b013e3181d43f42. PMID: 20308836; Grimes DA, Schulz KF, Cates WJ
Jr. Prevention of uterine perforation during curettage abortion. JAMA. 1984 Apr 27;251(16):2108-11. PMID:
6708260.
5
  See, e.g., Raymond EG, Grimes DA. The comparative safety of legal induced abortion and childbirth in the United
States. Obstet Gynecol. 2012 Feb;119(2 Pt 1):215-9. doi: 10.1097/AOG.0b013e31823fe923. PMID: 22270271.


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       21.     Ceasing to allow medication abortion will also impact the lives of the many

individuals who choose to own, operate, and work for businesses that provide abortion care

because it restricts their ability to provide care to people in a manner that is consistent with their

medical judgment about what is the most appropriate method for providing the health care

sought. It is also important to note that “burnout” is frequently cited among those who stop

working for abortion providers (and for health care providers generally), and heightened stress

may occur when providers are operating at their full capacity and trying to expand that capacity,

or when they are otherwise forced to provide health care in a manner that does not align with

their medical judgment and/or with their patients’ needs and preferences. Moreover, for at least

some providers and clinics who only offer medication abortion, eliminating medication abortion

would eliminate their ability to provide abortions altogether, and for others it would require them

to undertake substantial changes to their practice.

       22.     Many of these issues clearly concern the broader public. Among the issues not

touched on above, in the event medication abortion were to become unavailable, the broader

public is expected to face: increased health care costs due to increased health care utilization;

increased taxes due to increased reliance on public assistance and social safety net programs; and

general exposure to poverty, which is pervasive, hard to escape, and often persists from one

generation to the next.

       23.     Overall, eliminating medication abortion will limit people’s ability to make

choices about their life and health, including how and when to have children. Those with limited

economic resources, privacy and safety concerns, and women of color are disproportionately

likely to be affected in this manner. This will have far-reaching impacts on individuals seeking

abortion and their families; those who own, operate, and work for abortion providers; and the




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broader public.

           24.     These are the effects that can be expected if medication abortion ceases to be

available in the United States, based on the extensive scientific literature spanning various

disciplines.

    III.         Background

           25.     In this section, I provide background on individuals seeking abortions in the

United States. An important caveat to this background, however, is that, in the wake of the

Supreme Court overturning Roe v. Wade, the landscape has changed in ways that researchers are

still in the process of documenting.

           III.A. Background on Individuals Seeking Abortion Generally

           26.     Based on 2014 abortion rates: 23.7 percent of women aged 15-44 years in 2014

were expected to have an abortion by the time they turned 45 years old (assuming 2014 abortion

rates were to continue through the time they turned 45 years old);6 12 percent of people obtaining

abortions were less than 20 years old; and 60 percent were in their 20s.7 People of color are

disproportionately represented among those obtaining abortions. In terms of race, 27.6 percent of

people obtaining abortions in 2014 were Black, even though only 14.9 percent of US women

aged 15-44 were Black.8 In terms of ethnicity, 24.8 percent of individuals obtaining abortions in

2014 were Hispanic, even though only 20 percent of US residents were Hispanic.9

           27.     A substantial majority of those seeking abortions have relatively low incomes.10

In 2014, half had incomes less than the federal poverty line and three-quarters had incomes less



6
  Rachel K. Jones & Jenna Jerman, Population Group Abortion Rates and Lifetime Incidence of Abortion: United
States, 2008–2014, 107 AM. J. PUB. HEALTH 1904, 1907 (2017).
7
  Id. at 1906.
8
  Id.
9
  Id.
10
   Id. at 1906–1907.


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than 200 percent of the poverty line.11,12 Compounding their financial difficulties, 59 percent

had previously given birth and 55 percent were neither married nor cohabiting.13 Moreover, 55

percent reported having experienced at least one “disruptive life event” during the preceding 12

months, where disruptive life events include the death of a close friend or family member,

having a family member with a serious health problem, having a baby, separating from a partner,

having a partner arrested or incarcerated, being unemployed for at least one month, falling

behind on rent or a mortgage, or moving two or more times.14

        28.      Individuals report seeking abortions for many different reasons and combinations

thereof. Most (64 percent) report multiple and/or overlapping reasons.15 40 percent report

financial concerns.16 36 percent report concerns about the timing and/or not being ready.17 20

percent report concerns that continuing the pregnancy would interfere with their future goals,

usually involving school (14 percent) and/or career plans (7 percent).18 31 percent report varied

concerns associated with their partner, including poor and/or unstable relationships, a lack of

support, and/or that the man involved in the pregnancy is the “wrong guy” or is abusive.19

Individuals with abusive partners report concerns that continuing an unwanted pregnancy will




11
   In 2014, the Federal Poverty line was $12,316 for a single adult, $16,317 for a family with one adult and one
child, and $19,073 for a family with one adult and two children. The Federal Poverty line was $15,853 for family of
two adults, $19,055 for a family with two adults and one child, and $24,008 for a family with two adults and two
children. CARMEN DENAVAS-WALT & BERNADETTE D. PROCTOR, U.S. CENSUS BUREAU, INCOME AND POVERTY IN
THE UNITED STATES: 2014 43 (2015).
12
   Jones, supra note 6, at 1906.
13
   Id.
14
   Rachel K. Jones & Jenna Jerman, Characteristics and Circumstances of U.S. Women Who Obtain Very Early and
Second Trimester Abortions, 12 PLOSONE 1, 3–4 (2017).
15
   M Antonia Biggs, H. Gould & Diana Greene Foster, Understanding why women seek abortions in the US, 13
BMC WOMEN'S HEALTH 29 (2013).
16
   Id.
17
   Id.
18
   Id.
19
   Id.


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put them at greater risk by tethering them to their abuser.20 29 percent report concerns associated

with their other children. 6 percent report concerns about their own health, including physical

ailments and mental health problems that would be exacerbated by continuing the pregnancy.21

5 percent reported reasons associated with drug, tobacco, or alcohol use.22

        29.      An individual’s ability to obtain an abortion depends on many factors beyond

their control, including the availability of care, the amount of travel required, affordability, and

state requirements such as waiting periods.23 Survey data shows that among women who would

have preferred to have obtained their abortions sooner in time, 59 percent report that delays

occurred because it took time for them to make arrangements.24 Consistent with this statistic,

empirical evidence indicates that regulations that substantially increase the financial, travel,

and/or logistical burdens of obtaining an abortion have a significant effect on abortion access.

        III.B. Background on Medication Abortion

        30.      Since the Food and Drug Administration approved mifepristone (200 mg) for the

medical termination of early intrauterine pregnancy in 2000, the number of medication abortions

and the share of abortions that are medication abortions have grown consistently even though the

number of abortions overall has fallen. The share of abortions that are medication abortions has

grown especially quickly in recent years. Today, over 50 percent of abortions are medication

abortions.

        31.      Data from both the Guttmacher Institute and the Centers for Disease Control and



20
   Karuna S. Chibber, M Antonia Biggs, Sarah C. M. Roberts & Diana Greene Foster, The role of intimate partners
in women's reasons for seeking abortion, WOMENS HEALTH ISSUES, (2014).
21
   M Antonia Biggs, H. Gould & Diana Greene Foster, Understanding why women seek abortions in the US, 13
BMC WOMEN'S HEALTH 29 (2013).
22
   Id.
23
   NAT’L ACAD. SCI., THE SAFETY AND QUALITY OF ABORTION CARE IN THE UNITED STATES 12 (2018).
24
   Lawrence B. Finer et al., Timing of Steps and Reasons for Delays in Obtaining Abortions in the United States, 74
CONTRACEPTION 334, 335 (2006).


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Prevention (CDC) support these statements. Data from both sources are commonly used among

researchers (myself included) and are generally considered reliable. The Guttmacher Institute

collects data on abortion incidence and service availability via surveys of all facilities known to

have provided abortion services in the United States as a part of their Abortion Provider Census.

The CDC collects aggregated data on abortion incidence based on requests to the central health

agencies for the 50 states, the District of Columbia, and New York City.25

        32.      The figure below from the Guttmacher Institute shows that the share of

medication abortions—as a percentage of abortions overall—has grown over time.26 It also

shows that this share has grown especially rapidly in recent years.




        33.       The following figure, which was shown above at ¶10, is based on Abortion


25
   My understanding is that the CDC requests data from New York City (apart from requesting aggregate data from
the state of New York) because they recognize that New York City is so large (in population) that it can be
particularly useful for researchers to have access to statistics for its residents.
26
   Rachel K. Jones et al., Medication Abortion Now Accounts for More Than Half of All US Abortions, The
Guttmacher Institute (February 24, 2022), https://www.guttmacher.org/article/2022/02/medication-abortion-now-
accounts-more-half-all-us-abortions


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Provider Censuses. It shows that the overall number of medication abortions grew from 2001 to

2017 even as the number of abortions overall declined over this period.




         34.      Subsequently published data shows a significant increase in the overall number of

medication abortions between 2017 and 2020. In particular, that number grew from 339,650 to

493,320, representing a 45 percent increase.27

         35.      CDC data for states reporting data corroborates these patterns. In 2020, 51.0

percent of abortions were defined as “early medical abortions” by the CDC (i.e., medication

abortions at less than or equal to nine weeks gestation and typically involving the use of

mifepristone followed by misoprostol).28 The same CDC data also highlights a recent significant

increase in the proportion of medication abortions, reporting that the percentage of all abortions


27
   Jones, RK, Kirstein, M, Philbin, J. Abortion incidence and service availability in the United States, 2020. Perspect
Sex Reprod Health. 2022; 54(4): 128- 141. doi:10.1363/psrh.12215.
28
   Kortsmit K, Nguyen AT, Mandel MG, et al. Abortion Surveillance — United States, 2020. MMWR Surveill
Summ 2022;71(No. SS-10):1–27. DOI: http://dx.doi.org/10.15585/mmwr.ss7110a1


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performed by early medical abortions increased 22 percent from 2019 to 2020.29

        36.      Medication abortions are especially prevalent as a share of abortions at earlier

stages of pregnancy. At less than or equal to six weeks gestation, 67.9% of abortions are

medication abortions.30 At 7 to 9 weeks gestation, 58.7% of abortions are medication abortions.31

        37.      There are many differences between medication abortion and surgical abortion

that may cause a person to obtain a medication abortion rather than a surgical abortion.

        38.      One simple reason that people may prefer medication abortion is access. 31

percent of clinics offering abortion provide only medication abortion. As a result, for many

people seeking abortions, surgical abortion providers are more difficult, and in some cases

impossible, for the pregnant person to visit. Given that individuals seeking abortions report

financial, logistical, and transportation-related challenges to obtaining care,32 some of these

individuals may not be able to reach a surgical abortion provider and others may opt for the

provider that presents fewer difficulties for obtaining a timely abortion. Along similar lines,

people may prefer medication abortion because it is accessible to them via a telehealth visit

whereas surgical abortion requires an in-person visit. The importance of access is underscored by

extensive research documenting numerous obstacles (e.g., finding a facility, costs, travel, being

turned away from a facility, etc.) that delay and/or prevent people from accessing abortion care.33




29
   Id.
30
   Id.
31
   Id.
32
   See, e.g., Wingo, E., Ralph, L. J., Kaller, S., & Biggs, M. A. (2021). Abortion method preference among people
presenting for abortion care. Contraception, 103(4), 269-275; White, K., Grossman, D.,& Turan, J. M. (2016).
Experiences accessing abortion care in Alabama among women traveling for services. Women’s Health Issues,
26(3), 298-304; White, K., Turan, J. M., & Grossman, D. (2017). Travel for abortion services in Alabama and delays
obtaining care. Women’s Health Issues, 27(5), 523-529.
33
   See, e.g., Diana Greene Foster, The Turnaway Study: Ten Years, a Thousand Women, and the Consequences of
Having—or Being Denied—an Abortion (2020); Wingo, E., Ralph, L. J., Kaller, S., & Biggs, M. A. (2021).
Abortion method preference among people presenting for abortion care. Contraception, 103(4), 269-275.
https://doi.org/10.1016/j.contraception.2020.12.010


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         39.      Some people may also prefer a medication abortion because it is the only option

offered by a provider that they are comfortable with, based on a history of other care they have

received from that provider,34 which might include general health care, gynecological care,

prenatal or obstetric care, or many other types of care other than abortion services.35

         40.      Organizations and health care providers seeking to educate people on abortion

underscore the fact that preferences vary across individuals and that there are good reasons

why—if given the choice—one might choose a medication abortion over a surgical abortion (or

vice versa). Resources reviewing the pros and cons typically highlight that individuals may

prefer a medication abortion based on factors such as: to avoid a procedure in which a doctor

inserts surgical instruments into the uterus through the vagina; out of concerns for privacy; and

because it gives them greater control over the when, where, and with whom the abortion

occurs.36

         41.      In terms of concerns about privacy, it is important to note that surgical abortions

can require a patient to have an escort home, which may be undesirable for individuals who

would prefer to maintain their privacy or those who cannot find an escort they are comfortable

with at the same time they can obtain a surgical abortion. Medication abortions may also help

patients maintain their privacy because they require less time in the clinic (or no time in the

clinic for individuals obtaining medication abortion via telehealth).

         42.      The ability to spend less time at the provider may also be important to individuals


34
   Shochet T, Trussell J. Determinants of demand: method selection and provider preference among US women
seeking abortion services. Contraception. 2008 Jun;77(6):397-404. doi: 10.1016/j.contraception.2008.02.003. Epub
2008 Apr 18. PMID: 18477487; PMCID: PMC5515366.
35
   Witwer E, Jones RK, Fuentes L, Castle SK. Abortion service delivery in clinics by state policy climate in 2017.
Contracept X. 2020;2:100043. doi: 10.1016/j.conx.2020.100043. Epub 2020 Oct 16. PMID: 33083783; PMCID:
PMC7561526.
36
   See, e.g., https://www.abortionfinder.org/abortion-types/pill-vs-procedure-how-to-decide (last accessed 1/12/23),
https://www.ucsfhealth.org/education/aspiration-versus-medication-abortion (last accessed 1/12/23), and
https://floridaabortion.com/2019/03/05/compare-medical-abortion-to-surgical-abortion/ (last accessed 1/12/23).


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who have trouble getting time off work, those with COVID-19 concerns, those who are in

school, and those who have children or other family members to care for.

         43.      Naturally, a person may find it more comfortable to have a medication abortion

outside of the clinic context, at their own home, at a family member or friend’s house, or at some

other place of their choosing. Such preferences could be driven by stigma associated with

abortion, hostile protestors, or more general preferences to be in an alternative setting with

specific people.

         44.      Surveys of people presenting at clinics providing both surgical and medication

abortions—at stages of pregnancy allowing them to have either type—shed light on the

frequency with which some of these preferences (besides access) come into play. Noting that

people often report multiple reasons and/or have overlapping reasons for choosing a medication

abortion: 34 percent report so that it occurs at home,37 21 percent report emotional reasons, 38 20

percent report a desire to avoid surgery, 39 20 percent report that the medication abortion is less

invasive, 40 19 percent report that it is less scary, 41 19 percent report that it feels more

natural, 42,43 17 percent report that it is safer, 44 16 percent report that it is cheaper, 45 16 percent

report that it is easier, 46 and 13 percent report that it requires less time at the clinic.47


37
   Shochet T, Trussell J. Determinants of demand: method selection and provider preference among US women
seeking abortion services. Contraception. 2008 Jun;77(6):397-404. doi: 10.1016/j.contraception.2008.02.003. Epub
2008 Apr 18. PMID: 18477487; PMCID: PMC5515366.
38
    Id.
39
    Id.
40
    Id.
41
    Id.
42
    Id.
43
   It is not unusual for descriptions of medication abortion to use this terminology as a shorthand for conveying the
idea that the process has many similarities with an early miscarriage.
44
   Shochet T, Trussell J. Determinants of demand: method selection and provider preference among US women
seeking abortion services. Contraception. 2008 Jun;77(6):397-404. doi: 10.1016/j.contraception.2008.02.003. Epub
2008 Apr 18. PMID: 18477487; PMCID: PMC5515366.
45
    Id.
46
    Id.
47
    Id.


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           45.      In addition, the American College of Obstetricians and Gynecologists Practice

Bulletin explains that a person’s medical conditions could make a medication abortion

preferable, including “uterine fibroids that significantly distort the cervical canal or uterine

cavity, congenital uterine anomalies, or introital scarring related to infibulation.”48

     IV.         Expected effects of eliminating access to medication abortions

           46.      As I will discuss in the subsequent sections, eliminating access to medication

abortions would likely affect these individuals—and others seeking abortions—by causing

further restrictions on an individual’s ability to choose whether, when, and where to have an

abortion, which will in turn have material effects on the individual and society.

           IV.A. The Unavailability of Medication Abortions Will Increase Waiting Times for
                 Abortion and Other Forms of Care

           47.      Some of the individuals prevented from obtaining medication abortion from

health care providers will end up having no abortion at all, and others will attempt to access

abortion through other, less safe means. For some, this will include attempting to self-manage

their abortions in the absence of access to a healthcare provider who can provide and counsel the

pregnant person with respect to the abortion that the pregnant person needs.

           48.      Many of the individuals prevented from obtaining medication abortions will seek

out surgical abortions. However, many factors will prevent abortion providers from meeting a

large and sudden increase in demand for surgical abortions, including infrastructure and staffing.

           49.      As a result, the increase in demand for surgical abortions is expected to increase

waiting times for abortion, which is typical in circumstances in which demand exceeds supply. In

evaluating the number of people who will be affected by a restriction on medication abortion, it


48
  American College of Obstetricians and Gynecologists’ Committee on Practice Bulletins—Gynecology, Society of
Family Planning. Medication Abortion Up to 70 Days of Gestation: ACOG Practice Bulletin, Number 225. Obstet
Gynecol. 2020 Oct;136(4):e31-e47. doi: 10.1097/AOG.0000000000004082. PMID: 32804884.


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is important to highlight that this impact will go well beyond the set of individuals who are

prevented from obtaining medication abortions. It will affect all individuals seeking abortions,

since those individuals will all be forced to seek out services from the significantly more limited

number of providers who provide surgical abortions and also because providers offering surgical

abortions have a limited capacity to provide such abortions.

        50.      For similar reasons, a surge in demand for surgical abortions could have spillover

effects onto people seeking other forms of health care that some practitioners provide in addition

to abortion. Abortion providers often also provide other health care services, including

contraception, STI screening, clinical breast exams, etc. Given that these providers have

constraints on the overall services they can provide (due to infrastructure and staffing), an

increase in demand for any one service may strain their ability to provide other services. Thus,

individuals who would typically obtain non-abortion care from an abortion provider may be

impaired from obtaining such care.

        IV.B. Effects of Increased Waiting Times: Delays and Prevented Abortions

        51.      Increased waiting times at abortion providers can delay or prevent individuals

from obtaining abortions.49 Increased waiting times can also cause individuals to alter where they

obtain an abortion, as they attempt to find alternative providers with shorter waiting times. These

effects make individuals worse off (relative to their circumstances if medication abortions are

allowed) because the restriction is preventing them from making the choice that they determine

is best for them, their health, and their families.

        52.      Moving beyond the general notion of choice, it is important to highlight that the

increased waiting times will likely have devastating financial consequences. Below I will first


49
  Here and elsewhere I refer to a “delay” as a circumstance in which a person has an abortion later than they would
otherwise if medication abortions were still allowed.


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discuss how this is the case for individuals who ultimately obtain an abortion and then discuss

how this is the case for individuals who continue their pregnancies to childbirth as a result of the

increased difficulty of accessing abortion.

         53.      Most abortion patients across the United States pay out-of-pocket for abortion

costs.50 In 2020, the median cost of a first-trimester abortion was approximately $565, but varied

across different regions with generally higher costs in the Northeast and the West.51 The costs of

second-trimester surgical abortions vary greatly depending on the gestation of the pregnancy.

The overall average cost of a second trimester abortion is $895, but the average cost is $2000

later in the second trimester.52,53

         54.      As a result of these differences, increased waiting times will increase the fees

people must pay for an abortion by causing them to get abortions later in pregnancy. A one-day

delay can increase fees by $175.54 Increased waiting times, and delays associated with them, may

also increase the fees a person must pay by limiting the set of providers from which an individual

can obtain care. Moreover, because increased waiting times and delays associated with them

typically increase the amount of travel required to obtain a timely abortion, overall costs could

rise further because of additional costs associated with transportation, childcare, lost wages, or

lodging.55



50
   Upadhyay UD, Ahlbach C, Kaller S, Cook C, Muñoz I. Trends In Self-Pay Charges And Insurance Acceptance
For Abortion In The United States, 2017-20. Health Aff (Millwood). 2022 Apr;41(4):507-515. doi:
10.1377/hlthaff.2021.01528. PMID: 35377750.
51
   Id.
52
   Lindo, J. M., & Pineda-Torres, M. (2021). New Evidence on the Effects of Mandatory Waiting Periods for
Abortion. Journal of Health Economics, 80, 102533. https://doi.org/10.1016/j.jhealeco.2021.102533.
53
   See: https://www.plannedparenthood.org/learn/ask-experts/how-much-does-an-abortion-cost. (Last accessed
December 28, 2022.)
54
   Lindo, J. M., & Pineda-Torres, M. (2021). New Evidence on the Effects of Mandatory Waiting Periods for
Abortion. Journal of Health Economics, 80, 102533. https://doi.org/10.1016/j.jhealeco.2021.102533.
55
   A full accounting of travel costs needs to take into consideration direct expenses, child care costs, and lost wages.
See, e.g., Lindo, J. M., & Pineda-Torres, M. (2021). New Evidence on the Effects of Mandatory Waiting Periods for
Abortion. Journal of Health Economics, 80, 102533. https://doi.org/10.1016/j.jhealeco.2021.102533.


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        55.     Here it is important to keep in mind that half of the people having abortions have

incomes less than the federal poverty line.56 Thus, a significant share of people having abortions

do not have sufficient incomes to meet their basic needs (such as food, housing, and

transportation). Additional expenses, or unexpected expenses, can put individuals in such

households in even more perilous positions.

        56.     Research on the out-of-pocket costs in 2016 indicate that a first-trimester abortion

would be classified as a catastrophic health expenditure 57 for individuals in households earning

their state’s median income for individuals living in 39 states, and second-trimester abortions

would be a catastrophic health expenditure for individuals in households earning their state’s

median income for individuals living anywhere in the United States.58 Given that a substantial

majority of people seeking abortions are from low-income households rather than median-

income households, the out-of-pocket costs for any type of abortion is likely to be a catastrophic

health expenditure for a substantial majority of people seeking abortions.

        57.     Consistent with these statistics, research has shown that people forgo food and

other basic necessities, take out payday and other loans, miss bills and rent, and pawn personal

belongings in order to pay for abortions.59

        58.     There are also several non-monetary costs of delays that may be relevant to

people seeking abortions. These non-monetary costs include: a heightened risk that their privacy

is compromised, which could lead to abuse; psychological distress associated with having to

wait; psychological distress associated with a more limited set of provider options (which could



56
   Jones, supra note 6, at 1906.
57
   See supra note 3 (providing definition of “catastrophic health expenditure”).
58
   Zuniga C, Thompson TA, Blanchard K. Abortion as a Catastrophic Health Expenditure in the United States.
Womens Health Issues. 2020 Nov-Dec;30(6):416-425. doi: 10.1016/j.whi.2020.07.001. Epub 2020 Aug 12. PMID:
32798085.
59
   Id.


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affect who is able to be with them before and after an abortion, e.g., if their preferred companion

is unable to travel to be with them where they now must go to obtain an abortion); and

heightened health risks. Though the major-complication rate for abortion remains low throughout

pregnancy, the risks do increase as a pregnancy progress.60

          59.      These issues may also impose costs on the people who own, operate, and work for

businesses that provide abortion care because they restrict their ability to provide care to people

in a manner that is consistent with medical judgment about what is the most appropriate method

for providing the health care sought. People who work in health care—and other jobs involving

the care of others—frequently report that they do so because it is fulfilling to help other people.61

It is also important to note that “burnout” (e.g., due to a stressful work environment or

inadequate staffing)62 is frequently cited among those who stop working for health care

providers, and heightened stress may occur when abortion providers are operating at their full

capacity and trying to expand that capacity, or when they are otherwise forced to provide health

care in a manner that does not align with their patients’ needs and preferences. Moreover, for

some providers and clinics who only offer medication abortion, eliminating medication abortion

would eliminate their ability to provide abortions altogether.




60
     Ushma D. Upadhyay et al., Incidence of Emergency Department Visits and Complications After Abortion, 125
OBSTETRICS & GYNECOLOGY 175, 181 (2015).
61
   See, e.g., Salyers MP, Rollins AL, Kelly YF, Lysaker PH, Williams JR. Job satisfaction and burnout among VA
and community mental health workers. Adm Policy Ment Health. 2013 Mar;40(2):69-75. doi: 10.1007/s10488-011-
0375-7. PMID: 21972060; PMCID: PMC3980458.
62
   See, e.g., Shah MK, Gandrakota N, Cimiotti JP, Ghose N, Moore M, Ali MK. Prevalence of and Factors
Associated With Nurse Burnout in the US. JAMA Netw Open. 2021;4(2):e2036469.
doi:10.1001/jamanetworkopen.2020.36469.


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        IV.C. Effects of Not Being Able to Control the Timing and/or Number of Children
              Due to Restricted Abortion Access

        60.      As described above, ceasing to allow medication abortion is likely to prevent

some people from obtaining abortions, both people who would prefer a medication abortion and

people who would prefer a surgical abortion. This means having a child earlier than they

otherwise would and/or having more children than they otherwise would. Each possible outcome

involves substantial costs.

        61.      It is well established that continuing a pregnancy to childbirth poses greater short-

term health risks than having an abortion.63 There is also evidence that restricted abortion access

increases violence against women, 64 which is consistent with surveys in which respondents

indicate “having an abusive partner” as a reason for seeking an abortion.65

        62.      In terms of the overall economic costs of having a child, some costs are obvious

because they involve monetary expenditures, and some are less obvious because they involve

lost earnings or impaired earnings potential due to the fact that having a child may mean a person

has fewer hours available to work and/or earn income.

        63.      Expenditures associated with pregnancy and delivery can include medical costs

for some individuals (e.g., those who are uninsured) that can be substantial. Other costs besides

direct medical expenses include transportation costs and childcare costs associated with medical

care and other activities typically done in advance of having a child (such as parenting classes



63
   Elizabeth G. Raymond & David A. Grimes, The Comparative Safety of Legal Induced Abortion and Childbirth in
the United States, 119 OBSTETRICS & GYNECOLOGY 215, 216–17 (2012).
64
   Sarah C. M. Roberts, M. Antonia Biggs, Karuna S. Chibber et al., Risk of violence from the man involved in the
pregnancy after receiving or being denied an abortion, 12 BMC MED. 144 (2014); Caterina Muratori, The Impact of
Abortion Access on Violence Against Women, (Department of Economics, University of Reading, Working Paper
No. 2021-03, 2021).
65
   See, e.g., Karuna S. Chibber, M Antonia Biggs, Sarah C. M. Roberts & Diana Greene Foster, The role of intimate
partners in women's reasons for seeking abortion, WOMENS HEALTH ISSUES, (2014); M Antonia Biggs, H. Gould &
Diana Greene Foster, Understanding why women seek abortions in the US, 13 BMC WOMEN'S HEALTH 29 (2013).


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and purchasing equipment/materials that are necessary for the child’s wellbeing and safety).

These costs—particularly at a time when a new member is being added to the household—can

push individuals further into poverty.

        64.      Child-rearing expenses include housing, food, transportation, clothing, health

care, childcare, and many miscellaneous expenses. These costs typically exceed $9,000 annually,

even for low- and middle-income households.66 As I described above, a substantial share of

individuals seeking abortion are already in poverty. Adding a child to such a household without

substantially expanding their resources will thrust such an individual deeper into poverty. Given

the highly persistent nature of economic circumstances, this is likely to affect the individual for

their entire life.

        65.      In addition, time-costs associated with pregnancy, childbearing, and childrearing

can make it difficult for people to continue in school, to make other investments in their careers,

to work as many hours as they would like, to maintain jobs, to look for work, etc. Any of these

things can deplete an individual’s financial resources in the short run and in the long run.

        66.      In sum, monetary costs and time-costs (associated with pregnancy, childbearing,

and childrearing), are so substantial that they could cause significant and persistent economic

harm by putting an individual on an entirely different life course in which they have more limited

resources (possibly on top of having another child to provide for).

        67.      Many carefully designed studies have quantified such effects using different

approaches to data analysis, using different data sets, etc. and examining different contexts,

different populations, and different outcomes.67


66
   Mark Lino et al. “Expenditures on Children by Families, 2015" UNITED STATES DEPARTMENT OF AGRICULTURE,
CENTER FOR NUTRITION POLICY AND PROMOTION MISCELLANEOUS REPORT NO. 1528-2015 (2017).
67
   For studies documenting effects on economic outcomes, see, e.g., Aguero, Jorge M., and Mindy S. Marks, 2008
“Motherhood and Female Labor Force Participation: Evidence from Infertility Shocks." The American Economic


                                                                                                            22
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        68.      One such study, which used cutting-edge methods for estimating causal effects to

estimate the effects on economic outcomes, found that being denied an abortion increased

financial distress in all five years of their five-year follow-up period.68 The analyses aimed at

better understanding this effect on financial distress indicated that being denied an abortion

increased a person’s amount of past-due debt by an average of $1,750, increased the number of

negative public records on their credit reports (such as bankruptcy, evictions, and tax liens) by 81

percent, and reduced their income by 6 percent.69

        69.      Researchers have also examined how state policy changes altering abortion access

affected the socioeconomic outcomes for the general population of women in the state, which

can be measured using very large data sets. Studies examining the effects of bans on abortion

show deleterious effects on residents’ educational attainment and economic outcomes (including

employment, earnings, family income, poverty, and public assistance receipt), particularly

among Black women.70 Along similar lines, research on the effects of impaired access to

abortion resulting from state targeted-regulations on abortion providers (“TRAP Laws”) also

show deleterious effects on educational attainment, particularly among Black women.71

        70.      To put the estimated effects on educational attainment into context, it is important



Review, 98(2): 500-504; Adda, Jerome, Christian Dustmann, and Katrien Stevens, 2017, “The Career Costs of
Children,” Journal of Political Economy, 125(2): 293-337; Kleven, Henrik, Camille Landais, and Jakob Egholt
Sogaard. 2019, “Children and Gender Inequality: Evidence from Denmark,” American Economic Journal: Applied
Economics, 11(4): 181-209; Sandler, Danielle, and Nichole Szembrot, 2019, “Maternal Labor Dynamics:
Participation, Earnings, and Employer Changes," U.S. Census Bureau Center for Economic Studies Working Paper
No. CES 19-33, Washington, DC.
68
   Sarah Miller et. al., Economic Consequences of Being Denied an Abortion, Am. ECON. J.: ECON. POL’Y,
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69
   Id. at 4.
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   Joshua D. Angrist & William N. Evans, Schooling and Labor Market Consequences of the 1970 State Abortion
Reforms, 18 RSCH. IN LAB. ECON. 75, 75-113 (2000); Jason M. Lindo et al., Legal Access to Reproductive Control
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(2020); Kelly Jones, At a Crossroads: The Impact of Abortion Access on Future Economic Outcomes, (Am. Univ.,
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71
   Id.


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to keep in mind that the benefits of education are likely to go well beyond wages. As Oreopolous

and Salvanes write in their summary of the literature on the non-pecuniary benefits of education:

“Gains from school occur from being in a job that not only pays more but also offers more

opportunities for self-accomplishment, social interaction, and independence. Schooling generates

occupational prestige. It reduces the chance of ending up on welfare or unemployed. It improves

success in the labor market and the marriage market. Better decision-making skills learned in

school also lead to better health, happier marriages, and more successful children. School also

leads to better health, happier marriages, and more successful children. Schooling also

encourages patience and long-term thinking. Teen fertility, criminal activity, and other risky

behaviors decrease with it. Schooling promotes trust and civic participation. It teaches students

how to enjoy a good book and manage money. And for many, schooling has consumption value

too.”72

          71.    As noted above, a majority of those obtaining abortions have previously given

birth, and people seeking abortions often report that they are doing so out of concern for their

existing children. In addition, many individuals will go on to have children later in their lives

after they have had an abortion. As such, the lives of these children will also be altered by the

impacts on their parents described above.

          72.    More limited economic resources can result in detrimental effects on children’s

behavioral and emotional issues,73 and on test scores,74 which can lead to grade repetition.


72
   Philip Oreopoulos & Kjell G. Salvanes, Priceless: The Nonpecuniary Benefits of Schooling, 25 J. OF ECON. PERSP.
159, 159-84 (2011).
73
   See, e.g., Randall Akee, William Copeland, E. Jane Costello, & Emilia Simeonova, How Does Household Income
Affect Child Personality Traits and Behaviors?, 108 AM. ECON. REV. 775, 775-827 (2018); Kevin Milligan & Mark
Stabile, Do Child Tax Benefits Affect the Well-Being of Children? Evidence from Canadian Child Benefit
Expansions, 3 AM. ECON. J.: ECON. POL’Y 175, 175–205 (2011).
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   See, e.g., Sandra E. Black, Paul J. Devereux, Katrine V. Løken & Kjell G. Salvanes, Care or Cash? The Effect of
Child Care Subsidies on Student Performance, 96 REV. OF ECON. AND STAT. 824, 824–37 (2014); Gordon B. Dahl &
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Economic circumstances during childhood also have long-run effects which show up in

educational attainment and adult earnings,75 as well as measures of earnings capacity, economic

self-sufficiency, neighborhood quality, and life expectancy.76 Along similar lines, parental

education affects children’s health at birth,77 cognitive skills and behavioral problems in

childhood,78 the probability of repeating a grade,79 and involvement in crime.80

        IV.D. Effects on Society More Broadly

        73.      The issues described above, which would result from eliminating access to

medication abortion, pertain to the lives of the individuals seeking abortion, their families, and

the broader public.

        74.      Among the issues not touched on above, it bears mentioning that any decision that

reduces access to medication abortion, and ultimately denies abortions to individuals who want

them, will generally increase health care costs via the costs of health care during pregnancy,

childbearing, and beyond. All of these costs can be extremely high, particularly when health

complications arise.

        75.      Health care costs are a societal issue because of many unique features of the

industry, including health insurance. For private insurance, rates are set according to the costs


102 AM. ECON. REV. 1927, 1927–56 (2012); Kevin Milligan, & Mark Stabile, Do Child Tax Benefits Affect the Well-
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(2011).
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   Andrew Barr, Jonathan Eggleston & Alexander A. Smith, Investing in Infants: The Lasting Effects of Cash
Transfers to New Families, THE Q. J. OF ECON., (2022).
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   Martha J. Bailey, Hilary Hoynes, Maya Rossin-Slater & Reed Walker, Is the Social Safety Net a Long-Term
Investment? Large-Scale Evidence from the Food Stamps Program, (Nat’l Bureau of Econ. Rsch., Working Paper
No. 26942, 2020).
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   Janet Currie & Enrico Moretti, Mother’s Education and the Intergenerational Transmission of Human Capital:
Evidence from College Openings, 118 Q. J. OF Econ. 1495, 1495–532 (2003).
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   Pedro Carneiro, Costas Meghir & Matthias Parey, Maternal Education, Home Environments, and the
Development of Children and Adolescents, 11 J. OF THE EUR. ECON. ASS’N 123,123-60 (2013).
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   Philip Oreopoulos, Marianne E. Page & Ann Huff Stevens, The Intergenerational Effects of Compulsory Schooling, 24
J. OF LABOR ECON. 729, 729-60 (2006).
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   Aaron Chalfin & Monica Deza, The intergenerational effects of education on delinquency, 159 J. OF ECON.
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associated with the set of individuals who are being insured (i.e., the risk pool). Thus, if the costs

increase for any subset of those individuals (e.g., those being delayed or prevented from

obtaining an abortion legally), it increases the rate for everyone being insured.

        76.      Similarly, a (much) broader set of individuals is affected by increases in health

care costs for individuals on public health insurance. In that regard, increases in health care costs

(e.g., from individuals being delayed or prevented from obtaining an abortion legally) will

increase the costs imposed on taxpayers.

        77.      It is worth noting here that the number of people on public health insurance is

likely to increase if medication abortion is no longer available as a result of the economic effects

described above, which will additionally affect taxpayers. Those economic effects will also

affect taxpayers by increasing the need for other public assistance and social safety net programs

(including food stamps, housing assistance, tax credits, and other programs and services).

        78.      Moreover, the effects on people seeking abortion and on their children are likely

to affect many other people’s lives in many other ways.81 A rich literature shows that people

have significant impacts on the lives of others through family and friendship networks,

neighborhoods, schools, and many other channels. Moreover, it is clear from this literature that

the effect of poverty—which will be increased if medication abortion ceases to be available—is

pervasive.

        79.      Further, researchers talk about “poverty traps” because it is so difficult to escape

poverty82 and “intergenerational poverty” because of the high degree to which poverty persists




81
   See, e.g., Diana Greene Foster, The Turnaway Study: Ten Years, a Thousand Women, and the Consequences of
Having—or Being Denied—an Abortion (2020).
82
   See, e.g., Bowles, Samuel, Durlauf, Steven N. and Hoff, Karla. Poverty Traps, Princeton: Princeton University
Press, 2006. https://doi.org/10.1515/9781400841295.


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                             EXHIBIT A




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                                      JASON M. LINDO
                          jlindo@tamu.edu | (979) 446-3969 | http://people.tamu.edu/∼jlindo/
                    Texas A&M University | Department of Economics | College Station, TX 77843-4228



CURRENT POSITIONS
  Professor of Economics, Texas A&M University, 2018–Present
  Ray. A. Rothrock ’77 Senior Fellow, Texas A&M University, 2019–Present
  Fellow, Global Labor Organization, 2017–Present
  Research Associate, National Bureau of Economic Research (NBER), 2014–Present
  Research Fellow, Institute for the Study of Labor (IZA), 2010–Present
  Co-Editor, Economic Inquiry, 2016–Present

PREVIOUS POSITIONS
  Associate Editor, Journal of Population Economics, 2016–2022
  Distinguished Visiting Scholar, Montana State University, 2020 – 2022
  Visiting Research Scholar, Montana State University, 2016 – 2020
  Associate Professor of Economics, Texas A&M University, 2013–2018
  Visiting Principal Fellow, University of Wollongong, 2012–2014
  Faculty Research Fellow, National Bureau of Economic Research (NBER), 2011– 2014
  Assistant Professor of Economics, University of Oregon, 2009–2013

EDUCATION
  Ph.D., Economics, University of California, Davis, 2009
  M.A., Economics, University of California, Davis, 2005
  B.A., Economics, University of California, Davis, 2004

RESEARCH INTERESTS
  reproductive health, health behaviors and outcomes, employment shocks and family dynamics, youth, crime

TEACHING INTERESTS
  Econometric/Empirical Methods; Health (Care, Behavior, Outcomes); Labor; Gender; Demography

PUBLICATIONS
   Peer-Reviewed Publications
      Lindo, Jason M., Isaac D. Swensen, and Glen R. Waddell. “Effects of Violent Media Content: Evidence from
      the Rise of the UFC,” Journal of Health Economics, forthcoming.

      Lindo, Jason M. r Mayra Pineda-Torres. “New Evidence on The Effects of Mandatory Delay Laws for
      Abortion,” Journal of Health Economics, 80, 2021.
      Kelly, Andrea, Jason M. Lindo, and Analisa Packham. “The Power of the IUD: Effects of Expanding Access
      to Contraception Through Title X Clinics,” Journal of Public Economics, 192, 2020.
      Lindo, Jason M., Caitlin Myers, Andrea Schlosser, and Scott Cunningham. “How Far is Too Far? New Evi-
      dence on Abortion Clinic Closures, Access, and Abortions,” The Journal of Human Resources, 55(4), pp. 1137-
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      Lindo, Jason M. “Weighing the Evidence on the Likely Effects of Expanding Access to LARCs on Poverty,”
      American Journal of Obstetrics & Gynecology, 222(4), pp. S864-S865, 2020.




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     Lindo, Jason M., Dave Marcotte, Isaac D. Swensen, and Jane Palmer. “Any Press is Good Press? The Unan-
     ticipated Effects of Title IX Investigations on University Outcomes,” Economics of Education Review, 73, 2019.
     Lindo, Jason M., Jessamyn Schaller, and Benjamin Hansen. “Caution! Men Not At Work: Gender Specific
     Labor Market Conditions and Child Maltreatment,” Journal of Public Economics, 163, pp. 77-98, 2018.
     Lindo, Jason M. and María Padilla-Romo. “Kingpin Approaches to Fighting Crime and Violence: Evidence
     from Mexico’s Drug War,” Journal of Health Economics, 58, pp. 253-268, 2018.
     Bondurant, Samuel, Jason M. Lindo, and Isaac D. Swensen. “Substance Abuse Treatment Centers and Local
     Crime," Journal of Urban Economics, 104, pp. 124-133, 2018.
     Lindo, Jason M., Peter Siminski, and Isaac D. Swensen. “College Party Culture and Sexual Assault," American
     Economic Journal: Applied Economics, 10(1), pp. 236-65, 2018.
     Lindo, Jason M. and Analisa Packham. “How Much Can Expanding Access to Long-Acting Reversible Con-
     traceptives Reduce Teen Birth Rates?” American Economic Journal: Economic Policy, 9(3), pp. 348-76, 2017.
     Barreca, Alan I., Jason M. Lindo, and Glen R. Waddell. “Heaping-Induced Bias in Regression-Discontinuity
     Designs,” Economic Inquiry, 54(1), pp. 268–293, 2016.
     Lindo, Jason M., Peter Siminski, and Oleg Yerokhin. “Breaking the Link Between Legal Access to Alcohol
     and Motor Vehicle Accidents: Evidence from New South Wales,” Health Economics, 25(7), pp. 908–928, 2015.
     Lindo, Jason M. “Aggregation and the Estimated Effects of Economic Conditions on Health,” Journal of
     Health Economics, 40, pp. 83–96, 2015.
     Lindo, Jason M. and Charles Stoecker. “Drawn into Violence: Evidence on ‘What Makes a Criminal’ from
     the Vietnam Draft Lotteries,” Economic Inquiry, 52(1), pp.239–258, 2014.
     Lindo, Jason M., Isaac D. Swensen, and Glen R. Waddell. “Alcohol and Student Performance: Estimating the
     Effect of Legal Access,” Journal of Health Economics, 32(1), pp. 22–32, 2013.
     Lindo, Jason M., Isaac D. Swensen, and Glen R. Waddell. “Are Big-Time Sports a Threat to Student Achieve-
     ment?” American Economic Journal: Applied Economics, 4(4), pp. 254–274, 2012.
     Cuffe, Harold, William T. Harbaugh, Jason M. Lindo, Giancarlo Musto, and Glen R. Waddell. “Evidence on the
     Efficacy of School-Based Incentives for Healthy Living,” Economics of Education Review, 31(6), pp. 1028–1036,
     2012.
     Barreca, Alan I., Melanie Guldi, Jason M. Lindo, and Glen R. Waddell. “Saving Babies? Revisiting the Effect
     of Very Low Birth Weight Classification,” The Quarterly Journal of Economics, 126(4), pp. 2117–2123, 2011.
     Lindo, Jason M. “Parental Job Loss and Infant Health,” Journal of Health Economics, 30(5), pp. 869–879, 2011.
     Lindo, Jason M., Nicholas J. Sanders, and Philip Oreopoulos. “Ability, Gender, and Performance Standards:
     Evidence from Academic Probation,” American Economic Journal: Applied Economics, 2(2), pp. 95–117, 2010.
     Lindo, Jason M. “Are Children Really Inferior Goods? Evidence from Displacement-driven Income Shocks,”
     The Journal of Human Resources, 45(2), pp. 301-327, 2010.

  Book Chapters and Other Academic Publications
    Bullinger, Lindsey Rose, Jason M. Lindo, and Jessamyn Schaller. “Economic Determinants of Child Mal-
    treatment,” in Alain Marciano and Giovanni Battista Ramello, eds., Encyclopedia of Law and Economics, Second
    Edition, 2021.
     Lindo, Jason M., Mayra Pineda-Torres, David Pritchard, and Hedieh Tajali. “Legal Access to Reproductive
     Control Technology, Women’s Education, and Earnings Approaching Retirement,” AEA Papers and Proceed-
     ings, 110, pp. 231-235, 2020.
     Bailey, Martha J. and Jason M. Lindo. “Access and Use of Contraceptives and Its Effects on Women’s Out-
     comes in the United States,” in Susan L. Averett, Laura M. Argys, and Saul D. Hoffman, ed., Oxford Handbook
     on the Economics of Women, New York: Oxford University Press, 2018.
     Lindo, Jason M. and Jessamyn Schaller. “Economic Determinants of Child Maltreatment,” in Jürgen Back-




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      haus, ed., Encyclopedia of Law and Economics, pp. 1–10, NY: Springer, 2014.
      Lindo, Jason M. and Peter Siminski. “Should The Legal Age For Buying Alcohol Be Raised to 21 Years?”
      Medical Journal of Australia, 201(10), p. 571, 2014.
      Page, Marianne, Ann Huff Stevens, and Jason M. Lindo. “Parental Income Shocks and Outcomes of Dis-
      advantaged Youth in the United States,” in Jonathan Gruber, ed., An Economic Perspective on the Problems of
      Disadvantaged Youth, pp. 213–235, Chicago: University of Chicago Press, 2009.

   Policy Briefs and Editorials
      Jason M. Lindo, Krishna Regmi, and Isaac D. Swensen, “Layoffs, Divorce, and the Effect of Unemployment
      Insurance” EconoFact, October 21, 2020.
      Andrea M. Kelly, Jason M. Lindo, and Analisa Packham, “Could Expanding Access to Contraception Improve
      Economic Outcomes?” EconoFact, August 20, 2019. Republished by PBS News Hour, August 29, 2019.
      Jason M. Lindo, Peter Siminski, and Isaac D. Swensen, “Big game days in college football linked with sexual
      assault,” The Conversation, September 20, 2018.
      Jason M. Lindo, Dave E. Marcotte, Jane E. Palmer, and Isaac D. Swensen, “Any Press is Good Press? Study
      Finds Federal Investigations of University Responses to Sexual Misconduct Cases May Help Enrollments,”
      ProMarket: The Blog of the Stigler Center at the University of Chicago Booth School of Business, August 16, 2018.
      Jason M. Lindo, Peter Siminski, and Isaac D. Swensen, “Football, College Party Culture, and Sexual Assault,”
      EconoFact, July 19, 2018.
      Bondurant, Samuel, Jason M. Lindo, and Isaac D. Swensen, “Access to Substance Abuse Treatment, Drug
      Overdose Deaths, and Crime,” EconoFact, March 16, 2018.
      Lindo, Jason M. “Defunding Planned Parenthood Didn’t Reduce the Number of Abortions in Texas,” Dallas
      Morning News, July 6, 2017.
      Lindo, Jason M. and Analisa Packham. “Lowering the Teenage Birthrate,” New York Times, July 13, 2015.
      Lindo, Jason M. and Analisa Packham. “Long-acting Reversible Contraceptives Reduced Teen Pregnancies,
      Especially in Higher-Poverty Areas,” UC Davis Center for Poverty Research Policy Brief, 4(3), 2015.
      Lindo, Jason M. and María Padilla-Romo. “Kingpin Approaches to Fighting Crime and Violence: Evidence
      from Mexico’s Drug War,” Cato Research Briefs in Economic Policy, No. 31, July 2015.
      Lindo, Jason M. “Gender-Specific Measures of Economic Conditions and Child Abuse,” Center for the Study
      of Women in Society Research Matters, Spring 2013.

   Working Papers
     Lindo, Jason M., Krishna Regmi, and Isaac Swensen. “Stable Income, Stable Family,” NBER Working Paper
     No. 26228.
      Cao, Andy, Jason M. Lindo, and Jiee Zhong. “Can Social Media Rhetoric Incite Hate Incidents? Evidence
      from Trump’s “Chinese Virus” Tweets,” NBER Working Paper No. 30588.

GRANTS AND COMPETITIVE EXTERNAL FELLOWSHIPS
  Laura and John Arnold Foundation, PI, 2018 ($66,710)
  National Institute for Health Care Management Research and Education Foundation, PI, 2017
  Turnovsky Fellowship, 2017
  US Department of Justice Research Grant, Co-PI with Isaac D. Swensen, Award 2014-R2-CX-0015, 2014

INTERNAL GRANTS
  Texas Census Research Data Center Proposal Development Grant, 2014
  Texas Census Research Data Center Proposal Development Grant, 2013
  Center for the Study of Women in Society Faculty Research Grant, University of Oregon, 2012




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   Junior Professorship Development Grant, University of Oregon, College of Arts and Sciences, 2011
   Junior Professorship Development Grant, University of Oregon, College of Arts and Sciences, 2010
   Junior Faculty Award, University of Oregon, 2009
   Graduate Student Travel Award, UC Davis, 2007

HONORS AND AWARDS
  Best Supporter of Graduate Students, Texas A&M Department of Economics, 2020
  Outstanding Graduate Instructor of the Year, Texas A&M Department of Economics, 2018
  Best Graduate Advisor, Texas A&M Department of Economics, 2017
  Outstanding Graduate Instructor of the Year, Texas A&M Department of Economics, 2013
  Emerging Scholar, Center for Poverty Research, University of Kentucky, 2011
  Phi Beta Kappa, 2005

INVITED PRESENTATIONS AND WORKSHOPS
  2022–2023 (including planned): Texas A&M University (Dept of History’s roundtable about Dobbs v. Jack-
  son Women’s Health Organization), Economists’ Perspectives on Abortion Access (American Society of Health
  Economists’ Special Event), Vanderbilt Law School Law and Economics Workshop
   2021–2022: Elon University, University of Connecticut, Essen Health Conference (keynote)
   2020–2021: Centre for Health Economics–Monash Business School, Monash University Department of Economics,
   Association for Mentoring & Inclusion in Economics (AMIE)
   2019–2020: Miami University, Indiana University, San Diego State University, Society of Family Planning Annual
   Meeting, American Economic Association Annual Meetings, University of Michigan, University of South Florida
   2018–2019: 3rd IZA Workshop on Gender and Family Economics, University of California at Davis, Brookings
   Conference on Improving Opportunity Through Family Planning
   2017–2018: University of Kansas, Stata Texas Empirical Micro Conference, Sam Houston State University, Ifo In-
   stitute Workshop on Economic Uncertainty and the Family, 18th Annual Southeastern Health Economics Study
   Group, University of Tennessee, Texas A&M University (Agricultural Economics), Birdsall House Conference on
   Women (Center for Global Development), Texas A&M University (School of Public Health), University of South
   Carolina, Columbia University, American University, NBER Health Economics Program Meetings, University of
   California at Davis, Montana State University Initiative for Regulation and Applied Economic Analysis Confer-
   ence on “Economics of Reproductive Health Policies”
   2016–2017: Montana State University, University of Colorado at Boulder, West Virginia University, Fall Meet-
   ings of the Association for Public Policy Analysis & Management, Annual Meetings of the American Economics
   Association, University of California at Merced, Southern Methodist University, Victoria University of Wellington
   2015–2016: Texas Tech University, Southern Economic Association Annual Meetings, National Institute for Health
   Care Management Webinar on Adolescent Health and Teen Pregnancy, NBER Children’s Program Meetings,
   China Meeting of the Econometric Society
   2014–2015: Monash University, University of North Carolina at Charlotte, Baylor University, SOLE/EALE World
   Meetings
   2013–2014: Tulane University, University of Texas at Dallas, Dalhousie University, University of Houston and Rice
   University, University of Wollongong, Victoria University of Wellington, Massey University
   2012–2013: Labour Econometrics Workshop (Discussant), University of Wollongong, Texas A&M University, Uni-
   versity of Illinois at Urbana-Champaign, Louisiana State University, Michigan State University, University of
   California at Merced, 5th Annual Meeting on the Economics of Risky Behaviors, NBER Children’s Program Meet-
   ings
   2011–2012: The Australian National University, University of Wollongong, Australian Labour Econometrics Work-
   shop, University of Notre Dame, Case Western Reserve University, University of Maryland, University of Oregon,




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   SOLE Annual Meetings, IZA/SOLE Transatlantic Meeting of Labor Economists
   2010–2011: NBER Children’s Program Meetings, SOLE Annual Meetings, Public Policy and the Economics of the
   Family Conference at Mount Holyoke College, University of Kentucky, Portland State University
   2009–2010: Western Economic Association Annual Meetings, American Economic Association Annual Meetings
   (Discussant), SOLE/EALE World Meetings, The Economics of Family Policy Conference at the University of
   Bergen, NBER Children’s Program Meetings, Economic Demography Workshop, University of British Columbia
   2008–2009: NBER Higher Education Program Meetings, RAND Corporation, University of Colorado at Denver,
   Stanford Institute for Economic Policy Research, University of Oregon, The College of William and Mary, Sonoma
   State University, California State University at Sacramento, All UC Labor Conference, UC Davis Economy, Justice,
   and Society Retreat, Western Economic Association Annual Meetings

ADDITIONAL PROFESSIONAL ACTIVITIES
  Co-Director of Mentoring: Association for Mentoring & Inclusion in Economics (AMIE), 2021–Present
   Referee: American Economic Journal: Applied Economics, American Economic Journal: Economic Policy, American Eco-
   nomic Review, American Journal of Health Economics, American Journal of Obstetrics and Gynecology, The B.E. Journal
   of Economic Analysis and Policy, Children and Youth Services Review, Contemporary Economic Policy, Contraception, De-
   mography, Eastern Economic Journal, The Economic Journal, Economics of Education Review, Economic Inquiry, Education
   Evaluation and Policy Analysis, Empirical Economics, Health Economics, Industrial and Labor Relations Review, Institute
   for Women’s Policy Research, Journal of Applied Econometrics, Journal of Econometrics, Journal of Family and Economic Is-
   sues, Journal of Health Economics, The Journal of Human Resources, Journal of The Japanese and International Economies,
   Journal of Labor Economics, Journal of Labor Research, Journal of Law Economics and Organization, Journal of Policy
   Analysis and Management, Journal of Political Economy, Journal of Population Economics, Journal of Public Economics,
   Journal of the Royal Statistical Society, Labour Economics, Proceedings of the National Academy of Sciences, Public Choice,
   The Quarterly Journal of Economics, Review of Economics of The Household, Review of Economic Studies, The Southern
   Economic Journal, Women’s Health Issues
   Reviewer: National Science Foundation, APPAM Program Committee
   Co-organizer or Committee Member: Montana State University Initiative for Regulation and Applied Economic
   Analysis Conference on “Economics of Unemployment Insurance” 2020 (Co-organizer), Texas Health Economics
   Workshop 2019 (Co-organizer), Montana State University Initiative for Regulation and Applied Economic Anal-
   ysis Conference on “Economics of Reproductive Health Policies” 2018 (Co-organizer), Annual Health Economics
   Conference 2018 (Committee Member), Economic Demography Workshop 2018 (Committee Member), Midwest-
   ern Econometrics Group Meetings 2017 ((Committee Member), Economic Demography Workshop 2017 (Commit-
   tee Member), 15th Annual Labour Econometrics Workshop 2012 (Committee Member)
   Advisory Board Member: Michigan Contraceptive Access, Research, and Evaluation Study, 2018–Present

TEACHING EXPERIENCE
   Texas A&M University
      Introduction to Economic Data Analysis (planned Spr 23)
      Program/Policy Evaluation (Fall 14, Spr 14, Spr 16, Spr 17, Spr 18, Fall 19, Fall 20, Spr 21, Spr 22, planned Spr
      23)
      PhD-level Econometrics (Fall 13, Fall 14, Spr 15, Spr 16, Spr 17, Spr 18, Spr 19, Spr 21, Spr 22)
   Shanghai University of Finance and Economics
      Short Course in Econometric Methods for Causal Inference (Summer 16)
   University of Oregon
     Graduate Labor Economics (Winter 10, Fall 10, Spr 13)
     Topics in Labor Economics (Fall 09, Winter 10, Fall 10, Spr 11, Fall 11, Spr 12, Spr 13)
     Economics of Gender (Spr 11, Fall 11, Spr 12)




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PHD STUDENT ADVISING (including graduation year and initial placement)
   Texas A&M University
      Jing Zhang (in progress)
      Maxwell Bullard (co-chair, in progress)
      Jiee Zhong (co-chair, in progress)
      Wesley Miller (in progress)
      Andre’nay Harris (in progress)
      Mayra Pineda Torres (chair, 2022), Georgia Tech University
      David Pritchard (chair, 2022), U.S. Census Bureau
      Hedieh Tajali (2022), University of Edinburgh
      Andrea Kelly (chair, 2020), Grinnell College
      Manuel Hoffman (2020), University of Heidelberg
      Joshua Witter (2020), Correlation Research Division at the Church of Jesus Christ of Latter-Day Saints
      Roberto Mosquera (co-chair, 2019), Universidad de las Américas
      Brittany Street (2019), University of Missouri
      John Anders (2019), US Census Bureau
      Ruichao Si (2019), Nankai University
      Samuel Bondurant (chair, 2018) US Census Bureau
      Abigail Peralta (2018), Louisiana State University
      Yongzhi Sun (2018), Southwestern University of Finance and Economics
      María Padilla-Romo (chair, 2017), University of Tennessee
      Emily Zheng (chair, 2017), Chinese University of Hong Kong - Shenzen
      Jaegum Lim (2017), Korean National Assembly
      Analisa Packham (chair, 2016), Miami University
      Pierre Mouganie (2015), American University of Beirut
      Jillian Carr (2015), Purdue University
   University of Oregon
     Kristian Holden (co-chair, 2014), American Institutes for Research (AIR)
     Harold Cuffe (co-chair, 2013), Victoria University of Wellington
     Isaac Swensen (co-chair, 2013), Montana State University
     Brian Vander Naald (2012), University of Alaska, Juneau
     Eric Duquette (2010), Economic Research Service, USDA

UNIVERSITY SERVICE
  Faculty Senate, 2014-2016
  Climate and Diversity Committee, 2015-2016
  Academic Affairs Committee, 2014-2015

DEPARTMENTAL SERVICE
   Texas A&M University
      Graduate Instruction Committee, 2021–2022
      Junior Faculty Mentor, 2021–2022
      Econometrics Search Committee, 2019–2021
      Economics Department Head Search Committee, 2019–2020
      PERC Applied Microeconomics Workshop Co-organizer, 2019–2020




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     Organizer, Inaugural Public Labor and Industrial Organization (PLIO) Alumni Conference, 2019
     Graduate Placement Co-director, 2013–2014, 2015-2016, 2017–2018, 2018–2019
     Economics Undergraduate Research Opportunities Program Advisor, 2014–2015, 2018–2019
     Executive Committee, 2017–2018
     Graduate Instruction Committee, 2017–2018
     Applied Microeconomics Search Committee Chair, 2014–2015
     Applied Microeconomics Search Committee, 2013–2014
  University of Oregon
    McNair Scholar Advisor, 2012–2013
    Graduate Placement Co-director, 2010–2012
    Undergraduate Program Committee, 2009–2013
    Seminar Committee, 2009–2010
    Applied Microeconomics Brownbag Co-organizer, 2009–2010

SELECTED MEDIA APPEARANCES AND COVERAGE
  Television:
     “Economists warn about effects of abortion restrictions,” Spectrum News 1, 5/19/22
     “Rape on College Campuses,” Not Safe with Nikki Glaser (Comedy Central), 7/12/16
     “College Football and Campus Sexual Assault,” Outside The Lines (ESPN), 2/19/16
     “College Game Day’s Disturbing Trend,” Watching the Hawks (RT), 1/11/16
  Radio/Podcast:
    “With Roe v. Wade overturned, economic disparities are poised to get worse,” Marketplace, 6/24/22
    “Women who are denied abortions risk falling deeper into poverty,” Morning Edition (NPR), 5/26/22
    “Episode 33: Persistent Effects of Violent Media Content,” Probable Causation, 8/4/20
    “Persistent Effects of Violent Media Content,” Vox’s The Weeds, 5/26/20 (46th minute)
    “The benefits of IUDs,” Vox’s The Weeds, 3/26/19 (37th minute)
    “What happens when abortion providers shut down,” Vox’s The Weeds, 5/3/17 (50th minute)
    “Is There a Connection Between Football Games and Risks For Rape?” Morning Edition (NPR), 2/17/16
  Print:
     “Update: Judge has ruled abortions can continue in Kentucky for now,” ABC 36, 7/22/22
     “Roe Stood for 49 Years. It Revolutionized Life for Women,” 6/24/22, Wired
     “Study Finds Reduced Involvement In Violent Crime For UFC Viewers,” 5/20/22, MMA News
     “5 ways abortion bans could hurt women in the workforce,” 5/19/22, Vox
     “UFC mixed martial arts fighting events appear to reduce involvement in violent crime,” 5/18/22, PsyPost
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     “Abortion Rollback Risks Erasing Decades of Economic Gains for U.S. Women,” 5/4/22, Bloomberg
     “Being Denied an Abortion Has Lasting Impacts on Health and Finances,” 12/22/21, Scientific American
     “Texas abortion ban is an early glimpse of what post-Roe America would look like for women,” 5/18/21, CNN
     “Where Abortion Access Would Decline if Roe v. Wade Were Overturned,” 5/18/21, The New York Times
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     “Mandatory waiting periods can make abortions nearly $1,000 more expensive,” 9/10/19, MarketWatch
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     “Judge blocks new Arkansas abortion laws just before midnight,” 7/24/19, Arkansas Democrat Gazette
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     “Former Gov. Hickenlooper unveils plan to expand access to women’s contraception,” 5/29/19, ABC News
     “Colorado teen pregnancies dropped 20% near these clinics...funding is at risk,” 3/22/19, Denver Post
     “Better access to IUDs drove a 20% drop in teen pregnancy and abortions, report finds,” 3/18/19, Daily Mail
     “One Abortion Clinic Remains Open In Missouri, Following New State Requirements,” 10/3/18, NPR
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     “Study finds home football games elevate cases of sexual assault” 2/1/18, The Battalion.
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     “El Chapo Shows The Folly of the War on Drugs,” 1/21/16, Time
     “Less Rape On Campus? Get Rid of College Football,” 1/7/16, US News and World Report
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     “What We Can Learn From That Paper About Campus Rape on Game Days,” 12/15, Slate
     “The Disturbing Truth About College Football and Rape,” 12/2015, The Washington Post
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                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


    Alliance for Hippocratic Medicine, et al.,

                                   Plaintiffs,

                            v.                           Case No. 2:22-cv-00223-Z

   U.S. Food and Drug Administration, et al.,

                                  Defendant.


                       DECLARATION OF EVELYN KIELTYKA

         I, Evelyn Kieltyka, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury

  that the following is true and correct to the best of my knowledge:

         1.      I am the Senior Vice President of Program Services for Maine Family

  Planning and Primary Care Services, where I have worked for nearly 25 years. In this

  position, which I have held since 1995, I oversee program development and quality

  assurance relating to all aspects of reproductive healthcare. I submit this declaration in

  support of Defendants’ Opposition to Plaintiffs’ Motion for a Preliminary Injunction in the

  above-captioned matter. Unless otherwise stated, the facts set forth herein are true to my

  own personal knowledge.

         2.      I am educated and trained as a family nurse practitioner (“FNP”). I was

  certified as an FNP by the American Nurses Credentialing Center in 1995 and recertified

  most recently in 2020. I currently hold an active registered nurse and an Advanced Practice

  Registered Nurse Practitioner license in Maine. I received a Master’s of Science in

  Maternal-Child Health at the Harvard T.H. Chan School of Public Health and a Master’s

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     in Nursing at Simmons College in 1992; and I earned my certificate as a Family Planning

     Nurse Practitioner at the College of Medicine and Dentistry of New Jersey in 1979. I

     received my Bachelor’s of Science in Nursing degree at Sacred Heart University in 1987.

            3.      I have provided clinical care as a registered nurse and Advanced Practice

     Registered Nurse (“APRN”) throughout my career. In 2000, I was awarded the Nurse

     Practitioner of Excellence Award by the American Academy of Nurse Practitioners and

     the Maine Nurse Practitioner Association (“MNPA”). I have also been the President of the

     Board of Directors of the MNPA, a position I held from 2015 to 2017 and 1995 to 1997.

I.          MAINE FAMILY             PLANNING’S         PROVISION        OF    HEALTHCARE
            SERVICES

            4.      Maine Family Planning (“MFP”) is a non-profit corporation incorporated in

     Maine and headquartered in Augusta, Maine. For over fifty years, Maine Family Planning

     has worked to ensure that people across Maine have access to high-quality, affordable

     reproductive healthcare. To carry out its mission, MFP directly operates eighteen health

     centers throughout Maine.

            5.      MFP’s clinics are located in Augusta, Bangor, Belfast, Calais,

     Damariscotta, Dexter, Ellsworth, Farmington, Fort Kent, Houlton, Lewiston, Machias,

     Norway, Presque Isle, Thomaston, Rumford, Skowhegan and Waterville. MFP provides

     services in twelve counties that are more than 50% rural and eight counties that are more

     than 80% rural.

            6.      At our health centers, MFP provides a range of healthcare services,

     including but not limited to: annual gynecological exams; screening for cervical and breast

     cancer; family planning counseling; contraceptive services; preconception consultation;

     screening, diagnosis, and treatment of urinary, vaginal, and sexually transmitted infections;


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  endometrial and vulvar biopsy; hormone therapy and other services for transgender clients;

  services for mid-life women; and miscarriage care, as well as abortions. In addition, MFP

  has an extensive, well-established referral network that connects clients to comprehensive

  primary care and other diagnostic screenings and services, if not offered on site.

         7.      MFP has been providing surgical abortion care since 1997, and has been

  offering medication abortion services since shortly after the U.S. Food and Drug

  Administration approved mifepristone for use in the United States in 2000.

         8.      While MFP offers medication abortion to patients at each of its 18 sites,

  surgical or aspiration abortion is only available at its one clinic in Augusta.

         9.      With a medication abortion, the patient takes a series of medications to

  terminate the pregnancy and empty the uterus. A patient will first take mifepristone, which

  blocks the body’s production of progesterone. Progesterone is a hormone necessary for the

  pregnancy to continue, and taking mifepristone terminates the pregnancy. Second, 24-48

  hours after taking mifepristone, a patient will take misoprostol. This medication causes

  cramping and bleeding and will cause the uterus to expel its contents, similar to a

  miscarriage.

         10.     With a surgical or aspiration abortion, at least at MFP, a trained and licensed

  clinician sedates the patient with local anesthesia before performing the procedure. After

  the procedure, the patient recovers at the health center under supervision. As noted above,

  MFP only offers surgical abortion at its Augusta clinic, and it is available there up to 14.0

  weeks as dated from the first day of the patient’s last menstrual period (“LMP”).

         11.     The number of abortions MFP provides varies from year to year, but the

  percentage of those abortions that are provided through medication has continued to rise.



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         12.     In 2021, MFP provided 683 abortions in total, 423 (61%) of which were

  medication abortions. 378 of the medication abortions that MFP provided in 2021 were

  provided at MFP’s non-Augusta clinics, where medication abortion is the only option

  available.

         13.    In 2022, MFP provided 842 abortions in total, 595 (70%) of which were

  medication abortions. 486 of the medication abortions that MFP provided in 2022 were

  provided at MFP’s non-Augusta clinics, where medication abortion is the only option

  available.

         14.    Patients may obtain a medication abortion at MFP through telehealth

  appointments or in-person at each of MFP’s 18 health centers.

         15.    Patients may obtain a surgical or aspiration abortion only in person at

  MFP’s Augusta clinic.

         16.    MFP ensures that its providers who perform abortions are appropriately

  trained and licensed. For instance, our providers who perform surgical abortion have

  performed more than the 25 to 50 surgical abortions with supervision. The surgical

  abortions that they perform at MFP’s Augusta clinic maintain their hand skills, and MFP

  ensures that these providers work with sterilized and appropriately maintained equipment.

         17.    Besides MFP, the only other places in Maine where medication and surgical

  abortion services are publicly available (i.e., generally open to new patients) are: (1)

  Planned Parenthood of Northern New England in Portland; and (2) the Mabel Wadsworth

  Center in Bangor. Both provide abortion care only one day a week (with very few

  exceptions). Although there are two hospitals in Maine that occasionally provide abortion

  services—Maine Medical Center in Portland and Central Maine Medical Center in



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      Lewiston—both generally only treat established patients, among other limitations on their

      services.

II.          REASONS MEDICATION ABORTION IS THE PREFERRED OPTION
             FOR SOME PATIENTS

             18.     Based on my experience, I know that there are a variety of reasons that

      medication abortion is the necessary and/or preferred option for many patients. Some of

      those reasons are medical, and others are based on the patient’s non-medical circumstances

      (e.g., timing, location, or need for privacy). As explained below, medication abortion is

      instrumental in removing barriers that would otherwise make it more difficult, and in some

      cases impossible, for MFP’s patients to receive the health care they need.

             19.     First, there are medical reasons why medication abortion is medically

      indicated for certain patients, rather than surgical abortion. This is because some patients

      come to MFP with pre-existing conditions that would make surgical abortion a riskier

      option for them over medication abortion.

             20.     For example, MFP has treated patients who are allergic to anesthesia, and

      specifically who are allergic to lidocaine, which is the local anesthetic MFP uses when it

      provides surgical abortions. Allergic reactions to lidocaine can include anaphylaxis,

      urticaria, edema, bronchospasm, unconsciousness, hyperventilation, nausea, vomiting, and

      changes in heart rate or blood pressure. Because anesthesia is provided for surgical

      abortion, an allergy to anesthesia makes surgical abortion a riskier and more complicated

      method for patients with that condition. Because medication abortion does not require the

      use of anesthesia, it is the preferred method for terminating such a person’s pregnancy.

             21.     To provide another example, based on my experience, medication is the

      most appropriate abortion method for patients with a bicornuate uterus. A bicornuate uterus


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  is a uterus that is shaped irregularly; instead of being pear-shaped, it has a heart-shaped

  appearance with a septum going down its center and appears to have two sides rather than

  one hollow cavity. When a patient has a bicornuate uterus, aspiration is less likely to

  terminate a pregnancy successfully because it is difficult to fully evacuate the uterus using

  suction. Accordingly, medication abortion is the best and least risky option for those

  patients.

          22.    Similarly, based on my experience, medication abortion is often the better

  option for patients with cervical stenosis. Cervical stenosis is a narrowing of the

  passageway through the cervix. This narrowing can act as a barrier to the uterine cavity,

  which may make surgical abortion nearly impossible or else cause severe tearing. By

  contrast, medication abortion allows evacuation of the uterus without that physical trauma

  and additional risk for patients with cervical stenosis.

          23.    I also know that there are non-medical reasons why patients choose

  medication abortion, including because it offers a greater degree of privacy and/or control

  over the timing of their abortion than surgical abortion. Even though aspiration abortion

  itself takes only 5 to 10 minutes, a patient typically spends between 3 and 5 hours at the

  clinic, including time spent receiving counseling, giving informed consent, waiting on

  rooms and instruments to be prepared, and recovering under observation (usually 30 to 45

  minutes). MFP also requires patients to have a designated driver to take them home once

  they are discharged.

          24.    By contrast, an in-person medication abortion appointment requires only

  about 25 to 40 minutes, which consists of confirming gestational age and then providing

  detailed counseling about the procedure and after-care instructions, answering any patient



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  questions, and going over the patient agreement and informed consent forms. After that,

  the patient receives their prescription and can take their first pill at the clinic or wait until

  they get home. Either way, because the patient can complete their abortion at home, there

  is no need to involve a third party as a designated driver.

          25.     Alternatively, MFP can provide the same option through a telehealth visit,

  which a patient can conduct from a remote location of their choosing. The medication can

  then be safely taken in the comfort and privacy of their own home, without the assistance

  of another person in visiting and leaving a health care center.

          26.     Based on a patient’s personal circumstances, there are myriad reasons why

  a patient may find the privacy of medication abortion to be a better fit for their needs, either

  in person or through a telehealth appointment.

          27.     For example, medication abortion through telehealth is often a preferred

  option for patients who have busy work schedules, or those who have kids and would

  otherwise need (or be unable to obtain) childcare. Some of our patients choose telehealth

  because they do not have access to a car or public transportation. And some patients choose

  telehealth because it provides a better opportunity for confidentiality, since the patient does

  not have to explain their absence from work or home during certain hours.

          28.     On the other hand, some patients prefer to receive a medication abortion

  through an in-person visit, and that is an option that we always make available to them.

  Some patients live in small homes with other people and cannot find a private place to

  engage in a telehealth appointment. Some of our patients do not have access to broadband

  or any other Internet service. And some patients find comfort in meeting with a clinician

  in person.



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         29.     Even when a patient opts for an in-person visit to obtain a medication

  abortion, the patient still is able to take the first pill (mifepristone) and the second pill

  (misoprostol) later, in order to expel the contents of their uterus at a time and place that

  works best for them.

         30.     Medication abortion is also often a better option for persons who need a less

  physically invasive procedure, which is often especially important for our patients who are

  victims of rape or abuse.

         31.     Finally, the wider accessibility of medication abortion also ensures that it is

  more equally available to pregnant persons of lesser means. In Maine, and in many places

  across the country, surgical abortion is available only at certain physical locations and at

  certain times. For some pregnant persons, particularly those with lower incomes, this

  limited availability is prohibitive. But because medication abortion can be prescribed

  following a telehealth visit or at a local clinic, and the drugs can be mailed to and taken at

  a person’s home, medication abortion ensures that these services are available on a more

  equitable basis.

         32.     A few recent examples from MFP’s practice may help to illustrate some

  typical circumstances in which medication abortion benefits our patients.

         33.     In one example, a twenty-nine-year-old patient without family support had

  nobody to help her with transportation to and from a surgical abortion. The patient was

  able to obtain a medication abortion instead at her local MFP center, where she received

  the care she needed without having to involve a third party.

         34.     Another recent twenty-two-year-old patient chose medication abortion via

  telehealth because surgical abortion would have taken her away from school and interfered



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   with her ability to take her exams. That patient was a college student with finals

   approaching, and a forty-minute visit to the local MFP center site fit her needs far better

   than the four-hour drive, coupled with a 4-5 hour visit at a health center offering surgical

   abortion.

III.      IMPACT OF ELIMINATING ACCESS TO MIFEPRISTONE ON
          AVAILABILITY OF ABORTION CLINICS IN MAINE

          35.     If mifepristone, and by extension medication abortion, is no longer an

   option, it would dramatically affect MFP and the availability of abortion more generally in

   Maine and across the country.

          36.     To start, MFP would have no choice but to eliminate abortion services

   altogether at 17 of its 18 locations, leaving only its abortion practice in Augusta.

          37.     It would not be feasible for MFP to begin providing surgical abortions in

   the 17 satellite locations for several reasons. First, the clinicians who work at those clinics

   are not trained to provide surgical abortion, and it is infeasible for MFP to train providers

   at those clinics to do so. As noted above, the training necessary to perform aspiration

   abortions is intense—involving more than 25 supervised abortions—and requires upkeep.

   Some of our satellite clinics do not have that many abortions in any given year, and thus

   cannot provide the requisite opportunities for that training. We would have to bring

   clinicians from long distances to supervise and provide that training and/or the local

   clinicians from our satellite clinics would have to travel elsewhere to receive their training.

   That travel and associated training would be time-consuming and costly for our clinicians,

   and it would take those clinicians away from providing health care services (including, but

   not limited to, abortion services) in their regular locations. Given the demands on our

   clinicians’ time and the critical services they provide to their communities, it would be


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  infeasible for them to acquire the training necessary to provide aspiration abortion at our

  non-Augusta clinics.

          38.     In addition, because some of MFP’s remote sites provide only a handful of

  abortions each year, clinicians at those remote sites would have difficulty keeping their

  skills and training in aspiration abortion up-to-date over time—even if we were able to

  train clinicians to perform aspiration abortion at our satellite locations at the outset. Indeed,

  some of our most rural locations only provide 1 or 2 abortions per year (although the ability

  to obtain an abortion is critical for those 1 or 2 patients in rural locations who would

  otherwise have no other options in their geographic vicinity). This would mean, clinicians

  from our satellite clinics would have to travel regularly to Augusta in order to practice their

  skills—again, taking them away from their local practice where they are often the only

  healthcare provider available to patients in their rural locations.

          39.     Even if MFP were able to train clinicians to provide surgical abortions at

  our non-Augusta health centers or hire clinicians with sufficient training, it would still be

  infeasible (and in some cases physically impossible) for those local clinics to obtain the

  necessary space and equipment to provide surgical abortion. Those clinics do not currently

  have the requisite machinery, which costs approximately $2,000-$3,000, nor are they

  equipped with the other necessary instruments for dilation and anesthesia. At least three of

  our clinics (in some of our most rural locations, e.g., Rumford and Skowhegan) are so small

  that the requisite equipment and materials would not even fit in the clinics’ physical space.

          40.     If medication abortion became unavailable, Maine would be left with just

  three remaining publicly-accessible health centers where a woman can obtain abortion care

  in Maine: (1) MFP’s Augusta clinic; (2) PPNE’s Portland Health Center; and (3) Mabel



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  Wadsworth Center, located in Bangor, Maine. This would mean that more than half of

  Maine women would live in the 13 remaining counties without an abortion provider, and

  the distances many women would have to travel to obtain an abortion would increase

  substantially.

          41.      Under those circumstances, many patients would have to travel over 100

  miles to obtain abortion care in Maine. Moreover, due to Maine’s challenging weather

  conditions, certain roads typically are completely impassable during parts of the winter,

  particularly in rural Aroostook and Washington Counties. Even if patients would be able,

  in theory to travel to Augusta, given the lengthy distances, they may need to drive up the

  night before. And, because it might not be safe for them to then drive many hours home,

  potentially alone, after a medical procedure, it might be necessary to stay overnight again.

  Thus, traveling from these remote locations would be at least a two-day, and potentially a

  three-day, affair for many patients seeking abortion services.

          42.      If MFP were unable to provide medication abortion at its 17 non-Augusta

  clinics, many of which are located in extremely rural areas, I believe it would be a

  tremendous hardship for patients seeking abortion in large swaths of the state.

          43.      MFP’s abortion patients routinely report that they do not have, and will not

  be able to find, the money they need to travel to a clinic in a different city for abortion care.

          44.      Approximately 70% of MFP’s patients received Medicaid coverage or

  otherwise needed financial support for their abortion in 2022. Our patients often work in

  low-wage jobs that do not offer paid time off or sick leave, and often have unpredictable

  schedules that may only be set a few weeks, or even just a few days in advance. Many also




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  have childcare responsibilities that significantly complicate and limit their scheduling

  options.

         45.     For patients who are nonetheless able to overcome the burdens associated

  with increased travel distances, my experience with patients has shown me that travel will

  still inevitably delay access to abortion. Delayed abortion care is associated with greater

  health risks. The risks of complications increase with increasing gestational age. Moreover,

  every day a woman remains pregnant, she faces the continued risks of complications of

  pregnancy.I declare under penalty of perjury that the foregoing is true and correct.



             I declare under penalty of perjury that the foregoing is true and correct.




     Executed January 13, 2023




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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION


   Alliance for Hippocratic Medicine, et al.,

                                  Plaintiffs,

                           v.                               Case No. 2:22-cv-00223-Z

   U.S. Food and Drug Administration, et al.,

                                  Defendant.


                    DECLARATION OF KATHERINE B. GLASER, MD

       I, Katherine Glaser, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury that the

following is true and correct to the best of my knowledge and belief, and that these statements are

based on my personal knowledge as well as information made known to me in the course of my

medical practice:

   1. I am a board-certified Obstetrician-Gynecologist (“Ob-Gyn”) physician and attending

physician at a regional hospital serving an indigenous population in Northern Arizona. I also serve

as a Clinical Assistant Professor of Obstetrics and Gynecology at the University of Arizona,

Tucson and the University of Arizona, Phoenix. I also work as an independent contractor with a

clinic to provide abortion care in Northern Arizona. I am board-certified in Obstetrics and

Gynecology with a sub-specialty in Complex Family Planning. In my day-to-day practice, I

participate in both inpatient and outpatient management of pregnancies, which includes treating

patients undergoing pregnancy loss and other complications that arise during pregnancy and

delivering babies. My practice is in a rural, underserved area with high rates of poverty and




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unemployment, and in the work regarding abortion, due to limited availability of abortion services

in the state of Arizona, those seeking an abortion often travel many miles for these services.

    2. I graduated from the University of Arizona College of Medicine in Tucson, Arizona in

2008, and completed my residency in Tucson in 2012. Additionally, I completed a fellowship in

clinical research at the University of California, Davis in 2022. I have worked as an Ob-Gyn for

14 years and provided abortion services through most of those years of practice.

    3. In my current position, I actively teach obstetrics to residents and medical students. I am

also an active member of the American College of Obstetricians and Gynecologists (“ACOG”)

and have held ACOG offices in the state of Arizona, and I am currently the ACOG co-Legislative

Chair for the state of Arizona. I am a Rural Director on the Board of Directors for the American

Medical Association. As a fellow, I authored publications about family planning and diabetes in

pregnancy. In these roles, I have 14 years of clinical experience, have an active, broad clinical

practice, and am engaged in advocacy at the state and national level.

    4. I am familiar with the medication mifepristone, have used it in the course of my practice,

and continue to do so. I am also a certified prescriber of Mifeprex under the Mifeprex REMS

Program. Because I primarily practice in a federally funded facility, abortion is only provided in

relatively rare circumstances that fall within the exceptions allowed by the Hyde Amendment, i.e.,

circumstances where the pregnancy results from rape or incest, or the patient experiences

complications that could seriously threaten her life or health should the pregnancy continue.

Notwithstanding the relative infrequency of abortion care in my primary practice, through my

work as an independent contractor at a clinic providing abortion care, I have used and continue to

use the combination of mifepristone and misoprostol for medication abortion for numerous

patients.




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   5. For patients who choose to end a pregnancy, counseling about the options to end the

pregnancy is provided. Patients are informed about a surgical abortion, which would use dilation

and suction to remove the pregnancy tissue from the uterus. The option of medication abortion is

also explained, and patients are informed that this would include the use of mifepristone followed

by the use of misoprostol in 24-48 hours. The risks of both options are explained in full, as is the

expected course of treatment.

   6. In accordance with the Risk Evaluation and Mitigation Strategy (REMS) related to

mifepristone, as well as Arizona state law, if a patient elects to have a medication abortion, at the

first visit, the gestational age of the pregnancy is determined and options are explained. If the

pregnancy is 70 days gestational age or less, medication abortion is an option. Under Arizona state

law, the patient must then wait at least 24 hours before returning to the clinic for another

appointment. At this appointment, the patient signs a consent form and a Patient Agreement to

confirm that she has been informed about risks of mifepristone and has received the Medication

Guide and Patient Agreement. She undergoes a pelvic exam, as required by state law, and then is

given the mifepristone to be taken under direct observation in the clinic, as required by state law.

Misoprostol is dispensed, as well as medication for nausea and a prescription for medication to

help with cramping, if needed. The patient is instructed to take the misoprostol 24-48 hours after

the mifepristone, and extensive counseling is given about when to call for assistance. The patient

is also given a follow-up appointment. Adverse events are very rare with the mifepristone and

misoprostol regimen, and the efficacy rate of the regimen is 98%.

   7. Though medication abortion takes more time, many patients elect this method due to the

desire to avoid what they may see as an invasive procedure if they select a surgical abortion. They

may view the medication abortion as a more natural process. There may be other factors such as




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not having a ride home from a clinic, especially if it is far from home, if they receive sedation

during a procedural abortion. All factors being considered, what is important is to support patient

autonomy in selecting between the methods, both of which are safe and effective, the one that best

suits the patient’s needs. This is a basic principle of medical ethics.

   8. Prior to prescribing mifepristone, legal and medical ethics require clinicians, such as

myself, to ensure that appropriate informed consent is obtained and that shared decision-making

is effectuated by the patient and, if she chooses, her family members or other trusted persons. In

ensuring that patients are fully informed when choosing among options, I describe all available

options and the expected outcome as well as any associated risks. The patient is also, of course,

screened for any of the conditions which would make medication abortion unsafe, such as inability

to access emergency assistance in the rare instance it might be needed or medical conditions such

as bleeding disorders, marked anemia, or porphyria, as examples. The patient and I also discuss

circumstances that could make one option more appealing than another, such as lack of

transportation or support at home. We discuss pros and cons of a medication or a surgical

procedure. While medication means the patient can expect bleeding and cramping at home,

choosing medication would allow the patient to avoid a procedure, if this is desired. Patients are

also informed that the medication has a small risk of failure, so follow-up is important. Research

shows that patients are most satisfied with care when they have the autonomy to choose the

treatment that best suits them.

   9. The information I provide to my patients is based on my years of training and experience

both teaching new doctors and treating patients. I understand that all medications and medical

procedures carry risks, including rare adverse events, and convey that understanding to patients as

part of my regular medical practice. But the benefit of the mifepristone and misoprostol regimen




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for medication abortion is that it provides a highly effective method of treatment. While

complications are rare, they might involve heavier than expected bleeding or an incomplete

expulsion of the pregnancy, which can be treated with additional medication or with a surgical

procedure, depending on the circumstances or patient preference.

   10. In my experience, I have often found that patients select medication abortion for a variety

of reasons, including: privacy, control of time, and to avoid an invasive procedure. Based on my

years of practice and teaching, my understanding of the published medical literature, and the

requirement, described above, to ensure informed consent when counseling patients considering

medication abortion, I counsel my patients about the risks of mifepristone to include significantly

heavier than expected bleeding or incomplete procedure, and the very rare complication of

infection. For a surgical procedure, the risks include bleeding, infection, and damage to the uterus,

but the risk of an incomplete procedure is very small. As a physician, I understand that the FDA

undertakes a careful assessment regarding the risks and benefits of any medication it approves,

and in mifepristone’s long history of use in this country and others, clinicians know that the

medication is safe and efficacious and that its risks or contraindications are well known.

   11. In particular, I have found that patients who are victims of abuse, including rape and incest,

may find medication abortion to be a less invasive choice that avoids retraumatizing them. All

patients, whether they have been abused or not, value autonomy over their bodies and making

informed decisions about their health care, especially in the situation in which they may choose to

end a pregnancy.

   12. Those who seek abortion do so for many reasons and are of all ages and relationship

statuses. I have cared for women who are young and working to achieve their educational and

career goals, but experienced a failure of their chosen contraceptive method through no fault of




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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION




   Alliance for Hippocratic Medicine, et al.,

                                  Plaintiffs,

                           v.                               Case No. 2:22-cv-00223-Z

   U.S. Food and Drug Administration, et al.,

                                  Defendant.


                     DECLARATION OF KATHERINE McHUGH, MD

       I, Katherine McHugh, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury that

the following is true and correct to the best of my knowledge and belief, and that these statements

are based on my personal knowledge as well as information made known to me in the course of

my medical practice:

   1. I am a board-certified Obstetrician-Gynecologist (“Ob-Gyn”) physician at Women’s Med

Health Center Indianapolis and Partners in Abortion Care in College Park, Maryland. I also serve

as an Associate Professor of Clinical Ob-Gyn at the University of Cincinnati, and owner of Indiana

Pelvic Pain Specialists. In my day-to-day practice, I participate in both inpatient and outpatient

management of pregnancies, which includes treating patients experiencing complications that arise

during pregnancy and patients who wish to terminate their pregnancy. I provide abortion care in

Indiana, Ohio, and Maryland, as permitted under the relevant state laws. I graduated from Indiana

University School of Medicine in Indianapolis in 2011 and completed my residency in 2015. I

joined the faculty of Indiana School of Medicine Department of Ob-Gyn upon graduation.




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    2. In my current position at the University of Cincinnati, I teach obstetrics and gynecology to

residents, fellows, and medical students, and collaborate with nurses, midwives, and practitioners

of many other disciplines. While at Indiana University, I served as one of the Associate Residency

Program Directors and developed state-wide training programs for improving health outcomes of

both mothers and babies. I have held multiple national Board positions, including on the Executive

Board of the American College of Obstetricians and Gynecologists (ACOG) and Physicians for

Reproductive Health. In addition to continuing to practice in an academic setting and teaching

learners, I also started a small private practice treating patients with chronic pelvic pain, a topic on

which I have published national guidance through ACOG. In these roles, I have delivered

thousands of healthy babies to healthy parents over my twelve years of professional practice, as

well as supported hundreds of families through the challenging decisions around pregnancy

complications, terminations, and infertility.

    3. I am familiar with the medication Mifepristone, have used it in the course of my practice,

and continue to do so. I am also a certified prescriber of Mifeprex under the Mifeprex REMS

Program.

    4. For patients seeking to terminate an early pregnancy, I offer a choice between a medication

regimen or a surgical procedure. Until 10 weeks gestation, pregnancy termination by medication

abortion is an option. This regimen consists of Mifepristone 200mg orally followed by Misoprostol

after 24-48 hours. These medications induce bleeding and shedding of the early pregnancy without

need for instruments or procedures. Surgical abortion is performed anytime the patient declines

medication abortion or if the patient is unstable and needs urgent intervention, or if the patient is

unable to reliably attend follow-up appointments or seek urgent medical attention. While the




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specifics of the procedure vary based on gestational age, the patient has a quick and simple

procedure to stretch the cervix and remove the pregnancy tissue from the uterus.

     5. Mifepristone is a small pill that, in the clinics where I practice, is dispensed at the clinic as

required by state law. In both Indiana and Ohio, Mifepristone must be administered by an in-person

physician, who watches the patient swallow the pill in the office. (Of note, this observation process

has no medical indication but is required due to state regulation.) In the clinics where I practice in

these states, Misoprostol is likewise dispensed at the clinic providing abortion care, and the patient

takes it at home 24-48 hours after the Mifepristone. By contrast, in Maryland there are no laws

mandating in-person observation of a patient taking Mifepristone or that it be dispensed by a

physician. Patients in my Maryland practice are evaluated and counseled by me or one of my

physician partners, after which the patient takes Mifepristone with a Registered Nurse prior to

discharge home. Telehealth is also an option for patients in Maryland, whereas medication abortion

provided via telehealth was specifically banned by Indiana and Ohio. After taking Misoprostol,

the patient is expected to experience bleeding and cramping starting within a few hours, during

which the pregnancy tissue passes. Medication abortion is 96-98% effective with very low rates

of     complication.      ACOG       Practice     Bulletin,    https://www.acog.org/clinical/clinical-

guidance/practice-bulletin/articles/2020/10/medication-abortion-up-to-70-days-of-gestation.

     6. I have found that patients often prefer a medication abortion for various reasons, including

being able to plan their recovery time around family schedules, work, and other responsibilities,

maintaining privacy, the perception that it is a more natural end to the pregnancy, as well as

avoiding the more invasive surgical procedure. Based on my years of practice, my understanding

of the published medical literature, and the requirement, described above, to ensure informed

consent when counseling patients, I counsel my patients that medication abortion is safe and very




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effective, making it an excellent choice for early pregnancy termination, and that, although

medication abortion takes longer than a surgical abortion, the patient has more control over the

process. The patient must be able to assess their symptoms and obtain transportation to a medical

facility, should that become necessary, in order to proceed with medication abortion. If patients

are unable to assess their symptoms or get medical help in the case of an emergency, the patient is

not a candidate for medication abortion and must choose between surgical abortion and continuing

the pregnancy. I also counsel the patients on the high safety and efficacy of medication abortion,

as well as the preservation of future fertility and a discussion of any contraceptive needs. In

particular, I have found that patients who are victims of abuse, including rape and incest, may find

medication abortion to be a less invasive choice that avoids retraumatizing them and returns

control over their bodies rightfully back to the victim.

   7. Prior to prescribing Mifepristone, legal and medical ethics require providers, such as

myself, to ensure that appropriate informed consent is obtained and that shared decision-making

is effectuated by the patient and any family or friends the patient chooses. In ensuring that patients

are fully informed when choosing among options, I always speak with the patient alone to screen

for coercion or doubt in the decision. I provide the patient with the Mifepristone Medication Guide

and Patient Agreement, answer any questions, and ensure the patient signs the Patient Agreement.

We discuss the patient’s options, based on medical history and gestational age, as well as the risks

and benefits of each option, and answer all questions the patient has around the process. Included

in all discussions of risk are the specific risks with each medication. Mifepristone is well studied

in pregnancy termination and, as noted, has the expected effects of contributing to uterine cramping

and bleeding. Mifepristone is not used in patients with known allergy to Mifepristone, an

intrauterine contraceptive device in place, or an ectopic pregnancy (a pregnancy implanted outside




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of the uterus). Mifepristone is also avoided in patients with bleeding disorders, with steroid-

dependent medical conditions, and in patients taking blood thinning medications. Medication

abortion with Mifepristone is much safer in patients with significant medical problems or

complicated surgical histories which would make either surgical abortion or anesthesia more risky

than normal. Patients who are very young also benefit from medication abortion because it avoids

the need for a pelvic exam.

   8. The information I provide to my patients is based on my years of training and experience

both teaching new doctors and treating patients. I understand that all medications and medical

procedures carry risks, including rare adverse events, and convey that understanding to patients as

part of my regular medical practice. Mifepristone allows for the safe expulsion of pregnancy tissue

without the additional risks of surgery or instruments, and allows patients the flexibility of timing

the bleeding and cramping as they desire. Additionally, there is a high likelihood of success, up to

99.7% depending on gestational age, with increasing success correlating to decreasing gestational

age. Complications of medication abortion are extremely low. Side effects found when

Mifepristone is combined with Misoprostol include, in addition to bleeding and cramping, fevers

or chills (32-69%), nausea (43-66%), dizziness (28-39%), vomiting (23-40%), diarrhea (23-35%),

and headache (13-40%). These side effects are expected, however, as is the case with most or all

medications, and are not considered to be complications. Need for transfusion (<0.1%) and need

for surgical evacuation (<1%) are the most commonly reported adverse events. The notable

adverse outcome that is possible with Mifepristone is possible teratogenic effects (causing birth

defects or developmental malformations) on the fetus if the patient elects to continue the pregnancy

after taking Mifepristone. All of these possibilities are extensively discussed with the patient, both

verbally and in writing, prior to Mifepristone administration. Given the low incidence of adverse




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events from Mifepristone, combined with its high efficacy, medication abortion is among the safest

outcomes for a person desiring pregnancy termination. Of note, the mortality rate of legal, induced

abortion is estimated to be 0.6 per 100,000 procedures, while the general mortality rate of

continuing pregnancy is 8.8 per 100,000 live births, making legal abortion approximately 14 times

safer than continuing pregnancy to delivery.

    9. Healthcare providers, such as myself, rely on FDA to make a careful assessment of the

risks and benefits of a medication and determine safety and efficacy; FDA’s expert judgment

informs our practice in treating individual patients. With the guidance of the FDA, clinicians make

critical decisions about medications based on safety and efficacy. Interfering with FDA’s process

for assessing the risks and benefits associated with distribution of particular medications places

patients and clinicians at risk.

    10. As an example of the use of Mifepristone for my patients, I provide approximately 10

medication abortions per week in Indiana. While every patient’s situation and reasoning is unique,

there are certainly themes. I recently saw a patient at 7 weeks gestation who confided that her

partner was physically, emotionally, and sexually abusive, and she needed her abortion to include

bleeding so her partner would know she was not pregnant. When I called her a few weeks later,

she spoke to me from the women’s shelter, having successfully moved out and escaped her abuser.

    11. Medication abortion also minimizes contact with the medical system. A woman told me

that she didn’t trust the medical system since her sister had died during childbirth, something the

patient didn’t believe could still happen in the United States. She chose medication abortion

because it allowed her to be in control of what went into her body and minimized the number of

people wanting to touch, examine, or perform a procedure on her body.




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   12. Another recent patient was at 9 weeks gestation and visited me the day before she was

leaving for college. Though not a minor, she was accompanied by her mother, who supported the

patient in her desire to prioritize her education before starting a family.

   13. As a result of state-based abortion bans, patients are forced to travel to obtain abortion care,

sometimes many states away, like the patient I saw recently from Louisiana. She talked about how

she planned to leave immediately after taking the Mifepristone to start her 13-hour drive home so

that she could rest in her own bed when the bleeding and cramping started.

   14. Finally, patients sometimes tell us that their pregnancy is the result of rape, and while the

thought of a pelvic exam and instruments in their vagina is further traumatizing, removing the

pregnancy returns their body to their control.

   15. I understand that Plaintiffs in this suit have asked the Court to revoke FDA’s approval of

Mifepristone. In my opinion, granting that request would cause overwhelming harm to patients

and the medical practice. Up to 60% of abortions in the United States under 10 weeks are

medication abortions, and decades of experience and an extensive body of high-quality medical

literature unequivocally demonstrate that Mifepristone is safe and effective. Patients seeking

medical care for their pregnancies deserve empathy and evidence-based medical care. Removing

FDA approval of Mifepristone will result in delays in returning to work and family obligations,

prolonged symptoms such as pain and bleeding, and an increase in surgical intervention. States

with abortion bans and restrictions after the Dobbs v. Jackson decision are already struggling to

meet the need for reproductive care for their pregnant citizens. Adding yet another barrier to safe,

legal abortion care will have a harsher impact on those states, including women who must travel

from those states to obtain reproductive care, and worsen the alarming disparity we see in maternal

mortality, infant mortality, and childhood health outcomes. Withholding any medication that is




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known to be a safe and effective treatment for the presenting problem violates the medical code of

ethics and oath which medical providers swear to uphold. Mifepristone is a critical, safe, and

effective step in medication abortion.



Dated: January 13, 2023                             ____________________________________
                                                    Katherine McHugh, MD




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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                         AMARILLO DIVISION


ALLIANCE FOR HIPPOCRATIC
MEDICINE, on behalf of itself, its member
organizations, their members, and these
members’ patients, et al.,

           Plaintiffs,
                                            Case No. 2:22-cv-00223-Z
      v.

U.S. FOOD AND DRUG
ADMINISTRATION, et al.,

           Defendants.

              PLAINTIFFS’ BRIEF IN SUPPORT OF
    CONSOLIDATING THE PRELIMINARY INJUNCTION HEARING
       WITH A TRIAL ON THE MERITS UNDER RULE 65(A)(2)




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                                  INTRODUCTION

      Plaintiff medical associations, doctors, and their patients have asked this

Court to enter an order, while this case proceeds, to hold the FDA to its statutory

duty to protect America’s women and girls from the harms of dangerous chemical

abortion drugs.

      For two decades, the FDA has harmed women and girls by allowing

dangerous chemical abortion drugs on the market and by failing to ensure even the
most basic safeguards on their use. Without regard for federal law or sound

medicine, the FDA has facilitated the creation of a mail-order and online abortion

economy. This suit was brought by the local emergency room doctors, OB/GYNs,

and other medical professionals who have cared for an increasing number of women

seeking medical attention after taking this dangerous drug regimen. For two

decades, these doctors have sought to protect their patients, navigating the FDA’s

byzantine administrative process to challenge the FDA’s actions. The FDA has

stonewalled Plaintiffs at every turn, imposing bureaucratic delay after bureaucratic

delay—at one point, dragging its feet for over fourteen years—just so that the FDA

could try to keep the doctors out of court and avoid judicial review of its actions.

      It is now far past time for the FDA to be ordered to put politics aside, follow

the law, and protect America’s women and girls. The best way to do so is by
promptly consolidating the preliminary injunction hearing with the trial on the

merits under Rule 65(a). The Court should also order the swift production of the

administrative record and expedite the case for trial. This course of action will and

promote judicial efficiency by avoiding briefing the same legal issues in multiple

rounds before the Court. And it will enable the Court resolve this case on the merits

without prejudicing Plaintiffs and without introducing further delay—delay which

will result in continued harm to women and girls.




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                                   BACKGROUND

      For two decades, the FDA has failed America’s women and girls by allowing

chemical abortion drugs on the market and by failing to require minimum

safeguards on their use. Complaint, ECF No. 1 at 1–2. Plaintiff medical

associations, doctors, and their patients have thus asked this Court to enter

injunctive and declaratory relief against the FDA, as well as to hold unlawful,

vacate, and set aside each of the FDA’s actions that approved chemical abortion
drugs and that removed the safeguards on their use. Id. at 110–11.

      Before the Court is the soon-to-be complete briefing on Plaintiffs’ preliminary

injunction motion. Plaintiffs immediately moved for a preliminary injunction to

require the FDA to withdraw or suspend each of its actions while this case proceeds.

ECF No. 6, 7. The FDA and Intervenor-Defendant Danco Laboratories have now

filed their opposition briefs, ECF No. 19-1, 28; Plaintiffs’ reply to the FDA’s

opposition is due today, February 10, 2023; and Plaintiffs’ reply to Danco’s

opposition is due February 24, 2023. The Court has yet to schedule a hearing or oral

argument on Plaintiff’s preliminary injunction motion.

      The Court ordered the parties to submit separate briefs on whether the Court

should consolidate the injunction hearing and the trial on the merits under Federal

Rule of Civil Procedure 65(a)(2). ECF No. 32.

                                LEGAL STANDARD

      Under Federal Rule of Civil Procedure 65(a), “[b]efore or after beginning the

hearing on a motion for a preliminary injunction, the court may advance the trial on

the merits and consolidate it with the hearing.” This rule gives the district court

“broad discretion in deciding whether to consolidate a preliminary injunction with

the hearing of the motion for the permanent injunction.” Sonnier v. Crain, 613 F.3d

436, 442 (5th Cir. 2010), opinion withdrawn in part on reh’g on other grounds, 634



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F.3d 778 (5th Cir. 2011). “The rule permits the Trial Judge to flexibly merge and

hear the component parts of a case thereby avoiding repetition and unnecessary

delay.” Dillon v. Bay City Constr. Co., 512 F.2d 801, 804 (5th Cir. 1975).

Consolidation is appropriate so long as no party shows that consolidation will cause

surprise or prejudice to the party. Nationwide Amusements, Inc. v. Nattin, 452 F.2d

651, 652 (5th Cir. 1971).

      When a court consolidates a preliminary injunction hearing with the trial on

the merits, courts hear oral argument on any legal questions and hold a bench trial

on evidentiary issues to resolve any factual disputes. See, e.g., Fath v. Tex. Dep’t of

Transp., 924 F.3d 132, 136 (5th Cir. 2018) (per curiam) (bench trial in APA case).

The court then will “find the facts specially and state its conclusions of law

separately.” Fed. R. Civ. P. 52(a). The resulting hearing “really is a trial on the

merits.” 11A Charles Alan Wright & Arthur R. Miller, Federal Practice and

Procedure § 2950 (3d ed. Apr. 2022 update). If there are factual issues that could

“reasonably be resolved in favor of either party,” then summary judgment is

inappropriate, and “a finder of fact” must resolve them. Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 250 (1986).

                                     ARGUMENT

      This Court should expedite decision on this case and consolidate the

preliminary injunction motion with a trial on the merits under Rule 65(a). It is far

past time to order the FDA to rectify its lawless approval of mifepristone and to

remove chemical abortion drugs from the market, or, at a minimum, to strengthen

and restore safeguards on their use.

      To resolve this case promptly, and to avoid undue delay and prejudice to

Plaintiffs, the Court thus should consolidate the preliminary injunction hearing

with a prompt trial on the merits, stay Plaintiffs’ remaining claims, immediately



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direct the FDA to produce the complete administrative record, and set an expedited

schedule for trial.

I.       This Court should consolidate the preliminary injunction hearing
         with the trial on the merits.

         To resolve this case quickly and efficiently, the Court should consolidate the

preliminary injunction hearing with the trial on the merits under Rule 65(a).

         A.    This Court should bring this case to a prompt resolution on the
               merits.

         Consolidating the preliminary injunction hearing with a final trial on the

merits will avoid needless repetitive rounds of briefing and promote the prompt

resolution of this case.

         A prompt final judgment is in everyone’s interest. Quickly disposing of a case

on the merits can help plaintiffs by shortening the period of irreparable harm, can

help defendants by minimizing “the potential adverse effect” of interim injunctions,

and can help courts by avoiding “having the same evidence presented both at the

preliminary injunction stage and later at trial.” Wright & Miller, supra.

Consolidation can also help avoid burdening the court and the parties with multiple

rounds of briefing on the same dispositive legal issues. Assuming that proper notice

is given in advance, this approach allows for the expedition of the case while

preserving a fair opportunity for each party to raise all of its arguments, evidence,

and objections at trial. Wohlfahrt v. Mem’l Med. Ctr., 658 F.2d 416, 418 (5th Cir.

1981).

         For three reasons, the practice of consolidation makes particular sense here.

First, every party agrees that the outcome of this case will have far-reaching

consequences for parties and non-parties nationwide, ECF No. 7 at 24–25; ECF No.

19-1 at 2, 25, ECF No. 28 at 38–40, and so everyone benefits from the certainty that



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comes from avoiding interim orders and from a prompt final judgment. Second, this

Court can ensure that, even on an expedited schedule, every party has a full and

fair opportunity to present their case, including the opportunity for the FDA to

present the full administrative record. Third, the preliminary injunction briefing

raises many dispositive legal issues, and the parties have already addressed many

key documents in the administrative record and the declarations. There is no need

to brief the same issues on preliminary injunction motions, motions to dismiss,

motions for summary judgment, and motions after trial.

      In short, consolidating the preliminary injunction hearing with the trial on

the merits will thus avoid needless “repetition and unnecessary delay.” Dillon v.

Bay City Constr. Co., 512 F.2d 801, 804 (5th Cir. 1975).

      B.     This Court should stay Plaintiffs’ other claims.

      As part of consolidating the preliminary injunction hearing with the trial on

the merits, this Court should hold or stay Plaintiffs’ other claims or sub-claims

while the Court proceeds to consider entering a partial final judgment under Rule

54(b) on the legal claims presented in the preliminary injunction motion.

      Under Federal Rule of Civil Procedure 54(b), the Court may enter a partial

final judgment on only certain claims in a case upon certifying that there is “no just
reason for delay” of a partial final judgment on these claims. This Court can rule on

the claims in the preliminary injunction motion, without reaching other claims,

because there would be no just reason to delay the prompt resolution of so many

dispositive claims, particularly when it may be unnecessary to ever reach Plaintiffs’

additional claims.

      Any claims not presented in the preliminary injunction motion thus should be

stayed until after the resolution of any appeal, while reserving all rights to all




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parties. The parties may notify the Court after any appeal, or when and if further

litigation is necessary.

II.    The Court should expedite the case, direct the FDA to immediately
       produce the administrative record, and set an early schedule for
       trial.

       Consolidation need not—and should not—significantly extend the time that

the FDA’s actions continue to harm Plaintiff medical associations, doctors, and

patients. If this Court enters an order consolidating the preliminary injunction

hearing with the trial on the merits, the Court therefore should expedite this case

by directing the FDA to immediately collect and produce the administrative record

and by setting an expedited schedule for trial.

       A.    The Court should immediately direct the FDA to produce the
             complete administrative record.

       To avoid delay and prejudice to Plaintiffs, this Court should immediately

direct the FDA to collect the complete administrative record and produce it within

30 days. The Administrative Procedure Act requires a court to rule based on the

complete administrative record before the agency when the decision was made.

Citizens to Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402, 420 (1971). Production of

the administrative record is thus necessary for the consolidation of the preliminary

injunction motion with the resolution of the merits. See Texas v. Biden, No. 2:21-

CV-067-Z, 2021 WL 4552546, at*2 (N.D. Tex. June 7, 2021). And the parties have

already attached much of the administrative record to their preliminary injunction

filings.

       But, in the past, the FDA has sought to avoid disclosing to the public the

complete documents surrounding the agency’s decisions about chemical abortion

drugs. The FDA’s publicly released decision documents regularly contain significant




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redactions of potential important information. 1 Likewise, in response to Freedom of

Information Act (FOIA) requests, the FDA has released only highly, and likely

improperly, redacted versions of select documents. 2 To avoid unnecessary delay of

the trial, it should be made clear at the outset that the FDA must immediately

collect (and presumptively must produce) an unredacted and complete version of the

administrative record for this case. See generally Gulf Coast Rod Reel & Gun Club,

Inc. v. U.S. Army Corps of Eng’rs, No. 3:13-CV-126, 2015 WL 1883522, at *3 (S.D.

Tex. April 20, 2015) (discussing circumstances when courts may order

supplementation of an incomplete administrative record, such as when the agency

omitted relevant evidence or documents).

      Redactions may be appropriate for responses to requests for information

under FOIA, but the same redactions are not appropriate in an action under the

Administrative Procedure Act. After all, a “FOIA production request is an entirely

discrete legal concept that bears no relation to the administrative record compiled

for a court’s review under the APA.” Del. Dep’t of Nat. Res. & Env’t Control v. U.S.

Army Corp of Eng’rs, 722 F. Supp. 2d 535, 544 (D. Del. 2010). FOIA has specific,

limited exceptions to production but the administrative record under the APA

“should include all materials that ‘might have influenced the agency’s decision.’ ” La

Union del Pueblo Entero v. Fed. Emergency Mgmt. Agency, 141 F. Supp. 3d 681, 694

(S.D. Tex. 2015) (citation omitted).




1 See, e.g., App. 517-25, 624-52.

2 “The documents linked from this page have been redacted for certain information

that is exempt from disclosure under the Freedom of Information Act, 5 U.S.C.
sec. 552.” http://wayback.archive-it.org/7993/20161024033540/http://www.fda.gov/
Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm
085168.htm.


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      B.     The Court should set an expedited schedule for trial.

      This Court also should expedite the case and set a prompt schedule for trial.

      First, this Court should set a prompt trial date. A bench trial should be held

as soon as possible, but no later than two months from the court’s consolidation

order. An early status conference, followed by a joint pretrial report, is likely the

most convenient way to identify the date, basic format, and length for the trial.

      Second, this Court should enter a scheduling order setting expedited
deadlines for limited supplemental briefing and for any motion practice necessary.

      To allow the parties to fully develop their case, supplemental briefing should

start immediately, limited to the legal claims presented in the preliminary

injunction motion. Supplemental briefing should concern only issues that were not

raised in the preliminary injunction motion but that are necessary for ruling on

Plaintiffs’ request for a partial final judgment. See Order, Texas v. Biden, No. 2:21-

cv-00067 (N.D. Tex. June 29, 2021), ECF No. 66 (providing for supplemental

briefing on legal standards, burdens of proof, and final remedies); Order, Texas v.

Biden, No. 2:21-cv-00067 (N.D. Tex. July 22, 2021), ECF No. 86 (calling for

supplemental briefing on final remedies). Supplemental briefing may be appropriate

here, for example, on the legal standard for granting partial final judgment and on

the appropriate final relief (e.g., a permanent injunction, vacatur, and a declaratory
judgment) but only as to the claims present in the preliminary injunction motion.

Plaintiffs’ supplemental brief of up to 20 pages should be due 14 days from the

Court’s order; any supplemental or response briefs from the FDA and Danco

Laboratories of the same lengths should be due 14 days later; and Plaintiffs’ reply of

up to 10 pages should be due 5 days afterward. Each party should also be allowed to

submit their proposed final judgment order.




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      Any motions disputing the inclusion or omission of items from the

administrative record, as well as any other motions raising evidentiary disputes, 3

should be expedited for decision before trial. These motions should be due within 7

days of the FDA’s designation of its final production; any responses should be due 5

days later; and any replies should be due 3 days afterward.

      If, after production of the final and complete administrative record, either

party needs to file a supplemental brief on how new items in the administrative

record bear on the issues in dispute at trial, any further supplemental briefs should

be briefed on an expedited schedule for decision before trial.

      Third, the Court should direct the parties to draft a joint pretrial report 20

days before trial identifying the parties’ preferred format for trial, identifying any

stipulations, and identifying the disputed issues of law and fact for trial. A

scheduling order at or near trial can set forth appropriate deadlines for the parties

to submit their post-trial proposed findings of fact and conclusions of law.

                                   CONCLUSION

      This Court should consolidate the preliminary injunction hearing with a trial

on the merits under Rule 65(a)(2), stay or hold Plaintiffs’ other claims, direct the

FDA immediately to collect and produce the complete administrative record, and set

an expedited schedule for trial.




3 Plaintiffs do not anticipate discovery on these claims at this time, with the

exception of the production of the administrative record.


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Respectfully submitted February 10, 2023.

                             By: s/ Julie Marie Blake
                                JULIE MARIE BLAKE, VA Bar No. 97891
                                ALLIANCE DEFENDING FREEDOM
                                44180 Riverside Parkway
                                Lansdowne, Virginia 20176
                                Telephone: (571) 707-4655
                                Facsimile: (571) 707-4790
                                jblake@ADFlegal.org

                                 ERIK C. BAPTIST, D.C. Bar No. 490159
                                 ERIN MORROW HAWLEY, D.C. Bar No. 500782*
                                 MATTHEW S. BOWMAN, D.C. Bar No. 993261
                                 ERICA STEINMILLER-PERDOMO, FL Bar No. 118439
                                 ALLIANCE DEFENDING FREEDOM
                                 440 First Street NW, Suite 600
                                 Washington, DC 20001
                                 Telephone: (202) 393-8690
                                 Facsimile: (202) 347-3622
                                 ebaptist@ADFlegal.org
                                 ehawley@ADFlegal.org
                                 mbowman@ADFlegal.org
                                 esteinmiller@ADFlegal.org

                                 DENISE M. HARLE, GA Bar No. 176758
                                 ALLIANCE DEFENDING FREEDOM
                                 1000 Hurricane Shoals Road NE, Suite D-1100
                                 Lawrenceville, Georgia 30043
                                 Telephone: (770) 339-0774
                                 Facsimile: (770) 339-6744
                                 dharle@ADFlegal.org

                                 CHRISTIAN D. STEWART, TX Bar No. 24013569
                                 MORGAN WILLIAMSON, LLP
                                 701 South Taylor, Suite 400, LB 103
                                 Amarillo, Texas 79101
                                 Telephone: (806) 358-8116
                                 Facsimile: (806) 350-7642
                                 cstewart@mw-law.com

                                 Attorneys for Plaintiffs
                                 *Admitted Pro Hac Vice




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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION


 Alliance for Hippocratic Medicine, et al.,

                                Plaintiffs,

         v.                                                   Case No. 2:22-cv-00223-Z

 U.S. Food and Drug Administration, et al.,

                                Defendants.


                Defendants’ Response to Order Proposing Advancement of
        Trial on the Merits and Consolidation with Preliminary-Injunction Hearing


       The Court has ordered the parties to brief whether a trial on the merits should be advanced

and consolidated with a hearing on Plaintiffs’ Motion for Preliminary Injunction under Federal

Rule of Civil Procedure 65(a)(2). ECF No. 32. Defendants respectfully respond to explain why

advancing a trial on the merits would be improper.

       Both the Supreme Court and the Fifth Circuit have explained that accelerating a trial on

the merits under Rule 65(a)(2) is “generally inappropriate.” Univ. of Tex. v. Camenisch, 451 U.S.

390, 395 (1981); H & W Indus., Inc. v. Formosa Plastics Corp., USA, 860 F.2d 172, 176 (5th Cir.

1988) (quoting Camenisch, 451 U.S. at 395). That is especially true under the circumstances of

this case. Given Plaintiffs’ failure to demonstrate irreparable harm (or, indeed, any harm) flowing

from mifepristone’s1 continued marketing, see Defs.’ PI Opp’n (ECF No. 28) at 8-15, 31-33,

coupled with their extreme delay in filing suit to challenge FDA’s approval of the drug, there is

no reason to decide this case on an emergency basis. Moreover, it is black-letter law that an

Administrative Procedure Act (APA) case like this one must be decided not at trial, but on the

basis of the full administrative record supporting the agency’s decisions. In this case, there is every

       1 This brief uses “mifepristone” to refer to drug products that are approved for medical

termination of early pregnancy, in both branded and generic form.
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reason to follow the ordinary procedural course, including the consideration of a motion to dismiss

that would narrow any issues that might need to be addressed on the merits, and thus the scope of

the administrative records, which would presently span six different agency actions. Indeed, the

parties’ joint scheduling motion contemplated a normal briefing schedule after the conclusion of

preliminary-injunction proceedings that would allow the Court to assure itself of jurisdiction

before deciding the merits, see Joint Sched. Mot. (ECF No. 12) at 2 (“Within two weeks of this

Court’s ruling on Plaintiffs’ [Preliminary-Injunction] Motion, the parties will propose a new

answer or response deadline.”), and the Court adopted that proposal, see Order (ECF No. 13).

         Accordingly, the Court should deny Plaintiffs’ preliminary-injunction motion or hold it in

abeyance, then direct the parties to confer and propose within ten days a schedule for the briefing

of a motion to dismiss and, if that motion is denied in whole or in part, production of the

administrative records for any remaining claims and cross-motions for summary judgment.

I.       Acceleration of a Determination on the Merits Under Rule 65(a)(2) Is Generally
         Inappropriate, and This Case Warrants No Exception.


         Federal Rule of Civil Procedure 65(a)(2) provides a mechanism, in limited circumstances,

for acceleration of a trial on the merits: “Before or after beginning the hearing on a motion for a

preliminary injunction, the court may advance the trial on the merits and consolidate it with the

hearing.” But both the Supreme Court and the Fifth Circuit have cautioned that “it is generally

inappropriate for a federal court at the preliminary-injunction stage to give a final judgment on the

merits” using this procedure. Camenisch, 451 U.S. at 395; H & W Indus., 860 F.2d at 176. This is

because a preliminary-injunction motion is often decided in “haste” and is intended for the “limited

purpose” “merely to preserve the relative positions of the parties until a trial on the merits can be

held.” Camenisch, 451 U.S. at 395. Furthermore, preliminary proceedings typically are “granted

on the basis of procedures that are less formal and evidence that is less complete than in a trial on

the merits.” Id. That certainly is true in this case, where the preliminary-injunction record contains

only excerpts from the underlying administrative proceedings, rather than the complete


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administrative record supporting the challenged actions—multiple records spanning decades of

agency decisionmaking.

       As a leading treatise explains, “the Supreme Court has cautioned that although

consolidation may be used to real advantage in some cases, it generally is inappropriate.” 11A

Charles A. Wright & Arthur R. Miller, Federal Practice & Procedure § 2590 (3d ed.). The Fifth

Circuit agrees. See, e.g., H & W Indus., 860 F.2d at 176 (quoting Camenisch, 451 U.S. at 395). At

a minimum, “[c]onsolidation cannot be ordered by the court without adequate notice and an

opportunity for a full hearing on the merits.” Am. Fed’n of Gov’t Emp., AFL-CIO, Loc. 3319, U.S.

Deputy Marshals v. Colburn, 531 F.2d 314, 315 (5th Cir. 1976); see also, e.g., Wohlfahrt v. Mem’l

Med. Ctr., 658 F.2d 416, 418 (5th Cir. 1981) (“[S]ufficient notice is required to permit the parties

to develop their cases fully.”).

       Consolidation under Rule 65(a)(2) may be appropriate when “a real exigency has been

shown that justifies giving the case preference over other disputes that already are on the docket.”

11A Charles A. Wright & Arthur R. Miller, Federal Practice & Procedure § 2590 (3d ed.); accord

Kickapoo Traditional Tribe of Tex. v. Chacon, 46 F. Supp. 2d 644, 648-49 (W.D. Tex. 1999)

(listing “exigent circumstances” as one factor to consider); Morris v. District of Columbia, 38 F.

Supp. 3d 57, 63 (D.D.C. 2014) (same); Zucker v. Menifee, No. 03-cv-10077, 2004 WL 102779, at

*2 (S.D.N.Y. Jan. 21, 2004) (same). Other considerations include whether “the relevant facts are

undisputed,” Kickapoo Tribe, 46 F. Supp. 2d at 648-49, and whether “[c]ombining the trial and

the Rule 65(a) hearing avoids having the same evidence presented both at the preliminary

injunction stage and later at trial,” 11A Charles A. Wright & Arthur R. Miller, Federal Practice &

Procedure § 2590 (3d ed.).

       Far from warranting any exception to the general rule, this case would be particularly

inappropriate for an accelerated determination on the merits. First, for the very reason that

Plaintiffs fail to demonstrate irreparable harm warranting preliminary relief here, there are no

“exigent circumstances” whatsoever. Kickapoo Tribe, 46 F. Supp. 2d at 648-49. Mifepristone was

first approved nearly twenty-three years ago, yet Plaintiffs waited years to file suit to challenge its

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approval. ECF No. 1, Compl. (filed Nov. 18, 2022). Even the most-recent action about which

Plaintiffs complain occurred in December 2021, nearly a full year before they filed suit. In sum,

given Plaintiffs’ extraordinary delay in mounting this challenge, and particularly in light of their

failure to demonstrate any irreparable harm (let alone irreparable harm to themselves) while

mifepristone remains in use by other physicians, this plainly is not a case in which “a real exigency

has been shown that justifies giving the case preference over other disputes that already are on the

docket.” 11A Charles A. Wright & Arthur R. Miller, Federal Practice & Procedure § 2590 (3d

ed.); see also Defs.’ PI Opp’n at 31-32 (collecting cases and arguing that Plaintiffs’ delay

undermines any claim to imminent irreparable harm).

           Second, the nature of the decisions at issue further weighs against unusual expedition.

Plaintiffs raise numerous theories, including novel claims second-guessing FDA’s safety and

efficacy determinations, and seek an order that would withdraw from the market a drug that has

been widely available for more than two decades. See Defs.’ PI Opp’n at 31 (explaining that no

court has upended an FDA drug approval under similar circumstances). Although these claims

lack merit for myriad reasons, including but not limited to those set forth in Defendants’

preliminary-injunction opposition, ECF No. 28, the parties’ arguments certainly deserve careful

consideration and thorough analysis, rather than an unnecessarily rushed presentation by the

parties.

           Third, this is not a case where the issues are teed up through undisputed facts or where

consolidation would avoid duplicative presentation of evidence at the preliminary-injunction

hearing and the merits stage of the proceedings. See Kickapoo Tribe, 46 F. Supp. 2d at 648-49.

Plaintiffs’ claims arise under the APA and must therefore be decided on the full administrative

records before the agency when it took the challenged actions. See infra Part II. Consolidating

Plaintiffs’ preliminary-injunction motion with a merits ruling at this time would not promote

efficiency because the merits of Plaintiffs’ claims are inappropriate for resolution either based on

the preliminary-injunction record or through trial (or presentation of disputed facts at any stage).

See, e.g., Camp v. Pitts, 411 U.S. 138, 142 (1973) (in APA cases, “the focal point for judicial

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review should be the administrative record already in existence, not some new record made

initially in the reviewing court”). The case should thus proceed in the normal course, with fulsome

briefing on a full record.

       In sum, none of the factors that might justify deviating from the normal course of litigation

and invoking Rule 65(a)(2)’s disfavored procedures is present here.

II.    Accelerating a Determination on the Merits Would Substantially Prejudice
       Defendants.


       In any event, the Court cannot properly reach the merits of the claims in this case in the

absence of the full administrative record for each challenged decision. Plaintiffs’ complaint

presents an incomplete picture of FDA’s decisions and the evidence on which they were based,

including many allegations that are squarely disputed and can be evaluated only through a review

of the actual, full administrative records of those decisions. See Compl. ¶¶ 118-254. Indeed,

Plaintiffs allege that FDA’s challenged actions were “unreasonable and unsupported by the

evidence and information considered by the agency at the time of its decisionmaking.” Compl.

¶¶ 364, 401 (challenging FDA’s responses to Plaintiffs’ citizen petitions); see also, e.g., id. ¶¶ 341-

44 (challenging FDA’s alleged “fail[ure] to perform a statistical analysis” and “impermissibly

extrapolated conclusions about the safety and effectiveness of mifepristone” when it granted

approval in 2000). And even with respect to Plaintiffs’ claims alleging supposed legal errors by

the agency, the administrative records could provide important insight into the extent to which the

agency considered and resolved such issues, and how the agency understood its overall regulatory

authority in light of those issues. See, e.g., Robinson v. Veneman, 124 F. App’x 893, 895 (5th Cir.

2005) (explaining that the “administrative record is also reviewed to determine whether the

challenged action was ‘contrary to constitutional right, power, privilege, or immunity’” (quoting

5 U.S.C. § 706(2)(B))). Consolidation would deprive Defendants of the opportunity to present

more-fulsome briefing on such issues based on the agency’s justifications in the full administrative

records.


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       The complete administrative records are therefore an essential prerequisite to any decision

on the merits by this Court. Judicial review is based upon the “full administrative record that was

before [the agency] at the time [it] made [its] decision,” Citizens to Preserve Overton Park, Inc. v.

Volpe, 401 U.S. 402, 420 (1971), abrogated on other grounds by Califano v. Saunders, 430 U.S.

99 (1977), and “meaningful judicial review” must be based on the “agency’s contemporaneous

explanation” presented in the administrative record, Department of Commerce v. New York, 139

S. Ct. 2551, 2573 (2019). Indeed, the APA statutorily requires that any final decision on the merits

be based on the full administrative record, or at least that the parties have the full record before

them. See 5 U.S.C. § 706 (“In making the foregoing determinations, the court shall review the

whole record or those parts of it cited by a party[.]” (emphasis added)). The record currently before

the Court contains only excerpts, however, from the universe of materials that likely would

constitute the full administrative records. Once compiled and certified by the agency, the complete

administrative records would include additional information supporting the agency’s decisions,

and it is those records that must form the basis of review of these important agency actions

affecting hundreds of thousands of Americans each year. Proceeding to final judgment on the

merits without allowing Defendants to produce and present argument based on the administrative

records would fall short of the process necessary to allow Defendants fully to present their case,

particularly where the only briefing has taken place on a compressed preliminary-injunction

timeline.

       Moreover, consolidation would deprive Defendants of their ability to file a motion to

dismiss raising issues that were unnecessary for resolution of Plaintiffs’ preliminary-injunction

motion, as anticipated by the parties’ joint scheduling motion. For instance, Defendants should be

afforded the opportunity to file a motion to dismiss for improper venue, on the ground that

Plaintiffs have failed to establish standing for any Plaintiff located in this district. Defendants

would be prejudiced by being denied the opportunity to raise such issues, given that Plaintiffs

wholly failed to establish irreparable harm or to offer any legitimate basis to upend the

longstanding status quo through emergency preliminary relief. And there is no reason to rush to

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judgment in this case in light of Plaintiffs’ extreme delay in bringing their claims, the extraordinary

and unprecedented nature of the relief they seek, the absence of showing of any harm (let alone

irreparable harm) to Plaintiffs, and the substantial harm that would befall physicians who prescribe,

patients who use, and companies who hold the approved applications for mifepristone and could

be blindsided by any ruling in Plaintiffs’ favor.

III.   The Court Should Deny Plaintiffs’ Motion or Hold It in Abeyance, and Direct the
       Parties to Confer and Propose a Schedule for Further Proceedings.

       Given that this is not the rare case in which invoking Rule 65(a)(2) is appropriate and that

Plaintiffs have failed to show irreparable harm absent the requested extraordinary relief, this

litigation should follow the ordinary procedural course: The preliminary-injunction motion should

be denied or, at minimum, held in abeyance; FDA should have the opportunity to file a motion to

dismiss that would narrow any issues that might need to be addressed on the merits, just as the

parties contemplated in their joint scheduling proposal and the Court endorsed in its scheduling

order; and, if Plaintiffs demonstrate standing to raise challenges to any agency decisions that are

exhausted and not time-barred, FDA should be afforded a reasonable time to compile and certify

the administrative records, and the parties should be provided an opportunity to brief cross-motions

for summary judgment.

       The practical importance of narrowing the scope of this case through ordinary motion-to-
dismiss briefing bears emphasis here. Plaintiffs challenge no fewer than six distinct agency actions

spanning more than two decades, and many of those challenges fail for threshold reasons. See

Defs.’ PI Mot. at 8-20. Thus, until this Court resolves these threshold issues—which Defendants

previewed in their preliminary-injunction opposition and intend to press in more fulsome fashion

in their motion to dismiss—“the time of the court should not be occupied with any further

proceeding.” See United Transp. Serv. Employees of Am., CIO v. Nat’l Mediation Bd., 179 F.2d

446, 454 (D.C. Cir. 1949). Moreover, the potential burden on FDA of assembling administrative

records for up to six discrete actions should not be underestimated. These records collectively are


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likely to span tens—if not hundreds—of thousands of pages. Approximately 750 volumes of

documents associated with the mifepristone new drug approval are in hard copy, nearly two-thirds

of which are stored in an off-site federal record center. They must be retrieved and scanned before

FDA could begin to identify precisely which documents correspond with the relevant decisions.

FDA would then need to review the record documents retrieved from the archives, alongside

records stored at the agency in electronic form, on a careful, page-by-page basis to redact protected

information, including, for example, confidential commercial information—which FDA is bound

to protect, and which it is well established does not necessarily form a part of the record for review,

see, e.g., Flyers Rts. Educ. Fund, Inc. v. Fed. Aviation Admin., 864 F.3d 738, 745-46 (D.C. Cir.

2017); MD Pharm., Inc. v. Drug Enforcement Admin., 133 F.3d 8, 13 (D.C. Cir. 1998); 21 C.F.R.

§ 20.61.

       As a result, it will doubtless take significant time and resources to retrieve and assemble

these records, an exercise that the agency reasonably has not undertaken at this preliminary stage

of the case, given that the need to do so could be obviated, in whole or in part, by resolution of

Defendant’s threshold arguments. Narrowing the scope of this case would thus allow the agency

to focus its efforts and more quickly assemble and review the records for any claims that might

reach merits proceedings.

IV.    A Trial Is Not Appropriate Because Plaintiffs’ Claims Must Be Decided on the
       Administrative Record.

       To the extent the Court disagrees with Defendants’ position and intends nonetheless to

consolidate and enter final judgment, consolidation would not warrant moving forward with a

“trial on the merits,” ECF No. 32, or any other judicial factfinding inquiry. This case would remain

one arising under the Administrative Procedure Act, and therefore “the focal point for judicial

review should be the administrative record already in existence, not some new record made

initially in the reviewing court.” Camp v. Pitts, 411 U.S. 138, 142 (1973) (per curiam); see also




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Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 743 (1985). Any contrary procedure would

conflate the respective roles of the agency and the Court in APA cases.

       “Under the APA, it is the role of the agency to resolve factual issues to arrive at a decision

that is supported by the administrative record.” Hi-Tech Pharmacal Co. v. FDA, 587 F. Supp. 2d

13, 18 (D.D.C. 2008) (citation omitted). “[T]he district judge,” in turn, “sits as an appellate

tribunal,” Am. Bioscience, Inc. v. Thompson, 269 F.3d 1077, 1083 (D.C. Cir. 2001), because “the

function of the district court is to determine whether or not as a matter of law the evidence in the

administrative record permitted the agency to make the decision it did.” City & Cty. of San

Francisco v. United States, 130 F.3d 873, 877 (9th Cir. 1997) (quotation omitted). “The entire case

on review is a question of law, and only a question of law,” Policy & Research, LLC v. HHS, 313

F. Supp. 3d 62, 74 (D.D.C. 2018) (quotation omitted), and “summary judgment is the proper

mechanism for deciding, as a matter of law, whether an agency action is supported by the

administrative record and consistent with the APA standard of review,” Lannett Co., Inc. v. FDA,

300 F. Supp. 3d 34, 41 (D.D.C. 2017). Deciding this case at a “trial on the merits,” rather than

through cross-motions for summary judgment, would not only distort this Court’s defined role as

a court of review—rather than a finder of fact—in APA cases, but also risk exceeding the proper

scope of its review, which is confined to assessing the rationality of FDA’s decisions based on the

record before the agency when those decisions were made. See, e.g., CTS Corp. v. EPA, 759 F.3d

52, 64 (D.C. Cir. 2014) (“It is black-letter administrative law that in an [APA] case, a reviewing

court should have before it neither more nor less information than did the agency when it made its

decision.”); San Luis Obispo Mothers for Peace v. NRC, 751 F.2d 1287, 1325 (D.C. Cir. 1986) (en

banc) (noting that the record-review rule assures that, in APA cases, “the agency and not the court

is the principal decision maker,” and discourages courts from “cavalierly … supplement[ing] the

record … in the belief that they were better informed than the administrators empowered by

Congress”).

       Moreover, before entering any final judgment, the Court should provide the parties an

opportunity to address the appropriate scope of any remedy—an issue that was not ripe for the

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parties to address in their preliminary-injunction briefing, but that would be a natural part of any

eventual summary-judgment briefing.

        Finally, consolidation and entry of final judgment would not avoid this Court’s obligation

to carefully consider the equities and the public interest, since those factors would be relevant to

any permanent injunction. In addition, to the extent that the Court issues an adverse judgment or

injunction, the government hereby requests that any such judgment or injunction be stayed pending

any appeal that is authorized and pursued. See generally Nken v. Holder, 556 U.S. 418, 421 (2009)

(“[I]t has always been held that as part of its traditional equipment for the administration of justice,

a federal court can stay the enforcement of a judgment pending the outcome of an appeal. A stay

does not make time stand still, but does hold a ruling in abeyance to allow an appellate court the

time necessary to review it.”). The basis for this stay request is already amply set forth in

Defendants’ preliminary-injunction opposition, ECF No. 28 at 38-40, detailing the numerous

harms that would stem from upending the status quo and abruptly withdrawing mifepristone from

the market. See, e.g., Barber v. Bryant, 833 F.3d 510, 511 (5th Cir. 2016) (“[T]he maintenance of

the status quo is an important consideration in granting a stay.”). At a minimum, if the Court were

to enter an adverse judgment, the government respectfully requests that the Court enter a short

administrative stay of 21 days to allow the government time to seek an emergency, expedited stay

from the court of appeals if an appeal is authorized.

                                          CONCLUSION

        The Court should deny Plaintiffs’ preliminary-injunction motion or hold it in abeyance and

direct the parties to confer and propose within ten days a schedule for the briefing of a motion to

dismiss and, if that motion is denied in part, production of the administrative records and cross-

motions for summary judgment.




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February 10, 2023                         Respectfully submitted,

                                       BRIAN M. BOYNTON
                                       Principal Deputy Assistant Attorney General

 OF COUNSEL:                           ERIC B. BECKENHAUER
                                       Assistant Director
 SAMUEL R. BAGENSTOS
 General Counsel                       DANIEL SCHWEI
                                       Special Counsel
 MARK RAZA
 Associate General Counsel             JULIE STRAUS HARRIS
 U.S. Department of Health             Senior Trial Counsel
  and Human Services
 Chief Counsel                         /s/ Kate Talmor
 Food and Drug Administration          KATE TALMOR
                                       CHRISTOPHER A. EISWERTH
                                       EMILY NESTLER
                                       Trial Attorneys
                                       Federal Programs Branch
                                       Civil Division
                                       U.S. Department of Justice
                                       1100 L St., NW
                                       Washington, DC 20005
                                       202-305-5267
                                       kate.talmor@usdoj.gov




                                       ARUN G. RAO
                                       Deputy Assistant Attorney General

                                       AMANDA N. LISKAMM
                                       Acting Director

                                       HILARY K. PERKINS
                                       Assistant Director

                                       NOAH T. KATZEN
                                       Trial Attorney
                                       Consumer Protection Branch



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                               United States Government Accountability Office

GAO                            Report to Congressional Requesters




August 2008
                               FOOD AND DRUG
                               ADMINISTRATION

                               Approval and
                               Oversight of the Drug
                               Mifeprex




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                                                     August 2008


                                                     FOOD AND DRUG ADMINISTRATION
             Accountability Integrity Reliability



Highlights
Highlights of GAO-08-751, a report to
                                                     Approval and Oversight of the Drug Mifeprex

congressional requesters




Why GAO Did This Study                               What GAO Found
In September 2000, the Food and                      FDA approved Mifeprex after evaluating the sponsor’s initial and revised new
Drug Administration (FDA), part of                   drug application through three review cycles. In the first cycle, FDA
the Department of Health and                         concluded that the available data supported the safety and efficacy of
Human Services (HHS), approved                       Mifeprex and that, because the course of pregnancy was well-documented and
the drug Mifeprex for use in                         the effects of the drug were self-evident, the use of historical controls was
terminating early term pregnancy.
FDA approved the drug under a
                                                     consistent with FDA regulations. FDA also concluded that before the drug
provision of its Subpart H                           could be approved, the sponsor needed to provide final data from an ongoing
regulations, allowing it to restrict                 U.S. trial, and more detail on restricting the drug’s distribution. In the second
the drug’s distribution to assure its                cycle, FDA concluded that while the U.S. trial data confirmed the drug’s safety
safe use. Critics have questioned                    and efficacy, the sponsor needed to revise its distribution plan and address
aspects of the Mifeprex approval                     labeling and manufacturing deficiencies. In the final review, FDA concluded
process, including the reliance on                   that termination of unwanted pregnancy is a serious condition and imposing
historically-controlled clinical trials              restrictions under Subpart H was necessary. FDA approved Mifeprex, but
that compare a drug’s effects on a                   required that the sponsor commit to conduct two postmarketing studies,
condition to the known course of                     imposed several distribution restrictions intended to ensure that only qualified
the condition rather than to                         physicians prescribe the drug, and required that patients attest to
another drug or placebo. Critics
argued that Mifeprex does not fit
                                                     understanding the treatment’s potential complications.
within the scope of Subpart H,
which applies to drugs that treat                    The approval process for Mifeprex was consistent with the processes for the
serious or life-threatening illnesses.               other Subpart H restricted drugs, although the details of FDA’s approval
Concerns have also been raised                       depended on the unique risks and benefits of each drug. Common elements of
about FDA’s oversight of the drug                    the approval processes included that FDA needed to evaluate potential
since approval, including the                        limitations in key clinical data (Mifeprex and six of the other drugs), did not
agency’s response to deaths in U.S.                  approve the drugs in the first review cycle (Mifeprex and five others), and
women who had taken the drug.                        imposed similar types of distribution restrictions on Mifeprex and the other
                                                     drugs, though the specific details of the restrictions varied across the drugs.
In this report GAO (1) describes
FDA’s approval of Mifeprex,
including the evidence considered
                                                     FDA’s postmarket oversight of Mifeprex has been consistent with its oversight
and the restrictions placed on its                   of other Subpart H restricted drugs. To oversee compliance with distribution
distribution; (2) compares the                       restrictions, FDA has reviewed data from all sponsors and conducted
Mifeprex approval process to the                     inspections for Mifeprex and two other drugs. To oversee compliance with
approval processes for other                         postmarketing study commitments, FDA has relied on required updates from
Subpart H restricted drugs; and                      sponsors and found unfulfilled commitments for most drugs, including
(3) compares FDA’s postmarket                        Mifeprex. To oversee compliance with adverse event reporting requirements,
oversight of Mifeprex to its                         FDA has evaluated data in sponsors’ reports and, for Mifeprex and seven
oversight of other Subpart H                         other drugs, has conducted inspections that revealed deficiencies for most of
restricted drugs. GAO reviewed                       these drugs, including Mifeprex. Lastly, FDA has taken similar steps to
FDA regulations, policies, and                       oversee postmarket safety across the drugs, such as analyzing adverse events.
records pertaining to its approval
and oversight of Mifeprex and the
                                                     For Mifeprex, FDA investigated the deaths of six U.S. women who developed
eight other Subpart H restricted                     a severe infection after taking the drug and concluded that the evidence did
drugs. In addition, GAO                              not establish a causal relationship between Mifeprex and the infections.
interviewed FDA officials and                        Finally, FDA has taken similar actions to address emerging safety concerns
external stakeholders.                               across the drugs, such as changing labeling.
To view the full product, including the scope
and methodology, click on GAO-08-751.
                                                     HHS reviewed a draft of this report and informed GAO that it did not have
For more information, contact Marcia Crosse          comments.
at (202) 512-7114 or crossem@gao.gov.

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                 Abbreviations

                 AERS              Adverse Event Reporting System
                 CDC               Centers for Disease Control and Prevention
                 ENL               erythema nodosum leprosum
                 FDA               Food and Drug Administration
                 FDAAA             Food and Drug Administration Amendments Act of 2007
                 HHS               Department of Health and Human Services
                 HIV/AIDS          human immunodeficiency virus / acquired immune
                                    deficiency syndrome
                 NDA               new drug application
                 REMS              risk evaluation and mitigation strategy
                 SGE               special government employee



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United States Government Accountability Office
Washington, DC 20548




                                   August 7, 2008

                                   The Honorable Michael B. Enzi
                                   Ranking Member
                                   Committee on Health, Education, Labor, and Pensions
                                   United States Senate

                                   The Honorable Jim DeMint
                                   United States Senate

                                   The Honorable Roscoe G. Bartlett
                                   House of Representatives

                                   In September 2000, the Department of Health and Human Services’ (HHS)
                                   Food and Drug Administration (FDA) granted marketing approval to the
                                   prescription drug Mifeprex (mifepristone) for the medical termination of
                                   early term pregnancy.1 It remains the only drug approved in the United
                                   States for this purpose. FDA approved the drug under a provision of the
                                   agency’s Subpart H regulations that allows FDA to restrict the distribution
                                   or use of a drug in order to assure its safe use.2 Under this provision FDA
                                   can require, as it did for Mifeprex, that distribution be restricted to certain
                                   health care providers with specific training or experience. Since the drug’s
                                   approval, more than 900,000 women are estimated to have taken Mifeprex
                                   in the United States.




                                   1
                                    Mifeprex is the trade name for the mifepristone product marketed in the United States.
                                   Mifepristone is the name of the underlying drug substance. Mifepristone is also sometimes
                                   called “RU-486,” a reference to the name the drug had during laboratory testing.
                                   2
                                     Subpart H of FDA’s drug approval regulations—titled “Accelerated Approval of New Drugs
                                   for Serious or Life-Threatening Illnesses”—applies to drugs that are intended to treat
                                   serious or life-threatening illnesses and provide a meaningful therapeutic benefit to
                                   patients over existing treatments. The regulations contain two approval provisions. One
                                   provides a process through which FDA may restrict the distribution or use of a drug to
                                   assure its safe use. The other provides FDA with flexibilities that allow the agency to
                                   accelerate the approval process for certain drugs on the basis of clinical trial endpoints
                                   that are considered reasonably likely to predict clinical benefit. See 21 C.F.R. §§ 314.500-
                                   560 (2007).



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                 Before a drug can be marketed in the United States, the drug sponsor must
                 submit a new drug application (NDA) to FDA containing data
                 demonstrating the safety and efficacy of the drug.3 FDA reviews the NDA
                 to determine whether the drug’s benefits outweigh its risks.4 Once FDA
                 completes its review, the agency issues an action letter in which it either
                 approves the drug as safe and effective for its intended use (approval
                 letter), informs the sponsor that the drug is likely to be approved once the
                 deficiencies FDA has identified are resolved (approvable letter), or
                 indicates that approval cannot be obtained without substantial additional
                 information (not approvable letter).5 If FDA issues an approvable or not
                 approvable letter, a subsequent review cycle can begin once the sponsor
                 has addressed the issues FDA identified. FDA may require, as a condition
                 of approval, that a sponsor agree to restrict the drug’s distribution under
                 the agency’s Subpart H regulations.6

                 Critics have raised concerns and questions regarding several aspects of
                 FDA’s approval process for Mifeprex. For example, questions have been
                 raised about the reliance on data from historically controlled clinical
                 trials—trials that compare a drug’s effects on a condition within the study
                 population to the known course of that same condition in patients or



                 3
                  A drug sponsor is the person or entity who assumes responsibility for the marketing of a
                 new drug, including responsibility for complying with applicable laws and regulations.
                 4
                  FDA also reviews supplemental NDAs, which sponsors submit to support proposed
                 changes to a drug’s label, a new dosage or strength of the drug, a new patient population or
                 intended use, or changes to the way the drug is manufactured after a drug has an approved
                 NDA.
                 5
                   FDA issued a final rule on July 10, 2008, amending its drug approval regulations. The final
                 rule, among other things, discontinues FDA’s use of approvable letters and not approvable
                 letters. Instead, in the event that FDA determines it will not approve an application in its
                 current form, the agency will send applicants a “complete response letter” to indicate that
                 the review cycle for an application is complete and to describe the specific deficiencies the
                 agency identified in the application. The amended regulations are effective on
                 August 11, 2008. See 73 Fed. Reg. 39588-89 (July 10, 2008).
                 6
                  21 C.F.R. § 314.520 (2007). From 1992—the year that the regulations were promulgated—
                 through February 2007, nine drugs, including Mifeprex, had either an NDA or supplemental
                 NDA approved under this restricted distribution provision. Under the Food and Drug
                 Administration Amendments Act of 2007 (FDAAA), FDA may determine that a risk
                 evaluation and mitigation strategy (REMS) is necessary to ensure that the benefits of a
                 drug outweigh its risks. The REMS provisions of FDAAA went into effect on
                 March 25, 2008. As part of a REMS, FDA can require “elements to assure safe use,” which
                 include restrictions similar to those that can be required under Subpart H regulations.
                 21 U.S.C. § 355-1(a), (e), (f); Pub. L. No. 110-85, §§ 901, 909(a), 121 Stat. 823, 922, 926-38,
                 950.




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                 populations that were not part of the trial—to support the safety and
                 efficacy of Mifeprex.7 FDA regulations allow for the use of such historical
                 controls when the course of the condition in question is well-documented
                 within a comparable population and the effect of the drug is apparent.
                 Questions have also been raised about whether Mifeprex fit within the
                 scope of Subpart H regulations, which apply to drugs that are intended to
                 treat a serious or life-threatening illness. Critics have argued that
                 unwanted pregnancy should not be considered a serious or life-threatening
                 illness. They have also questioned whether FDA’s use of Subpart H
                 regulations was consistent with its use of the regulations to approve other
                 drugs.

                 Additionally, concerns have been raised about FDA’s postmarket oversight
                 of Mifeprex, including its efforts to ensure the sponsor’s compliance with
                 conditions of approval as well as the actions the agency has taken in
                 response to reported adverse events.8 For approved drugs, FDA oversees
                 sponsors’ compliance with applicable reporting requirements, distribution
                 restrictions, and other conditions of approval.9 FDA also monitors the
                 drugs’ postmarket safety and efficacy. In the case of Mifeprex, six U.S.
                 women have died from severe bacterial infection after taking the drug,
                 raising questions about its safety. Some have questioned FDA’s
                 conclusion—which it discussed at a May 2006 congressional hearing—that
                 the available evidence had not established a causal relationship between
                 Mifeprex and the infections.

                 You asked us to review FDA’s approval of Mifeprex and its oversight of the
                 drug since approval. In this report we (1) examine FDA’s approach to
                 approving Mifeprex, including the types of evidence considered and the



                 7
                  21 C.F.R. § 314.126(b)(2)(v) (2007). In contrast, clinical trials that use concurrent controls
                 demonstrate the safety and efficacy of a drug by comparing its effects on patients in a
                 treatment group to the effects of a different treatment—such as another drug or a
                 placebo—on patients in a control group within the same study population.
                 8
                  The term postmarket refers to activities occurring after a drug has been approved for
                 marketing. FDA uses the term adverse drug event to refer to any untoward medical event
                 associated with the use of a drug in humans.
                 9
                  FDA regulations require sponsors of approved drugs to submit various postmarket safety
                 reports. See 21 C.F.R. §§ 314.80, 314.81 (2007). Additionally, sponsors of approved drugs
                 must report to FDA annually on the progress of any postmarket studies required by FDA or
                 agreed to by the sponsor. 21 U.S.C. § 356b; 21 C.F.R. § 314.81(b)(2)(vii) (2007). FDA uses
                 such postmarket studies to gather additional information about a drug’s safety, efficacy, or
                 use once it is marketed.




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                 restrictions placed on its distribution and use; (2) compare the approval
                 process for Mifeprex to the approval processes for other drugs approved
                 under the restricted distribution provision of Subpart H; and (3) compare
                 FDA’s oversight of the use of Mifeprex since its approval to the agency’s
                 oversight of the other drugs approved under the restricted distribution
                 provision of Subpart H.

                 To examine FDA’s approval of Mifeprex, we reviewed relevant laws,
                 regulations, policies, and guidance. We reviewed FDA records including an
                 archive of documents pertaining to the approval of Mifeprex.10 We also
                 reviewed documentation from an FDA advisory committee meeting,11
                 testimony statements and the related transcript, FDA responses to
                 congressional requests, an August 2002 citizen’s petition and responses
                 from outside organizations, and other documentation pertaining to FDA’s
                 approval of Mifeprex. We interviewed FDA officials and external
                 stakeholders who had access to technical information or had conducted
                 analyses pertaining to Mifeprex that were not available through FDA.
                 These included a representative of the sponsor of the Mifeprex application
                 and its licensee,12 the American College of Obstetricians and Gynecologists
                 and the American Association of Pro Life Obstetricians and Gynecologists.

                 To compare the approval process for Mifeprex to those of other drugs, we
                 reviewed FDA documentation pertaining to FDA’s approval of the other
                 eight drugs that the agency had approved under the restricted distribution


                 10
                  In response to a Freedom of Information Act request, FDA posted certain documents
                 pertaining to its approval of Mifeprex on the agency’s Web site (see
                 http://www.fda.gov/cder/archives/mifepristone/default.htm). The documents, which total
                 over 9,000 pages, include a range of sometimes redacted material such as handwritten
                 notes or email communications, communications between the drug sponsor and FDA,
                 meeting minutes, copies of international labeling, and study protocols.
                 11
                    FDA may convene an advisory committee to obtain advice from scientific experts and
                 representatives of the public regarding a drug. FDA requests advice from advisory
                 committees on a variety of matters, including aspects of drug applications and postmarket
                 safety concerns for drug products. The primary role of an advisory committee is to provide
                 independent advice that will contribute to the quality of the agency’s regulatory decision-
                 making. Although the committees provide recommendations to the agency, final decisions
                 are made by FDA.
                 12
                  The Population Council, a non-profit organization involved in reproductive health and
                 population issues, sponsored the Mifeprex application. During the NDA review process, the
                 Population Council contracted with Danco Laboratories, L.L.C. to serve as its licensee with
                 responsibility for commercial manufacturing and marketing of the drug. Following the
                 drug’s approval, the Population Council transferred ownership of the Mifeprex NDA to
                 Danco.




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                           provision of Subpart H as of February 2007.13 Specifically, we examined
                           key documents related to FDA’s internal review and approval processes as
                           well as documentation from advisory committee meetings in order to
                           identify commonalities and differences in FDA’s process across the nine
                           Subpart H restricted drugs, including Mifeprex. In our examination we
                           focused on issues that had arisen during FDA’s review of Mifeprex to
                           determine whether similar issues had arisen in FDA’s review of the other
                           drugs, and how FDA had addressed those issues for the other drugs.

                           To compare FDA’s oversight of the use of Mifeprex since approval to the
                           agency’s oversight of the other Subpart H restricted drugs, we reviewed
                           relevant regulations and FDA guidance. We also examined FDA
                           documentation on the agency’s oversight of sponsors’ compliance with
                           distribution restrictions, postmarketing study commitments, and adverse
                           event reporting requirements for the nine Subpart H restricted drugs. In
                           addition, we reviewed FDA’s process for evaluating and responding to
                           postmarket data on adverse events for each drug. Lastly, we interviewed
                           FDA officials and staff who are responsible for postmarket oversight of
                           these drugs. We conducted our work from February 2007 through August
                           2008 in accordance with generally accepted government auditing
                           standards. Those standards require that we plan and perform the audit to
                           obtain sufficient, appropriate evidence to provide a reasonable basis for
                           our findings and conclusions based on our audit objectives. We believe
                           that the evidence obtained provides a reasonable basis for our findings
                           and conclusions based on our audit objectives.


                           On September 28, 2000, FDA approved Mifeprex under the restricted
Results in Brief           distribution provision of its Subpart H regulations after examining the
                           NDA through three review cycles. In its first review, FDA concluded that
                           the available evidence supported the safety and efficacy of Mifeprex. This
                           conclusion was based in part on FDA’s determination that because the
                           course of pregnancy was well-documented and the effects of the treatment
                           were self-evident, the reliance on historical controls in three key clinical
                           trials—two conducted in France and one ongoing in the United States—
                           was appropriate and consistent with FDA regulations. FDA issued an
                           approvable letter in September 1996 concluding that the sponsor needed



                           13
                              We initiated our work in February 2007. In June 2007, FDA approved one additional
                           drug—Letairis—under the restricted distribution provision of Subpart H. This drug was not
                           included in our review.




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                 to provide additional information, such as the final data from the U.S. trial
                 and a detailed plan to restrict the drug’s distribution, before an approval
                 decision could be made. The second review cycle began when the sponsor
                 submitted a complete response to this letter. FDA issued a second
                 approvable letter in February 2000 after concluding that the new data
                 confirmed the safety and efficacy of Mifeprex for the U.S. market but also
                 that the sponsor needed to revise its distribution plan and address labeling
                 and manufacturing deficiencies. In its final review, FDA deliberated about
                 the distribution restrictions and conditions of use needed to assure the
                 safe use of the drug. FDA concluded that termination of an unwanted
                 pregnancy is a serious condition and that the drug can allow patients to
                 avoid a surgical procedure and therefore Mifeprex fit within the scope of
                 Subpart H. FDA further concluded that the drug could only be used safely
                 if distribution was limited to qualified physicians. The sponsor argued that
                 the drug did not treat a serious condition and that because they had
                 voluntarily agreed to the restrictions FDA had requested, it was neither
                 appropriate nor necessary to impose the restrictions under Subpart H.
                 However, the sponsor eventually acquiesced to FDA’s requirement that
                 approval be under Subpart H. After FDA concluded that the sponsor had
                 adequately revised its distribution plan and addressed the remaining issues
                 identified in FDA’s reviews, it approved the Mifeprex NDA under
                 Subpart H with several restrictions. These included requiring that
                 prescribing physicians attest to possessing specific skills, agree to fully
                 discuss the treatment with patients, and agree to report certain adverse
                 events to the sponsor; that the drug be distributed directly to physicians by
                 an authorized distributor; and that patients attest to fully understanding
                 the treatment and its potential complications. The drug was also approved
                 subject to the sponsor’s commitment to conduct two postmarket studies
                 related to patient outcomes.

                 The approval process for Mifeprex was generally consistent with the
                 approval processes for the other eight Subpart H restricted drugs, but the
                 details of FDA’s approval process for each drug depended on the drug’s
                 unique risks and benefits. One common element across the approval
                 processes for seven of the drugs, including Mifeprex, was that FDA needed
                 to evaluate potential limitations—such as lack of concurrent controls or
                 small sample sizes—in key clinical trials supporting the NDA. For some of
                 these drugs other than Mifeprex, FDA concluded that there were
                 weaknesses in the data submitted in the NDA that needed to be addressed.
                 Another common element for six of the drugs, including Mifeprex, was
                 that FDA issued at least one prior action letter before ultimately approving
                 the drug for marketing under Subpart H. Additionally, the types of
                 distribution restrictions that FDA imposed on Mifeprex were similar to




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                 those the agency imposed on the other drugs, though the details of the
                 restrictions varied depending on the drug. Lastly, eight of the drugs,
                 including Mifeprex, were approved with two or more postmarketing study
                 commitments, each with one or more commitments related to adverse
                 events or patient outcomes of interest.

                 FDA’s postmarket oversight of Mifeprex has been consistent with the
                 agency’s postmarket oversight of the other Subpart H restricted drugs. To
                 oversee the drug sponsors’ compliance with distribution restrictions, FDA
                 has relied on data submitted by sponsors for all of the drugs. For three of
                 the drugs, one of them Mifeprex, FDA has also completed inspections of
                 the sponsor or its distributors. To oversee compliance with postmarketing
                 study commitments, FDA has relied on updates in required reports from
                 sponsors. Most of the drugs, including Mifeprex, have at least one study
                 commitment that remains unfulfilled. To oversee compliance with adverse
                 event reporting requirements, FDA has relied on sponsors’ reports for all
                 of the drugs and has also conducted inspections of the sponsor or its
                 manufacturers for eight of them. FDA has cited the sponsors of seven of
                 the drugs, including Mifeprex, for adverse event reporting deficiencies. To
                 oversee the postmarket safety of all of the Subpart H restricted drugs, FDA
                 has routinely conducted reviews of adverse event reports to monitor for
                 safety concerns. In the case of Mifeprex, FDA investigated the deaths of
                 six U.S. women who developed a fatal infection following treatment with
                 Mifeprex for medical abortion. FDA has determined that in all six of the
                 deaths, the women used a Mifeprex treatment regimen that has not been
                 approved by FDA. Based on its investigations, FDA has concluded that a
                 causal relationship between the use of Mifeprex and the fatal infections
                 has not been established. FDA has also monitored other kinds of adverse
                 events and has concluded that, with the exception of the cases of fatal
                 infection, reported serious adverse events associated with Mifeprex have
                 been within or below the ranges it expected. Additionally, for Mifeprex
                 and the other drugs, FDA has taken similar actions—such as issuing
                 warnings and requesting changes to the product labeling—to
                 communicate safety information to consumers and health care providers.

                 HHS reviewed a draft of this report and informed us that it did not have
                 general comments. In addition, HHS provided technical comments which
                 we incorporated as appropriate.




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                           The Mifeprex NDA provided for the use of Mifeprex, in combination with
Background                 another drug, for the medical termination of pregnancy. The treatment
                           regimen described in the NDA involved taking Mifeprex orally, and then
                           taking the drug misoprostol orally 2 days later unless termination of the
                           pregnancy had already occurred.14 Patients return for a follow-up visit with
                           their prescribing physician 2 weeks later to ensure that the termination of
                           the pregnancy has been completed. The treatment regimen works by both
                           interrupting the hormones that the body needs to maintain a pregnancy
                           and inducing the uterine cramping necessary to cause a medical abortion.

                           At the time that the drug sponsor submitted the Mifeprex NDA, in March
                           1996, mifepristone had already been approved in multiple countries. The
                           drug was first approved for the medical termination of pregnancy in
                           France and China in 1988.15 It was approved subsequently in the United
                           Kingdom in 1991, in Sweden in 1992, and various other European countries
                           throughout the 1990s. In general, the treatment regimens approved in
                           these countries were similar to those studied in the Mifeprex NDA, though
                           in some cases the specific drug used in combination with mifepristone was
                           different.


FDA Application Review     FDA reviews drug applications to determine whether they provide
Process                    sufficient evidence to demonstrate that a drug is safe and effective for the
                           proposed use, including whether the benefits of the drug outweigh its
                           risks. FDA’s formal process for new drug approval begins after a drug
                           sponsor submits an application, typically following a long period of
                           research and development. During a preliminary review, FDA determines
                           whether the application is sufficiently complete to be reviewed and if so,
                           designates it for either standard or priority review, depending on the




                           14
                             Misoprostol is one of several drugs that had been studied in combination with
                           mifepristone for the medical termination of pregnancy because they have been shown to
                           induce uterine contractions. However, it is approved for marketing in the United States for
                           a different indicated use.
                           15
                            The company that discovered mifepristone and manufactured it for marketing in
                           France—Roussel Uclaf—did not want to produce the drug for the U.S. market. Instead, the
                           U.S. sponsor retained a contract manufacturer. For a more detailed discussion of the
                           history of the development of mifepristone for the U.S. market, see: Congressional
                           Research Service, Abortion: Termination of Early Pregnancy with RU-486
                           (Mifepristone), (Washington, D.C.: 2001).




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                 therapeutic potential of the drug.16 The agency then assigns a team of
                 reviewers—including medical officers, chemists, statisticians,
                 microbiologists, pharmacologists, and other experts—within the relevant
                 FDA review division. This review team, which is usually led by a medical
                 officer, conducts a comprehensive evaluation of the clinical and non-
                 clinical information in the application including the safety and efficacy
                 data for the drug, the design and quality of the studies used to support the
                 application, and the proposed labeling for the drug and also reviews the
                 results of inspections of the facilities where the drug is manufactured.17
                 The review team compiles the results of its analyses and recommends
                 either an approval, approvable, or not approvable action.

                 FDA managers, usually including the review team’s supervisor and senior
                 management within the applicable review division, determine what action
                 to take on an application, based on the recommendations of the review
                 team. These managers examine the review team’s analysis and individually
                 decide whether to concur with the recommendation. The final decision on
                 the action the agency should take is usually, but not always, made by the
                 director of the applicable review division. In some cases, actions must be
                 reviewed and agreed to by the relevant FDA office.

                 This review process may span several cycles. For those applications not
                 approved during the first review cycle—both approvable and not
                 approvable—the second FDA review cycle begins once the sponsor
                 submits an amendment to the application providing responses to the
                 deficiencies FDA identified in its previous review. These amendments
                 often contain additional studies, analyses, data, or clarifying information
                 to address FDA’s concerns. The responsible review team reviews the
                 information provided by the sponsor, conducts any additional analyses
                 that are required, reviews the results of any additional inspections that
                 have been conducted, and again recommends either an approval,
                 approvable, or not approvable action. As with the first review cycle, the
                 process ends once FDA management reviews the recommendations of the




                 16
                   FDA may grant priority review status when it determines that a drug may provide
                 significant benefits in the treatment, diagnosis, or prevention of a disease as compared to
                 marketed drugs or non-drug therapies, such as surgery, or provide a treatment where no
                 adequate therapy exists.
                 17
                  The non-clinical data in an NDA pertains to, for example a drug’s chemistry,
                 manufacturing, and controls as well as its toxicology and pharmacology.




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                             review team and makes its decision on the action to take on the
                             application.


Restricting Drug             To address concerns FDA identifies regarding the safe use of a drug, the
Distribution and Subpart H   agency may condition approval by requiring that the sponsor agree to
Regulations                  restrict the drug’s distribution. FDA has established restricted distribution
                             programs for approved drugs primarily by requiring that a drug’s approval
                             be under the restricted distribution provision of Subpart H regulations.
                             According to the scope of the regulations, Subpart H applies to new drugs
                             that “have been studied for their safety and effectiveness in treating
                             serious or life-threatening illnesses and that provide meaningful
                             therapeutic benefit to patients over existing treatments” for the
                             condition.18 FDA may approve a drug under the restricted distribution
                             provision of these regulations if it meets these criteria and the agency
                             concludes that the drug is effective but can be safely used only if
                             distribution or use is restricted. For example, FDA may require that
                             distribution of a drug be limited to certain facilities or physicians with
                             special training.

                             As of February 2007, nine drugs—Actiq, Accutane, Lotronex, Mifeprex,
                             Plenaxis, Revlimid, Thalomid, Tracleer, and Xyrem—had either an NDA or
                             supplemental NDA approved under the restricted distribution provision of
                             Subpart H.19 For each of the drugs, either during the application review
                             process or based on postmarket data, FDA identified concerns about the
                             safe use of the drug that led the agency to apply Subpart H. The drugs
                             were approved to treat a range of conditions, such as breakthrough cancer
                             pain, specific symptoms of narcolepsy, and severe acne.

                             FDA has also required that drug sponsors agree to restrict the distribution
                             of drugs without imposing Subpart H. Clozaril, Tikosyn, and Trovan are
                             three examples of drugs that have restricted distribution programs that
                             were imposed outside of Subpart H. (See app. I for a table describing
                             drugs FDA has approved with restricted distribution programs and the
                             conditions they are intended to treat). While Clozaril was first approved in



                             18
                                  21 C.F.R. § 314.500 (2007).
                             19
                              21 C.F.R. § 314.520 (2007). The sponsor for Plenaxis—approved in 2003 for the palliative
                             care of certain patients with advanced prostate cancer—withdrew the product from the
                             market in 2006. Additionally, three generic versions of Accutane have been approved for
                             marketing under this restricted distribution provision.




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                            1989, FDA imposed distribution restrictions on both Tikosyn and Trovan
                            after Subpart H regulations had been promulgated.

                            A second approval provision of Subpart H provides FDA with flexibilities
                            that allow the agency to accelerate the approval process for drugs that
                            provide meaningful therapeutic benefits over alternatives for serious or
                            life-threatening illnesses.20 Specifically, under the provision, FDA may
                            approve a drug on the basis of clinical trials establishing that the drug has
                            an effect on a surrogate endpoint—such as weight gain or reduced
                            occurrence of infections in patients with HIV—that is reasonably likely to
                            predict a clinical benefit or on the basis of an effect on a clinical endpoint
                            other than survival or irreversible morbidity.21 This allows FDA to approve
                            a drug before measures of effectiveness that would usually be required for
                            approval are available. However, under this approval provision, drug
                            sponsors are ordinarily required to conduct postmarket studies to confirm
                            and further describe the drug’s clinical benefit. As of February 2007, FDA
                            had used this provision to approve 52 drugs, most of which are intended to
                            treat HIV/AIDS or various cancers.


FDA’s Role in Postmarket    Because some risks may not become known until after a drug’s approval
Oversight                   and use in a wider segment of the population, FDA has a range of
                            postmarket oversight responsibilities once a drug is approved for
                            marketing in the United States. FDA’s postmarket oversight
                            responsibilities include assessing sponsors’ compliance with requirements
                            for a given drug, such as postmarketing study commitments, adverse event
                            reporting, and restricted distribution requirements. In addition, FDA
                            monitors reported adverse events to assess the postmarket safety of
                            approved drugs and may take action if it develops a concern about a drug’s
                            safety.

                            With regard to postmarketing study commitments, FDA oversees
                            sponsors’ compliance with regulations that require sponsors of all
                            approved drugs to report to FDA annually on their progress in meeting the



                            20
                                 See 21 C.F.R. § 314.510 (2007).
                            21
                              According to FDA, although some surrogate endpoints are recognized as well-established
                            and have long been a basis for approval (such as change in blood pressure or cholesterol),
                            accelerated approval regulations allow reliance on a “surrogate endpoint that, while
                            ‘reasonably likely’ to predict clinical benefit, is not so well-established as the surrogates
                            ordinarily used as bases of approval in the past.” 57 Fed. Reg. 58942, 58944 (Dec. 11, 1992).




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                 commitments. FDA requires that sponsors report on the status of these
                 studies in an annual report that also includes updates on the distribution
                 of the drug, labeling changes, clinical literature published on the drug, and
                 the drug’s marketing.22 FDA designates unfulfilled study commitments as
                 submitted, pending, ongoing, delayed, released, or terminated.

                 FDA also oversees sponsors’ compliance with regulations that require
                 sponsors of all approved drugs to report periodically to FDA on safety
                 information and specific types of adverse events that occur in association
                 with an approved drug.23 Sponsors must provide in periodic reports
                 (quarterly for the first 3 years after approval and annually thereafter) a
                 narrative summary and analysis of adverse event information. For adverse
                 events that are considered both serious and unexpected,24 sponsors are
                 required to submit a report—known as a “Postmarketing 15-day Alert
                 Report”—to FDA within 15 calendar days from the time the sponsor was
                 informed of the event. To assess sponsors’ compliance with these adverse
                 event reporting requirements, FDA reviews sponsors’ reports and
                 conducts inspections of the sponsors’ reporting policies and procedures.

                 For drugs approved under the restricted distribution provision of
                 Subpart H, FDA oversees sponsors’ compliance with the restrictions
                 placed on the drugs’ distribution or use. To assess compliance with
                 restrictions, FDA reviews information such as summaries of sponsors’
                 distribution programs in annual reports and in some cases separate
                 reports required by the agency to provide details and updates on
                 distribution programs. In addition, FDA may conduct inspections of a
                 sponsor’s corporate headquarters, manufacturing sites, or contractors,
                 such as specialty distributors, to evaluate whether distribution policies
                 and procedures comply with the approved restrictions for a given drug. If
                 FDA identifies deficiencies during an inspection, it may issue a formal
                 citation—known as a Form FDA 483. In addition, FDA may communicate
                 less serious findings as written or oral “observations” or
                 “recommendations.”25



                 22
                      See 21 C.F.R. § 314.81 (2007).
                 23
                      See 21 C.F.R. § 314.80 (2007).
                 24
                      Unexpected events are those that are not included in the current labeling for a drug.
                 25
                    FDA uses the same reporting scheme—noting citations, observations, or
                 recommendations— for its inspections to assess sponsor compliance with adverse event
                 reporting.




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                 To monitor postmarket safety of approved drugs, FDA reviews clinical
                 literature, routinely evaluates the available data on reported adverse
                 events, and conducts investigations of the nature and patterns of these
                 events. FDA compiles data from sponsor’s reports on adverse events,
                 along with data from voluntary reports submitted to the MedWatch
                 program, in its Adverse Event Reporting System (AERS) database.26 FDA
                 safety evaluators analyze data from AERS and in the clinical literature to
                 detect signs of potential safety concerns. These evaluations may reveal the
                 need for further studies of a drug or may result in FDA action to ensure
                 the safety of the drug.27

                 If FDA identifies problems with a sponsor’s compliance with agency
                 requirements or identifies postmarket safety concerns, the agency can
                 take a range of actions to address the concern and communicate safety
                 information to healthcare providers and the public. For example, FDA may
                 revise the restrictions on a drug’s distribution, request changes to a drug’s
                 labeling, issue patient advisories or public health alerts, or request that a
                 sponsor issue letters to health care providers or pharmacists to alert them
                 to safety concerns. FDA may also issue a regulatory letter citing violations
                 of laws or regulations. Typically, FDA issues a Warning letter for violations
                 that may lead FDA to pursue further enforcement action if not corrected
                 or issues an untitled letter for violations that do not meet this threshold.
                 FDA also has the authority to withdraw a drug’s marketing approval for
                 safety-related and other reasons,28 although it rarely does so. Additionally,




                 26
                  MedWatch is a voluntary reporting program through which health professionals and
                 consumers can report adverse reactions, product problems, and use errors related to drugs
                 and other products approved by FDA.
                 27
                    GAO has previously reported on and made recommendations regarding FDA’s postmarket
                 oversight of approved drugs. See GAO, Drug Safety: Improvements Needed in FDA’s
                 Postmarket Decision-making and Oversight Process. GAO-06-402. (Washington, D.C.:
                 Mar. 31, 2006).
                 28
                      21 U.S.C. § 355(e).




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                          Subpart H regulations establish an expedited process for withdrawing a
                          drug’s marketing approval, in certain circumstances.29


                          FDA approved Mifeprex after three review cycles. In its initial review, FDA
FDA Approved              concluded that reliance on historical controls in three key clinical trials
Mifeprex under the        was appropriate and consistent with FDA regulations and that the
                          available data supported the safety and efficacy of the drug. In an
Subpart H Restricted      approvable letter, FDA notified the sponsor that it needed to provide
Distribution Provision    additional data and more detail on its proposal to restrict the drug’s
                          distribution before an approval decision could be made. A second review
After Concluding That     cycle began when the sponsor submitted data responding to this letter.
Clinical Evidence         The agency issued a second approvable letter after finding that new data
Supported Its Safety      confirmed Mifeprex’s safety and efficacy but also that the sponsor needed
                          to revise its distribution plan and address labeling and manufacturing
and Efficacy              deficiencies. FDA further concluded that the drug was a candidate for
                          approval under Subpart H. In the final review cycle, FDA concluded that
                          the sponsor’s revised distribution plan and other revisions were sufficient
                          to address FDA’s comments. FDA also concluded that Mifeprex met the
                          scope of Subpart H and that approval under the restricted distribution
                          provision of Subpart H was necessary to ensure that only qualified
                          physicians prescribed the drug. On September 28, 2000, FDA approved
                          Mifeprex under the restricted distribution provision of Subpart H with
                          several restrictions and two postmarketing study commitments. (See
                          table 1 for a timeline of key events in the Mifeprex approval process.)




                          29
                            Under Subpart H regulations, FDA may withdraw a drug’s marketing approval after
                          providing for a hearing, in the following circumstances; (1) a postmarketing clinical study
                          fails to verify clinical benefit; (2) the sponsor fails to perform the required postmarketing
                          study with due diligence; (3) use after marketing demonstrates that postmarketing
                          restrictions are inadequate to assure safe use of the drug product; (4) the sponsor fails to
                          adhere to the postmarketing restrictions agreed upon; (5) the promotional materials are
                          false or misleading; or (6) other evidence demonstrates that the drug product is not shown
                          to be safe or effective under its conditions of use. 21 C.F.R. § 314.530 (2007).




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                             Table 1: Timeline of Key Events in FDA’s Approval of Mifeprex

                              Date                              Event
                              First review cycle
                              March 1996                        The sponsor submitted a new drug application (NDA) for the
                                                                use of Mifeprex in combination with the drug misoprostol for the
                                                                medical termination of intrauterine pregnancy.
                              July 1996                         FDA Reproductive Health Drugs Advisory Committee meeting.
                              September 1996                    FDA issued an approvable letter listing issues that the sponsor
                                                                needed to address before the application could be approved.
                              Second review cycle
                              August 1999                       After delays securing a manufacturer, the sponsor completed its
                                                                responses to FDA’s 1996 approvable letter.
                              February 2000                     FDA issued a second approvable letter, listing issues that the
                                                                sponsor needed to address prior to approval.
                              Third review cycle
                              March 2000                        The sponsor completes its responses to FDA’s second
                                                                approvable letter.
                              September 2000                    FDA approved Mifeprex under the restricted distribution
                                                                provision of Subpart H.
                              November 2000                     Distribution of Mifeprex began in the United States.
                             Source: GAO analysis of FDA and drug sponsor data.




FDA’s Initial Review Cycle   FDA’s initial review began when the drug sponsor submitted the Mifeprex
and Approvable Action        NDA in March 1996. After conducting a preliminary review of the NDA,
(March to September 1996)    FDA designated the application for priority review, establishing a goal that
                             the agency would issue an action letter within 6 months. FDA’s rationale
                             for the designation was that as the first drug that would be approved for its
                             particular indication, Mifeprex was a therapeutic advance because women
                             using the drug could potentially avoid the risks of surgery and anesthesia
                             involved in a surgical termination of a pregnancy.

                             FDA assigned a team of reviewers within the Division of Reproductive and
                             Urologic Drug Products to review the evidence in the Mifeprex NDA. The
                             key safety and efficacy data in the NDA consisted of three historically
                             controlled clinical trials, two conducted in France and one conducted in
                             the United States. These trials studied the Mifeprex treatment regimen—
                             mifepristone in combination with misoprostol—in a total of more than
                             4,000 women. At the time the NDA was submitted, the French trials were
                             complete and the U.S. trial was ongoing. As a result, during the first review
                             cycle, the review team analyzed the complete safety and efficacy data from
                             the French clinical trials, but only summary data on serious adverse events




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                 from the U.S. clinical trial. FDA reviewers also considered results from
                 other trials conducted in Europe from 1983 through 1996 in which
                 mifepristone was studied either alone or in combination with misoprostol
                 or similar drugs. In addition, the review team considered safety
                 information from extensive postmarketing experience in Europe,
                 including a postmarket safety database containing information on women
                 who had used mifepristone. Lastly, the review team considered the non-
                 clinical data in the application, including data on the drug’s chemistry and
                 manufacturing.

                 In its review of the Mifeprex data, FDA reviewers determined that the
                 reliance on historical controls in the key clinical trials was appropriate and
                 consistent with FDA regulation. According to FDA, historical control
                 designs can make it more difficult to evaluate which effects can be
                 attributed to the drug being studied.30 However, FDA regulations list
                 historical controls as an acceptable type of control when the natural
                 history of the condition being treated is well-documented and when the
                 effects of the drug are self-evident.31 In the case of the Mifeprex NDA, FDA
                 determined that the historically controlled trials provided substantial
                 evidence of safety and efficacy because the outcomes of women taking the
                 Mifeprex regimen were compared with the well-documented data on the
                 natural course of pregnancy, including rates of miscarriage, and the effect
                 of the drug—termination of a pregnancy—was obvious.32

                 To assist the review team in its assessment of Mifeprex, FDA convened the
                 Reproductive Health Drugs Advisory Committee in July 1996 and asked
                 the members to examine the data and vote on their conclusions regarding
                 the drug’s safety and efficacy. Six of the eight voting members voted, with



                 30
                  See FDA, Guidance for Industry: E 10 Choice of Control Group and Related Issues in
                 Clinical Tials (Rockville, Md.: May 2001).
                 31
                    21 C.F.R. § 314.126(b)(2)(v) (2007). The regulation also states that studies that are
                 “adequate and well-controlled” provide the primary basis for determining whether there is
                 “substantial evidence” in support of the claims of effectiveness for new drugs. Among other
                 things, an adequate and well-controlled study provides sufficient details of study design,
                 conduct, and analysis to allow critical evaluation, and the design must permit a valid
                 comparison with a control to provide a quantitative assessment of the drug’s effect.
                 32
                   FDA has cited examples of other drugs that have relied upon historical controls.
                 According to FDA, for contraceptives the effect of the drug can be compared to the well-
                 documented rate of pregnancy in sexually active women between the ages of 15 and 35 in
                 the absence of contraception. For example, FDA approved the contraceptive drug products
                 Lybrel, Implanon, Yaz, and NuvaRing on the basis of historically controlled clinical trials.




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                 two abstentions, that the available evidence demonstrated that the
                 benefits of the regimen outweighed its risks for the proposed indication in
                 the United States. However, the members agreed unanimously that FDA
                 should provide the final safety and efficacy data from the U.S. clinical trial
                 for their review. The advisory committee also discussed the basic
                 elements of a voluntary restricted distribution system proposed by the
                 drug’s sponsor, which would require that Mifeprex be distributed directly
                 to physicians, that prescribing physicians meet certain training
                 requirements, and that patients meet certain conditions before receiving
                 the drug. The advisory committee voted unanimously that they agreed
                 with the concept of restricting distribution of the drug but had
                 reservations about how the proposed system would assure that physicians
                 had adequate credentials. The members recommended that the sponsor
                 conduct postmarket studies to address six unanswered questions about
                 the treatment regimen and the distribution system. The members also
                 provided extensive comments on the draft labeling proposed by the
                 sponsor.

                 The FDA review team concluded that the NDA was approvable, based on
                 its assessment of the clinical and non-clinical data and the input from the
                 advisory committee. The medical officer leading the review team
                 concluded that the available clinical data indicated “that medical abortion
                 can be safely delivered in a wide variety of United States settings.” The
                 data from the French trials showed the treatment to be roughly 95 percent
                 effective at terminating pregnancy through 49 days gestation. The data
                 from the French clinical trials also showed that almost all patients
                 experienced some side effects—such as uterine cramping and bleeding—
                 most of which were expected based on the way the drug works. Though
                 serious adverse events were considered rare, some women experienced
                 bleeding that required medical intervention, and approximately 0.2 percent
                 of patients required transfusion. The medical officer concluded that the
                 preliminary U.S. data on adverse events did not appear to differ
                 significantly from the French trials.33




                 33
                    The medical officer noted that it was only possible to make general comparisons across
                 these events because definitions and reporting requirements were different in the two
                 countries. Additionally, while the sponsor had not yet completed its analysis of the safety
                 and efficacy data from the U.S. clinical trial, information from the studies was forwarded to
                 the sponsor weekly. The medical officer concluded, based on preliminary examination of
                 this information, that the final results of the U.S. trials were likely to be similar to the
                 results of the French trials.




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                            In September 1996, FDA issued an approvable letter for the use of
                            Mifeprex in combination with the drug misoprostol for the termination of
                            intrauterine pregnancy up to 49 days gestation. In memos documenting
                            concurrence with the review team, and in the approvable letter itself, FDA
                            management outlined the clinical and non-clinical issues the sponsor
                            needed to address prior to approval. First, the full data from the U.S.
                            clinical trial were needed to establish safety and efficacy of the Mifeprex
                            regimen in the U.S. health care setting. Second, FDA agreed with the
                            sponsor’s proposal to limit the drug’s distribution, but the sponsor had not
                            yet submitted sufficient detail on how it would be implemented to allow
                            for the plan to be fully evaluated.34 Third, the drug labeling proposed by the
                            sponsor needed to be revised to provide more information on the
                            treatment and to address comments from the advisory committee. Fourth,
                            the sponsor would need to commit to pursue the postmarket studies
                            suggested by the advisory committee. Finally, the sponsor would need to
                            address certain deficiencies in chemistry and manufacturing data
                            identified in FDA’s review.


FDA’s Second Review         FDA’s second review cycle for the Mifeprex NDA officially began once the
Cycle and Approvable        sponsor had completed its responses to the first approvable letter.
Action (August 1999 to      However, these responses were delayed because of difficulties the sponsor
                            encountered in securing a manufacturer for the drug product. In the
February 2000)              interim, the sponsor submitted a range of data to FDA, including the final
                            safety and efficacy results from the U.S. clinical trial, updated safety data
                            from other trials of mifepristone and international postmarketing
                            experience with the drug, formal revisions of the product labeling, and
                            outstanding chemistry and manufacturing data. In August 1999, the
                            sponsor completed its responses to the approvable letter by submitting an
                            overview of the key principles of the restricted distribution system as well
                            as responses to the postmarketing study commitments. At the time of this
                            submission, the sponsor was still working with its planned distributor on
                            the details of the restricted distribution system.

                            Based on the updated data, the review team recommended approval for
                            the Mifeprex NDA once the sponsor had clarified the details of the drug’s
                            distribution, revised the drug labeling, and addressed deficiencies in the



                            34
                               FDA management’s concurrence memos noted that because the sponsor had voluntarily
                            proposed a restricted distribution system, imposing restrictions through Subpart H
                            regulations did not appear warranted.




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                 chemistry and manufacturing data. The medical officer concluded that the
                 final results from the U.S. clinical trial were acceptable and confirmed the
                 results of the French trials that the regimen was safe and effective.35 The
                 medical officer concluded that the comments from the July 1996 advisory
                 committee meeting were fully considered and, to the extent possible,
                 implemented.36 The medical officer also concluded that additional detail
                 was needed to determine whether the sponsor’s proposed distribution
                 plan was sufficient. The non-clinical reviews during this review cycle—
                 which included inspections of manufacturing facilities37—identified
                 deficiencies in the drug’s chemistry data and manufacturing processes that
                 needed to be addressed, as well as sections of the drug’s labeling that
                 needed to be revised.

                 In January 2000, the sponsor submitted a more detailed plan describing
                 how the proposed distribution restrictions would be implemented. The
                 plan had three key elements. First, the Mifeprex regimen would only be
                 administered under the supervision of qualified physicians who had agreed
                 to provide the treatment according to several guidelines. Specifically,
                 prescribing physicians would be required to attest to being able to
                 accurately assess the duration of a pregnancy, diagnose an ectopic
                 pregnancy,38 and assure that patients have access to appropriate follow up
                 care if needed to manage complications. The physicians would also need
                 to agree to fully explain the procedure to each patient and obtain her



                 35
                   The U.S. clinical trial data showed the treatment to be 92 percent effective for terminating
                 pregnancy through 49 days gestation, which was slightly lower than the 95 percent from the
                 French trials. Adverse event rates were also slightly higher in the U.S. trials. The medical
                 officer attributed these differences to the relative inexperience of U.S. clinicians with the
                 treatment. In addition, the medical officer concluded that the updated information from
                 international studies, postmarket experience, and the published literature was consistent
                 with the results from the U.S. and French trials.
                 36
                   In November 1999, FDA provided advisory committee members the final results from the
                 U.S. clinical trial for their review and comment. FDA did not receive any comments from
                 the members on these results.
                 37
                    The drug substance (mifepristone) in the Mifeprex product was manufactured by the
                 Shanghai Haulian Pharmaceutical Co., Ltd., with the manufacturing facilities located in
                 China. Initial FDA inspections found the manufacturer not in compliance with FDA’s good
                 manufacturing practice standards.
                 38
                   Ectopic pregnancy—which occurs when a fertilized egg improperly implants outside of
                 the uterus—is a contraindication for receiving the Mifeprex regimen. Accurate screening to
                 ensure that patients with an ectopic pregnancy do not receive the treatment was a concern
                 because a ruptured ectopic pregnancy is a life-threatening condition and its symptoms are
                 similar to the side effects of the Mifeprex regimen.




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                            signed consent, record the unique product serial number for tracking
                            purposes, and report any serious adverse event or on-going pregnancy to
                            the sponsor. Second, the drug would only be distributed directly to
                            physicians after an authorized distributor had verified that the physician
                            had registered with it and had a signed attestation on file. Third, patients
                            would be required to meet certain conditions before receiving the drug,
                            such as signing a patient agreement attesting to her understanding of the
                            potential complications of the treatment.

                            FDA management concluded that the proposed distribution plan did not
                            provide for adequate training and certification of prescribing physicians
                            and needed to be revised before the NDA could be approved. In February
                            2000, FDA issued a second approvable letter for Mifeprex, notifying the
                            sponsor that it needed to revise its proposed distribution plan, address
                            deficiencies in the drug’s chemistry data and manufacturing, and revise the
                            drug’s labeling. The letter also stated that FDA had considered the
                            application under the restricted distribution provision of Subpart H and
                            that distribution restrictions would be necessary in order to assure the
                            safe use of the drug. The approvable letter further reminded the sponsor of
                            its commitment to pursue postmarketing study commitments to address
                            questions that were raised at the time of the advisory committee meeting.


FDA’s Final Review Cycle    In March 2000, the sponsor submitted its complete response to FDA’s
and Marketing Approval      February 2000 approvable letter. This submission included updated safety
for Mifeprex (March to      data from ongoing trials and international postmarket experience,
                            international product labeling, and revisions to the distribution plan. The
September 2000)             sponsor also provided additional data and revisions—including updated
                            chemistry and manufacturing data, a revision to the distribution plan, and
                            revised labeling—to address comments from FDA that arose during the
                            review cycle. The agency’s review of these submissions included multiple
                            meetings and teleconferences with the sponsor and input from a
                            consultant who was a special government employee (SGE) and a member
                            of the Reproductive Health Drugs Advisory Committee.39




                            39
                             According to FDA, it is not uncommon for the agency to consult with members of its
                            advisory committees who have special expertise in a particular drug under review.
                            Generally, an SGE is defined as an officer or employee who is retained, designated,
                            appointed, or employed by the government to perform temporary duties, with or without
                            compensation, for not more than 130 days during any period of 365 consecutive days.
                            18 U.S.C. § 202(a).




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                     During the final review cycle, FDA’s deliberations—which involved a wide
                     range of agency staff and management, including at times the
                     Commissioner—focused on four key issues: whether prescribing
                     physicians should be required to participate in a formal training and
                     certification program, whether to require that approval be under
                     Subpart H, what conditions of use should be specified, and what
                     postmarketing study commitments would be needed to assure the safe use
                     of the drug.

                 •   Physician Training: In its deliberations, FDA considered requiring that
                     physicians participate in specific training and have their qualifications
                     certified before being allowed to prescribe Mifeprex, as opposed to relying
                     on the sponsor’s proposed system of self-attestation. However, FDA
                     concluded that such a requirement was not necessary. FDA officials told
                     us that the agency determined that its concern about ensuring that
                     prescribers were adequately qualified could be addressed by requiring that
                     the sponsor make educational materials and training programs readily
                     available and requiring that prescribing physicians sign an agreement
                     attesting to their qualifications. The SGE consultant agreed with this
                     conclusion. FDA officials also told us that the agency wanted to minimize
                     the burden that the restricted distribution program would place on
                     providers and patients by requiring only what was necessary to address
                     safety concerns.40

                     In July 2000, the sponsor submitted its revised distribution plan. This plan
                     addressed FDA’s comments by providing increased emphasis in the
                     product labeling on the educational materials and trainings available to
                     physicians and the importance of participating in the training. The other
                     key elements of the plan—including the specific qualifications that
                     physicians were required to meet and agreements regarding discussing the
                     treatment and adverse event reporting—were essentially unchanged from
                     those the sponsor proposed in its January 2000 plan.

                 •   Approval under Subpart H Regulations: FDA had maintained through the
                     first two review cycles that distribution restrictions would be required for
                     Mifeprex. However, minutes from meetings between FDA and the sponsor
                     indicate that the agency was still considering whether it was necessary to
                     impose those restrictions under Subpart H during the final review cycle.
                     During the second review cycle, FDA had concluded that the restricted


                     40
                      Subpart H regulations state that any restrictions imposed will be commensurate with the
                     specific safety concerns presented by the drug product. 21 C.F.R. § 314.520(b) (2007).




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                 distribution provision could be applied to Mifeprex.41 FDA eventually
                 concluded that it would be necessary to do so. In its documented rationale
                 for this conclusion, FDA stated that the drug met the scope of the
                 regulations because the termination of an unwanted pregnancy is a serious
                 condition, and that the drug provided a meaningful therapeutic benefit
                 over existing therapies by allowing patients to avoid the procedure
                 required with surgical termination of pregnancy. FDA officials told us that
                 the agency has broad discretion to determine which conditions or illnesses
                 may be considered serious or life threatening, and that in the case of
                 Mifeprex it considered the potential in any pregnancy for serious or life-
                 threatening complications—such as hemorrhage—in its determination.42
                 Additionally, FDA concluded that Mifeprex could only be used safely if
                 distribution was limited to physicians who could assess the duration of a
                 pregnancy, diagnose an ectopic pregnancy, and provide patients with
                 access to surgical intervention if necessary.

                 Throughout the approval process, the sponsor was opposed to approval
                 under Subpart H. Specifically, the sponsor argued that the drug did not fit
                 within the scope of Subpart H because pregnancy itself is not a serious or
                 life threatening illness. The sponsor also argued that the intent of the
                 restricted distribution provision was to allow for restricted distribution of
                 highly toxic or risky drugs, and that Mifeprex did not fit this description.43
                 The sponsor also expressed concern that approving the drug under
                 Subpart H could unfairly mark Mifeprex as risky and deter women from
                 using the drug. Lastly, the sponsor held that imposing Subpart H was
                 unnecessary because it had voluntarily committed to the distribution


                 41
                    FDA had also noted that approving the drug under Subpart H would allow the agency to
                 impose similar restrictions on any future generic mifepristone products approved for the
                 same indication. The patent for Mifeprex expired in October 2004, but as of May 2008, no
                 generic versions of mifepristone have been approved for marketing.
                 42
                   The terms “serious” and “life-threatening” are not defined in Subpart H regulations, but
                 were discussed in the preambles to the proposed and final rules. In its proposed rule, FDA
                 stated that the seriousness of a disease is a matter of judgment, but generally is based on
                 its impact on survival, day-to-day functioning, or other factors, and provided examples of
                 conditions that could be within the scope of the regulation. FDA noted that many diseases
                 or conditions can be serious for some populations in some or all of their phases and
                 explicitly reserved the discretion to determine whether the regulations were applicable to a
                 given product. See 57 Fed. Reg. 13234-5 (Apr. 15, 1992), 57 Fed. Reg. 58942, 58946
                 (Dec. 11, 1992); See also 21 C.F.R. §§ 312.34, 312.81 (2007), and FDA, Guidance for
                 Industry: Fast Track Drug Development Programs—Designation, Development, and
                 Application Review (Rockville, Md.: Jan. 2006).
                 43
                  In support of its arguments about the intent of the regulations, the sponsor cited the
                 pertinent language from preambles to the proposed and final rules. See footnote 42.




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                     restrictions requested by FDA. However, in a September 2000 letter to
                     FDA, the sponsor agreed to FDA’s requirement that approval be under
                     Subpart H, while noting that it still believed that applying these regulations
                     to Mifeprex was not appropriate.

                 •   Conditions of Use: FDA reviewed data and held multiple meetings with the
                     sponsor regarding the specific conditions of use that should be required
                     for Mifeprex. For example, FDA deliberated about whether it was
                     necessary to require that prescribing physicians possess the ability to
                     perform follow-up surgical interventions in the event that it was necessary
                     to manage complications. The sponsor maintained that such a requirement
                     was inconsistent with the practice of medicine, because management of
                     incomplete miscarriages was routinely handled by referring patients to
                     outside providers with specialized surgical or emergency care training. On
                     this issue, FDA concluded that access to follow-up care could be ensured
                     by requiring adequate information in the labeling and requiring that
                     physicians attest to having made arrangements for their patients to have
                     access to any needed surgical or emergency care. The SGE consultant
                     agreed with FDA’s conclusion. FDA disagreed with the sponsor on other
                     suggested conditions of use. For example, the sponsor provided data to
                     support allowing patients to self-administer the misoprostol dose at home,
                     instead of requiring them to return to their prescribing physicians. FDA
                     concluded that the available data did not support the safety of home use of
                     misoprostol and that such use should not be included in the final product
                     label. As a part of its deliberations about the conditions of use, FDA also
                     concluded that approved labeling should include a medication guide to
                     provide patients with information about the risks and benefits of the drug
                     and the approved conditions of use and treatment regimen.44

                 •   Postmarketing Study Commitments: In both the September 1996 and
                     February 2000 approvable letters, FDA had reminded the sponsor of its
                     commitment to conduct a series of six postmarket studies to address
                     comments raised in the 1996 advisory committee meeting. FDA reviewed
                     data and met with the sponsor during the final stages of its review to
                     revisit these commitments in light of experience gained with the treatment
                     regimen since the advisory committee meeting, concerns about potential
                     infringement on the privacy of patients, and the potential resources
                     needed to fulfill all six commitments. FDA concluded that the originally
                     proposed commitments could be sufficiently addressed in two redesigned



                     44
                      FDA may require that a drug be distributed with a medication guide that provides patients
                     with information about the safe and effective use of the drug. See 21 C.F.R. pt. 208 (2007).




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                 studies. The first was a study on the safety outcomes of a group of patients
                 receiving the treatment under the care of physicians with surgical
                 intervention skills compared to physicians who refer their patients for
                 surgical intervention when necessary. The second was a surveillance study
                 to determine the outcomes of ongoing pregnancies that were not
                 surgically terminated after a failure of the Mifeprex regimen, including the
                 health of any children born. FDA also concluded that the outstanding
                 questions could be incorporated into the two postmarket studies and an
                 audit of signed patient agreement forms.

                 Once the sponsor had addressed the issues that FDA raised during the
                 third review cycle, both the review team responsible for the Mifeprex NDA
                 and FDA management concluded that the drug should be approved. The
                 medical officer concluded that the updated safety data did not reveal any
                 new issues that would change the ratio of benefit-to-risk for the drug. The
                 medical officer also reviewed revised product labeling related to the
                 distribution of the drug. Based on these reviews, the medical officer
                 recommended approval of the application. The non-clinical reviews during
                 this review cycle included additional inspections of manufacturing
                 facilities. After the sponsor had addressed several issues, including
                 deficiencies identified in a second inspection of the drug manufacturing
                 facilities, the non-clinical reviewers also recommended approval of the
                 application. FDA management concurred with the recommendations of
                 the review team that the Mifeprex NDA should be approved.

                 On September 28, 2000, FDA approved Mifeprex under the restricted
                 distribution provision of Subpart H. The sponsor began distribution of
                 Mifeprex in November 2000. FDA approved the drug with the two
                 postmarketing study commitments discussed above and with several key
                 restrictions on distribution. First, prescribing physicians must sign a
                 prescriber’s agreement attesting to possessing the training and skills
                 needed to administer the treatment regimen, and also agreeing to provide
                 patients with the approved medication guide. They must also attest that
                 they will fully discuss the treatment with patients and report to the
                 sponsor any serious adverse events or ongoing pregnancies that are not
                 terminated after a failure of the Mifeprex regimen. Second, the drug must
                 be distributed directly to prescribing physicians by an authorized
                 distributor only after the distributor has verified that the physician has a
                 signed agreement on file. Third, patients must sign a patient agreement
                 attesting to having read, discussed, and understood the risks and potential
                 complications of the treatment. For a more detailed list of the individual
                 components of the restricted distribution program for Mifeprex, see




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                          appendix II. For a copy of the approved prescriber’s agreement, see
                          appendix III.


                          Although each drug had unique risks and benefits, the approval process
Approval Process for      for Mifeprex was generally consistent with the approval processes for the
Mifeprex Was              other eight Subpart H restricted drugs. Each of the drugs had unique risks
                          and benefits that were specific to their indication and target populations.
Generally Consistent      For some of the drugs, the safety issues that prompted FDA to apply
with That of the Other    Subpart H were similar, with the potential for causing birth defects, the
                          potential for liver or other serious toxicities, and appropriate patient
Eight Subpart H           selection being the most common issues. However, there were also safe
Restricted Drugs          use concerns that were unique to particular drugs. For example, for
                          Mifeprex, ensuring patient access to follow-up care was a key safety
                          concern, while for Actiq a key concern was ensuring that children did not
                          accidentally ingest the drug.45 Each of the drugs represented potential
                          advances in the treatment of their targeted condition and in two cases—
                          Mifeprex and Xyrem—the drug was the first approved to treat that
                          condition. (See app. I for a table including each of the Subpart H restricted
                          drugs and their approved indications.)

                          One common element across the approval processes for the Subpart H
                          restricted drugs was that for seven of the drugs, including Mifeprex, FDA
                          needed to evaluate potential limitations in key clinical data supporting the
                          NDA. Specifically, with the exception of Accutane and Lotronex, the drugs
                          were approved on the basis of studies without concurrent controls or data
                          that were limited by relatively small sample sizes or data collection
                          issues.46 FDA approved the Mifeprex NDA on the basis of historically
                          controlled clinical trials that studied the drug in several thousand patients.
                          FDA concluded that the use of historical controls was not a limitation


                          45
                           Actiq contains the controlled substance fentanyl in a lozenge formulation intended to
                          allow for more rapid delivery of the medication for pain management in patients who have
                          developed a tolerance. Because of the formulation there are concerns that Actiq may be
                          perceived by children as a lollipop.
                          46
                            Both Accutane and Lotronex were approved under Subpart H after they had first been
                          marketed in the United States. In the case of Lotronex, the sponsor withdrew the drug from
                          the market in 2000 because of safety concerns. In 2002, FDA approved a supplemental NDA
                          under Subpart H, allowing the drug to be marketed with a restricted distribution program
                          and substantially more limited indication. For Accutane, which was originally approved for
                          marketing in 1982, FDA approved a supplemental NDA under the restricted distribution
                          provision of Subpart H in 2005 in order to require a more formal restricted distribution
                          program that linked Accutane prescribing and dispensing to pregnancy testing results.




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                 because the course of pregnancy was well-documented and the effect of
                 the treatment was self-evident. Revlimid, Thalomid, Plenaxis, and Xyrem
                 were also each approved on the basis of data that included at least one key
                 clinical study that lacked a concurrent control.47 In contrast to the
                 Mifeprex data, FDA concluded that the lack of concurrent controls in
                 these studies was a weakness because data on the course of the disease in
                 a comparable population was not available to be used as a reliable
                 historical control. For example, Thalomid was approved on the basis of
                 clinical trial data from the published literature as well as a series of
                 retrospective case studies for several dozen patients.48 Additionally, five of
                 the drugs—Actiq, Revlimid, Thalomid, Tracleer, and Xyrem—were
                 approved on the basis of key clinical studies with relatively small sample
                 sizes of several hundred patients or less. Finally, for Actiq, Plenaxis,
                 Thalomid, and Xyrem, FDA identified data collection issues, such as
                 incomplete documentation, in some of the key data sources.

                 Another common element was that for six of the drugs, including
                 Mifeprex, FDA issued at least one prior action letter before ultimately
                 approving the drug for marketing. FDA issued one approvable letter before
                 ultimately approving Thalomid and Tracleer. Both Mifeprex and Xyrem
                 received two approvable letters. In some cases the types of issues FDA
                 cited—such as insufficient safety or efficacy data, the need for additional
                 information on the restricted distribution system, or chemistry and
                 manufacturing issues—were similar. For all four of these drugs, the
                 adequacy of proposed distribution restrictions was a significant issue. For
                 Xyrem, FDA’s initial approvable action was also linked to the sufficiency
                 of the data provided in the application. FDA issued not approvable letters
                 for both Actiq and Plenaxis prior to their eventual approval. In the case of
                 Actiq, FDA cited multiple deficiencies, such as reliance on a key clinical
                 study with flaws and an inadequate plan for risk management. For
                 Plenaxis, FDA initially concluded that the risks of the drug exceeded its



                 47
                   FDA approved Plenaxis on the basis of one uncontrolled clinical trial in the indicated
                 population—men with advanced symptomatic prostate cancer—and three concurrently-
                 controlled clinical trials in men with less advanced prostate cancer. FDA approved Xyrem
                 on the basis of one uncontrolled key safety trial, and two concurrently-controlled clinical
                 trials.
                 48
                   FDA considers such case studies to be historically controlled. In this case, the reviewing
                 division concluded that the data were not sufficient to demonstrate the safety and efficacy
                 of Thalomid. However, that decision was overridden by both the Director of the relevant
                 FDA office and the Director of FDA’s Center for Drug Evaluation and Research, based on
                 their individual analyses of the available data.




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                 benefits because of the potential for severe, systemic allergic reactions in
                 patients.

                 As a result of these complexities, the approval process for the Subpart H
                 restricted drugs was typically longer than the process for other drugs.
                 Across the seven drugs with NDAs approved under Subpart H, an average
                 of almost 25 months elapsed from the time that the sponsor submitted its
                 NDA to the time FDA approved the NDA. The length of time to approval
                 ranged from almost 9 months for Revlimid to more than 54 months for
                 Mifeprex. In comparison, in analyses conducted for our 2006 report on
                 new drug development, we found that it took FDA on average almost
                 18 months to approve NDAs submitted from 1996 through 2002.49

                 We also found that the types of distribution restrictions FDA imposed on
                 Mifeprex were similar to those imposed on the other Subpart H restricted
                 drugs, though the specifics of the restrictions depended on FDA’s safe use
                 concern for the drug.50 (See table 2.) For all of the drugs except Actiq, FDA
                 required some form of program enrollment or registration process. For
                 example, for Mifeprex and three other drugs, FDA required that patients
                 sign written agreements and that physicians enroll in a prescribing
                 program and attest to their qualifications. For five of the drugs, FDA
                 required formal registries of all prescribing physicians and patients.51
                 Additionally, for seven of the drugs, FDA required that distribution be
                 limited to authorized distributors or pharmacies.52 And for eight of the


                 49
                  See, GAO, New Drug Development: Science, Business, Regulatory, and Intellectual
                 Property Issues Cited as Hampering Drug Development Efforts, GAO-07-49. (Washington,
                 D.C.: Nov. 17, 2006). In contrast, the drugs approved under the surrogate endpoint
                 provision of Subpart H have generally been approved more rapidly than drugs approved
                 under the restricted distribution provision of Subpart H and than drugs approved outside of
                 Subpart H.
                 50
                   Additionally, except for Plenaxis, FDA convened a meeting of the relevant advisory
                 committee prior to each drug’s approval under Subpart H to obtain expert input regarding
                 the appropriate actions to address the agency’s safe use concerns, including the
                 distribution restrictions that should be required. The advisory committee meetings that
                 FDA has held for the drugs Accutane and Lotronex occurred after each drug was first
                 marketed in the United States, but prior to their approvals under Subpart H.
                 51
                  FDA has used various types of registries as a mechanism to collect data on patients,
                 providers, and others as a tool for monitoring outcomes of interest.
                 52
                    Two of the drugs—Actiq and Xyrem—were approved as controlled substances and
                 therefore subject to the restrictions imposed by the Controlled Substances Act.
                 Requirements imposed under this act are enforced by the Drug Enforcement
                 Administration and are distinct from the distribution restrictions imposed on these drugs
                 by FDA under Subpart H. See, e.g., 21 U.S.C. § 822; 21 C.F.R. § 1301.11 (2007).




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                                                    drugs, FDA required that the sponsor establish a process to ensure that
                                                    dispensing or distribution of the drug was contingent on verification that
                                                    physicians and others had enrolled or registered in the distribution
                                                    program, or that patients had complied with certain safety measures. FDA
                                                    also required that all of the sponsors implement some form of educational
                                                    program for patients, prescribers, or pharmacists, though FDA did not
                                                    require that prescribing physicians participate in formal training for any of
                                                    the drugs. For six of the nine drugs, FDA required that the sponsor report
                                                    periodically to the agency specifically on implementation of their
                                                    restricted distribution programs. For seven of the drugs, FDA required that
                                                    sponsors report to the agency on specific adverse events—such as fetal
                                                    exposures or liver toxicity—more frequently than is required for other
                                                    drugs. In the case of Mifeprex and Xyrem, at the time the drugs were
                                                    approved, FDA did not require that the sponsors submit additional adverse
                                                    event reports beyond those required for all approved drugs, but did require
                                                    that physicians agree to report specific types of adverse events to the
                                                    sponsor.

Table 2: Selected Features of Restricted Distribution Programs Imposed by FDA at Time of Approval under Subpart H

                                    Lotronex         Actiq                                                         Plenaxis
Features               Mifeprex    (alosetron         (oral                                            Xyrem     (abarelix for Revlimid
Required at             (mife-       hydro-      transmucosal            Thalomid        Tracleer     (sodium     injectable    (lenali-     Accutane
Approval               pristone)    chloride)   fentanyl citrate)      (thalidomide)    (bosentan)    oxybate)   suspension) domide)       (isotretinoin)
Program                   3            3                                       3            3            3            3           3              3
enrollment or
             a
registration
Limited distribution      3                                                    3            3            3            3           3              3
         b
channels
Dispensing or             3            3                                       3            3            3            3           3              3
distribution
contingent on
             c
verification
Sponsor                   3            3                3                      3            3            3            3           3              3
developed
educational
         d
programs
Reporting specific                     3                3                      3            3                         3                          3
to implementation
of restricted
distribution
program
Additional adverse                     3                3                      3            3                         3           3              3
event reporting by
            e
the sponsor
                                                    Source: GAO analysis of FDA data.




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                 a
                  Program enrollment or registration requirements varied across the drugs. For Accutane, Lotronex,
                 Mifeprex, and Plenaxis, FDA required that physicians enroll in a prescribing program and attest to
                 their qualifications. For Accutane, Revlimid, Thalomid, Tracleer, and Xyrem, FDA required formal
                 registries of all prescribing physicians and patients. FDA also required registration of pharmacies,
                 wholesalers, or distributors for Thalomid, Revlimid, and Accutane.
                 b
                  The specific limitations imposed on distribution channels varied across the drugs, and in some cases
                 more than one limitation was required. These limitations included, for example, requiring that a drug
                 only be distributed directly to prescribing physicians, allowing only authorized distributors or
                 wholesalers to ship a drug, and allowing only registered or centralized pharmacies to dispense a
                 drug.
                 c
                  The verification mechanisms varied across the drugs. For example, for Mifeprex, an authorized
                 distributor must verify that a physician has a signed prescriber agreement on file before distributing
                 the drug. For Lotronex, before dispensing and drug, pharmacists must verify that prescriptions include
                 a sticker that is only available to physicians enrolled in the prescribing program. For Accutane,
                 Revlimid, and Thalomid, a registered pharmacy is required to confirm prescription authorizations and
                 that patients have complied with requirements to use one or more methods of contraception before
                 dispensing the drug.
                 d
                  In general, sponsors were required to develop educational materials (such as patient information
                 videos) for patients, and make educational materials and training programs readily available to
                 prescribing physicians, pharmacists, and other groups involved in the restricted distribution program.
                 For some of the drugs, dispensing pharmacists were required to participate in formal training. At the
                 time of Subpart H approval, FDA required medication guides for all of the drugs except Actiq,
                 Plenaxis, and Thalomid.
                 e
                  Sponsors for seven of the drugs were required to submit 15-day alert reports on specific adverse
                 events. Sponsors of four of the drugs were required to provide updates more frequently than typically
                 required for events related to FDA’s safe use concern for the drug. For Mifeprex, as part of their
                 prescriber agreement, physicians agreed to report ongoing pregnancies, hospitalizations,
                 transfusions, and other serious events to the sponsor. For Xyrem, FDA required that physicians agree
                 to collect and report to the sponsor information on specific adverse events and inappropriate use of
                 the drug.


                 Finally, eight of the nine Subpart H restricted drugs were approved with
                 two or more postmarketing study commitments.53 Each of these had at
                 least one commitment that involved developing a postmarket study to
                 monitor adverse events or patient outcomes of interest for that drug. The
                 number of study commitments FDA required ranged from 2 to 10,
                 depending on the drug. Additionally, for most of the drugs, including
                 Mifeprex, the study protocols for the various commitments had not been
                 finalized at the time of approval.




                 53
                   FDA’s approval of Accutane under Subpart H through a supplemental NDA did not
                 include any postmarket study commitments.




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                          The actions FDA has taken to oversee Mifeprex have been consistent with
FDA’s Postmarket          the actions it has taken to oversee the other Subpart H restricted drugs.
Oversight of Mifeprex     FDA has relied primarily on information submitted by the sponsors of all
                          the Subpart H restricted drugs and inspections for three of the drugs to
Has Been Consistent       oversee compliance with restricted distribution requirements. FDA has
with the Agency’s         also relied on updates submitted by these sponsors to oversee compliance
                          with postmarketing study commitments and has found that most have
Oversight of the Other    unfulfilled commitments. To oversee compliance with adverse event
Subpart H Restricted      reporting requirements, FDA has reviewed a variety of safety information
Drugs                     including reports submitted by the sponsors of all nine of the drugs
                          restricted under Subpart H and has conducted inspections to evaluate
                          compliance with reporting of adverse events for eight of the drugs. As a
                          result, for most of the drugs, FDA has identified deficiencies in compliance
                          with adverse event reporting requirements. To oversee reported adverse
                          events FDA has used similar methods—such as monitoring, investigating,
                          and addressing safety concerns—for Mifeprex and the other eight
                          Subpart H restricted drugs. As a result of its oversight of safety data, FDA
                          has identified postmarket safety concerns for most of the drugs and has
                          used a variety of methods to communicate safety information to health
                          care providers and the public. (See table 3 for an overview of FDA’s
                          postmarket oversight of these drugs.)




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Table 3: Selected Features of FDA’s Oversight of Postmarket Safety for Drugs Approved under Subpart H, as of May 2008

                                                 Actiq
                                Lotronex         (oral                                                       Plenaxis
Oversight          Mifeprex    (alosetron   transmucosal                                         Xyrem     (abarelix for   Revlimid
Activities and      (mife-       hydro-        fentanyl          Thalomid           Tracleer    (sodium     injectable      (lenali-     Accutane
Findings           pristone)    chloride)       citrate)       (thalidomide)       (bosentan)   oxybate)   suspension)     domide)     (isotretinoin)
FDA has               3                                                                3           3
completed
inspection(s) to
oversee
compliance with
distribution
restriction
              a
requirements
FDA has               3            3               3                   3               3                        3             3              n/a
classified at
least one
postmarketing
study
commitment as
           b
unfulfilled
FDA has               3            3               3                   3               3           3            3                            3
conducted
inspection(s) to
oversee
compliance with
adverse event
reporting
              c
requirements
FDA has               3            3               3                   3               3           3                          3              3
identified a
postmarket
safety concern
leading to
communication
of new safety
information to
public or health
               d
care providers
                                               Source: GAO analysis of FDA data.

                                               Note: FDA provided or confirmed data on these selected features of oversight through May 2008.
                                               a
                                               In May 2008, FDA officials told us that they had conducted such inspections for three additional
                                               drugs. However, the reports from those inspections were not yet available. Inspections were in
                                               addition to report review.
                                               b
                                                FDA classifies unfulfilled postmarketing study commitments as ongoing, pending, delayed, released,
                                               or terminated; FDA has documented that the sponsor for Xyrem has fulfilled two of its postmarketing
                                               study commitments and has submitted the final report for the third and final commitment.
                                               c
                                               Inspections were in addition to report review conducted for all of the drugs. In the case of Revlimid,
                                               FDA inspected Celgene—the sponsor of both Revlimid and Thalomid—before Revlimid was
                                               approved in December 2005.




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                            d
                             Communication of new safety information includes activities such as changing product labeling,
                            issuing Public Health Advisories and Safety Alerts, and distributing letters to health care providers.




To Oversee Compliance       For all nine of the drugs that have been approved under the restricted
with Distribution           distribution provision of Subpart H, FDA has relied mainly on information
Restrictions, FDA Relied    submitted by sponsors in required reports to oversee the sponsors’
                            compliance with distribution restrictions. For six of the drugs—not
on Information Submitted    including Mifeprex—FDA relied on reports specific to the drugs’ restricted
by All Drug Sponsors and    distribution programs.54 The type of information provided by the sponsors
Its Own Inspections for     in these documents included data on the operation of the restricted
Some of the Drugs,          distribution program, such as requirements for distributors, pharmacies,
Including Mifeprex          prescribers, and patients participating in the program. In addition, to
                            oversee compliance with the restricted distribution programs for most of
                            the drugs—including Mifeprex—FDA has relied on annual reports,
                            supplemental applications, or periodic reports for required updates on the
                            postmarket use of the drugs, including summaries of updates to the
                            restricted distribution program.55

                            Through the end of 2007, FDA had conducted inspections specifically to
                            oversee sponsors’ compliance with distribution restrictions for three of
                            the drugs—Mifeprex, Tracleer, and Xyrem. In the case of Mifeprex, in 2002
                            FDA conducted routine inspections of two of the drug’s distributors to
                            oversee their compliance with distribution restrictions. FDA inspectors
                            reviewed standard operating procedures and other information in order to
                            oversee adherence to the requirements of the restricted distribution
                            program such as procedures for maintaining signed provider agreements,
                            distributing medication guides with shipments of the drug, and
                            maintaining the physical security of the drug. For one of the inspections of
                            Mifeprex distributors, FDA did not issue a citation. For the other
                            inspection, FDA issued a citation in which the agency cited four


                            54
                               FDA approved six of the nine Subpart H restricted drugs with a requirement that the
                            sponsor report periodically to FDA specifically on implementation of the respective
                            restricted distribution program. Under FDAAA, sponsors of all drugs with an approved
                            REMS will be required to submit periodically to FDA an assessment of their REMS.
                            Pub. L. No. 110-85, § 901(b), 823 Stat. 929, 932, codified at 21 U.S.C. § 355-1.
                            55
                             Though FDA’s Subpart H regulations provide an expedited process for withdrawing
                            marketing approval for a drug if FDA determines that promotional materials are false or
                            misleading, the agency has not done so for a Subpart H drug. See 21 C.F.R. § 314.530(a)(5)
                            (2007). However, it has issued warning letters citing the sponsors for two of the drugs—
                            Thalomid and Tracleer—for promoting unapproved use of the drug in violation of FDA
                            regulations.




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                 inconsistencies between the approved distribution plan and the
                 distributor’s standard operating procedures. For example, FDA cited the
                 distributor for the absence of certain written procedures pertaining to the
                 distribution of the drug. The sponsor responded to this citation, noting
                 that at the time of approval the distribution plan did not require that
                 distributors prepare such written procedures. Other examples of the
                 inconsistencies FDA noted were serial numbers that had not been
                 properly recorded on a shipping label as required for tracking purposes
                 and the requirement that a medication guide be provided with each dose
                 of the drug was not reflected in the written procedures for processing
                 orders. As a result of its 2006 inspection of the Tracleer restricted
                 distribution program, FDA did not issue a formal citation, but provided
                 recommendations to the sponsor. In its 2007 inspection of the Xyrem
                 restricted distribution program, FDA did not identify any specific
                 deficiencies.56 However, many of the responsibilities for the program are
                 contracted out to a pharmacy, which was not inspected. The inspection
                 report notes that, for that reason, FDA could not verify whether the
                 sponsor had fulfilled the requirements for the drug’s restricted distribution
                 program.

                 Although FDA’s inspections for Mifeprex and Tracleer led to
                 recommendations for improving the respective restricted distribution
                 programs, through the end of 2007, FDA had not conducted inspections of
                 compliance with restricted distribution requirements for six Subpart H
                 restricted drugs. FDA officials told us that the agency has conducted




                 56
                    FDA’s inspection report notes that the sponsor refused to provide FDA access to full
                 reports from audits that the sponsor had conducted to evaluate its contractors’ compliance
                 with agreed upon responsibilities under the restricted distribution program.




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                           inspections of compliance with distribution restrictions for three
                                                                          ,
                           additional drugs since the beginning of 2008.57 58


To Oversee Compliance      For the eight Subpart H restricted drugs approved with postmarketing
with Postmarketing Study   study commitments, FDA has relied on sponsors’ annual reports for
Commitments, FDA Relied    updates on the status of each commitment. FDA’s reviews of these reports
                           are the basis for its determination of the status of each commitment as
on Sponsors’ Data That     fulfilled, submitted, pending, ongoing, delayed, released, or terminated.
Found That Most Have       FDA officials told us that the status of postmarketing study commitments
Unfulfilled Commitments    for Subpart H drugs is monitored the same way as those commitments for
                           other drugs.

                           Seven of the eight Subpart H restricted drugs approved with
                           postmarketing study commitments had at least one commitment that was
                           not fulfilled as of September 2007.59 Of these seven drugs, most have study
                           commitments that FDA has classified as ongoing, pending, or delayed.60 In
                           the case of Mifeprex, FDA had categorized both of the drug’s
                           postmarketing study commitments—to which the sponsor agreed at time
                           of the drug’s approval in 2000—as ongoing until December 2007 when the
                           agency changed the status of one of the commitments to released. For the
                           first commitment—a study to compare outcomes for patients whose


                           57
                             In 2008, FDA conducted initial inspections specific to the restricted distribution programs
                           for Accutane, Actiq, and Revlimid. In addition, FDA conducted a second such inspection
                           for the Tracleer program. As of May 13, 2008, the results from these inspections were not
                           available.
                           58
                             In February 2007, agency officials told us that they were working to establish a process to
                           conduct regular inspections to oversee sponsors’ compliance with distribution restrictions
                           for Subpart H restricted drugs. Since that time, agency officials told us that FDA had
                           decided to combine the inspection of restricted distribution programs with inspections
                           examining compliance with adverse event reporting requirements. However, agency
                           officials noted in May 2008 that FDA is reevaluating its process for conducting inspections
                           in light of recent legislative changes. Under FDAAA, FDA is required to evaluate, at least
                           annually, for one or more drugs that have elements to assure safe use as part of their
                           REMS, whether those elements assure the safe use of the drug, are not unduly burdensome
                           on patient access, and to the extent practicable minimize the burden on the health care
                           delivery system. 21 U.S.C. § 355-1(f)(5)(B).
                           59
                            FDA has documented that the sponsor for Xyrem has fulfilled two of its postmarket study
                           commitments and has submitted the final report for the third and final commitment.
                           60
                            In its June 2006 report on FDA’s management of postmarket studies, the Department of
                           Health and Human Services Office of the Inspector General found that it is common across
                           all drugs approved by FDA with postmarket study commitments for sponsors to have
                           unfulfilled commitments.




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                 health care providers perform a surgical abortion with outcomes for
                 patients who are referred to another facility for follow-up care in the event
                 of treatment failure—the sponsor has reported difficulty in enrolling
                 participants into the study. FDA told us that according to the sponsor, the
                 “vast majority of prescribers” can provide surgical abortion services on
                 site. FDA has opted not to terminate the study, and has categorized it as
                 ongoing. FDA officials told us that this gives the agency additional
                 flexibility in the event that provider or practice patterns change over time,
                 making enrollment of study participants more feasible. The sponsor also
                 has reported enrollment challenges in the case of the second study
                 commitment for Mifeprex—to conduct surveillance of ongoing
                 pregnancies following failure of treatment. FDA officials told us that
                 postmarket experience with the drug has shown that most patients opt to
                 have a surgical abortion in the event that the Mifeprex regimen is not
                 successful in terminating the pregnancy. In December 2007, FDA released
                 the sponsor from this commitment because it determined that the study
                 will no longer provide helpful information because of low enrollment.

                 FDA has worked with some of the sponsors of the Subpart H restricted
                 drugs to make adjustments to agreed upon commitments that have not
                 been completed.61 FDA officials told us that the agency has in some cases
                 made changes to a sponsor’s postmarketing study commitments or
                 requested new commitments in addition to those specified at approval.
                 For example, FDA recommended several additional postmarketing study
                 commitments for Thalomid following the agency’s approval of an
                 expanded indication for the drug. In the case of Tracleer, FDA
                 recommended changes to some of the drug’s study commitments. FDA
                 had not requested additions or changes to the postmarketing study
                 commitments for Mifeprex until the agency released the sponsor from its
                 commitment to conduct surveillance of ongoing pregnancies following
                 failure of treatment.




                 61
                    FDA may withdraw approval of a drug approved under Subpart H if a sponsor does not
                 carry out its required postmarketing studies with due diligence. 21 C.F.R. § 314.530(a)(2)
                 (2007). According to FDA, the regulations only require postmarketing study commitments
                 for drugs approved under the surrogate endpoint provision (21 C.F.R. § 314.510) and not
                 for drugs approved under the restricted distribution provision (21 C.F.R. § 314.520).
                 FDAAA provides FDA with additional authority with regard to requiring postmarketing
                 studies and/or trials. See 21 U.S.C. § 355(o)(3).




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To Oversee Compliance        To oversee compliance with adverse event reporting requirements, FDA
with Adverse Event           has both reviewed data submitted by sponsors in required reports and
Reporting Requirements,      conducted inspections. Sponsor reporting for the drugs has included
                             annual reports in which the sponsor provided a summary of the adverse
FDA Reviewed Sponsors’       events reported in the previous year; periodic update reports which inform
Data, Conducted              FDA of adverse events monthly, quarterly, or at some other interval
Inspections and Identified   established by FDA; and 15-day alert reports for events that are both
Deficiencies for Most of     serious and unexpected. In addition, in some cases sponsors have agreed
the Drugs                    or FDA has required them to provide 15-day alert reports for other types of
                             serious adverse events. For example, the sponsor of Mifeprex agreed to
                             provide 15-day alert reports for cases of serious infection and ruptured
                             ectopic pregnancy in women who used the drug, and FDA required the
                             sponsor of Thalomid to report suspected or confirmed pregnancy in
                             women taking that drug.62 In some cases, including for Mifeprex, FDA
                             specifically documented its assessments of adverse event reporting
                             contained in annual, periodic update, or 15-day alert reports or reports
                             submitted to the AERS database. FDA officials told us that staff review all
                             submitted reports, but do not always document their reviews.

                             In addition to relying on reports submitted by the sponsors, FDA has
                             conducted inspections specifically to oversee the sponsors’ compliance
                             with adverse event reporting requirements for eight of the nine drugs,
                             including Mifeprex.63 Between 2001 and May 2008, FDA had conducted 19
                             such inspections with a range of none to four inspections conducted for
                             each drug.64 In the case of Mifeprex, FDA has conducted three
                             inspections—in 2002, 2004, and 2006—related to adverse event reporting.
                             In these inspections, FDA reviewed a variety of documents pertaining to
                             adverse event reporting for Mifeprex, including standard operating
                             procedures, product labeling, MedWatch reporting forms, 15-day alert



                             62
                              Mifeprex labeling specifically cautions against the use of the drug in women with ectopic
                             pregnancy. The sponsor has noted that the condition is not an adverse drug experience as
                             FDA defines the term.
                             63
                                As of May 2008 FDA had not conducted an adverse event reporting inspection for the
                             sponsor of Revlimid since this drug was approved under Subpart H. The agency inspected
                             Celgene—the sponsor of Revlimid and Thalomid—in 2001, 2002, 2004, and 2005, but these
                             inspections occurred before Revlimid was approved in December 2005. FDA officials told
                             us they did not have specific goals for how frequently sponsors are inspected to monitor
                             compliance with adverse event reporting requirements.
                             64
                              These inspections include two inspections of the sponsor of Accutane (isotretinoin). FDA
                             conducted an additional four adverse event reporting inspections of sponsors or the
                             manufacturer of generic isotretinoin products.




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                 reports, complaint file, periodic update reports on adverse events, and
                 annual NDA reports. In addition, FDA documented reviews of samples of
                 the sponsor’s adverse event reports for completeness, accuracy, and
                 timeliness.

                 As a result of the Mifeprex inspections, FDA issued citations for
                 deficiencies related to the accuracy, completeness, or timeliness of some
                 reports as well as for the sponsor’s failure to follow certain procedures for
                 handling some adverse event follow-up activities. In each of the Mifeprex
                 inspections, FDA identified some examples of misclassified reports—
                 events which FDA said should have been submitted as 15-day alert reports
                 rather than in periodic reports. For example, FDA cited the sponsor for
                 not classifying some events resulting in hospitalization as serious events
                 and thus not reporting those events as 15-day alert reports. In another
                 inspection, FDA found that some of the sponsor’s procedures for reporting
                 and following up on adverse events were inadequate or had not been
                 developed. These deficiencies were similar to those FDA found for other
                 drugs, and FDA identified fewer problematic reports for Mifeprex than for
                 some of the other Subpart H restricted drugs. Following each of the
                 inspections for Mifeprex, the sponsor provided a written response to FDA
                 in which it either agreed to address FDA’s findings or noted its
                 disagreement with the deficiencies FDA cited. For example, following the
                 first inspection, the sponsor agreed to address the examples of
                 misclassified or incomplete reporting FDA cited and to reinforce
                 procedures for handling adverse event-related correspondence with its
                 staff. In some cases the sponsor disagreed with FDA’s characterization of
                 a deficiency or presented evidence to refute a claim that it had not
                 complied with a reporting requirement or procedure.

                 As a result of FDA’s inspections for the other seven drugs, the agency
                 issued written citations to six of the sponsors for deficiencies. In addition,
                 FDA noted only “oral observations” for the other sponsor. Similar to the
                 Mifeprex inspections, FDA staff reviewed information such as sponsor
                 documentation and standard operating procedures related to adverse
                 event reporting for the other seven drugs for which it conducted
                 inspections. As it did for the Mifeprex inspections, FDA reviewed samples
                 of adverse event reports for completeness, accuracy, or timeliness for
                 most of the other drugs. As it did with Mifeprex, FDA cited some sponsors
                 for deficiencies such as incomplete or late reporting of adverse events or
                 failure to adhere to certain procedures for reporting. For example, FDA
                 cited the sponsor of Thalomid for failure to submit several reports of
                 serious and unexpected adverse events as a 15-day alert report and for late
                 reporting of some other adverse events that included deaths and




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                            hospitalizations. In addition, FDA issued an untitled letter to the sponsor
                            citing its failure to review and submit 82 reports of serious and
                            unexpected adverse events within the required time frame.

                            FDA was not always consistent in how it documented deficiencies in
                            adverse event reporting. In some of its inspections FDA documented the
                            same type of deficiency as a citation while in others it noted them as oral
                            observations or discussion points. For example, FDA did not issue a
                            citation for the sponsor of Tracleer after inspectors noted 52 late 15-day
                            reports—instead discussing the late reports with the sponsor at the close
                            of the inspection. However, in its first inspection of the sponsor for
                            Mifeprex, FDA issued a citation for failure to file a single 15-day report
                            within the required 15 days. FDA also cited the sponsor for 6 late 15-day
                            reports in each of its two subsequent inspections, although the sponsor
                            refuted this finding in written responses following each inspection. As in
                            the case of Mifeprex, sponsors responded to FDA in writing to describe
                            actions they had taken to address deficiencies or to disagree with FDA’s
                            conclusions following an inspection.


To Oversee Postmarket       FDA has used similar methods to oversee postmarket safety—monitoring,
Safety, FDA Used Similar    investigating, and taking action on emerging safety concerns—for
Methods to Review           Mifeprex and the other eight Subpart H restricted drugs. For Mifeprex,
                            FDA has routinely reviewed the available information on reported adverse
Reported Adverse Events     events from sources such as annual reports, periodic update reports,
and Took a Variety of       15-day alerts, and data from its AERS database. Since the time Mifeprex
Actions in Response to      was approved, FDA has documented regular reviews and summarized the
Emerging Concerns           available data on adverse event reports to monitor the drug’s safety. FDA
                            believes that, because the distribution system for Mifeprex requires that
                            prescribing physicians agree to report hospitalizations and other serious
                            adverse events, it is unlikely there are significant numbers of these events
                            that are not reported to FDA. However, FDA acknowledges that because
                            the reporting system is voluntary, the agency cannot be certain that they
                            have reports of all serious adverse events.

                            FDA officials have concluded that, with the exception of the cases of fatal
                            infection, the reported serious adverse events associated with Mifeprex
                            have been within or below the ranges expected based upon the medical
                            literature on adverse events following medical abortion. In its May 2006




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                 response to congressional inquiries regarding Mifeprex,65 FDA stated that
                 the most commonly reported serious adverse events had been blood loss
                 requiring a transfusion, infection, and ectopic pregnancy. FDA estimated
                 that 0.023 percent of U.S. women who had taken Mifeprex have required
                 transfusion, compared to a transfusion rate of 0.15 percent observed in
                 international studies of the drug. FDA also noted that the rate of ectopic
                 pregnancy among U.S. women who had used Mifeprex was 0.005 percent,
                 compared to the overall rate of 1.3 to 2 percent in all U.S. pregnancies.
                 Based on the medical literature, FDA estimated that fewer than 1 percent
                 of patients will develop an infection of any kind following medical
                 abortion with Mifeprex.

                 According to FDA, as of May 2008, among the estimated 915,000 U.S.
                 women who had taken Mifeprex for termination of pregnancy since its
                 approval, the agency was aware of seven deaths that may be related to the
                 use of the drug.66 Six of the deaths were due to severe infection, and one
                 death involved an undiagnosed ectopic pregnancy. Of the cases involving
                 infection, five of the women were infected with a rare bacterium,
                 Clostridium sordellii, while one woman was infected with the bacterium
                 Clostridium perfringens. With assistance from the Centers for Disease
                 Control and Prevention (CDC) and other outside experts, FDA has
                 investigated all reported infection-related deaths in U.S. women who have
                 taken the Mifeprex regimen for termination of pregnancy. These
                 investigations included requesting the medical records and autopsy
                 reports for each case; evaluating available adverse event data from the
                 United States, the United Kingdom, and the World Health Organization;
                 consulting with scientific experts and health care providers from inside
                 and outside FDA; and microbiological testing to identify the bacterium
                 involved. In addition, FDA evaluated samples from the drug lots of
                 Mifeprex and misoprostol associated with some of the deaths to test for
                 contamination with the bacteria.67 FDA found that in the six cases of death


                 65
                  FDA statement to the Subcommittee on Criminal Justice, Drug Policy, and Human
                 Resources, Committee on Government Reform, May 17, 2006.
                 66
                   In her testimony to Congress on May 17, 2006, Dr. Janet Woodcock stated FDA was aware
                 of five infection-related deaths in U.S. women. In the course of GAO’s research for this
                 study, FDA reported that an additional infection-related death occurred in 2007. In her
                 testimony, Dr. Woodcock also discussed three other cases of deaths in U.S. women who
                 had taken Mifeprex that, following investigation, were determined unlikely to be related to
                 the use of the drug. In addition, she discussed three women in other countries whose
                 deaths were related to the use of mifepristone and misoprostol for medical abortion.
                 67
                  The product tracking provision of the restricted distribution program for Mifeprex
                 enabled FDA to locate the lot numbers for the drugs administered in each of the cases.




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                 due to infection, the women used a regimen of Mifeprex and misoprostol
                 that has not been approved by FDA.68 FDA has stated that it is aware that
                 many health care providers use modified regimens, and while some of the
                 regimens have been described in the medical literature, FDA has not
                 evaluated the safety and effectiveness of any other regimen than the one
                 described in the drug’s approved labeling.

                 To further explore the nature of the infections, FDA initiated an
                 interagency scientific workshop in May 2006 with CDC and the National
                 Institutes of Health entitled “Emerging Clostridial Disease.” These
                 agencies had observed a general increase in the United States in reports of
                 serious clostridial infections including infections in women who had used
                 Mifeprex, that raised questions about Clostridium’s relationship to fatal
                 illness and pregnancy. According to the meeting minutes, participants
                 discussed recent cases of clostridial infection—including those occurring
                 among women who had taken Mifeprex and misoprostol for termination of
                 pregnancy and those who had not—reviewed what was currently known
                 about these infections, and discussed how to conduct surveillance to
                 ensure that cases and trends of clostridial infections are monitored. At the
                 workshop, a CDC official reported on the history of clostridial infections,
                 including a cluster of ten fatal cases reported in the literature between
                 1977 and 2001 among previously healthy women. Of the ten cases, eight of
                 the women became infected following childbirth, one became infected
                 following a medical abortion, and the other case was unrelated to
                 pregnancy.

                 As a result of its investigative efforts, FDA has concluded that the
                 evidence does not indicate that Mifeprex caused the fatal infections. In
                 response to congressional inquiry, FDA stated that “the nature of the
                 relationship between taking a single dose of the drug and the reported
                 cases of serious infection with a rare bacterium is highly uncertain.”69
                 Laboratory testing of samples from the drug lots of Mifeprex and
                 misoprostol associated with some of the deaths due to infection has


                 68
                  In the case of five of the deaths in the U.S. due to infection, the women used an oral dose
                 of Mifeprex, followed by a dose of misoprostol taken intravaginally. In the other case of
                 death due to infection, the woman used an oral dose of Mifeprex followed by a dose of
                 misoprostol taken by inserting it in the pouch of the cheek. The regimen approved by FDA
                 calls for swallowing doses of both Mifeprex and misoprostol.
                 69
                  See FDA letter to Representative Mark E. Souder, then-Chairman of the Subcommittee on
                 Criminal Justice, Drug Policy, and Human Resources, Committee on Government Reform,
                 U.S. House of Representatives, July 31, 2006.




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                 shown no evidence of contamination with the bacteria.70 FDA officials
                 have said that the relationship between the infections and the use of
                 unapproved regimens of Mifeprex and misoprostol remains unknown.
                 Some research has suggested that the use of Mifeprex may suppress the
                 immune system which could lead to infection. However, FDA has noted
                 that if this were the case, the agency would expect to see a higher rate of
                 other types of serious infections in patients who had used the drug, which
                 has not been the case. FDA has noted that findings by the CDC and in the
                 medical literature suggest that pregnancy itself—rather than the
                 medication—may be the critical risk factor for women who have become
                 infected with Clostridium sordellii.

                 FDA, working with the drug’s sponsor, has taken a variety of steps—such
                 as issuing warnings and making changes to the product labeling—to
                 address safety concerns for Mifeprex that were identified through
                 postmarket monitoring and investigation. For example, in response to
                 reports of ruptured ectopic pregnancy, FDA developed a questions and
                 answers document about the condition and worked with the drug’s
                 sponsor to alert health care providers and to highlight the importance of
                 careful screening for the condition. In addition, FDA approved a labeling
                 change to provide information about the importance of evaluating patients
                 for ectopic pregnancy. In response to concerns about serious infections
                 and associated deaths—all of which involved an off-label use of the drug—
                 FDA issued Public Health Advisories to notify healthcare providers about
                 patient deaths and the treatment regimens used in those cases, and to
                 remind them of the regimen FDA has approved, and that FDA has not
                 established the safety of alternative regimens. In addition, FDA issued a
                 news release, reviewed letters from the sponsor to health care providers
                 and emergency room directors to alert them to the safety concerns
                 regarding serious infection, and approved changes to product labeling
                 including revisions to the warning to include information about the deaths
                 due to serious infection.71 FDA also has established a Web site with
                 information about Mifeprex, questions and answers about the drug, and




                 70
                  FDA officials told us that the agency did not test for bacterial contamination of the
                 specific lot associated with the most recent death because examination of the prior lots
                 revealed no contamination.
                 71
                    FDA officials told us that the sponsor distributed a letter to all health care providers who
                 had signed the prescriber’s agreement as of the time of the distribution of the letter and
                 distributed a letter to all emergency room directors in the United States.




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                 links to other safety-related information.72 FDA used labeling changes—
                 including updating the medication guide that prescribers agree to discuss
                 with their patients—and information posted on its Web site to remind
                 consumers and health care providers that FDA has not assessed the safety
                 and efficacy of any regimen other than the one approved for the drug and
                 indicated in its labeling.

                 FDA has similarly monitored adverse events for the other Subpart H
                 restricted drugs. As FDA has done with Mifeprex, the agency has
                 documented periodic safety reviews of the available information it had on
                 reported adverse events for all of the other drugs. FDA’s reviews analyzed
                 data on reported adverse events from sources such as annual NDA
                 reporting, periodic update reports, 15-day alerts, and data from the AERS
                 database. Some FDA reviews summarized the available data on a specific
                 type of adverse event—like liver toxicity, or severe bleeding—or adverse
                 events in general, in order to determine whether the data suggest an
                 emerging safety concern for the drug. In addition, in some cases, as it did
                 with Mifeprex, FDA has sought the advice and assistance of other federal
                 agencies and outside experts to investigate serious adverse events.

                 As a result of its monitoring activities, FDA has identified postmarket
                 safety concerns for most of the Subpart H restricted drugs and has taken
                 similar actions to address them. When FDA has found safety concerns
                 related to a Subpart H restricted drug, it has worked with the drug’s
                 sponsor to employ a variety of measures to ensure the drug’s safe use.
                 These have included adding or strengthening a warning on the label,
                 issuing a Public Health Advisory, and sending letters to health care
                 providers to alert them to a safety risk. FDA has approved safety-related
                 labeling changes, such as boxed warnings, for eight of the nine drugs. In
                 the case of four of the drugs, including Mifeprex, the agency issued a
                 Public Health Advisory or Safety Alert. The sponsors of five of the drugs
                 including Mifeprex sent a letter to health care providers who prescribe (or
                 may prescribe) the drug to alert them of safety concerns or to
                 communicate new information regarding the drug. For example, in the
                 case of Tracleer, adverse event reports revealed an increased risk of liver
                 damage in patients who were treated with the drug. As a result, FDA and
                 the sponsor notified health care providers of the risk by issuing a Safety
                 Alert, highlighting the need for continued monitoring of liver function in



                 72
                  FDA’s Web site for Mifeprex safety information is located at:
                 http://www.fda.gov/cder/drug/infopage/mifepristone/default.htm




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                         patients using the drug. The sponsor added a boxed warning about
                         potential liver injury to the labeling and issued a letter to health care
                         providers to alert them to the potential risk. In general, the actions FDA
                         took in response to safety concerns were similar across all of the drugs.


                         We provided HHS with a draft of this report for review. HHS informed us
Agency Comments          that it did not have general comments on the draft report. In addition, HHS
                         provided technical comments, which we incorporated as appropriate.


                         As we agreed with your offices, unless you publicly announce the contents
                         of this report earlier, we plan no further distribution of it until 30 days
                         from the date of this letter. We will then send copies to others who are
                         interested and make copies available to others who request them. In
                         addition, the report will be available at no charge on GAO’s Web site at
                         http://www.gao.gov.

                         If you or your staffs have any questions about this report, please contact
                         me at (202) 512-7114 or crossem@gao.gov. Contact points for our Offices
                         of Congressional Relations and Public Affairs may be found on the last
                         page of this report. GAO staff who made major contributions to this report
                         are listed in appendix IV.




                         Marcia Crosse
                         Director, Health Care




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                                                Appendix I: Select Drugs Approved by FDA
Appendix I: Select Drugs Approved by FDA        with Restricted Distribution



with Restricted Distribution


Drugs approved under the                                                                                                       Application type
restricted distribution                                                                                                        (year first approved
provision of Subpart H              Condition treated                                                                          under Subpart H)
Accutane (isotretinoin)             Severe recalcitrant nodular acne.                                                          Supplemental
                                                                                                                               NDA (2005)
Actiq (oral transmucosal            Management of breakthrough cancer pain in patients with malignancies who                   NDA (1998)
fentanyl citrate)                   are already receiving and who are tolerant to opioid therapy.
Lotronex (alosetron                 Severe diarrhea predominant irritable bowel syndrome (IBS) in women who                    Supplemental
hydrochloride)                      have: chronic IBS symptoms (generally lasting 6 months or longer), had                     NDA (2002)
                                    anatomic or biochemical abnormalities of the gastrointestinal tract excluded,
                                    and failed to respond to conventional therapy.
Mifeprex (mifepristone)             Medical termination of intrauterine pregnancy through 49 days’ pregnancy.                  NDA (2000)
Plenaxis (abarelix for injectable   Palliative treatment of men with advanced symptomatic prostate cancer, with NDA (2003)
suspension)                         specified risks or symptoms.
Revlimid (lenalidomide)             Treatment of a limited subset of patients with transfusion dependent anemia. NDA (2005)
                                    Treatment of multiple myeloma patients who have received at least one prior Supplemental NDA
                                    therapy.
Thalomid (thalidomide)              Acute treatment of cutaneous manifestations of moderate to severe                          NDA (1998)
                                    erythema nodosum leprosum (ENL) and as maintenance therapy for
                                    prevention and suppression of the cutaneous manifestations of ENL
                                    recurrences.
                                    Newly diagnosed multiple myeloma.                                                          Two Supplemental
                                                                                                                                    a
                                                                                                                               NDAs
Tracleer (bosentan)                 Pulmonary arterial hypertension.                                                           NDA (2001)
Xyrem (sodium oxybate)              Cataplexy associated with narcolepsy.                                                      NDA (2002)
Select Drugs with restricted                                                                                                   Application type
distribution imposed outside                                                                                                   (year first
of Subpart H                                                                                                                   approved)
Clozaril (clozapine)                Management of severely ill schizophrenic patients who fail to respond                      NDA (1989)
                                    adequately to standard drug treatment for schizophrenia.
Tikosyn (dofetilide)                Irregular heartbeats (atrial fibrillation and atrial flutter).                            NDA (1999)
Trovan (trovafloxacin/              Serious, life- or limb-threatening infections in an inpatient healthcare setting.          n/ab (1997)
alatrofloxacin)
                                                Source: GAO analysis of FDA data.

                                                Note: We list each drug by its trade name with its chemical name in parentheses.
                                                a
                                                These supplemental NDAs were approved under both the restricted distribution and surrogate
                                                endpoint provisions of Subpart H.
                                                b
                                                 Trovan was not originally approved with distribution restrictions. Based on postmarket evidence of
                                                serious liver injury in some patients, the sponsor agreed to FDA’s requests to limit the distribution of
                                                Trovan to patients with specific symptoms only in inpatient settings. However, these restrictions were
                                                not associated with a supplemental application.




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                           Appendix II: Detailed Description of
Appendix II: Detailed Description of
                           Distribution Restrictions for Mifeprex



Distribution Restrictions for Mifeprex

                           FDA approved Mifeprex with the following specific restrictions on
                           distribution:

                       •   Mifeprex must be provided by or under the supervision of a physician who
                           possesses adequate qualifications and agrees to provide the treatment
                           according to several guidelines. To accomplish this, the system required
                           that prescribing physicians register with an authorized distributor by
                           providing a signed Prescriber’s Agreement attesting to the following:

                           •   Possesses the ability to assess the duration of pregnancy accurately.

                           •   Possesses the ability to diagnose ectopic pregnancies.

                           •   Possesses the ability to provide surgical intervention in cases of
                               incomplete abortion or severe bleeding, or has made plans to provide
                               such care through other qualified physicians, and are able to assure
                               patient access to medical facilities equipped to provide blood
                               transfusions and resuscitation, if necessary.

                           •   Has read and understood the prescribing information about Mifeprex.

                           •   Will provide each patient with a medication guide and fully explain the
                               procedure to each patient, provide her with a copy of the medication
                               guide and Patient Agreement, give her an opportunity to read and
                               discuss both the medication guide and the Patient Agreement, obtain
                               her signature on the Patient Agreement and sign it as well.

                           •   Will notify the sponsor or its designate in writing as discussed in the
                               Package Insert under the heading DOSAGE AND ADMINISTRATION in
                               the event of an ongoing pregnancy, which is not terminated subsequent
                               to the conclusion of the treatment procedure.

                           •   Will report any hospitalization, transfusion or other serious events to
                               the sponsor or its designate.

                           •   Will record the Mifeprex package serial number in each patient’s
                               record.

                       •   Provisions for the physical security of the drug during distribution such as

                           •   Direct distribution of the drug through select authorized distributors to
                               physicians who have signed the Prescriber’s Agreement, which
                               includes providing their medical license number. Distributors are




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                 Appendix II: Detailed Description of
                 Distribution Restrictions for Mifeprex




                     required to ensure that the physician is registered before distributing
                     the drug.

                 •   Secure manufacturing, receiving, distribution, shipping, and return
                     procedures, including unique serial numbers on packaging and tamper-
                     proof seals.




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                         Appendix III: Prescriber’s Agreement for
Appendix III: Prescriber’s Agreement for
                         Mifeprex Distribution



Mifeprex Distribution

              The following is the prescriber’s agreement at the time of the Mifeprex approval.
              Under the restricted distribution program for Mifeprex, the agreement is provided—
              by the sponsor’s licensee Danco Laboratories, Inc.—to all providers to be signed and
              returned before the prescriber can receive any shipments of Mifeprex.




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                 Appendix III: Prescriber’s Agreement for
                 Mifeprex Distribution




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                 Appendix III: Prescriber’s Agreement for
                 Mifeprex Distribution




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                            Appendix IV: GAO Contact and Staff
Appendix IV: GAO Contact and Staff
                            Acknowledgments



Acknowledgments

                            Marcia Crosse, (202) 512-7114 or crossem@gao.gov.
GAO Contact
                            In addition to the contact named above, Martin T. Gahart, Assistant
Acknowledgments             Director; Jill Center; Chad Davenport; and Cathy Hamann made key
                            contributions to this report. Julian Klazkin also contributed.




(290577)


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                              United States Government Accountability Office
                              Report to Congressional Requesters




                              FOOD AND DRUG
March 2018




                              ADMINISTRATION

                              Information on
                              Mifeprex Labeling
                              Changes and
                              Ongoing Monitoring
                              Efforts




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                                             FOOD AND DRUG ADMINISTRATION
                                             Information on Mifeprex Labeling Changes and
                                             Ongoing Monitoring Efforts
Highlights of GAO-18-292, a report to
congressional requesters




Why GAO Did This Study                       What GAO Found
FDA initially approved Mifeprex in 2000      The Food and Drug Administration (FDA) followed its standard review process
and restricted the drug’s distribution to    when it approved the application and revised labeling reflecting certain changes,
assure its safe use. In 2011, the            including the indication and dosing regimen, for the drug Mifeprex, which is used
agency approved a REMS for the drug.         for the medical termination of early pregnancy. It based its approval on reviews
In March 2016, FDA approved an               of peer-reviewed published studies, articles, and other information submitted by
application for changes to the               Mifeprex’s sponsor. These studies focused on topics related to the proposed
indication and dosing regimen for            labeling changes, including revision of the dosing regimen, increased gestational
Mifeprex, which were reflected in            age, method of follow-up care, and type of health care provider authorized to
revised labeling. Other changes
                                             prescribe Mifeprex. FDA also received three letters from advocacy groups
included omitting the requirement that
                                             requesting that FDA revise the Mifeprex labeling in a manner that would reflect
the prescriber be a physician. At that
time, FDA also made modifications to
                                             clinical practice. In addition, FDA reviewed the Risk Evaluation and Mitigation
the REMS. Some have questioned the           Strategy (REMS)—a set of restrictions beyond the label that FDA may impose—
safety implications of these changes         associated with Mifeprex, and determined it continued to be necessary. FDA also
for women using the drug.                    reviewed adverse events—which the agency refers to as any untoward medical
                                             event associated with the use of a drug in humans, whether or not the event is
GAO was asked to review FDA’s                considered to be drug related—associated with Mifeprex. It determined that the
relabeling of Mifeprex. GAO describes        rates of certain adverse events remained stable and acceptably low. In addition,
(1) the information FDA used to make         FDA reviewed information regarding potential risks of specific conditions
its decisions regarding the relabeling of    associated with the use of Mifeprex and revised the labeling accordingly. FDA
Mifeprex; and (2) what FDA’s                 determined that the information it reviewed supported the changes to the
monitoring of Mifeprex has revealed,         Mifeprex labeling.
and stakeholders’ views of FDA’s
monitoring and the safety of the drug.       FDA has conducted a variety of monitoring activities and these have not
                                             identified significant concerns with the safety and use of Mifeprex, in accordance
GAO reviewed documents related to            with its approved REMS.
Mifeprex's relabeling, including FDA              • FDA has conducted three inspections of Mifeprex’s sponsor since 2008
policies and regulations. GAO
                                                      regarding adverse event reporting associated with Mifeprex—in 2010,
analyzed adverse event reports related
                                                      2014, and 2016—and identified minor deficiencies, such as the use of an
to Mifeprex and reviewed FDA
inspection reports of Mifeprex's                      outdated reporting form.
sponsor. GAO also examined studies                • FDA conducted a REMS compliance inspection in 2014 and did not
and data related to the safety and use                identify any deficiencies.
of Mifeprex, and obtained information             • FDA identified approximately 4,200 instances of adverse events
from FDA officials; Mifeprex's sponsor;               associated with Mifeprex from September 28, 2000, through June 30,
and 13 stakeholder organizations,                     2017, among the approximately 3.2 million women who have used the
including medical associations and                    drug. FDA identified 20 deaths in this period—a rate much lower than for
advocacy groups selected on the basis                 women who proceeded to live birth. FDA learned of 2 additional deaths
of their medical or scientific expertise,             associated with Mifeprex since June 30, 2017.
relevant publications, or familiarity with   GAO found that the views of stakeholder organizations were mixed regarding
the drug’s safety.                           FDA’s monitoring of Mifeprex. Positive comments included that the agency has a
                                             comprehensive monitoring program and a robust adverse event reporting
The Department of Health and Human           system. Criticisms included that adverse events may be underreported and that
Services provided technical comments         FDA may only be aware of a fraction of them. Similarly, stakeholder
on a draft of this report, which we          organizations shared mixed views on the drug’s safety. Positive comments
incorporated as appropriate.
                                             included that the mortality rate associated with Mifeprex is extremely low. Safety
View GAO-18-292. For more information,       concerns included that the revised labeling no longer requires patients to have a
contact Marcia Crosse at (202) 512-7114 or
crossem@gao.gov.
                                             second visit with a health care provider, and that certain safety issues may be
                                             exacerbated by the increased gestational age limit approved by FDA.

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                 Abbreviations

                 FDA               Food and Drug Administration
                 FAERS             Food and Drug Administration Adverse Event Reporting
                                   System
                 HHS               Department of Health and Human Services
                 REMS              Risk Evaluation and Mitigation Strategy



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                              Letter




441 G St. N.W.
Washington, DC 20548




                              March 28, 2018

                              Congressional Requesters

                              The prescription drug Mifeprex, in combination with the prescription drug
                              misoprostol, is used for the medical termination of early pregnancy. The
                              Food and Drug Administration (FDA), an agency within the Department of
                              Health and Human Services (HHS), initially granted marketing approval of
                              Mifeprex in September 2000. As a condition of the drug’s approval, FDA
                              imposed restrictions on the distribution of Mifeprex under its general
                              authority to help assure the safety and effectiveness of new drugs. 1 More
                              than 3 million women in the United States are estimated to have used this
                              drug.

                              We have previously reported on FDA’s approval of Mifeprex and its
                              oversight of the drug’s safety, including the restrictions the agency placed
                              on the drug’s distribution. 2 Since that time, in 2011, FDA approved a Risk
                              Evaluation and Mitigation Strategy (REMS) for Mifeprex, with the goal of
                              informing patients about the benefits and risks of Mifeprex, and to
                              minimize the risk of serious complications associated with the drug. 3 In
                              May 2015, Mifeprex’s sponsor proposed several changes to the
                              administration of the drug. 4 It submitted a supplemental new drug
                              application to FDA to obtain approval to revise the drug’s labeling. 5

                              1
                              See 21 C.F.R. § 314.520 (2000).
                              2
                               GAO, Food and Drug Administration: Approval and Oversight of the Drug Mifeprex,
                              GAO-08-751, (Washington, D.C.: Aug. 7, 2008).
                              3
                               A REMS is a set of restrictions specifically authorized by statute that FDA may impose to
                              ensure that a drug’s benefits outweigh its risks. See 21 U.S.C. § 355-1.
                              4
                               A drug sponsor is the person or entity who assumes responsibility for the marketing of a
                              new drug, including responsibility for complying with applicable provisions of laws, such as
                              the Federal Food, Drug, and Cosmetic Act and related regulations. Danco Laboratories,
                              L.L.C., the sponsor of Mifeprex, is responsible for the marketing and manufacturing of
                              Mifeprex, and submitted the supplemental application to FDA.
                              5
                               Supplemental new drug applications are submitted to make certain changes to already
                              approved new drug applications, including adding or modifying an indication or claim, or
                              revising the dose or dosing regimen. FDA review and approval of most types of
                              supplemental new drug applications is required before the drug may be marketed with
                              these changes. FDA characterized the supplemental application submitted for Mifeprex as
                              an efficacy supplement that, among other things, revised its dosing regimen. See 21
                              C.F.R. § 314.3 (2017). Throughout this report, references to the Mifeprex application
                              pertain to this supplemental new drug application, submitted as an efficacy supplement.




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                 Among other things, the sponsor proposed changing the dosing regimen,
                 increasing the gestational age limit up to which Mifeprex can be taken,
                 and eliminating the requirement that the dose of misoprostol be
                 administered in a medical facility. FDA approved the labeling change in
                 March 2016 and determined that the REMS continued to be necessary,
                 with some modifications.

                 You and others have questioned whether the revised Mifeprex labeling
                 has safety implications for the women who use the drug. For example,
                 some stakeholder organizations, such as medical associations and
                 research organizations, have raised concerns regarding FDA’s
                 postmarketing monitoring of Mifeprex and the drug’s safety. 6 You asked
                 us to report on FDA’s relabeling of Mifeprex and its monitoring activities.
                 This report describes

                 1. the information FDA used to make its decisions regarding the
                    relabeling of Mifeprex; and
                 2. what FDA’s monitoring of Mifeprex has revealed, and stakeholders’
                    views of FDA’s monitoring and the safety of the drug.
                 To describe the information FDA used to make its decisions regarding the
                 relabeling of Mifeprex, we obtained information regarding the agency’s
                 review and subsequent approval of the revised Mifeprex labeling.
                 Specifically, we reviewed documents in FDA’s approval package for the
                 Mifeprex supplemental new drug application. The approval package
                 included FDA’s assessments of the published literature submitted by
                 Mifeprex’s sponsor to support the safety and efficacy of the proposed
                 changes. 7 Additionally, we reviewed other documents in the approval
                 package, including communications between FDA and Mifeprex’s
                 sponsor during the application process, and the revised Mifeprex labeling
                 and REMS. In addition, we studied FDA’s assessments of adverse events
                 associated with Mifeprex. 8 Finally, we examined federal regulations and
                 FDA’s policies and guidance documents, and interviewed FDA officials.

                 6
                 The term postmarketing refers to activities occurring after a drug has been approved for
                 marketing.
                 7
                  FDA has posted documents pertaining to its review and approval on the agency’s website
                 (see
                 https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020TOC.cfm).
                 8
                  FDA uses the term adverse event to refer to any untoward medical event associated with
                 the use of a drug in humans, whether or not the event is considered to be drug related.




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                 To describe how FDA monitors the safety and use of Mifeprex, we
                 analyzed FDA’s postmarketing adverse event summary reports
                 associated with the use of Mifeprex from September 28, 2000, (when the
                 drug was approved) through June 30, 2017, and obtained information
                 from FDA officials regarding the agency’s monitoring activities. 9 We also
                 reviewed quarterly adverse event summary reports submitted to FDA by
                 Mifeprex’s sponsor for fiscal year 2017. To further describe FDA’s
                 monitoring, we reviewed documentation from inspections the agency
                 conducted to determine the sponsor’s compliance with relevant
                 regulations and the Federal Food, Drug, and Cosmetic Act. Specifically,
                 we reviewed FDA’s reports from inspections of Mifeprex’s sponsor for
                 compliance with adverse event reporting requirements and the Mifeprex
                 REMS that were performed since our 2008 report was issued. 10 We
                 obtained information from FDA on the number and results of inspections
                 that FDA has conducted since 2008 for compliance with current good
                 manufacturing practices. 11 We also reviewed studies and data related to
                 the safety and use of Mifeprex from FDA, stakeholders, and other entities.
                 We discussed FDA’s data collection processes and any limitations with
                 agency officials and determined that the data we used were sufficiently
                 reliable for the purposes of this report. We also obtained information from
                 Mifeprex’s sponsor on its perspectives of FDA’s monitoring. Finally, to
                 describe stakeholders’ views of FDA’s monitoring and the safety of the
                 drug, we obtained information from 13 organizations, including medical
                 associations and advocacy groups with a variety of perspectives for their




                 9
                  FDA officials said that the adverse events associated with Mifeprex in its summary
                 reports do not necessarily reflect a conclusion by the company or FDA that the drug
                 caused or contributed to an adverse event. See 21 C.F.R. § 314.80(l) (2017).
                 10
                     See GAO-08-751.
                 11
                   Current good manufacturing practices provide a framework for a manufacturer to follow
                 to produce safe, pure, and high-quality drugs. See 21 C.F.R. pts. 210-21 (2017).




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                            views on FDA’s monitoring of Mifeprex, including any safety-related
                            concerns they may have about the drug. 12

                            We conducted this performance audit from April 2017 to March 2018 in
                            accordance with generally accepted government auditing standards.
                            Those standards require that we plan and perform the audit to obtain
                            sufficient, appropriate evidence to provide a reasonable basis for our
                            findings and conclusions based on our audit objectives. We believe that
                            the evidence obtained provides a reasonable basis for our findings and
                            conclusions based on our audit objectives.


                            The treatment regimen of taking Mifeprex, in combination with
Background                  misoprostol, works by both interrupting the hormones that the body needs
                            to maintain a pregnancy and inducing the uterine cramping necessary to
                            cause a medical abortion. 13 Mifepristone, the active ingredient in
                            Mifeprex, was first approved in France and China in 1988, and is now
                            approved in approximately 60 other countries, including the United
                            States.


FDA’s Review of New         FDA must approve an application for a new drug before it can be
Drug Applications and       marketed in the United States. FDA reviews scientific and clinical data
                            contained in these applications as part of its process in considering them
Supplemental Applications
                            for approval to be marketed. FDA initially approved Mifeprex for use in the


                            12
                              We obtained information from the following 13 organizations: the American Association
                            of Pro-Life Obstetricians and Gynecologists; American College of Pediatricians; American
                            Congress of Obstetricians and Gynecologists; Association of Reproductive Health
                            Professionals; Bixby Center for Global Reproductive Health, University of California San
                            Francisco; Charlotte Lozier Institute; Family Research Council; Guttmacher Institute;
                            Gynuity Health Projects and the lead author of the Mifeprex REMS Study Group; Institute
                            for Safe Medication Practices; National Right to Life Committee; Office of Population
                            Research, Princeton University; and Planned Parenthood Federation of America. We
                            selected these organizations on the basis of their medical or scientific expertise, their
                            publication of relevant articles and web-based materials, or their familiarity with the safety
                            and use of Mifeprex.
                            13
                              Mifeprex is the trade name for one of the two mifepristone products approved and
                            marketed in the United States (the trade name for the other product is Korlym, which has
                            a different, unrelated indication). Mifepristone is the underlying drug substance and is also
                            sometimes called RU-486, a reference to the name the drug had during laboratory testing.
                            Medical abortion terminates a pregnancy using medications, rather than through a surgical
                            procedure.




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                 United States on September 28, 2000. 14 FDA approved the drug subject
                 to restrictions that it considered necessary to ensure safe usage.

                 In addition to reviewing applications to market new drugs, FDA reviews
                 supplemental new drug applications that drug sponsors submit to propose
                 changes to an approved drug, such as adding or modifying an indication,
                 revising the dose or dosing regimen, providing for a new route of
                 administration, or changing the marketing status from prescription to over-
                 the-counter use. As with original new drug applications, the agency
                 assembles an internal team of reviewers—including medical officers,
                 chemists, statisticians, pharmacologists, and other experts—to evaluate
                 the information submitted in a supplemental application. During the
                 review process, FDA may communicate with sponsors about issues that
                 arise that may affect the approvability of the supplemental application. In
                 response, sponsors can submit additional information to FDA in the form
                 of amendments to the pending supplemental application. The review
                 team compiles the results of its analyses and recommends to FDA
                 management whether the supplemental application should be approved.
                 Once the review is completed, the agency issues an action letter to the
                 sponsor. FDA may approve the supplemental application (approval letter)
                 or, if it determines it will not approve the supplemental application in its
                 present form, it describes the specific deficiencies it identified in the
                 supplemental application (complete response letter).

                 The review process for a drug application, including a supplemental
                 application, may span several cycles before the agency approves the
                 application. 15 For those applications that receive a complete response
                 letter during a review cycle, the next FDA review cycle begins once the
                 sponsor resubmits its application, providing responses to the deficiencies
                 FDA identified in its previous review. These resubmissions often contain
                 additional studies, analyses, data, or clarifying information to address
                 FDA’s concerns. The agency’s review team examines the additional
                 information provided by the sponsor, conducts any additional analyses

                 14
                   In general, the mifepristone treatment regimens approved in other countries were similar
                 to the regimen approved in the United States, although in some cases the specific drug
                 used in combination with mifepristone was different than misoprostol.
                 15
                    The first review cycle begins when FDA receives an application from a sponsor and
                 ends when FDA issues an action letter. If FDA does not approve the application during the
                 first review cycle, a new review cycle begins if the sponsor resubmits the application to
                 provide responses to the deficiencies identified by FDA in the previous review cycle. See
                 21 CFR § 314.110(b)(1) (2017).




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                            that are required, studies the results of any additional inspections that
                            have been conducted, and again recommends either an approval or
                            complete response action. As with the first review cycle, the process ends
                            once FDA management reviews the recommendations of the review team
                            and makes its decision on the action to take on the application.


Mifeprex’s Supplemental     Prior to submitting its supplemental application, Mifeprex’s sponsor met
Application                 with FDA officials on January 29, 2015, to discuss the proposed labeling
                            and Mifeprex REMS changes. At this meeting, both parties agreed that
                            the sponsor should submit a supplemental new drug application covered
                            by section 505(b)(2) of the Federal Food, Drug, and Cosmetic Act. 16 On
                            May 29, 2015, Mifeprex’s sponsor submitted a supplemental application
                            to FDA to revise the dosing regimen, amend the Mifeprex labeling, and
                            modify the Mifeprex REMS. FDA’s review for this supplemental
                            application was classified as a standard review—as opposed to a priority
                            review—with the performance goal of completing the application review
                            and issuing an action letter to Mifeprex’s sponsor within 10 months. 17
                            FDA approved the supplemental application on March 29, 2016, after one
                            review cycle, meeting the agency’s performance goal for the timely review
                            of supplemental applications. 18 Table 1 shows key components of the
                            original Mifeprex regimen and the revised regimen.




                            16
                              This pertains to new drug applications that rely, at least in part, on investigations that
                            “were not conducted by or for the applicant and for which the applicant has not obtained a
                            right of reference or use from the person by or for whom the investigations were
                            conducted . . . .” See 21 U.S.C. § 355(b)(2). For example, such an application may rely on
                            the finding of safety or effectiveness for an approved product or on published literature in
                            addition to studies conducted by the sponsor.
                            17
                              FDA generally grants priority review to applications for drugs that treat serious
                            conditions and that, if approved, would provide significant improvements in safety or
                            effectiveness of the treatment, diagnosis, or prevention of serious conditions compared to
                            available therapies. FDA has a performance goal for completing priority reviews of
                            supplemental applications in 6 months. FDA assigns a standard review designation to
                            applications for drugs that do not meet the priority review designation criteria. FDA’s goal
                            is to generally complete review of these applications in 10 months.
                            18
                              Food and Drug Administration, Mifeprex label, March 2016, accessed January 25, 2018,
                            https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.




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Table 1: Key Components of the Original Mifeprex Regimen and Prescriber Requirements, Approved in 2000, and the Revised
Mifeprex Regimen and Prescriber Requirements, Approved in 2016

 Regimen component                             Original regimen                                       Revised regimen
 Dosage                                        600 mg Mifeprex (mifepristone);                        200 mg Mifeprex (mifepristone);
                                               400 mcg misoprostol                                    800 mcg misoprostol
 Dosing regimen                                Day 1: 600 mg Mifeprex in a single                     Day 1: 200 mg Mifeprex in a single oral dose.
                                               oral dose.                                             Day 2 or 3: 800 mcg misoprostol by buccal route (i.e., in
                                               Day 3: 400 mcg misoprostol in a single                 the cheek pouch), 24 to 48 hours after taking Mifeprex.
                                               oral dose if termination of pregnancy is not
                                               complete.
 Maximum gestational age                       49 days                                                70 days
 (since first day of last
 menstrual period)
 Prescriber requirements                       To become certified, a licensed physician              To become certified, a healthcare provider who
                                               must sign and return the Prescriber                    prescribes must sign and return the Prescriber
                                                                                       a                                                     a
                                               Agreement Form to Mifeprex’s sponsor.                  Agreement Form to Mifeprex’s sponsor.
 Office visits and follow-up                   Required three office visits by the patient:           Requires one office visit by the patient:
 visits with prescriber, and                   (1) 600 mg of Mifeprex administered to the             (1) 200 mg of Mifeprex administered to the patient by
 location of dosing                            patient by the physician or under the                  the healthcare provider who prescribes, or under the
 administration                                supervision of the physician in a clinic,              supervision of a healthcare provider who prescribes, in
                                               medical office, or hospital.                           a clinic, medical office, or hospital.
                                               (2) Patient returns on day three for                   (2) Patient takes 800 mcg of misoprostol by buccal
                                               examination with physician; if termination             route 24 to 48 hours after Mifeprex administration; the
                                               of pregnancy is not complete, physician                healthcare provider who prescribes discusses with the
                                               administers 400 mcg of misoprostol for                 patient an appropriate location for her to be when she
                                               patient to take orally.                                takes the misoprostol.
                                               (3) Patient returns to physician for follow-           (3) Patient should follow up with healthcare provider
                                               up visit approximately 14 days after                   who prescribes approximately 7 to 14 days after
                                               administration of Mifeprex to confirm                  Mifeprex administration to confirm complete termination
                                               complete termination of the pregnancy                  of pregnancy has occurred and to evaluate the degree
                                               occurred.                                              of bleeding.


 Repeat misoprostol dose,                      N/A                                                    If the pregnancy has ended, but complete expulsion did
 if necessary                                                                                         not occur after the initial dose of misoprostol, the patient
                                                                                                      may be prescribed an additional 800 mcg of misoprostol
                                                                                                      to take buccally; women who choose to take a repeat
                                                                                                      dose of misoprostol should have a follow-up visit with
                                                                                                      their healthcare provider who prescribes in
                                                                                                      approximately 7 days to assess for complete expulsion.
Source: GAO analysis of information from the Food and Drug Administration. | GAO-18-292
                                                                a
                                                                 By signing the Prescriber Agreement Form, the prescriber certifies that he or she agrees with all
                                                                specified requirements, including that the sponsor’s Medication Guide will be supplied to all patients.




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Mifeprex REMS             FDA initially approved a REMS for Mifeprex in June 2011. 19 When FDA
                          approved the revised Mifeprex labeling in March 2016, the agency
                          determined the REMS continued to be necessary, with some
                          modifications. 20 Modifications from the original REMS to the revised
                          REMS included

                          •     changing the requirement that Mifeprex be provided “by or under the
                                supervision of a physician” meeting specified qualifications to “by or
                                under the supervision of a healthcare provider who prescribes” and
                                meets such qualifications;
                          •     changing the requirement for prescribers to agree to report to
                                Mifeprex’s sponsor any serious adverse event associated with
                                Mifeprex, including hospitalizations and blood transfusions, to
                                requiring prescribers to agree to report deaths associated with
                                Mifeprex to the sponsor; 21
                          •     requiring Mifeprex’s sponsor to report to FDA any death associated
                                with Mifeprex, whether or not the death was considered drug-related,
                                no later than 15 calendar days from the initial receipt of the
                                information); 22 and
                          •     removing the Medication Guide (which contained specific patient
                                information, such as how to take Mifeprex and potential side effects)
                                as an element of the REMS, although the Medication Guide remains
                                part of the approved Mifeprex labeling, and the revised REMS
                                requires the healthcare provider to provide a copy of the Medication
                                Guide to the patient. 23


                          19
                            As part of a REMS, FDA can require “elements to assure safe use,” 21 U.S.C. § 355-
                          1(f)(1). This may include restrictions similar to those required to assure safe use under
                          which Mifeprex was originally approved. 21 C.F.R. § 314.520 (2000).
                          20
                            Food and Drug Administration, Mifeprex Risk Evaluation and Mitigation Strategy, March
                          2016, accessed January 25, 2018,
                          https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-29_REMS_full.
                          pdf.
                          21
                            This requirement does not affect the sponsor’s other reporting requirements under
                          federal regulations.
                          22
                            This requirement does not affect the sponsor’s other reporting requirements under
                          federal regulations.
                          23
                              See 21 C.F.R. 208.24 (2017).




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                            As part of the REMS, Mifeprex’s sponsor is required to submit REMS
                            assessments to FDA. The first REMS assessment was due one year from
                            the date of initial approval of the REMS. Subsequent assessments are
                            due every three years thereafter. 24 The REMS assessments include data
                            on the cumulative number of health care providers enrolled in the
                            Mifeprex REMS program; the number of providers ordering Mifeprex
                            during the assessment reporting period; and the number of women
                            exposed to Mifeprex, both cumulative and during the reporting period. In
                            addition, they include copies of reports for certain adverse events,
                            including hospitalizations due to complications, blood transfusions,
                            serious infections, and deaths, as well as the cumulative numbers of
                            these adverse events since the approval of Mifeprex and the number
                            during the reporting period.


FDA’s Postmarketing         Federal regulations require sponsors of approved drugs to report
Oversight Activities        periodically to FDA on safety information and specific types of adverse
                            events that occur in association with their use. 25 Sponsors must provide in
                            periodic reports—quarterly for the first three years after approval and
                            annually thereafter—a narrative summary and analysis of adverse event
                            information to FDA. For adverse events that are considered both serious
                            and unexpected, sponsors are required to submit a Postmarketing 15-day
                            Alert Report to FDA within 15 calendar days of initial receipt of the
                            information. 26

                            In some instances, FDA may request sponsors to study matters that it
                            has determined worthy of further examination. Such requests are known
                            as postmarketing study commitments and include studies or clinical trials
                            that FDA has requested—and sponsors have agreed to conduct—to




                            24
                              Mifeprex’s sponsor submitted its first REMS assessment to FDA in June 2012, and the
                            second one in June 2015.
                            25
                             See 21 C.F. R. § 314.80 (2017).
                            26
                               Serious adverse events are those that result in any of the following outcomes: death, a
                            life-threatening adverse event, inpatient hospitalization or prolongation of an existing
                            hospitalization, a significant or persistent disability or incapacity, or a congenital anomaly
                            or birth defect. Unexpected adverse events are those that are not included in the current
                            labeling for a drug. Adverse events associated with a drug do not necessarily imply the
                            drug caused the event.




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                 address such issues. 27 FDA requires sponsors to report on the status of
                 these studies in an annual report that also includes other information such
                 as updates on the distribution of the drug, labeling changes, clinical
                 literature published on the drug, and the drug’s marketing. 28 FDA
                 designates unfulfilled study commitments as submitted, pending, ongoing,
                 delayed, released, or terminated.

                 FDA conducts postmarketing adverse drug experience inspections of
                 sponsors to assess compliance with adverse event reporting
                 requirements. FDA also conducts inspections of sponsors’ compliance
                 with the REMS, as applicable. 29 In addition, FDA inspects manufacturers
                 for compliance with current good manufacturing practices. FDA classifies
                 the results of each type of inspection in one of three ways:

                 •     A classification of “official action indicated” means that objectionable
                       conditions were found that may warrant regulatory action by the
                       agency.
                 •     A classification of “voluntary action indicated” means that
                       objectionable conditions that do not meet the threshold for regulatory
                       action were identified, and any corrective actions are left to the
                       establishment to take voluntarily.
                 •     A classification of “no action indicated” means that no objectionable
                       conditions or practices were found during the inspection, or that the
                       significance of the documented objectionable conditions found does
                       not justify further FDA action.
                 To monitor and analyze adverse events associated with an approved
                 drug, FDA compiles data from sponsors’ reports on adverse events, as
                 well as data from voluntary reports submitted to the MedWatch program,
                 all of which are entered into FDA’s Adverse Event Reporting System

                 27
                    See Pub. L. No. 105-115, § 130, 111 Stat. 2296, 2331-2 (codified at 21 U.S.C. § 356b).
                 Sponsors may also be required to conduct additional postmarketing studies or clinical
                 trials (i.e., in connection with accelerated approval of drugs for serious conditions or
                 approval based on animal efficacy data, or where determined necessary to identify or
                 assess a serious risk related to use of a drug). See 21 U.S.C. §§ 355(o) (serious risk),
                 356(c)(2)(A) (accelerated approval); 21 C.F.R. § 314.610(b)(1) (2017) (animal efficacy
                 data).
                 28
                     See 21 C.F. R. § 314.81(b)(2) (2017).
                 29
                   In 2008, we reported that FDA conducted three postmarketing adverse drug experience
                 inspections of Mifeprex’s sponsor in 2002, 2004, and 2006. The REMS for Mifeprex was
                 not in place at that time. See GAO-08-751.




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                          (FAERS). 30 FDA also established the Sentinel System, which may be
                          used to monitor drugs using electronic health care data. This system
                          complements FDA’s existing monitoring capabilities, such as FAERS, by
                          providing administrative and claims data that can be queried to monitor
                          the use of FDA-regulated medical products and potential outcomes of
                          treatment. The Sentinel System currently includes reimbursement data
                          related to diagnoses, procedures, and drugs dispensed to over 223
                          million patients derived from 17 different data partnerships, including
                          national health insurers and managed care organizations. While
                          reimbursed health care encounters, procedures, and medications are
                          included in the Sentinel System, those that are not reimbursable—such
                          as visits to free health care clinics, drug samples given in physicians’
                          offices, use of low-cost generic medications that do not incur an
                          insurance copayment, or over-the-counter medications—generally are not
                          captured.


                          In considering the supplemental application to revise the Mifeprex
FDA Reviewed              labeling, FDA reviewed 62 studies and articles that were submitted by the
Published Studies         drug’s sponsor related to different aspects of the efficacy and safety of
                          the proposed changes. Over the course of FDA’s application review, the
that Supported the        agency also requested and received more detailed information from the
Efficacy of the           authors of select publications through communication with Mifeprex’s
                          sponsor. Additionally, FDA evaluated adverse event data associated with
Proposed Mifeprex         Mifeprex.
Labeling Changes,
and Evaluated Safety
Information and
Adverse Event Data




                          30
                            MedWatch is a voluntary reporting system through which health professionals and
                          consumers can report adverse reactions, product problems, and errors in use related to
                          drugs and other products approved by FDA.




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FDA Reviewed Numerous        To determine the efficacy of the proposed changes to the Mifeprex
Studies in Considering the   labeling, FDA reviewed numerous published studies submitted by
                             Mifeprex’s sponsor, which included both U.S. and international studies. 31
Efficacy of the Proposed
                             Some of these studies assessed the efficacy of one component of the
Changes to the Mifeprex      proposed Mifeprex labeling changes, such as the dosing regimen. Other
Labeling                     studies assessed more than one component, such as home
                             administration of misoprostol and the gestational age limit for Mifeprex.
                             FDA also requested and received more detailed information from the
                             authors of select publications through communication with Mifeprex’s
                             sponsor. In their review of the application, FDA reviewers identified what
                             they considered major proposed changes. Some of the published studies
                             submitted by Mifeprex’s sponsor that FDA reviewed to support each of
                             these proposed changes included the following:

                             •    Changes to the proposed dose and dosing regimen. FDA
                                  reviewed 30 studies that evaluated changes to the dose and dosing
                                  regimen. For example, 22 of these studies, collectively, evaluated
                                  over 35,000 women who took the proposed dosing regimen—200
                                  milligrams of Mifeprex orally and 800 micrograms of misoprostol
                                  buccally (i.e., in the cheek pouch) 24 to 48 hours after Mifeprex
                                  administration. The efficacy rates, defined as complete termination of
                                  the pregnancy without need for surgical intervention for any reason,
                                  ranged from 91 percent to 98 percent. One of these publications
                                  summarized the results of 20 studies, all but one of which used the
                                  proposed Mifeprex regimen in gestations through 70 days. 32 The
                                  overall efficacy rates in these 20 studies ranged from 97 percent to 98
                                  percent for those studies that provided this information.
                             •    Extending the gestational age to 70 days. FDA reviewed 19 studies
                                  that evaluated increasing the gestational age limit for taking Mifeprex.
                                  In addition to the publication discussed above that summarized the

                             31
                               FDA accepts the use of peer-reviewed literature as primary or supportive data for an
                             application under the framework of a 505(b)(2) application. See U.S.C. 21 § 355(b)(2). As
                             part of its submission to FDA, Mifeprex’s sponsor noted that it did not provide financial
                             support or sponsor any of the studies submitted in its supplemental application. FDA’s
                             webpage pertaining to its review and approval of the Mifeprex supplemental application
                             includes review documents (e.g., Cross Discipline Team Leader Review and Medical
                             Review(s) documents) that contain lists and tables of references citing the publications
                             FDA reviewed in the supplemental application (see
                             https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020TOC.cfm).
                             32
                              M.J. Chen and M.D. Creinin, “Mifepristone with Buccal Misoprostol for Medical Abortion:
                             A Systematic Review,” Obstetrics & Gynecology, vol. 126, no.1 (2015): 12-21.




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                      results of 20 studies, 4 of the studies that FDA reviewed evaluated the
                      proposed dosing regimen through 70 days gestation. 33 Three of these
                      studies evaluated the efficacy rates for gestational ages of 64 to 70
                      days, which ranged from 91 percent to 96 percent. The fourth study
                      evaluated the efficacy rates through 70 days gestation when the drug
                      was administered by physician providers (98 percent) and by nurse
                      providers (98 percent). An additional publication submitted by the
                      sponsor was a systematic review of studies that covered various
                      dosing regimens, including the proposed regimen from 64 to 70 days
                      gestation, which had a 93 percent efficacy rate. 34 Two other studies
                      evaluated the efficacy rates from 64 to 70 days gestation, but used
                      different dosing regimens than the proposed regimen, with efficacy
                      rates of 92 percent for one study and 95 percent for the other study. 35
                      The remaining 11 studies evaluated efficacy rates for gestation
                      greater than the then-approved 49 days gestation, but less than 64
                      days, with efficacy rates ranging from 87 percent to 100 percent.
                 •    Home administration of misoprostol. FDA reviewed 15 studies that
                      evaluated home administration of misoprostol, although FDA reported
                      that none of these studies evaluated treatment outcomes with the use
                      of misoprostol at home compared to a clinic setting. However, one
                      study was a large literature review of 87 studies that included over

                 33
                   The four studies were: (1) B. Winikoff, I.G. Dzuba, E. Chong, et al., “Extending
                 Outpatient Medical Abortion Services through 70 Days of Gestational Age,” Obstetrics &
                 Gynecology, vol. 120 (2012): 1070-1076; (2) A.A. Boersma, B. Meyboom-de Jong, and G.
                 Kleiverda, “Mifepristone Followed by Home Administration of Buccal Misoprostol for
                 Medical Abortion up to 70 days of Amenorrhoea in a General Practice in Curacao,” The
                 European Journal of Contraception & Reproductive Health Care, vol. 16 (2011): 61-66; (3)
                 P. Sanhueza Smith, M. Pena, I.G. Dzuba, et al., “Safety, Efficacy and Acceptability of
                 Outpatient Mifepristone-Misoprostol Medical Abortion through 70 days Since Last
                 Menstrual Period in Public Sector Facilities in Mexico City,” Reproductive Health Matters,
                 vol. 22 (2015): 75-82; and (4) C.D. Olavarrieta, B. Ganatra, A. Sorhaindo, T.S. Karver, A.
                 Seuc, A. Villalobos, S.G. Garcia, M. Pérez, M. Bousieguez, and P. Sanhueza, “Nurse
                 Versus Physician-Provision of Early Medical Abortion in Mexico: A Randomized Controlled
                 Non-Inferiority Trial,” Bulletin of the World Health Organization, vol. 93 (2015): 249-258.
                 34
                  D. Abbas, E. Chong, and E.G. Raymond, “Outpatient Medical Abortion is Safe and
                 Effective through 70 Days Gestation,” Contraception, vol. 92 (2015):197-199.
                 35
                   The two studies were: (1) H. Bracken, R. Dabash, G. Tsertsvadze, et al., “A Two-Pill
                 Sublingual Misoprostol Outpatient Regimen following Mifepristone for Medical Abortion
                 through 70 Days’ LMP: A Prospective Comparative Open-Label Trial,” Contraception, vol.
                 89(3) (2014): 181-186; and (2) E.V. Gouk, et al., “Medical Termination of Pregnancy at 63-
                 83 Days Gestation,” BJOG: An International Journal of Obstetrics and Gynaecology, vol.
                 106 (1999): 535-539. FDA noted that these two studies were relevant because the dosage
                 levels and routes of administration were expected to have similar or lower effectiveness
                 than the proposed dosing regimen.




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                      45,000 women evaluated using a variety of mifepristone treatment
                      regimens with different misoprostol doses, routes of administration,
                      and dosing intervals in gestations through 63 days. 36 Half of the
                      studies in this review did not require women to take misoprostol in a
                      clinic. The results showed that the rates of treatment failure and
                      ongoing pregnancy were very similar regardless of whether
                      misoprostol was taken in a clinic or at another location. A further
                      analysis of factors leading to increased failure found no evidence that
                      home use of misoprostol increased rates of treatment failure or
                      serious complications.
                 •    Use of a repeat misoprostol dose. FDA reviewed 10 studies to
                      support the use of a repeat dose of misoprostol. This repeat dose
                      would be taken in instances when complete expulsion did not occur
                      after the initial misoprostol dose and Mifeprex dose. For example, one
                      study evaluated 68 women who did not have complete expulsion after
                      taking Mifeprex and were given a second vaginal dose of misoprostol,
                      with an efficacy rate of 62 percent. 37 In another study that evaluated
                      the proposed regimen through 70 days gestation, 5 of 330 women
                      took a second dose of misoprostol, because of the absence of
                      bleeding after the first dose of misoprostol. The study found that one
                      of the five women who took the second dose did not achieve the
                      desired result. 38 In one other study that evaluated women using the
                      proposed regimen through 63 days gestation, 16 of 863 women
                      received a second dose of misoprostol, with an efficacy rate of 100
                      percent. 39 The other 7 studies had efficacy rates for an additional
                      dose of misoprostol ranging from 67 percent to 100 percent. 40



                 36
                  E.G. Raymond and D.A. Grimes, “The Comparative Safety of Legal Induced Abortion
                 and Childbirth in the United States,” Obstetrics & Gynecology, vol. 119 (2012): 215-219.
                 37
                  M.F. Reeves, A. Kudva, and M. Creinin, “Medical Abortion Outcomes after a Second
                 Dose of Misoprostol for Persistent Gestational Sac,” Contraception, vol. 78 (2008): 332-
                 335.
                 38
                  Boersma, Meyboom-de Jong, and Kleiverda, “Mifepristone Followed by Home
                 Administration of Buccal Misoprostol,” 61-66.
                 39
                   K.S. Louie, T. Tsereteli, E. Chong, F. Ailyeva, G. Rzayeva, and B. Winikoff,
                 “Acceptability and Feasibility of Mifepristone Medical Abortion in the Early First Trimester
                 in Azerbaijan,” The European Journal of Contraception & Reproductive Health Care, vol.
                 19, no. 6 (2014): 457-464.
                 40
                  Mifeprex’s sponsor noted to FDA that approximately 1 percent to 5 percent of women
                 will need a second dose of misoprostol following the initial Mifeprex dosing regimen.




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                 •    Follow-up care requirements. FDA reviewed 11 studies that
                      evaluated different methods for follow-up care after Mifeprex
                      administration. One of these studies, which FDA considered a key
                      publication on this topic, was a review of studies that assessed the
                      impact of the timing of follow-up care. 41 This study found no
                      differences in the failure rates between women who received follow-
                      up care within one week of taking mifepristone compared to those
                      who received follow-up care a week or more after taking mifepristone.
                      The other 10 studies included a variety of study designs and dosing
                      regimens through 63 days gestation, and FDA determined that the
                      various methods of follow up, including home pregnancy testing and
                      phone contact with the patient to inquire about symptoms, were
                      acceptable alternatives to an in-clinic follow up.
                 •    Change in provider qualifications. FDA reviewed four studies that
                      addressed the efficacy of medical abortion performed by nonphysician
                      health care providers; three of which used the proposed dosing
                      regimen and one evaluated vaginal administration of misoprostol. 42 In
                      these studies, almost 1,500 women had gestations through 70 days or
                      more, and over 700 of these women had nonphysician care. In
                      addition, almost 2,300 women had gestations up to 63 days, and over
                      1,000 of these women had nonphysician care. The efficacy rates were
                      greater than or equal to 96 percent across all of the studies,
                      regardless of gestational age or provider type.
                 FDA also received three letters from representatives of advocacy
                 organizations and professional associations—some of which were signed
                 by more than one entity—requesting that FDA revise the Mifeprex
                 labeling in a manner that would reflect then-current clinical practice,
                 41
                  E.G. Raymond, et al., “First-Trimester Medical Abortion with Mifepristone 200 mg and
                 Misoprostol: A Systematic Review,” Contraception, vol. 87 (2013): 26-37.
                 42
                   The three studies that used the proposed regimen were (1) H. Kopp Kallner, R.
                 Gomperts, E. Salomonsson, M. Johansson, L. Marions, and K. Gemzell-Danielsson, “The
                 Efficacy, Safety and Acceptability of Medical Termination of Pregnancy Provided by
                 Standard Care by Doctors or by Nurse-Midwives: A Randomized Controlled Equivalence
                 Trial,” BJOG: An International Journal of Obstetrics and Gynaecology, vol. 122 (2015):
                 510-517; (2) Olavarrieta, Ganatra, Sorhaindo, Karver, Seuc, Villalobos, Garcia, Pérez,
                 Bousieguez, and Sanhueza, “Nurse Versus Physician-Provision of Early Medical
                 Abortion,” 249-258; and (3) M. Puri, A. Tamang, P. Shrestha, D. Joshi, “The Role of
                 Auxiliary Nurse-Midwives and Community Health Volunteers in Expanding Access to
                 Medical Abortion in Rural Nepal,” Reproductive Health Matters, vol. 44 Supplement
                 (2015): 94-103. The study that addressed vaginal misoprostol was: I.K. Warriner, D.
                 Wang, N.T.M. Huong, K. Thapa, A. Tamang, I. Shah, et al., “Can Midlevel Health-Care
                 Providers Administer Early Medical Abortion as Safely and Effectively as Doctors? A
                 Randomized Controlled Equivalence Trial in Nepal,” Lancet, vol. 377 (2011): 1155-1161.




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                            including the new dosing regimen and extending the gestational age limit
                            through 70 days. 43 Among others, the signers of these letters included the
                            American Congress of Obstetricians and Gynecologists, American Public
                            Health Association, Gynuity Health Projects, Ibis Reproductive Health,
                            and National Abortion Federation. FDA officials told us that the peer-
                            reviewed studies the agency received from external entities (i.e., entities
                            other than Mifeprex’s sponsor) were also submitted by Mifeprex’s sponsor
                            in the supplemental application, which FDA reviewed. 44 In addition, FDA
                            officials told us that they received letters from organizations that were
                            based on other than scientific perspectives, and FDA officials noted that
                            they only considered scientific information in their review of the Mifeprex
                            supplemental application.


FDA Evaluated Safety        FDA also reviewed published studies submitted by the drug’s sponsor to
Information and Adverse     assess the safety profile of the proposed dosing regimen, including both
                            U.S. and international studies. Of the seven U.S. studies submitted with
Event Data as Part of Its
                            the Mifeprex supplemental application that examined safety issues, one
Assessment of the           specifically addressed deaths associated with Mifeprex. 45 This study
Proposed Changes to the     noted that there were no deaths among 578 patients who received the
Mifeprex Labeling           proposed Mifeprex dosing regimen through 63 days gestation. According
                            to FDA, because only one of these studies addressed deaths associated
                            with Mifeprex, this may reflect the fact that it is a rare outcome and,
                            therefore, the absence of reported deaths might not be noted by the
                            authors of a study. In addition, FDA reviewed an observational study from
                            Australia that was also submitted as part of the application. It identified
                            one death from sepsis—a life-threatening complication of an infection—




                            43
                              According to FDA, once the agency approves a drug, health care providers generally
                            may prescribe the drug for an unapproved use when they judge that it is medically
                            appropriate for their patient, a practice known as off-label use. FDA also indicated that the
                            proposed changes approved in the Mifeprex supplemental application were consistent
                            with current medical practice.
                            44
                             According to FDA officials, the agency received one study from an external entity that
                            was superseded by a more current publication on the same topic by one of the same
                            authors. In this instance, FDA officials reviewed the more current publication provided by
                            Mifeprex’s sponsor.
                            45
                             D. Grossman, K. Grindlay, T. Buchacker, K. Lane, and K. Blanchard, “Effectiveness and
                            Acceptability of Medical Abortion Provided through Telemedicine,” Obstetrics &
                            Gynecology, vol. 118 (2011): 296-303.




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                 among 13,345 pregnancy terminations using the proposed dosing
                 regimen through 63 days gestation. 46

                 In addition to reviewing published studies submitted by Mifeprex’s
                 sponsor, FDA reviewed adverse event reports from the drug’s approval
                 on September 28, 2000, through November 17, 2015. During this time,
                 there were 17 reported deaths in the United States associated with
                 Mifeprex, and 8 of those were associated with sepsis. Seven of the 8
                 sepsis cases were associated with vaginal use of misoprostol, which was,
                 but no longer is, a common practice, according to FDA. The agency found
                 that the adverse event data that it reviewed demonstrated that the rates
                 of hospitalizations, severe infections, blood loss requiring transfusion, and
                 complications related to ectopic pregnancy remained stable and
                 acceptably low.

                 FDA also reviewed common adverse events, such as nausea, vomiting,
                 diarrhea, and fever/chills, reported in U.S. and international studies
                 submitted by Mifeprex’s sponsor, and found the reporting of the
                 frequencies of these events was higher in the U.S. studies. However,
                 FDA determined that these differences likely reflected lower reporting of
                 adverse events in international studies. These common adverse events
                 are included in the Mifeprex labeling. The labeling also cites bleeding and
                 cramping, which are expected effects of the drug regimen, according to
                 FDA. Overall, FDA found the rate of deaths and nonfatal serious adverse
                 events associated with Mifeprex to be acceptably low, and data for the
                 proposed regimen did not suggest a safety profile that deviated from that
                 of the originally approved Mifeprex regimen, which was approved as part
                 of an application with restrictions to assure safe use. In addition, no
                 association between adverse outcomes and increasing gestational age
                 was identified.

                 In January 2016, FDA completed a review of adverse event data
                 associated with Mifeprex in its FAERS database, as well as the published
                 medical literature, on a potential safety concern regarding anaphylaxis
                 and angioedema associated with mifepristone. 47 FDA’s review of FAERS
                 data found one case of anaphylaxis and six cases of angioedema with
                 46
                  P. Goldstone, J. Michelson, and E. Williamson, “Early Medical Abortion Using Low-Dose
                 Mifepristone Followed by Buccal Misoprostol: A Large Australian Observational Study,”
                 Medical Journal of Australia, vol. 197 (2012): 282-286.
                 47
                   Anaphylaxis is a severe, potentially life-threatening allergic reaction. Angioedema is a
                 form of severe swelling beneath the skin’s surface.




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                 mifepristone administration, with six of the seven cases seen in women
                 using mifepristone for pregnancy termination, as opposed to using
                 mifepristone for Cushing’s syndrome. 48 The sole case of anaphylaxis
                 could not be directly attributed to mifepristone because an oral antibiotic
                 (doxycycline) was concomitantly administered, according to FDA. FDA
                 did not find any additional cases of anaphylaxis or angioedema with
                 mifepristone administration in its review of the literature. FDA noted that
                 anaphylaxis was included in the current labeling for misoprostol. Because
                 the approved Mifeprex regimen includes misoprostol, FDA determined
                 that the Mifeprex labeling should also be updated to include anaphylaxis,
                 despite the lack of anaphylaxis cases with mifepristone alone. The
                 addition of angioedema was supported by the FAERS data documented
                 in FDA’s review. As a result, anaphylaxis and angioedema were added to
                 the areas of the Mifeprex labeling that address allergic reactions.

                 The potential risk of uterine rupture was also considered in FDA’s review
                 of the Mifeprex supplemental application. FDA reviewers conducted a
                 literature search on this topic, and identified five reports of uterine rupture
                 in studies published from 2000 through 2014; three of which occurred
                 with the combined mifepristone/misoprostol dosing regimen. FDA also
                 completed a review of FAERS from January 1, 1965, through October 15,
                 2015, for reports of uterine rupture. 49 Of the 80 reports found in FAERS,
                 77 cited use of misoprostol alone, and 3 cited use of both mifepristone
                 and misoprostol. Two reports of uterine rupture in the first trimester were
                 identified in the FAERS review, both using misoprostol alone. One report
                 entailed an unspecified dose and route of misoprostol at 5 weeks
                 gestation. The other report involved vaginal administration of 800
                 micrograms of misoprostol at 8 weeks gestation for cervical preparation
                 prior to a surgical abortion in a woman with a prior uterine scar.
                 Information regarding this safety concern was added to the Mifeprex
                 labeling when the supplemental application was approved on March 29,
                 2016. The agency concluded, however, that no restriction of use was
                 needed, because this was an extremely rare adverse event.

                 FDA concluded that the evidence it reviewed and evaluated, including the
                 revisions to the REMS, demonstrated acceptable safety for the proposed
                 48
                   Cushing’s syndrome is a hormonal disorder affecting both men and women caused by
                 prolonged exposure of the body’s tissues to high levels of the hormone cortisol.
                 Mifepristone is also approved for this indication, under the brand name Korlym.
                 49
                  According to FDA, January 1, 1965, is the date that the FAERS predecessor system
                 was initiated.




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                             changes to the Mifeprex regimen, and that the dosing regimen had a
                             similar safety profile as the original regimen approved in 2000. The
                             agency further concluded that adverse events of interest—such as
                             deaths, serious infection, transfusions, ectopic pregnancies, and uterine
                             rupture—remained rare, and were not necessarily attributable to Mifeprex
                             use. 50


                             FDA’s monitoring of Mifeprex—primarily through inspections, and review
FDA’s Monitoring             and analysis of adverse event data—has not identified any significant
Activities Have Not          concerns with the safety and use of Mifeprex. The views of the
                             stakeholder organizations that we contacted regarding FDA’s monitoring
Identified Significant       of the safety of Mifeprex and the safety of the drug itself were mixed.
Safety Concerns with
Mifeprex;
Stakeholders’ Views
on FDA’s Monitoring
and the Drug’s Safety
Were Mixed
FDA’s Monitoring Has Not     Since our prior report was issued in 2008, FDA conducted three
Identified Any Significant   postmarketing adverse drug experience inspections of Mifeprex’s
                             sponsor—in 2010, 2014, and 2016. 51 It identified minor deficiencies, but
Concerns Regarding the
                             no significant safety concerns. These inspections each contained
Safety and Use of            between two and four inspection observations—that is, the investigator
Mifeprex as Marketed with    observed conditions that, in his or her judgment, constituted violations of
the Approved REMS            applicable federal requirements. In each of these inspections, FDA’s final
                             classification was “voluntary action indicated,” meaning that objectionable
                             conditions or practices were found, but they did not meet the threshold of
                             regulatory significance. According to agency officials, FDA’s practice for

                             50
                               Similarly, a recently issued study by the National Academies of Sciences, Engineering,
                             and Medicine reported that complications—such as hemorrhage, hospitalization,
                             persistent pain, infection, or prolonged heavy bleeding—are rare after a medical abortion.
                             This study cited some of the same studies FDA relied on and noted that complications
                             occur in no more than a fraction of a percent of patients. National Academies of Sciences,
                             Engineering, and Medicine, The Safety and Quality of Abortion Care in the United States
                             (Washington, D.C.: prepublication copy).
                             51
                              See GAO-08-751.




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                 inspections resulting in this classification is to review the corrective
                 actions taken by the establishment related to the objectionable conditions
                 or practices during the course of the next regularly scheduled inspection.
                 FDA officials told us that they have not yet scheduled the next
                 postmarketing adverse drug experience inspection.

                 According to FDA, violations associated with postmarketing adverse drug
                 experience inspections classified as voluntary action indicated are
                 typically technical in nature. Examples of some of the observations from
                 inspections of Mifeprex’s sponsor include the following:

                 •   In 2010, the sponsor was found to have used an older version of the
                     form used for mandatory reporting of adverse events (FDA Form
                     3500A), rather than the more recent version.
                 •   In 2014, two serious adverse events were not reported to FDA within
                     the required 15-day period, and instead were included in the
                     sponsor’s subsequent quarterly adverse event report to FDA.
                 •   In 2016, the sponsor’s quarterly adverse event reports did not include
                     the required analysis of the Postmarketing 15-day Alert Reports that
                     occurred over the period.
                 In addition to postmarketing adverse drug experience inspections,
                 Mifeprex’s sponsor was subject to a REMS compliance inspection, which
                 the agency conducted in 2014. According to FDA officials, the agency did
                 not identify any compliance issues and determined that the final
                 classification was no action indicated.

                 FDA also conducted three inspections since 2008 of the facility where
                 Mifeprex is manufactured to ensure compliance with current good
                 manufacturing practices. FDA did not find any deficiencies during two of
                 these inspections; however, in the other inspection, FDA’s findings
                 resulted in a final classification of voluntary action indicated. According to
                 the inspection report, FDA officials found an improperly performed test on
                 a raw material used in another product produced at the same facility, not
                 related to Mifeprex. A subsequent inspection determined that corrective
                 action was taken by the manufacturer.

                 In addition to inspection data, FDA conducted ongoing monitoring of
                 adverse event data. These data are collected through required reporting,
                 including periodic reports on adverse events provided by the sponsor and
                 reports by the prescriber to the sponsor, which, depending on the event,
                 may be required under the REMS. In addition, voluntary reports may be
                 made by the public. FDA compiled this information into periodic


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                 postmarketing adverse event summary reports, the interval of which
                 ranged from 2 to 18 months. These reports show that between
                 September 28, 2000, and June 30, 2017, there were approximately 4,200
                 reports of adverse events associated with Mifeprex, including
                 approximately 1,000 hospitalizations and 20 deaths. 52 These deaths
                 represented a reporting rate of 0.0006 percent for the approximately 3.2
                 million women who have used Mifeprex since 2000. For context, a study
                 of mortality among women who did not have an abortion and proceeded
                 to a live birth estimated a mortality rate of 0.009 percent. Nonfatal
                 adverse events, including blood loss requiring transfusion and infections,
                 were more common among women who took Mifeprex, but still relatively
                 low compared to the number of users. (See table 2.)




                 52
                   Mifeprex’s sponsor reported two additional deaths to FDA that had not yet been included
                 in FDA’s periodic adverse event report—one reported in September 2017 and one
                 reported in December 2017. FDA gathers and reports data on adverse events associated
                 with Mifeprex, which are not necessarily caused by Mifeprex. For example, an unrelated
                 health condition observed near the time that a woman took Mifeprex may be included in
                 FDA’s adverse event summary data.




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Table 2: Adverse Events Associated with Mifeprex Reported to FDA from September 28, 2000, through June 30, 2017

                                                                                    September 28, 2000 to October             November 1, 2012 to June 30,
                                                                                             a                                     a
                                                                                    31, 2012                                  2017
 Adverse event category                                                                                Number of cases                           Number of cases
                           b
 Any adverse event                                                                                                    2,740                                    1,439
                                              c
 Specific types of adverse events
                     d
           Deaths                                                                                                        14                                           6
           Hospitalization                                                                                              768                                      273
           Blood loss with transfusion                                                                                  416                                      182
           Infections                                                                                                   308                                      103
           Ectopic pregnancies                                                                                           66                                       31
           Severe infections                                                                                             57                                       12
Source: GAO analysis of Food and Drug Administration (FDA) data. | GAO-18-292

                                                               Notes: (1) Approximately 3.2 million women have taken Mifeprex since its initial approval in 2000. (2)
                                                               An adverse event associated with Mifeprex does not necessarily indicate that Mifeprex caused the
                                                               event.
                                                               a
                                                                FDA implemented the FDA Adverse Event Reporting System (FAERS) in 2012, and migrated all the
                                                               data from the previous reporting system to FAERS. Adverse event summary reports beginning on
                                                               November 1, 2012, are based on FAERS data. Differences may exist when comparing case counts in
                                                               FAERS with FDA’s previous reporting system. Therefore, FDA does not recommend calculating a
                                                               cumulative number for the data in table 2, with the exception of the case counts for deaths and
                                                               ectopic pregnancies. These data were harmonized by FDA and may be added.
                                                               b
                                                                Any adverse event includes all the categorized adverse events listed below it (i.e., deaths,
                                                               hospitalization, blood loss with transfusion, infections and severe infections, and ectopic
                                                               pregnancies), as well as other noncategorized events.
                                                               c
                                                                Of the six types of categorized adverse events, only deaths are solely recorded as such—that is,
                                                               they are not reflected in the tally for other categorized adverse events. The remaining categories are
                                                               overlapping, meaning that a single case could be counted within multiple categories. Also, the
                                                               hospitalization category includes both categorized and noncategorized adverse events. According to
                                                               FDA, the most common adverse events among those that are not categorized (accounting for
                                                               approximately 94 percent) are vaginal bleeding not requiring transfusion, retained products of
                                                               conception, ongoing pregnancy, cramping, dizziness, and nausea. Among noncategorized adverse
                                                               events resulting in hospitalization, the most common is dilation and curettage (accounting for
                                                               approximately 81 percent).
                                                               d
                                                                In addition to the 20 deaths included in FDA’s periodic adverse event reports, the sponsor reported
                                                               two additional deaths to FDA—one reported in September 2017 and one reported in December
                                                               2017—which the agency said will be included in its next periodic adverse event report.


                                                               Although postmarketing study commitments or requirements are another
                                                               method for obtaining additional information about drug safety and use, in
                                                               the case of Mifeprex the planned studies were deemed by FDA to be
                                                               infeasible. As we previously reported, FDA originally approved Mifeprex
                                                               subject to the sponsor’s commitment to conduct two postmarketing
                                                               studies. 53 For the first study, the sponsor agreed to assess whether
                                                               53
                                                                   See GAO-08-751.




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                 clinical outcomes were similar for patients under the care of providers
                 who possessed the surgical intervention skills to perform a surgical
                 abortion compared with patients of providers who did not have such skills
                 and referred patients for surgical abortions. FDA said the sponsor
                 reported that the number of physicians who prescribed Mifeprex and did
                 not possess the surgical intervention skills to perform a surgical abortion
                 was so small that such a study was not feasible. FDA agreed and
                 released them from that commitment in September 2008. For the second
                 study, the sponsor was required to examine, through a surveillance and
                 reporting system, the outcomes of pregnancies where the drug regimen
                 failed to result in their termination. According to FDA officials, Mifeprex’s
                 sponsor reported to FDA that over nearly 2 years of monitoring (January
                 2006 through November 2007) there were one or two instances per year
                 of the drug not resulting in termination. The sponsor told FDA that this
                 was, in part, because patients had to consent to being monitored,
                 resulting in a very small number of participants. Given these low
                 numbers, FDA agreed that this study was also not feasible.

                 We also found that FDA’s Sentinel System, which was developed to
                 enhance the agency’s ability to monitor postmarketing safety, is not a
                 viable option for monitoring the use of Mifeprex. Although it contains
                 millions of records, the Sentinel System is based on administrative and
                 claims data, and only reimbursed health care encounters, procedures,
                 and medications are captured in the system. Because of the REMS
                 restrictions placed on the drug’s distribution, Mifeprex is not dispensed in
                 pharmacies. Instead, it is only available under certain conditions and from
                 certain clinics, medical offices, and hospitals. Therefore, according to
                 FDA officials, the Sentinel System does not include a sufficient number of
                 Mifeprex dispensings to generate valid results. Nonetheless, we asked
                 FDA to query the Sentinel System for mifepristone (the active
                 pharmaceutical ingredient for Mifeprex) beginning in 2000, when the drug
                 was first approved. The results of this query showed that, until 2012,
                 mifepristone registered a small number of drug dispensings. Specifically,
                 between 2000 and 2011, only 12 individuals were identified as potentially
                 exposed to mifepristone. However, from 2012 through 2016, 243
                 individuals were identified, including both men and women. FDA officials
                 explained that another drug—Korlym, which treats Cushing’s syndrome
                 and contains the same active pharmaceutical ingredient as Mifeprex—




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                             became available in 2012. 54 Even with additional dispensings beginning
                             in 2012, FDA officials said there were still insufficient data captured to
                             enable a robust safety assessment.


Stakeholder Organizations    The views of the stakeholder organizations that provided us with
Had Mixed Views on           information on FDA’s monitoring of the safety and use of Mifeprex, and
                             the safety of the drug itself, were mixed. Stakeholders provided positive
FDA’s Monitoring of
                             comments regarding FDA’s monitoring of Mifeprex and also made
Mifeprex and of Mifeprex’s   suggestions to improve what they considered to be weaknesses. Positive
Safety                       comments included that

                             •    FDA had a very comprehensive monitoring program that mandated
                                  the reporting of serious adverse events associated with Mifeprex up
                                  through 2016. In light of the low rates of nonfatal adverse events and
                                  the good safety profile of Mifeprex, FDA no longer requires providers
                                  to report nonfatal adverse events.
                             •    FDA is properly monitoring the safety and use of Mifeprex through a
                                  robust adverse event reporting system, and FDA is doing its due
                                  diligence, based on the agency’s mission, to identify any safety issues
                                  with the drug.
                             •    FDA’s requirement that Mifeprex be subject to a REMS has made it
                                  more likely that adverse events would be reported. Specifically,
                                  additional contacts with health care providers, as is required by the
                                  Mifeprex REMS in the form of prescriber certification and patient
                                  education, generally lead to higher adverse event reporting rates than
                                  drugs without such requirements.
                             Stakeholders that either commented that FDA’s monitoring efforts could
                             be improved or that expressed concern about the agency’s ability to know
                             the extent of potential safety issues said, for example, that

                             •    FDA may only be aware of a fraction of adverse events associated
                                  with Mifeprex. There are anecdotal examples of adverse events, such
                                  as severe bleeding, that may not be reported as such or that may be
                                  interpreted by emergency health care providers as a natural

                             54
                               The analysis that was conducted in the Sentinel System only recognizes the active
                             pharmaceutical ingredient and does not distinguish between the drugs dispensed,
                             according to FDA officials. The data show both men and women receiving mifepristone
                             since 2012. Korlym’s dose of mifepristone is significantly higher than that of Mifeprex and,
                             unlike Mifeprex, the drug is taken by patients on an ongoing basis.




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                      miscarriage. Underreporting may get worse under the revised
                      Mifeprex label, which eliminates the follow-up visit and does not
                      require prescribers to report nonfatal adverse events.
                 •    FDA may not have reliable data on the number of women who have
                      used Mifeprex, which would affect the denominator for tracking
                      adverse events. With an unclear denominator, FDA may not have an
                      accurate measure of adverse event rates associated with Mifeprex.
                 Regarding the safety of Mifeprex, stakeholders we contacted provided a
                 mix of favorable comments about the drug, as well as certain safety
                 concerns. Positive comments included the following

                 •    The mortality rate associated with Mifeprex is extremely low—about
                      one fourteenth the mortality rate associated with live birth.
                 •    Nonfatal serious adverse events following Mifeprex use, such as
                      hospital admission, blood transfusion, or serious infection, are also
                      rare, occurring at rates ranging from 0.01 percent to 0.7 percent, and
                      are almost always treatable without permanent effects. Side effects,
                      such as bleeding, cramping, fever, and chills, are typically minor and
                      transient.
                 •    In the years since mifepristone’s approval, multiple clinical trials,
                      dozens of studies, and extensive experience across the globe have
                      confirmed FDA’s finding that mifepristone is a safe and reliable
                      method of abortion. Thus, any significant concern about the safety of
                      Mifeprex would be unwarranted.
                 Stakeholders also expressed some concerns about Mifeprex’s safety. For
                 example, they reported that

                 •    Mifeprex may be linked to hemorrhaging and serious infections. A
                      study was cited that showed adverse events were more likely to be
                      associated with a medical abortion rather than a surgical abortion. 55
                      Two other studies were cited that examined the effect mifepristone
                      may have on the body’s ability to control hemorrhaging and prevent



                 55
                   M. Niinimäki, et al., “Immediate Complications after Medical Compared with Surgical
                 Termination of Pregnancy,” Obstetrics & Gynecology, vol. 114, no. 4 (October 2009): 795-
                 804. This study of over 42,000 women in Finland who had abortions from 2000 to 2006
                 found that, overall, medical abortion had roughly four times the rate of adverse events
                 than surgical abortion, and hemorrhaging was experienced by 16 percent of medical
                 abortion patients compared with 2 percent of surgical abortion patients.




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                      serious infections. 56 For example, one of the studies found that
                      serious bacterial infection and sepsis may occur without the usual
                      signs of infection with the use of mifepristone for medical abortion.
                 •    Safety issues may be exacerbated by the Mifeprex labeling changes.
                      For example, a study was cited that found that the rates of pregnancy
                      termination with Mifeprex dropped from 92 percent up to the 7th week
                      of gestation to 77 percent at the 9th week. 57
                 •    Women in the later weeks of pregnancy who live far from a health
                      care provider may be at increased risk of serious hemorrhaging under
                      the revised labeling, which does not require a second visit with a
                      health care provider.
                 In addition, another comment we heard was that the agency was being
                 too restrictive by continuing to require a REMS for the drug. Specifically,
                 we were told that Mifeprex should not continue to be restricted to being
                 dispensed at a clinic, medical office, or hospital—as it is under the
                 Mifeprex REMS—because ample research shows Mifeprex to be safe
                 and adverse events to be rare. Stakeholders also noted that women in
                 rural areas may have less access to the drug, and Mifeprex’s sponsor
                 commented that the distribution restrictions likely result in the drug being
                 less accessible than it otherwise would be. 58

                 In response to the concerns regarding Mifeprex that we heard from
                 stakeholder organizations, FDA officials said that the agency approved
                 the supplemental application for Mifeprex under the same approval
                 standards that it applies to all new drug applications and supplemental
                 applications, and found that the data and information submitted in the
                 supplemental application demonstrated that Mifeprex is safe and effective

                 56
                   R.P. Miech, “Pathopharmacology of Excessive Hemorrhage in Mifepristone Abortions,”
                 Annals of Pharmacotherapy, vol. 41, no. 12 (December 2007): 2002-2007. See also, R.P.
                 Miech, “Pathophysiology of Mifepristone-induced Septic Shock due to Clostridium
                 sordellii,” Annals of Pharmacotherapy, vol. 39, no. 9 (September 2005): 1483-1488.
                 57
                  I. M. Spitz, C. W. Bardin, L. Benton, and A. Robbins, “Early Pregnancy Termination with
                 Mifepristone and Misoprostol in the United States,” New England Journal of Medicine, vol.
                 338, no. 18 (Apr. 30, 1998): 1241-1247.
                 58
                   In October 2017, a doctor and several professional health associations filed a lawsuit in
                 the U.S. District Court for the District of Hawaii to challenge the distribution restrictions
                 imposed by FDA under the Mifeprex REMS. Chelius, et al. v. Wright, No. 17-cv- 00493 (D.
                 Hawaii, filed Oct. 3, 2017). Plaintiffs argued that REMS requirements may be imposed
                 only when necessary to ensure that a drug’s benefits outweigh its risks, and that
                 restrictions requiring Mifeprex to be distributed through clinics or hospitals do not meet the
                 criteria.




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                        for its intended use. FDA officials noted that Mifeprex also has a REMS in
                        place to ensure safety. They also stressed that, as with all FDA-approved
                        drugs, Mifeprex is subject to adverse event reporting requirements and
                        continued postmarketing safety monitoring by the agency.


                        We provided a draft of this report for comment to HHS. HHS provided
Agency Comments         technical comments, which we incorporated as appropriate.


                        We are sending copies of this report to the Secretary of Health and
                        Human Services, appropriate congressional committees, and other
                        interested parties. In addition, the report will be available at no charge on
                        the GAO Web site at http://www.gao.gov.

                        If you or your staff have any questions about this report, please contact
                        me at (202) 512-7114 or crossem@gao.gov. Contact points for our
                        Offices of Congressional Relations and Public Affairs are on the last page
                        of this report. GAO staff who made major contributions to this report are
                        listed in appendix I.




                        Marcia Crosse
                        Director, Health Care




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                 List of Requesters

                 The Honorable Robert Aderholt
                 Chairman
                 Subcommittee on Agriculture, Rural Development,
                 Food and Drug Administration, and Related Agencies
                 Committee on Appropriations
                 House of Representatives

                 The Honorable Tom Cole
                 House of Representatives

                 The Honorable Chuck Fleischmann
                 House of Representatives

                 The Honorable Jeff Fortenberry
                 House of Representatives

                 The Honorable Tom Graves
                 House of Representatives

                 The Honorable Andy Harris
                 House of Representatives

                 The Honorable Steven Palazzo
                 House of Representatives

                 The Honorable Kevin Yoder
                 House of Representatives




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Appendix I: GAO Contact and Staff
Acknowledgments

                            Marcia Crosse (202) 512-7114 or crossem@gao.gov
GAO Contact
                            In addition to the contact above, Geri Redican-Bigott (Assistant Director),
Staff                       Lisa A. Lusk (Analyst-in-Charge), George Bogart, Drew Long, and Perry
Acknowledgments             Parsons made key contributions to this report. Kaitlin Farquharson also
                            made contributions to this report.




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Relations                   Washington, DC 20548

                            Chuck Young, Managing Director, youngc1@gao.gov, (202) 512-4800
Public Affairs              U.S. Government Accountability Office, 441 G Street NW, Room 7149
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                            James-Christian Blockwood, Managing Director, spel@gao.gov, (202) 512-4707
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                                                                                                                          LI ER
                        READ AND KEEP CARTON FOR COMPLETE WARNINGS AND INFORMATION
                                                                                                                                                                                                                                           Drug Facts (continued)                                 Drug Facts (continued)




                                                                                                                           H
                                                                                                                            FT E
                                                                                                                                                                                                                                           Do not use                                             Stop use and ask a doctor if
                        Drug Facts                                              Drug Facts (continued)
                                                                                                                                                                                                                                           ■ if you have ever had an allergic reaction to any     ■ you experience any of the following
                        Active ingredient                       Purpose         If an allergic reaction occurs, stop use and seek                                                                                                            other pain reliever/fever reducer                      signs of stomach bleeding:
                                                                                medical help right away.
                        (in each tablet)                       Pain reliever/
                                                                                Stomach bleeding warning: This product
                                                                                                                                                                                                                                           ■ right before or after heart surgery                    ■ feel faint
                                                                                                                                                                                                                                           Ask a doctor before use if                               ■ vomit blood
                        Ibuprofen 200 mg (NSAID)* ........... Fever reducer     contains an NSAID, which may cause severe
                                                                                                                                                                                                                                           ■ stomach bleeding warning applies to you                ■ have bloody or black stools
                        *nonsteroidal anti-inflammatory drug                    stomach bleeding. The chance is higher if you
                                                                                                                                                                                                                                           ■ you have problems or serious side effects from         ■ have stomach pain that does
                        Uses                                                    ■ are age 60 or older                                                                                                                                                                                                  not get better
                                                                                                                                                                                                                                             taking pain relievers or fever reducers
                        ■ temporarily re ieves minor aches and pains            ■ have had stomach ulcers or bleeding problems                                                                                                                                                                    ■ you have symptoms of heart
                                                                                                                                                                                                                                           ■ you have a history of stomach problems, such
                          due to:                                               ■ take a blood thinning (anticoagulant) or                                                                                                                                                                          problems or stroke:
                                                                                                                                                                                                                                             as heartburn
                          ■ headache              ■ toothache                       steroid drug                                                                                                                                                                                                    ■ chest pain
                                                                                                                                                                                                                                           ■ you have high blood pressure, heart disease,
                          ■ backache              ■ menstrual cramps            ■ take other drugs containing prescription or                                                                                                                                                                       ■ trouble breathing
                                                                                                                                                                                                                                             liver cirrhosis, kidney disease, asthma, or had
                          ■ the common cold ■ muscular aches                        nonprescription NSAIDs [aspirin, ibuprofen,                                                                                                                                                                     ■ weakness in one part
                                                                                                                                                                                                                                             a stroke
                          ■ minor pain of arthritis                                 naproxen, or others]                                                                                                                                                                                               or side of body
                                                                                                                                                                                                                                           ■ you are taking a diuretic
                        ■ temporarily reduces fever                             ■ have 3 or more alcoholic drinks every day while                                                                                                                                                                   ■ slurred speech
                                                                                    using this product                                                                                                                                     Ask a doctor or pharmacist before use if                 ■ leg swe ling
                        Warnings                                                ■ take more or for a longer time than directed                                                                                                             you are                                                ■ pain gets worse or lasts more than
                        Allergy alert: Ibuprofen may cause a severe             Heart attack and stroke warning: NSAIDs, except                                                                                                            ■ under a doctor’s care for any serious condition        10 days
                        allergic reaction, especially in people allergic to     aspirin, increase the risk of heart attack, heart                                                                                                          ■ taking aspirin for heart attack or stroke, because   ■ fever gets worse or lasts more than
                        aspirin. Symptoms may include:                          failure, and stroke. These can be fatal. The risk is                                                                                                         ibuprofen may decrease this benefit of aspirin         3 days
                        ■ hives                   ■ facial swelling             higher if you use more than directed                                                                                                                       ■ taking any other drug                                ■ redness or swelling is present in the
                        ■ asthma (wheezing) ■ shock                             or for longer than directed.                                                                                                                               When using this product                                  painful area
                        ■ skin reddening          ■ rash ■ blisters                                                                                                                                                                        ■ take with food or milk if stomach upset occurs       ■ any new symptoms appear




                                                               PANEL 1                                                                                                                                                                                                       PANEL 2




                                                                                                                                       Drug Facts (continued)                             Drug Facts (continued)
                                                                                                                                       If pregnant or breast-feeding, ask a health        Other information
                                                                                                                                       professional before use. It is especially          ■ read all warnings and directions before
                                                                                                                                       important not to use ibuprofen at 20 weeks           use. Keep carton.
                                                                                                                                       or later in pregnancy unless definitely directed   ■ store at 20-25°C (68-77°F)
                                                                                                                                       to do so by a doctor because t may cause           ■ avoid excessive heat above 40°C (104°F)
                                                                                                                                       problems in the unborn child or complications
                                                                                                                                       during delivery.                                   Inactive ingredients
                                                                                                                                       Keep out of reach of children. In case of          acetylated monoglycerides, colloidal silicon
                                                                                                                                       overdose, get medical help or contact a            dioxide, corn starch, croscarmellose
                                                                                                                                       Poison Control Center right away.                  sodium, methylparaben, microcrystalline
                                                                                                                                                                                          cellulose, pharmaceutical glaze,
                                                                                                                                       Directions                                         pharmaceutical ink, povidone,
                                                                                                                                       ■ do not take more than directed                   pregelatinized starch, propylparaben,
                                                                                                                                       ■ the smallest effective dose should               sodium benzoate, sodium lauryl sulfate,
                                                                                                                                         be used                                          stearic acid, sucrose, synthetic iron oxide,
                                                                                                                                       ■ adults and children 12 years and over: take      titanium dioxide, white wax
                                                                                                                                         1 tablet every 4 to 6 hours while symptoms
                                                                                                                                         persist                                          Questions or comments?
                                                                                                                                       ■ if pain or fever does not respond to 1 tablet,   call toll free 1-800-88-ADVIL
                                                                                                                                         2 tablets may be used
                                                                                                                                       ■ do not exceed 6 tablets in 24 hours, unless
                                                                                                                                         directed by a doctor
                                                                                                                                       ■ ch ldren under 12 years: ask a doctor
                                                                                                                                                                                                                        000067196




                                                                                                                                                               BASE PANEL

                                                                                                                                                                                                                                                                                                                                            000067196
                                                                                                                                                                                                                                                                                                                                                    DRUG FACTS TEXT DEFINED         TYPE SIZE
                                                                                                                                                                                                                                                                                                                                            • DRUG FACTS TITLE                          9 pt
                                                                                                                                                                                                                                                                                                                                            • DRUG FACTS CONTINUED                      8 pt
                                                                                                                                                                                                                                                                                                                                            • HEADINGS                                  8 pt
                                                                                                                                                                                                                                                                                                                                            • SUBHEADINGS/BODY TEXT                     6 pt
                                                                                                                                                                                                                                                                                                                                            • LEADING                                  6.5 pt
                                                                                                                                                                                                                                                                                                                                            • # OF CHARACTERS PER INCH                  <39
                                                                                                                                                                                                                                                                                                                                            • BULLETS                                   5 pt
                                                                                                                                                                                                                                                                                                                                            • SPACE BEFORE BULLET                      2 ems
                                                                                                                                                                                                                                                                                                                                            • BARLINES, HAIRLINES                   1.5 pt, .5 pt
                                                                                                                                                                                                                                                                                                                                            • SPACE BETWEEN HAIRLINES AND BOX END    2 spaces




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               -Clinical Review
               Theresa H. van der Vlugt, M.D., M.P.H.
               Standard NDA 210132
               Bijuva™ (estradiol and progesterone) capsules, for oral use

                                  severity of                             0.5 mg
                                  moderate to                              estradiol and     726 analyzed
                                  severe VMS when                          100 mg
                                  compared with                            progesterone      Safety:
                                  placebo at Weeks                         daily
                                                                                             1835 enrolled
                                  4 and 12                                0.5 mg
                                                                           estradiol and
                                                                                             postmenopausal
                                  Endometrial                              50 mg             women 40 to 65
                                  hyperplasia:                             progesterone      years of age
                                  Determine if                             daily
                                  TX-001HR given                          0.25 mg           1275 completers
                                  daily is effective                       estradiol and
                                  at achieving a ≤                         50 mg
                                  1% incidence rate                        progesterone
                                  of endometrial                           daily
                                  hyperplasia
                                  following 12                         Oral Placebo daily
                                  months of
                                  therapy
               Source: Adapted from NDA 210132, Submodule 2.7.6 Synopsis of Individual Studies, Table 1.
               Abbreviations: BA – bioavailability; PK – pharmacokinetics; BE – bioequivalence; VMS – vasomotor symptoms.

                        5.2. Review Strategy

               The available clinical data in primary 52-week, phase 3, safety and efficacy clinical Trial TXC12-
               05 (first 12-weeks placebo-controlled) provide the basis for consideration regarding the efficacy
               of TX-001HR (combined 1.0 mg estradiol plus 100 mg progesterone,                              (b) (4)


                                       oral capsules for the treatment of moderate to severe vasomotor
               symptoms, due to menopause.

               Trial TXC12-05 is the single safety and efficacy trial conducted in support of moderate to severe
               vasomotor symptoms and, is the single safety trial conducted in support of general and
               endometrial safety and long-term drug exposure data for this combined estradiol plus
               progesterone product for use in a postmenopausal woman with a uterus.


               6. Review of Relevant Individual Trials Used to Support Efficacy

                        6.1. Trial TXC12-05

                          6.1.1. Study Design

               Overview:
               TherapeuticsMD has developed an oral combination product (TX-001HR) consisting of a softgel
               formulation containing solubilized estradiol with micronized progesterone intended to treat
               moderate to severe vasomotor symptoms while protecting the endometrium from unopposed

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               progesterone, and placebo). The trial population consisted of non-hysterectomized
               postmenopausal women, 40 to 65 years of age, who met the trial entry criteria. During the
               Screening period, all trial participants were provided with a diary to self-assess the frequency
               and severity of their VMS. Trial participants who experienced a minimum daily frequency of ≥ 7
               (or ≥ 50 per week) moderate to severe hot flushes participated in the VMS subtrial for the first
               12 weeks of treatment (placebo-controlled). The VMS subtrial participants were stratified by
               treatment arm within the clinical sites, and only VMS subtrial participants had the possibility of
               being randomized to placebo.

               Trial participants who otherwise qualified for the trial except for reporting the required
               minimum daily frequency of moderate to severe hot flushes were stratified by treatment arm
               within clinical sites to one of four active treatment arms and received blinded trial medication
               for 12 months. These participants did not participate in the VMS subtrial.

               Treatments Administered:
               Randomized trial participants self-administered orally one of the following four arms of active
               TX-001HR treatment daily at bedtime with food for 12 months. Two different sizes of
               capsules were necessary to accommodate the different doses. To maintain the trial blind, the
               trial had a double-blind, double-dummy treatment. Women randomized to active treatment
               took a placebo capsule matching the alternate capsule size from their active treatment. Two
               sizes of placebo capsules that were an identical match to the active medication, but without the
               estradiol and progesterone, were taken orally by women participating in the VMS subtrial that
               were randomized to placebo.

                    Treatment 1:     Combined 1 mg estradiol/100 mg progesterone [large active; small
                                     placebo]
                    Treatment 2:     Combined 0.5 mg estradiol/100 mg progesterone [large active; small
                                     placebo]
                    Treatment 3:     Combined 0.5 mg estradiol/50 mg progesterone [large placebo; small
                                     active]
                    Treatment 4:     Combined 0.25 mg estradiol/50 mg progesterone [large placebo; small
                                     active]
                    Treatment 5:     Placebo [large placebo; small placebo]

               All trial participants self-administer orally two capsules daily at bedtime with food for 12
               months. Each trial participant was dispensed enough trial medication to last until the next
               scheduled visit, with allowance for visit windows. The participants were instructed to return
               the used and unused containers of trial medication in the original packaging to the trial site at
               Visits 2, 3, 4, 5, 6, and 7. Trial sites verified and documented compliance based on counts of
               dispensed/returned trial medication and any additional information reported by the participant
               (for example, lost capsules).
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               Following informed consent procedures, trial participants completed initial Screening
               procedures that included: demographics, medical/gynecological history, concomitant
               medications, physical examination (including height, weight, and body mass index [BMI]
               calculation), pregnancy test, vital signs, pelvic and breast examinations, laboratory
               measurements, 12-lead ECG, Pap smear, mammography, and endometrial biopsy.

               Upon completion of the initial Screening procedures, all participants who met eligibility
               requirements to continue Screening were provided with a hot flush diary that was completed
               for the remainder of the Screening period. Participants were instructed to complete the diary
               daily by recording the number and severity of hot flashes in their diaries. A minimum of 14
               consecutive days of completed hot flush diary data were required during the baseline
               assessment at Screening, and the consecutive days must have occurred within the last 14 days
               prior to Randomization (not counting the day of Randomization). The most recent seven (7)
               consecutive days of data prior to Randomization was used to determine the baseline number of
               mild, moderate, or severe hot flushes for each participant.

               At Randomization, participants who continued to meet the eligibility criteria with a minimum
               daily frequency of ≥ 7 (or ≥ 50 per week) moderate to severe hot flashes in the seven days prior
               to Randomization (Visit 1) were randomized into the VMS subtrial. All other eligible
               participants not meeting the VMS subtrial hot flash requirements were randomized into the
               non-VMS portion of the trial.

               All participants (both VMS subtrial and non-VMS subtrial) completed hot flash diaries and
               bleeding and spotting diaries through Week 12. After Week 12, all participants continued to
               complete bleeding and spotting diaries until the End-of-Trial (EOT) at Month 12.

               Trial participants in the VMS subtrial completed Clinical Global Impression (CGI) questionnaires
               at Weeks 4, 8, and 12. The Menopause-Specific Quality of Life Questionnaire (MENQOL) and
               the Medical Outcomes Study-Sleep Questionnaire (MOS - Sleep) were administered at
               Randomization, Week 12, Month 6, and Month 12.

               Vital signs and adverse event (AE) monitoring occurred throughout the trial; laboratory
               assessments were performed at Week 12, Month 6, Month 9, and Month 12 (or Early
               Termination).

               Trial participants also had blood draws to assess hormone concentration levels at Screening for
               estradiol, estrone, and progesterone, additional draws at Week 4, Week 12, Month 6, Month 9,
               and Month 12 (or Early Termination) for estradiol and estrone, and at Week 12 and Month 12
               (or Early Termination) for progesterone.


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               At Month 12 (or Early Termination), the following assessments were performed: physical
               examination (including weight), vital signs, pelvic and breast examinations, laboratory
               measurements, ECG, Pap smear, mammography, and endometrial biopsy.

               The total duration of the study was approximately 14.5 months, which included a Screening
               period of approximately 60 days prior to randomization, approximately 12 months of
               treatment, and a 15-day follow-up period.

               Clinical evaluations were performed at the following time points:
                Screening Period: Days -60 to 0
                Visit 1 (Randomization): Week 0, Day 1
                Visit 2 (Interim): Week 4, Day 28 (± 3 days)
                Visit 3 (Interim): Week 8, Day 56 (± 3 days)
                Visit 4 (Interim): Week 12, Day 84 (± 3 days)
                Visit 5 (Interim): Month 6, Day 180 (± 4 days)
                Visit 6 (Interim): Month 9, Day 270 (± 4 days)
                Visit 7 (End of Treatment): Month 12, Day 360 (± 4 days)
                Telephone Interview approximately 15 days after last dose

               Inclusion Criteria:
               For inclusion into the trial, postmenopausal women were required to fulfill all the following
               criteria:
                   1. Was a female between the ages of 40 and 65 years (at the time of Randomization) who
                       was willing to participate in the trial, as documented by signing informed consent.
                   2. Was a postmenopausal woman with an intact uterus and a Screening serum estradiol
                       level of ≤ 50 pg/mL. Postmenopausal was defined as:
                            ≥ 12 months of spontaneous amenorrhea, or
                            at least 6 months of spontaneous amenorrhea with a Screening serum follicle-
                               stimulating hormone (FSH) level of > 40 mIU/ml, or
                            ≥ 6 weeks postsurgical bilateral oophorectomy
                   3. Was seeking treatment or relief for moderate to severe vasomotor symptoms
                       associated with menopause.
                   4. To participate in the VMS subtrial, a trial participant must have reported ≥ 7 moderate
                       to severe hot flushes per day, or ≥ 50 per week, at the Baseline assessment during
                       Screening; trial participants whose hot flashes were less frequent were still able to
                       participate as non-VMS subtrial participants.
                   5. Have a BMI ≤ 34 kg/m2 (BMI values should be rounded to the nearest integer [for
                       example, 34.4 rounds down to 34, while 26.5 rounds up to 27]).
                   6. Was willing to abstain from using products (other than trial medication) that contained
                       estrogen, progestin, or progesterone throughout trial participation.

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                    7. Was judged by the investigator as being in otherwise generally good health based on a
                       medical evaluation performed during the Screening period prior to the initial dose of
                       trial medication. The medical evaluation findings must have included:
                           a) A normal or non-clinically significant physical examination, including vital signs
                               (sitting blood pressure, heart rate, respiratory rate and temperature). Sitting
                               systolic blood pressure of ≤ 140 mm Hg and diastolic blood pressure of ≤ 90 mm
                               Hg at Screening. A participant could have been taking up to two
                               antihypertensive medications.
                           b) A normal or non-clinically significant pelvic examination.
                           c) A mammogram that showed no sign of significant disease (may have been
                               performed within previous 6 months prior to initial dose of trial medication).
                               Women must have a breast imaging and reporting and database system (BI-
                               RADS) 1 or 2 to enroll in the trial. An incomplete mammogram result, for
                               example, BI-RADS 0, was not acceptable. The site obtained a copy of the official
                               report for the woman's file, and verified that the mammogram itself was
                               available if needed for additional assessment.
                           d) A normal or non-clinically significant clinical breast examination. An acceptable
                               breast examination was defined as no masses or other findings identified that
                               were suspicious of malignancy.
                           e) A normal Screening Pap smear. Participants with findings of atypical glandular
                               cells (AGC), atypical glandular cells of undetermined significance (AGU)], atypical
                               cells of undetermined significance (ASCUS) with high risk human papillomavirus
                               (HPV) type upon reflex testing, low-grade squamous intraepithelial lesion (LSIL),
                               high-grade squamous intraepithelial lesion [HSIL], atypical squamous cells of
                               undetermined significance, cannot rule out HSIL (ASC-H]=), dysplastic cells, or
                               malignant cells were excluded from Randomization.
                           f) An acceptable result from an evaluable Screening endometrial biopsy. The
                               endometrial biopsy reports by the two central pathologists at Screening must
                               have each specified one of the following: proliferative endometrium; weakly
                               proliferative endometrium; disordered proliferative pattern; secretory
                               endometrium; endometrial tissue other (including benign, inactive or atrophic
                               fragments of endometrial epithelium, glands, stroma, etc); endometrial tissue
                               insufficient for diagnosis; no endometrium identified; or no tissue identified. At
                               least one pathologist must have identified sufficient tissue to evaluate the
                               biopsy. Additionally, the endometrial biopsy reports by the two central
                               pathologists of Other Findings at Screening must have each specified one of the
                               following: endometrial polyp not present; benign endometrial polyp; or polyp
                               other.
                           g) A normal or non-clinically significant 12-lead ECG.

                        Clinical Reviewer’s Comments:
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                        The inclusion criteria in Trial TXC12-05 were comprehensive and complete, and
                        considered appropriate for this phase 3 clinical trial at the time of protocol review by
                        DBRUP. For inclusion in VMS trials, we now recommend: 1) postmenopausal women
                        with a body mass index (BMI) between 16 and 38 kg/m2, and 2) sitting systolic blood
                        pressure ≥ 130 mmHg or diastolic blood pressure ≥ 80 mmHg.

               Exclusion Criteria:
               Any of the following was regarded as a criterion for exclusion from the trial:
                       1. Currently hospitalized.
                       2. A history of thrombosis of deep veins or arteries or a thromboembolic disorder.
                       3. A history of coronary artery or cerebrovascular disease (for example, myocardial
                           infarction, angina, stroke, transient ischemic attack).
                       4. A history of a chronic liver or kidney dysfunction/disorder (for example, Hepatitis C
                           or chronic renal failure).
                       5. A history of a malabsorption disorder (for example, gastric bypass, Crohn’s disease).
                       6. A history of gallbladder dysfunction/disorders (for example, cholangitis,
                           cholecystitis), unless gallbladder had been removed.
                       7. A history of diabetes, thyroid disease or any other endocrinological disease
                           (participants with diet-controlled diabetes or controlled hypothyroid disease at
                           Screening were not excluded).
                       8. A history of estrogen-dependent neoplasia; atypical ductal hyperplasia of the breast.
                       9. A finding of clinically significant uterine fibroids at Screening.
                       10. Had a uterine ablation.
                       11. Had a history of undiagnosed vaginal bleeding.
                       12. Had any history of endometrial hyperplasia, melanoma, or uterine/endometrial,
                           breast or ovarian cancer.
                       13. Had a history of other malignancy within the last 5 years, with the exception of basal
                           cell (excluded if within 1 year) or non-invasive squamous cell (excluded if within 1
                           year) carcinoma of the skin
                       14. Had a history of any other cardiovascular, hepatic, renal, pulmonary, hematologic,
                           gastrointestinal, endocrine, immunologic, dermatologic, neurologic, psychological
                           (for example, bipolar disorder, schizophrenia, major depressive disorder), or
                           musculoskeletal disease or disorder that was clinically significant in the opinion of
                           the investigator.
                       15. Had any of the following clinical laboratory values at Screening:
                           a) fasting triglyceride of ≥ 300 mg/dL and/or total cholesterol of ≥ 300 mg/dL
                           b) positive laboratory finding for Factor V Leiden mutation
                           c) aspartate aminotransferase (AST) or alanine aminotransferase (ALT) ≥ 1.5 times
                                the upper limit of normal
                           d) fasting glucose > 125 mg/dL
                       16. Was pregnant or had a positive urine pregnancy test.
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                        17. Had contraindication to estrogen and/or progestin therapy or allergy to the use of
                            estradiol and/or progesterone or any components of the trial medication.
                        18. Used 15 or more cigarettes per day or currently use any electronic cigarettes.
                        19. Had a history of drug and/or alcohol abuse within one year of start of trial.
                        20. Had used, within 28 days prior to the initial dose of trial medication, any medication
                            known to induce or inhibit CYP3A4 enzyme activity that may have affected estrogen
                            and/or progestin drug metabolism.
                        21. Had used, within 28 days prior to Screening, or planned to use during the trial, any
                            prescription or over the counter (OTC) medication (including herbal products, such
                            as St. John’s Wort) that would be expected to alter progesterone or estrogen activity
                            or is being used to treat vasomotor symptoms.
                        22. Had used estrogen alone or estrogen/progestin, selective estrogen receptor
                            modulator (SERM), testosterone, or estrogen/testosterone for any of the following
                            time periods:
                            a) Vaginal non-systemic hormonal products (rings, creams, gels) within 7 days prior
                                to Screening, or vaginal systemic products (for example, Femring®) within 28
                                days prior to Screening.
                            b) Transdermal estrogen alone or estrogen/progestin products within 8 weeks prior
                                to Screening,
                            c) Oral estrogen and/or progestin therapy and/or SERM within 8 weeks prior to
                                Screening,
                            d) Progestational implants, estrogen or estrogen/progestational injectable drug
                                therapy within 3 months prior to Screening,
                            e) Estrogen pellet therapy or progestational injectable drug therapy within 6
                                months prior to Screening,
                            f) Percutaneous estrogen lotions/gels within 8 weeks prior to Screening,
                            g) Oral, topical, vaginal, patch, implantable or injectable androgen therapy within 8
                                weeks prior to Screening.
                        23. Had used an intrauterine device within the 12 weeks prior to Screening.
                        24. For participants in the VMS subtrial only: use of medication that may have affected
                            the outcome of the VMS endpoints within 28 days prior to Screening (for example,
                            selective serotonin reuptake inhibitors [SSRIs], serotonin and norepinephrine
                            reuptake inhibitors [SNRIs], aldomet, dopaminergic or antidopaminergic drugs,
                            gabapentin, clonidine, or bellergal).
                        25. Had any reason which, in the opinion of the investigator, would prevent the woman
                            from safely participating in the trial or complying with protocol requirements.
                        26. Had a Screening endometrial biopsy sample that was found by both primary
                            pathologists to have endometrial tissue insufficient for diagnosis, no endometrium
                            identified, or no tissue identified (with the approval of the medical monitor, the
                            Screening endometrial biopsy could have been repeated once).
                        27. Endometrial polyps with atypical nuclei reported by at least one central pathologist.
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                        28. Had contraindication to any planned study assessments (for example, endometrial
                            biopsy).
                        29. Had participated in another clinical trial within 30 days prior to Screening, had
                            received an investigational drug within the three months prior to the initial dose of
                            trial medication, or was likely to participate in a clinical trial or receive another
                            investigational medication during the study.
                        30. Current use of marijuana.

                        Clinical Reviewer’s Comments:
                        The exclusion criteria in Trial TXC12-05 were comprehensive and complete, and
                        considered appropriate for this phase 3 clinical trial.

               Individual Trial Participant Stopping Criteria:
               Women were removed from the trial if any of the following circumstances occurred:
                            The woman withdrew her consent for any reason.
                            The woman’s condition worsened to the degree that the investigator felt it was
                               unsafe for the woman to continue in the trial.
                            If it was difficult/impossible to obtain laboratory samples.
                            If the woman’s drug code was unblinded.
                            If an AE occurred for which the woman desired to discontinue treatment or the
                               investigator determined that it was in the woman’s best interest to be
                               discontinued.
                            If there was a significant protocol deviation/violation or a trend in
                               deviations/violations (defined as a deviation/violation that affects the woman’s
                               rights, safety, or the integrity of the trial data).
                            If a concomitant therapy was reported or required which was likely to interfere
                               with the results of the trial or compromise trial participant safety.
                            If the woman was lost to follow-up. The investigator was to document efforts to
                               attempt to reach the participant at least twice by telephone and by a certified
                               follow-up letter before considering that the participant was lost to follow-up.
                            If a woman became pregnant. If a pregnancy was reported during trial
                               participation, the pregnancy was to be followed as medically appropriate.
                            Administrative reasons.

               If a woman was discontinued from the trial for any reason, every attempt was to be made to
               bring the woman to the clinic and perform the end-of-trial(EOT) procedures. Any outstanding
               data was captured and the trial medication, diaries and supplies were collected.

               If a woman discontinued from the trial at any time due to an adverse event (AE), the reason for
               discontinuation, the nature of the event and its clinical course were fully documented. The
               investigator followed the woman until the AE resolved, became clinically insignificant, or was
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               stabilized, unless the woman was lost to follow-up. If a woman discontinued or withdrew, she
               was not replaced.

               Primary Efficacy Endpoints (VMS Subtrial):
               The following co-primary efficacy endpoints were assessed in the VMS subtrial:
                    Mean change in frequency of moderate to severe VMS from Baseline to Week 4 in an
                       active treatment group compared with placebo
                    Mean change in frequency of moderate to severe VMS from Baseline to Week 12 in an
                       active treatment group compared with placebo
                    Mean change in severity of moderate to severe VMS from Baseline to Week 4 in an
                       active treatment group compared with placebo
                    Mean change in severity of moderate to severe VMS from Baseline to Week 12 in an
                       active treatment group compared with placebo

                        Clinical Reviewer’s Comments:
                        The primary efficacy endpoints in the Trial TXC12-05 VMS subtrial are appropriate, and
                        comply with the Agency’s 2003 draft Guidance for Industry entitled “Estrogen and
                        Estrogen/Progestin Drug Products to Treat Vasomotor Symptoms and Vulvar and
                        Vaginal Atrophy symptoms – Recommendations for Clinical Evaluation (hereafter
                        referred to as the Agency’s draft 2003 Hormone Therapy Guidance for Industry).7

               Secondary Endpoints from the VMS Subtrial:
                   Mean change in frequency of moderate to severe VMS from Baseline to each week up
                     to Week 12 in an active treatment group compared with placebo.
                   Mean change in severity of moderate to severe VMS from Baseline to each week up to
                     Week 12 in an active treatment group compared with placebo.
                   Mean change in frequency of mild, moderate and severe VMS from Baseline to each
                     week up to Week 12 in an active treatment group compared with placebo.
                   Mean change in severity of mild, moderate and severe VMS from Baseline to each week
                     up to Week 12 in an active treatment group compared with placebo.
                   Percentage of participants with 50% and, separately, 75% reduction in frequency of
                     moderate to severe VMS from Baseline at each week up to Week 12 in an active
                     treatment group compared with placebo.
                   Percentage of participants with 50% and, separately, 75% reduction in frequency of
                     mild, moderate and severe VMS from Baseline at each week up to Week 12 in an active
                     treatment group compared with placebo.

               7 The Agency’s 2003 draft hormone therapy clinical evaluation Guidance for Industry can be viewed at

               http://www.fda.gov/downloads/ScienceResearch/SpecialTopics/WomensHealthResearch/UCM133343.pd



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                       Clinical Global Impression (CGI) distribution (number and percentage of participants in
                        VMS substudy only) at Week 4, Week 8, and Week 12, with mean change in the
                        frequency of moderate to severe VMS from Baseline summarized within each CGI
                        category at Weeks 4, 8, and 12 (Gerlinger method). This was utilized to evaluate
                        minimum clinically important changes in VMS frequency that are associated with each
                        CGI category.
                       Change from Baseline in Menopause-Specific Quality of Life (MENQOL) evaluation
                        parameter,
                       Change from Baseline in Medical Outcome Study - Sleep (MOS – Sleep) evaluation
                        parameters.

               Other Secondary Efficacy Endpoints (Modified Intent-to-Treat):
               Other secondary efficacy endpoints include:
                   Change from Baseline in MENQOL evaluation parameters
                   Change from Baseline in MOS - Sleep evaluation parameters

                        Clinical Reviewer’s Comments:
                        On November 7, 2013, in an Advice/Information Request (A/IR) letter, TherapeuticsMD
                        was advised that:
                             only data collected on the primary endpoint will be presented in product
                                labeling. Data collected for the proposed secondary endpoints in the vasomotor
                                symptoms (VMS) subtrial will not be used to determine the effectiveness of the
                                drug product for the indications sought, nor will this data appear in product
                                labeling, and
                             the findings from secondary endpoints and other endpoints (for example,
                                MENQOL evaluation parameters and MOS-Sleep evaluation parameters) would
                                not be used to support the effectiveness of the drug product to relieve hot
                                flushes and would not appear in labeling.

               Primary Safety Endpoints:
               The primary safety endpoint is the incidence of endometrial hyperplasia at 12 months (to
               demonstrate a hyperplasia proportion that was ≤ 1% with an upper bound of the one-sided 95
               percent confidence interval [CI] for that rate that does not exceed 4%) based on an a priori plan
               which a consensus among two out of three pathologists was the final endometrial pathology
               diagnosis.

               For the primary endpoint, all endometrial biopsies were centrally read by three pathologists.
               Each pathologist classified the endometrial biopsies into one of the following three categories:
                    Category 1: Non-endometrial malignancy/non-hyperplasia includes proliferative
                      endometrium, weakly proliferative endometrium, disordered proliferative pattern,
                      secretory endometrium, endometrial tissue (other) [benign, inactive or atrophic
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                        fragments of endometrial epithelium, glands, stroma, etc], endometrial tissue
                        insufficient for diagnosis, no endometrium identified, no tissue identified, other.
                       Category 2: Endometrial hyperplasia includes simple hyperplasia with or without atypia
                        and complex hyperplasia with or without atypia.
                       Category 3: Endometrial malignancy.

                        Clinical Reviewer’s Comments:
                        The Agency’s draft 2003 hormone therapy Guidance for Industry recommends that
                        standardized criteria, as provided in Blaustein’s pathology text (Pathology of the Female
                        Genital Tract), be used for the diagnosis of endometrial hyperplasia or cancer.7
                        Standardized Histologic Characteristics of the Endometrium under Blaustein’s Pathology
                        of the Female Genital Tract is divided into the following individual histologic
                        characteristics:
                            0. No tissue
                            1. Tissue insufficient for diagnosis
                            2. Atrophic
                            3. Inactive
                            4. Proliferative
                                    a. Weakly proliferative
                                    b. Active proliferative
                                    c. Disordered proliferative
                            5. Secretory
                                a. Cystic type
                                b. Progestational type
                            6. Menstrual type
                            7. Simple hyperplasia without atypia
                            8. Simple hyperplasia with atypia
                            9. Complex hyperplasia without atypia
                            10. Complex hyperplasia with atypia
                            11. Carcinoma (specify type)

                        No grouping of the 11 individual histologic characteristics is recommended.

               Secondary Safety Endpoints:
               Endometrial biopsies were performed at Screening and at Visit 7 (Month 12)/End-of-Trial
               by a board-certified gynecologist and the procedure, including instrument used, was
               documented in the trial participant’s source file. Trial participants who discontinued trial
               participation after receiving ≥ 12 weeks of trial medication were also required to have an
               endometrial biopsy. Unscheduled endometrial biopsies were performed during the trial, if
               indicated for medical reasons.

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               Biopsy specimens were shipped to a central laboratory (           (b) (4)
                                                                                         for preparation of slides.
               To ensure uniformity in interpretation, a chartered Pathology Committee consisting of four
               independent pathologists (one pathologist was a back-up in the event of illness or unavailability
               of the other pathologists), who are experts in the field of endometrial pathology, assessed the
               endometrial biopsy samples in a blinded fashion.

               At Screening, endometrial biopsies were read centrally by two pathologists. If at least one
               pathologist assessed the endometrial biopsy as endometrial hyperplasia, endometrial cancer,
               or if either pathologist identifies an endometrial polyp with either hyperplasia, glandular atypia
               of any degree (for example, atypical nuclei) or cancer, the woman was excluded from the trial.
               Additionally, at least one pathologist had to identify sufficient tissue to evaluate the biopsy for
               trial eligibility.

               With the approval of the medical monitor, the Screening endometrial biopsy may have been
               repeated once when an initial endometrial biopsy was performed and both primary
               pathologists reported endometrial tissue insufficient for diagnosis, no endometrium identified,
               or no tissue identified, and if the woman had met all other protocol-specified eligibility criteria
               to date.

               The Month 12/ End-of-Trial, Early Termination, and on-treatment unscheduled biopsies
               were centrally read by three pathologists. The End-of-Trial or Early Termination biopsy may
               have been repeated once if all three of the pathologists reported endometrial tissue insufficient
               for diagnosis, no endometrium identified, or no tissue identified. End-of-Trial or Early
               Discontinuation endometrial biopsies that were repeated per protocol must have been
               performed within 30 days of the final dose of trial medication.

               Per the application, the reads of the two primary pathologists were utilized. Consensus was
               reached when the two primary pathologist readers agreed on any of the above categories. For
               example, any two subcategories of “Non-endometrial malignancy/non-hyperplasia” were
               classified as “Category 1: Non-endometrial malignancy/non-hyperplasia”; if the primary
               pathologists disagreed on the presence of hyperplasia, the result of the third pathologist was
               utilized and the final decision regarding the presence of hyperplasia was based on the diagnosis
               of the majority. If all three readings were disparate (each fell into a different category –
               Category 1, 2, or 3), the final diagnosis was based on the most severe of the three readings. A
               secondary analysis was performed utilizing the three pathologist reads as described in Section
               9.5.4.2.1. If a woman was diagnosed with endometrial hyperplasia at any time during the trial,
               they were given appropriate treatment (progestogen) at the discretion of the investigator and
               every attempt to follow-up to resolution was made.

               For unscheduled biopsies, the histological diagnosis of endometrial polyp did not require
               withdrawal, unless hyperplasia or atypical nuclei were present.
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               Per the application, a supplemental secondary analysis was performed based on the results
               from the three pathologists. In this supplemental analysis, the final diagnosis was based on
               agreement of two of the three pathologists reads. Consensus was reached when two of the
               three pathologist readers agreed on any of the above categories. For example, any two
               subcategories of “Non-endometrial malignancy/non-hyperplasia” was classified as “Category 1:
               Non-endometrial malignancy/non-hyperplasia.” If all three readings were disparate (each fell
               into a different category – Category 1, 2, or 3), the final diagnosis was based on the most severe
               of the three readings.

                        Clinical Reviewer’s Comments:
                        This reviewer considers the endometrial biopsy specimen diagnosis of three individual,
                        independent pathologists to be the primary analysis, and not a supplemental secondary
                        analysis. The 2003 draft Hormone Therapy Guidance for Industry recommends
                        concurrent readings by three independent expert pathologists from institutions with
                        independent fiduciary and organizational reporting. Each pathologist should be blinded
                        to the treatment group and to the readings of the other pathologists. The concurrence
                        of two of the three pathologists is accepted as the final diagnosis. If there is no
                        agreement among the three pathologists, the most severe pathologic diagnosis would be
                        used as the final diagnosis.

                        See Subsection 8.5.1 of this review for a more detailed discussion of the reported
                        endometrial safety findings.

               Other Secondary Endpoints (All Participants):
               Other secondary endpoints included:
                   Proportion of women with cumulative amenorrhea from Day 1 to Day 364
                   No bleeding: percent by cycle and cumulative for consecutive 28-day cycles
                   Number of days with bleeding/spotting

               Additional Safety Endpoints:
               Overall safety variables included:
                   Trial participant incidence of AEs and serious adverse events (SAEs)
                   Trial participant incidence of endometrial polyps
                   Change from Baseline in:
                           Clinical laboratory testing (hematology, clinical chemistry, coagulation and
                              urinalysis [where applicable])
                           Vital signs
                           Physical examination findings
                           Body weight and BMI

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                             Gynecological Examination (pelvic examination, Pap smear, and breast
                              examination)
                             Mammogram (BI-RADS)
                             12-lead ECG
                             Hormone concentration levels for serum estradiol, estrone, and progesterone

               Statistical Analysis Plan (SAP):
               Statistical analysis and programming of tables and listings was conducted by a designee of the
               sponsor, using SAS® Release 9.2 or higher (SAS Institute Inc, Cary, North Carolina, USA). The
               statistical analysis plan, version 1 for Trial TXC12-05, was submitted September 21, 2016;
               version 2 for Trial TXC12-05, was submitted November 15, 2016.

               The overall Trial TXC12-05 sample size was based on the target that the combination therapy
               was effective at achieving a ≤ 1% incidence rate of endometrial hyperplasia following 12-
               months of therapy, and that the upper bound of the 95% confidence interval of the estimated
               incidence rate was ≤ 4%. The VMS subtrial sample size was based on the expected changes in
               average weekly frequency and severity of VMS from Baseline to Weeks 4 and 12.

               The sample size for the VMS endpoint was based on the change in frequency and severity of
               hot flashes between the active treatment groups and placebo. All attempts were made to
               prevent any missing values. Each of the four active treatment groups and the four co-primary
               outcomes was compared to the placebo group in a hierarchical order to preserve the test level
               of significance for each comparison at 5% (two-sided). A Mixed Effect Model Repeat
               Measurement (MMRM) model was used for the final analysis, and a two-group t-test was used
               to estimate sample size requirements for the VMS subtrial.

               Datasets Analyzed:
                   Safety Population - All women who were randomly assigned and had taken at least one
                      capsule of trial medication formed the Safety population. Analysis was based on the
                      actual treatment the women took on trial Day 1. Trial participants who were found to
                      have participated in the trial twice with two separate randomization numbers were
                      included in the AEs and endometrial safety summaries only.
                   Endometrial Safety (ES) Population - The analysis population for endometrial safety is
                      the ES population. An ES trial participant is all randomized trial participants who:
                           had taken at least one capsule of trial medication as documented (analysis was
                              based on the actual treatment the trial participant took on trial Day 1);
                           had no major protocol violations (the medical monitor made the final decision
                              on exclusion and the list was provided prior to unblinding);
                           had an acceptable biopsy at Baseline (at least one endometrial biopsy with
                              evaluable tissue and no read of endometrial hyperplasia or cancer, or


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                               endometrial polyp with either hyperplasia, glandular atypia of any degree (for
                               example, atypical nuclei) or cancer; and
                              had an endometrial biopsy at Month 12 (defined as on or after trial Day 326) or
                               had a diagnosis of endometrial hyperplasia prior to Month 12.

                        Participating women who had an endometrial malignancy were not included in the
                        numerator or denominator of the incidence calculation, per the SAP. Participating
                        women who were found to have participated in the trial twice with two separate
                        randomization numbers were included in the AEs and endometrial safety summaries
                        only.

                        The incidence rate of endometrial hyperplasia at Month 12 was calculated as follows:
                                      I=      A/B
                        Where         I=      incidence rate at Month 12 evaluation
                                      A=      all new participants with biopsies positive for endometrial
                                              hyperplasia during the study, but post-Baseline
                                      B=      all participants with biopsies following Month 11 meeting the
                                              criteria specified above, plus all participants with biopsies positive
                                              for endometrial hyperplasia by any of the pathologist before
                                              Month 11

                        An upper one-sided 95% confidence limit for the binomial proportion was calculated. In
                        addition, 95% two-sided CIs were calculated for pairwise differences between groups in
                        hyperplasia incidence.
                       Modified Intent-to-Treat (MITT) Population - The overall MITT population was
                        comprised of all randomized women who took at least one dose (two capsules, one
                        active and one placebo) of trial medication. Analysis was based on the treatment group
                        to which the woman was randomized. Trial participants who were found to have
                        participated in the trial twice with two separate randomization numbers were excluded.
                       MITT- VMS Population - The MITT – VMS population was the primary efficacy
                        population. To be included in the MITT-VMS population, women must have been
                        randomized to the VMS subtrial, had taken at least one dose (two capsules, one active
                        and one placebo) of trial medication, and:
                            1) had at least five (5) days of VMS diary data for Baseline measurement of
                                frequency and severity of moderate to severe hot flushes; and
                            2) had at least four (4) days of VMS diary data for one on-treatment week of
                                reporting of frequency and severity of hot flushes following initiation of trial
                                medication.
                        Analysis was based on the treatment group to which the woman was randomized.



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                       Efficacy Evaluable (EE) – VMS - Trial participants were included in the EE-VMS
                        population if they were randomized to the VMS subtrial, had taken at least one dose
                        (two capsules, one active and one placebo) of trial medication, and:
                            1) had at least seven per day or 50 per week moderate to severe hot flashes at
                                Baseline;
                            2) had no major protocol violations that could impact the VMS endpoint (the
                                medical monitor made the final decision on exclusion and the list was provided
                                by the sponsor prior to unblinding);
                            3) had at least four (4) days of VMS diary data for one on-treatment week of
                                reporting of frequency and severity of hot flashes following initiation of trial
                                medication; and
                            4) had no dispensing error (defined as a participant who initiated the trial with one
                                treatment group but during the first 12-weeks of treatment inadvertently
                                received an incorrect wallet from another randomization code).
                       Bleeding Population - Trial participants who took at least one dose (two capsules, one
                        active and one placebo) of trial medication and who had at least one post- Baseline
                        bleeding/spotting diary entry comprised the bleeding population. Women evaluated
                        included the safety population less any women who had no bleeding/spotting diary
                        data. Bleeding data collected for the day on which an endometrial biopsy was
                        performed, and for the six (6) days thereafter, was excluded for both cumulative and
                        non-cumulative summaries. The last available data before the biopsy was performed
                        was carried forward for those days (LOCF). The number of days with bleeding/spotting,
                        as reported on subject diaries, was summarized by cycle and treatment group.

                        No bleeding was defined as absence of bleeding. Within each treatment group, the
                        percent of women with no bleeding was calculated by cycle and for consecutive cycles
                        and compared between active and placebo treatments.

                        Cumulative rates for no bleeding was defined as the percentage of women who
                        reported consecutive cycles of no bleeding for a given cycle of time. For example, if a
                        woman had no bleeding from Day 1 to Day 364, then this woman had no bleeding from
                        the 1st to 13th cycle. The number and percentage of woman with no bleeding for each
                        cumulative period was summarized separately for the 1st to 13th cycle, 2nd to 13th
                        cycle, …, and the 13th cycle.

               Efficacy Analysis:
               All efficacy analyses were performed on the MITT-VMS and EE-VMS populations. The primary
               population was the MITT-VMS population and the secondary population for all efficacy
               analyses was the more restrictive EE-VMS population.

               Four pair-wise comparisons were performed for Week 4 and Week 12 (co-primary) changes
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               from Baseline:
                   Combined 1 mg estradiol/100 mg progesterone formulation versus placebo
                   Combined 0.5 mg estradiol/100 mg progesterone formulation versus placebo
                   Combined 0.5 mg estradiol/50 mg progesterone formulation versus placebo
                   Combined 0.25 mg estradiol/50 mg progesterone formulation versus placebo

               Within each dose level/placebo comparison, there were four co-primary efficacy endpoints.
               The four co-primary endpoints were each tested at level alpha (0.05, two-tailed).

               Within each active dose/placebo comparison, there were four co-primary endpoints:
                   Mean change in frequency of moderate to severe VMS from Baseline to Week 4
                   Mean change in frequency of moderate to severe VMS from Baseline to Week 12
                   Mean change in severity of moderate to severe VMS from Baseline to Week 4
                   Mean change in severity of moderate to severe VMS from Baseline to Week 12.

               A gatekeeping (hierarchal) testing procedure was followed to account for the multiple
               comparisons of testing placebo to each of the four active doses of TX-001HR and the multiple
               testing of the four co-primary endpoints. The testing started by examining the highest dose
               (combined 1 mg estradiol plus 100 mg progesterone) for the co-primary endpoints. If the four
               p-values for the co-primaries were significant (p ≤ 0.05) then the hypothesis testing continued
               to the next dose (combined 0.5 mg estradiol plus 100 mg progesterone) for each of the co-
               primary endpoints, as described above. If at any point the hypothesis testing yielded a non-
               significant result, the testing was stopped. The gatekeeping procedure described was also
               followed for all secondary efficacy endpoint comparisons of each active treatment group with
               placebo.

               The weekly number of moderate to severe hot flushes for each assessment week (Baseline, and
               Weeks 1 through Week 12) was derived as:
                   Weekly Frequency = total number of moderate and severe hot flushes for the
                     participant’s week.

               The weekly severity of hot flushes for the change in severity of moderate to severe vasomotor
               symptoms was derived as:
                   Baseline Weekly Severity Score = (number of moderate hot flushes for 7 days) x 2 +
                     (number of severe hot flushes for 7 days) x 3/total number of moderate to severe hot
                     flushes over 7 days.
                   On Treatment Weekly Severity Score = (number of mild hot flushes for 7 days) x 1 +
                     (number of moderate hot flushes for 7 days) x 2 + (number of severe hot flushes for 7
                     days) x 3/total number of mild, moderate and severe hot flushes over 7 days).


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               The weekly frequency of mild, moderate and severe hot flushes was calculated using the same
               method as for moderate to severe hot flushes but with the number of mild hot flushes added to
               the sum. Weekly severity of hot flushes for the change in severity of mild, moderate to severe
               VMS was derived in the same way as above except in the Baseline calculation, mild hot flushes
               were included. A weekly severity score of zero (0) was assigned for participants reporting no
               hot flushes for a given assessment week.

               Absolute changes from baseline and respective differences from placebo in frequency and
               severity of VMS was listed and summarized. Means, SDs, minimum (MIN) and maximum
               (MAX) are provided for the co-primary efficacy endpoints. A mixed model repeated measure
               (MMRM) analysis was applied to the 12 weekly change scores. The model included Baseline as
               covariate, treatment, trial week, and treatment-by-trial week interaction as fixed factors, and
               participant as the repeated measure unit. Trial week pertained to the 12-individual weekly hot
               flushes frequency derivations. The variance-covariance matrix of the change scores over time
               was assumed to be unstructured. If the computation did not converge, the covariance
               structure was reduced from, in the order of, “unstructured (UN)”, “Toeplity (TOEP)”,
               “autoregressive order 1 [AR(1)]” to “compound symmetry (CS)”. Ninety-five percent (95%),
               two-sided CIs were derived for least square (LS) mean changes from Baseline and respective
               differences from placebo for each dose and week. The gatekeeping procedure for the primary
               efficacy endpoints already described was used in the interpretation of P-values and the
               confidence intervals.

               In addition to the principal MMRM analysis of the four co-primary endpoints, a sensitivity
               evaluation was also conducted using an analysis of covariance (ANCOVA); SAS generalized linear
               model utilizing last observation carried forward (LOCF). For women who discontinued the trial
               prior to Week 12 or who had missing data at Weeks 4 or 12, the last observed weekly hot flush
               frequency or severity value was carried forward to all visits through Week 12. Women who had
               no post-Baseline data were not included in the ANCOVA consideration (that is, there was no
               baseline observation carried forward application). The sensitivity evaluation was specifically
               designed to provide support for the MMRM; the primary MMRM approach was considered to
               have the most power for statistical inferences and was the principal a priori analysis method.

               Analysis of Secondary Efficacy - Frequency and Severity of VMS:
               Similar to the continuous co-primary endpoints for Weeks 4 and 12, the same MMRM model
               was applied to the changes in frequency and severity of mild, moderate and severe vasomotor
               symptoms for each assessment week up to Week 12. The calculation for frequency and
               severity of hot flushes remained the same, with the exception that hot flushes of all severities
               was included.

               Responder Analysis:
               Responders were defined as the percent of women with 50% and, separately, 75% reduction
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               from Baseline in moderate to severe VMS at Week 12 compared between active and placebo
               treatments. These proportions were calculated and presented graphically. Simple comparisons
               of proportions using the Fisher’s exact test were made for each active treatment group
               compared to placebo. The gatekeeping approach for the primary efficacy endpoints previously
               described was employed for the formulation of inferences concerning each comparison.

               Analysis of Secondary Efficacy:
                   CGI: The number and percentage of women for each category of the CGI was
                      summarized at Week 4, Week 8, and Week 12, with mean change in the frequency of
                      moderate to severe VMS from Baseline summarized within each CGI category at Weeks
                      4, 8, and 12. Trial participants were asked to answer the question “Rate the total
                      improvement, whether or not in your judgement it is due entirely to drug treatment.
                      Compared to your condition at administration to the study, how much has it changed
                      using the following scale:
                            Very much improved
                            Much improved
                            Minimally improved
                            No change
                            Minimally worse
                            Much worse
                            Very much worse”

                        Descriptive analyses were conducted to show the mean changes in frequency of
                        moderate to severe VMS at 12 weeks by different categories of change based on the
                        CGI. The analysis focused on Baseline to Week 12 changes for estimating minimal
                        important differences and responder groups. The minimal important difference was
                        defined based on CGI ratings of ‘minimally improved’ category, and clinically meaningful
                        responders were defined based on CGI ratings of ‘much improved’ or ‘very much
                        improved’ combined. The worsen/no change group was defined as consisting of those
                        women reporting CGI ratings of ‘no change’ to ‘very much worse’. Based on these CGI
                        response groupings, a three-categorical variable was constructed and a nonparametric
                        discriminate analysis was conducted utilizing bootstrapping methods.
                       MENQOL: The MENQOL questionnaire assessed changes in quality of life of study
                        subjects over a one-month period. It was self-administered and was measured at
                        Baseline, Week 12, Month 6 and Month 12 during the trial. It is composed of 29
                        questions distributed across four domains: vasomotor, psychosocial, physical and
                        sexual. Change from Baseline in monthly scores were summarized and described within
                        each treatment group for the MITT-VMS population and the MITT population.
                       MOS – Sleep: The MOS - Sleep self-report questionnaire is composed of 12 items that
                        measure six dimensions of sleep over the past four weeks. It was self-administered and
                        was measured at Baseline, Week 12, Month 6, and Month 12 during the trial. Change in
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    HIGHLIGHTS OF PRESCRIBING INFORMATION                                            —————— DOSAGE FORMS AND STRENGTHS ——————
    These highlights do not include all the information needed to use               PREMPRO Tablets: 0.3 mg CE plus 1.5 mg MPA, 0.45 mg CE plus 1.5 mg
    PREMPRO/PREMPHASE safely and effectively. See full prescribing                  MPA, 0.625 mg CE plus 2.5 mg MPA, 0.625 mg CE plus 5 mg MPA.
    information for PREMPRO/PREMPHASE.
                                                                                    PREMPHASE Tablets: 0.625 mg CE, 0.625 mg CE plus 5 mg MPA.
    PREMPRO® (conjugated estrogens/medroxyprogesterone acetate
    tablets) PREMPHASE® (conjugated estrogens plus                                   ————————— CONTRAINDICATIONS ————————
    medroxyprogesterone acetate tablets)                                            • Undiagnosed abnormal genital bleeding (4)
    Initial U.S. Approval: 1995                                                     • Known, suspected, or history of breast cancer (4, 5.2)
                                                                                    • Known or suspected estrogen-dependent neoplasia (4, 5.2)
     WARNING: CARDIOVASCULAR DISORDERS, BREAST CANCER,
           ENDOMETRIAL CANCER and PROBABLE DEMENTIA                                 • Active DVT, PE, or a history of these conditions (4, 5.1)
           See full prescribing information for complete boxed warning.             • Active arterial thromboembolic disease (for example, stroke and MI),
    Estrogen Plus Progestin Therapy                                                   or a history of these conditions (4, 5.1)
    • Estrogen plus progestin therapy should not be used for the                    • Known anaphylactic reaction or angioedema to
         prevention of cardiovascular disease or dementia (5.1, 5.3)                  PREMPRO/PREMPHASE (5.15, 5.16)
    • The Women’s Health Initiative (WHI) estrogen plus progestin                   • Known liver dysfunction or disease (4, 5.10)
         substudy reported increased risks of stroke, deep vein thrombosis          • Known protein C, protein S, or antithrombin deficiency, or other
         (DVT), pulmonary embolism (PE), and myocardial infarction (MI)               known thrombophilic disorders (4)
         (5.1)
                                                                                    • Known or suspected pregnancy (4, 8.1)
    • The WHI estrogen plus progestin substudy reported increased risks
         of invasive breast cancer (5.2)                                             ——————— WARNINGS AND PRECAUTIONS ——————
    • The WHI Memory Study (WHIMS) estrogen plus progestin                          • Estrogens increase the risk of gallbladder disease (5.4)
         ancillary study of WHI reported an increased risk of probable              • Discontinue estrogen if severe hypercalcemia, loss of vision, severe
         dementia in postmenopausal women 65 years of age and older (5.3)             hypertriglyceridemia or cholestatic jaundice occurs (5.5, 5.6, 5.9,
                                                                                      5.10)
    Estrogen-Alone Therapy
                                                                                    • Monitor thyroid function in women on thyroid replacement therapy
    • There is an increased risk of endometrial cancer in a woman with a              (5.11, 5.19)
         uterus who uses unopposed estrogens (5.2)
                                                                                      ————————— ADVERSE REACTIONS —————————
    • Estrogen-alone therapy should not be used for the prevention of               In two prospective, randomized clinical studies, the most common adverse
         cardiovascular disease or dementia (5.1, 5.3)
                                                                                    reactions > 5 percent are abdominal pain, asthenia, back pain, headache,
    • The WHI estrogen-alone substudy reported increased risks of                   flatulence, nausea, depression, pruritus, breast pain, dysmenorrhea, and
         stroke and DVT (5.1)                                                       leukorrhea. (6.1)
    • The WHIMS estrogen-alone ancillary study of WHI reported an
         increased risk of probable dementia in postmenopausal women 65             To report SUSPECTED ADVERSE REACTIONS, contact Pfizer Inc.
         years of age and older (5.3)                                               at 1-800-438-1985 or FDA at 1-800-FDA-1088 or
                                                                                    www.fda.gov/medwatch.
    ------------------------ RECENT MAJOR CHANGES ---------------------------
     Warnings and Precautions, Malignant Neoplasms (5.2)        11/2017              ————————— DRUG INTERACTIONS —————————
                                                                                    •  Inducers and/or inhibitors of CYP3A4 may affect estrogen drug
     ———————— INDICATIONS AND USAGE ————————                                           metabolism (7.1)
    PREMPRO/PREMPHASE is an estrogen plus progestin indicated in a
    woman with a uterus for:
                                                                                    • Aminoglutethimide administered concomitantly with MPA may
                                                                                       significantly depress the bioavailability of medroxyprogesterone
    • Treatment of Moderate to Severe Vasomotor Symptoms due to                        acetate (7.1)
        Menopause (1.1)
    • Treatment of Moderate to Severe Vulvar and Vaginal Atrophy due to              ——————— USE IN SPECIFIC POPULATIONS ——————
        Menopause (1.2)                                                             •  Nursing Mothers: Estrogen administration to nursing women has been
                                                                                       shown to decrease the quantity and quality of breast milk (8.3)
    • Prevention of Postmenopausal Osteoporosis (1.3)
                                                                                    • Geriatric Use: An increased risk of probable dementia in women over
     ——————— DOSAGE AND ADMINISTRATION ——————                                          65 years of age was reported in the Women’s Health Initiative
    PREMPRO: one tablet containing conjugated estrogens (CE) plus                      Memory ancillary studies of the Women’s Health Initiative (5.3, 8.5)
    medroxyprogesterone acetate (MPA) taken orally once daily. (2)
                                                                                         See 17 for PATIENT COUNSELING INFORMATION and
    PREMPHASE: one maroon tablet containing 0.625 mg CE taken orally on                  FDA-approved patient labeling
    days 1 through 14, and one light-blue tablet containing 0.625 mg CE plus
                                                                                                                                        Revised: 11/2017
    5.0 mg MPA taken orally on days 15 through 28. (2)




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           FULL PRESCRIBING INFORMATION


            WARNING: CARDIOVASCULAR DISORDERS, BREAST CANCER, ENDOMETRIAL
                            CANCER and PROBABLE DEMENTIA
           Estrogen Plus Progestin Therapy
                               Cardiovascular Disorders and Probable Dementia

           Estrogen plus progestin therapy should not be used for the prevention of cardiovascular
           disease or dementia [see Warnings and Precautions (5.1, 5.3), and Clinical Studies (14.6,
           14.7)].

           The Women’s Health Initiative (WHI) estrogen plus progestin substudy reported an
           increased risk of deep vein thrombosis (DVT), pulmonary embolism (PE), stroke and
           myocardial infarction (MI) in postmenopausal women (50 to 79 years of age) during 5.6
           years of treatment with daily oral conjugated estrogen (CE) [0.625 mg] combined with
           medroxyprogesterone acetate (MPA) [2.5 mg], relative to placebo [see Warnings and
           Precautions (5.1), and Clinical Studies (14.6)].

           The WHI Memory Study (WHIMS) estrogen plus progestin ancillary study of the WHI
           reported an increased risk of developing probable dementia in postmenopausal women 65
           years of age or older during 4 years of treatment with daily CE (0.625 mg) combined with
           MPA (2.5 mg), relative to placebo. It is unknown whether this finding applies to younger
           postmenopausal women [see Warnings and Precautions (5.3), Use in Specific Populations
           (8.5), and Clinical Studies (14.7)].
                                                 Breast Cancer
           The WHI estrogen plus progestin substudy also demonstrated an increased risk of invasive
           breast cancer [see Warnings and Precautions (5.2), and Clinical Studies (14.6)].

           In the absence of comparable data, these risks should be assumed to be similar for other
           doses of CE and MPA and other combinations and dosage forms of estrogens and
           progestins.

           Estrogens with or without progestins should be prescribed at the lowest effective doses and
           for the shortest duration consistent with treatment goals and risks for the individual
           woman.
           Estrogen-Alone Therapy
                                              Endometrial Cancer

           There is an increased risk of endometrial cancer in a woman with a uterus who uses
           unopposed estrogens. Adding a progestin to estrogen therapy has been shown to reduce the
           risk of endometrial hyperplasia, which may be a precursor to endometrial cancer.
           Adequate diagnostic measures, including directed or random endometrial sampling when


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           indicated, should be undertaken to rule out malignancy in postmenopausal women with
           undiagnosed persistent or recurring abnormal genital bleeding [see Warnings and
           Precautions (5.2)].

                                Cardiovascular Disorders and Probable Dementia

           Estrogen-alone therapy should not be used for the prevention of cardiovascular disease or
           dementia [see Warnings and Precautions (5.1, 5.3), and Clinical Studies (14.6, 14.7)].

           The WHI estrogen-alone substudy reported increased risks of stroke and DVT in
           postmenopausal women (50 to 79 years of age) during 7.1 years of treatment with daily oral
           CE (0.625 mg)-alone, relative to placebo [see Warnings and Precautions (5.1), and Clinical
           Studies (14.6)].

           The WHIMS estrogen-alone ancillary study of WHI reported an increased risk of
           developing probable dementia in postmenopausal women 65 years of age or older during
           5.2 years of treatment with daily CE (0.625 mg)-alone, relative to placebo. It is unknown
           whether this finding applies to younger postmenopausal women [see Warnings and
           Precautions (5.3), Use in Specific Populations (8.5), and Clinical Studies (14.7)].

           In the absence of comparable data, these risks should be assumed to be similar for other
           doses of CE and other dosage forms of estrogens.

           Estrogens with or without progestins should be prescribed at the lowest effective doses and
           for the shortest duration consistent with treatment goals and risks for the individual
           woman.


           1 INDICATIONS AND USAGE

           1.1 Treatment of Moderate to Severe Vasomotor Symptoms due to Menopause

           1.2 Treatment of Moderate to Severe Vulvar and Vaginal Atrophy due to Menopause

           1.3 Prevention of Postmenopausal Osteoporosis

           2 DOSAGE AND ADMINISTRATION

          Use of estrogen-alone, or in combination with a progestin, should be with the lowest effective
          dose and for the shortest duration consistent with treatment goals and risks for the individual
          woman. Postmenopausal women should be re-evaluated periodically as clinically appropriate to
          determine if treatment is still necessary.

           2.1 Treatment of Moderate to Severe Vasomotor Symptoms due to Menopause

          PREMPRO therapy consists of a single tablet to be taken orally once daily.



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          PREMPHASE therapy consists of two separate tablets: one maroon 0.625 mg Premarin
          [conjugated estrogens (CE)] tablet taken daily on days 1 through 14 and one light-blue tablet
          containing 0.625 mg CE and 5 mg of medroxyprogesterone acetate (MPA) taken on days 15
          through 28.

           2.2 Treatment of Moderate to Severe Vulvar and Vaginal Atrophy due to Menopause

          PREMPRO therapy consists of a single tablet to be taken orally once daily.

          PREMPHASE therapy consists of two separate tablets: one maroon 0.625 mg CE tablet taken
          daily on days 1 through 14 and one light-blue tablet containing 0.625 mg CE and 5 mg MPA
          taken on days 15 through 28.

          When prescribing solely for the treatment of moderate to severe vulvar and vaginal atrophy,
          topical vaginal products should be considered.

           2.3 Prevention of Postmenopausal Osteoporosis

          PREMPRO therapy consists of a single tablet to be taken orally once daily.

          PREMPHASE therapy consists of two separate tablets: one maroon 0.625 mg CE tablet taken
          daily on days 1 through 14 and one light-blue tablet containing 0.625 mg CE and 5 mg of MPA
          taken on days 15 through 28.

          When prescribing solely for the prevention of postmenopausal osteoporosis, therapy should only
          be considered for women at significant risk of osteoporosis and non-estrogen medications should
          be carefully considered.


           3 DOSAGE FORMS AND STRENGTHS

                        PREMPRO (conjugated estrogens/medroxyprogesterone acetate tablets)

                        Tablet Strength                       Tablet Shape/Color               Imprint
                 0.3 mg CE plus 1.5 mg MPA                       oval / cream                PREMPRO
                                                                                                0.3/1.5
                0.45 mg CE plus 1.5 mg MPA                        oval / gold                PREMPRO
                                                                                               0.45/1.5
                0.625 mg CE plus 2.5 mg MPA                      oval / peach                PREMPRO
                                                                                              0.625/2.5
                 0.625 mg CE plus 5 mg MPA                     oval / light blue             PREMPRO
                                                                                               0.625/5




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                        PREMPHASE (conjugated estrogens/medroxyprogesterone acetate tablets)
                          Tablet Strength                      Tablet Shape/Color             Imprint
                           0.625 mg CE                      oval / maroon (14 tablets)      PREMARIN
                                                                                               0.625
                   0.625 mg CE plus 5 mg MPA               oval / light-blue (14 tablets)   PREMPRO
                                                                                              0.625/5
          &
          4 CONTRAINDICATIONS

          PREMPRO or PREMPHASE therapy should not be used in women with any of the following
          conditions:

               •    Undiagnosed abnormal genital bleeding

               •    Known, suspected, or history of breast cancer

               •    Known or suspected estrogen-dependent neoplasia

               •    Active DVT, PE, or a history of these conditions

               •    Active arterial thromboembolic disease (for example, stroke and MI), or a history
                    of these conditions

               •    Known anaphylactic reaction or angioedema to PREMPRO/PREMPHASE

               •    Known liver dysfunction or disease

               •    Known protein C, protein S, or antithrombin deficiency, or other known
                    thrombophilic disorders

               •    Known or suspected pregnancy

           5 WARNINGS AND PRECAUTIONS

           5.1 Cardiovascular Disorders

          An increased risk of PE, DVT, stroke and MI has been reported with estrogen plus progestin
          therapy. An increased risk of stroke and DVT has been reported with estrogen-alone therapy.
          Should any of these occur or be suspected, estrogen with or without progestin therapy should be
          discontinued immediately.

          Risk factors for arterial vascular disease (for example, hypertension, diabetes mellitus, tobacco
          use, hypercholesterolemia, and obesity) and/or venous thromboembolism (VTE) (for example,
          personal history or family history of VTE, obesity, and systemic lupus erythematosus) should be
          managed appropriately.




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           Stroke

          In the WHI estrogen plus progestin substudy, a statistically significant increased risk of stroke
          was reported in women 50 to 79 years of age receiving daily CE (0.625 mg) plus MPA (2.5 mg)
          compared to women in the same age group receiving placebo (33 versus 25 per 10,000 women-
          years) [see Clinical Studies (14.6)]. The increase in risk was demonstrated after the first year and
          persisted.1 Should a stroke occur or be suspected, estrogen plus progestin therapy should be
          discontinued immediately.

          In the WHI estrogen-alone substudy, a statistically significant increased risk of stroke was
          reported in women 50 to 79 years of age receiving daily CE (0.625 mg)-alone compared to
          women in the same age group receiving placebo (45 versus 33 per 10,000 women-years). The
          increase in risk was demonstrated in year 1 and persisted [see Clinical Studies (14.6)]. Should a
          stroke occur or be suspected, estrogen-alone therapy should be discontinued immediately.

          Subgroup analyses of women 50 to 59 years of age suggest no increased risk of stroke for those
          women receiving CE (0.625 mg)-alone versus those receiving placebo (18 versus 21 per 10,000
          women-years).1

           Coronary Heart Disease

          In the WHI estrogen plus progestin substudy, there was a statistically non-significant increased
          risk of coronary heart disease (CHD) events (defined as nonfatal MI, silent MI, or CHD death)
          reported in women receiving daily CE (0.625 mg) plus MPA (2.5 mg) compared to women
          receiving placebo (41 versus 34 per 10,000 women-years).1 An increase in relative risk was
          demonstrated in year 1, and a trend toward decreasing relative risk was reported in years 2
          through 5 [see Clinical Studies (14.6)].

          In the WHI estrogen-alone substudy, no overall effect on CHD events was reported in women
          receiving estrogen-alone compared to placebo2 [see Clinical Studies (14.6)].

          Subgroup analyses of women 50 to 59 years of age suggest a statistically non-significant
          reduction in CHD events (CE [0.625 mg]-alone compared to placebo) in women with less than
          10 years since menopause (8 versus 16 per 10,000 women-years).1

          In postmenopausal women with documented heart disease (n = 2,763), average 66.7 years of age,
          in a controlled clinical trial of secondary prevention of cardiovascular disease (Heart and
          Estrogen/Progestin Replacement Study [HERS]), treatment with daily CE (0.625 mg) plus MPA
          (2.5 mg) demonstrated no cardiovascular benefit. During an average follow-up of 4.1 years,
          treatment with CE plus MPA did not reduce the overall rate of CHD events in postmenopausal
          women with established coronary heart disease. There were more CHD events in the CE plus
          MPA-treated group than in the placebo group in year 1, but not during subsequent years. Two
          thousand, three hundred and twenty-one (2,321) women from the original HERS trial agreed to
          participate in an open label extension of HERS, HERS II. Average follow-up in HERS II was an
          additional 2.7 years, for a total of 6.8 years overall. Rates of CHD events were comparable
          among women in the CE plus MPA group and the placebo group in HERS, HERS II, and overall.



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           Venous Thromboembolism

          In the WHI estrogen plus progestin substudy, a statistically significant 2-fold greater rate of VTE
          (DVT and PE) was reported in women receiving daily CE (0.625 mg) plus MPA (2.5 mg)
          compared to women receiving placebo (35 versus 17 per 10,000 women-years). Statistically
          significant increases in risk for both DVT (26 versus 13 per 10,000 women-years) and PE (18
          versus 8 per 10,000 women-years) were also demonstrated. The increase in VTE risk was
          demonstrated during the first year and persisted3 [see Clinical Studies (14.6)]. Should a VTE
          occur or be suspected, estrogen plus progestin therapy should be discontinued immediately.

          In the WHI estrogen-alone substudy, the risk of VTE was increased for women receiving daily
          CE (0.625 mg)-alone compared to placebo (30 versus 22 per 10,000 women-years), although
          only the increased risk of DVT reached statistical significance (23 versus 15 per 10,000 women-
          years). The increase in VTE risk was demonstrated during the first 2 years4 [see Clinical Studies
          (14.6)]. Should a VTE occur or be suspected, estrogen-alone therapy should be discontinued
          immediately.

          If feasible, estrogens should be discontinued at least 4 to 6 weeks before surgery of the type
          associated with an increased risk of thromboembolism, or during periods of prolonged
          immobilization.

           5.2 Malignant Neoplasms

           Breast Cancer

          The most important randomized clinical trial providing information about breast cancer in
          estrogen plus progestin users is the WHI substudy of daily CE (0.625 mg) plus MPA (2.5 mg).
          After a mean follow-up of 5.6 years, the estrogen plus progestin substudy reported an increased
          risk of invasive breast cancer in women who took daily CE plus MPA. In this substudy, prior use
          of estrogen-alone or estrogen plus progestin therapy was reported by 26 percent of the women.
          The relative risk of invasive breast cancer was 1.24, and the absolute risk was 41 versus 33 cases
          per 10,000 women-years, for CE plus MPA compared with placebo. Among women who
          reported prior use of hormone therapy, the relative risk of invasive breast cancer was 1.86, and
          the absolute risk was 46 versus 25 cases per 10,000 women-years, for CE plus MPA compared
          with placebo. Among women who reported no prior use of hormone therapy, the relative risk of
          invasive breast cancer was 1.09, and the absolute risk was 40 versus 36 cases per 10,000 women-
          years, for CE plus MPA compared with placebo. In the same substudy, invasive breast cancers
          were larger, were more likely to be node positive, and were diagnosed at a more advanced stage
          in the CE (0.625 mg) plus MPA (2.5 mg) group compared with the placebo group. Metastatic
          disease was rare, with no apparent difference between the two groups. Other prognostic factors,
          such as histologic subtype, grade and hormone receptor status did not differ between the groups5
          [see Clinical Studies (14.6)].

          The most important randomized clinical trial providing information about breast cancer in
          estrogen-alone users is the WHI substudy of daily CE (0.625 mg)-alone. In the WHI estrogen-
          alone substudy, after an average follow-up of 7.1 years, daily CE (0.625 mg)-alone was not



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          associated with an increased risk of invasive breast cancer [relative risk (RR) 0.80] 6 [see Clinical
          Studies (14.6)].

          Consistent with the WHI clinical trials, observational studies have also reported an increased risk
          of breast cancer for estrogen plus progestin therapy, and a smaller increased risk for estrogen-
          alone therapy, after several years of use. The risk increased with duration of use, and appeared to
          return to baseline over about 5 years after stopping treatment (only the observational studies have
          substantial data on risk after stopping). Observational studies also suggest that the risk of breast
          cancer was greater, and became apparent earlier, with estrogen plus progestin therapy as
          compared to estrogen-alone therapy. However, these studies have not found significant variation
          in the risk of breast cancer among different estrogen plus progestin combinations, doses, or
          routes of administration.

          The use of estrogen-alone and estrogen plus progestin has been reported to result in an increase
          in abnormal mammograms requiring further evaluation.

          All women should receive yearly breast examinations by a healthcare provider and perform
          monthly breast self-examinations. In addition, mammography examinations should be scheduled
          based on patient age, risk factors, and prior mammogram results.

           Endometrial Cancer

           Endometrial hyperplasia (a possible precursor of endometrial cancer) has been reported to
           occur at a rate of approximately 1 percent or less with PREMPRO or PREMPHASE.

           An increased risk of endometrial cancer has been reported with the use of unopposed estrogen
           therapy in a woman with a uterus. The reported endometrial cancer risk among unopposed
           estrogen users is about 2 to 12 times greater than in non-users, and appears dependent on
           duration of treatment and on estrogen dose. Most studies show no significant increased risk
           associated with use of estrogens for less than 1 year. The greatest risk appears to be associated
           with prolonged use, with increased risks of 15- to 24-fold for 5 to 10 years or more, and this
           risk has been shown to persist for at least 8 to 15 years after estrogen therapy is discontinued.

           Clinical surveillance of all women using estrogen-alone or estrogen plus progestin therapy is
           important. Adequate diagnostic measures, including directed or random endometrial sampling
           when indicated, should be undertaken to rule out malignancy in postmenopausal women with
           undiagnosed persistent or recurring abnormal genital bleeding.

           There is no evidence that the use of natural estrogens results in a different endometrial risk
           profile than synthetic estrogens of equivalent estrogen dose. Adding a progestin to estrogen
           therapy in postmenopausal women has been shown to reduce the risk of endometrial
           hyperplasia, which may be a precursor to endometrial cancer.

           Ovarian Cancer

          The WHI estrogen plus progestin substudy reported a statistically non-significant increased risk
          of ovarian cancer. After an average follow-up of 5.6 years, the relative risk for ovarian cancer for


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          CE plus MPA versus placebo was 1.58 (95 percent CI, 0.77-3.24). The absolute risk for CE plus
          MPA versus placebo was 4 versus 3 cases per 10,000 women-years.7

          A meta-analysis of 17 prospective and 35 retrospective epidemiology studies found that women
          who used hormonal therapy for menopausal symptoms had an increased risk for ovarian cancer.
          The primary analysis, using case-control comparisons, included 12,110 cancer cases from the 17
          prospective studies. The relative risks associated with current use of hormonal therapy was 1.41
          (95% confidence interval [CI] 1.32 to 1.50); there was no difference in the risk estimates by
          duration of the exposure (less than 5 years [median of 3 years] vs. greater than 5 years [median
          of 10 years] of use before the cancer diagnosis). The relative risk associated with combined
          current and recent use (discontinued use within 5 years before cancer diagnosis) was 1.37 (95%
          CI 1.27-1.48), and the elevated risk was significant for both estrogen-alone and estrogen plus
          progestin products. The exact duration of hormone therapy use associated with an increased risk
          of ovarian cancer, however, is unknown.

           5.3 Probable Dementia

          In the WHIMS estrogen plus progestin ancillary study of WHI, a population of 4,532
          postmenopausal women 65 to 79 years of age was randomized to daily CE (0.625 mg) plus MPA
          (2.5 mg) or placebo.

          After an average follow-up of 4 years, 40 women in the CE plus MPA group and 21 women in
          the placebo group were diagnosed with probable dementia. The relative risk of probable
          dementia for CE plus MPA versus placebo was 2.05 (95 percent CI, 1.21-3.48). The absolute risk
          of probable dementia for CE plus MPA versus placebo was 45 versus 22 cases per 10,000
          women-years8 [see Use in Specific Populations (8.5), and Clinical Studies (14.7)].

          In the WHIMS estrogen-alone ancillary study of WHI, a population of 2,947 hysterectomized
          women 65 to 79 years of age was randomized to daily CE (0.625 mg)-alone or placebo.

          After an average follow-up of 5.2 years, 28 women in the estrogen-alone group and 19 women in
          the placebo group were diagnosed with probable dementia. The relative risk of probable
          dementia for CE-alone versus placebo was 1.49 (95 percent CI, 0.83-2.66). The absolute risk of
          probable dementia for CE-alone versus placebo was 37 versus 25 cases per 10,000 women-years8
          [see Use in Specific Populations (8.5), and Clinical Studies (14.7)].

          When data from the two populations in the WHIMS estrogen-alone and estrogen plus progestin
          ancillary studies were pooled as planned in the WHIMS protocol, the reported overall relative
          risk for probable dementia was 1.76 (95 percent CI, 1.19-2.60). Since both ancillary studies were
          conducted in women 65 to 79 years of age, it is unknown whether these findings apply to
          younger postmenopausal women8 [see Use in Specific Populations (8.5), and Clinical Studies
          (14.7)].

           5.4 Gallbladder Disease

          A 2- to 4-fold increase in the risk of gallbladder disease requiring surgery in postmenopausal
          women receiving estrogens has been reported.


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           5.5 Hypercalcemia

          Estrogen administration may lead to severe hypercalcemia in women with breast cancer and
          bone metastases. If hypercalcemia occurs, use of the drug should be stopped and appropriate
          measures taken to reduce the serum calcium level.

           5.6 Visual Abnormalities

          Retinal vascular thrombosis has been reported in women receiving estrogens. Discontinue
          medication pending examination if there is sudden partial or complete loss of vision, or a sudden
          onset of proptosis, diplopia, or migraine. If examination reveals papilledema or retinal vascular
          lesions, estrogens should be permanently discontinued.

           5.7 Addition of a Progestin When a Woman Has Not Had a Hysterectomy

          Studies of the addition of a progestin for 10 or more days of a cycle of estrogen administration or
          daily with estrogen in a continuous regimen, have reported a lowered incidence of endometrial
          hyperplasia than would be induced by estrogen treatment alone. Endometrial hyperplasia may be
          a precursor to endometrial cancer.

          There are, however, possible risks that may be associated with the use of progestins with
          estrogens compared to estrogen-alone regimens. These include an increased risk of breast cancer.

           5.8 Elevated Blood Pressure

          In a small number of case reports, substantial increases in blood pressure have been attributed to
          idiosyncratic reactions to estrogens. In a large, randomized, placebo-controlled clinical trial, a
          generalized effect of estrogen therapy on blood pressure was not seen.

           5.9 Hypertriglyceridemia

          In women with pre-existing hypertriglyceridemia, estrogen therapy may be associated with
          elevations of plasma triglycerides leading to pancreatitis. Consider discontinuation of treatment
          if pancreatitis occurs.

           5.10 Hepatic Impairment and/or Past History of Cholestatic Jaundice

          Estrogens may be poorly metabolized in women with impaired liver function. For women with a
          history of cholestatic jaundice associated with past estrogen use or with pregnancy, caution
          should be exercised, and in the case of recurrence, medication should be discontinued.

           5.11 Hypothyroidism

          Estrogen administration leads to increased thyroid-binding globulin (TBG) levels. Women with
          normal thyroid function can compensate for the increased TBG by making more thyroid
          hormone, thus maintaining free T 4 and T 3 serum concentrations in the normal range. Women
          dependent on thyroid hormone replacement therapy who are also receiving estrogens may
          require increased doses of their thyroid replacement therapy. These women should have their


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          thyroid function monitored in order to maintain their free thyroid hormone levels in an
          acceptable range.

           5.12 Fluid Retention

          Estrogens plus progestins may cause some degree of fluid retention. Women with conditions that
          might be influenced by this factor, such as cardiac or renal dysfunction, warrant careful
          observation when estrogens plus progestins are prescribed.

           5.13 Hypocalcemia

          Estrogen therapy should be used with caution in women with hypoparathyroidism as estrogen-
          induced hypocalcemia may occur.

           5.14 Exacerbation of Endometriosis

          A few cases of malignant transformation of residual endometrial implants have been reported in
          women treated post-hysterectomy with estrogen-alone therapy. For women known to have
          residual endometriosis post-hysterectomy, the addition of progestin should be considered.

          5.15 Anaphylactic Reaction and Angioedema

          Cases of anaphylaxis, which developed within minutes to hours after taking PREMPRO or
          PREMPHASE and require emergency medical management, have been reported in the
          postmarketing setting. Skin (hives, pruritis, swollen lips-tongue-face) and either respiratory tract
          (respiratory compromise) or gastrointestinal tract (abdominal pain, vomiting) involvement has
          been noted.

          Angioedema involving the tongue, larynx, face, hands, and feet requiring medical intervention
          has occurred postmarketing in patients taking PREMPRO or PREMPHASE. If angioedema
          involves the tongue, glottis, or larynx, airway obstruction may occur. Patients who develop an
          anaphylactic reaction with or without angioedema after treatment with PREMPRO or
          PREMPHASE should not receive PREMPRO or PREMPHASE again.

           5.16 Hereditary Angioedema

          Exogenous estrogens may exacerbate symptoms of angioedema in women with hereditary
          angioedema.

           5.17 Exacerbation of Other Conditions

          Estrogen therapy may cause an exacerbation of asthma, diabetes mellitus, epilepsy, migraine,
          porphyria, systemic lupus erythematosus, and hepatic hemangiomas and should be used with
          caution in women with these conditions.




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           5.18 Laboratory Tests

          Serum follicle stimulating hormone (FSH) and estradiol levels have not been shown to be useful
          in the management of moderate to severe vasomotor symptoms and moderate to severe
          symptoms of vulvar and vaginal atrophy.

           5.19 Drug-Laboratory Test Interactions

          Accelerated prothrombin time, partial thromboplastin time, and platelet aggregation time;
          increased platelet count; increased factors II, VII antigen, VIII antigen, VIII coagulant activity,
          IX, X, XII, VII-X complex, II-VII-X complex, and beta-thromboglobulin; decreased levels of
          antifactor Xa and antithrombin III, decreased antithrombin III activity; increased levels of
          fibrinogen and fibrinogen activity; increased plasminogen antigen and activity.

          Increased thyroid-binding globulin (TBG) leading to increased circulating total thyroid hormone,
          as measured by protein-bound iodine (PBI), T 4 levels (by column or by radioimmunoassay), or
          T 3 levels by radioimmunoassay. T 3 resin uptake is decreased, reflecting the elevated TBG. Free
          T 4 and free T 3 concentrations are unaltered. Women on thyroid replacement therapy may require
          higher doses of thyroid hormone.

          Other binding proteins may be elevated in serum, for example, corticosteroid binding globulin
          (CBG), sex hormone-binding globulin (SHBG), leading to increased total circulating
          corticosteroids and sex steroids, respectively. Free hormone concentrations, such as testosterone
          and estradiol, may be decreased. Other plasma proteins may be increased (angiotensinogen/renin
          substrate, alpha-1-antitrypsin, ceruloplasmin).

          Increased plasma high-density lipoprotein (HDL) and HDL 2 cholesterol subfraction
          concentrations, reduced low-density lipoprotein (LDL) cholesterol concentrations, increased
          triglyceride levels.

          Impaired glucose tolerance.

           6 ADVERSE REACTIONS

          The following serious adverse reactions are discussed elsewhere in the labeling:

               •   Cardiovascular Disorders [see Boxed Warning, Warnings and Precautions (5.1)]

               •   Malignant Neoplasms [see Boxed Warning, Warnings and Precautions (5.2)]

           6.1 Clinical Trials Experience

          Because clinical trials are conducted under widely varying conditions, adverse reaction rates
          observed in the clinical trial of a drug cannot be directly compared to rates in the clinical trials of
          another drug and may not reflect the rates observed in practice.




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          In a 1-year clinical trial that included 678 postmenopausal women treated with PREMPRO and
          351 postmenopausal women treated with PREMPHASE, the following adverse reactions
          occurred at a rate ≥ 1 percent, see Table 1.

          TABLE 1: ALL TREATMENT RELATED ADVERSE REACTIONS AT A FREQUENCY
          ≥ 1 PERCENT
                             PREMPRO      PREMPRO         PREMPHASE
                                  0.625 mg/2.5 mg     0.625 mg/5 mg            0.625 mg/5 mg
          Body System                continuous         continuous                sequential
             Adverse event            (n = 340)          (n = 338)                (n = 351)
          Body As A Whole
            Abdominal pain            35 (10%)             51 (15%)               58 (17%)
            Asthenia                   13 (4%)              18 (5%)                21 (6%)
            Back pain                  19 (6%)              16 (5%)                23 (7%)
           Chest pain                  5 (1%)               4 (1%)                  4 (1%)
            Flu syndrome              1 (<1%)              1 (<1%)                  4 (1%)
           Generalized edema          12 (4%)              12 (4%)                  8 (2%)
            Headache                  64 (19%)             52 (15%)               66 (19%)
            Infection                 2 (<1%)                4 (1)%                    0
           Moniliasis                  4 (1%)              3 (<1%)                  4 (1%)
            Pain                       12 (4%)              14 (4%)                15 (4%)
            Pelvic pain                11 (3%)              13 (4%)                16 (5%)
          Cardiovascular System
           Hypertension                7 (2%)               7 (2%)                  6 (2%)
           Migraine                    6 (2%)               8 (2%)                  7 (2%)
           Palpitation                2 (<1%)              3 (<1%)                  4 (1%)
           Vasodilatation             2 (<1%)               7 (2%)                 2 (<1%)
          Digestive System
            Diarrhea                   4 (1%)              3 (<1%)                  7 (2%)
            Dyspepsia                  5 (1%)               5 (1%)                  7 (2%)
            Eructation                    0                2 (<1%)                  4 (1%)
            Flatulence                25 (7%)              27 (8%)                 24 (7%)
            Increased appetite        1 (<1%)               5 (1%)                  5 (1%)
            Nausea                    26 (8%)              19 (6%)                 26 (7%)
          Metabolic and
          Nutritional
          Edema                        5 (1%)               6 (2%)                 3 (<1%)
          Glucose tolerance           2 (<1%)               5 (1%)                  4 (1%)
           decreased
           Peripheral edema           11 (3%)              10 (3%)                 11 (3%)
            Weight gain               9 (3%)               10 (3%)                 11 (3%)



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          TABLE 1: ALL TREATMENT RELATED ADVERSE REACTIONS AT A FREQUENCY
          ≥ 1 PERCENT
                             PREMPRO      PREMPRO         PREMPHASE
                                  0.625 mg/2.5 mg   0.625 mg/5 mg           0.625 mg/5 mg
          Body System                continuous       continuous               sequential
            Adverse event             (n = 340)        (n = 338)               (n = 351)
          Musculoskeletal
          System
           Arthralgia                 6 (2%)             2 (<1%)                7 (2%)
           Leg cramps                 8 (2%)             11 (3%)               12 (3%)
          Nervous System
           Depression                14 (4%)             26 (8%)               29 (8%)
           Dizziness                 9 (3%)               8 (2%)                7 (2%)
           Emotional lability        5 (1%)              5 (1%)                 6 (2%)
           Hypertonia                 4 (1%)              4 (1%)                7 (2%)
           Insomnia                  7 (2%)              6 (2%)                 4 (1%)
           Nervousness               4 (1%)              9 (3%)                 6 (2%)
          Skin and Appendages
           Acne                      1 (<1%)              5 (1%)                4 (1%)
           Alopecia                  3 (<1%)              4 (1%)                   0
           Dry skin                  2 (<1%)             3 (<1%)                4 (1%)
           Pruritus                  20 (6%)             18 (5%)               13 (4%)
           Rash                       8 (2%)              6 (2%)                7 (2%)
           Sweating                  2 (<1%)              4 (1%)               2 (<1%)
          Urogenital System
           Breast engorgement         5 (1%)           5 (1%)                      0
           Breast enlargement        14 (4%)          14 (4%)                  14 (4%)
           Breast neoplasm           2 (<1%)          2 (<1%)                   4 (1%)
           Breast pain              110 (32%)        123 (36%)                109 (31%)
           Cervix disorder           10 (3%)           6 (2%)                  10 (3%)
            Dysmenorrhea             26 (8%)             18 (5%)               44 (13%)
            Leukorrhea               19 (6%)             13 (4%)                29 (8%)
           Menstrual disorder         7 (2%)             1 (<1%)                 5 (1%)
           Menorrhagia                   0               1 (<1%)                 5 (1%)
           Metrorrhagia              13 (4%)              5 (1%)                 7 (1%)
           Papanicolaou smear         5 (1%)                 0                   8 (2%)
           suspicious
           Urinary incontinence       4 (1%)             2 (<1%)               1 (<1%)
           Uterine spasm              7 (2%)              4 (1%)                7 (2%)
            Vaginal hemorrhage        5 (1%)             3 (<1%)                8 (2%)
           Vaginal moniliasis         5 (1%)              6 (2%)                7 (2%)


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          TABLE 1: ALL TREATMENT RELATED ADVERSE REACTIONS AT A FREQUENCY
          ≥ 1 PERCENT
                             PREMPRO      PREMPRO         PREMPHASE
                                    0.625 mg/2.5 mg       0.625 mg/5 mg              0.625 mg/5 mg
          Body System                  continuous           continuous                  sequential
            Adverse event               (n = 340)            (n = 338)                  (n = 351)
           Vaginitis                     13 (4%)              13 (4%)                    10 (3%)


          In addition, phargyngitis and sinusitis were reported as two of the more frequent adverse events
          (>5 percent) in the PREMPRO clinical study. For pharyngitis, of the 121 events, six events were
          considered by the investigator causally related to study drug. For sinusitis, of the 73 events, one
          event was considered as casually related to study drug.

          During the first year of a 2-year clinical trial with postmenopausal women between 40 and 65
          years of age (88 percent Caucasian), 989 postmenopausal women received continuous regimens
          of PREMPRO, and 332 received placebo tablets. Table 2 summarizes adverse reactions that
          occurred at a rate ≥ 1 percent in at least 1 treatment group.

          TABLE 2: ALL TREATMENT RELATED ADVERSE REACTIONS AT A FREQUENCY
                                     OF ≥ 1 PERCENT
                                 PREMPRO       PREMPRO    PREMPRO
                                  0.625/2.5     0.45/1.5    0.3/1.5  PLACEBO
               Body System       continuous    continuous continuous    daily
               Adverse event      (N=331)       (N=331)    (N=327)    (N=332)

          Any adverse event                   214 (65)          208 (63)         188 (57)        164 (49)
          Body as a Whole
            Abdominal pain                     38 (11)          33 (10)           24 (7)           21 (6)
            Asthenia                            11 (3)           11 (3)           12 (4)            3 (1)
            Back pain                           12 (4)           12 (4)            8 (2)            4 (1)
            Chest pain                           4 (1)            2 (1)            1 (0)            2 (1)
            Generalized edema                    7 (2)            5 (2)            6 (2)            8 (2)
            Headache                           45 (14)          45 (14)          57 (17)          46 (14)
            Moniliasis                           3 (1)            6 (2)            4 (1)            1 (0)
            Pain                                 9 (3)           10 (3)           17 (5)           14 (4)
            Pelvic pain                          9 (3)            7 (2)            5 (2)            4 (1)
          Cardiovascular System
            Hypertension                         2 (1)           3 (1)            1 (0)            5 (2)
            Migraine                            11 (3)           8 (2)            5 (2)            3 (1)
            Palpitation                          1 (0)           1 (0)            2 (1)            4 (1)
            Vasodilatation                         0             3 (1)            1 (0)            5 (2)
          Digestive System
            Constipation                        5 (2)            7 (2)            6 (2)            3 (1)
            Diarrhea                            5 (2)            2 (1)            6 (2)            8 (2)


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          TABLE 2: ALL TREATMENT RELATED ADVERSE REACTIONS AT A FREQUENCY
                                     OF ≥ 1 PERCENT
                                 PREMPRO       PREMPRO    PREMPRO
                                  0.625/2.5     0.45/1.5    0.3/1.5  PLACEBO
               Body System       continuous    continuous continuous    daily
               Adverse event      (N=331)       (N=331)    (N=327)    (N=332)

            Dyspepsia                      10 (3)          9 (3)          6 (2)        14 (4)
            Flatulence                     16 (5)         18 (5)         13 (4)         8 (2)
            Increased appetite              6 (2)          2 (1)            0           2 (1)
            Nausea                         13 (4)         13 (4)         16 (5)        16 (5)
          Metabolic and nutritional
            Peripheral edema                7 (2)          8 (2)          4 (1)         3 (1)
            Weight gain                     9 (3)          8 (2)          6 (2)        14 (4)
          Musculoskeletal System
            Arthralgia                      2 (1)          3 (1)          3 (1)         5 (2)
            Leg cramps                     13 (4)          7 (2)         10 (3)         4 (1)
          Nervous System
            Anxiety                         5 (2)          4 (1)          1 (0)         4 (1)
            Depression                     23 (7)         11 (3)         11 (3)        17 (5)
            Dizziness                       3 (1)          8 (2)          6 (2)         5 (2)
            Emotional lability             10 (3)         10 (3)          9 (3)         8 (2)
            Insomnia                        8 (2)          7 (2)          9 (3)        14 (4)
            Nervousness                     6 (2)          3 (1)          4 (1)         6 (2)
          Skin and Appendages
            Acne                            7 (2)          3 (1)            0           3 (1)
            Alopecia                        1 (0)          6 (2)          4 (1)         2 (1)
            Pruritus                        8 (2)         10 (3)          9 (3)         3 (1)
            Rash                              0            6 (2)          4 (1)         2 (1)
            Skin discoloration              5 (2)          1 (0)          3 (1)         1 (0)
            Sweating                        3 (1)          1 (0)            0           4 (1)
          Urogenital System
            Breast disorder                  7 (2)          6 (2)         5 (2)         6 (2)
            Breast enlargement              18 (5)          9 (3)         5 (2)         3 (1)
            Breast neoplasm                  8 (2)          7 (2)         5 (2)         7 (2)
            Breast pain                    87 (26)        66 (20)        41 (13)       26 (8)
            Cervix disorder                  7 (2)          2 (1)         2 (1)           0
            Dysmenorrhea                    14 (4)         18 (5)         9 (3)         2 (1)
            Hematuria                        4 (1)          3 (1)         1 (0)         2 (1)
            Leukorrhea                       7 (2)         14 (4)         9 (3)         6 (2)
            Metrorrhagia                     7 (2)         14 (4)         4 (1)         1 (0)
            Urinary tract infection            0            1 (0)         1 (0)         4 (1)
            Uterine spasm                   13 (4)         11 (3)         7 (2)         2 (1)
            Vaginal dryness                  2 (1)          1 (0)           0           6 (2)
            Vaginal hemorrhage              18 (5)         14 (4)         7 (2)           0
            Vaginal moniliasis              13 (4)         11 (3)         8 (2)         5 (2)


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          TABLE 2: ALL TREATMENT RELATED ADVERSE REACTIONS AT A FREQUENCY
                                     OF ≥ 1 PERCENT
                                 PREMPRO       PREMPRO    PREMPRO
                                  0.625/2.5     0.45/1.5    0.3/1.5  PLACEBO
               Body System       continuous    continuous continuous    daily
               Adverse event      (N=331)       (N=331)    (N=327)    (N=332)

                Vaginitis                       6 (2)           8 (2)            7 (2)            1 (0)

          In addition, the following events were considered as related to the study drug with an incidence
          less than 1 percent, including accidental injury, infection, myalgia, cough increased, rhinitis,
          sinusitis, and upper respiratory infection.

          ;
              6.2 Postmarketing Experience

          The following adverse reactions have been identified during post-approval use of PREMPRO or
          PREMPHASE. Because these reactions are reported voluntarily from a population of uncertain
          size, it is not always possible to reliably estimate their frequency or establish a causal
          relationship to drug exposure.

              Genitourinary System

          Abnormal uterine bleeding, dysmenorrhea or pelvic pain, increase in size of uterine
          leiomyomata, vaginitis, vaginal candidiasis, amenorrhea, changes in cervical secretion, ovarian
          cancer, endometrial hyperplasia, endometrial cancer.

              Breasts

          Tenderness, enlargement, pain, nipple discharge, galactorrhea, fibrocystic breast changes, breast
          cancer.

              Cardiovascular

          Deep and superficial venous thrombosis, pulmonary embolism, superficial thrombophlebitis,
          myocardial infarction, stroke, increase in blood pressure.

              Gastrointestinal

          Nausea, vomiting, abdominal pain, bloating, cholestatic jaundice, increased incidence of
          gallbladder disease, pancreatitis, changes in appetite, ischemic colitis.

              Skin

          Chloasma or melasma that may persist when drug is discontinued, erythema multiforme,
          erythema nodosum, loss of scalp hair, hirsutism, pruritus, urticaria, rash, acne.




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           Eyes

          Retinal vascular thrombosis, intolerance of contact lenses.

           Central Nervous System

          Headache, migraine, dizziness, mental depression, exacerbation of chorea, mood disturbances,
          anxiety, irritability, exacerbation of epilepsy, dementia, growth potentiation of benign
          meningioma.

           Miscellaneous

          Increase or decrease in weight, arthralgia, glucose intolerance, edema, changes in libido,
          exacerbation of asthma, increased triglycerides, hypersensitivity.

          Additional postmarketing adverse reactions have been reported in patients receiving other forms
          of hormone therapy.

           7 DRUG INTERACTIONS

          Data from a single-dose drug-drug interaction study involving conjugated estrogens and
          medroxyprogesterone acetate indicate that the pharmacokinetic disposition of both drugs is not
          altered when the drugs are coadministered. No other clinical drug-drug interaction studies have
          been conducted with CE plus MPA.

           7.1 Metabolic Interactions

          In vitro and in vivo studies have shown that estrogens are metabolized partially by cytochrome
          P450 3A4 (CYP3A4). Therefore, inducers or inhibitors of CYP3A4 may affect estrogen drug
          metabolism. Inducers of CYP3A4, such as St. John’s wort (Hypericum perforatum) preparations,
          phenobarbital, carbamazepine, and rifampin, may reduce plasma concentrations of estrogens,
          possibly resulting in a decrease in therapeutic effects and/or changes in the uterine bleeding
          profile. Inhibitors of CYP3A4, such as erythromycin, clarithromycin, ketoconazole, itraconazole,
          ritonavir and grapefruit juice, may increase plasma concentrations of estrogens and may result in
          side effects.

          Aminoglutethimide administered concomitantly with MPA may significantly depress the
          bioavailability of MPA.

           8 USE IN SPECIFIC POPULATIONS

           8.1 Pregnancy

          PREMPRO and PREMPHASE should not be used during pregnancy [see Contraindications (4)].
          There appears to be little or no increased risk of birth defects in children born to women who
          have used estrogens and progestins as an oral contraceptive inadvertently during early
          pregnancy.



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           8.3 Nursing Mothers

          PREMPRO and PREMPHASE should not be used during lactation. Estrogen administration to
          nursing women has been shown to decrease the quantity and quality of the breast milk.
          Detectable amounts of estrogen and progestin have been identified in the breast milk of women
          receiving these drugs. Caution should be exercised when PREMPRO or PREMPHASE is
          administered to a nursing woman.

           8.4 Pediatric Use

          PREMPRO and PREMPHASE are not indicated in children. Clinical studies have not been
          conducted in the pediatric population.

           8.5 Geriatric Use

          There have not been sufficient numbers of geriatric women involved in clinical studies utilizing
          PREMPRO or PREMPHASE to determine whether those over 65 years of age differ from
          younger subjects in their response to PREMPRO or PREMPHASE.

           The Women’s Health Initiative Studies

          In the WHI estrogen plus progestin substudy (daily CE [0.625 mg] plus MPA [2.5 mg] versus
          placebo), there was a higher relative risk of nonfatal stroke and invasive breast cancer in women
          greater than 65 years of age [see Clinical Studies (14.6)].

          In the WHI estrogen-alone substudy (daily CE [0.625 mg]-alone versus placebo), there was a
          higher relative risk of stroke in women greater than 65 years of age [see Clinical Studies (14.6)].

           The Women’s Health Initiative Memory Study

          In the WHIMS ancillary studies of postmenopausal women 65 to 79 years of age, there was an
          increased risk of developing probable dementia in women receiving estrogen plus progestin or
          estrogen-alone when compared to placebo [see Warnings and Precautions (5.3), and Clinical
          Studies (14.7)].

          Since both ancillary studies were conducted in women 65 to 79 years of age, it is unknown
          whether these findings apply to younger postmenopausal women8 [see Warnings and
          Precautions (5.3), and Clinical Studies (14.7)].

           8.6 Renal Impairment

          The effects of renal impairment on the pharmacokinetics of PREMPRO or PREMPHASE have
          not been studied.

           8.7 Hepatic Impairment

          The effects of hepatic impairment on the pharmacokinetics of PREMPRO or PREMPHASE have
          not been studied.


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           10 OVERDOSAGE

          Overdosage of estrogen plus progestin may cause nausea, vomiting, breast tenderness, abdominal
          pain, drowsiness and fatigue, and withdrawal bleeding may occur in women. Treatment of
          overdose consists of discontinuation of PREMPRO or PREMPHASE therapy with institution of
          appropriate symptomatic care.

           11 DESCRIPTION

          Premarin (conjugated estrogens tablets, USP) for oral administration contains a mixture obtained
          exclusively from natural sources, occurring as the sodium salts of water-soluble estrogen sulfates
          blended to represent the average composition of material derived from pregnant mares’ urine. It
          is a mixture of sodium estrone sulfate and sodium equilin sulfate. It contains as concomitant
          components, as sodium sulfate conjugates, 17 α-dihydroequilin, 17 α-estradiol and 17 β-
          dihydroequilin.

          Medroxyprogesterone acetate is a derivative of progesterone. It is a white to off-white, odorless,
          crystalline powder, stable in air, melting between 200°C and 210°C. It is freely soluble in
          chloroform, soluble in acetone and in dioxane, sparingly soluble in alcohol and in methanol,
          slightly soluble in ether, and insoluble in water. The chemical name for MPA is pregn-4-ene-3,
          20-dione, 17-(acetyloxy)-6-methyl-, (6α)-. Its molecular formula is C 24 H 34 O 4 , with a molecular
          weight of 386.53. Its structural formula is:




          PREMPRO 0.3 mg/1.5 mg and 0.45 mg/1.5 mg tablets contain the following inactive
          ingredients: calcium phosphate tribasic, microcrystalline cellulose, carnauba wax, hypromellose,
          hydroxypropyl cellulose, sucrose, Eudragit NE 30D, lactose monohydrate, magnesium stearate,
          polyethylene glycol, titanium dioxide, yellow iron oxide, propylene glycol and black iron oxide.

          PREMPRO 0.625 mg/2.5 mg tablets contain the following inactive ingredients: calcium
          phosphate tribasic, microcrystalline cellulose, hypromellose, hydroxypropyl cellulose, sucrose,
          Eudragit NE 30D, lactose monohydrate, magnesium stearate, polyethylene glycol, povidone,
          titanium dioxide, red iron oxide, yellow iron oxide, and black iron oxide.

          PREMPRO 0.625 mg/5 mg tablets contain the following inactive ingredients: calcium phosphate
          tribasic, carnauba wax, Eudragit NE 30D, hydroxypropyl cellulose, hypromellose, lactose
          monohydrate, magnesium stearate, microcrystalline cellulose, polyethylene glycol, sucrose,
          titanium dioxide, FD&C Blue No. 2, and black iron oxide.




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           PREMPHASE

          Each maroon Premarin tablets for oral administration contain 0.625 mg of conjugated estrogens
          and the following inactive ingredients: calcium phosphate tribasic, hydroxypropyl cellulose,
          microcrystalline cellulose, powdered cellulose, hypromellose, lactose monohydrate, magnesium
          stearate, polyethylene glycol, sucrose, titanium dioxide, FD&C Blue No. 2, and FD&C Red No.
          40. These tablets comply with USP Dissolution Test 5.

          Each light-blue tablet for oral administration contains 0.625 mg of conjugated estrogens, 5 mg of
          medroxyprogesterone acetate, and the following inactive ingredients: calcium phosphate tribasic,
          carnauba wax, Eudragit NE 30D, hydroxypropyl cellulose, hypromellose, lactose monohydrate,
          magnesium stearate, microcrystalline cellulose, polyethylene glycol, sucrose, titanium dioxide,
          FD&C Blue No. 2, and black iron oxide.


           PREMPRO

          Tablet Strength                                Tablet Color Contains

          0.3 mg/1.5 mg        Yellow iron oxide and black iron oxide

          0.45 mg/1.5 mg       Yellow iron oxide and black iron oxide

          0.625 mg/2.5 mg      Red iron oxide, yellow iron oxide, and black iron oxide

          0.625 mg/5 mg        FD&C Blue No. 2 and black iron oxide

          &;
          PREMPHASE

          Tablet Strength                                Tablet Color Contains

          0.625 mg             FD&C Blue No. 2 and FD&C Red No. 40

          0.625 mg/5 mg        FD&C Blue No. 2 and black iron oxide

          &

           12 CLINICAL PHARMACOLOGY

           12.1 Mechanism of Action

          Endogenous estrogens are largely responsible for the development and maintenance of the
          female reproductive system and secondary sexual characteristics. Although circulating estrogens
          exist in a dynamic equilibrium of metabolic interconversions, estradiol is the principal
          intracellular human estrogen and is substantially more potent than its metabolites, estrone and
          estriol, at the receptor level.


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          The primary source of estrogen in normally cycling adult women is the ovarian follicle, which
          secretes 70 to 500 mcg of estradiol daily, depending on the phase of the menstrual cycle. After
          menopause, most endogenous estrogen is produced by conversion of androstenedione, which is
          secreted by the adrenal cortex, to estrone in the peripheral tissues. Thus, estrone and the sulfate-
          conjugated form, estrone sulfate, are the most abundant circulating estrogens in postmenopausal
          women.

          Estrogens act through binding to nuclear receptors in estrogen-responsive tissues. To date, two
          estrogen receptors have been identified. These vary in proportion from tissue to tissue.

          Circulating estrogens modulate the pituitary secretion of the gonadotropins, luteinizing hormone
          (LH) and FSH, through a negative feedback mechanism. Estrogens act to reduce the elevated
          levels of these gonadotropins seen in postmenopausal women.

          Parenterally administered medroxyprogesterone acetate (MPA) inhibits gonadotropin production,
          which in turn prevents follicular maturation and ovulation; although available data indicate that
          this does not occur when the usually recommended oral dosage is given as single daily doses.
          MPA may achieve its beneficial effect on the endometrium in part by decreasing nuclear
          estrogen receptors and suppression of epithelial DNA synthesis in endometrial tissue.
          Androgenic and anabolic effects of MPA have been noted, but the drug is apparently devoid of
          significant estrogenic activity.

           12.2 Pharmacodynamics

          Currently, there are no pharmacodynamic data known for PREMPRO or PREMPHASE tablets.

           12.3 Pharmacokinetics

           Absorption

          PREMPRO and PREMPHASE contain a formulation of medroxyprogesterone acetate (MPA)
          that is immediately released and conjugated estrogens that are slowly released over several
          hours. Conjugated estrogens are water-soluble and are well-absorbed from the gastrointestinal
          tract after release from the drug formulation. MPA is well absorbed from the gastrointestinal
          tract. Table 3 and Table 4 summarize the mean pharmacokinetic parameters for select
          unconjugated and conjugated estrogens and medroxyprogesterone acetate following
          administration of PREMPRO to healthy, postmenopausal women.




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          TABLE 3: PHARMACOKINETIC PARAMETERS FOR UNCONJUGATED AND
          CONJUGATED ESTROGENS (CE) AND MEDROXYPROGESTERONE ACETATE
          (MPA)
          DRUG                       2 x 0.625 mg CE/2.5 mg MPA                2 x 0.625 mg CE/5 mg MPA
                                           Combination Tablets                     Combination Tablets
                                                 (n = 54)                                 (n = 51)
          PK Parameter               C max    t max  t 1/2    AUC            C max    t max   t 1/2   AUC
          Arithmetic               (pg/mL) (h) (h) (pg•h/mL) (pg/mL) (h) (h)                        (pg•h/mL)
          Mean (%CV)
          Unconjugated Estrogens
          Estrone                    175       7.6 31.6        5358          124       10 62.2         6303
                                     (23)     (24) (23)        (34)          (43)     (35) (137)       (40)
          BA* -Estrone               159       7.6 16.9        3313          104       10 26.0         3136
                                     (26)     (24) (34)        (40)          (49)     (35) (100)       (51)
          Equilin                     71       5.8 9.9          951           54       8.9 15.5        1179
                                     (31)     (34) (35)        (43)          (43)     (34) (53)        (56)
          PK Parameter               C max    t max t 1/2     AUC            C max    t max t 1/2     AUC
          Arithmetic               (ng/mL) (h) (h) (ng•h/mL) (ng/mL) (h) (h)                        (ng•h/mL)
          Mean (%CV)
          Conjugated Estrogens
          Total Estrone               6.6      6.1 20.7         116           6.3      9.1 23.6         151
                                     (38)     (28) (34)        (59)          (48)     (29) (36)        (42)
          BA* -Total Estrone          6.4      6.1 15.4         100           6.2      9.1 20.6         139
                                     (39)     (28) (34)        (57)          (48)     (29) (35)        (40)
          Total Equilin               5.1      4.6 11.4          50           4.2      7.0 17.2          72
                                     (45)     (35) (25)        (70)          (52)     (36) (131)       (50)
          PK Parameter               C max    t max t 1/2     AUC            C max    t max t 1/2     AUC
          Arithmetic Mean          (ng/mL) (h) (h) (ng•h/mL) (ng/mL) (h) (h)                        (ng•h/mL)
          (%CV)
          Medroxyprogesterone Acetate
          MPA                         1.5      2.8 37.6          37           4.8      2.4 46.3         102
                                     (40)     (54) (30)        (30)          (31)     (50) (39)        (28)
          BA* = Baseline adjusted
          C max = peak plasma concentration
          t max = time peak concentration occurs
          t 1/2 = apparent terminal-phase disposition half-life (0.693/λ z )
          AUC = total area under the concentration-time curve
          &;




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          TABLE 4. PHARMACOKINETIC PARAMETERS FOR UNCONJUGATED AND
          CONJUGATED ESTROGENS (CE) AND MEDROXYPROGESTERONE ACETATE
          (MPA)
          DRUG                                              4 x 0.45 mg CE/1.5 mg MPA Combination
                                                                                  (n = 65)
                         PK Parameter                       C max           t max      t 1/2    AUC
                    Arithmetic Mean (%CV)                 (pg/mL)            (h)       (h)    (pg•h/mL)
          Unconjugated Estrogens
          Estrone                                           149              8.9      37.5       6641
                                                            (35)            (35)      (35)       (39)
          BA* -Estrone                                      130              8.9      21.2       3799
                                                            (40)            (35)      (35)       (47)
          Equilin                                            83              8.3      15.9       1889
                                                            (38)            (48)      (44)       (40)
                         PK Parameter                       C max           t max      t 1/2    AUC
                    Arithmetic Mean (%CV)                 (ng/mL)            (h)       (h)    (ng•h/mL)
          Conjugated Estrogens
          Total Estrone                                      5.4             7.9      22.4        119
                                                            (49)            (48)      (53)       (48)
          BA* -Total Estrone                                 5.2             7.9      15.1        100
                                                            (48)            (48)      (29)       (47)
          Total Equilin                                      4.3             6.5      11.6         74
                                                            (42)            (45)      (31)       (48)
                         PK Parameter                       C max           t max      t 1/2    AUC
                    Arithmetic Mean (%CV)                 (ng/mL)            (h)       (h)    (ng•h/mL)
          Medroxyprogesterone Acetate
          MPA                                                0.7             2.0      26.2        5.0
                                                            (66)            (52)      (35)       (61)
          BA* = Baseline adjusted
          C max = peak plasma concentration
          t max = time peak concentration occurs
          t 1/2 = apparent terminal-phase disposition half-life (0.693/λ z )
          AUC = total area under the concentration-time curve
          &;
          Food-Effect: Single dose studies in healthy, postmenopausal women were conducted to
          investigate any potential drug interaction when PREMPRO or PREMPHASE is administered
          with a high-fat breakfast. Administration with food decreased the C max of total estrone by
          18 to 34 percent and increased total equilin C max by 38 percent compared to the fasting state,
          with no other effect on the rate or extent of absorption of other conjugated or unconjugated
          estrogens. Administration with food approximately doubles MPA C max and increases MPA AUC
          by approximately 20 to 30 percent.

          Dose Proportionality: The C max and AUC values for MPA observed in two separate
          pharmacokinetic studies conducted with 2 PREMPRO 0.625 mg/2.5 mg or 2 PREMPRO or


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          PREMPHASE 0.625 mg/5 mg tablets exhibited nonlinear dose proportionality; doubling the
          MPA dose from 2 x 2.5 to 2 x 5 mg increased the mean C max and AUC by 3.2- and 2.8-fold,
          respectively.

          The dose proportionality of estrogens and medroxyprogesterone acetate was assessed by
          combining pharmacokinetic data across another two studies totaling 61 healthy, postmenopausal
          women. Single conjugated estrogens doses of 2 x 0.3 mg, 2 x 0.45 mg, or 2 x 0.625 mg were
          administered either alone or in combination with medroxyprogesterone acetate doses of
          2 x 1.5 mg or 2 x 2.5 mg. Most of the estrogen components demonstrated dose proportionality;
          however, several estrogen components did not. Medroxyprogesterone acetate pharmacokinetic
          parameters increased in a dose-proportional manner.

           Distribution

          The distribution of exogenous estrogens is similar to that of endogenous estrogens. Estrogens are
          widely distributed in the body and are generally found in higher concentrations in the sex
          hormone target organs. Estrogens circulate in the blood largely bound to SHBG and albumin.
          MPA is approximately 90 percent bound to plasma proteins, but does not bind to SHBG.

           Metabolism

          Exogenous estrogens are metabolized in the same manner as endogenous estrogens. Circulating
          estrogens exist in a dynamic equilibrium of metabolic interconversions. These transformations
          take place mainly in the liver. Estradiol is converted reversibly to estrone, and both can be
          converted to estriol, which is a major urinary metabolite. Estrogens also undergo enterohepatic
          recirculation via sulfate and glucuronide conjugation in the liver, biliary secretion of conjugates
          into the intestine, and hydrolysis in the intestine followed by reabsorption. In postmenopausal
          women, a significant portion of the circulating estrogens exists as sulfate conjugates, especially
          estrone sulfate, which serves as a circulating reservoir for the formation of more active estrogens.
          Metabolism and elimination of MPA occur primarily in the liver via hydroxylation, with
          subsequent conjugation and elimination in the urine.

           Excretion

          Estradiol, estrone, and estriol are excreted in the urine along with glucuronide and sulfate
          conjugates. Most metabolites of MPA are excreted as glucuronide conjugates, with only minor
          amounts excreted as sulfates.

           Use in Specific Populations

          No pharmacokinetic studies were conducted in specific populations, including patients with renal
          or hepatic impairment.




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           13 NONCLINICAL TOXICOLOGY

           13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility

          Long-term continuous administration of natural and synthetic estrogens in certain animal species
          increases the frequency of carcinomas of the breasts, uterus, cervix, vagina, testis, and liver.

           14 CLINICAL STUDIES

           14.1 Effects on Vasomotor Symptoms

          In the first year of the Health and Osteoporosis, Progestin and Estrogen (HOPE) Study, a total of
          2,805 postmenopausal women (average age 53.3 ± 4.9 years) were randomly assigned to one of
          eight treatment groups of either placebo or conjugated estrogens, with or without
          medroxyprogesterone acetate. Efficacy for vasomotor symptoms was assessed during the first 12
          weeks of treatment in a subset of symptomatic women (n = 241) who had at least seven moderate
          to severe hot flushes daily, or at least 50 moderate to severe hot flushes during the week before
          randomization. With PREMPRO 0.625 mg/2.5 mg, 0.45 mg/1.5 mg, and 0.3 mg/1.5 mg, the
          relief of both the frequency and severity of moderate to severe vasomotor symptoms was shown
          to be statistically improved compared to placebo at weeks 4 and 12. Table 5 shows the adjusted
          mean number of hot flushes in the PREMPRO 0.625 mg/2.5 mg, 0.45 mg/1.5 mg, 0.3 mg/1.5
          mg, and placebo groups during the initial 12-week period.

          TABLE 5: SUMMARY TABULATION OF THE NUMBER OF HOT FLUSHES PER
          DAY – MEAN VALUES AND COMPARISONS BETWEEN THE ACTIVE
          TREATMENT GROUPS AND THE PLACEBO GROUP – PATIENTS WITH AT LEAST
          7 MODERATE TO SEVERE FLUSHES PER DAY OR AT LEAST 50 PER WEEK AT
          BASELINE, LAST OBSERVATION CARRIED FORWARD (LOCF)
          Treatmenta
          (No. of Patients)  -------------------No. of Hot Flushes/Day-----------------
          Time Period              Baseline            Observed           Mean           p-Values
          (week)                 Mean ± SD           Mean ± SD        Change ± SD       vs. Placebob
             0.625 mg/2.5 mg
                  (n = 34)
                      4         11.98 ± 3.54          3.19 ± 3.74      -8.78 ± 4.72        <0.001
                     12         11.98 ± 3.54          1.16 ± 2.22     -10.82 ± 4.61        <0.001
              0.45 mg/1.5 mg
                  (n = 29)
                      4         12.61 ± 4.29          3.64 ± 3.61      -8.98 ± 4.74        <0.001
                     12         12.61 ± 4.29          1.69 ± 3.36     -10.92 ± 4.63        <0.001




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          TABLE 5: SUMMARY TABULATION OF THE NUMBER OF HOT FLUSHES PER
          DAY – MEAN VALUES AND COMPARISONS BETWEEN THE ACTIVE
          TREATMENT GROUPS AND THE PLACEBO GROUP – PATIENTS WITH AT LEAST
          7 MODERATE TO SEVERE FLUSHES PER DAY OR AT LEAST 50 PER WEEK AT
          BASELINE, LAST OBSERVATION CARRIED FORWARD (LOCF)
          Treatmenta
          (No. of Patients)        -------------------No. of Hot Flushes/Day-----------------
          Time Period                    Baseline            Observed           Mean           p-Values
          (week)                       Mean ± SD           Mean ± SD        Change ± SD       vs. Placebob
               0.3 mg/1.5 mg
                   (n = 33)
                       4              11.30 ± 3.13          3.70 ± 3.29      -7.60 ± 4.71        <0.001
                      12              11.30 ± 3.13          1.31 ± 2.82     -10.00 ± 4.60        <0.001
                   Placebo
                   (n = 28)
                       4              11.69 ± 3.87          7.89 ± 5.28      -3.80 ± 4.71           -
                      12              11.69 ± 3.87          5.71 ± 5.22      -5.98 ± 4.60           -
          a
            Identified by dosage (mg) of Premarin/MPA or placebo.
          b
            There were no statistically significant differences between the 0.625 mg/2.5 mg,
          0.45 mg/1.5 mg, and 0.3 mg/1.5 mg groups at any time period.

           14.2 Effects on Vulvar and Vaginal Atrophy

          Results of vaginal maturation indexes at cycles 6 and 13 showed that the differences from
          placebo were statistically significant (p < 0.001) for all treatment groups.

           14.3 Effects on the Endometrium

          In a 1-year clinical trial of 1,376 women (average age 54 ± 4.6 years) randomized to PREMPRO
          0.625 mg/2.5 mg (n = 340), PREMPRO 0.625 mg/5 mg (n = 338), PREMPHASE 0.625 mg/5
          mg (n = 351), or Premarin 0.625 mg alone (n = 347), results of evaluable biopsies at 12 months
          (n = 279, 274, 277, and 283, respectively) showed a reduced risk of endometrial hyperplasia in
          the two PREMPRO treatment groups (less than 1 percent) and in the PREMPHASE treatment
          group (less than 1 percent; 1 percent when focal hyperplasia was included) compared to the
          Premarin group (8 percent; 20 percent when focal hyperplasia was included), see Table 6.




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          TABLE 6: INCIDENCE OF ENDOMETRIAL HYPERPLASIA AFTER ONE YEAR OF
          TREATMENT
                                       --------------------------Groups-------------------------
                                      PREMPRO PREMPRO PREMPHASE Premarin

                                                       0.625 mg/     0.625 mg/       0.625 mg/       0.625 mg
                                                         2.5 mg         5 mg            5 mg
          Total number of patients                         340           338             351            347
          Number of patients with evaluable                279           274             277            283
          biopsies
          No. (%) of patients with biopsies:
          • All focal and non-focal hyperplasia       2 (<1)*       0 (0)*         3 (1)*             57 (20)
          • Excluding focal cystic hyperplasia        2 (<1)*       0 (0)*        1 (<1)*              25 (8)
          * Significant (p < 0.001) in comparison with Premarin (0.625 mg) alone.

          In the first year of the Health and Osteoporosis, Progestin and Estrogen (HOPE) Study, 2,001
          women (average age 53.3 ± 4.9 years), of whom 88 percent were Caucasian, were treated with
          either Premarin 0.625 mg alone (n = 348), Premarin 0.45 mg alone (n = 338), Premarin 0.3 mg
          alone (n = 326) or PREMPRO 0.625 mg/2.5 mg (n = 331), PREMPRO 0.45 mg/1.5 mg (n = 331)
          or PREMPRO 0.3 mg/1.5 mg (n = 327). Results of evaluable endometrial biopsies at 12 months
          showed a reduced risk of endometrial hyperplasia or cancer in the PREMPRO treatment groups
          compared with the corresponding Premarin alone treatment groups, except for the PREMPRO
          0.3 mg/1.5 mg and Premarin 0.3 mg alone groups, in each of which there was only 1 case, see
          Table 7.

          No endometrial hyperplasia or cancer was noted in those patients treated with the continuous
          combined regimens who continued for a second year in the osteoporosis and metabolic substudy
          of the HOPE study, see Table 8.

          TABLE 7: INCIDENCE OF ENDOMETRIAL HYPERPLASIA/CANCERa AFTER ONE
          YEAR OF TREATMENTb
                                    -----------------------------------Groups---------------------------------
                                    Prempro Premarin Prempro Premarin Prempro Premarin
                                   0.625 mg/ 0.625 mg 0.45 mg/ 0.45 mg 0.3 mg/                      0.3 mg
          Patient                    2.5 mg                    1.5 mg                 1.5 mg
          Total number of patients     331         348           331       338          327           326
          Number of patients with      278         249           272       279          271           269
          evaluable biopsies
          No. (%) of patients with
          biopsies:
          • Hyperplasia/cancera       0 (0)d      20 (8)      1 (<1)a,d    9 (3)      1 (<1)e       1 (<1)a
          (consensusc)




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          a
            All cases of hyperplasia/cancer were endometrial hyperplasia, except for 1 patient in the
          Premarin 0.3 mg group diagnosed with endometrial cancer based on endometrial biopsy and 1
          patient in the Premarin/MPA 0.45 mg/1.5 mg group diagnosed with endometrial cancer based on
          endometrial biopsy.
          b
             Two (2) primary pathologists evaluated each endometrial biopsy. Where there was lack of
          agreement on the presence or absence of hyperplasia/cancer between the two, a third pathologist
          adjudicated (consensus).
          c
            For an endometrial biopsy to be counted as consensus endometrial hyperplasia or cancer, at
          least 2 pathologists had to agree on the diagnosis.
          d
             Significant (p < 0.05) in comparison with corresponding dose of Premarin alone.
          e
            Non-significant in comparison with corresponding dose of Premarin alone.
          &
          TABLE 8: OSTEOPOROSIS AND METABOLIC SUBSTUDY, INCIDENCE OF
          ENDOMETRIAL HYPERPLASIA/CANCERa AFTER TWO YEARS OF TREATMENTb
                                               -------------------------------Groups------------------------------
                                           Prempro Premarin Prempro Premarin Prempro Premarin 0.3
          Patient                         0.625 mg/ 0.625 mg 0.45 mg/ 0.45 mg 0.3 mg/                        mg
                                            2.5 mg                    1.5 mg                 1.5 mg
          Total number of patients             75           65           75        74           79            73
          Number of patients with              62           55           69        67           75            63
          evaluable biopsies
          No. (%) of patients with
          biopsies:
          • Hyperplasia/cancera              0 (0)d      15 (27)       0 (0)d    10 (15)      0 (0)d        2 (3)
                      c
          (consensus )
          a
            All cases of hyperplasia/cancer were endometrial hyperplasia in patients who continued for a
          second year in the osteoporosis and metabolic substudy of the HOPE study.
          b
             Two (2) primary pathologists evaluated each endometrial biopsy. Where there was lack of
          agreement on the presence or absence of hyperplasia/cancer between the two, a third pathologist
          adjudicated (consensus).
          c
            For an endometrial biopsy to be counted as consensus endometrial hyperplasia or cancer, at
          least 2 pathologists had to agree on the diagnosis.
          d
             Significant (p < 0.05) in comparison with corresponding dose of Premarin alone.
          ;
            14.4 Effects on Uterine Bleeding or Spotting

          The effects of PREMPRO on uterine bleeding or spotting, as recorded on daily diary cards, were
          evaluated in 2 clinical trials. Results are shown in Figures 1 and 2.




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               FIGURE 1. PATIENTS WITH CUMULATIVE AMENORRHEA OVER TIME
             PERCENTAGES OF WOMEN WITH NO BLEEDING OR SPOTTING AT A GIVEN
                CYCLE THROUGH CYCLE 13 INTENT-TO-TREAT POPULATION, LOCF

          Note: The percentage of patients who were amenorrheic in a given cycle and through cycle 13 is
          shown. If data were missing, the bleeding value from the last reported day was carried forward
          (LOCF).




               FIGURE 2. PATIENTS WITH CUMULATIVE AMENORRHEA OVER TIME
             PERCENTAGES OF WOMEN WITH NO BLEEDING OR SPOTTING AT A GIVEN
                CYCLE THROUGH CYCLE 13 INTENT-TO-TREAT POPULATION, LOCF

          Note: The percentage of patients who were amenorrheic in a given cycle and through cycle 13 is
          shown. If data were missing, the bleeding value from the last reported day was carried forward
          (LOCF).




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           14.5 Effects on Bone Mineral Density

           Health and Osteoporosis, Progestin and Estrogen (HOPE) Study

          The HOPE study was a double-blind, randomized, placebo/active-drug-controlled, multicenter
          study of healthy postmenopausal women with an intact uterus. Subjects (mean age 53.3 ± 4.9
          years) were 2.3 ± 0.9 years on average since menopause and took one 600 mg tablet of elemental
          calcium (Caltrate™) daily. Subjects were not given Vitamin D supplements. They were treated
          with PREMPRO 0.625 mg/2.5 mg, 0.45 mg/1.5 mg or 0.3 mg/1.5 mg, comparable doses of
          Premarin alone, or placebo. Prevention of bone loss was assessed by measurement of bone
          mineral density (BMD), primarily at the anteroposterior lumbar spine (L 2 to L4 ). Secondarily,
          BMD measurements of the total body, femoral neck, and trochanter were also analyzed. Serum
          osteocalcin, urinary calcium, and N-telopeptide were used as bone turnover markers (BTM) at
          cycles 6, 13, 19, and 26.

           Intent-to-treat subjects

          All active treatment groups showed significant differences from placebo in each of the four
          BMD endpoints. These significant differences were seen at cycles 6, 13, 19, and 26.

          The percent changes from baseline to final evaluation are shown in Table 9.

          TABLE 9: PERCENT CHANGE IN BONE MINERAL DENSITY: COMPARISON
          BETWEEN ACTIVE AND PLACEBO GROUPS IN THE INTENT-TO-TREAT
          POPULATION, LOCF
                                               Baseline       Change from       p-Value
          Region Evaluated Treatment  No. of    (g/cm2)   Baseline (%) Adjusted   vs.
                 a
          Group                      Subjects Mean ± SD         Mean ± SE       Placebo
          L 2 to L4 BMD
            0.625/2.5                  81     1.14 ± 0.16      3.28 ± 0.37      <0.001
            0.45/1.5                   89     1.16 ± 0.14      2.18 ± 0.35      <0.001
            0.3/1.5                    90     1.14 ± 0.15      1.71 ± 0.35      <0.001
            Placebo                    85     1.14 ± 0.14      -2.45 ± 0.36
          Total body BMD
            0.625/2.5                  81     1.14 ± 0.08      0.87 ± 0.17      <0.001
            0.45/1.5                   89     1.14 ± 0.07      0.59 ± 0.17      <0.001
            0.3/1.5                    91     1.13 ± 0.08      0.60 ± 0.16      <0.001
            Placebo                    85     1.13 ± 0.08      -1.50 ± 0.17
          Femoral neck BMD
            0.625/2.5                  81     0.89 ± 0.14      1.62 ± 0.46      <0.001
            0.45/1.5                   89     0.89 ± 0.12      1.48 ± 0.44      <0.001
            0.3/1.5                    91     0.86 ± 0.11      1.31 ± 0.43      <0.001
            Placebo                    85     0.88 ± 0.14      -1.72 ± 0.45
          Femoral trochanter BMD
            0.625/2.5                  81     0.77 ± 0.14      3.35 ± 0.59       0.002


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          TABLE 9: PERCENT CHANGE IN BONE MINERAL DENSITY: COMPARISON
          BETWEEN ACTIVE AND PLACEBO GROUPS IN THE INTENT-TO-TREAT
          POPULATION, LOCF
                                                         Baseline           Change from         p-Value
          Region Evaluated Treatment       No. of         (g/cm2)      Baseline (%) Adjusted       vs.
                  a
          Group                           Subjects      Mean ± SD            Mean ± SE          Placebo
             0.45/1.5                        89         0.76 ± 0.12          2.84 ± 0.57         0.011
             0.3/1.5                         91         0.76 ± 0.12          3.93 ± 0.56        <0.001
             Placebo                         85         0.75 ± 0.12          0.81 ± 0.58
          a
            Identified by dosage (mg/mg) of Premarin/MPA or placebo.
          &
          Figure 3 shows the cumulative percentage of subjects with percent changes from baseline in
          spine BMD equal to or greater than the percent change shown on the x-axis.




               FIGURE 3. CUMULATIVE PERCENT OF SUBJECTS WITH CHANGES FROM
                  BASELINE IN SPINE BMD OF GIVEN MAGNITUDE OR GREATER IN
                             PREMARIN/MPA AND PLACEBO GROUPS

          The mean percent changes from baseline in L 2 to L 4 BMD for women who completed the bone
          density study are shown with standard error bars by treatment group in Figure 4. Significant
          differences between each of the PREMPRO dosage groups and placebo were found at cycles 6,
          13, 19, and 26.




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           FIGURE 4. ADJUSTED MEAN (SE) PERCENT CHANGE FROM BASELINE AT EACH
            CYCLE IN SPINE BMD: SUBJECTS COMPLETING IN PREMARIN/MPA GROUPS
                                       AND PLACEBO

          The bone turnover markers, serum osteocalcin and urinary N-telopeptide, significantly decreased
          (p < 0.001) in all active-treatment groups at cycles 6, 13, 19, and 26 compared with the placebo
          group. Larger mean decreases from baseline were seen with the active groups than with the
          placebo group. Significant differences from placebo were seen less frequently in urine calcium;
          only with PREMPRO 0.625 mg/2.5 mg and 0.45 mg/1.5 mg were there significantly larger mean
          decreases than with placebo at 3 or more of the 4 time points.

           14.6 Women’s Health Initiative Studies

          The WHI enrolled approximately 27,000 predominantly healthy postmenopausal women in two
          substudies to assess the risks and benefits of daily oral CE (0.625 mg)-alone or in combination
          with MPA (2.5 mg) compared to placebo in the prevention of certain chronic diseases. The
          primary endpoint was the incidence of CHD (defined as nonfatal MI, silent MI and CHD death),
          with invasive breast cancer as the primary adverse outcome. A “global index” included the
          earliest occurrence of CHD, invasive breast cancer, stroke, PE, endometrial cancer (only in the
          CE plus MPA substudy), colorectal cancer, hip fracture, or death due to other causes. These
          substudies did not evaluate the effects of CE plus MPA or CE-alone on menopausal symptoms.

           WHI Estrogen Plus Progestin Substudy

          The WHI estrogen plus progestin substudy was stopped early. According to the predefined
          stopping rule, after an average follow-up of 5.6 years of treatment, the increased risk of invasive
          breast cancer and cardiovascular events exceeded the specified benefits included in the “global
          index.” The absolute excess risk of events included in the “global index” was 19 per 10,000
          women-years.


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          For those outcomes included in the WHI “global index” that reached statistical significance after
          5.6 years of follow-up, the absolute excess risks per 10,000 women-years in the group treated
          with CE plus MPA were 7 more CHD events, 8 more strokes, 10 more PEs, and 8 more invasive
          breast cancers, while the absolute risk reductions per 10,000 women-years were 6 fewer
          colorectal cancers and 5 fewer hip fractures.

          Results of the CE plus MPA substudy, which included 16,608 women (average 63 years of age,
          range 50 to 79; 83.9 percent White, 6.8 percent Black, 5.4 percent Hispanic, 3.9 percent Other)
          are presented in Table 10. These results reflect centrally adjudicated data after an average
          follow-up of 5.6 years.

          TABLE 10: Relative and Absolute Risk Seen in the Estrogen Plus Progestin Substudy of
          WHI at an Average of 5.6 Yearsa,b
                                                        Relative Risk
                                                   CE/MPA vs. Placebo             CE/MPA          Placebo
                                                         (95% nCIc)              n = 8,506       n = 8,102
                                                                                 Absolute Risk per 10,000
          Event
                                                                                       Women-Years
          CHD events                                  1.23 (0.99–1.53)               41              34
             Non-fatal MI                             1.28 (1.00–1.63)               31              25
             CHD death                                1.10 (0.70–1.75)                8               8
          All Strokes                                 1.31 (1.03–1.68)               33              25
             Ischemic stroke                          1.44 (1.09–1.90)               26              18
                                  d
          Deep vein thrombosis                        1.95 (1.43–2.67)               26              13
          Pulmonary embolism                          2.13 (1.45–3.11)               18               8
                                  e
          Invasive breast cancer                      1.24 (1.01–1.54)               41              33
          Colorectal cancer                           0.61 (0.42–0.87)               10              16
                                d
          Endometrial cancer                          0.81 (0.48–1.36)                6               7
                            d
          Cervical cancer                             1.44 (0.47–4.42)                2               1
          Hip fracture                                0.67 (0.47–0.96)               11              16
          Vertebral fracturesd                        0.65 (0.46–0.92)               11              17
                                     d
          Lower arm/wrist fractures                   0.71 (0.59–0.85)               44              62
                          d
          Total fractures                             0.76 (0.69–0.83)              152             199
                              f
          Overall Mortality                           1.00 (0.83-1.19)               52              52
                        g
          Global Index                                1.13 (1.02-1.25)              184             165
          a
            Adapted from numerous WHI publications. WHI publications can be viewed at
          www.nhlbi.nih.gov/whi.
          b
            Results are based on centrally adjudicated data.
          c
            Nominal confidence intervals unadjusted for multiple looks and multiple comparisons.
          d
            Not included in “global index.”
          e
            Includes metastatic and non-metastatic breast cancer, with the exception of in situ breast
          cancer.
          f
            All deaths, except from breast or colorectal cancer, definite or probable CHD, PE or
          cerebrovascular disease.


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          g
           A subset of the events was combined in a “global index” defined as the earliest occurrence of
          CHD events, invasive breast cancer, stroke, pulmonary embolism, colorectal cancer, hip fracture,
          or death due to other causes.

          Timing of the initiation of estrogen plus progestin therapy relative to the start of menopause may
          affect the overall risk benefit profile. The WHI estrogen plus progestin substudy stratified by age
          showed in women 50 to 59 years of age, a non-significant trend toward reduced risk for overall
          mortality [hazard ratio (HR) 0.69 (95 percent CI, 0.44-1.07)].

           WHI Estrogen-Alone Substudy

          The WHI estrogen-alone substudy was stopped early because an increased risk of stroke was
          observed, and it was deemed that no further information would be obtained regarding the risks
          and benefits of estrogen-alone in predetermined primary endpoints.

          Results of the estrogen-alone substudy, which included 10,739 women (average 63 years of age,
          range 50 to 79; 75.3 percent White, 15.1 percent Black, 6.1 percent Hispanic, 3.6 percent Other)
          after an average follow-up of 7.1 years, are presented in Table 11.

          Table 11: Relative and Absolute Risk Seen in the Estrogen-Alone Substudy of WHIa
                                                        Relative Risk
                                                       CE vs. Placebo            CE          Placebo
                                                                   b
                                                         (95% nCI )          n = 5,310      n = 5,429
          Event                                                              Absolute Risk per 10,000
                                                                                   Women-Years
                        c
          CHD events                                  0.95 (0.78–1.16)           54             57
                            c
            Non-fatal MI                              0.91 (0.73–1.14)           40             43
                          c
            CHD death                                 1.01 (0.71–1.43)           16             16
                      c
          All Strokes                                 1.33 (1.05–1.68)           45             33
            Ischemic strokec                          1.55 (1.19–2.01)           38             25
                                     c,d
          Deep vein thrombosis                        1.47 (1.06–2.06)           23             15
                                    c
          Pulmonary embolism                          1.37 (0.90–2.07)           14             10
                                     c
          Invasive breast cancer                      0.80 (0.62–1.04)           28             34
                                e
          Colorectal cancer                           1.08 (0.75–1.55)           17             16
                        c
          Hip fracture                                0.65 (0.45–0.94)           12             19
          Vertebral fracturesc,d                      0.64 (0.44–0.93)           11             18
                                          c,d
          Lower arm/wrist fractures                   0.58 (0.47–0.72)           35             59
                            c,d
          Total fractures                             0.71 (0.64–0.80)          144            197
                                         e,f
          Death due to other causes                   1.08 (0.88–1.32)           53             50
                                c,d
          Overall mortality                           1.04 (0.88–1.22)           79             75
                          g
          Global Index                                1.02 (0.92–1.13)          206            201
          a
            Adapted from numerous WHI publications. WHI publications can be viewed at
          www.nhlbi.nih.gov/whi.
          b
            Nominal confidence intervals unadjusted for multiple looks and multiple comparisons.


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          c
            Results are based on centrally adjudicated data for an average follow-up of 7.1 years.
          d
            Not included in “global index.”
          e
            Results are based on an average follow-up of 6.8 years.
          f
            All deaths, except from breast or colorectal cancer, definite or probable CHD, PE or
          cerebrovascular disease.
          g
            A subset of the events was combined in a “global index” defined as the earliest occurrence of
          CHD events, invasive breast cancer, stroke, pulmonary embolism, colorectal cancer, hip fracture,
          or death due to other causes.
          &;
          For those outcomes included in the WHI “global index” that reached statistical significance, the
          absolute excess risk per 10,000 women-years in the group treated with CE-alone was 12 more
          strokes while the absolute risk reduction per 10,000 women-years was 7 fewer hip fractures.9
          The absolute excess risk of events included in the “global index” was a non-significant 5 events
          per 10,000 women-years. There was no difference between the groups in terms of all-cause
          mortality.

          No overall difference for primary CHD events (nonfatal MI, silent MI and CHD death) and
          invasive breast cancer incidence in women receiving CE-alone compared with placebo was
          reported in final centrally adjudicated results from the estrogen-alone substudy, after an average
          follow up of 7.1 years.

          Centrally adjudicated results for stroke events from the estrogen-alone substudy, after an average
          follow-up of 7.1 years, reported no significant difference in distribution of stroke subtype or
          severity, including fatal strokes, in women receiving CE-alone compared to placebo. Estrogen-
          alone increased the risk for ischemic stroke, and this excess risk was present in all subgroups of
          women examined.10

          Timing of the initiation of estrogen-alone therapy relative to the start of menopause may affect
          the overall risk benefit profile. The WHI estrogen-alone substudy, stratified by age, showed in
          women 50 to 59 years of age a non-significant trend toward reduced risk for CHD [HR 0.63 (95
          percent CI, 0.36-1.09)] and overall mortality [HR 0.71 (95 percent CI, 0.46-1.11)].

              14.7 Women’s Health Initiative Memory Study

          The WHIMS estrogen plus progestin ancillary study of WHI enrolled 4,532 predominantly
          healthy postmenopausal women 65 years of age and older (47 percent were 65 to 69 years of
          age; 35 percent were 70 to 74 years of age; and 18 percent were 75 years of age and older) to
          evaluate the effects of daily CE (0.625 mg) plus MPA (2.5 mg) on the incidence of probable
          dementia (primary outcome) compared to placebo.

          After an average follow-up of 4 years, the relative risk of probable dementia for CE plus MPA
          versus placebo was 2.05 (95 percent CI, 1.21-3.48). The absolute risk of probable dementia for
          CE plus MPA versus placebo was 45 versus 22 cases per 10,000 women-years. Probable
          dementia as defined in this study included Alzheimer’s disease (AD), vascular dementia (VaD)
          and mixed types (having features of both AD and VaD). The most common classification of
          probable dementia in the treatment group and the placebo group was AD. Since the ancillary
          study was conducted in women 65 to 79 years of age, it is unknown whether these findings apply


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          to younger postmenopausal women [see Warnings and Precautions (5.3), and Use in Specific
          Populations (8.5)].

          The WHIMS estrogen-alone ancillary study of WHI enrolled 2,947 predominantly healthy
          hysterectomized postmenopausal women 65 to 79 years of age and older (45 percent were 65 to
          69 years of age; 36 percent were 70 to 74 years of age; 19 percent were 75 years of age and
          older) to evaluate the effects of daily CE (0.625 mg)-alone on the incidence of probable dementia
          (primary outcome) compared to placebo.

          After an average follow-up of 5.2 years, the relative risk of probable dementia for CE-alone
          versus placebo was 1.49 (95 percent CI, 0.83-2.66). The absolute risk of probable dementia for
          CE-alone versus placebo was 37 versus 25 cases per 10,000 women-years. Probable dementia as
          defined in this study included AD, VaD and mixed types (having features of both AD and VaD).
          The most common classification of probable dementia in the treatment group and the placebo
          group was AD. Since the ancillary study was conducted in women 65 to 79 years of age, it is
          unknown whether these findings apply to younger postmenopausal women [see Warnings and
          Precautions (5.3), and Use in Specific Populations (8.5)].

          When data from the two populations were pooled as planned in the WHIMS protocol, the
          reported overall relative risk for probable dementia was 1.76 (95 percent CI, 1.19-2.60).
          Differences between groups became apparent in the first year of treatment. It is unknown
          whether these findings apply to younger postmenopausal women [see Warnings and Precautions
          (5.3), and Use in Specific Populations (8.5)].

           15 REFERENCES

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               2. Hsia J, et al. Conjugated Equine Estrogens and Coronary Heart Disease. Arch Int Med.
                  2006;166:357-365.
               3. Cushman M, et al. Estrogen Plus Progestin and Risk of Venous Thrombosis. JAMA.
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               4. Curb JD, et al. Venous Thrombosis and Conjugated Equine Estrogen in Women Without
                  a Uterus. Arch Int Med. 2006;166:772-780.
               5. Chlebowski RT, et al. Influence of Estrogen Plus Progestin on Breast Cancer and
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               7. Anderson GL, et al. Effects of Estrogen Plus Progestin on Gynecologic Cancers and
                  Associated Diagnostic Procedures. JAMA. 2003;290:1739-1748.
               8. Shumaker SA, et al. Conjugated Equine Estrogens and Incidence of Probable Dementia
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               9. Jackson RD, et al. Effects of Conjugated Equine Estrogen on Risk of Fractures and
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                  Health Initiative Randomized Trial. J Bone Miner Res. 2006;21:817-828.
              10. Hendrix SL, et al. Effects of Conjugated Equine Estrogen on Stroke in the Women’s
                  Health Initiative. Circulation. 2006;113:2425-2434.

           16 HOW SUPPLIED/STORAGE AND HANDLING

           16.1 How Supplied

          PREMPRO therapy consists of a single tablet to be taken once daily.

           PREMPRO 0.3 mg/1.5 mg

          NDC 0046-1105-11, carton includes 1 blister card containing 28 oval, cream tablets.

           PREMPRO 0.45 mg/1.5 mg

          NDC 0046-1106-11, carton includes 1 blister card containing 28 oval, gold tablets.

           PREMPRO 0.625 mg/2.5 mg

          NDC 0046-1107-11, carton includes 1 blister card containing 28 oval, peach tablets.

           PREMPRO 0.625 mg/5 mg

          NDC 0046-1108-11, carton includes 1 blister card containing 28 oval, light-blue tablets.

          PREMPHASE therapy consists of two separate tablets; one maroon Premarin tablet taken daily
          on days 1 through 14 and one light-blue tablet taken on days 15 through 28.

          NDC 0046-2575-12, carton includes 1 blister card containing 28 tablets (14 oval, maroon
          Premarin tablets and 14 oval, light-blue tablets).

          The appearance of PREMPRO tablets is a trademark of Pfizer Inc.

          The appearance of PREMARIN tablets is a trademark of Pfizer Inc. The appearance of the
          conjugated estrogens/medroxyprogesterone acetate combination tablets is a trademark.

           16.2 Storage and Handling

          Store at 20° to 25°C (68° to 77°F); excursions permitted to 15° to 30°C (59° to 86°F) [see
          USP Controlled Room Temperature].

           17 PATIENT COUNSELING INFORMATION

          See FDA-Approved Patient Labeling.




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           17.1 Abnormal Vaginal Bleeding

          Inform postmenopausal women of the importance of reporting abnormal vaginal bleeding to their
          healthcare provider as soon as possible [see Warnings and Precautions (5.2)].

           17.2 Possible Serious Adverse Reactions with Estrogen Plus Progestin Therapy

          Inform postmenopausal women of possible serious adverse reactions of estrogen plus progestin
          therapy including Cardiovascular Disorders, Malignant Neoplasms, and Probable Dementia [see
          Warnings and Precautions (5.1, 5.2, 5.3)].

           17.3 Possible Less Serious but Common Adverse Reactions with Estrogen Plus Progestin
           Therapy

          Inform postmenopausal women of possible less serious but common adverse reactions of
          estrogen plus progestin therapy such as headache, breast pain and tenderness, nausea and
          vomiting.

           This product’s label may have been updated. For current package insert and further product
           information, please visit www.pfizer.com.

           &




           LAB-0502-6.1




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      HIGHLIGHTS OF PRESCRIBING INFORMATION                                                   •  Inject Aveed deeply into the gluteal muscle following the usual
      These highlights do not include all the information needed to use                          precautions for intramuscular administration of oily solutions (2.3).
      AVEED® safely and effectively. See full prescribing information for                     ______________ DOSAGE FORMS AND STRENGTHS ______________
      AVEED®.
                                                                                              750 mg/3 mL (250 mg/mL) testosterone undecanoate sterile injectable
      AVEED® (testosterone undecanoate) injection, for intramuscular use                      solution is provided in an amber glass, single use vial with silver-colored
      CIII                                                                                    crimp seal and gray plastic cap (3).
      Initial U.S. Approval: 1953                                                             ____________________ CONTRAINDICATIONS ____________________
                                                                                              •  Men with carcinoma of the breast or known or suspected carcinoma of the
              WARNING: SERIOUS PULMONARY OIL MICROEMBOLISM                                       prostate (4, 5.3).
                      (POME) REACTIONS AND ANAPHYLAXIS                                        • Women who are pregnant. Testosterone may cause fetal harm (4, 5.8, 8.1,
                See full prescribing information for complete boxed warning                      8.2).
          •    Serious POME reactions, involving urge to cough, dyspnea, throat               • Known hypersensitivity to Aveed or its ingredients (testosterone
               tightening, chest pain, dizziness, and syncope; and episodes of                   undecanoate, refined castor oil, benzyl benzoate) (4).
               anaphylaxis, including life-threatening reactions, have been                   ________________WARNINGS AND PRECAUTIONS _______________
               reported to occur during or immediately after the administration
                                                                                              •  Monitor patients with benign prostatic hyperplasia (BPH) for worsening
               of testosterone undecanoate injection. These reactions can occur
                                                                                                 of signs and symptoms of BPH (5.3).
               after any injection of testosterone undecanoate during the course
                                                                                              • Venous thromboembolism (VTE), including deep vein thrombosis (DVT)
               of therapy, including after the first dose (5.1).
                                                                                                 and pulmonary embolism (PE) have been reported in patients using
          •    Following each injection of Aveed, observe patients in the
                                                                                                 testosterone products. Evaluate patients with signs or symptoms
               healthcare setting for 30 minutes in order to provide appropriate                 consistent with DVT or PE (5.5).
               medical treatment in the event of serious POME reactions or
                                                                                              • Some postmarketing studies have shown an increased risk of myocardial
               anaphylaxis (5.1).
                                                                                                 infarction and stroke associated with use of testosterone replacement
          •    Aveed is available only through a restricted program called the
               Aveed REMS Program (5.2).                                                         therapy (5.6).
                                                                                              • Exogenous administration of androgens may lead to azoospermia (5.9).
      __________________ RECENT MAJOR CHANGES__________________                               • Edema with or without congestive heart failure may be a complication in
                                                                                                 patients with preexisting cardiac, renal, or hepatic disease (5.11).
      Dosage and Administration (2.2)                  08/2021                                • Sleep apnea may occur in those with risk factors (5.13).
      __________________ INDICATIONS AND USAGE __________________                             • Monitor prostatic specific antigen (PSA), hemoglobin, hematocrit, and
                                                                                                 lipid concentrations periodically (5.3, 5.4, 5.14).
      Aveed (testosterone undecanoate) injection is an androgen indicated for
      testosterone replacement therapy in adult males for conditions associated with          ____________________ ADVERSE REACTIONS ____________________
      a deficiency or absence of endogenous testosterone:                                     The most commonly reported adverse reactions (≥2%) are acne, injection site
      • Primary hypogonadism (congenital or acquired) (1)                                     pain, prostatic specific antigen (PSA) increased, estradiol increased,
      • Hypogonadotropic hypogonadism (congenital or acquired) (1)                            hypogonadism, fatigue, irritability, hemoglobin increased, insomnia, and
                                                                                              mood swings (6.1).
      Aveed should only be used in patients who require testosterone replacement
      therapy and in whom the benefits of the product outweigh the serious risks of           To report SUSPECTED ADVERSE REACTIONS, contact Endo
      pulmonary oil microembolism and anaphylaxis (1).                                        Pharmaceuticals at 1-800-462-3636 or FDA at 1-800-FDA-1088 or
                                                                                              www.fda.gov/medwatch.
      Limitations of Use                                                                      ____________________                                    ____________________
                                                                                                                         DRUG INTERACTIONS
      • Safety and efficacy of Aveed in men with “age-related hypogonadism”
         have not been established (1).                                                       • Androgens may decrease blood glucose, and therefore may decrease
                                                                                                  insulin requirements in diabetic patients (7.1).
      • Safety and efficacy of Aveed in males less than 18 years old have not
         been established (1, 8.4).                                                           • Changes in anticoagulant activity may be seen with androgens. More
                                                                                                  frequent monitoring of international normalized ratio (INR) and
      _______________ DOSAGE AND ADMINISTRATION _______________                                   prothrombin time is recommended in patients taking warfarin (7.2).
      •       Prior to initiating Aveed, confirm the diagnosis of hypogonadism by             • Use of testosterone with corticosteroids may result in increased fluid
              ensuring that serum testosterone has been measured in the morning on at             retention. Use with caution, particularly in patients with cardiac, renal, or
              least two separate days and that these concentrations are below the normal          hepatic disease (7.3).
              range (2).                                                                      ________________USE IN SPECIFIC POPULATIONS _______________
      •       For intramuscular use only (2.1).
                                                                                              Geriatric Patients: There are insufficient long-term safety data to assess the
      •       Three (3) mL (750 mg) is to be injected intramuscularly at initiation, at 4
                                                                                              potential risks of cardiovascular disease and prostate cancer (8.5).
              weeks, and every 10 weeks thereafter (2.1).
      •       Following each injection of Aveed, observe patients in the healthcare           See 17 for PATIENT COUNSELING INFORMATION and Medication
              setting for 30 minutes in order to provide appropriate medical treatment in     Guide.
              the event of serious POME reactions or anaphylaxis (2.3).                                                                  Revised: 08/2021


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         (POME) REACTIONS AND ANAPHYLAXIS                                                                   Risk of Prostate Cancer
      1  INDICATIONS AND USAGE                                                                       5.4    Polycythemia
      2  DOSAGE AND ADMINISTRATION                                                                   5.5    Venous Thromboembolism (VTE)
         2.1 Dosage                                                                                  5.6    Cardiovascular Risk
         2.2 Preparation Instructions                                                                5.7    Abuse of Testosterone and Monitoring of Serum Testosterone
         2.3 Administration Instructions                                                                    Concentrations
      3  DOSAGE FORMS AND STRENGTHS                                                                  5.8    Use in Women
      4  CONTRAINDICATIONS                                                                           5.9    Potential for Adverse Effects on Spermatogenesis
      5  WARNINGS AND PRECAUTIONS                                                                    5.10   Hepatic Adverse Effects
         5.1 Serious Pulmonary Oil Microembolism (POME) Reactions and                                5.11   Edema
              Anaphylaxis                                                                            5.12   Gynecomastia
         5.2 AVEED Risk Evaluation and Mitigation Strategy (REMS)                                    5.13   Sleep Apnea
              Program                                                                                5.14   Lipids
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            5.15 Hypercalcemia                                           11    DESCRIPTION
            5.16 Decreased Thyroxine-binding Globulin                    12    CLINICAL PHARMACOLOGY
      6     ADVERSE REACTIONS                                                  12.1 Mechanism of Action
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            6.2 Postmarketing Experience                                 13    NONCLINICAL TOXICOLOGY
      7     DRUG INTERACTIONS                                                  13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
            7.1 Insulin                                                  14    CLINICAL STUDIES
            7.2 Oral Anticoagulants                                            14.1 Testosterone Replacement Therapy
            7.3 Corticosteroids                                          16    HOW SUPPLIED/STORAGE AND HANDLING
      8     USE IN SPECIFIC POPULATIONS                                  17    PATIENT COUNSELING INFORMATION
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            8.3 Females and Males of Reproductive Potential                    17.2 Men with Known or Suspected Carcinoma of the Prostate or
            8.4 Pediatric Use                                                       Breast
            8.5 Geriatric Use                                                  17.3 Potential Adverse Reactions to Androgens
            8.6 Renal Impairment                                               17.4 Patients Should Be Advised of the Following Instructions for
            8.7 Hepatic Impairment                                                  Use
      9     DRUG ABUSE AND DEPENDENCE
            9.1 Controlled Substance
            9.2 Abuse                                                    *Sections or subsections omitted from the full prescribing information
            9.3 Dependence                                               are not listed.
      10    OVERDOSAGE




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               FULL PRESCRIBING INFORMATION


                 WARNING: SERIOUS PULMONARY OIL MICROEMBOLISM (POME)
                              REACTIONS AND ANAPHYLAXIS
                 •      Serious POME reactions, involving urge to cough, dyspnea, throat tightening, chest
                        pain, dizziness, and syncope; and episodes of anaphylaxis, including life-threatening
                        reactions, have been reported to occur during or immediately after the
                        administration of testosterone undecanoate injection. These reactions can occur after
                        any injection of testosterone undecanoate during the course of therapy, including
                        after the first dose [see Warnings and Precautions (5.1)].
                 •      Following each injection of AVEED, observe patients in the healthcare setting for
                        30 minutes in order to provide appropriate medical treatment in the event of serious
                        POME reactions or anaphylaxis [see Warnings and Precautions (5.1)].
                 •      Because of the risks of serious POME reactions and anaphylaxis, AVEED is available
                        only through a restricted program under a Risk Evaluation and Mitigation Strategy
                        (REMS) called the AVEED REMS Program [see Warnings and Precautions (5.2)].


               1              INDICATIONS AND USAGE
               AVEED is indicated for testosterone replacement therapy in adult males for conditions
               associated with a deficiency or absence of endogenous testosterone.
                          •   Primary hypogonadism (congenital or acquired): testicular failure due to
                              cryptorchidism, bilateral torsion, orchitis, vanishing testis syndrome, orchiectomy,
                              Klinefelter’s syndrome, chemotherapy, or toxic damage from alcohol or heavy
                              metals. These men usually have low serum testosterone concentrations and
                              gonadotropins (follicle-stimulating hormone [FSH], luteinizing hormone [LH]) above
                              the normal range.
                          •   Hypogonadotropic hypogonadism (congenital or acquired): gonadotropin or
                              luteinizing hormone-releasing hormone (LHRH) deficiency or pituitary-hypothalamic
                              injury from tumors, trauma, or radiation. These men have low testosterone serum
                              concentrations but have gonadotropins in the normal or low range.
               AVEED should only be used in patients who require testosterone replacement therapy and in
               whom the benefits of the product outweigh the serious risks of POME and anaphylaxis.

               Limitations of Use
                          •   Safety and efficacy of AVEED in men with “age-related hypogonadism” (also
                              referred to as “late-onset hypogonadism”) have not been established.
                          •   Safety and efficacy of AVEED in males less than 18 years old have not been
                              established [see Use in Specific Populations (8.4)].


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               2          DOSAGE AND ADMINISTRATION
               Prior to initiating AVEED, confirm the diagnosis of hypogonadism by ensuring that serum
               testosterone concentrations have been measured in the morning on at least 2 separate days and
               that these serum testosterone concentrations are below the normal range.

               2.1        Dosage
               AVEED is for intramuscular use only. Dosage titration is not necessary.
               Inject AVEED deeply into the gluteal muscle following the usual precautions for intramuscular
               administration; care must be taken to avoid intravascular injection [see Dosage and
               Administration (2.3)]. Intravascular injection of AVEED may lead to POME [see Warnings and
               Precautions (5.1)].
               The recommended dose of AVEED is 3 mL (750 mg) injected intramuscularly, followed by
               3 mL (750 mg) injected after 4 weeks, then 3 mL (750 mg) injected every 10 weeks thereafter.

               2.2        Preparation Instructions
               Parenteral drug products should be inspected visually for particulate matter and discoloration
               prior to administration, whenever solution and container permit.
               Carefully remove the gray plastic cap from the top of the vial by lifting it up from the edges with
               your fingers or by pushing the bottom edge of the cap upward using the top of your thumb.
               Remove only the gray plastic cap while leaving the aluminum metal ring and crimp seal around
               the gray rubber stopper in place. To facilitate the removal of medication from the vial, attach an
               18-gauge needle and draw 3 mL of air into the syringe. Hold the needle at a 45° angle to the
               stopper with the bevel in the up orientation. Inject through the gray rubber stopper into the vial to
               create positive pressure within the vial chamber.
               Withdraw 3 mL (750 mg) of AVEED solution from the vial. Expel excess air bubbles from the
               syringe. Replace the syringe needle used to draw up the solution from the vial with a new
               intramuscular needle and inject. Discard any unused portion in the vial.

               2.3        Administration Instructions
               The site for injection for AVEED is the gluteus medius muscle site located in the upper outer
               quadrant of the buttock. Care must be taken to avoid the needle hitting the superior gluteal
               arteries and sciatic nerve. Between consecutive injections, alternate the injection site between left
               and right buttock.




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               Figure 1:      Identifying the Injection Site




               Following antiseptic skin preparation, enter the muscle and maintain the syringe at a 90° angle
               with the needle in its deeply imbedded position. Grasp the barrel of the syringe firmly with one
               hand. With the other hand, pull back on the plunger and aspirate for several seconds to ensure
               that no blood appears. If any blood is drawn into the syringe, immediately withdraw and discard
               the syringe and prepare another dose.
               If no blood is aspirated, reinforce the current needle position to avoid any movement of the
               needle and slowly (over 60 to 90 seconds) depress the plunger carefully and at a constant rate,
               until all the medication has been delivered. Be sure to depress the plunger completely with
               sufficient controlled force. Withdraw the needle.
               Immediately upon removal of the needle from the muscle, apply gentle pressure with a sterile
               pad to the injection site. If there is bleeding at the site of injection, apply a bandage.
               Following each injection of AVEED, observe patients in the healthcare setting for 30 minutes in
               order to provide appropriate medical treatment in the event of serious POME reactions or
               anaphylaxis [see Warnings and Precautions (5.1)].


               3           DOSAGE FORMS AND STRENGTHS
               750 mg/3 mL (250 mg/mL) testosterone undecanoate sterile injectable solution is provided in an
               amber glass, single use vial with silver-colored crimp seal and gray plastic cap.




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               4            CONTRAINDICATIONS
               AVEED should not be used in any of the following patients:
                        •   Men with carcinoma of the breast or known or suspected carcinoma of the prostate
                            [see Warnings and Precautions (5.3)].
                        •   Women who are pregnant. Testosterone can cause virilization of the female fetus
                            when administered to a pregnant woman [see Use in Specific Populations (8.1, 8.2)].
                        •   Men with known hypersensitivity to AVEED or any of its ingredients (testosterone
                            undecanoate, refined castor oil, benzyl benzoate).


               5            WARNINGS AND PRECAUTIONS
               5.1          Serious Pulmonary Oil Microembolism (POME) Reactions and
                            Anaphylaxis
               Serious POME reactions, involving cough, urge to cough, dyspnea, hyperhidrosis, throat
               tightening, chest pain, dizziness, and syncope, have been reported to occur during or
               immediately after the injection of intramuscular testosterone undecanoate 1000 mg (4 mL). The
               majority of these events lasted a few minutes and resolved with supportive measures; however,
               some lasted up to several hours and some required emergency care and/or hospitalization. To
               minimize the risk of intravascular injection of AVEED, care should be taken to inject the
               preparation deeply into the gluteal muscle, being sure to follow the recommended procedure for
               intramuscular administration [see Dosage and Administration (2.2, 2.3) and Adverse Reactions
               (6.2)].
               In addition to serious POME reactions, episodes of anaphylaxis, including life-threatening
               reactions, have also been reported to occur following the injection of intramuscular testosterone
               undecanoate.
               Both serious POME reactions and anaphylaxis can occur after any injection of testosterone
               undecanoate during the course of therapy, including after the first dose. Patients with suspected
               hypersensitivity reactions to AVEED should not be re-treated with AVEED.
               Following each injection of AVEED, observe patients in the healthcare setting for 30 minutes in
               order to provide appropriate medical treatment in the event of serious POME reactions and
               anaphylaxis.

               5.2          AVEED Risk Evaluation and Mitigation Strategy (REMS) Program
               AVEED is available only through a restricted program called the AVEED REMS Program
               because of the risk of serious POME and anaphylaxis.
               Notable requirements of the AVEED REMS Program include the following:
                        •   Healthcare providers who prescribe AVEED must be certified with the REMS
                            Program before ordering or dispensing AVEED.




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                        •   Healthcare settings must be certified with the REMS Program and have healthcare
                            providers who are certified before ordering or dispensing AVEED. Healthcare
                            settings must have on-site access to equipment and personnel trained to manage
                            serious POME and anaphylaxis.
               Further information is available at www.aveedrems.com or call 1-855-755-0494.

               5.3          Worsening of Benign Prostatic Hyperplasia (BPH) and Potential
                            Risk of Prostate Cancer
               Patients with BPH treated with androgens are at an increased risk of worsening of signs and
               symptoms of BPH. Monitor patients with BPH for worsening signs and symptoms.
               Patients treated with androgens may be at an increased risk for prostate cancer. Evaluate patients
               for prostate cancer prior to initiating and during treatment with androgens [see Contraindications
               (4)].

               5.4          Polycythemia
               Increases in hematocrit, reflective of increases in red blood cell mass, may require
               discontinuation of testosterone.
               Check hematocrit prior to initiating testosterone treatment. It would be appropriate to re-evaluate
               the hematocrit 3 to 6 months after starting testosterone treatment, and then annually. If
               hematocrit becomes elevated, stop therapy until hematocrit decreases to an acceptable level. An
               increase in red blood cell mass may increase the risk of thromboembolic events.

               5.5          Venous Thromboembolism (VTE)
               There have been postmarketing reports of venous thromboembolic events, including deep vein
               thrombosis (DVT) and pulmonary embolism (PE), in patients using testosterone products, such
               as AVEED. Evaluate patients who report symptoms of pain, edema, warmth and erythema in the
               lower extremity for DVT and those who present with acute shortness of breath for PE. If a
               venous thromboembolic event is suspected, discontinue treatment with AVEED and initiate
               appropriate workup and management.

               5.6          Cardiovascular Risk
               Long-term clinical safety trials have not been conducted to assess the cardiovascular outcomes of
               testosterone replacement therapy in men. To date, epidemiologic studies and randomized
               controlled trials have been inconclusive for determining the risk of major adverse cardiovascular
               events (MACE), such as non-fatal myocardial infarction, non-fatal stroke, and cardiovascular
               death, with the use of testosterone compared to non-use. Some studies, but not all, have reported
               an increased risk of MACE in association with use of testosterone replacement therapy in men.
               Patients should be informed of this possible risk when deciding whether to use or to continue to
               use AVEED.




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               5.7        Abuse of Testosterone and Monitoring of Serum Testosterone
                          Concentrations
               Testosterone has been subject to abuse, typically at doses higher than recommended for the
               approved indication and in combination with other anabolic androgenic steroids. Anabolic
               androgenic steroid abuse can lead to serious cardiovascular and psychiatric adverse reactions
               [see Drug Abuse and Dependence (9)].
               If testosterone abuse is suspected, check serum testosterone concentrations to ensure they are
               within therapeutic range. However, testosterone levels may be in the normal or subnormal range
               in men abusing synthetic testosterone derivatives. Counsel patients concerning the serious
               adverse reactions associated with abuse of testosterone and anabolic androgenic steroids.
               Conversely, consider the possibility of testosterone and anabolic androgenic steroid abuse in
               suspected patients who present with serious cardiovascular or psychiatric adverse events.

               5.8        Use in Women
               Due to lack of controlled evaluations in women and potential virilizing effects, AVEED is not
               indicated for use in women [see Contraindications (4) and Use in Specific Populations (8.1,
               8.2)].

               5.9        Potential for Adverse Effects on Spermatogenesis
               With large doses of exogenous androgens, including AVEED, spermatogenesis may be
               suppressed through feedback inhibition of pituitary FSH which could possibly lead to adverse
               effects on semen parameters including sperm count.

               5.10       Hepatic Adverse Effects
               Prolonged use of high doses of orally active 17-alpha-alkyl androgens (eg, methyltestosterone)
               has been associated with serious hepatic adverse effects (peliosis hepatis, hepatic neoplasms,
               cholestatic hepatitis, and jaundice). Peliosis hepatis can be a life threatening or fatal
               complication. Long-term therapy with intramuscular testosterone enanthate, which elevates
               blood levels for prolonged periods, has produced multiple hepatic adenomas. AVEED is not
               known to produce these adverse effects. Nonetheless, patients should be instructed to report any
               signs or symptoms of hepatic dysfunction (eg, jaundice). If these occur, promptly discontinue
               AVEED while the cause is evaluated.

               5.11       Edema
               Androgens, including AVEED, may promote retention of sodium and water. Edema with or
               without congestive heart failure may be a serious complication in patients with preexisting
               cardiac, renal, or hepatic disease. In addition to discontinuation of the drug, diuretic therapy may
               be required.

               5.12       Gynecomastia
               Gynecomastia occasionally develops and occasionally persists in patients being treated for
               hypogonadism [see Adverse Reactions (6.1)].



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               5.13       Sleep Apnea
               The treatment of hypogonadal men with testosterone products may potentiate sleep apnea in
               some patients, especially those with risk factors such as obesity or chronic lung diseases.

               5.14       Lipids
               Changes in serum lipid profile may require dose adjustment of lipid lowering drugs or
               discontinuation of testosterone therapy.

               5.15       Hypercalcemia
               Androgens, including AVEED, should be used with caution in cancer patients at risk of
               hypercalcemia (and associated hypercalciuria). Regular monitoring of serum calcium
               concentrations is recommended in these patients.

               5.16       Decreased Thyroxine-binding Globulin
               Androgens, including AVEED, may decrease concentrations of thyroxine-binding globulin,
               resulting in decreased total T4 serum concentrations and increased resin uptake of T3 and T4.
               Free thyroid hormone concentrations remain unchanged, however, and there is no clinical
               evidence of thyroid dysfunction.


               6          ADVERSE REACTIONS
               6.1        Clinical Trial Experience
               Because clinical trials are conducted under widely varying conditions, adverse reaction rates
               observed in the clinical trials of a drug cannot be directly compared to rates in the clinical trials
               of another drug and may not reflect the rates observed in clinical practice.
               AVEED was evaluated in an 84-week clinical study using a dose regimen of 750 mg (3 mL) at
               initiation, at 4 weeks, and every 10 weeks thereafter in 153 hypogonadal men. The most
               commonly reported adverse reactions (>2%) were: acne (5.2%), injection site pain (4.6%),
               prostate specific antigen increased (4.6%), hypogonadism (2.6%) and estradiol increased (2.6%).
               Table 1 presents adverse reactions reported by ≥1% of patients in the 84-week clinical study.




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               Table 1:            Adverse Reactions Reported in at Least 1% of Patients in the 84-Week
                                   Clinical Study of AVEED
                                                                                  Number of Patients (%)
                   MedDRA Preferred Term                                              AVEED 750 mg
                                                                                        (N=153)
                   Acne                                                                   8 (5.2%)
                   Injection site pain                                                    7 (4.6%)
                   Prostatic specific antigen increased*                                  7 (4.6%)
                   Estradiol increased                                                    4 (2.6%)
                   Hypogonadism                                                           4 (2.6%)
                   Fatigue                                                                 3 (2%)
                   Irritability                                                            3 (2%)
                   Hemoglobin increased                                                    3 (2%)
                   Insomnia                                                                3 (2%)
                   Mood swings                                                             3 (2%)
                   Aggression                                                             2 (1.3%)
                   Ejaculation disorder                                                   2 (1.3%)
                   Injection site erythema                                                2 (1.3%)
                   Hematocrit increased                                                   2 (1.3%)
                   Hyperhidrosis                                                          2 (1.3%)
                   Prostate Cancer                                                        2 (1.3%)
                   Prostate induration                                                    2 (1.3%)
                   Weight increased                                                         2 (1.3%)
               *
                   Prostate-specific antigen increased defined as a serum PSA concentration >4 ng/mL.
               In the 84-week clinical trial, 7 patients (4.6%) discontinued treatment because of adverse
               reactions. Adverse reactions leading to discontinuation included: hematocrit increased, estradiol
               increased, prostatic specific antigen increased, prostate cancer, mood swings, prostatic dysplasia,
               acne, and deep vein thrombosis.
               During the 84-week clinical trial, the average serum PSA increased from 1.0 ± 0.8 ng/mL at
               baseline to 1.5 ± 1.3 ng/mL at the end of study. Fourteen (14) patients (10.9%) in whom the
               baseline PSA was < 4 ng/mL had a post-baseline serum PSA of > 4 ng/mL during the 84-week
               treatment period.
               A total of 725 hypogonadal men received intramuscular testosterone undecanoate in a total of
               7 controlled clinical trials. In these clinical trials, the dose and dose frequency of intramuscular
               testosterone undecanoate varied from 750 mg to 1000 mg, and from every 9 weeks to every
               14 weeks. Several of these clinical trials incorporated additional doses upon initiation of


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               therapy (eg, loading doses). In addition to those adverse reactions noted in Table 1, the following
               adverse events were reported by at least 3% of patients in these trials, irrespective of the
               investigator’s assessment of relationship to study medication: sinusitis, prostatitis, arthralgia,
               nasopharyngitis, upper respiratory tract infection, bronchitis, back pain, hypertension, diarrhea
               and headache.

               Pulmonary Oil Microembolism (POME) and Anaphylaxis in Controlled Clinical Studies
               Adverse events attributable to POME and anaphylaxis were reported in a small number of
               patients in controlled clinical trials. In the 84-week clinical trial of AVEED, 1 patient
               experienced a mild coughing fit lasting 10 minutes after his third injection, which was
               retrospectively attributed to POME. In another clinical trial of intramuscular testosterone
               undecanoate (1000 mg), a hypogonadal male patient experienced the urge to cough and
               respiratory distress at 1 minute after his tenth injection, which was also retrospectively attributed
               to POME.
               During a review that involved adjudication of all cases meeting specific criteria, 9 POME events
               in 8 patients and 2 events of anaphylaxis among 3,556 patients treated with intramuscular
               testosterone undecanoate in 18 clinical trials were judged to have occurred.

               6.2        Postmarketing Experience
               The following adverse reactions have been identified during post-approval use of AVEED.
               Because the reactions are reported voluntarily from a population of uncertain size, it is not
               always possible to reliably estimate their frequency or establish a causal relationship to drug
               exposure.

               Pulmonary Oil Microembolism (POME) and Anaphylaxis
               Serious POME reactions, involving cough, urge to cough, dyspnea, hyperhidrosis, throat
               tightening, chest pain, dizziness, and syncope, have been reported to occur during or
               immediately after the injection of intramuscular testosterone undecanoate 1000 mg (4 mL) in
               post-approval use outside the United States. The majority of these events lasted a few minutes
               and resolved with supportive measures; however, some lasted up to several hours and some
               required emergency care and/or hospitalization.
               In addition to serious POME reactions, episodes of anaphylaxis, including life-threatening
               reactions, have also been reported to occur following the injection of intramuscular testosterone
               undecanoate in post-approval use outside of the United States.
               Both serious POME reactions and anaphylaxis have been reported to occur after any injection of
               testosterone undecanoate during the course of therapy, including after the first dose.

               Other Events
               The following treatment emergent adverse events or adverse reactions have been identified
               during post-marketing clinical trials and during post-approval use of intramuscular testosterone
               undecanoate. In most cases, the dose being used was 1000 mg.
               Blood and Lymphatic System Disorders: polycythemia, thrombocytopenia



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               Cardiac Disorders: angina pectoris, cardiac arrest, cardiac failure, coronary artery disease,
               coronary artery occlusion, myocardial infarction, tachycardia
               Ear and Labyrinth Disorders: sudden hearing loss, tinnitus
               Endocrine Disorders: hyperparathyroidism, hypoglycemia
               Gastrointestinal Disorders: abdominal pain upper, diarrhea, vomiting
               General Disorders and Administrative Site Conditions: chest pain, edema peripheral, injection
               site discomfort, injection site hematoma, injection site irritation, injection site pain, injection site
               reaction, malaise, paresthesia, procedural pain
               Immune System Disorders: anaphylactic reaction, anaphylactic shock, asthma, dermatitis
               allergic, hypersensitivity, leukocytoclastic vasculitis
               Infections and Infestations: injection site abscess, prostate infection
               Investigations: alanine aminotransferase increased, aspartate aminotransferase increased, blood
               bilirubin increased, blood glucose increased, blood pressure increased, blood prolactin increased,
               blood testosterone decreased, blood testosterone increased, blood triglycerides increased,
               gamma-glutamyltransferase increased, hematocrit increased, intraocular pressure increased, liver
               function test abnormal, prostate examination abnormal, prostatic specific antigen increased,
               transaminases increased
               Metabolism and Nutrition Disorders: diabetes mellitus, fluid retention, hyperlipidemia,
               hypertriglyceridemia
               Musculoskeletal and Connective Tissue Disorders: musculoskeletal chest pain, musculoskeletal
               pain, myalgia, osteopenia, osteoporosis, systemic lupus erythematosus
               Neoplasms Benign, Malignant and Unspecified (including cysts and polyps): prostate cancer,
               prostatic intraepithelial neoplasia
               Nervous System Disorders: stroke, cerebrovascular insufficiency, reversible ischemic
               neurological deficiency, transient ischemic attack
               Psychiatric Disorders: aggression, anxiety, depression, insomnia, irritability, Korsakoff’s
               psychosis non-alcoholic, male orgasmic disorder, nervousness, restlessness, sleep disorder
               Renal and Urinary Disorders: calculus urinary, dysuria, hematuria, nephrolithiasis, pollakiuria,
               renal colic, renal pain, urinary tract disorder
               Reproductive System and Breast Disorders: azoospermia, benign prostatic hyperplasia, breast
               induration, breast pain, erectile dysfunction, gynecomastia, libido decreased, libido increased,
               prostate induration, prostatitis, spermatocele, testicular pain
               Respiratory, Thoracic and Mediastinal Disorders: asthma, chronic obstructive pulmonary
               disease, cough, dysphonia, dyspnea, hyperventilation, obstructive airway disorder, pharyngeal
               edema, pharyngolaryngeal pain, pulmonary microemboli, pulmonary embolism, respiratory
               distress, rhinitis, sleep apnea syndrome, snoring
               Skin and Subcutaneous Tissue Disorders: acne, alopecia, angioedema, angioneurotic edema,
               dermatitis allergic, erythema, hyperhidrosis, pruritus, rash



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               Vascular Disorders: cerebral infarction, cerebrovascular accident, circulatory collapse, deep
               venous thrombosis, hot flush, hypertension, syncope, thromboembolism, thrombosis, venous
               insufficiency


               7          DRUG INTERACTIONS
               7.1        Insulin
               Changes in insulin sensitivity or glycemic control may occur in patients treated with androgens.
               In diabetic patients, the metabolic effects of androgens may decrease blood glucose and,
               therefore, may necessitate a decrease in the dose of anti-diabetic medication.

               7.2        Oral Anticoagulants
               Changes in anticoagulant activity may be seen with androgens, therefore more frequent
               monitoring of international normalized ratio (INR) and prothrombin time are recommended in
               patients taking warfarin, especially at the initiation and termination of androgen therapy.

               7.3        Corticosteroids
               The concurrent use of testosterone with corticosteroids may result in increased fluid retention
               and requires careful monitoring, particularly in patients with cardiac, renal or hepatic disease.


               8          USE IN SPECIFIC POPULATIONS
               8.1        Pregnancy
               Risk Summary
               AVEED is contraindicated in pregnant women. Testosterone is teratogenic and may cause fetal
               harm based on data from animal studies and its mechanism of action [see Contraindications (4)
               and Clinical Pharmacology (12.1)]. Exposure of a female fetus to androgens may result in
               varying degrees of virilization. In animal development studies, exposure to testosterone in utero
               resulted in hormonal and behavioral changes in offspring and structural impairments of
               reproductive tissues in female and male offspring. These studies did not meet current standards
               for nonclinical development toxicity studies.

               Data

               Animal Data
               In developmental studies conducted in rats, rabbits, pigs, sheep and rhesus monkeys, pregnant
               animals received intramuscular injection of testosterone during the period of organogenesis.
               Testosterone treatment at doses that were comparable to those used for testosterone replacement
               therapy resulted in structural impairments in both female and male offspring. Structural
               impairments observed in females included increased anogenital distance, phallus development,
               empty scrotum, no external vagina, intrauterine growth retardation, reduced ovarian reserve, and



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               increased ovarian follicular recruitment. Structural impairments seen in male offspring included
               increased testicular weight, larger seminal tubular lumen diameter, and higher frequency of
               occluded tubule lumen. Increased pituitary weight was seen in both sexes.
               Testosterone exposure in utero also resulted in hormonal and behavioral changes in offspring.
               Hypertension was observed in pregnant female rats and their offspring exposed to doses
               approximately twice those used for testosterone replacement therapy.

               8.2           Lactation
               Risk Summary
               AVEED is not indicated for use in females.

               8.3           Females and Males of Reproductive Potential
               Infertility
               During treatment with large doses of exogenous androgens, including AVEED, spermatogenesis
               may be suppressed through feedback inhibition of the hypothalamic-pituitary-testicular axis [see
               Warnings and Precautions (5.9)], possibly leading to adverse effects on semen parameters
               including sperm count. Reduced fertility is observed in some men taking testosterone
               replacement therapy. Testicular atrophy, subfertility, and infertility have also been reported in
               men who abuse anabolic androgenic steroids [see Drug Abuse and Dependence (9.2)]. With
               either type of use, the impact on fertility may be irreversible.

               8.4           Pediatric Use
               Safety and effectiveness of AVEED in pediatric patients less than 18 years old have not been
               established. Improper use may result in acceleration of bone age and premature closure of
               epiphyses.

               8.5           Geriatric Use
               There have not been sufficient numbers of geriatric patients in controlled clinical studies with
               AVEED to determine whether efficacy or safety in those over 65 years of age differs from
               younger subjects. Of the153 patients enrolled in the pivotal clinical study utilizing AVEED,
               26 (17.0%) were over 65 years of age. Additionally, there are insufficient long-term safety data
               in geriatric patients to assess the potentially increased risk of cardiovascular disease and prostate
               cancer.
               Geriatric patients treated with androgens may also be at risk for worsening of signs and
               symptoms of BPH [see Warnings and Precautions (5.3)].

               8.6           Renal Impairment
               No studies were conducted in patients with renal impairment.

               8.7           Hepatic Impairment
               No studies were conducted in patients with hepatic impairment.


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               9            DRUG ABUSE AND DEPENDENCE
               9.1          Controlled Substance
               AVEED contains testosterone, a Schedule III controlled substance in the Controlled Substances
               Act.

               9.2          Abuse
               Drug abuse is intentional non-therapeutic use of a drug, even once, for its rewarding
               psychological and physiological effects. Abuse and misuse of testosterone are seen in male and
               female adults and adolescents. Testosterone, often in combination with other anabolic
               androgenic steroids (AAS), and not obtained by prescription through a pharmacy, may be abused
               by athletes and bodybuilders. There have been reports of misuse of men taking higher doses of
               legally obtained testosterone than prescribed and continuing testosterone despite adverse events
               or against medical advice.

               Abuse-Related Adverse Reactions
               Serious adverse reactions have been reported in individuals who abuse anabolic androgenic
               steroids, and include cardiac arrest, myocardial infarction, hypertrophic cardiomyopathy,
               congestive heart failure, cerebrovascular accident, hepatotoxicity, and serious psychiatric
               manifestations, including major depression, mania, paranoia, psychosis, delusions,
               hallucinations, hostility, and aggression.
               The following adverse reactions have also been reported in men: transient ischemic attacks,
               convulsions, hypomania, irritability, dyslipidemias, testicular atrophy, subfertility, and infertility.
               The following additional adverse reactions have been reported in women: hirsutism, virilization,
               deepening of voice, clitoral enlargement, breast atrophy, male-pattern baldness, and menstrual
               irregularities.
               The following adverse reactions have been reported in male and female adolescents: premature
               closure of bony epiphyses with termination of growth, and precocious puberty.
               Because these reactions are reported voluntarily from a population of uncertain size and may
               include abuse of other agents, it is not always possible to reliably estimate their frequency or
               establish a causal relationship to drug exposure.

               9.3          Dependence
               Behaviors Associated with Addiction
               Continued abuse of testosterone and other anabolic steroids, leading to addiction is characterized
               by the following behaviors:
                        •   Taking greater dosages than prescribed
                        •   Continued drug use despite medical and social problems due to drug use
                        •   Spending significant time to obtain the drug when supplies of the drug are interrupted
                        •   Giving a higher priority to drug use than other obligations


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                        •   Having difficulty in discontinuing the drug despite desires and attempts to do so
                        •   Experiencing withdrawal symptoms upon abrupt discontinuation of use
               Physical dependence is characterized by withdrawal symptoms after abrupt drug discontinuation
               or a significant dose reduction of a drug. Individuals taking supratherapeutic doses of
               testosterone may experience withdrawal symptoms lasting for weeks or months which include
               depressed mood, major depression, fatigue, craving, restlessness, irritability, anorexia, insomnia,
               decreased libido, and hypogonadotropic hypogonadism.
               Drug dependence in individuals using approved doses of testosterone for approved indications
               has not been documented.


               10           OVERDOSAGE
               There have been no reports of overdosage in the AVEED clinical trials. There is 1 report of acute
               overdosage with use of an approved injectable testosterone product: this subject had serum
               testosterone levels of up to 11,400 ng/dL with a cerebrovascular accident.
               Treatment of overdosage would consist of discontinuation of AVEED together with appropriate
               symptomatic and supportive care.


               11           DESCRIPTION
               AVEED (testosterone undecanoate) injection contains testosterone undecanoate
               (17β-undecanoyloxy-4-androsten-3-one) which is an ester of the androgen, testosterone.
               Testosterone is formed by cleavage of the ester side chain of testosterone undecanoate.
               Testosterone undecanoate is a white to off-white crystalline substance. The empirical formula of
               testosterone undecanoate is C30H48O3 and a molecular weight of 456.7. The structural formula is:
               Figure 2:       Testosterone Undecanoate




               AVEED is a clear, yellowish, sterile oily solution containing testosterone undecanoate, a
               testosterone ester, for intramuscular injection. Each single use vial contains 3 mL of 250 mg/mL



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               testosterone undecanoate solution in a mixture of 1500 mg of benzyl benzoate and 885 mg of
               refined castor oil.


               12         CLINICAL PHARMACOLOGY
               12.1       Mechanism of Action
               Endogenous androgens, including testosterone and dihydrotestosterone (DHT) are responsible
               for the normal growth and development of the male sex organs and for maintenance of secondary
               sex characteristics. These effects include the growth and maturation of prostate, seminal vesicles,
               penis, and scrotum; the development of male hair distribution, such as facial, pubic, chest, and
               axillary hair; laryngeal enlargement; vocal cord thickening; and alterations in body musculature
               and fat distribution.
               Male hypogonadism, a clinical syndrome resulting from insufficient secretion of testosterone,
               has 2 main etiologies. Primary hypogonadism is caused by defects of the gonads, such as
               Klinefelter’s syndrome or Leydig cell aplasia, whereas secondary hypogonadism is the failure of
               the hypothalamus (or pituitary) to produce sufficient gonadotropins (FSH, LH).

               12.3       Pharmacokinetics
               Absorption
               AVEED 750 mg delivers physiologic amounts of testosterone, producing circulation testosterone
               concentrations that approximate normal concentrations (300-1000 ng/dL) seen in healthy men.
               Testosterone esters in oil injected intramuscularly are absorbed from the lipid phase. Cleavage of
               the undecanoic acid side chain of AVEED by tissue esterases releases testosterone.
               Following intramuscular injection of 750 mg of AVEED, serum testosterone concentrations
               reach a maximum after a median of 7 days (range 4 to 42 days) then slowly decline (Figure 3).
               Steady-state serum testosterone concentration was achieved with the third injection of AVEED at
               14 weeks.
               Figure 3 shows the mean serum total testosterone concentration-time profile during the third
               injection interval (at steady state, 14 to 24 weeks) for hypogonadal men (less than 300 ng/dL)
               given 750 mg AVEED at initiation, at 4 weeks, and every 10 weeks thereafter. Intramuscular
               injection of 750 mg of AVEED generates mean steady-state serum total testosterone
               concentrations in the normal range for 10 weeks.




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               Figure 3:      Mean (SD) Serum Total Testosterone Concentrations (ng/dL) at 14 to
                              24 Weeks




               Distribution
               Circulating testosterone is chiefly bound in the serum to sex hormone-binding globulin (SHBG)
               and albumin.
               Approximately 40% of testosterone in plasma is bound to SHBG, 2% remains unbound (free),
               and the rest is loosely bound to albumin and other proteins.

               Metabolism
               Testosterone undecanoate is metabolized to testosterone via ester cleavage of the undecanoate
               group. The mean (SD) maximum concentration of testosterone undecanoate was
               90.9 (68.8) ng/dL on Day 4 following injection of AVEED. Testosterone undecanoate was nearly
               undetectable 42 days following injection of AVEED.
               Testosterone is metabolized to various 17-keto steroids through 2 different pathways. The major
               active metabolites of testosterone are estradiol and DHT.
               DHT concentrations increased in parallel with testosterone concentrations during AVEED
               treatment. Average DHT concentrations during a dosing interval ranged from 244 to 451 ng/dL.
               The mean DHT to testosterone ratios ranged from 0.05 to 0.07.

               Excretion
               There is considerable variation in the half-life of testosterone as reported in the literature,
               ranging from 10 to 100 minutes. About 90% of a testosterone dose given intramuscularly is
               excreted in the urine as glucuronic and sulfuric acid-conjugates of testosterone or as metabolites.
               About 6% of a dose is excreted in the feces, mostly in the unconjugated form. Inactivation of
               testosterone occurs primarily in the liver.




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               Effect of Body Weight and Body Mass Index (BMI)
               Analysis of serum testosterone concentrations from 117 hypogonadal men in the 84-week
               clinical study of AVEED indicated that serum testosterone concentrations achieved were
               inversely correlated with the patient’s body weight. In 60 patients with pretreatment body weight
               of ≥100 kg, the mean (±SD) serum testosterone average concentration was 426 ± 104 ng/dL. A
               higher serum testosterone average concentration (568 ± 139 ng/dL) was observed in 57 patients
               weighing 65 to 100 kg. A similar trend was also observed for maximum serum testosterone
               concentrations.
               In 70 patients with pretreatment BMIs of >30 kg/m2, the mean (±SD) serum testosterone average
               concentration was 445 ± 116 ng/dL. Higher serum testosterone average concentrations
               (579 ± 101 ng/dL and 567± 155ng/dL) were observed in patients with BMIs <26 kg/m2 and 26 to
               30 kg/m2, respectively. A similar trend was also observed for maximum serum testosterone
               concentrations.


               13         NONCLINICAL TOXICOLOGY
               13.1       Carcinogenesis, Mutagenesis, Impairment of Fertility
               Carcinogenesis
               Testosterone has been tested by subcutaneous injection and implantation in mice and rats. In
               mice, the implant induced cervical-uterine tumors, which metastasized in some cases. There is
               suggestive evidence that injection of testosterone into some strains of female mice increases their
               susceptibility to hepatoma. Testosterone is also known to increase the number of tumors and
               decrease the degree of differentiation of chemically induced carcinomas of the liver in rats.

               Mutagenesis
               AVEED was negative in the in vitro Ames assays, the chromosomal aberration assay in human
               lymphocytes, and in the in vivo mouse micronucleus assay.

               Impairment of Fertility
               The administration of exogenous testosterone has been reported to suppress spermatogenesis in
               the rat, dog, and non-human primates, which was reversible on cessation of the treatment.


               14         CLINICAL STUDIES
               14.1       Testosterone Replacement Therapy
               AVEED was evaluated for efficacy in an 84-week, single-arm, open-label, multicenter study of
               130 hypogonadal men. Eligible patients weighed at least 65 kg, were 18 years of age and older
               (mean age 54.2 years), and had a morning serum total testosterone concentration <300 ng/dL
               (mean screening testosterone concentration 215 ng/dL). Patients were caucasian (74.6%),
               black (12.3%), Hispanic (10.8%), and of other ethnicities (2.3%). The mean BMI was 32 kg/m2.



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               All patients received injections of AVEED 750 mg at baseline, at 4 weeks, and then every
               10 weeks thereafter.
               The primary endpoint was the percentage of patients with average serum total testosterone
               concentration (Cavg) within the normal range (300-1000 ng/dL) after the third injection, at steady
               state.
               The secondary endpoint was the percentage of patients with maximum total testosterone
               concentration (Cmax) above 3 pre-determined limits: greater than 1500 ng/dL, between 1800 and
               2499 ng/dL, and greater than 2500 ng/dL.
               A total of 117 out of 130 hypogonadal men completed study procedures through Week 24 and
               were included in the evaluation of testosterone pharmacokinetics after the third AVEED
               injection. Ninety-four percent (94%) of patients maintained a Cavg within the normal range
               (300 to 1000 ng/dL). The percentages of patients with Cavg below the normal range (less than
               300 ng/dL) and above the normal range (greater than 1000 ng/dL) were 5.1% and 0.9%,
               respectively.
               Table 2 summarizes the mean (SD) serum total testosterone pharmacokinetic parameters at
               steady state for these 117 patients.
               Table 2:            Mean (SD) Serum Total Testosterone Concentrations at Steady State
                                                                                 AVEED 750 mg
                                                                                   (N=117)
                 Cavg (0 to 10 weeks) (ng/dL)                                        495 (142)
                 Cmax (ng/dL)                                                        891 (345)
                Cmin (ng/dL)                                                           324 (99)
               Cavg = average concentration; Cmax = maximum concentration; Cmin = minimum concentration
               The percentage of patients with Cmax >1500 ng/dL was 7.7%. No patient had a Cmax
               > 1800 ng/dL.


               16             HOW SUPPLIED/STORAGE AND HANDLING
               AVEED, NDC 67979-511-43: 750 mg/3 mL (250 mg/mL) testosterone undecanoate sterile
               injectable solution is provided in an amber glass vial with silver-colored crimp seal and gray
               plastic cap. Each vial is individually packaged in a carton box.
               Store at controlled room temperature 25°C (77°F); excursions permitted to 15°C - 30°C
               (59°F - 86°F) [See USP controlled room temperature] in its original carton until the date
               indicated.
               Before use, each vial should be visually inspected. Only vials free from particles should be used.
               Single Use Vial. Discard unused portion.




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               17           PATIENT COUNSELING INFORMATION
               See FDA-Approved Medication Guide.
               Advise patients of the following:

               17.1         Risks of Serious Pulmonary Oil Microembolism (POME) and
                            Anaphylaxis
                        •   Serious POME reactions, involving cough, urge to cough, shortness of breath,
                            sweating, throat tightening, chest pain, dizziness, and syncope, have been reported to
                            occur during or immediately after the injection of intramuscular testosterone
                            undecanoate. The majority of these events lasted a few minutes and resolved with
                            supportive measures; however, some lasted up to several hours and some required
                            emergency care and/or hospitalization.
                        •   Episodes of anaphylaxis, including life-threatening reactions, have also been reported
                            to occur following the injection of intramuscular testosterone undecanoate.
                        •   Both serious POME reactions and anaphylaxis can occur after any injection of
                            testosterone undecanoate during the course of therapy, including after the first dose.
                        •   Advise the patient to read the AVEED REMS information sheet titled “What You
                            Need to Know About AVEED® Treatment: A Patient Guide”.
                        •   Instruct patients to remain at the healthcare setting for 30 minutes after each AVEED
                            injection.

               17.2         Men with Known or Suspected Carcinoma of the Prostate or Breast
               Men with known or suspected prostate or breast cancer should not use AVEED [see
               Contraindications (4)].

               17.3         Potential Adverse Reactions to Androgens
               Patients should be informed that treatment with androgens may lead to adverse reactions which
               include:
                        •   Changes in urinary habits, such as increased urination at night, trouble starting the
                            urine stream, passing urine many times during the day, having an urge to go the
                            bathroom right away, having a urine accident, or being unable to pass urine or weak
                            urine flow
                        •   Breathing disturbances, including those associated with sleep or excessive daytime
                            sleepiness
                        •   Too frequent or persistent erections of the penis
                        •   Nausea, vomiting, changes in skin color, or ankle swelling




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               17.4         Patients Should Be Advised of the Following Instructions for Use
                        •   Read the Medication Guide before starting AVEED therapy and reread the
                            Guide before each injection.
                        •   Adhere to all recommended monitoring.
                        •   Report any changes in their state of health, such as changes in urinary habits,
                            breathing, sleep, and mood.
               Distributed by:
               Endo Pharmaceuticals Inc.
               Malvern, PA 19355
               AVEED is a registered trademark of Endo Pharmaceuticals Inc. or one of its affiliates
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   CENTER FOR DRUG EVALUATION AND
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CROSS DISCIPLINE TEAM LEADER REVIEW




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              difficulty breathing, and instability in vital signs. Cases have occurred after the first dose, or
              after subsequent doses, including after up to 4 years of previously uneventful therapy. Some
              patients have reported a mild reaction on one occasion followed by a severe reaction on a later
              occasion.
              The exact mechanism for these reactions has not been elucidated, but two etiologies are
              believed to be underlying:
                  1) Pulmonary oil microembolism (POME) – as a consequence of the castor oil in
                     AVEED, and
                  2) Anaphylaxis – likely due to a reaction to the castor oil, the benzyl benzoate and/or the
                     testosterone undecanoate in AVEED.
              Since the signs and symptoms overlap, it is often not possible to differentiate serious POME
              from anaphylaxis. Some of the patients who were experiencing a severe post-injection
              reaction received treatment as if they were experiencing an anaphylactic reaction, including
              treatment with epinephrine, steroids, antihistamines, and oxygen.
              In 19 clinical trials of intramuscular testosterone, at various doses and dose regimens, in
              approximately 3600 subjects, there were 9 reported events of POME and 2 reports of
              anaphylaxis. This translates to an overall POME incidence rate of 4.6 cases per 10,000
              injections, or 21.3 cases per 10,000 person-years; and an overall anaphylaxis incidence rate of
              0.9 cases per 10,000 injections, or 4.7 cases per 10,000 person-years. In approximately 8 years
              of postmarketing experience with intramuscular testosterone undecanoate outside the United
              States, mostly at a dose of 1000 mg (4 mL) per injection, we identified 137 cases of severe
              POME or anaphylaxis. An additional 19 months of postmarketing experience showed no
              apparent change in the severity or frequency of reports. Although some of the events have
              been reported as serious, with hospitalization or emergency room visits, no case has led to
              death or permanent disability.
              While there have also been rare reports of severe POME and anaphylaxis for testosterone
              enanthate and testosterone cypionate injections, the totality of reports in FDA’s voluntary
              adverse event reporting system (FAERS) is 33 cases over a 44 year period for all approved T
              injections combined.
              Based on the occurrence of rare but serious POME and anaphylaxis events for intramuscular
              testosterone enanthate, we required the Sponsor to submit a comprehensive Risk Evaluation
              and Mitigation Strategy (REMS) with Elements to Assure Safe Use (ETASU). We also
              required the product labeling to include a Boxed Warning as well as a restricted new
              indication. In order to receive the product, health care providers will need to be specially
              certified. Product will only be distributed to certified heath care settings and certified health
              care providers. Health care providers will be trained in proper administration of the product.
              Health care providers will attest to their awareness of the risk of serious POME and
              anaphylaxis, their ability to manage the rare potential severe post-injection event, and their
              willingness to keep the patient under observation in the health care facility for 30 minutes.
              Patients will be thoroughly informed of the potential risk of serious POME and anaphylaxis.
              The Sponsor will manage this program on a continuous basis and will conduct periodic
              assessments to assure its effective functioning. The Sponsor will be vigilant to reports of




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              serious POME and anaphylaxis, will investigate them thoroughly, and will report them
              promptly.
              I am convinced that the new Risk Evaluation and Mitigation Strategy (REMS) with Elements
              to Assure Safe Use (ETASU) mitigates the potential adverse consequences of the rare serious
              POME and anaphylaxis reactions such that the benefit of Aveed now outweighs its potential
              risks in the restricted target population. I recommend that this application be Approved.

              1.2       Sources of Clinical Data
              1.2.1     Clinical Trial Data
              The clinical trials of testosterone undecanoate injection consisted of a single U.S. Phase 3
              Hypogonadism study (Study IP157-001), six European Phase 1, Phase 2 and Phase 3
              Hyypogonadism studies, 6 European Male Contraception studies, and 6 International
              Postmarketing studies, including:
                             U.S. Hypogonadism Study (N=524)
                             ! IP157-001 Parts A, B, C and C2*
                             (*A total of 153 subjects participated in the U.S. Study IP157-001 Parts C and C2
                             which employed the to-be-marketed 750 mg Loading regimen)

                             European Hypogonadism Studies (N=201)
                             ! JPH01495, European hypogonadism, 1 dose, n=14
                             ! JPH04995, European hypogonadism, multiple doses, n=14
                             ! ME98096, European hypogonadism, multiple doses, n=26
                             ! ME97029, European hypogonadism, multiple doses, n=36
                             ! 306605, European hypogonadism, multiple doses, n=96
                             ! 303934, Finland andropause (prematurely terminated), 1 dose, n=15

                             European Male Contraception Studies (N=447)
                             ! 97028, Germany male contraception, 4 doses, n=28
                             ! 97173, Italy, multiple doses, n=24
                             ! 98016, Germany, 4 doses, n=14
                             ! 99015, Germany, 4 doses, n=42
                             ! 42306, 6 countries, 4 doses, n=298
                             ! 303923, Italy, 4-6 doses, n=40

                             International Postmarketing Studies (N=2424)
                             ! AWB0105, Germany, 4 doses, n=869
                             ! 39732 (NE0601 IPASS), 18 countries, 4 doses, n=1411
                             ! 14329 (Czech NEO), Czech Republic, multiple doses, n=23
                             ! NB02, Germany (paraplegia), 2 doses, n=20
                             ! TG09, Germany (obesity), 4 doses, n=29
                             ! 14853, Prematurely terminated (older men), multiple doses, n= 3

              1.2.2     Postmarketing Safety Update Reports


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              Additional clinical data for this application come from voluntarily submitted adverse event
              reports from 9.5 years of worldwide postmarketing experience with testosterone undecanoate
              injection outside of the United States.
              The original NDA and three Complete Responses have included a total of eleven (11)
              Bayer/Schering Periodic Safety Update Reports (PSURs) from approximately 9 years of
              worldwide postmarketing use (specifically from November 25, 2003 through November 24,
              2012), as well as an Addendum covering the period until May 24, 2013. Bayer-Schering is the
              Sponsor of TU outside the US.

              1.2.3     Risk Evaluation and Mitigation Strategy (REMS)
              The current submission contains an extensive REMS, which includes Elements to Assure Safe
              Use (ETASU) and a number of documents related to the structure and functioning of the
              Aveed REMS Program, including: the REMS Document, REMS Supporting Document,
              Health Care Provider Enrollment Form, Health Care Setting Enrollment Form, Health Care
              Provider Education Program, Health Care Setting Education Program, Health Care Provider
              Webpage, Patient Counseling Tool and Aveed REMS Program Introduction Piece.



              2. Background
              2.1 DESCRIPTION OF PRODUCT
              Aveed contains testosterone undecanoate, an ester of testosterone. Although the esterified
              testosterone (T undecanoate) is itself detected in the blood following injection, the
              pharmacologically active androgen, testosterone, is formed by esterase cleavage of the
              undecanoate ester side chain. Aveed is formulated as a clear, yellowish, sterile, oily solution
              for intramuscular injection. It is supplied in single use vials, as 750mg testosterone
              undecanoate in 3mL solution. In addition to testosterone undecanoate, the product also
              contains refined castor oil (885mg) and benzyl benzoate (1500mg).

              Aveed is intended for replacement therapy in adult males for conditions associated with a
              deficiency or absence of endogenous testosterone.


              2.2 REGULATORY HISTORY
              On August 24, 2007, the original NDA was submitted.

              On June 27, 2008, the application received an Approvable action based upon Clinical and
              Chemistry deficiencies.

              The original Clinical deficiency centered on immediate post-injection reactions. The etiology
              of these was believed to be pulmonary oil microembolism (POME) and/or anaphylaxis. While
              immediate post-injection reactions were reported in just 2 clinical trial patients in the original
              NDA, such events were reported in 66 patients in the postmarketing period outside of the
              United States. In the Approvable letter, the Sponsor was asked to submit additional




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              information to further assess and to mitigate the risk of these reactions. In this regard, the
              letter spelled out 3 specific requests for Clinical information.
                  1. Detailed safety information from clinical studies to determine the incidence of serious
                     post-injection POME and allergic reactions (in clinical studies).

                  2. Information from clinical investigations intended to characterize the nature and
                     etiology of the anaphylaxis-like events with testosterone undecanoate injection.

                  3. A plan to minimize the risks associated with the clinical use of the product, namely, to
                     reduce incidence and/or severity of the serious POME and anaphylaxis-like adverse
                     events.
                                                                                     (b) (4)
              The Chemistry deficiency came from Drug Master File (DMF) #                The DMF
              deficiencies were related to the assessment of sterility of the drug product and were conveyed
              to the DMF holder in a regulatory letter dated June 25, 2008. The Approvable letter stated that
              these DMF deficiencies must be satisfactorily resolved prior to application approval. The
              reader is referred to Section 3 of my previous CDTL memos for details of the Chemistry
              deficiency and the means by which it was ultimately resolved.

              On March 2, 2009, the Sponsor submitted the first Complete Response.
              In this submission, the Sponsor reported 1 serious POME case and no systemic allergic
              reactions amongst 2,834 clinical trial subjects. The Sponsor thereby proposed an incidence of
              1 serious POME in 2834 subjects, or 3.53 serious events per 10,000 subjects, or 0.035%. For
              systemic allergic reactions, the Sponsor proposed an incidence of 0% in clinical trials. The
              Division identified several other cases that may have reflected POME or anaphylaxis, although
              the data for those cases was too sparse to allow for definitive conclusions. The Division
              further identified a total of 116 post-injection reactions (POME and anaphylaxis) in the post-
              marketing period outside the U.S., many of which were severe events.
              In addition, the Sponsor submitted a Risk Evaluation and Mitigation Strategy (REMS). The
              proposed REMS proposal included a Patient Package Insert (PPI), a Dear Health Care
              Professional (HCP) letter, and a Video for HCPs in regard to proper intramuscular injection
              technique (notably, slow and deep intramuscular injection with care taken to avoid
              intravascular injection). The Sponsor also submitted a proposal for two Phase 4 studies.
              While the Sponsor had provided the information requested for the Complete Response, as well
              as a risk management plan, the Division remained uncomfortable with the occurrence of severe
              post-injection reactions.
              It should be noted that the Chemistry deficiency in the original NDA had been satisfactorily
              resolved.
              Therefore, on December 2, 2009, the application received a Complete Response action based
              upon a remaining Clinical deficiency. The Division expressed continuing safety concerns
              regarding reports of serious, immediate, life-threatening post-injection reactions and their
              impact on the risk/benefit profile. In addition, the proposed REMS was not considered
              adequate to assure that the benefits outweighed the risks associated with the use of testosterone
              undecanoate. The Division identified 2 potential remedial actions:



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                  !     Identify which components of the drug product may be contributing to the immediate
                        post-injection reactions, and reformulate the product; or
                  !     Identify a population of adult males who require testosterone replacement therapy
                        (TRT) and in whom the additional potential risks associated with the use of TU
                        injection as currently formulated would be acceptable.

              On May 24, 2010, the Division met with Sponsor in a Type A meeting to discuss a potential
              path forward for the application. The Sponsor proposed a narrowed target population with a
              restricted distribution program under a REMS with ETASU. In response, the Division stated
              that a restricted distribution program under a REMS with ETASU might be a possible pathway
              forward in this situation.

              On June 27, 2011, the Division met with Sponsor in Type C meeting. At that time, the
              Division recommended that the Sponsor submit another CR and the application would likely
              be discussed at an Advisory Committee Meeting.

              On November 29, 2012, the second Complete Response was submitted. The submission
              contained additional information intended to better quantify the rate of serious POME and
              anaphylaxis cases as well as a revised REMS. On April 18, 2013, an AC Meeting was held
              to discuss the application. The AC was split as to the safety of the product (9 yes; 9 no) but
              was fairly unanimous (17:1) that the proposed risk mitigation strategy and product labeling
              needed improvement. Therefore, on May 29, 2013, the application again received a Complete
              Response action based upon inadequate risk mitigation. The Complete Response letter
              outlined in detail a REMS with ETASU that would be appropriate to ensure safe use of Aveed
              and also informed the Sponsor of the need for a restricted indication.

              On August 29, 2013, the third Complete Response was submitted.


              2.3 PRIMARY MEDICAL REVIEWER’S RECOMMENDATION FOR
                   APPROVABILITY
              The primary reviewer, Guodong Fang, stated in his final review dated February 21, 2014:
                     “Recommendation on Regulatory Action: In the opinion of this Clinical Reviewer, from
                     a clinical perspective, the evidence presented in the original submission and three re-
                     submissions was adequate to support the effectiveness of this product. In regard to
                     safety, the risk related to immediate post-injection reactions, including serious
                     pulmonary oil microembolism (POME) and anaphylaxis has been the major safety
                     concern. In the current re-submission, the Sponsor agreed to a restricted indication
                     and proposed a Risk Evaluation and Mitigation Strategy (REMS) with Elements to
                     Assure Safe Use (ETASU), including restricted distribution to prescribers who are
                     aware of the risk, who explain the risk to patients, and who observe patients in their
                     offices for 30 minutes after each dose. In addition, the proposed REMS includes a
                     Patient Counseling Tool based on the Medication Guide that will completely inform
                     the patient of the risk. Therefore, with this program, this reviewer believes that the
                     major safety concern has been put under control and is resolved for use of Aveed in the
                     proposed population with restricted distribution and proper management in certified


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                        clinical health care settings. Therefore, this reviewer recommends an Approval action
                        for this application.

                        In regard to the risk/benefit profile, the medical officer concluded:
                        “During the last review cycle, the Clinical Review Team concluded that the
                        postmarketing safety reports of severe post-injection reactions, including serious
                        pulmonary oil microembolism (POME) and anaphylaxis, was a major unresolved
                        safety issue.

                        After the Advisory Committee Meeting on April 19, 2013 and the Complete Response
                        (CR) action from the Division on May 29, 2013, the Sponsor made additional efforts
                        and resubmitted this NDA with an ETASU-based REMS designed to manage the risk of
                        severe post-injection adverse reactions. The REMS includes measures to mitigate the
                        risk of severe post-injection reactions, such as informing the patient of the risk,
                        insuring the prescriber is aware of the risk, and insuring patients are observed in the
                        office for 30 minutes after each dose. Only certified prescribers may receive Aveed for
                        administration to patients. After careful review, this Clinical reviewer concludes that
                        the REMS with ETASU acceptably ensures safe and effective use of the product in the
                        indicated population.

                        In addition, at the Agency’s request, the Sponsor agreed to include a “Black Box
                        Warning” in the proposed labeling as well as to restrict the indicated population.

                        With these measures in mind, this Clinical reviewer concludes that the major risk of the
                        product has been brought under control and that the benefits of the product outweigh
                        the risks in the proposed population, under conditions of restricted distribution, with
                        in-office observation for 30 minutes after each injection to allow for appropriate
                        medical management in the event of serious POME or anaphylaxis.”

              CDTL Comment: I concur with Dr. Fang’s overall conclusion and recommendation.


              3. CMC/Device
              For this cycle, in their final review, dated February 3, 2014, the CMC review team (Yichun
              Sun and Moo Jhong Rhee) concluded that the NDA is not recommended for Approval until the
              Office of Compliance makes an overall Acceptable recommendation. The CMC review team
              required the outcomes of an ongoing inspection of the drug substance manufacturing site
                                                                                          (b) (4)




              On February 24, 2014, the Office of Compliance entered an overall Acceptable
              recommendation to the EES system.

              On February 25, 2014, in a final review, the CMC review team noted that the Office of
              Compliance provided an overall “Acceptable” recommendation. Therefore, the application is
              now recommended for Approval from the ONDQA perspective.



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                                                                                                          (b) (4)
              Otherwise, the CMC review team notes that the for this re-submission, the two DMFs (
                     (b) (4)
              and            ) were adequate as of August 5, 2013, and there have been no further amendments
              for the DMFs, and therefore the two DMFs are still deemed adequate. In addition, the
              submitted information on labels and labeling are satisfactory.



              4. Nonclinical Pharmacology/Toxicology
              For this review cycle, in their final review, dated October 15, 2013, the nonclinical review
              team (Eric Andreason and Lynnda Reid) concluded that the Sponsor’s nonclinical program,
              references from the literature, and general knowledge of testosterone provided reasonable
              assurance of the safety of testosterone undecanoate (TU) in hypogonadal men. In their review,
              the nonclinical review team provided recommendations for labeling. The current re-
              submission contained no new nonclinical information.

              Previously, the nonclinical reviewers noted that the Sponsor had conducted a local toxicity that
              demonstrated only non-specific tissue injury at the site of injection.

              In regard to previous PharmTox review issues, there is one issue of potential clinical
              relevance: the potential for benzyl benzoate to act as a toxin.

                  In their original Pharmacology/Toxicology review, Drs. Andreason and Reid provided
                  results from a local tolerance study of Nebido (containing intramuscular testosterone
                  undecanoate, refined castor oil, and benzyl benzoate) in pigs. This study is reviewed on
                  page 47 of the final PharmTox review, dated April 18, 2008. It is stated that this study was
                  reviewed by Dr. Leslie McKinney. The results of this study, wherein pigs were injected
                  intramuscularly with low and high volumes of the drug product, or with vehicle alone,
                  showed areas of gross hemorrhage and necrosis at the injection sites, with necrotic tissue,
                  inflammation and multinucleated giant cells on histopathology. All groups showed similar
                  effects, including the vehicle alone group. The reviewer concluded that these observations
                  are likely due to non-specific tissue injury, and that there is no direct evidence that either
                  of the excipients, or testosterone undecanoate itself, were directly toxic to tissues.
                  However, Dr. McKinney noted that benzyl benzoate is itself a toxin, as shown by its use in
                  the treatment of scabies to kill the house mite that causes scabies. The review states:
                  "Whether it (benzyl benzoate) could directly activate macrophages, which would explain
                  the presence of giant cells at the injection site, has not been established, but has been
                  observed for other benzoates in vitro (Choi et al., Arch Pharm Res: 28[1]:49-54 [2005])".

                  The reader should also be aware that AVEED contains 1500mg of benzyl benzoate per
                  vial, a fairly large amount. I have discussed this with the primary
                  pharmacology/toxicology reviewer, Dr. Andreasen, who has indicated that he could find
                  no approved product containing more than 750mg of benzyl benzoate. Benzyl benzoate is
                  the condensation product of benzyl alcohol and benzoic acid. In a final report on the safety
                  of benzoates (benzyl alcohol, benzoic acid, and sodium benzoate) in cosmetics, the U.S.
                  Cosmetic Ingredient Expert Panel noted that benzyl alcohol and benzoic acid can produce
                  nonimmunologic contact urticaria and non-immunologic immediate contact reactions (Int


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                  J. Toxicology 2001; 20 Suppl 3:23-50). The Panel stated that such reactions were not a
                  concern at concentrations up to 5% topically; that is, when bodily exposure is limited.
                  Nonetheless, the panel stated that the clinical risks of these reactions should be considered
                  by manufacturers when assessing topical use of products containing benzyl benzoate in
                  infants and children; and that an inhalational route for these products could not yet be
                  considered safe. Benzyl benzoate appears to have played a role in at least one case of
                  severe post-injection reactions reported in the postmarketing period outside the United
                  States. In that case, a young man experienced an anaphylactic reaction to testosterone
                  undecanoate injection and subsequent skin testing revealed a positive reaction to the benzyl
                  benzoate component only.


              5. Clinical Pharmacology/Biopharmaceutics
              For this review cycle, in their final review, dated February 20, 2014, the Clinical
              Pharmacology review team (Hyunjin Kim and Myong-Jin Kim) found the application
              acceptable for approval provided that an agreement was reached on all outstanding labeling
              issues. All labeling issues have been resolved through labeling discussions with Sponsor.
              There were no new clinical pharmacology data submitted in this resubmission.

              In regard to prior Clinical Pharmacology review issues:
                  Excessive testosterone exposure was noted in a single patient who weighed <65 kg. This
                  led to a potential concern that the increased exposure may be demonstrated in patients with
                  lower body weight/lower body mass index. To resolve this issue, the ClinPharm review
                  team considered several options for labeling, including a possible new
                  Warning/Precaution. Ultimately, it was decided to create a new section within Section
                  12.3 (Pharmacokinetics) entitled “Effect of Body Weight and Body Mass Index (BMI)”.
                  This new section describes in detail the effect of body weight on exposure.

                  Testosterone undecanoate (TU) concentrations were observed in the blood in patients
                  administered Aveed. While TU is generally converted to T, serum TU concentrations
                  were clearly identified in all regimens tested. The concentration-time profile showed that
                  Tmax was approximately 4 hours for TU and serum TU concentrations were generally
                  short-lived. The reader should also be aware that while TU may be found in the blood,
                  nonclinical studies have shown that TU itself has little potential for clinical androgenic
                  activity. The ability of TU to bind to the human androgen receptor was assessed and the
                  results suggest that TU does not have significant androgenic activity since its relative
                  binding affinity was only 1.3% of testosterone. Nonetheless, Section 12.3
                  (Pharmacokinetics) describes the maximum TU concentrations observed in patients on
                  Day 4 after dosing as well as the almost undetectable TU concentrations observed on Day
                  42 after dosing.


              6. Clinical Microbiology
              On April 29, 2009, the Clinical Microbiology review team (Vinayak Pawar and David
              Hussong) recommended approval of the NDA. Upon review of amendment 9-11 to DMF


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              Prostate symptoms or induration of the prostate (or breast) suspicious for cancer, 3) Serum
              prostate specific antigen level ≥ 4 ng/mL, 4) Hyperplasia of the prostate, defined as prostate
              size ≥ 25 cm3 on transrectal ultrasonongraphy, 5) Past or present history of liver tumors, acute
              or chronic liver disease, or serum liver function tests exceeding 1.5 times upper limit of
              normal, 6) History of deep vein thrombosis (DVT) in the last 5 years, 7) Any history of
              cerebrovascular accident, 8) Severe acne, 9) Serious psychiatric disease or other uncontrolled
              medical illness, 10) Significant baseline hypertension (systolic BP > 160 mmHg and diastolic
              > 95 mm Hg), 11) Coronary artery disease not stabilized by therapy, and 12) Insulin dependent
              diabetes mellitus, or uncontrolled non-insulin dependent diabetes mellitus.
              In brief, the demographics of the study population in Part C (n=130) were as follows:
              In terms of race, the majority of subjects were White (76%), 12.3% were Black, 10.8 % were
              Hispanic, and 2.3% were “Other”. The mean age was 54 years ± 0.9 years. The median age
              was 55 years. The minimum and maximum ages of subjects in the trial were 24 years and 75
              years, respectively. Of the total, 23% (30/130) were between ages 40 - 50 years, 38% (50/130)
              were between ages 50 - 60 years, and 25% (33/130) were 60 - 70 years. The mean weight of
              subjects was 71 kg ± 14 kg. The median weight was 101 kg. The mean body mass index was
              32 kg/m2. Almost 60% of subjects had a body mass index over 30 kg/m2. The average total
              testosterone concentration at screening was 214 ng/dL.

              7.3 DISPOSITION OF SUBJECTS
              For Part C, a total of 130 patients were enrolled at a total of 31 U.S. clinical sites. Of the 130
              patients enrolled, 116 (89%) completed Stage 1 of Part C; that is, they completed through the
              4th injection visit. Of the 14 subjects who prematurely discontinued, the most common reason
              for premature discontinuation was adverse event (3.8%, or 5/130). Of the 5 who discontinued
              due to an adverse event, the adverse event was judged by the investigator to be related to
              treatment in 4 patients. The events in these 4 patients included: mood swings, acne, deep vein
              thrombosis, and estradiol increased. The fifth patients suffered a myocardial infarction, judged
              by the investigator as being not related to study medication. Other reasons for premature
              discontinuation included: patient non-compliance (3 subjects), withdrawal of patient consent
              (1 subject), loss to follow-up (2 subjects), and “other” reasons (3 subjects). The Sponsor notes
              that despite the requirement for frequent blood sampling in this study, persistence on drug
              therapy was high.

              Of note, two subjects were discontinued from the study for weighing less than 65 kg, but only
              after they had been enrolled.

              There were 4 pre-defined criteria in the protocol for subject discontinuation. These were:
              hemoglobin >21 gm/dL, PSA > 10 ng/mL, PSA > 4ng/mL but ≤ 10 ng/mL unless prostate
              cancer was ruled out by new biopsy, and uncontrolled hypertension, defined as systolic blood
              pressure ≥ 160 and diastolic BP ≥ 95 mm Hg. There were no patients who terminated from the
              study due to any of these 4 criteria.




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              7.4 EFFICACY FINDINGS
              7.4.1 Assessment of Efficacy
              The primary efficacy variable was the percentage of patients with average T concentration at
              steady state within the normal range (above 300 ng/dL but below 1000 ng/dL). Testosterone
              undecanoate 750mg was given at baseline, week 4, and every 10 weeks thereafter. Steady
              state pharmacokinetic sampling occurred during the 3rd injection interval. This is the currently
              acceptable primary efficacy endpoint for the proposed indication.

              A total of 117 patients were included in the PK population. The majority of patients in the PK
              population had complete data for most efficacy outcomes. The Sponsor’s analysis presented
              descriptive statistics (mean, standard errors, etc) for all patients with non-missing values. A
              point estimate was provided for the number (%) of subjects meeting the Cavg threshold, as were
              the 95% confidence intervals about the point estimate. The protocol stated that in order to
              reject the null hypothesis (TU 750mg Loading regimen does not provide adequate T
              replacement) in favor of the alternate hypothesis (TU 750mg Loading regimen does provide
              adequate T replacement), the percentage of responders, defined as Cavg within the normal
              range (300-1000ng/dl), must be at least 75%, with the lower bound of the two-sided
              confidence interval not lower than 65%.

              The protocol also stipulated that testosterone concentrations should not be excessively high
              outside the normal range; specifically, ≤ 1500 ng/dL in ≥ 85% of patients, 1800 – 2500 ng/dL
              in ≤ 5% of patients, and > 2500 ng/dL in no patients. All 3 criteria must be met to reject the
              null hypothesis (TU 750mg Loading regimen does result in excessively high serum T) in favor
              of the alternative hypothesis (TU 750mg Loading regimen does not result in excessively high
              serum T).

              In addition, the following secondary endpoints were evaluated:
                  1. Other pharmacokinetic assessments of testosterone, including concentrations below the
                      normal range (<300 ng/dL).
                  2. Other hormone concentrations, including free T, dihydrotestosterone (DHT), sex
                      hormone binding globulin, estradiol (E2) and the ratios of these hormones over time.
                  3. Exploratory clinical markers of testosterone replacement, including the Male Patient
                      Global Assessment (M-PGA).
                  4. Body weight and BMI.
                  5. Correlations of T concentrations with clinical outcomes.
                  6. The impact of T concentrations on erythropoiesis and lipid markers.

              7.4.1.1 Primary Efficacy Analysis
              The mean pharmacokinetic data indicated that the serum testosterone Ctrough values were
              similar at end of 2nd, 3rd, and 4th injection interval, as shown in Figure 1. A comparison of
              serum total T concentration at several time points post-injection during the 3rd and 4th
              injection intervals demonstrated similar concentration-time profiles (Figure 2). Taken
              together, these data indicate that steady state was achieved during the 3rd injection interval in
              Part C, and that this was an appropriate timepoint for assessment of the primary endpoint.


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              Figure 1: Mean (±SD) trough serum total T concentrations at each injection visit from pre-
              treatment through 5th injection – Steady state PK population, Study IP157-001 Part C




                                                                                  rd      th
              Figure 2: Comparison of serum total T concentrations between the 3 and 4 injection intervals
              – Steady state PK population, Study IP157-001 Part C




              Tables 1, 2 and 3 summarize the pharmacokinetic parameters of serum total T from the 3rd
              injection interval. The primary endpoint was Caverage.
                                                                            rd
              Table 1. Serum total T pharmacokinetic parameters from the 3 injection interval, TU 750mg
              LOADING regimen, from Study IP157-001 Part C
                PK parameter                 Mean (n=117)                   Standard deviation
                Cavg (ng/dL)                 495                            141
                Cmax (ng/dL)                 891                            345
                Tmax (days)                  7 (median)                     4 – 42 (range)



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                                                                            rd
              Table 2: PK parameters of serum total T (ng/dL) following the 3 injection interval of TU 750 mg
              LOADING regimen - PK population, Study IP157-001 Part C




                                                                                                   rd
              Table 3: Serum total T concentrations (ng/dL) over 70 days (10 weeks) following the 3 injection
              of TU 750 mg LOADING regimen - PK population, Study IP157-001 Part C




              One patient was excluded from the PK analysis due to protocol violation. This was Patient
              002-7022, who was taking concomitant DHEA, an androgenic steroid hormone prohibited in
              this study.

              Figures 3 and 4 show the mean and individual concentration-time profiles for serum
              testosterone, respectively, following the 3rd injection interval.




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                                                                               rd
              Figure 3: Mean (±SD) serum total T concentrations following the 3 injection interval of TU 750
              mg LOADING regimen, from Study IP157-001 Part C




                                                                                           rd
              Figure 4: Composite of individual serum total T concentration following the 3 injection of the
              TU 750 mg LOADING regimen – PK population, Study IP157-001 Part C




              The primary efficacy endpoint in this study was the percentage of responders defined as Cavg
              within the normal range (300 – 1000 ng/dL). To meet the primary efficacy criterion, the point
              estimate for the pre-determined primary endpoint was set as at least 75% and the lower bound
              of the two-sided 95% confidence interval was set as not lower than 65%.

              Ninety-four percent of patients (110 of 117) had serum total T Cavg within the 300 – 1000
              ng/dL range. The 95% confidence interval around this point estimate was 89.6 - 98.5. Of the 7
              patients who did not meet this criterion, 6 failed due to Caverage below 300ng/dL and one failed
              due to a Caverage above 1000ng/dL.




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              Therefore, the data from Part C show that the primary efficacy objective was achieved.

              7.4.1.2 Secondary Efficacy Analysis
              Cmax was an important secondary efficacy endpoint in Part C. To meet the Cmax efficacy
              criterion, the criteria shown in Table 4 were pre-defined:

              Table 4: Decision criteria for Cmax




              Based upon pre-defined eligibility criteria, the Sponsor excluded from the PK analysis those
              patients who weighed less than 65kg. One patient (a protocol violation) fell into this category
              in Part C (Patient 031-7021). This patient did experience a serum testosterone concentration
              above 2500 ng/dL during the 3rd injection interval. Otherwise, only nine of the 117 patients
              (7.7%) had Cmax > 1500 ng/dL and no patient had Cmax ≥ 1800 ng/dL.

              In summary, the data show that the Cmax efficacy objective was achieved in Part C in men
              weighing more than 65 kg.

              In addition to the increase in serum total T concentration, the serum concentrations of free T
              and known downstream metabolites, dihydrotestosterone and estradiol, were also increased.
              The increases in serum DHT and E2 were expected. Average DHT concentrations tended to
              remain within the lower end of the normal range, while average E2 concentrations tended to
              remain in the middle of the normal range. TU administration did not affect concentrations of
              sex hormone binding globulin (SHBG). With SHBG and albumin concentrations unchanged,
              the increase in free T concentration was also expected. The concentration versus time profiles
              for free T, DHT and E2 generally paralleled the T concentration-time profile. DHT:T and E2:T
              ratios were unchanged. The reader is referred to the original and subsequent medical officer’s
              primary reviews and to the Clinical Pharmacology reviews for additional details, tables and
              figures for these variables.

              In regard to other secondary endpoints:
                  ! Average values of hemoglobin and hematocrit increased slightly from pre-treatment, as
                      average T concentrations increased. The average increases in these markers of
                      erythropoiesis were small and average values remained within the normal range.




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                  !     The improvement seen in “treatment satisfaction” appeared to correlate with higher T
                        concentrations in some patients. Overall, 92% of patients expressed satisfaction with
                        treatment.
                  !     At Day 21 of the 3rd injection interval, > 80% of patients demonstrated improvements
                        in each item of the M-PGA questionnaire.
                  !     Changes in T concentrations were weakly inversely correlated with changes from
                        baseline in body mass index (BMI) and weight. However, there were no notable
                        changes in other body composition measures.

              Statistician’s Conclusion
              For this cycle, in his final review dated February 4, 2014, the Biometrics Team Leader
              (Mahboob Sobhan) stated that no new efficacy data was submitted in this resubmission.
              Therefore, no statistical input was necessary.

              In prior reviews, the Biometrics Team Leader (Mahboob Sobhan) had the following
              conclusions:
                        For the review of the original NDA submission (review dated June 24, 2008): “The
                        results support the efficacy of Nebido TU 750 mg LOADING in the treatment of
                        hypogonadism in adult male as indicated by the attainment of steady state by the 3rd
                        injection. The intensive sampling for PK outcomes (Cavg and Cmax) also met FDA
                        threshold for approvability and, therefore, can be extrapolated to represent PK
                        outcomes under extended dosing beyond 3 injections.”

                        For the first Complete Response submission (review dated July 21, 2009): “In our
                        earlier statistical review, we concluded that testosterone undecanoate (TU) was
                        efficacious in treating hypogonadism in adult males. There were no new efficacy data
                        submitted for our review to further substantiate or change the efficacy data in the
                        label. We have reviewed the new label and from a statistical perspective, our
                        conclusions remain unchanged.”
                        For the second Complete Response: No new statistical analyses were conducted as part
                        of the review of the second CR.

              7.4.2 Overall Assessment of Efficacy
              The TU 750mg Loading regimen was found to provide adequate replacement of testosterone in
              hypogonadal men weighing >65kg (as measured by testosterone Caverage), while not providing
              excessive testosterone (as measured by testosterone Cmaximum). The dosing regimen
              demonstrated a Cavg within the normal range and a Cmax profile that did not exceed the
              approvability thresholds provided. Thus, the primary efficacy objectives of the Phase 3 study
              were met.




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              8. Safety
              8.1 SAFETY FINDINGS
              This Safety Introduction provides an overview of the contents and safety findings from the
              original NDA and each of the three subsequent Complete Response submissions.

              Contents and Safety Findings From the Original NDA
              The original NDA submission contained safety data from 6 studies, as follows:

                  1) The single U.S. pivotal Phase 3 study IP157-001, including Parts A, B and C.
                        a. Part A included a total of 237 adult male subjects, enrolled in two dose arms:
                            750mg every 12 weeks (n=120) and 1000mg every 12 weeks (n=117)

                              b. Part B included a total of 134 adult male subjects in two treatment groups: 112
                                 patients received an initial injection of TU 1000 mg, followed 8 weeks later by
                                 a loading injection of 1000 mg and then 1000 mg every 12 weeks thereafter,
                                 while 22 patients received an initial injection of 1000 mg, followed 8 weeks
                                 later by a loading injection of 750 mg and then 750 mg every 10 weeks
                                 thereafter.

                              c. Part C included a total of 117 adult male subjects enrolled in the 750mg
                                 Loading regimen, the to-be-marketed dosage regimen. The Sponsor also
                                 submitted safety data on another 36 adult male subjects taking the 750 Loading
                                 regimen in a longer-term extension study (referred to as Part C2)

                  2) Five, older, European, dose-finding trials comprising a total of 185 adult male subjects
                     (Studies JPH01495, JPH04995, ME98096, ME97029 and 306605).

              When combined, a total of 709 adult male hypogonadal subjects contributed safety data
              from controlled studies to the original NDA.

              The original NDA also contained six (6) Bayer/Schering Periodic Safety Update Reports
              (PSURs) from approximately 3.5 years of worldwide postmarketing use (specifically
              November 25, 2003 through June 30, 2007). Bayer-Schering is the Sponsor of TU outside the
              US. The 120-Day Safety Update to the original NDA contained a more recent postmarketing
              safety update report from Endo for the time period June 30, 2007 to October 12, 2007.
              Finally, the original NDA included a Summary Report entitled, “Immediate Post-Injection
              Reactions Suspect of Pulmonary Oil Microembolism” (report dated February 12, 2008).

              In the opinion of the Clinical review team, the clinical trial safety data was consistent with an
              injectable androgen, except for the occurrence of immediate post-injection reactions in 2
              patients. These 2 events were described as urge to cough with dyspnea, and a coughing fit,
              immediately following injection. The PSURs and Summary Report of Post-Injection
              Reactions raised concerns related to immediate post-injection respiratory and allergic-type
              adverse events. While there had been only 2 such events reported in 2 patients in clinical
              trials, the PSURs and Summary Report of Post-Injection Reactions included 66 postmarketing
              cases. The 66 postmarketing cases were marked by cough, shortness of breath, throat-related


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              symptoms (throat tickle, throat tightness, throat fullness, etc), flushing, allergic-type
              phenomenon (such as rash, pruritis, itching), tachycardia, palpitations, BP changes, and
              constitutional symptoms, such as headache, malaise, shivering, sweating, weakness and
              nausea.

              Based largely on the occurrence of these post-injection reactions, the Division issued an
              Approvable letter for the original NDA.

              Contents and Safety Findings from the First Complete Response
              In the first Complete Response, the Sponsor provided safety data from an additional 11 clinical
              studies; 7 completed and 4 ongoing. The data was submitted as a new Summary Report,
              entitled, “Incidence of Injection-Based Pulmonary Oil Reactions and Allergic Reactions from
              Clinical Studies of TU” (report dated February 12, 2009). Final or interim study reports were
              provided for each of the 11 new studies. These 11 new studies comprised a total of 2,125
              additional subjects. These studies were:
                           ! AWB0105, Germany, 4 doses, n=870
                           ! NE0601 (IPASS), 18 countries, 4 doses, n=763
                           ! TG09, Germany (obesity), 4 doses, n=29
                           ! NB02, Germany (paraplegia), 2 doses, n=19
                           ! Czech NEO, Czechoslovakia, 4 doses, n=23
                           ! 303934, Finland (andropause), 1 dose, n=15
                           ! 97028, Germany, 4 doses, n=28
                           ! 97173, Italy, 1 dose, n=24
                           ! 99015, Germany, 4 doses, n=42
                           ! 98016, Germany, 4 doses, n=14
                           ! 42306, 6 countries, 4 doses, n=298
              Therefore, for the first Complete Response, the overall clinical trial safety database was 2,834
              subjects in 17 trials.

              The Sponsor also submitted two additional postmarketing safety updates (Bayer/Schering
              PSUR 7 and PSUR 8), bringing the total duration of postmarketing experience to
              approximately 5.5 years:
                 ! A Bayer/Schering PSUR for the time period November 25, 2007 through November
                     24, 2008
                 ! A Final Safety Update from Endo for the time period November 25, 2008 – August 29,
                     2009

              To briefly summarize the Safety findings from the first Complete Response:

              1) In regard to the incidence of post-injection reactions in clinical trials, the original NDA
                 contained 2 such cases. The two original NDA clinical trial cases were:
                 ! Patient #184 in Study 306605. A 54 year old male received his 10th injection of
                     testosterone undecanoate on 3 April 2006 and shortly (1 minute) after the injection, he
                     “experienced urge to cough associated with respiratory distress”. Both symptoms
                     lasted approximately 14-15 minutes. The event resolved without intervention and the
                     subject continued in the study.


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                  !     Patient #050-7006 in Study IP157-001 Part C). A 53 year old white male received his
                        3rd injection on 12 July 2007 and experienced a “mild and not serious coughing fit
                        lasting 10 minutes following the injection.” The narrative describes the patient’s cough
                        as not productive, without wheezing and without difficulty breathing. No intervention
                        was given and the patient continued on-treatment without subsequent coughing event.

                  The Sponsor detected no additional cases amongst the 2125 additional subjects. The
                  Sponsor therefore counted 1 serious POME case and no systemic allergic reactions in the
                  numerator. The denominator was totaled as 2,834 subjects. The Sponsor thereby proposed
                  an incidence of 1 serious POME in 2834 subjects, or 3.53 serious events per 10,000
                  subjects, or 0.035%. For systemic allergic reactions, the Sponsor proposed an incidence of
                  0% in clinical trials.

                  The Clinical review team detected 6 additional potential cases of interest from clinical
                  trials. However, information from these cases was too sparse to ascribe a specific etiology
                  to the events, but nevertheless, they were all severe, immediate post-injection reactions.
                  The Clinical review team believes that the former 3 events have a greater chance of being
                  serious POME or systemic allergic reactions compared to the latter 3, but all 6 are notable.
                  The former 3 cases are:
                  ! Patient #11 in Study 97173 (convulsions)
                  ! Patient #17 in Study 97173 (collapse),
                  ! Patient #4 in Study JPH04995 (circulatory collapse)

                  If just these 3 cases were added to the numerator, this would result in an incidence of
                  immediate post-injection reactions in clinical trials of 4 events in 2834 subjects (0.14%).

                  The latter three cases are:
                  ! Patient #025-4187 in Study IP157-001 Part A (pre-syncope)
                  ! Patient #26 in Study 97029 (syncope)
                  ! Patient #35 in Study 97029 (circulatory collapse).

                  In summary, whether the clinical trials show 2, 5 or 8 incident cases is not as critical as the
                  overall picture, especially coupled with the findings from postmarketing reports, which
                  show the occurrence of severe and life-threatening immediate post-injection reactions.

              2) In regard to the postmarketing Safety Updates submitted in the first Complete Response,
                 the Clinical review detected 52 new cases of immediate post-injection reactions. Of these
                 52 cases, almost all were severe, and approximately 20 appeared to reflect anaphylaxis.
                 The Clinical review team also expressed concern related to a case of full-blown, post-
                 injection anaphylaxis in a 16 year old male.

              Based on the totality of the safety data in the first Complete Response, especially in light of
              the occurrence of severe immediate post-injection reactions in the post-marketing period
              outside the United States, the Division issued a Complete Response action for the first
              Complete Response.


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              Contents and Safety Findings from the Second Complete Response
              In the second Complete Response, the Sponsor provided safety data from one additional study,
              bringing the total to 18 clinical studies. The total number of clinical trial subjects included in
              the pool for analysis of adverse events of interest (POME and anaphylaxis) from this
              compilation of clinical trials was 3,556 subjects.
              In addition to this clinical trial experience, the second CR included the results of a detailed and
              extensive search of the Bayer/Schering postmarketing safety databases for cases of POME and
              anaphylaxis for testosterone undecanoate injection. FDA and Endo had agreed in advance on
              terms to be used in this search. According to the analysis conducted by Endo Pharmaceuticals
              internal assessors, this search identified a total of 307 post-injection reaction cases, including
              228 cases of POME and 79 cases of anaphylaxis. A subsequent second analysis by
              “independent adjudicators” contracted by Endo Pharmaceuticals identified a total of 268 post-
              injection reaction cases, including 223 cases of POME and 45 cases of anaphylaxis. In
              compliance with FDA’s request, the Sponsor included individual CIOMS reports in the second
              CR submission for all postmarketing adverse events of potential interest (e.g., POME and
              anaphylaxis).
              The Sponsor also submitted three additional postmarketing safety updates (including
              Bayer/Schering PSUR 9 and PSUR 10 and a postmarketing update from Endo) in this second
              Complete Response, bringing the total duration of postmarketing experience to approximately
              8.5 years:
                  ! A Bayer/Schering PSUR for the time period November 25, 2009 through November
                     24, 2010
                  ! A Bayer/Schering PSUR for the time period November 25, 2010 through November
                     24, 2011.
                  ! A PSUR Addendum Report for the time period November 25, 2011 through April 30,
                     2012.

              To briefly summarize the Safety findings from the second Complete Response:

              1. In regard to the incidence of post-injection reactions in clinical trials, in an analysis of all
                 cases adjudicated as POME or anaphylaxis among 3,556 subjects in 18 clinical trials,
                  a. There was one (1) POME case among the 467 men who received 750 mg TU, and eight
                     (8) POME cases among the 3089 men who received 1000 mg TU. Thus, for both
                     doses combined, there were 9 POME cases among 3556 subjects, which translates to
                     4.6 cases per 10,000 injections, or 21.3 cases per 10,000 person-years.

                  b. There were no reports of anaphylaxis among 467 men who received 750 mg TU. There
                     were two (2) cases of anaphylaxis among 3089 men in the 1000 mg dose group. Thus,
                     for both doses combined, the rate of anaphylaxis is 0.9 cases per 10,000 injections, or
                     4.7 cases per 10,000 person-years.

              2. In regard to the postmarketing Safety Updates,




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                  a. FDA reviewed case narratives for 330 potential cases of anaphylaxis for the entire
                     postmarketing experience for testosterone undecanoate. From these, we identified a
                     total of 53 and 76 cases of anaphylaxis, using strict and less restrictive anaphylaxis
                     identification criteria, respectively.
                  b. FDA reviewed case narratives for 533 potential cases of POME. We identified a total
                     of 170-191 cases of POME cases (the range is due to overlap with anaphylaxis cases
                     identified using strict or less strict anaphylaxis identification criteria and thus, greater
                     or fewer POME cases are tallied). Of these, we adjudicated 55-76 cases as severe
                     POME.

              Based on this safety information, as well as the advice provided to FDA by a joint meeting of
              the Reproductive Health and Risk Management Advisory Committees on April 18, 2013,
              DBRUP issued another CR action, this time requiring submission of a Risk Evaluation and
              Mitigation Strategy (REMS) focused on mitigating the risks associated with serious POME
              and anaphylaxis.

              Contents and Safety Findings from the Third Complete Response
              In this third Complete Response, the Sponsor submitted a detailed and extensive Risk
              Evaluation and Mitigation Strategy (REMS) including Elements to Assure Safe Use (ETASU).
              The REMS would assure that Aveed was only administered by certified prescribers who were
              aware of the risks of serious POME and anaphylaxis, who would share that risk information
              with potential patients, and who would observe the patients in the healthcare setting for at least
              30 minutes after each injection.
              In regard to new safety information, the third Complete Response included one, small,
              postmarketing clinical study conducted in 2004 in which 40 subjects were administered
              intramuscular TU and the progestin noresthisterone enanthate for the purposes of investigating
              this combination as a potential male contraceptive. In addition, the submission also included a
              Safety Update for another 19 months of worldwide postmarketing experience with
              intramuscular testosterone undecanoate.
              The safety information in this submission did not yield any qualitatively new information. The
              data is discussed in more detail in the sections that follow.


                     The routine safety data presented in the next two sections (Section 8.1.1 [Deaths,
                     Serious Adverse Events and Discontinuations due to Adverse Events] and Section 8.1.2
                     [Other Adverse Events, including Overall Adverse Events and Adverse Events of
                     Interest]) come from the pivotal U.S. trial IP157-001 Parts C and A. The postmarketing
                     safety data (from outside the U.S.) is described in Section 8.1.3 (Postmarketing Safety
                     Findings).


              8.1.1 Deaths and Serious Adverse Events

              Deaths, Serious Adverse Events, and Discontinuations due to AEs in Study IP157-001 Part C



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              Two subjects died in Study IP157 Part C. Subject 050-7010 was a 52 year old with a history
              of diabetes mellitus, hypertension and cardiovascular disease who experienced cardiac arrest
              65 days after his 6th dose of study drug. The investigator considered the relationship to drug as
              “remotely possible”. Subject 078-7012 was a 45 year old male with a history of hypertension
              and erectile dysfunction who experienced a myocardial infarction approximately 41 days after
              his 4th dose of study drug. The investigator considered the relationship to study drug as
              “definitely not related”.

              In the original NDA, a total of eight (6.2%) subjects experienced at least one SAE during the
              treatment period in Part C. No single SAE was reported in more than 1 subject. The eight
              SAE terms reported were: ischemic colitis, faecaloma, intervertebral disc protusion, wrist
              fracture, worsening spinal column stenosis, myocardial infarction, deep vein thrombosis
              (DVT), and urinary tract infection/prostatitis. Only one of these was judged by the
              investigator to be at least possibly related to treatment (Patient 018-7078, DVT, possibly
              related).

              One additional patient who participated in Part C had an SAE of prostate cancer reported on
              Day 196 of treatment (during Part C2, the long-term safety extension of Part C). The
              investigator’s judged this adverse event as “probably related” to treatment.

              In the original NDA, study medication was permanently discontinued due to adverse events in
              five patients (3.8%) in Part C, for the following reasons: acne, mood swings, myocardial
              infarction, increased estradiol and DVT. There was no single event resulting in
              discontinuation that was reported in more than one subject during this study. Of the adverse
              events leading to discontinuation, all but myocardial infarction were judged by the investigator
              to be at least possibly related to study drug.

              In the second Complete Response, the Sponsor updated the safety results from Study IP157-
              001 Parts C, including Part C2 (an additional 40 subjects). With continued dosing out to 9
              injections of TU, a total of 22 subjects (14%) reported an SAE. The only SAEs, irrespective
              of the investigator’s assessment of causality, reported by more than 1 subject were prostate
              cancer (in 3 subjects), spinal column stenosis (in 3 subjects), intervertebral disc disorder (in 2
              subjects), and myocardial infarction (in 2 subjects). In addition, with up to 9 doses
              administered, a total of 16 subjects (10.5%) discontinued treatment due to AEs, irrespective of
              the investigator’s assessment of causality. The only AEs leading to study discontinuation
              reported by more than 1 subject were: prostate cancer (in 3 subjects); and hematocrit
              increased, mood swings, anxiety, and myocardial infarction (in 2 subjects each).

              Thus, the SAEs and AEs leading to discontinuation in Part C were qualitatively consistent
              between the original NDA and the second Complete Response, despite a longer duration of
              dosing.

              There was one patient in Part C who experienced an immediate post-injection reaction. Patient
              050-7006, a 53 year old white male experienced a mild and non-serious “coughing fit” lasting
              approximately 10 minutes after his 3rd injection. The investigator reported that the patient’s
              cough was non-productive, without wheezing and without difficulty breathing. No



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              intervention was given and the patient recovered completely prior to leaving the office. That
              patient continued on-treatment without further cough events.

              Deaths, Serious Adverse Events and Discontinuations due to AEs in Study IP157-001 Part A

              There were two deaths reported in the Part A study. Subject 070-4006 died as a result of a
              homicide (by stabbing during an altercation). Subject 078-4162 was a 68 year old male with a
              history of COPD, hypertension, coronary artery disease status-post triple coronary artery
              bypass graft surgery, hyperlipidemia, erectile dysfunction, and left bundle branch block who
              died due to a cerebrovascular accident 71 days after his 8th dose of study medication. The
              investigator consider the event to be “definitely not related” to study medication.

              In the original NDA, eight (6.7%) subjects in the 750 mg group and ten (8.5%) subjects in the
              1000 group experienced at least one SAE during the treatment period. Only two types of SAE
              were observed in more than 1 subject: atrial fibrillation in 2 subjects in the 750 mg group, and
              knee arthroplasty in 2 subjects in the 1000 mg group. No serious adverse events (SAEs) were
              judged by the investigator as being at least possibly related to study drug.

              The SAE terms reported for the 750mg group were: atrial fibrillation [n=2], injury (stabbing),
              spinal stenosis, benign parathyroid tumor, congestive heart failure, tinnitus, acute pancreatitis,
              and sepsis. The SAE terms for the 1000mg group were: knee arthroplasty [n=2], spinal
              stenosis, arthritis, coronary artery disease, enterococcal bacteremia, malignant hepatic
              neoplasm, renal artery stenosis, viral gastroenteritis, prostatitis, cerebrovascular accident, and
              tendon rupture.

              In the original NDA, study medication was permanently discontinued due to adverse events in
              6 (5.0 %) patients in the 750 mg group and 4 (3.4 %) patients in the 1000 mg group. AEs
              judged by the investigator to be at least possibly related to study drug and leading to
              discontinuation were:
                          ! Subject 027-4101 (TU 750 mg arm) - increased serum PSA.
                          ! Subject 056-4077 (TU 1000 mg arm) - increased serum estradiol.
                          ! Subject 040-4116 (TU 1000 mg arm) - increased red blood cell count.

              The complete list of AE terms for the discontinuations reported for the 750mg group were:
              heat exhaustion, back pain, pain in extremity, PSA increased, prostatic intraepithelial neoplasia
              (PIN), and injury. The AE terms for the discontinuations for the 1000mg group were: estradiol
              increased, red blood cell count increased, hepatic neoplasm malignant, nasal congestion, and
              skin ulcer.

              In the second Complete Response, the Sponsor updated the safety results from Study IP157-
              001 Part A, including both Stages 1 and 2. With continued dosing out to 13 injections of TU,
              a total of 37 subjects (15%) in both the 750 mg and 1000 mg dose groups reported an SAE. In
              the pooled Part A study population (750 mg and 1000 mg), the only SAEs reported by more
              than two patients were: coronary artery disease (in 4 patients, 1.7%); and atrial fibrillation,
              CVA, and prostatitis (in 3 patients each, 1.3%). In the 750 mg dose group only, only one SAE
              was reported by more than 1 subject: atrial fibrillation (in 2 subjects, 1.7%). In addition, with


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              up to 13 doses administered, in the pooled Part A study population (750 mg and 1000 mg), a
              total of 22 subjects (9.3%) discontinued treatment due to AEs. The only AEs leading to study
              discontinuation reported by more than 1 subject were: increased PSA (in 5 subjects, 4.1%);
              prostatic intraepithelial neoplasia (in 3 subjects, 2.5%), and increased hemoglobin (in 2
              subjects, 1.7%). In the 750 mg dose group only, only one SAE was reported by more than 1
              subject: atrial fibrillation (in 2 subjects, 1.7%).

              Thus, the SAEs and AEs leading to discontinuation in Part A were qualitatively consistent
              between the original NDA and the second Complete Response, despite a longer duration of
              dosing.

              8.1.2 Other Adverse Events

              Overall Adverse Events

              Overall Adverse Events in Adverse Events in Study IP157-001 Part C

              In the Original NDA
              In Part C, the most commonly reported adverse events, regardless of the investigator’s
              judgment on relationship to treatment, were: acne, fatigue, cough, injection site pain,
              nasopharyngitis, pharyngolaryngeal pain, arthralgia, insomnia, prostatitis and sinusitis. The
              incidence rates are provided in Table 5 below.

              A total of 7 (5.4%) patients experienced at least one severe adverse event. No event was
              reported as severe by more than 1 patient. The complete list of severe AE terms were: DVT,
              aortic aneurysm, faecaloma, urinary tract infection/prostatitis, intervertebral disc protrusion,
              spinal stenosis, aortic aneurysm repair, and surgery.

              Table 5. Incidence of All Adverse Events Regardless of Relationship to Study Medication,
              Reported in at Least 2.0% of Patients in Decreasing Frequency in study IP157-001 Part C




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              In Part C, approximately 24% of patient experienced at least 1 adverse event judged by the
              investigator to be at least possibly related to treatment. These events were generally
              consistent with the known adverse reactions to testosterone replacement therapy and events
              commonly reported in a testosterone replacement therapy population.

              The incidences of adverse events reported in Part C, without regard to attributed causality,
              included: acne (4.6%), fatigue (3.1%), injection site pain (3.1%), irritability (1.5%),
              hyperhidrosis (1.5%), hemoglobin increased (1.5%), estradiol increased (1.5%), insomnia
              (1.5%), mood swings (1.5%), aggression (1.5%), PSA increased (1.5%) and disturbance in
              attention (1.5%).

              In the Complete Response (with treatment out to 9 doses):
              The incidences of commonly reported adverse events in Part C, reported by >5% of subjects,
              with treatment out to 9 doses, without regard to attributed causality, included: acne (6.1%),
              fatigue (7.7%), injection site pain (5.4%), insomnia (6.9%), PSA increased (7.7%), prostatitis
              (7.7%), nasopharyngitis (5.4%), sinusitis (6.9%), arthralgia (6.1%), and back pain (5.4%).

              The incidences of overall adverse events in Part C as judged by the investigator to be at least
              possibly related to treatment, with treatment out to 9 doses, reported by at least 2% of subjects
              (n=130), included: acne (6.1%), injection site pain (5.4%), PSA increased (5.4%), fatigue
              (4.6%), estradiol increased (3%), irritability (2.3%), hematocrit increased (2.3%), hemoglobin
              increased (2.3%), insomnia (2.3%), and mood swings (2.3%).

              Thus, the quality and general incidence of overall adverse events in Part C were consistent
              between the original NDA and the second Complete Response.


              Overall Adverse Events in Adverse Events in Study IP157-001 Part A

              In the Original NDA
              In Part A, for the 750mg dose, the most commonly reported adverse events (≥ 2%), regardless
              of the investigator’s judgment on relationship to treatment, were: fatigue, bronchitis, upper
              respiratory tract infection, nasopharyngitis, back pain, PSA increased, urinary tract infection,
              weight increased, hypertension, sinusitis, insomnia, nausea, and hypercholesterolemia.

              In Part A, for the 1000mg dose, the most commonly reported adverse events (≥ 2%),
              regardless of the investigator’s judgment on relationship to treatment, were: upper respiratory
              tract infection, diarrhea, pain in extremity, nasopharyngitis, hypertension, sinusitis, insomnia,
              headache, depression, weight increased, procedural pain, arthralgia, musculoskeletal pain,
              urinary tract infection, rash, pain, foot fracture, muscle strain, anxiety, nasal congestion,
              abdominal pain, constipation, vomiting, gout, benign prostatic hyperplasia, and cough.

              The incidence rates for these AEs in Part A are provided in Table 6 below.

              The majority of adverse events in Part A were judged by the investigator as mild or moderate
              in severity. Severe AEs were reported in 8.3% of 750 mg subjects and in 7.0% of 1000 mg


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              patients. Atrial fibrillation was reported as a severe AE in 2 subjects in the TU 750 mg group;
              no other single event was reported as severe in more than 1 subject per treatment group. The
              other severe adverse events (regardless of investigator-attributed causality) were: cardiac
              failure, coronary artery disease, chest discomfort, irritability, sudden hearing loss, and PSA
              increased.

              In Part A, approximately 20% of patients in each treatment group experienced at least 1
              adverse event judged by the investigator to be at least possibly related to treatment. These
              drug-related adverse events included:

                        For the 750mg group: PSA increased (3.3%), insomnia (2.5%), fatigue (2.5%),
                        injection site pain (1.7%), libido decreased (1.7%), hypercholesterolemia (1.7%), and
                        benign prostatic hyperplasia (0.8%).

                        For the 1000mg group: injection site pain (1.7%), benign prostatic hyperplasia (1.7%),
                        blood cholesterol increases (1.7%), estradiol increased (1.7%), fatigue (0.9%), and
                        insomnia (0.9%).




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              Table 6. Incidence of All Adverse Events Regardless of Relationship to Study Medication,
              Reported in at Least 2.0% of Patients in Either Treatment Group, by Preferred Term, in
              Decreasing Frequency in TU 1000 mg arm, from study IP157-001 Part A




              In the Complete Response (with treatment out to 13 doses):
              In Part A, for the combined 750mg and 100 mg dose groups, the most commonly reported
              adverse events (>5% in either dose group – with overall incidences shown in parenthesis next
              to the AE term), regardless of the investigator’s judgment on causality, were: fatigue (6.3%),
              bronchitis (4.2%), upper respiratory tract infection (6.8%), nasopharyngitis (5.5%), back pain
              (5.5%), PSA increased (5.5%), urinary tract infection (4.6%), hypertension (7.6%), sinusitis
              (7.2%), insomnia (5.1%), nausea (3.8%), diarrhea (3.8%), pain in extremity (4.6%), headache
              (4.2%), depression (4.2%), injection site pain (4.6%), arthralgia (4.2%), musculoskeletal pain
              (4.2%), anxiety (3.0%), constipation (3.0%), prostatitis (5.1%), dysuria (3.4%), erectile
              dysfunction (3.8%), and sleep apnea syndrome (3.8%).




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              Thus, the quality and general incidence of overall adverse events in Part A were consistent
              between the original NDA and the second Complete Response.

              Laboratory and vital signs data are discussed in the medical officer’s reviews of the original
              NDA, and these data did not provide any signal of concern.

              Adverse Events of Interest

              In the Original NDA, “adverse events of interest” in Part C included events related to
              endocrine disorders, injection site reactions, adverse lipid profiles, erythropoiesis, aggression
              or depression, urinary symptoms, prostate health, liver abnormalities, sleep apnea syndrome,
              cerebrovascular events and skin events. Such adverse events were reported in 28 subjects in
              Part C (21.5%) as shown in Table 7 below.
              Table 7. Adverse Events of Interest in Study IP157-001 Part C




              In the second Complete Response, the adverse events of interest were anaphylaxis, POME and
              injection site reactions. No case of anaphylaxis and 1 case of POME was reported in Part C.
              Injection site pain was reported by 7 subjects (5.4%). Injection site erythema was reported by




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              2 subjects (1.5%) and injection site pruritis, injection site swelling, and peripheral edema were
              reported by 1 subject each.

              In the original NDA, “adverse events of interest” in Part A were reported in 24 subjects treated
              with 750 mg (20%) and 30 subjects treated with 1000 mg (26%), as shown in Table 8 below.
              Table 8. Adverse Events of Interest in Study IP157-001 Part A




              In the second Complete Response, the adverse events of interest were anaphylaxis, POME and
              injection site reactions. No case of anaphylaxis and no case of POME was reported in Part A.
              Injection site pain was reported by 11 subjects overall (4.6%). Injection site swelling was
              reported by 3 subjects (2.6%).



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              8.1.3 Postmarketing Safety Findings

              As demonstrated in Section 8.1.1 and 8.1.2 of this memo, in the U.S. Phase 3 study IP157-001,
              intramuscular testosterone undecanoate was associated with the expected adverse events and
              laboratory changes for a testosterone replacement agent except for 1 report of an immediate,
              post-injection reaction. This occurred in Patient 050-7006, a 53 year old white male, who
              experienced a mild and non-serious “coughing fit” lasting approximately 10 minutes after his
              3rd injection.
              In a different clinical study conducted outside the US (Study 306605), another case of post-
              injection reaction was reported. This was Patient #184, a 54 year old male who experienced
              urge to cough associated with respiratory distress at 1 minute after his 10th injection. Both
              symptoms lasted approximately 14-15 minutes.
              Additional information on post-injection reactions is available from the worldwide
              postmarketing experience (including postmarketing clinical trials and postmarketing voluntary
              reporting) and this postmarketing information is important to an understanding of the potential
              risks of testosterone undecanoate injection.

              8.1.3.1         Post-Injection Reactions in Controlled Trials

              As previously noted, the Sponsor submitted safety results from 12 postmarketing clinical
              studies conducted outside the U.S. When these results were pooled with the results from the
              U.S. Study IP157-001, along with the results from the 5 European Hypogonadism studies, the
              total number of trials and clinical trial subjects available for analysis is 18 trials and 3,556
              subjects, respectively.

              As part of the review of the March 2009, first Complete Response, the Clinical review team
              assessed all of these studies (except for Study 14853, which was submitted as part of the
              second CR, was prematurely terminated, and enrolled just 3 subjects).

              First, the Clinical Review team made efforts to determine whether the studies had pre-defined
              protocols, pre-defined procedures for capturing adverse events, and valid safety results. We
              then investigated the safety results themselves to determine whether any immediate post-
              injection reactions had been reported. The reader is referred to Dr. Handelsman’s medical
              officer’s review for brief summary reviews for each of the 11 studies submitted in the March
              2009, Complete Response. Some of these studies were conducted as postmarketing European
              surveillance studies in hypogonadal men, whereas others were conducted for different
              indications, including male contraception, treatment of obesity, treatment of paraplegia, and
              treatment of “andropause”. The two largest studies were:
                  1) Study AWB 0105 Androgen Deficiency – Postmarketing Surveillance, Germany,
                       n=869, and
                  2) Study 39732 (NE0601 IPASS) Hypogonadism – Postmarketing Surveillance, 18
                       countries, n=1411.

              Dr. Handelsman’s review concluded that the submitted studies were of generally acceptable
              quality for our purpose. The studies showed the expected adverse reactions for an androgen



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              replacement product (e.g., increased serum PSA, worsening BPH, weight gain, edema, change
              in lipid profiles, acne, breast pain, sweating, depression, etc) and expected adverse reactions
              for an injection (e.g., injection site reactions).

              As part of the review of the second Complete Response, Dr. Cynthia Kornegay, an
              epidemiologist in the Division of Epidemiology (DEPI) in the Office of Surveillance and
              Epidemiology (OSE) analyzed the incidence of post-injection reactions in the 18 clinical trials
              among the 3,556 total clinical trial subjects. She derived the data for her analysis form the
              Clinical Overview and Clinical Summary of Safety in the second CR. In her final review,
              dated March 28, 2013, Dr. Kornegay and colleagues provided the following relevant
              information:

                        1. There was one (1) POME case among the 467 men who received 750 mg TU, and
                           eight (8) POME cases among the 3089 men who received 1000 mg TU. For both
                           doses combined, there were 9 total adjudicated cases of POME, which translates to
                           an incidence rate for POME of 4.5 cases per 10,000 injections, or 21.3 cases per
                           10,000 person-years.

                        2. The rates of POME in two, large, published, postmarketing studies of TU
                           (Zitzmann et al, J Sex Med, 2013 and Gu et al, J Clin Endocrinol Metab, 2009)
                           were similar to the rates shown in the Clinical Summary of Safety. The rates of
                           POME shown in the Zitzman et al and the Gu et al reports were 4.8 and 5.1 POME
                           cases per 10,000 injections, respectively

                        3. There were no reports of anaphylaxis among 467 men who received 750 mg TU.
                           There were two (2) cases of anaphylaxis among 3089 men in the 1000 mg dose
                           group. For both doses combined, there were 2 total cases of anaphylaxis, which
                           translates to an incidence rate for anaphylaxis of 0.9 cases per 10,000 injections, or
                           4.7 cases per 10,000 person-years.

                        4. DEPI points out that published drug-related anaphylaxis rates range from 0.8 cases
                           per 10,000 person-years to 5 cases per 10,000 person-years.

              There are no additional data in the third Complete Response that contribute meaningfully to
              the FDA’s prior analysis of the incidences POME and anaphylaxis.


              8.1.3.2          Post-Injection Reactions from Voluntary Reports

              The incidence of cases of post-injection reaction (POME and anaphylaxis) in clinical trials is
              only one piece of information that may be gleaned from the postmarketing experience.
              Another part of the overall safety picture is spontaneously reported adverse events from the
              postmarketing period.

              In collaboration with the Sponsor, as well as with our colleagues Drs Stacy Chin and Tony
              Durmowicz from the Division of Pulmonary, Allergy and Rheumatology Products (DPARP),



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              we carefully evaluated all postmarketing safety updates and all potential cases of POME and
              anaphylaxis submitted to Endo from the entire worldwide postmarketing experience.

              From our review, we identified a total of 137 cases of severe post-injection reactions,
              including cases of severe POME and anaphylaxis. All 137 of these reactions were reported as
              severe and/or potentially life-threatening, with some cases requiring hospitalization or
              emergency department visit and some being treated as for anaphylaxis. The occurrence of a
              severe post-injection reaction is sporadic and unpredictable. These reactions have occurred
              after the first dose, or after 4 years of otherwise trouble-free dosing. The majority of severe
              post-injection reactions occur either during an injection, or immediately thereafter. The
              clinical manifestations of the post-injection reactions have included: cough, shortness of
              breath, throat-related symptoms (throat tickle, throat tightness, throat fullness, etc), flushing,
              various allergic-type signs and symptoms (rash, pruritis, itching), tachycardia, palpitations,
              blood pressure changes, and general constitutional symptoms, including headache, malaise,
              shivering, sweating, weakness and nausea. In rare cases, syncope, apnea, and cardiovascular
              collapse have been reported, however, there have been no reported deaths. The spectrum of
              signs and symptoms of severe POME and anaphylaxis frequently overlap, making a precise
              diagnosis difficult in some individual cases. Even if the mechanism for these severe post-
              injection reactions has not been clearly elucidated, two of the excipients, benzyl benzoate, and
              castor oil, may act as allergens, and castor oil itself is the likely etiology for the severe POME
              reactions.

              In his final primary medical officer’s review dated May 20, 2013, Dr. Guodong Fang,
              provided narratives for each of 137 severe post-injection reactions that were identified. The
              reader is referred to Dr. Fang’s review for details on each case. Dr. Fang also provided
              commentary on some highlighted cases.

              In their final consultative review, Drs. Chin and Durmowicz provided an assessment of
              anaphylaxis and POME among the potential POME and anaphylaxis cases. DPARP identified
              a total of 47 cases of anaphylaxis. DPARP also identified a total of 170-191 cases of POME,
              of which, a total of 55-76 met pre-defined criteria as being “severe”. The DPARP memo
              provides a description of how cases were adjudicated as severe. DPARP also provides case
              examples for POME and anaphylaxis, as well as potential pathophysiologic mechanisms for
              these events.

              The remainder of this section will highlight the most relevant clinical safety issues from Dr.
              Fang’s primary medical officer review and from the DPARP consult, as it pertains to severe
              post-injection reactions from voluntary postmarketing adverse event reports.

              1. FDA reviewed all potential postmarketing cases of POME and anaphylaxis that were
                 included in the second Complete Response. FDA elected to focus on the severe cases from
                 the series. With this objective in mind, FDA pre-determined the following criteria to
                 define a “case” of severe post-injection reaction to testosterone undecanoate:
                 ! Occurred within 24 hours of injection and met any of the following criteria:




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                              o Any case identified by either FDA or Sponsor as an anaphylactic reaction as a
                                consequence of the reporter using the term “anaphylaxis” or “anaphylactic
                                reaction”
                              o Any case identified by either FDA or the Sponsor as an anaphylactic reaction
                                by meeting the formal Sampson’s criteria
                              o Any case identified as a serious adverse event (SAE), based upon the FDA
                                standard definition of an SAE
                              o Any case requiring treatment
                              o Any case labeled as “Serious” or “Medically Important” by the reporter or by
                                the Sponsor
                              o Any case that FDA believed to be medically significant
                              o Any case involving syncope or sudden lowering of the blood pressure.

              2. The complete list of all 137 cases is shown in Table 7.9 of Dr. Fang’s Clinical review.

              3. Most, but not all, severe post-injection reactions took place within 30 minutes of injection.
                 A few cases occurred after 30 minutes, but all within 1 hour. Of the 137 cases, 43
                 occurred during the injection, 51 occurred immediately after the injection, 9 occurred
                 within 2 to 10 minutes, 3 occurred within 60 minutes, 1 occurred within 1-8 hours, and 5
                 occurred within 24 hours. The exact time was not specified in 25 cases, but the event was
                 reported on the same date as the injection.

              4. Of the 137 cases, 32 (23%) were either hospitalized or were seen in the emergency
                 department, 9 (7%) were described as life-threatening, and 19 (14%) contained a statement
                 that blood pressure dropped or syncope occurred.

              5. Of the 137 cases, 60 (44%) received some form of treatment. A total of 13 (10%) received
                 epinephrine, 38 (28%) received corticosteroids, 30 (22%) received an antihistamine, and
                 18 (13%) received other therapies.

              6. In conducting their assessment and adjudication of cases, DPARP used the criteria set out
                 by the National Institute of Allergy and Infectious Disease (NIAID) and Food, Allergy and
                 Anaphylaxis Network (FAAN) to identify cases consistent with anaphylaxis (Sampson et
                 al, J Allergy Clin Immunol, 2006). Generally, DPARP takes the approach that anaphylaxis
                 is identified when NIAID/FAAN criterion #1 is met; that is, acute onset of illness with
                 involvement of the skin, mucosa or both and one of the following: respiratory compromise
                 of reduced BP or its associated symptoms (e.g. syncope). DPARP also conducted a
                 secondary analysis using less restrictive identification criteria (e.g., either criterion #1 or
                 criterion #2 to identify a case of anaphylaxis) as they believed it a reasonable approach in
                 the circumstance of TU injection where components of the products are known potential
                 allergens.

              7. DPARP reviewed case narratives for 330 potential cases of anaphylaxis. DPARP
                 identified a total of 47 anaphylaxis cases (using just NIAID/FAAN criterion #1). If the
                 identification criteria were less restrictive (NIAID/FAAN criteria #1 or #2), then DPARP
                 identified a total of 68 cases. Additional anaphylaxis cases were identified in the final



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                  Safety Update to the NDA, raising the totals to 53 and 76 cases of anaphylaxis, using strict
                  and less restrictive identification criteria, respectively.

              8. Together with DBRUP, the DPARP reviewers evaluated case narratives for 533 potential
                 cases of POME. DPARP and DBRUP identified 170-191 POME cases (the range is due to
                 overlap in identifying anaphylaxis using either the strict or less restrictive NIAID/FAAN
                 criteria and thus, greater or fewer POME cases). Of these, 55-76 cases were identified as
                 severe POME. Another 6-8 POME cases were identified in the final Safety Update to the
                 second Complete Response.

                  Additional comments and conclusions from DPARP consult are shown in Section 11
                  (Other Relevant Regulatory Issues) of this review.

              9. Despite the inherent challenges and weaknesses in calculating postmarketing adverse event
                 reporting rates, the Sponsor provided estimates of the reporting rates for anaphylaxis and
                 POME for testosterone undecanoate injection. These estimates are shown in detail in
                 Tables 7.7 and 7.8 of Dr. Fang’s review. It is notable that there were two separate
                 adjudications conducted by Sponsor, the original adjudication conducted by Endo’s own
                 internal reviewers and a later adjudication, conducted by “Internal Adjudicators” hired by
                 Endo to re-assess these cases. The second assessment found essentially the same number
                 of POME cases as the first assessment, but fewer anaphylaxis cases, based on a different
                 identification criteria strategy.

                  !     Based on the Endo original adjudication, 79 cases of anaphylaxis were identified. With
                              (b) (4)                                                              (b) (4)
                                      ampoules of TU injection sold, the reporting rate comes to           anaphylaxis
                                                              (b) (4)
                        cases per 10,000 ampoules sold, or            anaphylaxis cases per 10,000 treatment-years,
                        assuming all ampoules sold were used in treatment.

                  !     Based on the “independent” adjudication, 45 cases of anaphylaxis were identified.
                                   (b) (4)                                                                (b) (4)
                        With               ampoules of TU injection sold, the reporting rate comes to
                                                                           (b) (4)
                        anaphylaxis cases per 10,000 ampoules sold, or             anaphylaxis cases per 10,000
                        treatment-years, assuming all ampoules sold were used in treatment.

                  !     Based on the Endo original adjudication, 228 cases of POME were identified. With
                              (b) (4)                                                            (b) (4)
                                      ampoules of TU injection sold, the reporting rate comes to         POME
                                                              (b) (4)
                        cases per 10,000 ampoules sold, or            POME cases per 10,000 treatment-years,
                        assuming all ampoules sold were used in treatment.


              8.1.4 Overall Assessment of Safety Findings
              My overall assessment of these safety findings is that intramuscular testosterone undecanoate
              has been associated with infrequent reports of severe post-injection reaction, which reflect
              both serious POME and anaphylaxis. There has been no reported case of death or permanent
              disability. However, the serious POME and anaphylaxis events have shown some severe signs
              and symptoms including severe cough, dyspnea, throat-related symptoms, and in rare cases,
              syncope, respiratory distress and instability in vital signs. Patients have been treated as if for


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              was also stated that there is a clear indication for treatment and a long-acting, injectable
              testosterone replacement would be a welcome option for treatment. In terms of the risk,
              including anaphylaxis and pulmonary oil microembolism (POME), the panel members who
              voted “Yes” remarked that these incidents have been reported as complications from the use of
              other medications, including testosterone injections. It was also stated that it is impossible to
              prevent all risks with all medications. It was also noted that indeed there is a potential
              improvement in compliance with this formulation.

              For those who voted “No”, some stated that the risks of TU injection outweighed the benefits.
              Those who voted “No” remarked that the product may have some potential benefit, but it also
              can pose potential harm. There was concern that once this is product is marketed in the U.S.,
              the possible increase in usage could increase the number of adverse events. It was also noted
              that the Agency was persuasive in communicating their concerns.

              The AC members did note that if the drug product was approved by the Agency, the FDA
              should consider including a Black Box warning as part of the labeling and a detailed patient
              package insert while continuing to monitor for safety and follow up as appropriate.

              For Question #2, all but one member voted “No”. There was a general consensus to strengthen
              the REMS proposal from the Sponsor (which was a Communication Plan only) to assure that
              the educational material is readable and usable by prescribers and patients. In addition, there
              should be a training program for physicians who are going to administer this medication. The
              FDA might consider placing limitations on the health care sites where the product is offered to
              assure ability to provide resuscitation should a severe post-injection reaction occur. In addition
              to a Black Box warning, some of the panel members recommended that the indication be
              narrowed. It was discussed that TU injection not be a medication of first choice and there
              should be efforts to define and narrow its use.

              In addition, it was emphasized that early reporting of pharmacovigilance efforts was necessary
              to determine how this information is being communicated to patients and physicians. It was
              discussed that it is critical to make sure that the health care provider and patient education is
              assessed on a periodic basis to assure it is effective.


              10. Pediatrics
              The Applicant requested a full waiver of the requirement to conduct assessments in pediatric
              patients. The Sponsor stated that it is not likely to be used in a substantial number of pediatric
              patients. On April 29, 2009, the Division recommended to the Pediatric Review Committee
              (PeRC) that the Sponsor’s request be granted. The PeRC agreed with the request but asked
              that the Sponsor confirm that it does not intend to apply for pediatric exclusivity in future
              submissions. On June 15, 2009, the Sponsor submitted a formal letter confirming that they
              had no intent to seek pediatric exclusivity. On July 2, 2009, George Greely of the Pediatric
              and Maternal Health Staff provided an eMAIL to DRUP stating:
                   “The Aveed (testosterone undecanoate) full waiver was reviewed by the PeRC PREA
                   Subcommittee on April 29, 2009. The Division recommended a full waiver because too



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              Office of Surveillance and Epidemiology: Division of Epidemiology (DEPI)
              For this review cycle, DEPI was not asked to provide consultation.

              In the previous review cycle, Cynthia Kornegay and Rita Ouellet-Hellstrom of DEPI provided
              consultative support. In their final consult dated May 28, 2013, DEPI provided insight on the
              relevance, validity, and applicability of postmarketing reporting rates for POME and
              anaphylaxis. DEPI also conducted the principal review of the POME and anaphylaxis
              incidence rates from controlled trials. Details of this DEPI consult are provided in other
              sections of this memo, and will not be repeated here.


              Office of Surveillance and Epidemiology: Division of Pharmacovigilance (DPV)
              For this review cycle, DPV was not asked to provide consultation.

              In the previous review cycle, Teresa Rubio and Adrienne Rothstein of DPV provided
              consultative support. In their final consult dated February 14, 2013, DPV provided the results
              of a FAERS search for POME and anaphylaxis for all approved injectable testosterone
              products from the time of their approval to the current date. Subsequent to the search and
              adjudication, a total of 33 cases were identified over a 44 year period.


              Office of Surveillance and Epidemiology: Division of Risk Management (DRISK)
              For this review cycle, DRISK provided extensive consultative support on the proposed Risk
              Evaluation and Mitigation Strategy (REMS) with Elements to Assure Safe Use (ETASU).
              Suzanne Robttom, Mary Willy, Cynthia LaCivita and Claudia Manzo of DRISK provided 4
              reviews of REMS-related documents (on January 31, 2014, February 5, 2014, February 11,
              2014 and February 22, 2014). The REMS-related documents and items for FDA review are
              listed in this section, along with some of the DRISK comments.
              The REMS-related documents included:
                  !     REMS Document
                  !     REMS Supporting Document
                  !     Health Care Provider Enrollment Form
                  !     Health Care Setting Enrollment Form
                  !     Health Care Provider Education Program
                  !     Health Care Setting Education Program
                  !     Health Care Provider Webpage
                  !     Patient Counseling Tool
                  !     Aveed REMS Program Introduction Piece




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              DRISK concluded that the proposed REMS, in principle, was consistent with the REMS
              outlined in the Division’s, May 29, 2013, CR action letter. However, DRISK had a significant
              number of recommendations for revisions and improvements to the Aveed REMS Program,
              including:
                  ! The Sponsor was asked to clarify how they will ensure that Aveed is not shipped until
                     they know that the prescriber and HCP setting are certified.
                  ! The Sponsor was asked to create a single, patient-directed educational piece focused on
                     the risks of serious POME and anaphylaxis (e.g., the Patient Counseling Tool).
                  ! The Sponsor was instructed to delete the Medication Guide from the REMS. It will be
                     a part of labeling.

                  !     The Sponsor was instructed to remove all proposed elements of the Communication
                        Plan and replace them with a single REMS Program Introduction Piece.
                  !
                                                                                                 (b) (4)
                        The Sponsor was instructed to make a large number of revisions
                                            for clarity and brevity.
                  !     The Sponsor was asked to submit a REMS Program website.
                  !     The Sponsor was told to update the REMS Supporting document to be consistent with
                        all revisions to the REMS document and other REMS-related forms.

              DRISK also provided significant input on the Sponsor’s proposed REMS Assessment Plan.

              Finally, DRISK engaged in iterative communications with DBRUP and Sponsor until all
              issues on REMS-related documents and other items were resolved.


              Office of Surveillance and Epidemiology: Division of Medication Error Prevention and
              Analysis (DMEPA)
              For this review cycle, DMEPA provided consultation on the container/carton and Package
              Insert labeling from the medications errors perspective; as well as on the tradename.

              In their final review dated February 11, 2014, Justine Harris and Lisa Khosla stated that the
              container and carton labeling had been revised appropriately and was acceptable.

              Also, in a final review dated February 11, 2014, Justine Harris and Lisa Khosla provided
              recommendation for edits to Section 2 (Dosage and Administration) of the Package Insert.
              DMEPA’s recommendations for the PI were conveyed to Sponsor and all were accepted.

              Lastly, in a final review dated February 14, 2014, Justine Harris and Lisa Khosla stated that in
              a review dated March 14, 2013 (OSE Review #2013-2995), DMEPA found the proposed
              tradename, Aveed, acceptable. In that review, DMEPA stated that the proprietary name must
              be re-reviewed within 90 days of the anticipated approval date. DMEPA no longer re-reviews
              proprietary names within 90 days of approval, unless there is a change in the product
              characteristics. Since there has been no change to the characteristics of Aveed, the proposed
              tradename remains acceptable, with no objections from DMEPA.




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              Office of Medical Policy / Division of Medical Policy Programs (DMPP)
              In their final review dated February 4, 2014, Trung-Hieu (Brian) Tran, Shawna Hutchins and
              Melissa Hulett provided recommendations for edits to the proposed Medication Guide. These
              recommendations were intended to
                  ! improve consistency between the PI and the MedGuide,
                  ! improve readability and reduce redundancy,
                  ! ensure that MedGuide meets the criteria in FDA’s Guidance on Consumner Medication
                      Information
                  ! remove promotional language.

              DMPP’s recommendations were conveyed to the Sponsor and all DMPP-related issues in the
              MedGuide were resolved through iterative labeling correspondences with Sponsor.

              Study Endpoints and Labeling Development Team (SEALD)
              In their final review, dated February 10, 2014, Abimbola Adebowale and Eric Brodsky
              provide 5 recommendations for revision to the label so that it is in compliance with labeling
              regulations. These 5 items were revised accordingly.


              Office of Compliance
              For this review cycle, Office of Compliance issued an Acceptable recommendation in EES on
              January 24, 2014.


              Controlled Substances Staff (CSS)
              DBRUP requested a consult from CSS to verify the scheduling status of Aveed (Schedule III
              of the Controlled Substances Act) and to assess the labeling as it applies to Section 9, Abuse
              and Dependence.

              For this review cycle, Alicja Lerner and Michael Klein provided three consult reports,
              including an original consult (final dated January 24, 2014), and two Addenda (finals dated
              February 4, 2014 and February 18, 2014).

              In their original consult, CSS provided recommendations for extensive changes to Section 9
              (Drug Abuse and Dependence). CSS’s second consult provided only one change (addition of
              one word, “homicides”) to their original recommendation. Subsequent to receiving these two
              consult reports, DBRUP arranged an internal meeting with CSS and other relevant review
              disciplines, including DEPI and DPV, to discuss a path forward for the CSS recommendations.
              It was decided by the team, including CSS, that the proposed labeling changes require
              additional review and consideration by DBRUP and by OSE before they could be enacted for
              Aveed or for the drug class. Therefore, in their third and final consult report, CSS stated that
              “…CSS’s recommended labeling changes will not be instituted at this time. CSS will
              collaborate with OND and OSE on the assessment of the evidence outside the review of Aveed




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              application, and final regulatory decision(s) will most likely apply to all testosterone products,
              including Aveed.”


              Division of Pulmonary, Allergy and Rheumatology Products (DPARP)
              For this review cycle, DPARP was not asked to provide consultation.

              However, DPARP provided consultative support to DBRUP on each of the previous 3 review
              cycles in regard to the events of post-injection pulmonary oil microembolism (POME) and
              anaphylaxis.

              Rather than describing each DPARP consultation, this section provides information only from
              the most recent DPARP consultation. The reader may refer to previous CDTL memos for a
              summary of DPARP’s two prior consults.

              For the third review cycle (of the second Complete Response), and as part of FDA’s
              preparation for the April 18, 2013, Advisory Committee meeting, DPARP was again asked to
              adjudicate potential cases of POME and anaphylaxis in the postmarketing period.

              As discussed earlier in this memo (Section 8.1.3.2), and as documented in their final consult
              dated March 22, 2013, DPARP reviewed case narratives for 330 potential cases of
              anaphylaxis. DPARP identified a total of 47 anaphylaxis cases (using just NIAID/FAAN
              criterion #1). If the identification criteria used were less restrictive (NAIAID/FAAN criteria
              #1 or #2), then DPARP identified a total of 68 cases. Additional anaphylaxis cases were
              identified in the Sponsor’s final Safety Update to the second Complete Response, raising the
              totals to 53 and 76 cases of anaphylaxis, using strict and less restrictive identification criteria,
              respectively.

              DPARP reviewers also assisted DBRUP in the evaluation of 533 potential cases of POME.
              DPARP and DBRUP identified 170-191 POME cases (the range is due to overlap as a
              consequence of overlap in identifying anaphylaxis using either the strict or less restrictive
              criteria and thus, resulting in greater or fewer POME cases). Of these, 55-76 cases were
              identified as severe POME. Another 6-8 POME cases were identified in the application’s final
              Safety Update to the second Complete Response.

              Based on these findings, the final conclusions and recommendations offered by DPARP (Stacy
              Chin, Tony Durmowicz, and Badrul Chowdhury) were consistent with their conclusions and
              recommendation from their prior consults:
                   !    The safety signals of anaphylaxis and severe POME identified in previous submissions
                        were confirmed.
                   !    No less than 53 cases of anaphylaxis were identified in this review.
                   !    No less than 170 cases of POME were identified, and of those at least 55 (to 76) cases
                        were severe in intensity.




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                   !    The severity of the POME episodes are due, at least in part, to decreased cardiac
                        output as a result of acute pulmonary hypertension (due to oil microembolism)
                        resulting in dyspnea, dizziness and rarely, collapse.
                   !    It is likely that POME also results in pulmonary inflammatory changes with a similar
                        pathology to that observed in patients and in animal models of fat embolism.
                   !    The long-term consequence of POME events, including repeated “low-grade POME”
                        is unknown. POME that doesn’t manifest as an acute event may nonetheless be
                        harmful to lung tissue.
                   !    As in prior consults, DPARP concluded: “Ultimately, the decision to approve or not
                        approve TU is a risk versus benefit decision and should be made in light of the degree
                        of efficacy, the seriousness of the indication, the availability of alternative products for
                        that indication, and the extent of the safety data.”


              12. Labeling
              Labeling discussions were held during the original NDA review, as well as during the review
              of the second and third Complete Responses.

              During this review cycle, the Sponsor and FDA worked collaboratively to generate a label that
              accurately described the efficacy and safety results for Aveed and that would allow for safe
              and effective use of Aveed. The highlights of the label include: a Boxed Warning for serious
              POME and anaphylaxis and a restricted Indication. The Warning describes the existence of
              the Aveed REMS program, the potential for serious POME and anaphylaxis, and the need to
              observe the patient in the healthcare setting for 30 minutes after each injection. The restricted
              indication is intended to narrow the target population to patients in whom the benefits of
              Aveed (effective testosterone replacement using the 10-week dosing interval) outweigh the
              potential risks of serious POME and anaphylaxis.


              13. Recommendations/Risk Benefit Assessment

              13.1 Recommended Regulatory Action
              I recommend that the NDA be approved at this time. I am convinced that the new Risk
              Evaluation and Mitigation Strategy (REMS) with Elements to Assure Safe Use (ETASU)
              mitigates the potential adverse consequences of the rare serious POME and anaphylaxis
              reactions such that the benefit of Aveed now outweighs its potential risks in the restricted
              target population. In order to receive the product, health care providers will need to be
              specially certified. Product will only come from certified distributors. Health care providers
              will be trained in proper administration of the product. Health care providers will attest to
              their awareness of the risk of serious POME and anaphylaxis, their ability to manage the rare
              potential severe post-injection event, and their willingness to keep the patient under
              observation in the health care facility for 30 minutes. Patients will be thoroughly informed of
              the potential risk of serious POME and anaphylaxis.



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              13.2 Risk Benefit Assessment
              Aveed confers the expected benefit for a testosterone replacement therapy (TRT), with the
              need for fewer injections per year compared to other injectable TRT products. In a subgroup
              of patients, especially those who currently receive bimonthly IM injections, Aveed offers an
              option to meet their testosterone replacement needs with 6 or 7 injections per year.

              The risks of Aveed include the usual androgen-related side effects plus the potential for rare
              serious POME and anaphylaxis reactions after the injection. In 19 clinical trials of
              intramuscular testosterone, at various doses and dose regimens, in approximately 3600
              subjects, there were 9 reported events of POME and 2 of anaphylaxis. In approximately 8
              years of postmarketing experience with intramuscular testosterone undecanoate outside the
              United States, mostly at a dose of 1000 mg (4 mL) per injection, we identified 137 cases of
              severe POME or anaphylaxis. In an additional 19 months of postmarketing experience, the
              information on POME and anaphylaxis remains qualitatively the same with no apparent
              increase in reporting rates for these events. Although some of the events have been reported
              as serious, with hospitalization or emergency room visit in some cases, no case has led to
              death or permanent disability.

              With the new comprehensive Risk Evaluation and Mitigation Strategy (REMS) with Elements
              to Assure Safe Use (ETASU) in place to mitigate the potential adverse consequences of the
              rare serious POME and anaphylaxis reactions, and an awareness by the provider and the
              patient of the potential serious risks, I am persuaded that the benefit of Aveed outweighs its
              potential risks in the restricted target population.

              The reader is referred to previous sections of this memo, including the Executive Summary
              and Safety Summary sections for additional discussion and detail.

              13.3 Recommendation for Postmarketing Risk Management Activities
              The postmarketing risk management activities for Aveed are extensive. The approved REMS-
              related documents will include:
                  !     REMS Document
                  !     REMS Supporting Document
                  !     Health Care Provider Enrollment Form
                  !     Health Care Setting Enrollment Form
                  !     Health Care Provider Education Program
                  !     Health Care Setting Education Program
                  !     Health Care Provider Webpage
                  !     Patient Counseling Tool
                  !     Aveed REMS Program Introduction Piece

              The REMS with ETASU will assure safe use by enforcing a restricted distribution of the
              product only to certified prescribers who are aware of the product risks, who are trained to
              administer the product properly, who will inform the patient of these risks, and who will
              observe the patient for 30 minutes in the healthcare setting in order to manage the


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              consequences of a serious POME or anaphylactic reaction, in the unlikely event of such an
              occurrence.

              In conjunction with our colleagues in DRISK, I conclude that the proposed REMS is
              consistent with the REMS requested by FDA in our May 29, 2013, CR action letter.


              13.4 Recommendation for other Postmarketing Study Commitments
              In addition to the comprehensive REMS with ETASU, we recommend that Sponsor conduct
              “enhanced” pharmacovigilance, such that cases of serious POME or anaphylaxis are reported
              to FDA within 15 days, are followed up thoroughly by Sponsor using a pre-defined and
              comprehensive inquiry methodology, and are reported in detail in quarterly summary safety
              update reports.

              13.5 Recommended Comments to Applicant
              None




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     This is a representation of an electronic record that was signed
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     signature.
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     /s/
     ----------------------------------------------------
     MARK S HIRSCH
     02/28/2014

     CHRISTINE P NGUYEN
     02/28/2014
     I concur with Dr. Hirsch's overall recommendation of approval.




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                                                                                                                                                                  1
                                                                                      •    CIALIS is not recommended in combination with alpha-blockers
   HIGHLIGHTS OF PRESCRIBING INFORMATION                                                   for the treatment of BPH because efficacy of the combination has
   These highlights do not include all the information needed to use                       not been adequately studied and because of the risk of blood
   CIALIS safely and effectively. See full prescribing information for                     pressure lowering. Caution is advised when CIALIS is used as a
   CIALIS.                                                                                 treatment for ED in men taking alpha-blockers. (2.7, 5.6, 7.1,
   CIALIS (tadalafil) tablets, for oral use                                                12.2)
   Initial U.S. Approval: 2003                                                        •    Patients should seek emergency treatment if an erection lasts
                                                                                           >4 hours. Use CIALIS with caution in patients predisposed to
   ---------------------------RECENT MAJOR CHANGES---------------------------              priapism (5.3).
   Warnings and Precautions (5.4)                                    05/2017          •    Patients should stop CIALIS and seek medical care if a sudden
                                                                                           loss of vision occurs in one or both eyes, which could be a sign of
   ----------------------------INDICATIONS AND USAGE---------------------------            non-arteritic anterior ischemic optic neuropathy (NAION). CIALIS
   CIALIS® is a phosphodiesterase 5 (PDE5) inhibitor indicated for the                     should be used with caution, and only when the anticipated
   treatment of:                                                                           benefits outweigh the risks, in patients with a history of NAION.
   •    erectile dysfunction (ED) (1.1)                                                    Patients with a “crowded” optic disc may also be at an increased
   •    the signs and symptoms of benign prostatic hyperplasia (BPH)                       risk of NAION (5.4, 6.2).
        (1.2)                                                                         •    Patients should stop CIALIS and seek prompt medical attention in
   •    ED and the signs and symptoms of BPH (ED/BPH) (1.3)                                the event of sudden decrease or loss of hearing (5.5).
                                                                                      •    Prior to initiating treatment with CIALIS for BPH, consideration
   If CIALIS is used with finasteride to initiate BPH treatment, such use is               should be given to other urological conditions that may cause
         recommended for up to 26 weeks (1.4).                                             similar symptoms (5.14).

   -----------------------DOSAGE AND ADMINISTRATION-----------------------            ------------------------------ADVERSE REACTIONS-------------------------------
   •      CIALIS for use as needed:                                                   Most common adverse reactions (≥2%) include headache, dyspepsia,
   •      ED: Starting dose: 10 mg as needed prior to sexual activity.                back pain, myalgia, nasal congestion, flushing, and pain in limb (6.1).
          Increase to 20 mg or decrease to 5 mg based upon                            To report SUSPECTED ADVERSE REACTIONS, contact Eli Lilly
          efficacy/tolerability. Improves erectile function compared to               and Company at 1-800-LillyRx (1-800-545-5979) or FDA at 1-800-
          placebo up to 36 hours post dose. Not to be taken more than                 FDA-1088 or www.fda.gov/medwatch
          once per day (2.1).
   •      CIALIS for once daily use:                                                  -------------------------------DRUG INTERACTIONS------------------------------
   •      ED: 2.5 mg taken once daily, without regard to timing of sexual             •      CIALIS can potentiate the hypotensive effects of nitrates, alpha-
          activity. May increase to 5 mg based upon efficacy and tolerability                blockers, antihypertensives or alcohol (7.1).
          (2.2).                                                                      •      CYP3A4 inhibitors (e.g. ketoconazole, ritonavir) increase CIALIS
   •      BPH: 5 mg, taken at approximately the same time every day (2.3)                    exposure (2.7, 5.10, 7.2) requiring dose adjustment:
   •      ED and BPH: 5 mg, taken at approximately the same time every                       • CIALIS for use as needed: no more than 10 mg every
          day (2.3, 2.4)                                                                     72 hours
   •      CIALIS may be taken without regard to food (2.5).                                  • CIALIS for once daily use: dose not to exceed 2.5 mg
                                                                                      •      CYP3A4 inducers (e.g. rifampin) decrease CIALIS exposure (7.2).
   ---------------------DOSAGE FORMS AND STRENGTHS----------------------
   Tablets: 2.5 mg, 5 mg, 10 mg, 20 mg (3).                                           ---------------------------USE IN SPECIFIC POPULATIONS--------------------
                                                                                      Hepatic Impairment (2.6, 5.8, 8.6):
   ----------------------------CONTRAINDICATIONS---------------------------------     •   Mild or Moderate: Dosage adjustment may be needed.
   •      Administration of CIALIS to patients using any form of organic              •   Severe: Use is not recommended.
          nitrate is contraindicated. CIALIS was shown to potentiate the
          hypotensive effect of nitrates (4.1).                                       Renal Impairment (2.6, 5.7, 8.7):
   •      History of known serious hypersensitivity reaction to CIALIS or             •   Patients with creatinine clearance 30 to 50 mL/min: Dosage
          ADCIRCA® (4.2).                                                                 adjustment may be needed.
   •      Administration with guanylate cyclase (GC) stimulators, such as             •   Patients with creatinine clearance less than 30 mL/min or on
          riociguat (4.3).                                                                hemodialysis: For use as needed: Dose should not exceed 5 mg
                                                                                          every 72 hours. Once daily use is not recommended.
   ------------------------WARNINGS AND PRECAUTIONS-----------------------
   •      Patients should not use CIALIS if sex is inadvisable due to
          cardiovascular status (5.1).                                                See 17 for PATIENT COUNSELING INFORMATION and FDA-
   •      Use of CIALIS with alpha-blockers, antihypertensives or                     approved patient labeling
          substantial amounts of alcohol (≥5 units) may lead to hypotension                                                    Revised: 02/2018
          (5.6, 5.9).

   FULL PRESCRIBING INFORMATION: CONTENTS*
   1    INDICATIONS AND USAGE                                                              4.1     Nitrates
        1.1   Erectile Dysfunction                                                         4.2     Hypersensitivity Reactions
        1.2   Benign Prostatic Hyperplasia                                                 4.3     Concomitant Guanylate Cyclase (GC) Stimulators
        1.3   Erectile Dysfunction and Benign Prostatic Hyperplasia                   5    WARNINGS AND PRECAUTIONS
        1.4   Limitation of Use                                                            5.1  Cardiovascular
   2    DOSAGE AND ADMINISTRATION                                                          5.2  Potential for Drug Interactions When Taking CIALIS for
        2.1  CIALIS for Use as Needed for Erectile Dysfunction                                  Once Daily Use
        2.2  CIALIS for Once Daily Use for Erectile Dysfunction                            5.3  Prolonged Erection
        2.3  CIALIS for Once Daily Use for Benign Prostatic                                5.4  Effects on the Eye
             Hyperplasia                                                                   5.5  Sudden Hearing Loss
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         12.2 Pharmacodynamics                                              are not listed
         12.3 Pharmacokinetics
   13    NONCLINICAL TOXICOLOGY
         13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility


   FULL PRESCRIBING INFORMATION
   1       INDICATIONS AND USAGE
   1.1     Erectile Dysfunction
           CIALIS® is indicated for the treatment of erectile dysfunction (ED).
   1.2     Benign Prostatic Hyperplasia
           CIALIS is indicated for the treatment of the signs and symptoms of benign prostatic hyperplasia (BPH).
   1.3     Erectile Dysfunction and Benign Prostatic Hyperplasia
           CIALIS is indicated for the treatment of ED and the signs and symptoms of BPH (ED/BPH).
   1.4     Limitation of Use
           If CIALIS is used with finasteride to initiate BPH treatment, such use is recommended for up to 26 weeks because
   the incremental benefit of CIALIS decreases from 4 weeks until 26 weeks, and the incremental benefit of CIALIS beyond
   26 weeks is unknown [see Clinical Studies (14.3)].
   2        DOSAGE AND ADMINISTRATION
            Do not split CIALIS tablets; entire dose should be taken.
   2.1      CIALIS for Use as Needed for Erectile Dysfunction
            • The recommended starting dose of CIALIS for use as needed in most patients is 10 mg, taken prior to
               anticipated sexual activity.
            • The dose may be increased to 20 mg or decreased to 5 mg, based on individual efficacy and tolerability. The
               maximum recommended dosing frequency is once per day in most patients.
            • CIALIS for use as needed was shown to improve erectile function compared to placebo up to 36 hours
               following dosing. Therefore, when advising patients on optimal use of CIALIS, this should be taken into
               consideration.
   2.2      CIALIS for Once Daily Use for Erectile Dysfunction
            • The recommended starting dose of CIALIS for once daily use is 2.5 mg, taken at approximately the same time
               every day, without regard to timing of sexual activity.
            • The CIALIS dose for once daily use may be increased to 5 mg, based on individual efficacy and tolerability.
   2.3      CIALIS for Once Daily Use for Benign Prostatic Hyperplasia
            • The recommended dose of CIALIS for once daily use is 5 mg, taken at approximately the same time every
               day.
            • When therapy for BPH is initiated with CIALIS and finasteride, the recommended dose of CIALIS for once daily
               use is 5 mg, taken at approximately the same time every day for up to 26 weeks.
   2.4      CIALIS for Once Daily Use for Erectile Dysfunction and Benign Prostatic Hyperplasia

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                                                                                                                           3
           The recommended dose of CIALIS for once daily use is 5 mg, taken at approximately the same time every day,
   without regard to timing of sexual activity.
   2.5     Use with Food
           CIALIS may be taken without regard to food.
   2.6     Use in Specific Populations
   Renal Impairment
   CIALIS for Use as Needed
           • Creatinine clearance 30 to 50 mL/min: A starting dose of 5 mg not more than once per day is recommended,
                and the maximum dose is 10 mg not more than once in every 48 hours.
           • Creatinine clearance less than 30 mL/min or on hemodialysis: The maximum dose is 5 mg not more than once
                in every 72 hours [see Warnings and Precautions (5.7) and Use in Specific Populations (8.7)].
   CIALIS for Once Daily Use
           Erectile Dysfunction
           • Creatinine clearance less than 30 mL/min or on hemodialysis: CIALIS for once daily use is not recommended
                [see Warnings and Precautions (5.7) and Use in Specific Populations (8.7)].
           Benign Prostatic Hyperplasia and Erectile Dysfunction/Benign Prostatic Hyperplasia
           • Creatinine clearance 30 to 50 mL/min: A starting dose of 2.5 mg is recommended. An increase to 5 mg may
                be considered based on individual response.
           • Creatinine clearance less than 30 mL/min or on hemodialysis: CIALIS for once daily use is not recommended
                [see Warnings and Precautions (5.7) and Use in Specific Populations (8.7)].
   Hepatic Impairment
   CIALIS for Use as Needed
           • Mild or moderate (Child Pugh Class A or B): The dose should not exceed 10 mg once per day. The use of
                CIALIS once per day has not been extensively evaluated in patients with hepatic impairment and therefore,
                caution is advised.
           • Severe (Child Pugh Class C): The use of CIALIS is not recommended [see Warnings and Precautions (5.8)
                and Use in Specific Populations (8.6)].
   CIALIS for Once Daily Use
           • Mild or moderate (Child Pugh Class A or B): CIALIS for once daily use has not been extensively evaluated in
                patients with hepatic impairment. Therefore, caution is advised if CIALIS for once daily use is prescribed to
                these patients.
           • Severe (Child Pugh Class C): The use of CIALIS is not recommended [see Warnings and Precautions (5.8)
                and Use in Specific Populations (8.6)].
   2.7     Concomitant Medications
   Nitrates
           Concomitant use of nitrates in any form is contraindicated [see Contraindications (4.1)].
   Alpha-Blockers
           ED — When CIALIS is coadministered with an alpha-blocker in patients being treated for ED, patients should be
   stable on alpha-blocker therapy prior to initiating treatment, and CIALIS should be initiated at the lowest recommended
   dose [see Warnings and Precautions (5.6), Drug Interactions (7.1), and Clinical Pharmacology (12.2)].
           BPH — CIALIS is not recommended for use in combination with alpha-blockers for the treatment of BPH [see
   Warnings and Precautions (5.6), Drug Interactions (7.1), and Clinical Pharmacology (12.2)].
   CYP3A4 Inhibitors
           CIALIS for Use as Needed — For patients taking concomitant potent inhibitors of CYP3A4, such as ketoconazole
   or ritonavir, the maximum recommended dose of CIALIS is 10 mg, not to exceed once every 72 hours [see Warnings and
   Precautions (5.10) and Drug Interactions (7.2)].
           CIALIS for Once Daily Use — For patients taking concomitant potent inhibitors of CYP3A4, such as ketoconazole
   or ritonavir, the maximum recommended dose is 2.5 mg [see Warnings and Precautions (5.10) and Drug Interactions
   (7.2)].
   3      DOSAGE FORMS AND STRENGTHS
          Four strengths of almond-shaped tablets are available in different sizes and different shades of yellow:
          2.5 mg tablets debossed with “C 2 1/2”
          5 mg tablets debossed with “C 5”
          10 mg tablets debossed with “C 10”
          20 mg tablets debossed with “C 20”
   4      CONTRAINDICATIONS
   4.1    Nitrates



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           Administration of CIALIS to patients who are using any form of organic nitrate, either regularly and/or intermittently,
   is contraindicated. In clinical pharmacology studies, CIALIS was shown to potentiate the hypotensive effect of nitrates
   [see Clinical Pharmacology (12.2)].
   4.2     Hypersensitivity Reactions
           CIALIS is contraindicated in patients with a known serious hypersensitivity to tadalafil (CIALIS or ADCIRCA®).
   Hypersensitivity reactions have been reported, including Stevens-Johnson syndrome and exfoliative dermatitis [see
   Adverse Reactions (6.2)].
   4.3     Concomitant Guanylate Cyclase (GC) Stimulators
           Do not use CIALIS in patients who are using a GC stimulator, such as riociguat. PDE5 inhibitors, including CIALIS,
   may potentiate the hypotensive effects of GC stimulators.
   5        WARNINGS AND PRECAUTIONS
            Evaluation of erectile dysfunction and BPH should include an appropriate medical assessment to identify potential
   underlying causes, as well as treatment options.
            Before prescribing CIALIS, it is important to note the following:
   5.1      Cardiovascular
            Physicians should consider the cardiovascular status of their patients, since there is a degree of cardiac risk
   associated with sexual activity. Therefore, treatments for erectile dysfunction, including CIALIS, should not be used in
   men for whom sexual activity is inadvisable as a result of their underlying cardiovascular status. Patients who experience
   symptoms upon initiation of sexual activity should be advised to refrain from further sexual activity and seek immediate
   medical attention.
            Physicians should discuss with patients the appropriate action in the event that they experience anginal chest pain
   requiring nitroglycerin following intake of CIALIS. In such a patient, who has taken CIALIS, where nitrate administration is
   deemed medically necessary for a life-threatening situation, at least 48 hours should have elapsed after the last dose of
   CIALIS before nitrate administration is considered. In such circumstances, nitrates should still only be administered under
   close medical supervision with appropriate hemodynamic monitoring. Therefore, patients who experience anginal chest
   pain after taking CIALIS should seek immediate medical attention. [see Contraindications (4.1) and Patient Counseling
   Information (17.1)].
            Patients with left ventricular outflow obstruction, (e.g., aortic stenosis and idiopathic hypertrophic subaortic
   stenosis) can be sensitive to the action of vasodilators, including PDE5 inhibitors.
            The following groups of patients with cardiovascular disease were not included in clinical safety and efficacy trials
   for CIALIS, and therefore until further information is available, CIALIS is not recommended for the following groups of
   patients:
            • myocardial infarction within the last 90 days
            • unstable angina or angina occurring during sexual intercourse
            • New York Heart Association Class 2 or greater heart failure in the last 6 months
            • uncontrolled arrhythmias, hypotension (<90/50 mm Hg), or uncontrolled hypertension
            • stroke within the last 6 months.
            As with other PDE5 inhibitors, tadalafil has mild systemic vasodilatory properties that may result in transient
   decreases in blood pressure. In a clinical pharmacology study, tadalafil 20 mg resulted in a mean maximal decrease in
   supine blood pressure, relative to placebo, of 1.6/0.8 mm Hg in healthy subjects [see Clinical Pharmacology (12.2)]. While
   this effect should not be of consequence in most patients, prior to prescribing CIALIS, physicians should carefully consider
   whether their patients with underlying cardiovascular disease could be affected adversely by such vasodilatory effects.
   Patients with severely impaired autonomic control of blood pressure may be particularly sensitive to the actions of
   vasodilators, including PDE5 inhibitors.
   5.2      Potential for Drug Interactions When Taking CIALIS for Once Daily Use
            Physicians should be aware that CIALIS for once daily use provides continuous plasma tadalafil levels and should
   consider this when evaluating the potential for interactions with medications (e.g., nitrates, alpha-blockers, anti-
   hypertensives and potent inhibitors of CYP3A4) and with substantial consumption of alcohol [see Drug Interactions (7.1,
   7.2, 7.3)].
   5.3      Prolonged Erection
            There have been rare reports of prolonged erections greater than 4 hours and priapism (painful erections greater
   than 6 hours in duration) for this class of compounds. Priapism, if not treated promptly, can result in irreversible damage
   to the erectile tissue. Patients who have an erection lasting greater than 4 hours, whether painful or not, should seek
   emergency medical attention.
            CIALIS should be used with caution in patients who have conditions that might predispose them to priapism (such
   as sickle cell anemia, multiple myeloma, or leukemia), or in patients with anatomical deformation of the penis (such as
   angulation, cavernosal fibrosis, or Peyronie’s disease).
   5.4      Effects on the Eye


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           Physicians should advise patients to stop use of all phosphodiesterase type 5 (PDE5) inhibitors, including CIALIS,
   and seek medical attention in the event of a sudden loss of vision in one or both eyes. Such an event may be a sign of
   non-arteritic anterior ischemic optic neuropathy (NAION), a rare condition and a cause of decreased vision, including
   permanent loss of vision, that has been reported rarely postmarketing in temporal association with the use of all PDE5
   inhibitors. Based on published literature, the annual incidence of NAION is 2.5-11.8 cases per 100,000 in males aged ≥50.
           An observational case-crossover study evaluated the risk of NAION when PDE5 inhibitor use, as a class, occurred
   immediately before NAION onset (within 5 half-lives), compared to PDE5 inhibitor use in a prior time period. The results
   suggest an approximate 2-fold increase in the risk of NAION, with a risk estimate of 2.15 (95% CI 1.06, 4.34). A similar
   study reported a consistent result, with a risk estimate of 2.27 (95% CI 0.99, 5.20). Other risk factors for NAION, such as
   the presence of “crowded” optic disc, may have contributed to the occurrence of NAION in these studies.
           Neither the rare postmarketing reports, nor the association of PDE5 inhibitor use and NAION in the observational
   studies, substantiate a causal relationship between PDE5 inhibitor use and NAION [see Adverse Reactions (6.2)].
           Physicians should consider whether their patients with underlying NAION risk factors could be adversely affected
   by use of PDE5 inhibitors. Individuals who have already experienced NAION are at increased risk of NAION recurrence.
   Therefore, PDE5 inhibitors, including CIALIS, should be used with caution in these patients and only when the anticipated
   benefits outweigh the risks. Individuals with “crowded” optic disc are also considered at greater risk for NAION compared
   to the general population; however, evidence is insufficient to support screening of prospective users of PDE5 inhibitors,
   including CIALIS, for this uncommon condition.
           Patients with known hereditary degenerative retinal disorders, including retinitis pigmentosa, were not included in
   the clinical trials, and use in these patients is not recommended.
   5.5     Sudden Hearing Loss
           Physicians should advise patients to stop taking PDE5 inhibitors, including CIALIS, and seek prompt medical
   attention in the event of sudden decrease or loss of hearing. These events, which may be accompanied by tinnitus and
   dizziness, have been reported in temporal association to the intake of PDE5 inhibitors, including CIALIS. It is not possible
   to determine whether these events are related directly to the use of PDE5 inhibitors or to other factors [see Adverse
   Reactions (6.1, 6.2)].
   5.6     Alpha-blockers and Antihypertensives
           Physicians should discuss with patients the potential for CIALIS to augment the blood-pressure-lowering effect of
   alpha-blockers and antihypertensive medications [see Drug Interactions (7.1) and Clinical Pharmacology (12.2)].
           Caution is advised when PDE5 inhibitors are coadministered with alpha-blockers. PDE5 inhibitors, including
   CIALIS, and alpha-adrenergic blocking agents are both vasodilators with blood-pressure-lowering effects. When
   vasodilators are used in combination, an additive effect on blood pressure may be anticipated. In some patients,
   concomitant use of these two drug classes can lower blood pressure significantly [see Drug Interactions (7.1) and Clinical
   Pharmacology (12.2)], which may lead to symptomatic hypotension (e.g., fainting). Consideration should be given to the
   following:
           ED
           • Patients should be stable on alpha-blocker therapy prior to initiating a PDE5 inhibitor. Patients who
                demonstrate hemodynamic instability on alpha-blocker therapy alone are at increased risk of symptomatic
                hypotension with concomitant use of PDE5 inhibitors.
           • In those patients who are stable on alpha-blocker therapy, PDE5 inhibitors should be initiated at the lowest
                recommended dose.
           • In those patients already taking an optimized dose of PDE5 inhibitor, alpha-blocker therapy should be initiated
                at the lowest dose. Stepwise increase in alpha-blocker dose may be associated with further lowering of blood
                pressure when taking a PDE5 inhibitor.
           • Safety of combined use of PDE5 inhibitors and alpha-blockers may be affected by other variables, including
                intravascular volume depletion and other antihypertensive drugs.
           [see Dosage and Administration (2.7) and Drug Interactions (7.1)].
           BPH
           • The efficacy of the coadministration of an alpha-blocker and CIALIS for the treatment of BPH has not been
                adequately studied, and due to the potential vasodilatory effects of combined use resulting in blood pressure
                lowering, the combination of CIALIS and alpha-blockers is not recommended for the treatment of BPH. [see
                Dosage and Administration (2.7), Drug Interactions (7.1), and Clinical Pharmacology (12.2.)].
           • Patients on alpha-blocker therapy for BPH should discontinue their alpha-blocker at least one day prior to
                starting CIALIS for once daily use for the treatment of BPH.
   5.7     Renal Impairment
   CIALIS for Use as Needed
           CIALIS should be limited to 5 mg not more than once in every 72 hours in patients with creatinine clearance less
   than 30 mL/min or end-stage renal disease on hemodialysis. The starting dose of CIALIS in patients with creatinine




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   clearance 30 – 50 mL/min should be 5 mg not more than once per day, and the maximum dose should be limited to
   10 mg not more than once in every 48 hours. [see Use in Specific Populations (8.7)].
   CIALIS for Once Daily Use
            ED
            Due to increased tadalafil exposure (AUC), limited clinical experience, and the lack of ability to influence clearance
   by dialysis, CIALIS for once daily use is not recommended in patients with creatinine clearance less than 30 mL/min [see
   Use in Specific Populations (8.7)].
            BPH and ED/BPH
            Due to increased tadalafil exposure (AUC), limited clinical experience, and the lack of ability to influence clearance
   by dialysis, CIALIS for once daily use is not recommended in patients with creatinine clearance less than 30 mL/min. In
   patients with creatinine clearance 30 – 50 mL/min, start dosing at 2.5 mg once daily, and increase the dose to 5 mg once
   daily based upon individual response [see Dosage and Administration (2.6), Use in Specific Populations (8.7), and Clinical
   Pharmacology (12.3)].
   5.8      Hepatic Impairment
   CIALIS for Use as Needed
            In patients with mild or moderate hepatic impairment, the dose of CIALIS should not exceed 10 mg. Because of
   insufficient information in patients with severe hepatic impairment, use of CIALIS in this group is not recommended [see
   Use in Specific Populations (8.6)].
   CIALIS for Once Daily Use
            CIALIS for once daily use has not been extensively evaluated in patients with mild or moderate hepatic
   impairment. Therefore, caution is advised if CIALIS for once daily use is prescribed to these patients. Because of
   insufficient information in patients with severe hepatic impairment, use of CIALIS in this group is not recommended [see
   Use in Specific Populations (8.6)].
   5.9      Alcohol
            Patients should be made aware that both alcohol and CIALIS, a PDE5 inhibitor, act as mild vasodilators. When
   mild vasodilators are taken in combination, blood-pressure-lowering effects of each individual compound may be
   increased. Therefore, physicians should inform patients that substantial consumption of alcohol (e.g., 5 units or greater) in
   combination with CIALIS can increase the potential for orthostatic signs and symptoms, including increase in heart rate,
   decrease in standing blood pressure, dizziness, and headache [see Clinical Pharmacology (12.2)].
   5.10 Concomitant Use of Potent Inhibitors of Cytochrome P450 3A4 (CYP3A4)
            CIALIS is metabolized predominantly by CYP3A4 in the liver. The dose of CIALIS for use as needed should be
   limited to 10 mg no more than once every 72 hours in patients taking potent inhibitors of CYP3A4 such as ritonavir,
   ketoconazole, and itraconazole [see Drug Interactions (7.2)]. In patients taking potent inhibitors of CYP3A4 and CIALIS for
   once daily use, the maximum recommended dose is 2.5 mg [see Dosage and Administration (2.7)].
   5.11 Combination With Other PDE5 Inhibitors or Erectile Dysfunction Therapies
            The safety and efficacy of combinations of CIALIS and other PDE5 inhibitors or treatments for erectile dysfunction
   have not been studied. Inform patients not to take CIALIS with other PDE5 inhibitors, including ADCIRCA.
   5.12 Effects on Bleeding
            Studies in vitro have demonstrated that tadalafil is a selective inhibitor of PDE5. PDE5 is found in platelets. When
   administered in combination with aspirin, tadalafil 20 mg did not prolong bleeding time, relative to aspirin alone. CIALIS
   has not been administered to patients with bleeding disorders or significant active peptic ulceration. Although CIALIS has
   not been shown to increase bleeding times in healthy subjects, use in patients with bleeding disorders or significant active
   peptic ulceration should be based upon a careful risk-benefit assessment and caution.
   5.13 Counseling Patients About Sexually Transmitted Diseases
            The use of CIALIS offers no protection against sexually transmitted diseases. Counseling patients about the
   protective measures necessary to guard against sexually transmitted diseases, including Human Immunodeficiency Virus
   (HIV) should be considered.
   5.14 Consideration of Other Urological Conditions Prior to Initiating Treatment for BPH
            Prior to initiating treatment with CIALIS for BPH, consideration should be given to other urological conditions that
   may cause similar symptoms. In addition, prostate cancer and BPH may coexist.
   6        ADVERSE REACTIONS
   6.1      Clinical Trials Experience
            Because clinical trials are conducted under widely varying conditions, adverse reaction rates observed in the
   clinical trials of a drug cannot be directly compared to rates in the clinical trials of another drug and may not reflect the
   rates observed in practice.




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                                                                                                                                   7
           Tadalafil was administered to over 9000 men during clinical trials worldwide. In trials of CIALIS for once daily use,
   a total of 1434, 905, and 115 were treated for at least 6 months, 1 year, and 2 years, respectively. For CIALIS for use as
   needed, over 1300 and 1000 subjects were treated for at least 6 months and 1 year, respectively.

   CIALIS for Use as Needed for ED
          In eight primary placebo-controlled clinical studies of 12 weeks duration, mean age was 59 years (range 22 to 88)
   and the discontinuation rate due to adverse events in patients treated with tadalafil 10 or 20 mg was 3.1%, compared to
   1.4% in placebo treated patients.
          When taken as recommended in the placebo-controlled clinical trials, the following adverse reactions were
   reported (see Table 1) for CIALIS for use as needed:

    Table 1: Treatment-Emergent Adverse Reactions Reported by ≥2% of Patients Treated with CIALIS (10 or 20 mg)
     and More Frequent on Drug than Placebo in the Eight Primary Placebo-Controlled Clinical Studies (Including a
                            Study in Patients with Diabetes) for CIALIS for Use as Needed for ED
      Adverse Reaction                          Placebo       Tadalafil 5 mg     Tadalafil 10 mg Tadalafil 20 mg
                                                 (N=476)          (N=151)            (N=394)        (N=635)
      Headache                                     5%               11%                11%             15%
      Dyspepsia                                    1%                4%                 8%             10%
      Back pain                                    3%                3%                 5%              6%
      Myalgia                                      1%                1%                 4%              3%
      Nasal congestion                             1%                2%                 3%              3%
      Flushinga                                    1%                2%                 3%              3%
      Pain in limb                                 1%                1%                 3%              3%
   a The term flushing includes: facial flushing and flushing



   CIALIS for Once Daily Use for ED
           In three placebo-controlled clinical trials of 12 or 24 weeks duration, mean age was 58 years (range 21 to 82) and
   the discontinuation rate due to adverse events in patients treated with tadalafil was 4.1%, compared to 2.8% in placebo-
   treated patients.
           The following adverse reactions were reported (see Table 2) in clinical trials of 12 weeks duration:

   Table 2: Treatment-Emergent Adverse Reactions Reported by ≥2% of Patients Treated with CIALIS for Once Daily
     Use (2.5 or 5 mg) and More Frequent on Drug than Placebo in the Three Primary Placebo-Controlled Phase 3
    Studies of 12 weeks Treatment Duration (Including a Study in Patients with Diabetes) for CIALIS for Once Daily
                                                    Use for ED
     Adverse Reaction                                 Placebo            Tadalafil 2.5 mg        Tadalafil 5 mg
                                                      (N=248)                 (N=196)                (N=304)
     Headache                                            5%                     3%                     6%
     Dyspepsia                                           2%                     4%                     5%
     Nasopharyngitis                                     4%                     4%                     3%
     Back pain                                           1%                     3%                     3%
     Upper respiratory tract infection                   1%                     3%                     3%
     Flushing                                            1%                     1%                     3%
     Myalgia                                             1%                     2%                     2%
     Cough                                               0%                     4%                     2%
     Diarrhea                                            0%                     1%                     2%
     Nasal congestion                                    0%                     2%                     2%
     Pain in extremity                                   0%                     1%                     2%
     Urinary tract infection                             0%                     2%                     0%
     Gastroesophageal reflux disease                     0%                     2%                     1%
     Abdominal pain                                      0%                     2%                     1%

           The following adverse reactions were reported (see Table 3) over 24 weeks treatment duration in one placebo-
   controlled clinical study:

   Table 3: Treatment-Emergent Adverse Reactions Reported by ≥2% of Patients Treated with CIALIS for Once Daily
   Use (2.5 or 5 mg) and More Frequent on Drug than Placebo in One Placebo-Controlled Clinical Study of 24 Weeks
                               Treatment Duration for CIALIS for Once Daily Use for ED


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     Adverse Reaction                                                     Placebo        Tadalafil 2.5 mg        Tadalafil 5 mg
                                                                           (N=94)            (N=96)                 (N=97)
     Nasopharyngitis                                                         5%                6%                     6%
     Gastroenteritis                                                         2%                3%                     5%
     Back pain                                                               3%                5%                     2%
     Upper respiratory tract infection                                       0%                3%                     4%
     Dyspepsia                                                               1%                4%                     1%
     Gastroesophageal reflux disease                                         0%                3%                     2%
     Myalgia                                                                 2%                4%                     1%
     Hypertension                                                            0%                1%                     3%
     Nasal congestion                                                        0%                0%                     4%

   CIALIS for Once Daily Use for BPH and for ED and BPH
          In three placebo-controlled clinical trials of 12 weeks duration, two in patients with BPH and one in patients with
   ED and BPH, the mean age was 63 years (range 44 to 93) and the discontinuation rate due to adverse events in patients
   treated with tadalafil was 3.6% compared to 1.6% in placebo-treated patients. Adverse reactions leading to
   discontinuation reported by at least 2 patients treated with tadalafil included headache, upper abdominal pain, and
   myalgia. The following adverse reactions were reported (see Table 4).

   Table 4: Treatment-Emergent Adverse Reactions Reported by ≥1% of Patients Treated with CIALIS for Once Daily
    Use (5 mg) and More Frequent on Drug than Placebo in Three Placebo-Controlled Clinical Studies of 12 Weeks
   Treatment Duration, including Two Studies for CIALIS for Once Daily Use for BPH and One Study for ED and BPH
     Adverse Reaction                                       Placebo                      Tadalafil 5 mg
                                                            (N=576)                         (N=581)
     Headache                                                2.3%                             4.1%
     Dyspepsia                                               0.2%                             2.4%
     Back pain                                               1.4%                             2.4%
     Nasopharyngitis                                         1.6%                             2.1%
     Diarrhea                                                1.0%                             1.4%
     Pain in extremity                                       0.0%                             1.4%
     Myalgia                                                 0.3%                             1.2%
     Dizziness                                               0.5%                             1.0%

            Additional, less frequent adverse reactions (<1%) reported in the controlled clinical trials of CIALIS for BPH or ED
   and BPH included: gastroesophageal reflux disease, upper abdominal pain, nausea, vomiting, arthralgia, and muscle
   spasm.
            Back pain or myalgia was reported at incidence rates described in Tables 1 through 4. In tadalafil clinical
   pharmacology trials, back pain or myalgia generally occurred 12 to 24 hours after dosing and typically resolved within
   48 hours. The back pain/myalgia associated with tadalafil treatment was characterized by diffuse bilateral lower lumbar,
   gluteal, thigh, or thoracolumbar muscular discomfort and was exacerbated by recumbency. In general, pain was reported
   as mild or moderate in severity and resolved without medical treatment, but severe back pain was reported with a low
   frequency (<5% of all reports). When medical treatment was necessary, acetaminophen or non-steroidal anti-inflammatory
   drugs were generally effective; however, in a small percentage of subjects who required treatment, a mild narcotic (e.g.,
   codeine) was used. Overall, approximately 0.5% of all subjects treated with CIALIS for on demand use discontinued
   treatment as a consequence of back pain/myalgia. In the 1-year open label extension study, back pain and myalgia were
   reported in 5.5% and 1.3% of patients, respectively. Diagnostic testing, including measures for inflammation, muscle
   injury, or renal damage revealed no evidence of medically significant underlying pathology. Incidence rates for CIALIS for
   once daily use for ED, BPH and BPH/ED are described in Tables 2, 3 and 4. In studies of CIALIS for once daily use,
   adverse reactions of back pain and myalgia were generally mild or moderate with a discontinuation rate of <1% across all
   indications.
            Across placebo-controlled studies with CIALIS for use as needed for ED, diarrhea was reported more frequently in
   patients 65 years of age and older who were treated with CIALIS (2.5% of patients) [see Use in Specific Populations
   (8.5)].
            Across all studies with any CIALIS dose, reports of changes in color vision were rare (<0.1% of patients).
            The following section identifies additional, less frequent events (<2%) reported in controlled clinical trials of CIALIS
   for once daily use or use as needed. A causal relationship of these events to CIALIS is uncertain. Excluded from this list
   are those events that were minor, those with no plausible relation to drug use, and reports too imprecise to be meaningful:
            Body as a Whole — asthenia, face edema, fatigue, pain, peripheral edema



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            Cardiovascular — angina pectoris, chest pain, hypotension, myocardial infarction, postural hypotension,
   palpitations, syncope, tachycardia
            Digestive — abnormal liver function tests, dry mouth, dysphagia, esophagitis, gastritis, GGTP increased, loose
   stools, nausea, upper abdominal pain, vomiting, gastroesophageal reflux disease, hemorrhoidal hemorrhage, rectal
   hemorrhage
            Musculoskeletal — arthralgia, neck pain
            Nervous — dizziness, hypesthesia, insomnia, paresthesia, somnolence, vertigo
            Renal and Urinary — renal impairment
            Respiratory — dyspnea, epistaxis, pharyngitis
            Skin and Appendages — pruritus, rash, sweating
            Ophthalmologic — blurred vision, changes in color vision, conjunctivitis (including conjunctival hyperemia), eye
   pain, lacrimation increase, swelling of eyelids
            Otologic — sudden decrease or loss of hearing, tinnitus
            Urogenital — erection increased, spontaneous penile erection
   6.2      Postmarketing Experience
            The following adverse reactions have been identified during post approval use of CIALIS. Because these reactions
   are reported voluntarily from a population of uncertain size, it is not always possible to reliably estimate their frequency or
   establish a causal relationship to drug exposure. These events have been chosen for inclusion either due to their
   seriousness, reporting frequency, lack of clear alternative causation, or a combination of these factors.
            Cardiovascular and Cerebrovascular — Serious cardiovascular events, including myocardial infarction, sudden
   cardiac death, stroke, chest pain, palpitations, and tachycardia, have been reported postmarketing in temporal association
   with the use of tadalafil. Most, but not all, of these patients had preexisting cardiovascular risk factors. Many of these
   events were reported to occur during or shortly after sexual activity, and a few were reported to occur shortly after the use
   of CIALIS without sexual activity. Others were reported to have occurred hours to days after the use of CIALIS and sexual
   activity. It is not possible to determine whether these events are related directly to CIALIS, to sexual activity, to the
   patient’s underlying cardiovascular disease, to a combination of these factors, or to other factors [see Warnings and
   Precautions (5.1)].
            Body as a Whole — hypersensitivity reactions including urticaria, Stevens-Johnson syndrome, and exfoliative
   dermatitis
            Nervous — migraine, seizure and seizure recurrence, transient global amnesia
            Ophthalmologic — visual field defect, retinal vein occlusion, retinal artery occlusion
            Non-arteritic anterior ischemic optic neuropathy (NAION), a cause of decreased vision including permanent loss of
   vision, has been reported rarely postmarketing in temporal association with the use of PDE5 inhibitors, including CIALIS.
   Most, but not all, of these patients had underlying anatomic or vascular risk factors for development of NAION, including
   but not necessarily limited to: low cup to disc ratio (“crowded disc”), age over 50, diabetes, hypertension, coronary artery
   disease, hyperlipidemia, and smoking [see Warnings and Precautions (5.4)].
            Otologic — Cases of sudden decrease or loss of hearing have been reported postmarketing in temporal
   association with the use of PDE5 inhibitors, including CIALIS. In some of the cases, medical conditions and other factors
   were reported that may have also played a role in the otologic adverse events. In many cases, medical follow-up
   information was limited. It is not possible to determine whether these reported events are related directly to the use of
   CIALIS, to the patient’s underlying risk factors for hearing loss, a combination of these factors, or to other factors [see
   Warnings and Precautions (5.5)].
            Urogenital — priapism [see Warnings and Precautions (5.3)].
   7        DRUG INTERACTIONS
   7.1      Potential for Pharmacodynamic Interactions with CIALIS
            Nitrates — Administration of CIALIS to patients who are using any form of organic nitrate, is contraindicated. In
   clinical pharmacology studies, CIALIS was shown to potentiate the hypotensive effect of nitrates. In a patient who has
   taken CIALIS, where nitrate administration is deemed medically necessary in a life-threatening situation, at least 48 hours
   should elapse after the last dose of CIALIS before nitrate administration is considered. In such circumstances, nitrates
   should still only be administered under close medical supervision with appropriate hemodynamic monitoring [see Dosage
   and Administration (2.7), Contraindications (4.1), and Clinical Pharmacology (12.2)].
            Alpha-Blockers — Caution is advised when PDE5 inhibitors are coadministered with alpha-blockers. PDE5
   inhibitors, including CIALIS, and alpha-adrenergic blocking agents are both vasodilators with blood-pressure-lowering
   effects. When vasodilators are used in combination, an additive effect on blood pressure may be anticipated. Clinical
   pharmacology studies have been conducted with coadministration of tadalafil with doxazosin, tamsulosin or alfuzosin.
   [see Dosage and Administration (2.7), Warnings and Precautions (5.6), and Clinical Pharmacology (12.2)].
            Antihypertensives — PDE5 inhibitors, including tadalafil, are mild systemic vasodilators. Clinical pharmacology
   studies were conducted to assess the effect of tadalafil on the potentiation of the blood-pressure-lowering effects of
   selected antihypertensive medications (amlodipine, angiotensin II receptor blockers, bendrofluazide, enalapril, and


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   metoprolol). Small reductions in blood pressure occurred following coadministration of tadalafil with these agents
   compared with placebo. [see Warnings and Precautions (5.6) and Clinical Pharmacology (12.2)].
           Alcohol — Both alcohol and tadalafil, a PDE5 inhibitor, act as mild vasodilators. When mild vasodilators are taken
   in combination, blood-pressure-lowering effects of each individual compound may be increased. Substantial consumption
   of alcohol (e.g., 5 units or greater) in combination with CIALIS can increase the potential for orthostatic signs and
   symptoms, including increase in heart rate, decrease in standing blood pressure, dizziness, and headache. Tadalafil did
   not affect alcohol plasma concentrations and alcohol did not affect tadalafil plasma concentrations. [see Warnings and
   Precautions (5.9) and Clinical Pharmacology (12.2)].
   7.2     Potential for Other Drugs to Affect CIALIS
           [See Dosage and Administration (2.7) and Warnings and Precautions (5.10)].
           Antacids — Simultaneous administration of an antacid (magnesium hydroxide/aluminum hydroxide) and tadalafil
   reduced the apparent rate of absorption of tadalafil without altering exposure (AUC) to tadalafil.
           H2 Antagonists (e.g. Nizatidine) — An increase in gastric pH resulting from administration of nizatidine had no
   significant effect on pharmacokinetics.
           Cytochrome P450 Inhibitors — CIALIS is a substrate of and predominantly metabolized by CYP3A4. Studies have
   shown that drugs that inhibit CYP3A4 can increase tadalafil exposure.
           CYP3A4 (e.g., Ketoconazole) — Ketoconazole (400 mg daily), a selective and potent inhibitor of CYP3A4,
   increased tadalafil 20 mg single-dose exposure (AUC) by 312% and Cmax by 22%, relative to the values for tadalafil 20 mg
   alone. Ketoconazole (200 mg daily) increased tadalafil 10-mg single-dose exposure (AUC) by 107% and Cmax by 15%,
   relative to the values for tadalafil 10 mg alone [see Dosage and Administration (2.7)].
           Although specific interactions have not been studied, other CYP3A4 inhibitors, such as erythromycin, itraconazole,
   and grapefruit juice, would likely increase tadalafil exposure.
           HIV Protease inhibitor — Ritonavir (500 mg or 600 mg twice daily at steady state), an inhibitor of CYP3A4,
   CYP2C9, CYP2C19, and CYP2D6, increased tadalafil 20-mg single-dose exposure (AUC) by 32% with a 30% reduction
   in Cmax, relative to the values for tadalafil 20 mg alone. Ritonavir (200 mg twice daily), increased tadalafil 20-mg single-
   dose exposure (AUC) by 124% with no change in Cmax, relative to the values for tadalafil 20 mg alone. Although specific
   interactions have not been studied, other HIV protease inhibitors would likely increase tadalafil exposure [see Dosage and
   Administration (2.7)].
           Cytochrome P450 Inducers — Studies have shown that drugs that induce CYP3A4 can decrease tadalafil
   exposure.
           CYP3A4 (e.g., Rifampin) — Rifampin (600 mg daily), a CYP3A4 inducer, reduced tadalafil 10-mg single-dose
   exposure (AUC) by 88% and Cmax by 46%, relative to the values for tadalafil 10 mg alone. Although specific interactions
   have not been studied, other CYP3A4 inducers, such as carbamazepine, phenytoin, and phenobarbital, would likely
   decrease tadalafil exposure. No dose adjustment is warranted. The reduced exposure of tadalafil with the
   coadministration of rifampin or other CYP3A4 inducers can be anticipated to decrease the efficacy of CIALIS for once
   daily use; the magnitude of decreased efficacy is unknown.
   7.3     Potential for CIALIS to Affect Other Drugs
           Aspirin — Tadalafil did not potentiate the increase in bleeding time caused by aspirin.
           Cytochrome P450 Substrates — CIALIS is not expected to cause clinically significant inhibition or induction of the
   clearance of drugs metabolized by cytochrome P450 (CYP) isoforms. Studies have shown that tadalafil does not inhibit or
   induce P450 isoforms CYP1A2, CYP3A4, CYP2C9, CYP2C19, CYP2D6, and CYP2E1.
           CYP1A2 (e.g. Theophylline) — Tadalafil had no significant effect on the pharmacokinetics of theophylline. When
   tadalafil was administered to subjects taking theophylline, a small augmentation (3 beats per minute) of the increase in
   heart rate associated with theophylline was observed.
           CYP2C9 (e.g. Warfarin) — Tadalafil had no significant effect on exposure (AUC) to S-warfarin or R-warfarin, nor
   did tadalafil affect changes in prothrombin time induced by warfarin.
           CYP3A4 (e.g. Midazolam or Lovastatin) — Tadalafil had no significant effect on exposure (AUC) to midazolam or
   lovastatin.
           P-glycoprotein (e.g. Digoxin) — Coadministration of tadalafil (40 mg once per day) for 10 days did not have a
   significant effect on the steady-state pharmacokinetics of digoxin (0.25 mg/day) in healthy subjects.
   8      USE IN SPECIFIC POPULATIONS
   8.1    Pregnancy
          Risk Summary
          CIALIS (tadalafil) is not indicated for use in females.
          There are no data with the use of CIALIS in pregnant women to inform any drug-associated risks for adverse
   developmental outcomes. In animal reproduction studies, no adverse developmental effects were observed with oral
   administration of tadalafil to pregnant rats or mice during organogenesis at exposures up to 11 times the maximum
   recommended human dose (MRHD) of 20 mg/day (see Data).



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            Data
            Animal Data
            Animal reproduction studies showed no evidence of teratogenicity, embryotoxicity, or fetotoxicity when tadalafil
   was given orally to pregnant rats or mice at exposures up to 11 times the maximum recommended human dose (MRHD)
   of 20 mg/day during organogenesis. In a prenatal/postnatal developmental study in rats, postnatal pup survival decreased
   following maternal exposure to tadalafil doses greater than 10 times the MRHD based on AUC. Signs of maternal toxicity
   occurred at doses greater than 16 times the MRHD based on AUC. Surviving offspring had normal development and
   reproductive performance.
            In another rat prenatal and postnatal development study at doses of 60, 200, and 1000 mg/kg, a reduction in
   postnatal survival of pups was observed. The no observed effect level (NOEL) for maternal toxicity was 200 mg/kg/day
   and for developmental toxicity was 30 mg/kg/day. This gives approximately 16 and 10 fold exposure multiples,
   respectively, of the human AUC for the MRHD of 20 mg.
            Tadalafil and/or its metabolites cross the placenta, resulting in fetal exposure in rats.
   8.2      Lactation
            Risk Summary
            CIALIS is not indicated for use in females.
            There is no information on the presence of tadalafil and/or metabolites in human milk, the effects on the breastfed
   child, or the effects on milk production. Tadalafil and/or its metabolites are present in the milk of lactating rats at
   concentrations approximately 2.4-fold greater than found in the plasma.
   8.3      Females and Males of Reproductive Potential
            Infertility
            Based on the data from 3 studies in adult males, tadalafil decreased sperm concentrations in the study of 10 mg
   tadalafil for 6 months and the study of 20 mg tadalafil for 9 months. This effect was not seen in the study of 20 mg tadalafil
   taken for 6 months. There was no adverse effect of tadalafil 10 mg or 20 mg on mean concentrations of testosterone,
   luteinizing hormone or follicle stimulating hormone. The clinical significance of the decreased sperm concentrations in the
   two studies is unknown. There have been no studies evaluating the effect of tadalafil on fertility in men [see Clinical
   Pharmacology (12.2)].
            Based on studies in animals, a decrease in spermatogenesis was observed in dogs, but not in rats [see Nonclinical
   Toxicology (13.1)].
   8.4      Pediatric Use
            CIALIS is not indicated for use in pediatric patients. Safety and efficacy in patients below the age of 18 years have
   not been established.
            A randomized, double-blind, placebo-controlled trial in pediatric patients (7 to 14 years of age) with Duchenne
   muscular dystrophy, who received CIALIS 0.3 mg/kg, CIALIS 0.6 mg/kg, or placebo daily for 48 weeks failed to
   demonstrate any benefit of treatment with CIALIS on a range of assessments of muscle strength and performance.

            Juvenile Animal Study
            No adverse effects were observed in a study in which tadalafil was administered orally at doses of 60, 200, and
   1000 mg/kg/day to juvenile rats on postnatal days 14 to 90. The highest plasma tadalafil exposures (AUC) achieved were
   approximately 10-fold that observed at the MRHD.
   8.5      Geriatric Use
            Of the total number of subjects in ED clinical studies of tadalafil, approximately 19 percent were 65 and over, while
   approximately 2 percent were 75 and over. Of the total number of subjects in BPH clinical studies of tadalafil (including
   the ED/BPH study), approximately 40 percent were over 65, while approximately 10 percent were 75 and over. In these
   clinical trials, no overall differences in efficacy or safety were observed between older (>65 and ≥75 years of age) and
   younger subjects (≤65 years of age). However, in placebo-controlled studies with CIALIS for use as needed for ED,
   diarrhea was reported more frequently in patients 65 years of age and older who were treated with CIALIS (2.5% of
   patients) [see Adverse Reactions (6.1)]. No dose adjustment is warranted based on age alone. However, a greater
   sensitivity to medications in some older individuals should be considered. [see Clinical Pharmacology (12.3)].
   8.6      Hepatic Impairment
            In clinical pharmacology studies, tadalafil exposure (AUC) in subjects with mild or moderate hepatic impairment
   (Child-Pugh Class A or B) was comparable to exposure in healthy subjects when a dose of 10 mg was administered.
   There are no available data for doses higher than 10 mg of tadalafil in patients with hepatic impairment. Insufficient data
   are available for subjects with severe hepatic impairment (Child-Pugh Class C). [see Dosage and Administration (2.6) and
   Warnings and Precautions (5.8)].
   8.7      Renal Impairment




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           In clinical pharmacology studies using single-dose tadalafil (5 to 10 mg), tadalafil exposure (AUC) doubled in
   subjects with creatinine clearance 30 to 80 mL/min. In subjects with end-stage renal disease on hemodialysis, there was a
   two-fold increase in Cmax and 2.7- to 4.8-fold increase in AUC following single-dose administration of 10 or 20 mg tadalafil.
   Exposure to total methylcatechol (unconjugated plus glucuronide) was 2- to 4-fold higher in subjects with renal
   impairment, compared to those with normal renal function. Hemodialysis (performed between 24 and 30 hours post-dose)
   contributed negligibly to tadalafil or metabolite elimination. In a clinical pharmacology study (N=28) at a dose of 10 mg,
   back pain was reported as a limiting adverse event in male patients with creatinine clearance 30 to 50 mL/min. At a dose
   of 5 mg, the incidence and severity of back pain was not significantly different than in the general population. In patients
   on hemodialysis taking 10- or 20-mg tadalafil, there were no reported cases of back pain. [see Dosage and Administration
   (2.6) and Warnings and Precautions (5.7)].
   10      OVERDOSAGE
           Single doses up to 500 mg have been given to healthy subjects, and multiple daily doses up to 100 mg have been
   given to patients. Adverse events were similar to those seen at lower doses. In cases of overdose, standard supportive
   measures should be adopted as required. Hemodialysis contributes negligibly to tadalafil elimination.
   11      DESCRIPTION
           CIALIS (tadalafil) is a selective inhibitor of cyclic guanosine monophosphate (cGMP)-specific phosphodiesterase
   type 5 (PDE5). Tadalafil has the empirical formula C22H19N3O4 representing a molecular weight of 389.41. The structural
   formula is:




            The chemical designation is pyrazino[1′,2′:1,6]pyrido[3,4-b]indole-1,4-dione, 6-(1,3-benzodioxol-5-yl)-
   2,3,6,7,12,12a-hexahydro-2-methyl-, (6R,12aR)-. It is a crystalline solid that is practically insoluble in water and very
   slightly soluble in ethanol.
            CIALIS is available as almond-shaped tablets for oral administration. Each tablet contains 2.5, 5, 10, or 20 mg of
   tadalafil and the following inactive ingredients: croscarmellose sodium, hydroxypropyl cellulose, hypromellose, iron oxide,
   lactose monohydrate, magnesium stearate, microcrystalline cellulose, sodium lauryl sulfate, talc, titanium dioxide, and
   triacetin.
   12      CLINICAL PHARMACOLOGY
   12.1    Mechanism of Action
           Penile erection during sexual stimulation is caused by increased penile blood flow resulting from the relaxation of
   penile arteries and corpus cavernosal smooth muscle. This response is mediated by the release of nitric oxide (NO) from
   nerve terminals and endothelial cells, which stimulates the synthesis of cGMP in smooth muscle cells. Cyclic GMP causes
   smooth muscle relaxation and increased blood flow into the corpus cavernosum. The inhibition of phosphodiesterase type
   5 (PDE5) enhances erectile function by increasing the amount of cGMP. Tadalafil inhibits PDE5. Because sexual
   stimulation is required to initiate the local release of nitric oxide, the inhibition of PDE5 by tadalafil has no effect in the
   absence of sexual stimulation.
           The effect of PDE5 inhibition on cGMP concentration in the corpus cavernosum and pulmonary arteries is also
   observed in the smooth muscle of the prostate, the bladder and their vascular supply. The mechanism for reducing BPH
   symptoms has not been established.
           Studies in vitro have demonstrated that tadalafil is a selective inhibitor of PDE5. PDE5 is found in the smooth
   muscle of the corpus cavernosum, prostate, and bladder as well as in vascular and visceral smooth muscle, skeletal
   muscle, urethra, platelets, kidney, lung, cerebellum, heart, liver, testis, seminal vesicle, and pancreas.
           In vitro studies have shown that the effect of tadalafil is more potent on PDE5 than on other phosphodiesterases.
   These studies have shown that tadalafil is >10,000-fold more potent for PDE5 than for PDE1, PDE2, PDE4, and PDE7
   enzymes, which are found in the heart, brain, blood vessels, liver, leukocytes, skeletal muscle, and other organs. Tadalafil
   is >10,000-fold more potent for PDE5 than for PDE3, an enzyme found in the heart and blood vessels. Additionally,
   tadalafil is 700-fold more potent for PDE5 than for PDE6, which is found in the retina and is responsible for
   phototransduction. Tadalafil is >9,000-fold more potent for PDE5 than for PDE8, PDE9, and PDE10. Tadalafil is 14-fold
   more potent for PDE5 than for PDE11A1 and 40-fold more potent for PDE5 than for PDE11A4, two of the four known


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   forms of PDE11. PDE11 is an enzyme found in human prostate, testes, skeletal muscle and in other tissues (e.g., adrenal
   cortex). In vitro, tadalafil inhibits human recombinant PDE11A1 and, to a lesser degree, PDE11A4 activities at
   concentrations within the therapeutic range. The physiological role and clinical consequence of PDE11 inhibition in
   humans have not been defined.
   12.2 Pharmacodynamics
   Effects on Blood Pressure
           Tadalafil 20 mg administered to healthy male subjects produced no significant difference compared to placebo in
   supine systolic and diastolic blood pressure (difference in the mean maximal decrease of 1.6/0.8 mm Hg, respectively)
   and in standing systolic and diastolic blood pressure (difference in the mean maximal decrease of 0.2/4.6 mm Hg,
   respectively). In addition, there was no significant effect on heart rate.

   Effects on Blood Pressure When Administered with Nitrates
           In clinical pharmacology studies, tadalafil (5 to 20 mg) was shown to potentiate the hypotensive effect of nitrates.
   Therefore, the use of CIALIS in patients taking any form of nitrates is contraindicated [see Contraindications (4.1)].
           A study was conducted to assess the degree of interaction between nitroglycerin and tadalafil, should nitroglycerin
   be required in an emergency situation after tadalafil was taken. This was a double-blind, placebo-controlled, crossover
   study in 150 male subjects at least 40 years of age (including subjects with diabetes mellitus and/or controlled
   hypertension) and receiving daily doses of tadalafil 20 mg or matching placebo for 7 days. Subjects were administered a
   single dose of 0.4 mg sublingual nitroglycerin (NTG) at pre-specified timepoints, following their last dose of tadalafil (2, 4,
   8, 24, 48, 72, and 96 hours after tadalafil). The objective of the study was to determine when, after tadalafil dosing, no
   apparent blood pressure interaction was observed. In this study, a significant interaction between tadalafil and NTG was
   observed at each timepoint up to and including 24 hours. At 48 hours, by most hemodynamic measures, the interaction
   between tadalafil and NTG was not observed, although a few more tadalafil subjects compared to placebo experienced
   greater blood-pressure lowering at this timepoint. After 48 hours, the interaction was not detectable (see Figure 1).




      Figure 1: Mean Maximal Change in Blood Pressure (Tadalafil Minus Placebo, Point Estimate with 90% CI) in
      Response to Sublingual Nitroglycerin at 2 (Supine Only), 4, 8, 24, 48, 72, and 96 Hours after the Last Dose of
                                              Tadalafil 20 mg or Placebo

          Therefore, CIALIS administration with nitrates is contraindicated. In a patient who has taken CIALIS, where nitrate
   administration is deemed medically necessary in a life-threatening situation, at least 48 hours should elapse after the last
   dose of CIALIS before nitrate administration is considered. In such circumstances, nitrates should still only be
   administered under close medical supervision with appropriate hemodynamic monitoring [see Contraindications (4.1)].

   Effect on Blood Pressure When Administered With Alpha-Blockers
           Six randomized, double-blinded, crossover clinical pharmacology studies were conducted to investigate the
   potential interaction of tadalafil with alpha-blocker agents in healthy male subjects [see Dosage and Administration (2.7)
   and Warnings and Precautions (5.6)]. In four studies, a single oral dose of tadalafil was administered to healthy male




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   subjects taking daily (at least 7 days duration) an oral alpha-blocker. In two studies, a daily oral alpha-blocker (at least 7
   days duration) was administered to healthy male subjects taking repeated daily doses of tadalafil.
          Doxazosin — Three clinical pharmacology studies were conducted with tadalafil and doxazosin, an alpha[1]-
   adrenergic blocker.
          In the first doxazosin study, a single oral dose of tadalafil 20 mg or placebo was administered in a 2-period,
   crossover design to healthy subjects taking oral doxazosin 8 mg daily (N=18 subjects). Doxazosin was administered at the
   same time as tadalafil or placebo after a minimum of seven days of doxazosin dosing (see Table 5 and Figure 2).

         Table 5: Doxazosin (8 mg/day) Study 1: Mean Maximal Decrease (95% CI) in Systolic Blood Pressure
     Placebo-subtracted mean maximal decrease in
                                                                            Tadalafil 20 mg
     systolic blood pressure (mm Hg)
                                                   Supine                    3.6 (-1.5, 8.8)
                                                 Standing                    9.8 (4.1, 15.5)




                  Figure 2: Doxazosin Study 1: Mean Change from Baseline in Systolic Blood Pressure

           Blood pressure was measured manually at 1, 2, 3, 4, 5, 6, 7, 8, 10, 12, and 24 hours after tadalafil or placebo
   administration. Outliers were defined as subjects with a standing systolic blood pressure of <85 mm Hg or a decrease
   from baseline in standing systolic blood pressure of >30 mm Hg at one or more time points. There were nine and
   three outliers following administration of tadalafil 20 mg and placebo, respectively. Five and two subjects were outliers due
   to a decrease from baseline in standing systolic BP of >30 mm Hg, while five and one subject were outliers due to
   standing systolic BP <85 mm Hg following tadalafil and placebo, respectively. Severe adverse events potentially related to
   blood-pressure effects were assessed. No such events were reported following placebo. Two such events were reported
   following administration of tadalafil. Vertigo was reported in one subject that began 7 hours after dosing and lasted about
   5 days. This subject previously experienced a mild episode of vertigo on doxazosin and placebo. Dizziness was reported
   in another subject that began 25 minutes after dosing and lasted 1 day. No syncope was reported.
           In the second doxazosin study, a single oral dose of tadalafil 20 mg was administered to healthy subjects taking
   oral doxazosin, either 4 or 8 mg daily. The study (N=72 subjects) was conducted in three parts, each a 3-period
   crossover.
           In part A (N=24), subjects were titrated to doxazosin 4 mg administered daily at 8 a.m. Tadalafil was administered
   at either 8 a.m., 4 p.m., or 8 p.m. There was no placebo control.
           In part B (N=24), subjects were titrated to doxazosin 4 mg administered daily at 8 p.m. Tadalafil was administered
   at either 8 a.m., 4 p.m., or 8 p.m. There was no placebo control.
           In part C (N=24), subjects were titrated to doxazosin 8 mg administered daily at 8 a.m. In this part, tadalafil or
   placebo were administered at either 8 a.m. or 8 p.m.
           The placebo-subtracted mean maximal decreases in systolic blood pressure over a 12-hour period after dosing in
   the placebo-controlled portion of the study (part C) are shown in Table 6 and Figure 3.

          Table 6: Doxazosin (8 mg/day) Study 2 (Part C): Mean Maximal Decrease in Systolic Blood Pressure



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                                                                                                                             15
     Placebo-subtracted mean maximal decrease in
                                                               Tadalafil 20 mg at 8 a.m.         Tadalafil 20 mg at 8 p.m.
     systolic blood pressure (mm Hg)
          Ambulatory Blood-Pressure Monitoring (ABPM)                       7                                8




      Figure 3: Doxazosin Study 2 (Part C): Mean Change from Time-Matched Baseline in Systolic Blood Pressure

            Blood pressure was measured by ABPM every 15 to 30 minutes for up to 36 hours after tadalafil or placebo.
   Subjects were categorized as outliers if one or more systolic blood pressure readings of <85 mm Hg were recorded or one
   or more decreases in systolic blood pressure of >30 mm Hg from a time-matched baseline occurred during the analysis
   interval.
            Of the 24 subjects in part C, 16 subjects were categorized as outliers following administration of tadalafil and 6
   subjects were categorized as outliers following placebo during the 24-hour period after 8 a.m. dosing of tadalafil or
   placebo. Of these, 5 and 2 were outliers due to systolic BP <85 mm Hg, while 15 and 4 were outliers due to a decrease
   from baseline in systolic BP of >30 mm Hg following tadalafil and placebo, respectively.
            During the 24-hour period after 8 p.m. dosing, 17 subjects were categorized as outliers following administration of
   tadalafil and 7 subjects following placebo. Of these, 10 and 2 subjects were outliers due to systolic BP <85 mm Hg, while
   15 and 5 subjects were outliers due to a decrease from baseline in systolic BP of >30 mm Hg, following tadalafil and
   placebo, respectively.
            Some additional subjects in both the tadalafil and placebo groups were categorized as outliers in the period
   beyond 24 hours.
            Severe adverse events potentially related to blood-pressure effects were assessed. In the study (N=72 subjects), 2
   such events were reported following administration of tadalafil (symptomatic hypotension in one subject that began
   10 hours after dosing and lasted approximately 1 hour, and dizziness in another subject that began 11 hours after dosing
   and lasted 2 minutes). No such events were reported following placebo. In the period prior to tadalafil dosing, one severe
   event (dizziness) was reported in a subject during the doxazosin run-in phase.
            In the third doxazosin study, healthy subjects (N=45 treated; 37 completed) received 28 days of once per day
   dosing of tadalafil 5 mg or placebo in a two-period crossover design. After 7 days, doxazosin was initiated at 1 mg and
   titrated up to 4 mg daily over the last 21 days of each period (7 days on 1 mg; 7 days of 2 mg; 7 days of 4 mg doxazosin).
   The results are shown in Table 7.

               Table 7: Doxazosin Study 3: Mean Maximal Decrease (95% CI) in Systolic Blood Pressure
     Placebo-subtracted mean maximal decrease in systolic blood pressure                  Tadalafil 5 mg
     Day 1 of 4 mg Doxazosin                                            Supine             2.4 (-0.4, 5.2)
                                                                      Standing            -0.5 (-4.0, 3.1)
     Day 7 of 4 mg Doxazosin                                            Supine             2.8 (-0.1, 5.7)
                                                                      Standing             1.1 (-2.9, 5.0)

            Blood pressure was measured manually pre-dose at two time points (-30 and -15 minutes) and then at 1, 2, 3, 4, 5,
   6, 7, 8, 10, 12 and 24 hours post dose on the first day of each doxazosin dose, (1 mg, 2 mg, 4 mg), as well as on the
   seventh day of 4 mg doxazosin administration.
            Following the first dose of doxazosin 1 mg, there were no outliers on tadalafil 5 mg and one outlier on placebo due
   to a decrease from baseline in standing systolic BP of >30 mm Hg.


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           There were 2 outliers on tadalafil 5 mg and none on placebo following the first dose of doxazosin 2 mg due to a
   decrease from baseline in standing systolic BP of >30 mm Hg.
           There were no outliers on tadalafil 5 mg and two on placebo following the first dose of doxazosin 4 mg due to a
   decrease from baseline in standing systolic BP of >30 mm Hg. There was one outlier on tadalafil 5 mg and three on
   placebo following the first dose of doxazosin 4 mg due to standing systolic BP <85 mm Hg. Following the seventh day of
   doxazosin 4 mg, there were no outliers on tadalafil 5 mg, one subject on placebo had a decrease >30 mm Hg in standing
   systolic blood pressure, and one subject on placebo had standing systolic blood pressure <85 mm Hg. All adverse events
   potentially related to blood pressure effects were rated as mild or moderate. There were two episodes of syncope in this
   study, one subject following a dose of tadalafil 5 mg alone, and another subject following coadministration of tadalafil 5 mg
   and doxazosin 4 mg.
           Tamsulosin — In the first tamsulosin study, a single oral dose of tadalafil 10, 20 mg, or placebo was administered
   in a 3 period, crossover design to healthy subjects taking 0.4 mg once per day tamsulosin, a selective alpha[1A]-
   adrenergic blocker (N=18 subjects). Tadalafil or placebo was administered 2 hours after tamsulosin following a minimum
   of seven days of tamsulosin dosing.

        Table 8: Tamsulosin (0.4 mg/day) Study 1: Mean Maximal Decrease (95% CI) in Systolic Blood Pressure
     Placebo-subtracted mean maximal decrease
     in systolic blood pressure (mm Hg)                   Tadalafil 10 mg                Tadalafil 20 mg

                                                 Supine             3.2 (-2.3, 8.6)                    3.2 (-2.3, 8.7)
                                               Standing             1.7 (-4.7, 8.1)                    2.3 (-4.1, 8.7)

           Blood pressure was measured manually at 1, 2, 3, 4, 5, 6, 7, 8, 10, 12, and 24 hours after tadalafil or placebo
   dosing. There were 2, 2, and 1 outliers (subjects with a decrease from baseline in standing systolic blood pressure of
   >30 mm Hg at one or more time points) following administration of tadalafil 10 mg, 20 mg, and placebo, respectively.
   There were no subjects with a standing systolic blood pressure <85 mm Hg. No severe adverse events potentially related
   to blood-pressure effects were reported. No syncope was reported.
           In the second tamsulosin study, healthy subjects (N=39 treated; and 35 completed) received 14 days of once per
   day dosing of tadalafil 5 mg or placebo in a two-period crossover design. Daily dosing of tamsulosin 0.4 mg was added for
   the last seven days of each period.

               Table 9: Tamsulosin Study 2: Mean Maximal Decrease (95% CI) in Systolic Blood Pressure
     Placebo-subtracted mean maximal decrease in systolic blood pressure                  Tadalafil 5 mg
     Day 1 of 0.4 mg Tamsulosin                                        Supine             -0.1 (-2.2, 1.9)
                                                                     Standing              0.9 (-1.4, 3.2)
     Day 7 of 0.4 mg Tamsulosin                                        Supine              1.2 (-1.2, 3.6)
                                                                     Standing              1.2 (-1.0, 3.5)

            Blood pressure was measured manually pre-dose at two time points (-30 and -15 minutes) and then at 1, 2, 3, 4, 5,
   6, 7, 8, 10, 12, and 24 hours post dose on the first, sixth and seventh days of tamsulosin administration. There were no
   outliers (subjects with a decrease from baseline in standing systolic blood pressure of >30 mm Hg at one or more time
   points). One subject on placebo plus tamsulosin (Day 7) and one subject on tadalafil plus tamsulosin (Day 6) had standing
   systolic blood pressure <85 mm Hg. No severe adverse events potentially related to blood pressure were reported. No
   syncope was reported.
            Alfuzosin — A single oral dose of tadalafil 20 mg or placebo was administered in a 2-period, crossover design to
   healthy subjects taking once-daily alfuzosin HCl 10 mg extended-release tablets, an alpha[1]-adrenergic blocker (N=17
   completed subjects). Tadalafil or placebo was administered 4 hours after alfuzosin following a minimum of seven days of
   alfuzosin dosing.

         Table 10: Alfuzosin (10 mg/day) Study: Mean Maximal Decrease (95% CI) in Systolic Blood Pressure
     Placebo-subtracted mean maximal decrease in systolic blood                    Tadalafil 20 mg
     pressure (mm Hg)
                                                             Supine                 2.2 (-0.9,-5.2)
                                                           Standing                 4.4 (-0.2, 8.9)

          Blood pressure was measured manually at 1, 2, 3, 4, 6, 8, 10, 20, and 24 hours after tadalafil or placebo dosing.
   There was 1 outlier (subject with a standing systolic blood pressure <85 mm Hg) following administration of tadalafil
   20 mg. There were no subjects with a decrease from baseline in standing systolic blood pressure of >30 mm Hg at one or



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   more time points. No severe adverse events potentially related to blood pressure effects were reported. No syncope was
   reported.

   Effects on Blood Pressure When Administered with Antihypertensives
           Amlodipine — A study was conducted to assess the interaction of amlodipine (5 mg daily) and tadalafil 10 mg.
   There was no effect of tadalafil on amlodipine blood levels and no effect of amlodipine on tadalafil blood levels. The mean
   reduction in supine systolic/diastolic blood pressure due to tadalafil 10 mg in subjects taking amlodipine was 3/2 mm Hg,
   compared to placebo. In a similar study using tadalafil 20 mg, there were no clinically significant differences between
   tadalafil and placebo in subjects taking amlodipine.
           Angiotensin II receptor blockers (with and without other antihypertensives) — A study was conducted to assess the
   interaction of angiotensin II receptor blockers and tadalafil 20 mg. Subjects in the study were taking any marketed
   angiotensin II receptor blocker, either alone, as a component of a combination product, or as part of a multiple
   antihypertensive regimen. Following dosing, ambulatory measurements of blood pressure revealed differences between
   tadalafil and placebo of 8/4 mm Hg in systolic/diastolic blood pressure.
           Bendrofluazide — A study was conducted to assess the interaction of bendrofluazide (2.5 mg daily) and tadalafil
   10 mg. Following dosing, the mean reduction in supine systolic/diastolic blood pressure due to tadalafil 10 mg in subjects
   taking bendrofluazide was 6/4 mm Hg, compared to placebo.
           Enalapril — A study was conducted to assess the interaction of enalapril (10 to 20 mg daily) and tadalafil 10 mg.
   Following dosing, the mean reduction in supine systolic/diastolic blood pressure due to tadalafil 10 mg in subjects taking
   enalapril was 4/1 mm Hg, compared to placebo.
           Metoprolol — A study was conducted to assess the interaction of sustained-release metoprolol (25 to 200 mg
   daily) and tadalafil 10 mg. Following dosing, the mean reduction in supine systolic/diastolic blood pressure due to tadalafil
   10 mg in subjects taking metoprolol was 5/3 mm Hg, compared to placebo.

   Effects on Blood Pressure When Administered with Alcohol
           Alcohol and PDE5 inhibitors, including tadalafil, are mild systemic vasodilators. The interaction of tadalafil with
   alcohol was evaluated in 3 clinical pharmacology studies. In 2 of these, alcohol was administered at a dose of 0.7 g/kg,
   which is equivalent to approximately 6 ounces of 80-proof vodka in an 80-kg male, and tadalafil was administered at a
   dose of 10 mg in one study and 20 mg in another. In both these studies, all patients imbibed the entire alcohol dose within
   10 minutes of starting. In one of these two studies, blood alcohol levels of 0.08% were confirmed. In these two studies,
   more patients had clinically significant decreases in blood pressure on the combination of tadalafil and alcohol as
   compared to alcohol alone. Some subjects reported postural dizziness, and orthostatic hypotension was observed in
   some subjects. When tadalafil 20 mg was administered with a lower dose of alcohol (0.6 g/kg, which is equivalent to
   approximately 4 ounces of 80-proof vodka, administered in less than 10 minutes), orthostatic hypotension was not
   observed, dizziness occurred with similar frequency to alcohol alone, and the hypotensive effects of alcohol were not
   potentiated.
           Tadalafil did not affect alcohol plasma concentrations and alcohol did not affect tadalafil plasma concentrations.

   Effects on Exercise Stress Testing
            The effects of tadalafil on cardiac function, hemodynamics, and exercise tolerance were investigated in a single
   clinical pharmacology study. In this blinded crossover trial, 23 subjects with stable coronary artery disease and evidence
   of exercise-induced cardiac ischemia were enrolled. The primary endpoint was time to cardiac ischemia. The mean
   difference in total exercise time was 3 seconds (tadalafil 10 mg minus placebo), which represented no clinically
   meaningful difference. Further statistical analysis demonstrated that tadalafil was non-inferior to placebo with respect to
   time to ischemia. Of note, in this study, in some subjects who received tadalafil followed by sublingual nitroglycerin in the
   post-exercise period, clinically significant reductions in blood pressure were observed, consistent with the augmentation
   by tadalafil of the blood-pressure-lowering effects of nitrates.

   Effects on Vision
           Single oral doses of phosphodiesterase inhibitors have demonstrated transient dose-related impairment of color
   discrimination (blue/green), using the Farnsworth-Munsell 100-hue test, with peak effects near the time of peak plasma
   levels. This finding is consistent with the inhibition of PDE6, which is involved in phototransduction in the retina. In a study
   to assess the effects of a single dose of tadalafil 40 mg on vision (N=59), no effects were observed on visual acuity,
   intraocular pressure, or pupilometry. Across all clinical studies with CIALIS, reports of changes in color vision were rare
   (<0.1% of patients).

   Effects on Sperm Characteristics
           Three studies were conducted in men to assess the potential effect on sperm characteristics of tadalafil 10 mg
   (one 6 month study) and 20 mg (one 6 month and one 9 month study) administered daily. There were no adverse effects
   on sperm morphology or sperm motility in any of the three studies. In the study of 10 mg tadalafil for 6 months and the


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   study of 20 mg tadalafil for 9 months, results showed a decrease in mean sperm concentrations relative to placebo,
   although these differences were not clinically meaningful. This effect was not seen in the study of 20 mg tadalafil taken for
   6 months. In addition there was no adverse effect on mean concentrations of reproductive hormones, testosterone,
   luteinizing hormone or follicle stimulating hormone with either 10 or 20 mg of tadalafil compared to placebo.

   Effects on Cardiac Electrophysiology
           The effect of a single 100-mg dose of tadalafil on the QT interval was evaluated at the time of peak tadalafil
   concentration in a randomized, double-blinded, placebo, and active (intravenous ibutilide) -controlled crossover study in
   90 healthy males aged 18 to 53 years. The mean change in QTc (Fridericia QT correction) for tadalafil, relative to placebo,
   was 3.5 milliseconds (two-sided 90% CI=1.9, 5.1). The mean change in QTc (Individual QT correction) for tadalafil, relative
   to placebo, was 2.8 milliseconds (two-sided 90% CI=1.2, 4.4). A 100-mg dose of tadalafil (5 times the highest
   recommended dose) was chosen because this dose yields exposures covering those observed upon coadministration of
   tadalafil with potent CYP3A4 inhibitors or those observed in renal impairment. In this study, the mean increase in heart
   rate associated with a 100-mg dose of tadalafil compared to placebo was 3.1 beats per minute.
   12.3 Pharmacokinetics
           Over a dose range of 2.5 to 20 mg, tadalafil exposure (AUC) increases proportionally with dose in healthy
   subjects. Steady-state plasma concentrations are attained within 5 days of once per day dosing and exposure is
   approximately 1.6-fold greater than after a single dose. Mean tadalafil concentrations measured after the administration of
   a single oral dose of 20 mg and single and once daily multiple doses of 5 mg, from a separate study, (see Figure 4) to
   healthy male subjects are depicted in Figure 4.




      Figure 4: Plasma tadalafil concentrations (mean ± SD) following a single 20-mg tadalafil dose and single and
                                            once daily multiple doses of 5 mg

           Absorption — After single oral-dose administration, the maximum observed plasma concentration (Cmax) of tadalafil
   is achieved between 30 minutes and 6 hours (median time of 2 hours). Absolute bioavailability of tadalafil following oral
   dosing has not been determined.
           The rate and extent of absorption of tadalafil are not influenced by food; thus CIALIS may be taken with or without
   food.
           Distribution — The mean apparent volume of distribution following oral administration is approximately 63 L,
   indicating that tadalafil is distributed into tissues. At therapeutic concentrations, 94% of tadalafil in plasma is bound to
   proteins.
           Less than 0.0005% of the administered dose appeared in the semen of healthy subjects.
           Metabolism — Tadalafil is predominantly metabolized by CYP3A4 to a catechol metabolite. The catechol
   metabolite undergoes extensive methylation and glucuronidation to form the methylcatechol and methylcatechol
   glucuronide conjugate, respectively. The major circulating metabolite is the methylcatechol glucuronide. Methylcatechol
   concentrations are less than 10% of glucuronide concentrations. In vitro data suggests that metabolites are not expected
   to be pharmacologically active at observed metabolite concentrations.
           Excretion — The mean oral clearance for tadalafil is 2.5 L/hr and the mean terminal half-life is 17.5 hours in
   healthy subjects. Tadalafil is excreted predominantly as metabolites, mainly in the feces (approximately 61% of the dose)
   and to a lesser extent in the urine (approximately 36% of the dose).



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           Geriatric — Healthy male elderly subjects (65 years or over) had a lower oral clearance of tadalafil, resulting in
   25% higher exposure (AUC) with no effect on Cmax relative to that observed in healthy subjects 19 to 45 years of age. No
   dose adjustment is warranted based on age alone. However, greater sensitivity to medications in some older individuals
   should be considered [see Use in Specific Populations (8.5)].
           Patients with Diabetes Mellitus — In male patients with diabetes mellitus after a 10 mg tadalafil dose, exposure
   (AUC) was reduced approximately 19% and Cmax was 5% lower than that observed in healthy subjects. No dose
   adjustment is warranted.
           Patients with BPH — In patients with BPH following single and multiple-doses of 20 mg tadalafil, no statistically
   significant differences in exposure (AUC and Cmax) were observed between elderly (70 to 85 years) and younger (≤60
   years of age) subjects. No dose adjustment is warranted.
   13       NONCLINICAL TOXICOLOGY
   13.1     Carcinogenesis, Mutagenesis, Impairment of Fertility
            Carcinogenesis — Tadalafil was not carcinogenic to rats or mice when administered daily for 2 years at doses up
   to 400 mg/kg/day. Systemic drug exposures, as measured by AUC of unbound tadalafil, were approximately 10-fold for
   mice, and 14- and 26-fold for male and female rats, respectively, the exposures in human males given Maximum
   Recommended Human Dose (MRHD) of 20 mg.
            Mutagenesis — Tadalafil was not mutagenic in the in vitro bacterial Ames assays or the forward mutation test in
   mouse lymphoma cells. Tadalafil was not clastogenic in the in vitro chromosomal aberration test in human lymphocytes or
   the in vivo rat micronucleus assays.
            Impairment of Fertility — There were no effects on fertility, reproductive performance or reproductive organ
   morphology in male or female rats given oral doses of tadalafil up to 400 mg/kg/day, a dose producing AUCs for unbound
   tadalafil of 14-fold for males or 26-fold for females the exposures observed in human males given the MRHD of 20 mg. In
   beagle dogs given tadalafil daily for 3 to 12 months, there was treatment-related non-reversible degeneration and atrophy
   of the seminiferous tubular epithelium in the testes in 20-100% of the dogs that resulted in a decrease in spermatogenesis
   in 40-75% of the dogs at doses of ≥10 mg/kg/day. Systemic exposure (based on AUC) at no-observed-adverse-effect-
   level (NOAEL) (10 mg/kg/day) for unbound tadalafil was similar to that expected in humans at the MRHD of 20 mg.
            There were no treatment-related testicular findings in rats or mice treated with doses up to 400 mg/kg/day for 2
   years.
   13.2 Animal Toxicology and/or Pharmacology
            Animal studies showed vascular inflammation in tadalafil-treated mice, rats, and dogs. In mice and rats, lymphoid
   necrosis and hemorrhage were seen in the spleen, thymus, and mesenteric lymph nodes at unbound tadalafil exposure of
   2- to 33-fold above the human exposure (AUCs) at the MRHD of 20 mg. In dogs, an increased incidence of disseminated
   arteritis was observed in 1- and 6-month studies at unbound tadalafil exposure of 1- to 54-fold above the human exposure
   (AUC) at the MRHD of 20 mg. In a 12-month dog study, no disseminated arteritis was observed, but 2 dogs exhibited
   marked decreases in white blood cells (neutrophils) and moderate decreases in platelets with inflammatory signs at
   unbound tadalafil exposures of approximately 14- to 18-fold the human exposure at the MRHD of 20 mg. The abnormal
   blood-cell findings were reversible within 2 weeks after stopping treatment.
   14      CLINICAL STUDIES
   14.1    CIALIS for Use as Needed for ED
           The efficacy and safety of tadalafil in the treatment of erectile dysfunction has been evaluated in 22 clinical trials of
   up to 24-weeks duration, involving over 4000 patients. CIALIS, when taken as needed up to once per day, was shown to
   be effective in improving erectile function in men with erectile dysfunction (ED).
           CIALIS was studied in the general ED population in 7 randomized, multicenter, double-blinded, placebo-controlled,
   parallel-arm design, primary efficacy and safety studies of 12-weeks duration. Two of these studies were conducted in the
   United States and 5 were conducted in centers outside the US. Additional efficacy and safety studies were performed in
   ED patients with diabetes mellitus and in patients who developed ED status post bilateral nerve-sparing radical
   prostatectomy.
           In these 7 trials, CIALIS was taken as needed, at doses ranging from 2.5 to 20 mg, up to once per day. Patients
   were free to choose the time interval between dose administration and the time of sexual attempts. Food and alcohol
   intake were not restricted.
           Several assessment tools were used to evaluate the effect of CIALIS on erectile function. The 3 primary outcome
   measures were the Erectile Function (EF) domain of the International Index of Erectile Function (IIEF) and Questions 2
   and 3 from Sexual Encounter Profile (SEP). The IIEF is a 4-week recall questionnaire that was administered at the end of
   a treatment-free baseline period and subsequently at follow-up visits after randomization. The IIEF EF domain has a 30-
   point total score, where higher scores reflect better erectile function. SEP is a diary in which patients recorded each
   sexual attempt made throughout the study. SEP Question 2 asks, “Were you able to insert your penis into the partner’s
   vagina?” SEP Question 3 asks, “Did your erection last long enough for you to have successful intercourse?” The overall



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   percentage of successful attempts to insert the penis into the vagina (SEP2) and to maintain the erection for successful
   intercourse (SEP3) is derived for each patient.
           Results in ED Population in US Trials — The 2 primary US efficacy and safety trials included a total of 402 men
   with erectile dysfunction, with a mean age of 59 years (range 27 to 87 years). The population was 78% White, 14% Black,
   7% Hispanic, and 1% of other ethnicities, and included patients with ED of various severities, etiologies (organic,
   psychogenic, mixed), and with multiple co-morbid conditions, including diabetes mellitus, hypertension, and other
   cardiovascular disease. Most (>90%) patients reported ED of at least 1-year duration. Study A was conducted primarily in
   academic centers. Study B was conducted primarily in community-based urology practices. In each of these 2 trials,
   CIALIS 20 mg showed clinically meaningful and statistically significant improvements in all 3 primary efficacy variables
   (see Table 11). The treatment effect of CIALIS did not diminish over time.

     Table 11: Mean Endpoint and Change from Baseline for the Primary Efficacy Variables in the Two Primary US
                                                     Trials
                                                Study A                                   Study B
                                    Placebo      CIALIS                     Placebo        CIALIS
                                                  20 mg                                    20 mg
                                           (N=49)        (N=146)       p-value       (N=48)        (N=159)        p-value
     EF Domain Score
       Endpoint                             13.5           19.5                        13.6          22.5
       Change from baseline                 -0.2            6.9         <.001           0.3           9.3          <.001
     Insertion of Penis (SEP2)
       Endpoint                             39%           62%                          43%           77%
       Change from baseline                  2%           26%           <.001           2%           32%           <.001
     Maintenance of Erection (SEP3)
       Endpoint                             25%           50%                          23%           64%
       Change from baseline                  5%           34%           <.001           4%           44%           <.001

           Results in General ED Population in Trials Outside the US — The 5 primary efficacy and safety studies conducted
   in the general ED population outside the US included 1112 patients, with a mean age of 59 years (range 21 to 82 years).
   The population was 76% White, 1% Black, 3% Hispanic, and 20% of other ethnicities, and included patients with ED of
   various severities, etiologies (organic, psychogenic, mixed), and with multiple co-morbid conditions, including diabetes
   mellitus, hypertension, and other cardiovascular disease. Most (90%) patients reported ED of at least 1-year duration. In
   these 5 trials, CIALIS 5, 10, and 20 mg showed clinically meaningful and statistically significant improvements in all 3
   primary efficacy variables (see Tables 12, 13 and 14). The treatment effect of CIALIS did not diminish over time.

   Table 12: Mean Endpoint and Change from Baseline for the EF Domain of the IIEF in the General ED Population in
                                           Five Primary Trials Outside the US
                                                    Placebo           CIALIS        CIALIS           CIALIS
                                                                       5 mg          10 mg           20 mg
     Study C
       Endpoint [Change from baseline]             15.0 [0.7]        17.9 [4.0]    20.0 [5.6]
                                                                      p=.006        p<.001
     Study D
       Endpoint [Change from baseline]             14.4 [1.1]        17.5 [5.1]    20.6 [6.0]
                                                                      p=.002        p<.001
     Study E
       Endpoint [Change from baseline]             18.1 [2.6]                      22.6 [8.1]       25.0 [8.0]
                                                                                    p<.001           p<.001
     Study Fa
       Endpoint [Change from baseline]             12.7 [-1.6]                                      22.8 [6.8]
                                                                                                     p<.001
     Study G
       Endpoint [Change from baseline]             14.5 [-0.9]                     21.2 [6.6]       23.3 [8.0]
                                                                                    p<.001           p<.001
   a Treatment duration in Study F was 6 months




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        Table 13: Mean Post-Baseline Success Rate and Change from Baseline for SEP Question 2 (“Were you able to
       insert your penis into the partner’s vagina?”) in the General ED Population in Five Pivotal Trials Outside the US
                                                        Placebo          CIALIS            CIALIS            CIALIS
                                                                          5 mg              10 mg             20 mg
        Study C
          Endpoint [Change from baseline]              49% [6%]           57% [15%]          73% [29%]
                                                                            p=.063             p<.001
        Study D
          Endpoint [Change from baseline]              46% [2%]           56% [18%]          68% [15%]
                                                                            p=.008             p<.001
        Study E
          Endpoint [Change from baseline]              55% [10%]                             77% [35%]          85% [35%]
                                                                                               p<.001             p<.001
        Study Fa
          Endpoint [Change from baseline]              42% [-8%]                                                81% [27%]
                                                                                                                  p<.001
        Study G
          Endpoint [Change from baseline]              45% [-6%]                             73% [21%]          76% [21%]
                                                                                               p<.001             p<.001
   a   Treatment duration in Study F was 6 months

     Table 14: Mean Post-Baseline Success Rate and Change from Baseline for SEP Question 3 (“Did your erection
     last long enough for you to have successful intercourse?”) in the General ED Population in Five Pivotal Trials
                                                    Outside the US
                                                   Placebo           CIALIS          CIALIS             CIALIS
                                                                       5 mg           10 mg             20 mg
     Study C
       Endpoint [Change from baseline]             26% [4%]         38% [19%]       58% [32%]
                                                                      p=.040          p<.001
     Study D
       Endpoint [Change from baseline]             28% [4%]         42% [24%]       51% [26%]
                                                                      p<.001          p<.001
     Study E
       Endpoint [Change from baseline]            43% [15%]                         70% [48%]         78% [50%]
                                                                                      p<.001            p<.001
     Study Fa
       Endpoint [Change from baseline]             27% [1%]                                           74% [40%]
                                                                                                        p<.001
     Study G
       Endpoint [Change from baseline]             32% [5%]                         57% [33%]         62% [29%]
                                                                                      p<.001            p<.001
   a Treatment duration in Study F was 6 months



           In addition, there were improvements in EF domain scores, success rates based upon SEP Questions 2 and 3,
   and patient-reported improvement in erections across patients with ED of all degrees of disease severity while taking
   CIALIS, compared to patients on placebo.
           Therefore, in all 7 primary efficacy and safety studies, CIALIS showed statistically significant improvement in
   patients’ ability to achieve an erection sufficient for vaginal penetration and to maintain the erection long enough for
   successful intercourse, as measured by the IIEF questionnaire and by SEP diaries.
           Efficacy Results in ED Patients with Diabetes Mellitus — CIALIS was shown to be effective in treating ED in
   patients with diabetes mellitus. Patients with diabetes were included in all 7 primary efficacy studies in the general ED
   population (N=235) and in one study that specifically assessed CIALIS in ED patients with type 1 or type 2 diabetes
   (N=216). In this randomized, placebo-controlled, double-blinded, parallel-arm design prospective trial, CIALIS
   demonstrated clinically meaningful and statistically significant improvement in erectile function, as measured by the EF
   domain of the IIEF questionnaire and Questions 2 and 3 of the SEP diary (see Table 15).




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    Table 15: Mean Endpoint and Change from Baseline for the Primary Efficacy Variables in a Study in ED Patients
                                                  with Diabetes
                                                Placebo            CIALIS            CIALIS
                                                                   10 mg             20 mg
                                                 (N=71)            (N=73)            (N=72)           p-value
     EF Domain Score
       Endpoint [Change from baseline]         12.2 [0.1]         19.3 [6.4]        18.7 [7.3]         <.001
     Insertion of Penis (SEP2)
       Endpoint [Change from baseline]         30% [-4%]         57% [22%]         54% [23%]           <.001
     Maintenance of Erection (SEP3)
       Endpoint [Change from baseline]         20% [2%]          48% [28%]         42% [29%]           <.001

           Efficacy Results in ED Patients following Radical Prostatectomy — CIALIS was shown to be effective in treating
   patients who developed ED following bilateral nerve-sparing radical prostatectomy. In 1 randomized, placebo-controlled,
   double-blinded, parallel-arm design prospective trial in this population (N=303), CIALIS demonstrated clinically meaningful
   and statistically significant improvement in erectile function, as measured by the EF domain of the IIEF questionnaire and
   Questions 2 and 3 of the SEP diary (see Table 16).

    Table 16: Mean Endpoint and Change from Baseline for the Primary Efficacy Variables in a Study in Patients who
                          Developed ED Following Bilateral Nerve-Sparing Radical Prostatectomy
                                                      Placebo                CIALIS
                                                                             20 mg
                                                      (N=102)               (N=201)               p-value
      EF Domain Score
        Endpoint [Change from baseline]              13.3 [1.1]            17.7 [5.3]              <.001
      Insertion of Penis (SEP2)
        Endpoint [Change from baseline]              32% [2%]             54% [22%]                <.001
      Maintenance of Erection (SEP3)
        Endpoint [Change from baseline]              19% [4%]             41% [23%]                <.001

           Results in Studies to Determine the Optimal Use of CIALIS — Several studies were conducted with the objective
   of determining the optimal use of CIALIS in the treatment of ED. In one of these studies, the percentage of patients
   reporting successful erections within 30 minutes of dosing was determined. In this randomized, placebo-controlled,
   double-blinded trial, 223 patients were randomized to placebo, CIALIS 10, or 20 mg. Using a stopwatch, patients recorded
   the time following dosing at which a successful erection was obtained. A successful erection was defined as at least 1
   erection in 4 attempts that led to successful intercourse. At or prior to 30 minutes, 35% (26/74), 38% (28/74), and 52%
   (39/75) of patients in the placebo, 10-, and 20-mg groups, respectively, reported successful erections as defined above.
           Two studies were conducted to assess the efficacy of CIALIS at a given timepoint after dosing, specifically at
   24 hours and at 36 hours after dosing.
           In the first of these studies, 348 patients with ED were randomized to placebo or CIALIS 20 mg. Patients were
   encouraged to make 4 total attempts at intercourse; 2 attempts were to occur at 24 hours after dosing and 2 completely
   separate attempts were to occur at 36 hours after dosing. The results demonstrated a difference between the placebo
   group and the CIALIS group at each of the pre-specified timepoints. At the 24-hour timepoint, (more specifically, 22 to
   26 hours), 53/144 (37%) patients reported at least 1 successful intercourse in the placebo group versus 84/138 (61%) in
   the CIALIS 20-mg group. At the 36-hour timepoint (more specifically, 33 to 39 hours), 49/133 (37%) of patients reported at
   least 1 successful intercourse in the placebo group versus 88/137 (64%) in the CIALIS 20-mg group.
           In the second of these studies, a total of 483 patients were evenly randomized to 1 of 6 groups: 3 different dosing
   groups (placebo, CIALIS 10, or 20 mg) that were instructed to attempt intercourse at 2 different times (24 and 36 hours
   post-dosing). Patients were encouraged to make 4 separate attempts at their assigned dose and assigned timepoint. In
   this study, the results demonstrated a statistically significant difference between the placebo group and the CIALIS groups
   at each of the pre-specified timepoints. At the 24-hour timepoint, the mean, per patient percentage of attempts resulting in
   successful intercourse were 42, 56, and 67% for the placebo, CIALIS 10-, and 20-mg groups, respectively. At the 36-hour
   timepoint, the mean, per-patient percentage of attempts resulting in successful intercourse were 33, 56, and 62% for
   placebo, CIALIS 10-, and 20-mg groups, respectively.
   14.2 CIALIS for Once Daily Use for ED
           The efficacy and safety of CIALIS for once daily use in the treatment of erectile dysfunction has been evaluated in
   2 clinical trials of 12-weeks duration and 1 clinical trial of 24-weeks duration, involving a total of 853 patients. CIALIS,
   when taken once daily, was shown to be effective in improving erectile function in men with erectile dysfunction (ED).



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           CIALIS was studied in the general ED population in 2 randomized, multicenter, double-blinded, placebo-controlled,
   parallel-arm design, primary efficacy and safety studies of 12- and 24-weeks duration, respectively. One of these studies
   was conducted in the United States and one was conducted in centers outside the US. An additional efficacy and safety
   study was performed in ED patients with diabetes mellitus. CIALIS was taken once daily at doses ranging from 2.5 to
   10 mg. Food and alcohol intake were not restricted. Timing of sexual activity was not restricted relative to when patients
   took Cialis.
           Results in General ED Population — The primary US efficacy and safety trial included a total of 287 patients, with
   a mean age of 59 years (range 25 to 82 years). The population was 86% White, 6% Black, 6% Hispanic, and 2% of other
   ethnicities, and included patients with ED of various severities, etiologies (organic, psychogenic, mixed), and with multiple
   co-morbid conditions, including diabetes mellitus, hypertension, and other cardiovascular disease. Most (>96%) patients
   reported ED of at least 1-year duration.
           The primary efficacy and safety study conducted outside the US included 268 patients, with a mean age of 56
   years (range 21 to 78 years). The population was 86% White, 3% Black, 0.4% Hispanic, and 10% of other ethnicities, and
   included patients with ED of various severities, etiologies (organic, psychogenic, mixed), and with multiple co-morbid
   conditions, including diabetes mellitus, hypertension, and other cardiovascular disease. Ninety-three percent of patients
   reported ED of at least 1-year duration.
           In each of these trials, conducted without regard to the timing of dose and sexual intercourse, CIALIS
   demonstrated clinically meaningful and statistically significant improvement in erectile function, as measured by the EF
   domain of the IIEF questionnaire and Questions 2 and 3 of the SEP diary (see Table 17). When taken as directed, CIALIS
   was effective at improving erectile function.
           In the 6 month double-blind study, the treatment effect of CIALIS did not diminish over time.

      Table 17: Mean Endpoint and Change from Baseline for the Primary Efficacy Variables in the Two CIALIS for
                                             Once Daily Use Studies
                                                   Study Ha                                  Study Ib
                                    Placebo    CIALIS       CIALIS               Placebo       CIALIS
                                               2.5 mg        5 mg                               5 mg
                                               (N=94)      (N=96)    (N=97)     p-value     (N=54)        (N=109)     p-value
     EF Domain Score
       Endpoint                                 14.6        19.1      20.8                    15.0          22.8
       Change from baseline                      1.2        6.1c      7.0c      <.001          0.9          9.7c       <.001
     Insertion of Penis (SEP2)
       Endpoint                                 51%        65%        71%                     52%          79%
       Change from baseline                      5%        24%c       26%c      <.001         11%          37%c        <.001
     Maintenance of Erection (SEP3)
       Endpoint                                 31%        50%        57%                     37%          67%
      Change from baseline                      10%        31%c       35%c      <.001         13%          46%c        <.001
   a Twenty-four-week study conducted in the US.
   b Twelve-week study conducted outside the US.
   c Statistically significantly different from placebo.



            Efficacy Results in ED Patients with Diabetes Mellitus — CIALIS for once daily use was shown to be effective in
   treating ED in patients with diabetes mellitus. Patients with diabetes were included in both studies in the general ED
   population (N=79). A third randomized, multicenter, double-blinded, placebo-controlled, parallel-arm design trial included
   only ED patients with type 1 or type 2 diabetes (N=298). In this third trial, CIALIS demonstrated clinically meaningful and
   statistically significant improvement in erectile function, as measured by the EF domain of the IIEF questionnaire and
   Questions 2 and 3 of the SEP diary (see Table 18).

    Table 18: Mean Endpoint and Change from Baseline for the Primary Efficacy Variables in a CIALIS for Once Daily
                                     Use Study in ED Patients with Diabetes
                                                                      Placebo      CIALIS      CIALIS
                                                                                   2.5 mg       5 mg
                                                                      (N=100)     (N=100)      (N=98)     p-value
     EF Domain Score
       Endpoint                                                         14.7        18.3        17.2
       Change from baseline                                              1.3         4.8a        4.5a      <.001
     Insertion of Penis (SEP2)
       Endpoint                                                         43%         62%         61%


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                                                                                                                                 24
       Change from baseline                                                         5%          21%a         29%a         <.001
     Maintenance of Erection (SEP3)
       Endpoint                                                                    28%          46%          41%
       Change from baseline                                                         8%          26%a         25%a         <.001
   a Statistically significantly different from placebo.



   14.3    CIALIS 5 mg for Once Daily Use for Benign Prostatic Hyperplasia (BPH)
           The efficacy and safety of CIALIS for once daily use for the treatment of the signs and symptoms of BPH was
   evaluated in 3 randomized, multinational, double-blinded, placebo-controlled, parallel-design, efficacy and safety studies
   of 12 weeks duration. Two of these studies were in men with BPH and one study was specific to men with both ED and
   BPH [see Clinical Studies (14.4)]. The first study (Study J) randomized 1058 patients to receive either CIALIS 2.5 mg,
   5 mg, 10 mg or 20 mg for once daily use or placebo. The second study (Study K) randomized 325 patients to receive
   either CIALIS 5 mg for once daily use or placebo. The full study population was 87% White, 2% Black, 11% other races;
   15% was of Hispanic ethnicity. Patients with multiple co-morbid conditions such as diabetes mellitus, hypertension, and
   other cardiovascular disease were included.
           The primary efficacy endpoint in the two studies that evaluated the effect of CIALIS for the signs and symptoms of
   BPH was the International Prostate Symptom Score (IPSS), a four week recall questionnaire that was administered at the
   beginning and end of a placebo run-in period and subsequently at follow-up visits after randomization. The IPSS assesses
   the severity of irritative (frequency, urgency, nocturia) and obstructive symptoms (incomplete emptying, stopping and
   starting, weak stream, and pushing or straining), with scores ranging from 0 to 35; higher numeric scores representing
   greater severity. Maximum urinary flow rate (Qmax), an objective measure of urine flow, was assessed as a secondary
   efficacy endpoint in Study J and as a safety endpoint in Study K.
           The results for BPH patients with moderate to severe symptoms and a mean age of 63.2 years (range 44 to 87)
   who received either CIALIS 5 mg for once daily use or placebo (N=748) in Studies J and K are shown in Table 19 and
   Figures 5 and 6, respectively.
           In each of these 2 trials, CIALIS 5 mg for once daily use resulted in statistically significant improvement in the total
   IPSS compared to placebo. Mean total IPSS showed a decrease starting at the first scheduled observation (4 weeks) in
   Study K and remained decreased through 12 weeks.

               Table 19: Mean IPSS Changes in BPH Patients in Two CIALIS for Once Daily Use Studies
                                                     Study J                              Study K
                                         Placebo        CIALIS                Placebo       CIALIS
                                                         5 mg                                5 mg
                                         (N=205)       (N=205)     p-value    (N=164)      (N=160)                       p-value
     Total Symptom Score (IPSS)
      Baseline                             17.1          17.3                   16.6         17.1
      Change from Baseline to Week 12       -2.2          -4.8      <.001       -3.6          -5.6                        .004




                               Figure 5: Mean IPSS Changes in BPH Patients by Visit in Study J




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                            Figure 6: Mean IPSS Changes in BPH Patients by Visit in Study K

          In Study J, the effect of CIALIS 5 mg once daily on maximum urinary flow rate (Qmax) was evaluated as a
   secondary efficacy endpoint. Mean Qmax increased from baseline in both the treatment and placebo groups (CIALIS 5 mg:
   1.6 mL/sec, placebo: 1.2 mL/sec); however, these changes were not significantly different between groups.
          In Study K, the effect of CIALIS 5 mg once daily on Qmax was evaluated as a safety endpoint. Mean Qmax increased
   from baseline in both the treatment and placebo groups (CIALIS 5 mg: 1.6 mL/sec, placebo: 1.1 mL/sec); however, these
   changes were not significantly different between groups.
          Efficacy Results in Patients with BPH initiating CIALIS and Finasteride – CIALIS for once daily use initiated
   together with finasteride was shown to be effective in treating the signs and symptoms of BPH in men with an enlarged
   prostate (>30 cc) for up to 26 weeks. This additional double-blinded, parallel-design study of 26 weeks duration
   randomized 696 men to initiate either CIALIS 5 mg with finasteride 5 mg or placebo with finasteride 5 mg. The study
   population had a mean age of 64 years (range 46-86). Patients with multiple co-morbid conditions such as erectile
   dysfunction, diabetes mellitus, hypertension, and other cardiovascular disease were included.
          CIALIS with finasteride demonstrated statistically significant improvement in the signs and symptoms of BPH
   compared to placebo with finasteride, as measured by the total IPSS at 12 weeks, the primary study endpoint (see
   Table 20). Key secondary endpoints demonstrated improvement in total IPSS starting at the first scheduled observation at
   week 4 (CIALIS -4.0, placebo -2.3: p<.001) and the score remained decreased through 26 weeks (CIALIS -5.5,
   placebo -4.5; p=.022). However, the magnitude of the treatment difference between placebo/finasteride and
   CIALIS/finasteride decreased from 1.7 points at Week 4 to 1.0 point at Week 26, as shown in Table 20 and in Figure 7.
   The incremental benefit of CIALIS beyond 26 weeks is unknown.

        Table 20: Mean Total IPSS Changes in BPH Patients in a CIALIS for Once Daily Use Study Together with
                                                    Finasteride
                                                 Placebo and              CIALIS 5mg and Treatment
                                               finasteride 5 mg           finasteride 5 mg difference
                                          n        (N=350)a         n         (N=345)a                 p-valueb
     Total Symptom Score (IPSS)
      Baselinec                          349         17.4         344           17.1
      Change from Baseline to Week 4b    340          -2.3        330            -4.0          -1.7      <.001
      Change from Baseline to Week       318          -3.8        317            -5.2          -1.4       .001
     12b
      Change from Baseline to Week       295          -4.5        308            -5.5          -1.0       .022
     26b
   a Overall ITT population.
   b Mixed model for repeated measurements.
   c Unadjusted mean.




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      Figure 7: Mean Total IPSS Changes By Visit in BPH Patients Taking CIALIS for Once Daily Use Together With
                                                     Finasteride

           In the 404 patients who had both ED and BPH at baseline, changes in erectile function were assessed as key
   secondary endpoints using the EF domain of the IIEF questionnaire. CIALIS with finasteride (N=203) was compared to
   placebo with finasteride (N=201). A statistically significant improvement from baseline (CIALIS/finasteride 13.7,
   placebo/finasteride 15.1) was observed at week 4 (CIALIS/finasteride 3.7, placebo/finasteride -1.1; p<.001), week 12
   (CIALIS/finasteride 4.7, placebo/finasteride 0.6; p<.001), and week 26 (CIALIS/finasteride 4.7, placebo/finasteride 0.0;
   p<.001).
   14.4 CIALIS 5 mg for Once Daily Use for ED and BPH
           The efficacy and safety of CIALIS for once daily use for the treatment of ED, and the signs and symptoms of BPH,
   in patients with both conditions was evaluated in one placebo-controlled, multinational, double-blind, parallel-arm study
   which randomized 606 patients to receive either CIALIS 2.5 mg, 5 mg, for once daily use or placebo. ED severity ranged
   from mild to severe and BPH severity ranged from moderate to severe. The full study population had a mean age of 63
   years (range 45 to 83) and was 93% White, 4% Black, 3% other races; 16% were of Hispanic ethnicity. Patients with
   multiple co-morbid conditions such as diabetes mellitus, hypertension, and other cardiovascular disease were included.
           In this study, the co-primary endpoints were total IPSS and the Erectile Function (EF) domain score of the
   International Index of Erectile Function (IIEF). One of the key secondary endpoints in this study was Question 3 of the
   Sexual Encounter Profile diary (SEP3). Timing of sexual activity was not restricted relative to when patients took CIALIS.
           The efficacy results for patients with both ED and BPH, who received either CIALIS 5 mg for once daily use or
   placebo (N=408) are shown in Tables 21 and 22 and Figure 8.
           CIALIS 5 mg for once daily use resulted in statistically significant improvements in the total IPSS and in the EF
   domain of the IIEF questionnaire. CIALIS 5 mg for once daily use also resulted in statistically significant improvement in
   SEP3. CIALIS 2.5 mg did not result in statistically significant improvement in the total IPSS.

       Table 21: Mean IPSS and IIEF EF Domain Changes in the CIALIS 5 mg for Once Daily Use Study in Patients
                                                with ED and BPH

                                                          Placebo               CIALIS 5 mg                  p-value
     Total Symptom Score (IPSS)
                                                          (N=193)                 (N=206)
      Baseline                                              18.2                    18.5
      Change from Baseline to Week 12                       -3.8                    -6.1                      <.001
     EF Domain Score (IIEF EF)
                                                          (N=188)                 (N=202)
       Baseline                                             15.6                    16.5
       Endpoint                                             17.6                    22.9
       Change from Baseline to Week 12                       1.9                     6.5                      <.001


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     Table 22: Mean SEP Question 3 Changes in the CIALIS 5 mg for Once Daily Use Study in Patients with ED and
                                                      BPH

                                                          Placebo               CIALIS 5 mg
                                                          (N=187)                 (N=199)                    p-value
     Maintenance of Erection (SEP3)
      Baseline                                              36%                     43%
      Endpoint                                              48%                     72%
      Change from Baseline to Week 12                       12%                     32%                       <.001

          CIALIS for once daily use resulted in improvement in the IPSS total score at the first scheduled observation
   (week 2) and throughout the 12 weeks of treatment (see Figure 8).




                           Figure 8: Mean IPSS Changes in ED/BPH Patients by Visit in Study L

          In this study, the effect of CIALIS 5 mg once daily on Qmax was evaluated as a safety endpoint. Mean Qmax
   increased from baseline in both the treatment and placebo groups (CIALIS 5 mg: 1.6 mL/sec, placebo: 1.2 mL/sec);
   however, these changes were not significantly different between groups.
   16     HOW SUPPLIED/STORAGE AND HANDLING
   16.1   How Supplied
          CIALIS (tadalafil) is supplied as follows:
          Four strengths of almond-shaped tablets are available in different sizes and different shades of yellow, and
   supplied in the following package sizes:

        2.5 mg tablets debossed with “C 2 1/2”
          Blisters of 2 x 15       NDC 0002-4465-34
        5 mg tablets debossed with “C 5”
          Bottles of 30            NDC 0002-4462-30
          Blisters of 2 x 15       NDC 0002-4462-34
        10 mg tablets debossed with “C 10”
          Bottles of 30            NDC 0002-4463-30
        20 mg tablets debossed with “C 20”
          Bottles of 30            NDC 0002-4464-30
   16.2 Storage
         Store at 25°C (77°F); excursions permitted to 15-30°C (59-86°F) [see USP Controlled Room Temperature].
         Keep out of reach of children.
   17     PATIENT COUNSELING INFORMATION
          “See FDA-approved patient labeling (Patient Information)”
   17.1   Nitrates




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           Physicians should discuss with patients the contraindication of CIALIS with regular and/or intermittent use of
   organic nitrates. Patients should be counseled that concomitant use of CIALIS with nitrates could cause blood pressure to
   suddenly drop to an unsafe level, resulting in dizziness, syncope, or even heart attack or stroke.
           Physicians should discuss with patients the appropriate action in the event that they experience anginal chest pain
   requiring nitroglycerin following intake of CIALIS. In such a patient, who has taken CIALIS, where nitrate administration is
   deemed medically necessary for a life-threatening situation, at least 48 hours should have elapsed after the last dose of
   CIALIS before nitrate administration is considered. In such circumstances, nitrates should still only be administered under
   close medical supervision with appropriate hemodynamic monitoring. Therefore, patients who experience anginal chest
   pain after taking CIALIS should seek immediate medical attention [see Contraindications (4.1) and Warnings and
   Precautions (5.1)].
   17.2 Guanylate Cyclase (GC) Stimulators
           Physicians should discuss with patients the contraindication of CIALIS with any use of a GC stimulator, such as
   riociguat, for pulmonary arterial hypertension. Patients should be counseled that the concomitant use of CIALIS with GC
   stimulators may cause blood pressure to drop to an unsafe level.
   17.3 Cardiovascular Considerations
           Physicians should consider the potential cardiac risk of sexual activity in patients with preexisting cardiovascular
   disease. Physicians should advise patients who experience symptoms upon initiation of sexual activity to refrain from
   further sexual activity and seek immediate medical attention [see Warnings and Precautions (5.1)].
   17.4 Concomitant Use with Drugs Which Lower Blood Pressure
           Physicians should discuss with patients the potential for CIALIS to augment the blood-pressure-lowering effect of
   alpha-blockers, and antihypertensive medications [see Warnings and Precautions (5.6), Drug Interactions (7.1), and
   Clinical Pharmacology (12.2)].
   17.5 Potential for Drug Interactions When Taking CIALIS for Once Daily Use
           Physicians should discuss with patients the clinical implications of continuous exposure to tadalafil when
   prescribing CIALIS for once daily use, especially the potential for interactions with medications (e.g., nitrates, alpha-
   blockers, antihypertensives and potent inhibitors of cytochrome P450 3A4) and with substantial consumption of alcohol.
   [see Dosage and Administration (2.7), Warnings and Precautions (5.6), Drug Interactions (7.1, 7.2), Clinical
   Pharmacology (12.2), and Clinical Studies (14.2)].
   17.6 Priapism
           There have been rare reports of prolonged erections greater than 4 hours and priapism (painful erections greater
   than 6 hours in duration) for this class of compounds. Priapism, if not treated promptly, can result in irreversible damage
   to the erectile tissue. Physicians should advise patients who have an erection lasting greater than 4 hours, whether painful
   or not, to seek emergency medical attention.
   17.7 Sudden Loss of Vision
           Physicians should advise patients to stop use of all PDE5 inhibitors, including CIALIS, and seek medical attention
   in the event of a sudden loss of vision in one or both eyes. Such an event may be a sign of non-arteritic anterior ischemic
   optic neuropathy (NAION), a cause of decreased vision, including possible permanent loss of vision, that has been
   reported rarely postmarketing in temporal association with the use of all PDE5 inhibitors. Physicians should discuss with
   patients the increased risk of NAION in individuals who have already experienced NAION in one eye. Physicians should
   also discuss with patients the increased risk of NAION among the general population in patients with a “crowded” optic
   disc, although evidence is insufficient to support screening of prospective users of PDE5 inhibitors, including CIALIS, for
   this uncommon condition [see Warnings and Precautions (5.4) and Adverse Reactions (6.2)].
   17.8 Sudden Hearing Loss
           Physicians should advise patients to stop taking PDE5 inhibitors, including CIALIS, and seek prompt medical
   attention in the event of sudden decrease or loss of hearing. These events, which may be accompanied by tinnitus and
   dizziness, have been reported in temporal association to the intake of PDE5 inhibitors, including CIALIS. It is not possible
   to determine whether these events are related directly to the use of PDE5 inhibitors or to other factors [see Adverse
   Reactions (6.1, 6.2)].
   17.9 Alcohol
           Patients should be made aware that both alcohol and CIALIS, a PDE5 inhibitor, act as mild vasodilators. When
   mild vasodilators are taken in combination, blood-pressure-lowering effects of each individual compound may be
   increased. Therefore, physicians should inform patients that substantial consumption of alcohol (e.g., 5 units or greater) in
   combination with CIALIS can increase the potential for orthostatic signs and symptoms, including increase in heart rate,
   decrease in standing blood pressure, dizziness, and headache [see Warnings and Precautions (5.9), Drug Interactions
   (7.1), and Clinical Pharmacology (12.2)].
   17.10 Sexually Transmitted Disease




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           The use of CIALIS offers no protection against sexually transmitted diseases. Counseling of patients about the
   protective measures necessary to guard against sexually transmitted diseases, including Human Immunodeficiency Virus
   (HIV) should be considered.
   17.11 Recommended Administration
           Physicians should instruct patients on the appropriate administration of CIALIS to allow optimal use.
           For CIALIS for use as needed in men with ED, patients should be instructed to take one tablet at least 30 minutes
   before anticipated sexual activity. In most patients, the ability to have sexual intercourse is improved for up to 36 hours.
           For CIALIS for once daily use in men with ED or ED/BPH, patients should be instructed to take one tablet at
   approximately the same time every day without regard for the timing of sexual activity. Cialis is effective at improving
   erectile function over the course of therapy.
           For CIALIS for once daily use in men with BPH, patients should be instructed to take one tablet at approximately
   the same time every day.

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      HIGHLIGHTS OF PRESCRIBING INFORMATION                                              -------------------------------CONTRAINDICATIONS-----------------------------
      These highlights do not include all the information needed to use                  • Acute liver failure or decompensated cirrhosis (4).
      LIPITOR safely and effectively. See full prescribing information for               • Hypersensitivity to atorvastatin or any excipient in LIPITOR (4).
      LIPITOR.
                                                                                         ----------------------WARNINGS AND PRECAUTIONS------------------------
      LIPITOR® (atorvastatin calcium) tablets, for oral use                              • Myopathy and Rhabdomyolysis: Risk factors include age 65 years or
      Initial U.S. Approval: 1996                                                           greater, uncontrolled hypothyroidism, renal impairment, concomitant use
                                                                                            with certain other drugs, and higher LIPITOR dosage. Discontinue
      ----------------------------RECENT MAJOR CHANGES-------------------------             LIPITOR if markedly elevated CK levels occur or myopathy is diagnosed
      Contraindications, Pregnancy and Lactation (4)    Removed 12/2022                     or suspected. Temporarily discontinue LIPITOR in patients experiencing
      Warnings and Precautions, CNS Toxicity (5.5)      Removed 12/2022                     an acute or serious condition at high risk of developing renal failure
                                                                                            secondary to rhabdomyolysis. Inform patients of the risk of myopathy and
      ----------------------------INDICATIONS AND USAGE---------------------------          rhabdomyolysis when starting or increasing LIPITOR dosage. Instruct
      LIPITOR is an HMG-CoA reductase inhibitor (statin) indicated (1):                     patients to promptly report unexplained muscle pain, tenderness, or
      • To reduce the risk of:                                                              weakness, particularly if accompanied by malaise or fever (2.5, 5.1, 7.1,
         o Myocardial infarction (MI), stroke, revascularization procedures, and            8.5, 8.6).
             angina in adults with multiple risk factors for coronary heart disease      • Immune-Mediated Necrotizing Myopathy (IMNM) Rare reports of IMNM,
             (CHD) but without clinically evident CHD.                                      an autoimmune myopathy, have been reported with statin use. Discontinue
         o MI and stroke in adults with type 2 diabetes mellitus with multiple risk         LIPITOR if IMNM is suspected (5.2).
             factors for CHD but without clinically evident CHD.                         • Hepatic Dysfunction Increases in serum transaminases have occurred,
         o Non-fatal MI, fatal and non-fatal stroke, revascularization procedures,          some persistent. Rare reports of fatal and non-fatal hepatic failure have
             hospitalization for congestive heart failure, and angina in adults with        occurred. Consider testing liver enzymes before initiating therapy and as
             clinically evident CHD.                                                        clinically indicated thereafter. If serious hepatic injury with clinical
      • As an adjunct to diet to reduce low-density lipoprotein (LDL-C) in:                 symptoms and/or hyperbilirubinemia or jaundice occurs, promptly
         o Adults with primary hyperlipidemia.                                              discontinue LIPITOR (5.3).
         o Adults and pediatric patients aged 10 years and older with heterozygous
             familial hypercholesterolemia (HeFH).                                       ------------------------------ADVERSE REACTIONS-------------------------------
      • As an adjunct to other LDL-C-lowering therapies to reduce LDL-C in               Most common adverse reactions (incidence ≥5%) are nasopharyngitis,
         adults and pediatric patients aged 10 years and older with homozygous           arthralgia, diarrhea, pain in extremity, and urinary tract infection (6.1).
         familial hypercholesterolemia.
      • As an adjunct to diet for the treatment of adults with:                          To report SUSPECTED ADVERSE REACTIONS, contact Viatris at 1-
         o Primary dysbetaliproteinemia.                                                 877-446-3679 (1-877-4-INFO-RX) or FDA at 1-800-FDA-1088 or
         o Hypertriglyceridemia.                                                         www.fda.gov/medwatch.

      ----------------------DOSAGE AND ADMINISTRATION-----------------------             ------------------------------DRUG INTERACTIONS-------------------------------
      • Take orally once daily with or without food (2.1).                               • See full prescribing information for details regarding concomitant use of
      • Assess LDL-C when clinically appropriate, as early as 4 weeks after                 LIPITOR with other drugs or grapefruit juice that increase the risk of
         initiating LIPITOR, and adjust dosage if necessary (2.1).                          myopathy and rhabdomyolysis (2.5, 7.1).
      • Adults (2.2):                                                                    • Rifampin: May reduce atorvastatin plasma concentrations. Administer
         o Recommended starting dosage is 10 or 20 mg once daily; dosage range              simultaneously with LIPITOR (7.2).
             is 10 mg to 80 mg once daily.                                               • Oral Contraceptives May increase plasma levels of norethindrone and
         o Patients requiring LDL-C reduction >45% may start at 40 mg once                  ethinyl estradiol; consider this effect when selecting an oral contraceptive
             daily.                                                                         (7.3).
      • Pediatric Patients Aged 10 Years of Age and Older with HeFH:                     • Digoxin May increase digoxin plasma levels; monitor patients
         Recommended starting dosage is 10 mg once daily; dosage range is 10 to             appropriately (7.3).
         20 mg once daily (2.3).
      • Pediatric Patients Aged 10 Years of Age and Older with HoFH:                     -----------------------USE IN SPECIFIC POPULATIONS------------------------
         Recommended starting dosage is 10 to 20 mg once daily; dosage range is          • Pregnancy May cause fetal harm. (8.1).
         10 to 80 mg once daily (2.4).                                                   • Lactation Breastfeeding not recommended during treatment with
      • See full prescribing information for LIPITOR dosage modifications due to            LIPITOR (8.2).
         drug interactions (2.5).
                                                                                         See 17 for PATIENT COUNSELING INFORMATION and
      ---------------------DOSAGE FORMS AND STRENGTHS----------------------              FDA-approved patient labeling.
      Tablets: 10 mg; 20 mg; 40 mg; 80 mg of atorvastatin (3).                                                                      Revised: 12/2022



      FULL PRESCRIBING INFORMATION: CONTENTS*                                            6    ADVERSE REACTIONS
                                                                                              6.1   Clinical Trials Experience
      1    INDICATIONS AND USAGE                                                              6.2   Postmarketing Experience
      2    DOSAGE AND ADMINISTRATION                                                     7    DRUG INTERACTIONS
           2.1  Important Dosage Information                                                  7.1   Drug Interactions that may Increase the Risk of Myopathy and
           2.2  Recommended Dosage in Adult Patients                                                Rhabdomyolysis with LIPITOR
           2.3  Recommended Dosage in Pediatric Patients 10 Years of Age and                  7.2   Drug Interactions that may Decrease Exposure to LIPITOR
                Older with HeFH                                                               7.3   LIPITOR Effects on Other Drugs
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                Older with HoFH                                                               8.1   Pregnancy
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           5.1  Myopathy and Rhabdomyolysis                                                   8.7   Hepatic Impairment
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           5.3  Hepatic Dysfunction                                                      11   DESCRIPTION
           5.4  Increases in HbA1c and Fasting Serum Glucose Levels                      12   CLINICAL PHARMACOLOGY
           5.5  Increased Risk of Hemorrhagic Stroke in Patients on LIPITOR                   12.1 Mechanism of Action
                80 mg with Recent Hemorrhagic Stroke                                          12.2 Pharmacodynamics


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           12.3 Pharmacokinetics                                             17   PATIENT COUNSELING INFORMATION
      13   NONCLINICAL TOXICOLOGY
           13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility         *Sections or subsections omitted from the full prescribing information are not
      14   CLINICAL STUDIES                                                  listed.
      16   HOW SUPPLIED/STORAGE AND HANDLING




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      FULL PRESCRIBING INFORMATION

      1        INDICATIONS AND USAGE

      LIPITOR is indicated:
      • To reduce the risk of:
              o Myocardial infarction (MI), stroke, revascularization procedures, and angina in adults with multiple risk factors for
                   coronary heart disease (CHD) but without clinically evident CHD
              o MI and stroke in adults with type 2 diabetes mellitus with multiple risk factors for CHD but without clinically evident
                   CHD
              o Non-fatal MI, fatal and non-fatal stroke, revascularization procedures, hospitalization for congestive heart failure, and
                   angina in adults with clinically evident CHD
      • As an adjunct to diet to reduce low-density lipoprotein cholesterol (LDL-C) in:
              o Adults with primary hyperlipidemia.
              o Adults and pediatric patients aged 10 years and older with heterozygous familial hypercholesterolemia (HeFH).
      • As an adjunct to other LDL-C-lowering therapies, or alone if such treatments are unavailable, to reduce LDL-C in adults and
          pediatric patients aged 10 years and older with homozygous familial hypercholesterolemia (HoFH).
      • As an adjunct to diet for the treatment of adults with:
              o Primary dysbetalipoproteinemia
              o Hypertriglyceridemia

      2        DOSAGE AND ADMINISTRATION

      2.1   Important Dosage Information
      • Take Lipitor orally once daily at any time of the day, with or without food.
      • Assess LDL-C when clinically appropriate, as early as 4 weeks after initiating LIPITOR, and adjust the dosage if necessary.

      2.2     Recommended Dosage in Adult Patients
      The recommended starting dosage of LIPITOR is 10 mg to 20 mg once daily. The dosage range is 10 mg to 80 mg once daily. Patients
      who require reduction in LDL-C greater than 45% may be started at 40 mg once daily.

      2.3     Recommended Dosage in Pediatric Patients 10 Years of Age and Older with HeFH
      The recommended starting dosage of LIPITOR is 10 mg once daily. The dosage range is 10 mg to 20 mg once daily.

      2.4     Recommended Dosage in Pediatric Patients 10 Years of Age and Older with HoFH
      The recommended starting dosage of LIPITOR is 10 mg to 20 mg once daily. The dosage range is 10 mg to 80 mg once daily.

      2.5      Dosage Modifications Due to Drug Interactions
      Concomitant use of LIPITOR with the following drugs requires dosage modification of LIPITOR [see Warnings and Precautions
      (5.1) and Drug Interactions (7.1)].

      Anti-Viral Medications
      • In patients taking saquinavir plus ritonavir, darunavir plus ritonavir, fosamprenavir, fosamprenavir plus ritonavir, elbasvir plus
          grazoprevir or letermovir, do not exceed LIPITOR 20 mg once daily.
      • In patients taking nelfinavir, do not exceed LIPITOR 40 mg once daily.

      Select Azole Antifungals or Macrolide Antibiotics
      • In patients taking clarithromycin or itraconazole, do not exceed LIPITOR 20 mg once daily.

      For additional recommendations regarding concomitant use of LIPITOR with other anti-viral medications, azole antifungals or
      macrolide antibiotics, see Drug Interactions (7.1).

      3        DOSAGE FORMS AND STRENGTHS

      LIPITOR tablets:
      • 10 mg of atorvastatin: white elliptical, film-coated tablets with “PD 155” on one side and “10” on the other
      • 20 mg of atorvastatin: white elliptical, film-coated tablets with “PD 156” on one side and “20” on the other
      • 40 mg of atorvastatin: white elliptical, film-coated tablets with “PD 157” on one side and “40” on the other
      • 80 mg of atorvastatin: white elliptical, film-coated tablets with “PD 158” on one side and “80” on the other




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      4         CONTRAINDICATIONS

      •     Acute liver failure or decompensated cirrhosis [see Warnings and Precautions (5.3)]
      •     Hypersensitivity to atorvastatin or any excipients in LIPITOR. Hypersensitivity reactions, including anaphylaxis, angioneurotic
            edema, erythema multiforme, Stevens-Johnson syndrome, and toxic epidermal necrolysis, have been reported [see Adverse
            Reactions (6.2)].

      5         WARNINGS AND PRECAUTIONS

      5.1       Myopathy and Rhabdomyolysis

      LIPITOR may cause myopathy (muscle pain, tenderness, or weakness associated with elevated creatine kinase [CK]) and
      rhabdomyolysis. Acute kidney injury secondary to myoglobinuria and rare fatalities have occurred as a result of rhabdomyolysis in
      patients treated with statins, including LIPITOR.

      Risk Factors for Myopathy
      Risk factors for myopathy include age 65 years or greater, uncontrolled hypothyroidism, renal impairment, concomitant use with
      certain other drugs (including other lipid-lowering therapies), and higher LIPITOR dosage [see Drug Interactions (7.1) and Use in
      Specific Populations (8.5, 8.6)].

      Steps to Prevent or Reduce the Risk of Myopathy and Rhabdomyolysis
      LIPITOR exposure may be increased by drug interactions due to inhibition of cytochrome P450 enzyme 3A4 (CYP3A4) and/or
      transporters (e.g., breast cancer resistant protein [BCRP], organic anion-transporting polypeptide [OATP1B1/OATP1B3] and
      P-glycoprotein [P-gp]), resulting in an increased risk of myopathy and rhabdomyolysis. Concomitant use of cyclosporine,
      gemfibrozil, tipranavir plus ritonavir, or glecaprevir plus pibrentasvir with LIPITOR is not recommended. LIPITOR dosage
      modifications are recommended for patients taking certain anti-viral, azole antifungals, or macrolide antibiotic medications [see
      Dosage and Administration (2.5)]. Cases of myopathy/rhabdomyolysis have been reported with atorvastatin co-administered with
      lipid modifying doses (>1 gram/day) of niacin, fibrates, colchicine, and ledipasvir plus sofosbuvir. Consider if the benefit of use of
      these products outweighs the increased risk of myopathy and rhabdomyolysis [see Drug Interactions (7.1)].

      Concomitant intake of large quantities, more than 1.2 liters daily, of grapefruit juice is not recommended in patients taking LIPITOR
      [see Drug Interactions (7.1)].

      Discontinue LIPITOR if markedly elevated CK levels occur or if myopathy is either diagnosed or suspected. Muscle symptoms and
      CK elevations may resolve if LIPITOR is discontinued. Temporarily discontinue LIPITOR in patients experiencing an acute or serious
      condition at high risk of developing renal failure secondary to rhabdomyolysis (e.g., sepsis; shock; severe hypovolemia; major
      surgery; trauma; severe metabolic, endocrine, or electrolyte disorders; or uncontrolled epilepsy).

      Inform patients of the risk of myopathy and rhabdomyolysis when starting or increasing the LIPITOR dosage. Instruct patients to
      promptly report any unexplained muscle pain, tenderness or weakness, particularly if accompanied by malaise or fever.

      5.2       Immune-Mediated Necrotizing Myopathy

      There have been rare reports of immune-mediated necrotizing myopathy (IMNM), an autoimmune myopathy, associated with statin
      use, including reports of recurrence when the same or a different statin was administered. IMNM is characterized by proximal muscle
      weakness and elevated serum creatine kinase that persists despite discontinuation of statin treatment; positive anti-HMG CoA
      reductase antibody; muscle biopsy showing necrotizing myopathy; and improvement with immunosuppressive agents. Additional
      neuromuscular and serologic testing may be necessary. Treatment with immunosuppressive agents may be required. Discontinue
      LIPITOR if IMNM is suspected.

      5.3       Hepatic Dysfunction

      Increases in serum transaminases have been reported with use of LIPITOR [see Adverse Reactions (6.1)]. In most cases, these changes
      appeared soon after initiation, were transient, were not accompanied by symptoms, and resolved or improved on continued therapy or
      after a brief interruption in therapy. Persistent increases to more than three times the ULN in serum transaminases have occurred in
      approximately 0.7% of patients receiving LIPITOR in clinical trials. There have been rare postmarketing reports of fatal and non-fatal
      hepatic failure in patients taking statins, including LIPITOR.

      Patients who consume substantial quantities of alcohol and/or have a history of liver disease may be at increased risk for hepatic injury
      [see Use in Specific Populations (8.7)].




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      Consider liver enzyme testing before LIPITOR initiation and when clinically indicated thereafter. LIPITOR is contraindicated in
      patients with acute liver failure or decompensated cirrhosis [see Contraindications (4)]. If serious hepatic injury with clinical
      symptoms and/or hyperbilirubinemia or jaundice occurs, promptly discontinue LIPITOR.

      5.4      Increases in HbA1c and Fasting Serum Glucose Levels

      Increases in HbA1c and fasting serum glucose levels have been reported with statins, including LIPITOR. Optimize lifestyle
      measures, including regular exercise, maintaining a healthy body weight, and making healthy food choices.

      5.5      Increased Risk of Hemorrhagic Stroke in Patients on LIPITOR 80 mg with Recent Hemorrhagic Stroke

      In a post-hoc analysis of the Stroke Prevention by Aggressive Reduction in Cholesterol Levels (SPARCL) trial where 2365 adult
      patients, without CHD who had a stroke or TIA within the preceding 6 months, were treated with LIPITOR 80 mg, a higher incidence
      of hemorrhagic stroke was seen in the LIPITOR 80 mg group compared to placebo (55, 2.3% LIPITOR vs. 33, 1.4% placebo; HR:
      1.68, 95% CI: 1.09, 2.59; p=0.0168). The incidence of fatal hemorrhagic stroke was similar across treatment groups (17 vs. 18 for the
      atorvastatin and placebo groups, respectively). The incidence of non-fatal hemorrhagic stroke was significantly higher in the LIPITOR
      group (38, 1.6%) as compared to the placebo group (16, 0.7%). Some baseline characteristics, including hemorrhagic and lacunar
      stroke on study entry, were associated with a higher incidence of hemorrhagic stroke in the LIPITOR group [see Adverse Reactions
      (6.1)]. Consider the risk/benefit of use of LIPITOR 80 mg in patients with recent hemorrhagic stroke.

      6        ADVERSE REACTIONS

      The following important adverse reactions are described below and elsewhere in the labeling:
      • Myopathy and Rhabdomyolysis [see Warnings and Precautions (5.1)]
      • Immune-Mediated Necrotizing Myopathy [see Warnings and Precautions (5.2)]
      • Hepatic Dysfunction [see Warnings and Precautions (5.3)]
      • Increases in HbA1c and Fasting Serum Glucose Levels [see Warnings and Precautions (5.4)]

      6.1      Clinical Trials Experience

      Because clinical trials are conducted under widely varying conditions, the adverse reaction rates observed in the clinical trials of a
      drug cannot be directly compared to rates in the clinical trials of another drug and may not reflect the rates observed in practice.

      In the LIPITOR placebo-controlled clinical trial database of 16,066 patients (8755 LIPITOR vs. 7311 placebo; age range 10-93 years,
      39% women, 91% White, 3% Black, 2% Asian, 4% other) with a median treatment duration of 53 weeks, the most common adverse
      reactions in patients treated with LIPITOR that led to treatment discontinuation and occurred at a rate greater than placebo were:
      myalgia (0.7%), diarrhea (0.5%), nausea (0.4%), alanine aminotransferase increase (0.4%), and hepatic enzyme increase (0.4%).

      Table 1 summarizes adverse reactions reported in ≥ 2% and at a rate greater than placebo in patients treated with LIPITOR (n=8755),
      from seventeen placebo-controlled trials.
                                            Table 1: Adverse Reactions Occurring in ≥ 2% in Patients LIPITOR-Treated with any
                                                                      Dose and Greater than Placebo


                                                        % Placebo    % 10 mg       % 20 mg       % 40 mg      % 80 mg      % Any dose
                        Adverse Reaction
                                                        N=7311       N=3908        N=188         N=604        N=4055       N=8755

                        Nasopharyngitis                 8.2          12.9          5.3           7.0          4.2          8.3
                        Arthralgia                      6.5          8.9           11.7          10.6         4.3          6.9
                        Diarrhea                        6.3          7.3           6.4           14.1         5.2          6.8
                        Pain in extremity               5.9          8.5           3.7           9.3          3.1          6.0
                        Urinary tract infection         5.6          6.9           6.4           8.0          4.1          5.7
                        Dyspepsia                       4.3          5.9           3.2           6.0          3.3          4.7
                        Nausea                          3.5          3.7           3.7           7.1          3.8          4.0
                        Musculoskeletal pain            3.6          5.2           3.2           5.1          2.3          3.8
                        Muscle spasms                   3.0          4.6           4.8           5.1          2.4          3.6
                        Myalgia                         3.1          3.6           5.9           8.4          2.7          3.5
                        Insomnia                        2.9          2.8           1.1           5.3          2.8          3.0



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                        Pharyngolaryngeal pain       2.1             3.9           1.6           2.8          0.7          2.3

      Other adverse reactions reported in placebo-controlled trials include:
      Body as a whole: malaise, pyrexia
      Digestive system: abdominal discomfort, eructation, flatulence, hepatitis, cholestasis
      Musculoskeletal system: musculoskeletal pain, muscle fatigue, neck pain, joint swelling
      Metabolic and nutritional system: transaminases increase, liver function test abnormal, blood alkaline phosphatase increase, creatine
      phosphokinase increase, hyperglycemia
      Nervous system: nightmare
      Respiratory system: epistaxis
      Skin and appendages: urticaria
      Special senses: vision blurred, tinnitus
      Urogenital system: white blood cells urine positive

      Elevations in Liver Enzyme Tests
      Persistent elevations in serum transaminases, defined as more than 3 times the ULN and occurring on 2 or more occasions, occurred in
      0.7% of patients who received LIPITOR in clinical trials. The incidence of these abnormalities was 0.2%, 0.2%, 0.6%, and 2.3% for
      10, 20, 40, and 80 mg, respectively.

      One patient in clinical trials developed jaundice. Increases in liver enzyme tests in other patients were not associated with jaundice or
      other clinical signs or symptoms. Upon dose reduction, drug interruption, or discontinuation, transaminase levels returned to or near
      pretreatment levels without sequelae. Eighteen of 30 patients with persistent liver enzyme elevations continued treatment with a
      reduced dose of LIPITOR.

      Treating to New Targets Study (TNT)
      In TNT, [see Clinical Studies (14.1)] 10,001 patients (age range 29-78 years, 19% women; 94% White, 3% Black, 1% Asian, 2%
      other) with clinically evident CHD were treated with LIPITOR 10 mg daily (n=5006) or LIPITOR 80 mg daily (n=4995). In the high-
      dose LIPITOR group, there were more patients with serious adverse reactions (1.8%) and discontinuations due to adverse reactions
      (9.9%) as compared to the low-dose group (1.4%; 8.1%, respectively) during a median follow-up of 4.9 years. Persistent transaminase
      elevations (≥3 x ULN twice within 4-10 days) occurred in 1.3% of individuals with LIPITOR 80 mg and in 0.2% of individuals with
      LIPITOR 10 mg. Elevations of CK (≥ 10 x ULN) were higher in the high-dose LIPITOR group (0.3%) compared to the low-dose
      LIPITOR group (0.1%).

      Stroke Prevention by Aggressive Reduction in Cholesterol Levels (SPARCL)
      In SPARCL, 4731 patients (age range 21-92 years, 40% women; 93% White, 3% Black, 1% Asian, 3% other) without clinically
      evident CHD but with a stroke or transient ischemic attack (TIA) within the previous 6 months were treated with LIPITOR 80 mg
      (n=2365) or placebo (n=2366) for a median follow-up of 4.9 years. There was a higher incidence of persistent hepatic transaminase
      elevations (≥ 3 x ULN twice within 4-10 days) in the LIPITOR group (0.9%) compared to placebo (0.1%). Elevations of CK (>10 x
      ULN) were rare, but were higher in the LIPITOR group (0.1%) compared to placebo (0.0%). Diabetes was reported as an adverse
      reaction in 6.1% of subjects in the LIPITOR group and 3.8% of subjects in the placebo group.

      In a post-hoc analysis, LIPITOR 80 mg reduced the incidence of ischemic stroke (9.2% vs. 11.6%) and increased the incidence of
      hemorrhagic stroke (2.3% vs. 1.4%) compared to placebo. The incidence of fatal hemorrhagic stroke was similar between groups (17
      LIPITOR vs. 18 placebo). The incidence of non-fatal hemorrhagic strokes was significantly greater in the LIPITOR group (38 non-
      fatal hemorrhagic strokes) as compared to the placebo group (16 non-fatal hemorrhagic strokes). Patients who entered the trial with a
      hemorrhagic stroke appeared to be at increased risk for hemorrhagic stroke (16% LIPITOR vs. 4% placebo).

      Adverse Reactions from Clinical Studies of LIPITOR in Pediatric Patients with HeFH
      In a 26-week controlled study in pediatric patients with HeFH (ages 10 years to 17 years) (n=140, 31% female; 92% White, 1.6%
      Blacks, 1.6% Asians, 4.8% other), the safety and tolerability profile of LIPITOR 10 to 20 mg daily, as an adjunct to diet to reduce
      total cholesterol, LDL-C, and apo B levels, was generally similar to that of placebo [see Use in Specific Populations (8.4) and Clinical
      Studies (14.6)].

      6.2      Postmarketing Experience

      The following adverse reactions have been identified during post-approval use of LIPITOR. Because these reactions are reported
      voluntarily from a population of uncertain size, it is not always possible to reliably estimate their frequency or establish a causal
      relationship to drug exposure.

      Gastrointestinal disorders: pancreatitis
      General disorders: fatigue



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      Hepatobiliary Disorders: fatal and non-fatal hepatic failure
      Immune system disorders: anaphylaxis
      Injury: tendon rupture
      Musculoskeletal and connective tissue disorders: rhabdomyolysis, myositis.
      There have been rare reports of immune-mediated necrotizing myopathy associated with statin use.
      Nervous system disorders: dizziness, peripheral neuropathy.
      There have been rare reports of cognitive impairment (e.g., memory loss, forgetfulness, amnesia, memory impairment, confusion)
      associated with the use of all statins. Cognitive impairment was generally nonserious, and reversible upon statin discontinuation, with
      variable times to symptom onset (1 day to years) and symptom resolution (median of 3 weeks).
      Psychiatric disorders: depression
      Respiratory disorders: interstitial lung disease
      Skin and subcutaneous tissue disorders: angioneurotic edema, bullous rashes (including erythema multiforme, Stevens-Johnson
      syndrome, and toxic epidermal necrolysis)

      7         DRUG INTERACTIONS

      7.1       Drug Interactions that may Increase the Risk of Myopathy and Rhabdomyolysis with LIPITOR

      LIPITOR is a substrate of CYP3A4 and transporters (e.g., OATP1B1/1B3, P-gp, or BCRP). LIPITOR plasma levels can be
      significantly increased with concomitant administration of inhibitors of CYP3A4 and transporters. Table 2 includes a list of drugs
      that may increase exposure to LIPITOR and may increase the risk of myopathy and rhabdomyolysis when used concomitantly and
      instructions for preventing or managing them [see Warnings and Precautions (5.1) and Clinical Pharmacology (12.3)].

                  Table 2: Drug Interactions that may Increase the Risk of Myopathy and Rhabdomyolysis with LIPITOR

            Cyclosporine or Gemfibrozil
                                     Atorvastatin plasma levels were significantly increased with concomitant administration of
                                     LIPITOR and cyclosporine, an inhibitor of CYP3A4 and OATP1B1 [see Clinical
                    Clinical Impact: Pharmacology (12.3)]. Gemfibrozil may cause myopathy when given alone. The risk of
                                     myopathy and rhabdomyolysis is increased with concomitant use of cyclosporine or gemfibrozil
                                     with LIPITOR.
                       Intervention: Concomitant use of cyclosporine or gemfibrozil with LIPITOR is not recommended.
            Anti-Viral Medications
                                     Atorvastatin plasma levels were significantly increased with concomitant administration of
                                     LIPITOR with many anti-viral medications, which are inhibitors of CYP3A4 and/or transporters
                    Clinical Impact: (e.g., BCRP, OATP1B1/1B3, P-gp, MRP2, and/or OAT2) [see Clinical Pharmacology (12.3)].
                                     Cases of myopathy and rhabdomyolysis have been reported with concomitant use of ledipasvir
                                     plus sofosbuvir with LIPITOR.
                                     • Concomitant use of tipranavir plus ritonavir or glecaprevir plus pibrentasvir with LIPITOR is
                                       not recommended.
                                     • In patients taking lopinavir plus ritonavir, or simeprevir, consider the risk/benefit of
                                       concomitant use with atorvastatin.
                                     • In patients taking saquinavir plus ritonavir, darunavir plus ritonavir, fosamprenavir,
                                       fosamprenavir plus ritonavir, elbasvir plus grazoprevir or letermovir, do not exceed LIPITOR
                       Intervention:
                                       20 mg.
                                     • In patients taking nelfinavir, do not exceed LIPITOR 40 mg [see Dosage and Administration
                                       (2.5)].
                                     • Consider the risk/benefit of concomitant use of ledipasvir plus sofosbuvir with LIPITOR.
                                     • Monitor all patients for signs and symptoms of myopathy particularly during initiation of
                                       therapy and during upward dose titration of either drug.
                                     Tipranavir plus ritonavir, glecaprevir plus pibrentasvir, lopinavir plus ritonavir, simeprevir,
                          Examples: saquinavir plus ritonavir, darunavir plus ritonavir, fosamprenavir, fosamprenavir plus ritonavir,
                                     elbasvir plus grazoprevir, letermovir, nelfinavir, and ledipasvir plus sofosbuvir.
            Select Azole Antifungals or Macrolide Antibiotics
                                     Atorvastatin plasma levels were significantly increased with concomitant administration of
                    Clinical Impact: LIPITOR with select azole antifungals or macrolide antibiotics, due to inhibition of CYP3A4
                                     and/or transporters [see Clinical Pharmacology (12.3)].
                                     In patients taking clarithromycin or itraconazole, do not exceed LIPITOR 20 mg [see Dosage and
                       Intervention:
                                     Administration (2.5)]. Consider the risk/benefit of concomitant use of other azole antifungals or




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                                        macrolide antibiotics with LIPITOR. Monitor all patients for signs and symptoms of myopathy
                                        particularly during initiation of therapy and during upward dose titration of either drug.
                          Examples:     Erythromycin, clarithromycin, itraconazole, ketoconazole, posaconazole, and voriconazole.
            Niacin
                                     Cases of myopathy and rhabdomyolysis have been observed with concomitant use of lipid
                     Clinical Impact:
                                     modifying dosages of niacin (≥1 gram/day niacin) with LIPITOR.
                                     Consider if the benefit of using lipid modifying dosages of niacin concomitantly with LIPITOR
                                     outweighs the increased risk of myopathy and rhabdomyolysis. If concomitant use is decided,
                       Intervention:
                                     monitor patients for signs and symptoms of myopathy particularly during initiation of therapy and
                                     during upward dose titration of either drug.
            Fibrates (other than Gemfibrozil)
                                     Fibrates may cause myopathy when given alone. The risk of myopathy and rhabdomyolysis is
                   Clinical Impact:
                                     increased with concomitant use of fibrates with LIPITOR.
                                     Consider if the benefit of using fibrates concomitantly with LIPITOR outweighs the increased risk
                                     of myopathy and rhabdomyolysis. If concomitant use is decided, monitor patients for signs and
                       Intervention:
                                     symptoms of myopathy particularly during initiation of therapy and during upward dose titration
                                     of either drug.
            Colchicine
                                     Cases of myopathy and rhabdomyolysis have been reported with concomitant use of colchicine
                   Clinical Impact:
                                     with LIPITOR.
                                     Consider the risk/benefit of concomitant use of colchicine with LIPITOR. If concomitant use is
                       Intervention: decided, monitor patients for signs and symptoms of myopathy particularly during initiation of
                                     therapy and during upward dose titration of either drug.
            Grapefruit Juice
                                     Grapefruit juice consumption, especially excessive consumption, more than 1.2 liters/daily, can
                   Clinical Impact:
                                     raise the plasma levels of atorvastatin and may increase the risk of myopathy and rhabdomyolysis.
                                     Avoid intake of large quantities of grapefruit juice, more than 1.2 liters daily, when taking
                       Intervention:
                                     LIPITOR.

      7.2       Drug Interactions that may Decrease Exposure to LIPITOR

      Table 3 presents drug interactions that may decrease exposure to LIPITOR and instructions for preventing or managing them.

                                        Table 3: Drug Interactions that may Decrease Exposure to LIPITOR

             Rifampin
                                        Concomitant administration of LIPITOR with rifampin, an inducer of cytochrome P450 3A4 and
                                        inhibitor of OATP1B1, can lead to variable reductions in plasma concentrations of atorvastatin.
                     Clinical Impact:   Due to the dual interaction mechanism of rifampin, delayed administration of LIPITOR after
                                        administration of rifampin has been associated with a significant reduction in atorvastatin plasma
                                        concentrations.
                        Intervention:   Administer LIPITOR and rifampin simultaneously.

      7.3       LIPITOR Effects on Other Drugs

      Table 4 presents LIPITOR’s effect on other drugs and instructions for preventing or managing them.

                                                     Table 4: LIPITOR Effects on Other Drugs

             Oral Contraceptives
                                        Co-administration of LIPITOR and an oral contraceptive increased plasma concentrations of
                     Clinical Impact:
                                        norethindrone and ethinyl estradiol [see Clinical Pharmacology (12.3)].
                        Intervention:   Consider this when selecting an oral contraceptive for patients taking LIPITOR.
             Digoxin
                                        When multiple doses of LIPITOR and digoxin were co-administered, steady state plasma digoxin
                     Clinical Impact:
                                        concentrations increased [see Clinical Pharmacology (12.3)].
                        Intervention:   Monitor patients taking digoxin appropriately.

      8         USE IN SPECIFIC POPULATIONS




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      8.1      Pregnancy

      Risk Summary
      Discontinue LIPITOR when pregnancy is recognized. Alternatively, consider the ongoing therapeutic needs of the individual patient.
      LIPITOR decreases synthesis of cholesterol and possibly other biologically active substances derived from cholesterol; therefore,
      LIPITOR may cause fetal harm when administered to pregnant patients based on the mechanism of action [see Clinical Pharmacology
      (12.1)]. In addition, treatment of hyperlipidemia is not generally necessary during pregnancy. Atherosclerosis is a chronic process and
      the discontinuation of lipid-lowering drugs during pregnancy should have little impact on the outcome of long-term therapy of primary
      hyperlipidemia for most patients.

      Available data from case series and prospective and retrospective observational cohort studies over decades of use with statins in
      pregnant women have not identified a drug-associated risk of major congenital malformations. Published data from prospective and
      retrospective observational cohort studies with LIPITOR use in pregnant women are insufficient to determine if there is a drug-
      associated risk of miscarriage (see Data). In animal reproduction studies, no adverse developmental effects were observed in pregnant
      rats or rabbits orally administered atorvastatin at doses that resulted in up to 30 and 20 times, respectively, the human exposure at the
      maximum recommended human dose (MRHD) of 80 mg, based on body surface area (mg/m2). In rats administered atorvastatin during
      gestation and lactation, decreased postnatal growth and development delay were observed at doses ≥ 6 times the MRHD (see Data).

      The estimated background risk of major birth defects and miscarriage for the indicated population is unknown. In the U.S. general
      population, the estimated background risk of major birth defects and miscarriage in clinically recognized pregnancies is 2-4% and
      15-20%, respectively.

      Data
      Human Data
      A Medicaid cohort linkage study of 1152 statin-exposed pregnant women compared to 886,996 controls did not find a significant
      teratogenic effect from maternal use of statins in the first trimester of pregnancy, after adjusting for potential confounders – including
      maternal age, diabetes mellitus, hypertension, obesity, and alcohol and tobacco use – using propensity score-based methods. The
      relative risk of congenital malformations between the group with statin use and the group with no statin use in the first trimester was
      1.07 (95% confidence interval 0.85 to 1.37) after controlling for confounders, particularly pre-existing diabetes mellitus. There were
      also no statistically significant increases in any of the organ-specific malformations assessed after accounting for confounders. In the
      majority of pregnancies, statin treatment was initiated prior to pregnancy and was discontinued at some point in the first trimester
      when pregnancy was identified. Study limitations include reliance on physician coding to define the presence of a malformation, lack
      of control for certain confounders such as body mass index, use of prescription dispensing as verification for the use of a statin, and
      lack of information on non-live births.

      Animal Data
      Atorvastatin was administered to pregnant rats and rabbits during organogenesis at oral doses up to 300 mg/kg/day and 100
      mg/kg/day, respectively. Atorvastatin was not teratogenic in rats at doses up to 300 mg/kg/day or in rabbits at doses up to 100
      mg/kg/day. These doses resulted in multiples of about 30 times (rat) or 20 times (rabbit) the human exposure at the MRHD based on
      surface area (mg/m2). In rats, the maternally toxic dose of 300 mg/kg resulted in increased post-implantation loss and decreased fetal
      body weight. At the maternally toxic doses of 50 and 100 mg/kg/day in rabbits, there was increased post-implantation loss, and at 100
      mg/kg/day fetal body weights were decreased.

      In a study in pregnant rats administered 20, 100, or 225 mg/kg/day from gestation day 7 through to lactation day 20 (weaning), there
      was decreased survival at birth, postnatal day 4, weaning, and post-weaning in pups of mothers dosed with 225 mg/kg/day, a dose at
      which maternal toxicity was observed. Pup body weight was decreased through postnatal day 21 at 100 mg/kg/day, and through
      postnatal day 91 at 225 mg/kg/day. Pup development was delayed (rotorod performance at 100 mg/kg/day and acoustic startle at 225
      mg/kg/day; pinnae detachment and eye-opening at 225 mg/kg/day). These doses correspond to 6 times (100 mg/kg) and 22 times (225
      mg/kg) the human exposure at the MRHD, based on AUC.

      Atorvastatin crosses the rat placenta and reaches a level in fetal liver equivalent to that of maternal plasma.

      8.2      Lactation

      Risk Summary
      There is no information about the presence of atorvastatin in human milk, the effects of the drug on the breastfed infant or the effects
      of the drug on milk production. However, it has been shown that another drug in this class passes into human milk. Studies in rats
      have shown that atorvastatin and/or its metabolites are present in the breast milk of lactating rats. When a drug is present in animal
      milk, it is likely that the drug will be present in human milk (see Data). Statins, including LIPITOR, decrease cholesterol synthesis
      and possibly the synthesis of other biologically active substances derived from cholesterol and may cause harm to the breastfed infant.




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      Because of the potential for serious adverse reactions in a breastfed infant, based on the mechanism of action, advise patients that
      breastfeeding is not recommended during treatment with LIPITOR [see Use in Specific Populations (8.1), Clinical Pharmacology
      (12.1)].

      Data
      Following a single oral administration of 10 mg/kg of radioactive atorvastatin to lactating rats, the concentration of total radioactivity
      was determined. Atorvastatin and/or its metabolites were measured in the breast milk and pup plasma at a 2:1 ratio (milk:plasma).

      8.4      Pediatric Use

      The safety and effectiveness of LIPITOR as an adjunct to diet to reduce LDL-C have been established pediatric patients 10 years of
      age and older with HeFH. Use of LIPITOR for this indication is based on a double-blind, placebo-controlled clinical trial in 187
      pediatric patients 10 years of age and older with HeFH. In this limited controlled trial, there was no significant effect on growth or
      sexual maturation in the boys or girls, or on menstrual cycle length in girls.

      The safety and effectiveness of LIPITOR as an adjunct to other LDL-C-lowering therapies to reduce LDL-C have been established
      pediatric patients 10 years of age and older with HoFH. Use of LIPITOR for this indication is based on a trial without a concurrent
      control group in 8 pediatric patients 10 years of age and older with HoFH [see Clinical Studies (14)].

      The safety and effectiveness of LIPITOR have not been established in pediatric patients younger than 10 years of age with HeFH or
      HoFH, or in pediatric patients with other types of hyperlipidemia (other than HeFH or HoFH).

      8.5      Geriatric Use

      Of the total number of LIPITOR-treated patients in clinical trials, 15,813 (40%) were ≥65 years old and 2,800 (7%) were ≥75 years
      old. No overall differences in safety or effectiveness were observed between these patients and younger patients.

      Advanced age (≥65 years) is a risk factor for LIPITOR-associated myopathy and rhabdomyolysis. Dose selection for an elderly patient
      should be cautious, recognizing the greater frequency of decreased hepatic, renal, or cardiac function, and of concomitant disease or
      other drug therapy and the higher risk of myopathy. Monitor geriatric patients receiving LIPITOR for the increased risk of myopathy
      [see Warnings and Precautions (5.1) and Clinical Pharmacology (12.3)].

      8.6      Renal Impairment

      Renal impairment is a risk factor for myopathy and rhabdomyolysis. Monitor all patients with renal impairment for development of
      myopathy. Renal impairment does not affect the plasma concentrations of LIPITOR, therefore there is no dosage adjustment in
      patients with renal impairment [see Warnings and Precautions (5.1) and Clinical Pharmacology (12.3)].

      8.7      Hepatic Impairment

      In patients with chronic alcoholic liver disease, plasma concentrations of LIPITOR are markedly increased. Cmax and AUC are each
      4-fold greater in patients with Childs-Pugh A disease. Cmax and AUC are approximately 16-fold and 11-fold increased, respectively,
      in patients with Childs-Pugh B disease. LIPITOR is contraindicated in patients with acute liver failure or decompensated cirrhosis [see
      Contraindications (4)].

      10       OVERDOSAGE

      No specific antidotes for LIPITOR are known. Contact Poison Control (1-800-222-1222) for latest recommendations. Due to
      extensive drug binding to plasma proteins, hemodialysis is not expected to significantly enhance LIPITOR clearance.

      11       DESCRIPTION

      LIPITOR (atorvastatin) is an inhibitor of 3-hydroxy-3-methylglutaryl-coenzyme A (HMG-CoA) reductase.

      Atorvastatin calcium is [R-(R*, R*)]-2-(4-fluorophenyl)-ß, δ-dihydroxy-5-(1-methylethyl)-3-phenyl-4-[(phenylamino)carbonyl]-1H-
      pyrrole-1-heptanoic acid, calcium salt (2:1) trihydrate. The empirical formula of atorvastatin calcium is (C33H34FN2O5)2Ca•3H2O and
      its molecular weight is 1209.42. Its structural formula is:




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      Atorvastatin calcium is a white to off-white crystalline powder that is insoluble in aqueous solutions of pH 4 and below. Atorvastatin
      calcium is very slightly soluble in distilled water, pH 7.4 phosphate buffer, and acetonitrile; slightly soluble in ethanol; and freely
      soluble in methanol.

      LIPITOR tablets for oral use contain atorvastatin 10 mg, 20 mg, 40 mg, or 80 mg (equivalent to 10.36 mg, 20.72 mg, 41.44 mg, or
      82.88 mg atorvastatin calcium anhydrous) and the following inactive ingredients: calcium carbonate, USP; candelilla wax, FCC;
      croscarmellose sodium, NF; hydroxypropyl cellulose, NF; lactose monohydrate, NF; magnesium stearate, NF; microcrystalline
      cellulose, NF; Opadry White YS-1-7040 (hypromellose, polyethylene glycol, talc, titanium dioxide); polysorbate 80, NF; simethicone
      emulsion.

      12       CLINICAL PHARMACOLOGY

      12.1     Mechanism of Action

      LIPITOR is a selective, competitive inhibitor of HMG-CoA reductase, the rate-limiting enzyme that converts 3-hydroxy-3-
      methylglutaryl-coenzyme A to mevalonate, a precursor of sterols, including cholesterol. In animal models, LIPITOR lowers plasma
      cholesterol and lipoprotein levels by inhibiting HMG-CoA reductase and cholesterol synthesis in the liver and by increasing the
      number of hepatic LDL receptors on the cell surface to enhance uptake and catabolism of LDL; LIPITOR also reduces LDL
      production and the number of LDL particles.

      12.2     Pharmacodynamics

      LIPITOR, as well as some of its metabolites, are pharmacologically active in humans. The liver is the primary site of action and the
      principal site of cholesterol synthesis and LDL clearance. Drug dosage, rather than systemic drug concentration, correlates better with
      LDL-C reduction. Individualization of drug dosage should be based on therapeutic response [see Dosage and Administration (2)].

      12.3     Pharmacokinetics

      Absorption
      LIPITOR is rapidly absorbed after oral administration; maximum plasma concentrations occur within 1 to 2 hours. Extent of
      absorption increases in proportion to LIPITOR dose. The absolute bioavailability of atorvastatin (parent drug) is approximately 14%
      and the systemic availability of HMG-CoA reductase inhibitory activity is approximately 30%. The low systemic availability is
      attributed to presystemic clearance in gastrointestinal mucosa and/or hepatic first-pass metabolism. Although food decreases the rate
      and extent of drug absorption by approximately 25% and 9%, respectively, as assessed by Cmax and AUC, LDL-C reduction is
      similar whether LIPITOR is given with or without food. Plasma LIPITOR concentrations are lower (approximately 30% for Cmax and
      AUC) following evening drug administration compared with morning. However, LDL-C reduction is the same regardless of the time
      of day of drug administration.

      Distribution
      Mean volume of distribution of LIPITOR is approximately 381 liters. LIPITOR is ≥98% bound to plasma proteins. A blood/plasma
      ratio of approximately 0.25 indicates poor drug penetration into red blood cells.

      Elimination
      Metabolism
      LIPITOR is extensively metabolized to ortho- and parahydroxylated derivatives and various beta-oxidation products. In vitro
      inhibition of HMG-CoA reductase by ortho- and parahydroxylated metabolites is equivalent to that of LIPITOR. Approximately 70%
      of circulating inhibitory activity for HMG-CoA reductase is attributed to active metabolites. In vitro studies suggest the importance of
      LIPITOR metabolism by cytochrome P450 3A4, consistent with increased plasma concentrations of LIPITOR in humans following




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      co-administration with erythromycin, a known inhibitor of this isozyme [see Drug Interactions (7.1)]. In animals, the ortho-hydroxy
      metabolite undergoes further glucuronidation.

      Excretion
      LIPITOR and its metabolites are eliminated primarily in bile following hepatic and/or extra-hepatic metabolism; however, the drug
      does not appear to undergo enterohepatic recirculation. Mean plasma elimination half-life of LIPITOR in humans is approximately 14
      hours, but the half-life of inhibitory activity for HMG-CoA reductase is 20 to 30 hours due to the contribution of active metabolites.
      Less than 2% of a dose of LIPITOR is recovered in urine following oral administration.

      Specific Populations

      Geriatric
      Plasma concentrations of LIPITOR are higher (approximately 40% for Cmax and 30% for AUC) in healthy elderly subjects (age ≥65
      years) than in young adults.

      Pediatric
      Apparent oral clearance of atorvastatin in pediatric subjects appeared similar to that of adults when scaled allometrically by body
      weight as the body weight was the only significant covariate in atorvastatin population PK model with data including pediatric HeFH
      patients (ages 10 years to 17 years of age, n=29) in an open-label, 8-week study.

      Gender
      Plasma concentrations of LIPITOR in women differ from those in men (approximately 20% higher for Cmax and 10% lower for
      AUC); however, there is no clinically significant difference in LDL-C reduction with LIPITOR between men and women.

      Renal Impairment
      Renal disease has no influence on the plasma concentrations or LDL-C reduction of LIPITOR [see Use in Specific Populations (8.6)].

      While studies have not been conducted in patients with end-stage renal disease, hemodialysis is not expected to significantly enhance
      clearance of LIPITOR since the drug is extensively bound to plasma proteins.

      Hepatic Impairment
      In patients with chronic alcoholic liver disease, plasma concentrations of LIPITOR are markedly increased. Cmax and AUC are each
      4-fold greater in patients with Childs-Pugh A disease. Cmax and AUC are approximately 16-fold and 11-fold increased, respectively,
      in patients with Childs-Pugh B disease [see Use in Specific Populations (8.7)].

      Drug Interactions

      Atorvastatin is a substrate of the hepatic transporters, OATP1B1 and OATP1B3 transporter. Metabolites of atorvastatin are substrates
      of OATP1B1. Atorvastatin is also identified as a substrate of the efflux transporter BCRP, which may limit the intestinal absorption
      and biliary clearance of atorvastatin.

                               Table 5: Effect of Co-administered Drugs on the Pharmacokinetics of Atorvastatin

                             Co-administered drug and                                   Atorvastatin
                                  dosing regimen
                                                                Dose (mg)                   Ratio of AUC&      Ratio of
                                                                                                               Cmax&
                    #
                      Cyclosporine 5.2 mg/kg/day, stable dose   10 mg QDa for 28 days       8.69               10.66
                    #
                      Tipranavir 500 mg BIDb/ritonavir 200
                                                                10 mg SDc                   9.36               8.58
                    mg BIDb, 7 days
                    #
                      Glecaprevir 400 mg QDa/pibrentasvir
                                                                10 mg QDa for 7 days        8.28               22.00
                    120 mg QDa, 7 days
                    #
                      Telaprevir 750 mg q8hf, 10 days           20 mg SD   c
                                                                                            7.88               10.60
                    #, ‡
                         Saquinavir 400 mg BIDb/ritonavir 400
                                                                40 mg QDa for 4 days        3.93               4.31
                    mg BIDb, 15 days
                    #
                      Elbasvir 50 mg QDa/grazoprevir 200 mg
                                                                10 mg SDc                   1.94               4.34
                    QDa, 13 days
                    #
                      Simeprevir 150 mg QDa, 10 days            40 mg SDc                   2.12               1.70
                    #
                      Clarithromycin 500 mg BIDb, 9 days        80 mg QDa for 8 days        4.54               5.38
                    #
                      Darunavir 300 mg BIDb/ritonavir 100
                                                                10 mg QDa for 4 days        3.45               2.25
                    mg BIDb, 9 days



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                           Co-administered drug and                                        Atorvastatin
                                dosing regimen
                                                                  Dose (mg)                   Ratio of AUC&       Ratio of
                                                                                                                  Cmax&
                    #
                       Itraconazole 200 mg QDa, 4 days                40 mg SDc                    3.32           1.20
                    #
                       Letermovir 480 mg QD , 10 days
                                                 a
                                                                      20 mg SDc                    3.29           2.17
                     #
                       Fosamprenavir 700 mg BIDb/ritonavir
                                                                      10 mg QD for 4 days
                                                                                 a
                                                                                                   2.53               2.84
                     100 mg BIDb, 14 days
                     #
                       Fosamprenavir 1400 mg BIDb, 14 days            10 mg QDa for 4 days         2.30               4.04
                     #
                       Nelfinavir 1250 mg BID , 14 days
                                                   b
                                                                      10 mg QDa for 28 days        1.74               2.22
                     #
                       Grapefruit Juice, 240 mL QDa,*                 40 mg SDc                    1.37               1.16
                     Diltiazem 240 mg QDa, 28 days                    40 mg SDc                    1.51               1.00
                     Erythromycin 500 mg QIDe, 7 days                 10 mg SDc                    1.33               1.38
                     Amlodipine 10 mg, single dose                    80 mg SDc                    1.18               0.91
                     Cimetidine 300 mg QIDe, 2 weeks                  10 mg QDa for 2 weeks        1.00               0.89
                     Colestipol 10 g BIDb, 24 weeks                   40 mg QDa for 8 weeks        NA                 0.74**
                     Maalox TC® 30 mL QIDe, 17 days                   10 mg QDa for 15 days        0.66               0.67
                     Efavirenz 600 mg QDa, 14 days                    10 mg for 3 days             0.59               1.01
                     #
                       Rifampin 600 mg QDa, 7 days
                                                                      40 mg SD  c
                                                                                                   1.12               2.90
                     (co-administered) †
                     #
                       Rifampin 600 mg QDa, 5 days (doses
                                                                      40 mg SDc                    0.20               0.60
                     separated)†
                     #
                       Gemfibrozil 600 mg BID , 7 days
                                                    b
                                                                      40 mg SD  c
                                                                                                   1.35               1.00
                     #
                       Fenofibrate 160 mg QDa, 7 days                 40 mg SDc                    1.03               1.02
                     Boceprevir 800 mg TIDd, 7 days                   40 mg SDc                    2.32               2.66
                   &
                           Represents ratio of treatments (co-administered drug plus atorvastatin vs. atorvastatin alone).
                   #
                           See Sections 5.1 and 7 for clinical significance.
                   *       Greater increases in AUC (ratio of AUC up to 2.5) and/or Cmax (ratio of Cmax up to 1.71) have been reported with
                           excessive grapefruit consumption (≥ 750 mL-1.2 liters per day).
                   ** Ratio based on a single sample taken 8-16 h post dose.
                   †
                           Due to the dual interaction mechanism of rifampin, simultaneous co-administration of atorvastatin with rifampin is
                           recommended, as delayed administration of atorvastatin after administration of rifampin has been associated with a
                           significant reduction in atorvastatin plasma concentrations.
                   ‡
                           The dose of saquinavir plus ritonavir in this study is not the clinically used dose. The increase in atorvastatin
                           exposure when used clinically is likely to be higher than what was observed in this study. Therefore, caution should
                           be applied and the lowest dose necessary should be used.
                   a
                           Once daily
                   b
                           Twice daily
                   c
                           Single dose
                   d
                           Three times daily
                   e
                           Four times daily
                   f
                           Every 8 hours

                              Table 6: Effect of Atorvastatin on the Pharmacokinetics of Co-administered Drugs

                         Atorvastatin                              Co-administered drug and dosing regimen
                                                Drug/Dose (mg)                        Ratio of AUC        Ratio of Cmax
                     80 mg QDa for 15 days      Antipyrine, 600 mg SDc                1.03                0.89
                     80 mg QDa for 10 days      #
                                                  Digoxin 0.25 mg QDa, 20 days        1.15                1.20
                                                Oral contraceptive QDa, 2 months
                     40 mg QDa for 22 days      - norethindrone 1 mg                  1.28                1.23
                                                - ethinyl estradiol 35 µg             1.19                1.30
                                                Tipranavir 500 mg BIDb/ritonavir
                     10 mg SD c
                                                                                      1.08                0.96
                                                200 mg BIDb, 7 days
                                                Fosamprenavir 1400 mg BIDb, 14
                     10 mg QDa for 4 days                                             0.73                0.82
                                                days
                                                Fosamprenavir 700 mg
                     10 mg QDa for 4 days                                             0.99                0.94
                                                BIDb/ritonavir 100 mg BIDb, 14 days
                   #
                         See Section 7 for clinical significance.



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                   a
                        Once daily
                   b
                        Twice daily
                   c
                        Single dose

      LIPITOR had no clinically significant effect on prothrombin time when administered to patients receiving chronic warfarin treatment.

      13        NONCLINICAL TOXICOLOGY

      13.1      Carcinogenesis, Mutagenesis, Impairment of Fertility

      In a 2-year carcinogenicity study in rats at dose levels of 10, 30, and 100 mg/kg/day, 2 rare tumors were found in muscle in high-dose
      females: in one, there was a rhabdomyosarcoma and, in another, there was a fibrosarcoma. This dose represents a plasma AUC (0-24)
      value of approximately 16 times the mean human plasma drug exposure after an 80 mg oral dose.

      A 2-year carcinogenicity study in mice given 100, 200, or 400 mg/kg/day resulted in a significant increase in liver adenomas in
      high-dose males and liver carcinomas in high-dose females. These findings occurred at plasma AUC (0-24) values of approximately 6
      times the mean human plasma drug exposure after an 80 mg oral dose.

      In vitro, atorvastatin was not mutagenic or clastogenic in the following tests with and without metabolic activation: the Ames test with
      Salmonella typhimurium and Escherichia coli, the HGPRT forward mutation assay in Chinese hamster lung cells, and the
      chromosomal aberration assay in Chinese hamster lung cells. Atorvastatin was negative in the in vivo mouse micronucleus test.

      In female rats, atorvastatin at doses up to 225 mg/kg (56 times the human exposure) did not cause adverse effects on fertility. Studies
      in male rats performed at doses up to 175 mg/kg (15 times the human exposure) produced no changes in fertility. There was aplasia
      and aspermia in the epididymis of 2 of 10 rats treated with 100 mg/kg/day of atorvastatin for 3 months (16 times the human AUC at
      the 80 mg dose); testis weights were significantly lower at 30 and 100 mg/kg and epididymal weight was lower at 100 mg/kg. Male
      rats given 100 mg/kg/day for 11 weeks prior to mating had decreased sperm motility, spermatid head concentration, and increased
      abnormal sperm. Atorvastatin caused no adverse effects on semen parameters, or reproductive organ histopathology in dogs given
      doses of 10, 40, or 120 mg/kg for 2 years.

      14        CLINICAL STUDIES

      Prevention of Cardiovascular Disease

      In the Anglo-Scandinavian Cardiac Outcomes Trial (ASCOT), the effect of LIPITOR on fatal and non-fatal coronary heart disease
      was assessed in 10,305 patients with hypertension, 40-80 years of age (mean of 63 years; 19% women; 95% White, 3% Black, 1%
      South Asian, 1% other), without a previous myocardial infarction and with total cholesterol (TC) levels ≤251 mg/dL. Additionally, all
      patients had at least 3 of the following cardiovascular risk factors: male gender (81%), age >55 years (85%), smoking (33%), diabetes
      (24%), history of CHD in a first-degree relative (26%), TC:HDL >6 (14%), peripheral vascular disease (5%), left ventricular
      hypertrophy (14%), prior cerebrovascular event (10%), specific ECG abnormality (14%), proteinuria/albuminuria (62%). In this
      double-blind, placebo-controlled trial, patients were treated with anti-hypertensive therapy (goal BP <140/90 mm Hg for patients
      without diabetes; <130/80 mm Hg for patients with diabetes) and allocated to either LIPITOR 10 mg daily (n=5168) or placebo
      (n=5137), using a covariate adaptive method which took into account the distribution of nine baseline characteristics of patients
      already enrolled and minimized the imbalance of those characteristics across the groups. Patients were followed for a median duration
      of 3.3 years.

      The effect of 10 mg/day of LIPITOR on lipid levels was similar to that seen in previous clinical trials.

      LIPITOR significantly reduced the rate of coronary events [either fatal coronary heart disease (46 events in the placebo group vs. 40
      events in the LIPITOR group) or non-fatal MI (108 events in the placebo group vs. 60 events in the LIPITOR group)] with a relative
      risk reduction of 36% [(based on incidences of 1.9% for LIPITOR vs. 3.0% for placebo), p=0.0005 (see Figure 1)]. The risk reduction
      was consistent regardless of age, smoking status, obesity, or presence of renal dysfunction. The effect of LIPITOR was seen regardless
      of baseline LDL levels.

           Figure 1: Effect of LIPITOR 10 mg/day on Cumulative Incidence of Non-Fatal Myocardial Infarction or Coronary Heart
                                                     Disease Death (in ASCOT-LLA)




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      LIPITOR also significantly decreased the relative risk for revascularization procedures by 42% (incidences of 1.4% for LIPITOR and
      2.5% for placebo). Although the reduction of fatal and non-fatal strokes did not reach a pre-defined significance level (p=0.01), a
      favorable trend was observed with a 26% relative risk reduction (incidences of 1.7% for LIPITOR and 2.3% for placebo). There was
      no significant difference between the treatment groups for death due to cardiovascular causes (p=0.51) or noncardiovascular causes
      (p=0.17).

      In the Collaborative Atorvastatin Diabetes Study (CARDS), the effect of LIPITOR on cardiovascular disease (CVD) endpoints was
      assessed in 2838 subjects (94% White, 2% Black, 2% South Asian, 1% other; 68% male), ages 40-75 with type 2 diabetes based on
      WHO criteria, without prior history of cardiovascular disease and with LDL ≤160 mg/dL and triglycerides (TG) ≤600 mg/dL. In
      addition to diabetes, subjects had 1 or more of the following risk factors: current smoking (23%), hypertension (80%), retinopathy
      (30%), or microalbuminuria (9%) or macroalbuminuria (3%). No subjects on hemodialysis were enrolled in the trial. In this
      multicenter, placebo-controlled, double-blind clinical trial, subjects were randomly allocated to either LIPITOR 10 mg daily (1429) or
      placebo (1411) in a 1:1 ratio and were followed for a median duration of 3.9 years. The primary endpoint was the occurrence of any of
      the major cardiovascular events: myocardial infarction, acute CHD death, unstable angina, coronary revascularization, or stroke. The
      primary analysis was the time to first occurrence of the primary endpoint.

      Baseline characteristics of subjects were: mean age of 62 years, mean HbA1c 7.7%; median LDL-C 120 mg/dL; median TC 207
      mg/dL; median TG 151 mg/dL; median HDL-C 52 mg/dL.

      The effect of LIPITOR 10 mg/day on lipid levels was similar to that seen in previous clinical trials.

      LIPITOR significantly reduced the rate of major cardiovascular events (primary endpoint events) (83 events in the LIPITOR group vs.
      127 events in the placebo group) with a relative risk reduction of 37%, HR 0.63, 95% CI (0.48, 0.83) (p=0.001) (see Figure 2). An
      effect of LIPITOR was seen regardless of age, sex, or baseline lipid levels.

      LIPITOR significantly reduced the risk of stroke by 48% (21 events in the LIPITOR group vs. 39 events in the placebo group), HR
      0.52, 95% CI (0.31, 0.89) (p=0.016) and reduced the risk of MI by 42% (38 events in the LIPITOR group vs. 64 events in the placebo
      group), HR 0.58, 95.1% CI (0.39, 0.86) (p=0.007). There was no significant difference between the treatment groups for angina,
      revascularization procedures, and acute CHD death.

      There were 61 deaths in the LIPITOR group vs. 82 deaths in the placebo group (HR 0.73, p=0.059).

       Figure 2: Effect of LIPITOR 10 mg/day on Time to Occurrence of Major Cardiovascular Event (myocardial infarction, acute
                              CHD death, unstable angina, coronary revascularization, or stroke) in CARDS




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                                                             15
                                                                               Placebo
                                                                            Atorvastatin




                              Cumulative Hazard (%)
                                                             10




                                                             5



                                                                                                                 HR 0.63 (0.48-0.83) p=0.001
                                                             0
                                                                                  1               2              3              4              5
                                                                     Time to First Primary Endpoint Through Four (4) Years of Follow-up (Years)


      In the Treating to New Targets Study (TNT), the effect of LIPITOR 80 mg/day vs. LIPITOR 10 mg/day on the reduction in
      cardiovascular events was assessed in 10,001 subjects (94% White, 81% male, 38% ≥65 years) with clinically evident coronary heart
      disease who had achieved a target LDL-C level <130 mg/dL after completing an 8-week, open-label, run-in period with LIPITOR 10
      mg/day. Subjects were randomly assigned to either 10 mg/day or 80 mg/day of LIPITOR and followed for a median duration of 4.9
      years. The primary endpoint was the time-to-first occurrence of any of the following major cardiovascular events (MCVE): death due
      to CHD, non-fatal myocardial infarction, resuscitated cardiac arrest, and fatal and non-fatal stroke. The mean LDL-C, TC, TG, non-
      HDL, and HDL cholesterol levels at 12 weeks were 73, 145, 128, 98, and 47 mg/dL during treatment with 80 mg of LIPITOR and 99,
      177, 152, 129, and 48 mg/dL during treatment with 10 mg of LIPITOR.

      Treatment with LIPITOR 80 mg/day significantly reduced the rate of MCVE (434 events in the 80 mg/day group vs. 548 events in the
      10 mg/day group) with a relative risk reduction of 22%, HR 0.78, 95% CI (0.69, 0.89), p=0.0002 (see Figure 3 and Table 7). The
      overall risk reduction was consistent regardless of age (<65, ≥65) or sex.

           Figure 3: Effect of LIPITOR 80 mg/day vs. 10 mg/day on Time to Occurrence of Major Cardiovascular Events (TNT)

                                                             0.2
                           Subjects (%) Experiencing Event




                                                                           Atorvastatin 10 mg
                                                                           Atorvastatin 80 mg


                                                             0.1




                                                                                                                      HR 0.78 (0.69-0.89) P=0.0002
                                                                 0
                                                                     0                1               2                3               4                5
                                                                                      Time to First Major Cardiovascular Endpoint (Years)


                                                                                 Table 7: Overview of Efficacy Results in TNT

                    Endpoint                                                                       Atorvastatin            Atorvastatin
                                                                                                      10 mg                   80 mg                HRa (95%CI)
                                                                                                    (N=5006)                 (N=4995)
                    PRIMARY ENDPOINT                                                               n       (%)             n        (%)




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                     First major cardiovascular endpoint        548     (10.9)      434         (8.7)      0.78 (0.69, 0.89)
                     Components of the Primary Endpoint
                     CHD death                                  127       (2.5)     101         (2.0)      0.80 (0.61, 1.03)
                     Non-fatal, non-procedure related MI        308       (6.2)     243         (4.9)      0.78 (0.66, 0.93)
                     Resuscitated cardiac arrest                 26       (0.5)      25         (0.5)      0.96 (0.56, 1.67)
                     Stroke (fatal and non-fatal)               155       (3.1)     117         (2.3)      0.75 (0.59, 0.96)
                     SECONDARY ENDPOINTS*
                     First CHF with hospitalization             164       (3.3)     122         (2.4)      0.74 (0.59, 0.94)
                     First PVD endpoint                         282       (5.6)     275         (5.5)      0.97 (0.83, 1.15)
                     First CABG or other coronary               904     (18.1)      667        (13.4)      0.72 (0.65, 0.80)
                     revascularization procedureb
                     First documented angina endpointb          615     (12.3)      545        (10.9)      0.88 (0.79, 0.99)
                     All-cause mortality                        282       (5.6)     284         (5.7)      1.01 (0.85, 1.19)
                     Components of All-Cause Mortality
                     Cardiovascular death                       155       (3.1)     126         (2.5)      0.81 (0.64, 1.03)
                     Noncardiovascular death                    127       (2.5)     158         (3.2)      1.25 (0.99, 1.57)
                     Cancer death                                75       (1.5)      85         (1.7)      1.13 (0.83, 1.55)
                     Other non-CV death                          43       (0.9)      58         (1.2)      1.35 (0.91, 2.00)
                     Suicide, homicide, and other traumatic       9       (0.2)      15         (0.3)      1.67 (0.73, 3.82)
                     non-CV death
                   a
                     Atorvastatin 80 mg: atorvastatin 10 mg
                   b
                      Component of other secondary endpoints
                   * Secondary endpoints not included in primary endpoint
                   HR=hazard ratio; CHD=coronary heart disease; CI=confidence interval; MI=myocardial infarction; CHF=congestive
                   heart failure; CV=cardiovascular; PVD=peripheral vascular disease; CABG=coronary artery bypass graft
                   Confidence intervals for the Secondary Endpoints were not adjusted for multiple comparisons

      Of the events that comprised the primary efficacy endpoint, treatment with LIPITOR 80 mg/day significantly reduced the rate of
      non-fatal, non-procedure related MI and fatal and non-fatal stroke, but not CHD death or resuscitated cardiac arrest (Table 7). Of the
      predefined secondary endpoints, treatment with LIPITOR 80 mg/day significantly reduced the rate of coronary revascularization,
      angina, and hospitalization for heart failure, but not peripheral vascular disease. The reduction in the rate of CHF with hospitalization
      was only observed in the 8% of patients with a prior history of CHF.

      There was no significant difference between the treatment groups for all-cause mortality (Table 7). The proportions of subjects who
      experienced cardiovascular death, including the components of CHD death and fatal stroke, were numerically smaller in the LIPITOR
      80 mg group than in the LIPITOR 10 mg treatment group. The proportions of subjects who experienced noncardiovascular death were
      numerically larger in the LIPITOR 80 mg group than in the LIPITOR 10 mg treatment group.

      Primary Hyperlipidemia in Adults

      LIPITOR reduces total-C, LDL-C, apo B, and TG, and increases HDL-C in patients with hyperlipidemia (heterozygous familial and
      nonfamilial) and mixed dyslipidemia. Therapeutic response is seen within 2 weeks, and maximum response is usually achieved within
      4 weeks and maintained during chronic therapy.

      In two multicenter, placebo-controlled, dose-response trials in patients with hyperlipidemia, LIPITOR given as a single dose over 6
      weeks, significantly reduced total-C, LDL-C, apo B, and TG. (Pooled results are provided in Table 8.)

               Table 8: Dose Response in Patients with Primary Hyperlipidemia (Adjusted Mean % Change From Baseline)a




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                                      Dose            N               TC    LDL-C      Apo B       TG      HDL-C

                                    Placebo           21              4        4         3         10           -3

                                       10             22              -29     -39       -32        -19          6

                                       20             20              -33     -43       -35        -26          9

                                       40             21              -37     -50       -42        -29          6

                                       80             23              -45     -60       -50        -37          5
                a
                    Results are pooled from 2 dose-response trials.

      In three multicenter, double-blind trials in patients with hyperlipidemia, LIPITOR was compared to other statins. After randomization,
      patients were treated for 16 weeks with either LIPITOR 10 mg per day or a fixed dose of the comparative agent (Table 9).

           Table 9: Mean Percentage Change From Baseline at Endpoint (Double-Blind, Randomized, Active-Controlled Trials)

                                 Treatment
                                (Daily Dose)           N       Total-C     LDL-C         Apo B            TG          HDL-C
                          Trial 1
                          LIPITOR 10 mg              707         -27a       -36a          -28a           -17a           +7
                          Lovastatin 20 mg           191         -19         -27           -20             -6           +7
                          95% CI for Diff1                    -9.2, -6.5 -10.7, -7.1 -10.0, -6.5 -15.2, -7.1 -1.7, 2.0
                          Trial 2
                          LIPITOR 10 mg              222         -25b       -35b          -27b           -17b           +6
                          Pravastatin 20 mg           77         -17         -23           -17             -9           +8
                          95% CI for Diff1                   -10.8, -6.1 -14.5, -8.2 -13.4, -7.4 -14.1, -0.7 -4.9, 1.6
                          Trial 3
                          LIPITOR 10 mg              132         -29c       -37c          -34c           -23c           +7
                          Simvastatin 10 mg           45         -24         -30           -30            -15           +7
                          95% CI for Diff1                    -8.7, -2.7 -10.1, -2.6 -8.0, -1.1 -15.1, -0.7 -4.3, 3.9
                1
                  A negative value for the 95% CI for the difference between treatments favors LIPITOR for all except HDL-C, for which a
                positive value favors LIPITOR. If the range does not include 0, this indicates a statistically significant difference.
                a
                  Significantly different from lovastatin, ANCOVA, p ≤0.05
                b
                  Significantly different from pravastatin, ANCOVA, p ≤0.05
                c
                  Significantly different from simvastatin, ANCOVA, p ≤0.05

      Table 9 does not contain data comparing the effects of LIPITOR 10 mg and higher doses of lovastatin, pravastatin, and simvastatin.
      The drugs compared in the trials summarized in the table are not necessarily interchangeable.

      Hypertriglyceridemia in Adults

      The response to LIPITOR in 64 patients with isolated hypertriglyceridemia treated across several clinical trials is shown in the table
      below (Table 10). For the LIPITOR-treated patients, median (min, max) baseline TG level was 565 (267-1502).

              Table 10: Combined Patients with Isolated Elevated TG: Median (min, max) Percentage Change From Baseline

                                          Placebo               LIPITOR 10 mg              LIPITOR 20 mg               LIPITOR 80 mg
                                          (N=12)                     (N=37)                     (N=13)                      (N=14)
           Triglycerides            -12.4 (-36.6, 82.7)        -41.0 (-76.2, 49.4)        -38.7 (-62.7, 29.5)         -51.8 (-82.8, 41.3)
           Total-C                   -2.3 (-15.5, 24.4)        -28.2 (-44.9, -6.8)       -34.9 (-49.6, -15.2)         -44.4 (-63.5, -3.8)
           LDL-C                     3.6 (-31.3, 31.6)          -26.5 (-57.7, 9.8)         -30.4 (-53.9, 0.3)        -40.5 (-60.6, -13.8)
           HDL-C                     3.8 (-18.6, 13.4)           13.8 (-9.7, 61.5)          11.0 (-3.2, 25.2)          7.5 (-10.8, 37.2)
           non-HDL-C                 -2.8 (-17.6, 30.0)       -33.0 (-52.1, -13.3)       -42.7 (-53.7, -17.4)         -51.5 (-72.9, -4.3)

      Dysbetalipoproteinemia in Adults




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      The results of an open-label crossover trial of 16 patients (genotypes: 14 apo E2/E2 and 2 apo E3/E2) with dysbetalipoproteinemia are
      shown in the table below (Table 11).

                  Table 11: Open-Label Crossover Trial of 16 Patients with Dysbetalipoproteinemia (Fredrickson Type III)

                                                                                       Median % Change (min, max)
                                                        Median (min, max) at             LIPITOR        LIPITOR
                                                         Baseline (mg/dL)                 10 mg          80 mg
                              Total-C                     442 (225, 1320)             -37 (-85, 17)  -58 (-90, -31)
                              Triglycerides               678 (273, 5990)              -39 (-92, -8) -53 (-95, -30)
                              IDL-C + VLDL-C               215 (111, 613)               -32 (-76, 9)  -63 (-90, -8)
                              non-HDL-C                   411 (218, 1272)             -43 (-87, -19) -64 (-92, -36)

      HoFH in Adults and Pediatric Patients

      In a trial without a concurrent control group, 29 patients (mean age of 22 years, median age of 24 years, 31% <18 years) with HoFH
      received maximum daily doses of 20 to 80 mg of LIPITOR. The mean LDL-C reduction in this trial was 18%. Twenty-five patients
      with a reduction in LDL-C had a mean response of 20% (range of 7% to 53%, median of 24%); the remaining 4 patients had 7% to
      24% increases in LDL-C. Five of the 29 patients had absent LDL-receptor function. Of these, 2 patients also had a portacaval shunt
      and had no significant reduction in LDL-C. The remaining 3 receptor-negative patients had a mean LDL-C reduction of 22%.

      HeFH in Pediatric Patients

      In a double-blind, placebo-controlled trial followed by an open-label phase, 187 boys and post-menarchal girls 10 years to 17 years of
      age (mean age 14.1 years; 31% female; 92% White, 1.6% Blacks, 1.6% Asians, 4.8% other) with heterozygous familial
      hypercholesterolemia (HeFH) or severe hypercholesterolemia, were randomized to LIPITOR (n=140) or placebo (n=47) for 26 weeks
      and then all received LIPITOR for 26 weeks. Inclusion in the trial required 1) a baseline LDL-C level ≥190 mg/dL or 2) a baseline
      LDL-C level ≥160 mg/dL and positive family history of FH or documented premature cardiovascular disease in a first or second-
      degree relative. The mean baseline LDL-C value was 219 mg/dL (range: 139-385 mg/dL) in the LIPITOR group compared to 230
      mg/dL (range: 160-325 mg/dL) in the placebo group. The dosage of LIPITOR (once daily) was 10 mg for the first 4 weeks and
      uptitrated to 20 mg if the LDL-C level was >130 mg/dL. The number of LIPITOR-treated patients who required uptitration to 20 mg
      after Week 4 during the double-blind phase was 78 (56%).

      LIPITOR significantly decreased plasma levels of total-C, LDL-C, triglycerides, and apolipoprotein B during the 26-week
      double-blind phase (see Table 12).

       Table 12: Lipid-altering Effects of LIPITOR in Adolescent Boys and Girls with Heterozygous Familial Hypercholesterolemia
         or Severe Hypercholesterolemia (Mean Percentage Change From Baseline at Endpoint in Intention-to-Treat Population)


                             DOSAGE        N      Total-C         LDL-C     HDL-C          TG      Apolipoprotein B

                             Placebo       47       -1.5           -0.4        -1.9        1.0            0.7

                             LIPITOR      140       -31.4         -39.6        2.8        -12.0          -34.0


      The mean achieved LDL-C value was 130.7 mg/dL (range: 70.0-242.0 mg/dL) in the LIPITOR group compared to 228.5 mg/dL
      (range: 152.0-385.0 mg/dL) in the placebo group during the 26-week double-blind phase.

      Atorvastatin was also studied in a three year open-label, uncontrolled trial that included 163 patients with HeFH who were 10 years to
      15 years old (82 boys and 81 girls). All patients had a clinical diagnosis of HeFH confirmed by genetic analysis (if not already
      confirmed by family history). Approximately 98% were White, and less than 1% were Black or Asian. Mean LDL-C at baseline was
      232 mg/dL. The starting atorvastatin dosage was 10 mg once daily and doses were adjusted to achieve a target of <130 mg/dL LDL-C.
      The reductions in LDL-C from baseline were generally consistent across age groups within the trial as well as with previous clinical
      trials in both adult and pediatric placebo-controlled trials.

      16       HOW SUPPLIED/STORAGE AND HANDLING

      LIPITOR tablets are supplied as follows:
       Strength            How Supplied                     NDC              Tablet Description



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        10 mg              bottles of 90                  0071-0155-23       white elliptical, film-coated tablets with
        of atorvastatin    10 x 10 unit dose blisters     0071-0155-40       “PD 155” on one side and “10” on the other
        20 mg              bottles of 90                  0071-0156-23       white elliptical, film-coated tablets with
        of atorvastatin    10 x 10 unit dose blisters     0071-0156-40       “PD 156” on one side and “20” on the other
        40 mg              bottles of 90                  0071-0157-23       white elliptical, film-coated tablets with
        of atorvastatin    10 x 10 unit dose blisters     0071-0157-40       “PD 157” on one side and “40” on the other
        80 mg              bottles of 90                  0071-0158-23       white elliptical, film-coated tablets with
        of atorvastatin    8 x 8 unit dose blisters       0071-0158-92       “PD 158” on one side and “80” on the other

      Storage
      Store at controlled room temperature 20 - 25°C (68 - 77°F).

      17       PATIENT COUNSELING INFORMATION

      Advise the patient to read the FDA-approved patient labeling (Patient Information).

      Myopathy and Rhabdomyolysis
      Advise patients that LIPITOR may cause myopathy and rhabdomyolysis. Inform patients that the risk is also increased when taking
      certain types of medication or consuming large quantities of grapefruit juice and they should discuss all medication, both prescription
      and over the counter, with their healthcare provider. Instruct patients to promptly report any unexplained muscle pain, tenderness or
      weakness particularly if accompanied by malaise or fever [see Warnings and Precautions (5.1), Drug Interactions (7.1)].

      Hepatic Dysfunction
      Inform patients that LIPITOR may cause liver enzyme elevations and possibly liver failure. Advise patients to promptly report fatigue,
      anorexia, right upper abdominal discomfort, dark urine or jaundice [see Warnings and Precautions (5.3)].

      Increases in HbA1c and Fasting Serum Glucose Levels
      Inform patients that increases in HbA1c and fasting serum glucose levels may occur with LIPITOR. Encourage patients to optimize
      lifestyle measures, including regular exercise, maintaining a healthy body weight, and making healthy food choices [see Warnings and
      Precautions (5.4)].

      Pregnancy
      Advise pregnant patients and patients who can become pregnant of the potential risk to a fetus. Advise patients to inform their
      healthcare provider of a known or suspected pregnancy to discuss if LIPITOR should be discontinued [see Use in Specific Populations
      (8.1)].

      Lactation
      Advise patients that breastfeeding is not recommended during treatment with LIPITOR [see Use in Specific Populations (8.2)].

      This product’s labeling may have been updated. For the most recent prescribing information, please visit www.lipitor.com.


      Distributed by:
      Viatris Specialty LLC
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                    RCM # 2007-525
                    NDA 020687
                    ANDA 091178
                    Mifepristone U.S. Post-Marketing Adverse Events Summary through 06/30/2021

                    The following information is from United States (U.S.) post-marketing reports received by FDA
                    of adverse events that occurred among patients who had taken mifepristone for medical
                    termination of pregnancy. Because FDA has eliminated duplicate reports, and in some cases,
                    reclassified the adverse event terms for individual cases after reviewing the narrative details,
                    the numbers provided here may differ from the numbers of the reports that may be obtained
                    through Freedom of Information Act requests. These events cannot with certainty be causally
                    attributed to mifepristone because of information gaps about patient health status, clinical
                    management of the patient, concurrent drug use, and other possible medical or surgical
                    treatments and conditions. The estimated number of women who have used mifepristone in
                    the U.S. for medical termination of pregnancy through the end of June 2021 is approximately
                    4.9 million women.

                    For informational purposes, fatal foreign cases that were reported after U.S. approval of
                    mifepristone for medical termination of pregnancy are also included in a footnote in Table 1.
                    Table 1. Cumulative Post-Marketing Fatal and Ectopic Pregnancy Reports in U.S. Women Who
                    Used Mifepristone for Medical Termination of Pregnancy
                    for
                    DateMedical Termination
                         range of cumulative of Pregnancy
                                             reports                         09/28/00† - 06/30/21
                    Died ‡                                                           26
                    *Ectopic pregnancies ||                                                       97
                    †
                         U.S. approval date
                    ‡
                      The fatal cases are included regardless of causal attribution to mifepristone. Deaths were associated with
                    sepsis in eight of the 26 reported fatalities (seven cases tested positive for Clostridium sordellii, and one case
                    tested positive for Clostridium perfringens). Seven of the eight fatal sepsis cases reported vaginal misoprostol
                    use; one case reported buccal misoprostol use. Seventeen of the 18 remaining U.S. deaths involved two cases
                    of homicide, two cases of combined drug intoxication/overdose, two cases of ruptured ectopic pregnancy, two
                    cases of drug intoxication, and one case each of the following: substance abuse/drug overdose; methadone
                    overdose; suspected homicide; suicide; delayed onset toxic shock-like syndrome; hemorrhage; bilateral
                    pulmonary thromboemboli; unintentional overdose resulting in liver failure; and a case of natural death due to
                    severe pulmonary emphysema. In the eighteenth case, the cause of death could not be established despite
                    performance of an autopsy; tissue samples were negative for C. sordellii. There were 12 additional reported
                    deaths in women in foreign countries who used mifepristone for medical termination of pregnancy. These
                    fatal cases were associated with the following: sepsis (Clostridium sordellii identified in tissue samples) in a
                    foreign clinical trial; sepsis (Group A Streptococcus pyogenes); a ruptured gastric ulcer; severe hemorrhage;
                    severe hemorrhage and possible sepsis; “multivisceral failure;” thrombotic thrombocytopenic purpura
                    leading to intracranial hemorrhage; toxic shock syndrome (Clostridium sordellii was identified through uterine
                    biopsy cultures); asthma attack with cardiac arrest; thromboembolism; respiratory decompensation with
                    secondary pulmonary infection 30 days after mifepristone in a patient on the lung transplant list with
                    diabetes, a jejunostomy feeding tube, and severe cystic fibrosis; and a case of Clostridium septicum sepsis
                    (from a published literature report).
                    * The majority of these women are included in the hospitalized category in Table 2.
                    ||
                      Administration of mifepristone and misoprostol is contraindicated in patients with confirmed or
                    suspected ectopic pregnancy (a pregnancy outside the uterus).


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                    Table 2. Post-Marketing Adverse Events in U.S. Women Who Used Mifepristone for Medical
                    Termination of Pregnancy
                    Date ranges of reports
                                                             09/28/00† - 10/31/12      11/01/12 - 06/30/21‡
                    received

                    Cases with any adverse event                             2740                              1467

                    Hospitalized, excluding deaths                           768                                277

                    *Experienced blood loss requiring
                                                                             416                                187
                     transfusions §
                    Infections ||                                            308                                105
                    (*Severe infections ¶)                                   (57)                               (13)
                    †
                         U.S. approval date
                    ‡
                      FDA implemented the FDA Adverse Event Reporting System (FAERS) on September 10, 2012, and migrated
                    all the data from the previous reporting system (AERS) to FAERS. Differences may exist when comparing case
                    counts in AERS and FAERS. FDA validated and recoded product information as the AERS reports were
                    migrated to FAERS. As a result of this change, it is not recommended to calculate a cumulative number when
                    reviewing the data provided in Table 2.
                    * The majority of these women are included in the hospitalized category in Table 2.
                    §
                      As stated in the approved labeling for Mifeprex (mifepristone) and its approved generic version, bleeding or
                    spotting can be expected for an average of 9-16 days, and may last for up to 30 days. Excessive vaginal
                    bleeding usually requires treatment by uterotonics, vasoconstrictor drugs, curettage, administration of saline
                    infusions, and/or blood transfusions.
                    ||
                      This category includes endometritis (inflammation resulting from an infection involving the lining of the
                    womb), pelvic inflammatory disease (involving the nearby reproductive organs such as the fallopian tubes or
                    ovaries), and pelvic infections with sepsis (a serious systemic infection that has spread beyond the
                    reproductive organs). Not included are women with reported sexually transmitted infections such as
                    chlamydia and gonorrhea, cystitis, and toxic shock syndrome not associated with a pelvic infection.
                    ¶
                     This subset of infections includes cases that were determined to be severe based on medical review of the
                    available case details. Severe infections generally result in death or hospitalization for at least 2-3 days,
                    require intravenous antibiotics for at least 24 hours and total antibiotic usage for at least 3 days, or have
                    other physical or clinical findings, laboratory data, or surgery that suggest a severe infection.




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                                No. 23-10362

          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT

  ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION OF
 PRO-LIFE OBSTETRICIANS & GYNECOLOGISTS; AMERICAN COLLEGE OF
PEDIATRICIANS; CHRISTIAN MEDICAL & DENTAL ASSOCIATIONS; SHAUN
    JESTER, D.O.; REGINA FROST-CLARK, M.D.; TYLER JOHNSON, D.O.;
                       GEORGE DELGADO, M.D.,
                                       Plaintiffs-Appellees,
                                 v.

U.S. FOOD AND DRUG ADMINISTRATION; ROBERT M. CALIFF, Commissioner
of Food and Drugs; JANET WOODCOOK, M.D., in her official capacity as Principal
      Deputy Commissioner, U.S. Food and Drug Administration; PATRIZIA
CAVAZZONI, M.D., in her official capacity as Director, Center for Drug Evaluation
       and Research, U.S. Food and Drug Administration; UNITED STATES
   DEPARTMENT OF HEALTH AND HUMAN SERVICES; XAVIER BECERRA,
           Secretary, U.S. Department of Health and Human Services,
                                               Defendants-Appellants,

                       DANCO LABORATORIES, L.L.C.,
                                       Intervenor-Appellant.


              ADDENDUM TO EMERGENCY MOTION
                FOR A STAY PENDING APPEAL

                                           BRIAN M. BOYNTON
                                            Principal Deputy Assistant
                                            Attorney General
                                           LEIGHA SIMONTON
                                            United States Attorney
                                           SARAH E. HARRINGTON
                                            Deputy Assistant Attorney
                                            General
                                           MICHAEL S. RAAB
                                           CYNTHIA A. BARMORE
                                            Civil Division, Appellate Staff
                                            U.S. Department of Justice
                                            950 Pennsylvania Ave., NW
                                            Washington, DC 20530
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          1 Recommendations/Risk Benefit Assessment
          This NDA supplement from the Applicant, Danco Laboratories, LLC (called Danco or the
          Applicant throughout this clinical review), requested the following changes to the NDA
          for Mifeprex, approved 15 years ago in September 2000.
          Changes proposed by the Applicant:
              1. Change the dosing regimen: Decrease mifepristone dose from 600 to 200 mg,
                  followed by misoprostol at a dose increased from 400 mcg to 800 mcg,
                  administered buccally instead of orally
              2. Remove the statement in labeling that administration of misoprostol must be
                  done in-clinic, to allow for administration at home or other location convenient for
                  the woman.
              3. Administration of misoprostol at 24-48 hours instead of 48 hours after Mifeprex
              4. Follow-up needed, but not restricted to in-clinic at 14 days after Mifeprex
              5. Increase the gestational age from 49 days to 70 days
              6. Change the labeled time for expulsion of the products of conception from 4-24
                  hours to 2-24 hours post misoprostol administration
              7. Add that a repeat 800 mcg buccal dose of misoprostol may be used if needed
              8. Change “physician” to “                             (b) (4) in the label and Risk

                  Evaluation and Mitigation Strategies (REMS) document
              9. Change indication to add reference to use of misoprostol: “Mifeprex is indicated,
                  in a regimen with misoprostol, for the medical termination of pregnancy through
                  70 days gestation.”
              10. Remove references to “under Federal law” from the Prescriber’s Agreement
              11. Address the Pediatric Research Equity Act (PREA) requirement for pediatric
                  studies
          Each of these 11 items will be discussed in the appropriate section of this review,
          generally under Section 6: Review of Efficacy and Section 7: Review of Safety. Four of
          the items, namely Number 8-11, are primarily regulatory and/or legal. They are
          discussed in Sections 1.3 and 9.4 (REMS recommendations and Prescriber’s
          Agreement), 7.6.4 (PREA), and 9.2 (Labeling recommendation). Additional information
          is found in Section 7.7 (2) on the change to “                                 (b) (4) Section 7.7

          (3) on “under Federal law”, and Section 7.7 (4) on the reference to use of misoprostol.

          1.1 Recommendation on Regulatory Action
          The clinical reviewers recommend an approval action for this efficacy supplement.




                                                                                                          5

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          1.2 Risk Benefit Assessment
              1. Decrease mifepristone dose from 600 to 200 mg, followed by misoprostol at a
                 dose increased from 400 mcg to 800 mcg, administered buccally instead of
                 orally.
                 The Applicant has submitted sufficient evidence from the published medical
                 literature to demonstrate that decreasing the dose of Mifeprex from 600 mg to
                 200 mg while increasing the dose of misoprostol from 400 to 800 mcg is safe and
                 efficacious for termination of pregnancy through 70 days gestation. The
                 risk/benefit balance favors approval.
                  There is sufficient evidence that a dosing regimen with buccal administration of
                  800 mcg misoprostol is safe and effective. This change in the dosing regimen
                  should be approved.
              2. Allow administration of misoprostol outside of the clinic:
                 Based on the evidence submitted by the Applicant, a dosing regimen that
                 includes administration of misoprostol outside of the clinic is safe and effective
                 for termination of pregnancy through 70 days gestation; labeling should be
                 revised to remove the requirement for in-clinic dosing of misoprostol
              3. Administration of misoprostol at 24-48 hours instead of 48 hours after Mifeprex:
                 The available evidence supports that a dosing regimen that provides for
                 administration of misoprostol 24-48 hours after administration of Mifeprex is safe
                 and effective. The risk/benefit assessment demonstrates that this change in the
                 dosing regimen should be approved.
              4. Follow-up needed, but not restricted to in-clinic at 14 days after Mifeprex:
                 Based on the evidence submitted by the Applicant supporting this change,
                 flexibility in timing and method of follow-up after medical abortion is safe.
                 Labeling should be revised to remove the requirement for in-clinic follow-up at 14
                 days.
              5. Increase the gestational age from 49 days to 70 days:
                 As detailed in the following review, the Applicant has submitted sufficient
                 evidence for the safety and efficacy of medical abortion with Mifeprex, in a
                 regimen with misoprostol, through 70 days gestation. The risk/benefit
                 assessment supports the approval of the new dosing regimen up through 70
                 days gestation.
              6. Change the labeled time for expulsion of the products of conception from 4-24
                 hours to 2-24 hours post misoprostol administration:
                 The Applicant has submitted sufficient data from the published medical literature
                 to support approval of a change in the label to note time to expulsion ranges from
                 2-24 hours.
              7. Add that a repeat 800 mcg buccal dose of misoprostol may be used if needed:


                                                                                                      6

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                  The Applicant has submitted sufficient evidence to support that a repeat dose of
                  misoprostol may be used through 70 days gestation to complete expulsion of the
                  products of conception if needed. The risk/benefit assessment supports approval
                  of this change. There have been rare reports of uterine rupture with use of
                  misoprostol in women with prior uterine scar(s). This information should be
                  added to the Mifeprex label.
              8. Change “physician” to “                               (b) (4) in the labeling and Risk

                 Evaluation and Mitigation Strategies (REMS) document:
                 The Applicant has submitted sufficient data to support that Mifeprex is safe and
                 effective when prescribed by midlevel practitioners as well as by physicians.
                 Therefore, the term “licensed physician” was changed in the label and REMS
                 materials to “healthcare provider who prescribes.” This broader category of
                 providers will still have to meet the certification criteria specified in the Prescriber
                 Agreement Form.
              9. Change the approved indication to add reference to use of misoprostol: “Mifeprex
                 is indicated, in a regimen with misoprostol, for the medical termination of
                 intrauterine pregnancy through 70 days gestation.” Based on current Agency
                 labeling practice regarding drugs used together in a treatment regimen, the
                 addition of misoprostol to the Indication Statement for Mifeprex should be
                 approved.
              10. Remove references to “under Federal law” from the Prescriber Agreement:
                  The Agency has determined that there is no precedent for using this phrase in
                  other REMS, nor is there any clinical rationale for including it; therefore, it is
                  acceptable to remove “under Federal law” from the Prescriber Agreement Form.
              11. Address the Pediatric Research Equity Act (PREA) requirement for pediatric
                  studies:
                  The Applicant has submitted sufficient evidence from the published medical
                  literature to address the PREA requirement for this supplemental application. The
                  Applicant has demonstrated that Mifeprex is safe and effective in postmenarchal
                  females, including those under 17 years of age.     (b) (6) concurred with granting a

                  partial waiver under PREA in patients ages birth to 12 years of age who are
                  premenarche.


          1.3 Recommendations for Postmarket Risk Evaluation and Mitigation
              Strategies
          Changes proposed in this efficacy supplement entailed a number of modifications to the
          current Risk Evaluation and Mitigation Strategy (REMS) for Mifeprex. See Section 9.4
          for full details. The                                                     (b) (6) ( (b) (6)

          concurs with the                             (b) (6) ( (b) (6) evaluation of the REMS

          modifications, which include:


                                                                                                        7

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          NDA 020687/S-020- Mifeprex

                     Removal of “under Federal law” from the Prescriber Agreement Form is
                      acceptable (see discussion in Additional Submissions / Issues).
                     The term “healthcare providers who prescribe” is preferable to the Applicant’s
                      proposed “                           (b) (4) (see discussion in Additional

                      Submissions / Issues).
                     It is appropriate to modify the current adverse event reporting requirements
                      under the REMS, which are currently outlined in the Prescriber’s Agreement to
                      include “hospitalization, transfusion or other serious event.” Under these
                      requirements, healthcare providers report certain adverse events to the
                      Applicant, which then is required to report the adverse events to FDA. FDA has
                      received such reports for 15 years, and it has determined that the safety profile of
                      Mifeprex is well-characterized, that no new safety concerns have arisen in recent
                      years, and that the known serious risks occur rarely. For this reason, ongoing
                      reporting by certified healthcare providers to the Applicant of all of the specified
                      adverse events is no longer warranted. . It should be noted that the Applicant
                      will still be required by law, as is every NDA holder, to report serious, unexpected
                      adverse events as 15-day safety reports, and to submit non-expedited individual
                      case safety reports, and periodic adverse drug experience reports.


                  (b) (6)   concurs with the following modifications recommended by     (b) (6)


                     Removal of the Medication Guide (MG) from the REMS. The MG will remain a
                      required part of labeling and will be required to be provided to patients consistent
                      with the requirements in 21 CFR part 208. FDA has been maintaining MGs as
                      labeling but removing them from REMS when, as here, inclusion in REMS is not
                      necessary to ensure that the benefits of a drug outweigh the risks, such as when
                      the MG is redundant and not providing additional use or information to the patient
                      about the risk(s) the REMS is intended to mitigate. This is consistent with
                      ongoing efforts to streamline REMS by allowing for updates to the MG without
                      need for a REMS modification.
                     Removal of the Patient Agreement form (ETASU D). This decision was based on
                      the well-established safety profile of Mifeprex, as well as the fact that the small
                      numbers of practitioners who provide abortion care in the US use informed
                      consent practices that are duplicated of the current Patient Agreement and thus
                      the Patient Agreement is no longer necessary to ensure that the benefits of the
                      drug outweigh the risks.
                     Revision of the Prescriber Agreement Form to reflect changes to labeling
                      revisions pursuant to the proposed efficacy supplement, and to improve the flow
                      of the document.
                     Revision of the REMS goals to reflect the above changes

          1.4 Recommendations for Postmarket Requirements and Commitments
          There are no recommendations for postmarket requirements or commitments for this
          efficacy supplement.
                                                                                                        8

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          2 Introduction and Regulatory Background
          2.1 Product Regulatory Information
          On September 28, 2000, FDA approved Mifeprex for the medical termination of intrauterine
          pregnancy through 49 days’ (7 weeks) pregnancy (NDA 20-687). The application was
          approved under 21 CFR part 314, subpart H, “Accelerated Approval of New Drugs for Serious
          or Life-Threatening Illnesses” (subpart H). This subpart applies to certain new drug products
          that have been studied for their safety and effectiveness in treating serious or life-threatening
          illnesses and that provide meaningful therapeutic benefit to patients over existing treatments.”
          Specifically, § 314.520 of subpart H provides for approval with restrictions that are needed to
          assure the safe use of the drug product. In accordance with § 314.520, FDA restricted the
          distribution of Mifeprex as specified in the approval letter, including a requirement that Mifeprex
          be provided by or under the supervision of a physician who meets certain qualifications
          specified in the letter.

          The September 28, 2000, approval letter also listed two Phase 4 commitments that the then-
          applicant of the Mifeprex NDA (i.e., the Population Council) agreed to meet:
             1. A cohort-based study of safety outcomes of patients having medical abortion under the
                 care of physicians with surgical intervention skills compared to physicians who refer
                 their patients for surgical intervention. Previous study questions related to age,
                 smoking, and follow-up on Day 14 (compliance with return visit) were incorporated into
                 this cohort study, as well as an audit of signed Patient Agreement forms.
             2. A surveillance study on outcomes of ongoing pregnancies.

          In addition, the 2000 approval letter stated that FDA was waiving the pediatric study
          requirement in 21 CFR 314.55.

          Effective October 31, 2002, the Population Council transferred ownership of the
          Mifeprex NDA to Danco Laboratories, LLC (Danco).

          2.2 Tables of Currently Available Treatments for Proposed Indications
          In the US there are no other approved products for the medical termination of first
          trimester pregnancy. Misoprostol alone or in combination with methotrexate has been
          used for early medical abortion (MAB), with much lower success than Mifeprex.1




          1
            American College of Obstetricians and Gynecologists. Practice bulletin No. 143: medical management of
          first-trimester abortion. Obstet Gynecol 2014;123(3):676-92. doi:10.1097/01.AOG.0000444454.67279.7d.



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          2.3 Availability of Proposed Active Ingredient in the United States
          Mifepristone: The only other FDA approval for mifepristone is the product Korlym,
          approved under NDA 202107 on February 17, 2012 for the control of hyperglycemia
          secondary to hypercortisolism in adult patients with endogenous Cushing's syndrome
          who have type 2 diabetes mellitus or glucose intolerance and have failed surgery or are
          not candidates for surgery.

          2.4 Important Safety Issues with Consideration to Related Drugs
          Korlym (mifepristone) is indicated to control hyperglycemia secondary to
          hypercortisolism in adult patients with endogenous Cushing's syndrome who have type
          2 diabetes mellitus or glucose intolerance and have failed surgery or are not candidates
          for surgery. Korlym is taken in oral doses of 300 mg to 1200 mg daily. It is
          contraindicated in pregnancy, patients taking simvastatin, lovastatin and CYP3A
          substrates with narrow therapeutic ranges, patients on corticosteroids for lifesaving
          purposes, and women with unexplained vaginal bleeding or endometrial hyperplasia
          with atypia or endometrial carcinoma. The label2 provides warnings and precautions
          regarding adrenal insufficiency, hypokalemia, vaginal bleeding and endometrial
          changes, QT prolongation, exacerbation or deterioration of conditions treated with
          corticosteroids, use of strong CYP3A inhibitors, and opportunistic infections with
          Pneumocystis jiroveci pneumonia in patients with Cushing’s. Adverse reactions noted
          in >20% of patients in clinical trials with Korlym included nausea, fatigue, headache,
          hypokalemia, arthralgia, vomiting, peripheral edema, hypertension, dizziness,
          decreased appetite and endometrial hypertrophy.

          Reviewer comment:
          Some of the adverse events noted with Korlym are also seen with Mifeprex, such
          as nausea and vomiting. However, Korlym is taken in higher doses, in a chronic,
          daily fashion unlike the single 200 mg dose of Mifeprex that is the subject of this
          supplement; the rate of adverse events with Mifeprex is much lower.

          Ella (ulipristal acetate) is a progesterone agonist/antagonist emergency contraceptive
          indicated for prevention of pregnancy following unprotected intercourse or a known or
          suspected contraceptive failure. The ella label3 notes that in clinical trials, the most
          common adverse reactions (≥ 10%) in women receiving ella were headache (18%
          overall) and nausea (12% overall) and abdominal and upper abdominal pain (12%
          overall).

          Due to ella’s high affinity binding to the progesterone receptor, use of ella may reduce
          the contraceptive action of regular hormonal contraceptive methods. The label notes
          that after ella intake, menses sometimes occur earlier or later than expected by a few

          2
              http://www.accessdata.fda.gov/drugsatfda_docs/label/2012/202107s000lbl.pdf
          3
              https://www.accessdata.fda.gov/drugsatfda_docs/label/2010/022474s000lbl.pdf


                                                                                                     10

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          days. In clinical trials, cycle length was increased by a mean of 2.5 days but returned to
          normal in the subsequent cycle. Seven percent of subjects reported menses occurring
          more than 7 days earlier than expected, and 19% reported a delay of more than 7 days.
          The label recommends that women rule out pregnancy if the expected menses is
          delayed by more than one week. Nine percent of women studied reported
          intermenstrual bleeding after use of ella.

          Reviewer comment:
          Ella is for occasional use and is not to be used as a regular contraceptive
          method. As such, the drug is not recommended for repeated use in the same
          menstrual cycle. The safety and efficacy of repeat use within the same cycle has
          not been evaluated. A single dose of ella does not appear to result in serious
          adverse events.

          2.5 Summary of Presubmission Regulatory Activity Related to Submission
          A pre-NDA meeting was held with the Applicant on January 29, 2015. The following
          items, among others, were discussed:
               New dosing regimen
               Proposal to have                             (b) (4)

               Use up to (b)
                            (4)
                                days’ gestation
               Change in the interval between Mifeprex and misoprostol administration to 24-48
                 hours
               Revision of the labeled time to expulsion after misoprostol is administered
               Use of the term “                            (b) (4) in the approval and label to

                 describe who may obtain and dispense Mifeprex
               Deletion of “under Federal law” in the Prescriber’s Agreement
               PREA requirements
               Regulatory pathway for approval

          2.6 Other Relevant Background Information
          Since the approval in France and China in 1988, mifepristone for MAB is currently
          approved in 62 countries globally4; see the list and dates of approval in Appendix 9.7.

          Prior to the Mifeprex approval by the FDA, mifepristone had also been approved in the
          UK in 1991. In the UK, the current therapeutic indications include:
               Medical alternative to surgical termination of intrauterine pregnancy up to 63
                  days gestation based on the first day of the last menstrual period
               Softening and dilatation of the cervix uteri prior to mechanical cervical dilatation
                  for pregnancy termination during the first trimester

          4
           Gynuity website, www.gynuity.org, Medical Abortion in Developing Countries- List of Mifepristone
          Approvals.



                                                                                                              11

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                  For use with prostaglandin analogues for termination of pregnancy for medical
                   reasons beyond the first trimester
                  Labour induction in foetal death in utero5

          The estimated cumulative use of Mifeprex in the US since the 2000 approval is 2.5
          million uses. Estimated global occurence of MAB and SAB combined was 43.8 million
          abortionsin 2008 (Guttmacher Institute data)6. MAB has been increasingly used as its
          efficacy and safety have become well-established by both research and experience,
          and serious complications have proven to be extremely rare.7 Medical abortion
          comprises 16.5% of all abortions in the US, 25.2% of all abortions at or before 9 weeks
          of gestation1, and based on data from 40 reporting areas sending data to the CDC,
          30.8% of all abortions at or before 8 weeks gestation (2012 data).8 In 2011,
          approximately 239,400 medical abortions were performed, which was a 20% increase
          from 2008 data.9 Data show that in the most recently reported 12 months (September
          29, 2014-September 28, 2015),          (b) (4) Mifeprex tablets were distributed in the US

          (NDA 20687 SD # 650, Annual Report-15, submitted October 09, 2015). Further, the
          vast majority of practitioners in the US who provide medical abortion services use a
          regimen other than the FDA-approved one. In 2008, Wiegerinck et al published a
          survey of members of the National Abortion Federation which showed that only 4% of
          facilities were using the current FDA-approved regimen.10

          It is noteworthy that ten years ago, the combination of mifepristone and misoprostol for
          medical abortion was included on the World Health Organization (WHO) Model list of
          Essential Medicines for termination of pregnancy where legal and acceptable, up to 9
          weeks of gestation.11 Several other national and international organizations have also
          endorsed the safe use of medical abortion up to 9 and 10 weeks of gestation. This topic
          will be discussed thoroughly in the Efficacy and Safety Sections.
          5
           Mifegyne Summary of Product Characteristics. Exelgyn Laboratories- June 2013.
          https://www.medicines.org.uk/emc/medicine/617
          6
           Sedgh G et al., Induced abortion: incidence and trends worldwide from 1995 to 2008. Lancet,
          2012;379:625-32.
          7
           Cleland K, Smith N. Aligning mifepristone regulation with evidence: driving policy change using 15 years
          of excellent safety data. Contraception 2015;92:179-81.
          8
           Pazol K, Creanga AA, Zane SB, Burley KD, Jamieson DJ. Abortion surveillance--United States, Centers
          for Disease Control and Prevention (CDC). MMWR Surveill Summ 2012;61(SS-8):1–44 and Surveillance
          Summaries Nov 27, 2015; 64(SS10);1-40.
          9
           Jones RK, Jerman J. Abortion incidence and service availability in the United States, 2011. Perspectives
          on Sexual and Reproductive Health 2014;46(1):3-14.doi10.1363/46e0414.
          10
            Wiegerinck MMJ, Jones HE, O’Connell, K, Lichtenberg ES, Paul M, Westhoff CL. Medical abortion
          practices: a survey of National Abortion Federation members in the United States. Contraception
          2008;78:486-491.
          11
            World Health Organization April 2015 Model Lists of Essential Medicines Available online at
          http://www.who.int/medicines/publications/essentialmedicines/en/.


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          MAB is a choice that women have available in many areas, especially urban, in the US,
          although it should be noted that some geographical areas in the US have very limited
          availability of both the surgical and medical options or even one option for early
          pregnancy termination.

          The primary advantages of having a MAB compared to a surgical abortion (SAB) are
          the following:
              Limited or no anesthesia
              Limited likelihood of any surgical intervention

          Reviewer’s Comment:
          A very small number of physicians currently provide early medical terminations.
          In the most recent REMS update from the Applicant (stamp date June 3, 2015), the
          cumulative number of certified prescribers since 2000 is only    (b) (4) . Between

          May 1, 2012 and April 30, 2015, the number of new prescribers was (b) (4) and the
          number of prescribers ordering Mifeprex was (b) (4) during this 3-year period. The
          number of healthcare providers that are performing early SAB is not documented.


          3 Ethics and Good Clinical Practices
          3.1 Submission Quality and Integrity
          Because this submission did not rely on datasets from any of the clinical trials, no FDA
          inspections were performed at clinical sites. The authors of the numerous articles,
          however, have published widely in peer-reviewed medical journals.

          3.2 Compliance with Good Clinical Practices
          This submission relies on findings from the published medical literature. The majority of
          the publications included a statement that the study was conducted under institutional
          review board (IRB) or Ethical Review Committee approval and the women gave
          informed consent.

          3.3 Financial Disclosures
          None were submitted or required.




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          4 Significant Efficacy/Safety Issues Related to Other Review
            Disciplines
          4.1 Chemistry Manufacturing and Controls (CMC)
          On March 10, 2016, a separate supplement approved the packaging of a single 200 mg
          tablet of mifepristone compared to the current 3 tablets in a blister pack. Each packet
          will have an individual barcode.

          Reviewer comment:
          The approval of single tablet packaging should make recording the barcode of
          the mifepristone tablet in the patient record (as provided in the REMS) easier as
          the new proposed dosing regimen uses only one 200 mg mifepristone tablet
          compared to the previously approved regimen of three tablets.

                              , reviewed the PLR conversion of the label. Her review, dated
                            (b) (6)

          January 11, 2016 states the following:
                “No changes have been made in the approved chemistry, manufacturing and
                controls. The approved 200 mg tablet will be used. This review evaluates the
                PLR conversion of the labeling. Sections 3, 11, and 16 of the PLR labeling, and
                the Highlights of Prescribing Information, have been evaluated from a chemistry
                perspective.

                  Overall Evaluation: Acceptable. The labeling provided in Section 3, Section 11,
                  and Section 16, and the Highlights of Prescribing Information, is identical in
                  content to the approved information. The PLR conversion labeling, therefore, is
                  acceptable from a chemistry perspective. The PLR label also corresponds to the
                  content and format required in 21 CFR 201.57.

          Reviewer comment:
          We agree with the conclusions in the CMC review of the PLR conversion of the
          label.

          4.2 Clinical Microbiology
          The chemistry (CMC) reviewers determined that a microbiology review was not needed
          for this efficacy supplement.

          4.3 Preclinical Pharmacology/Toxicology
          Please refer to the Pharmacology/Toxicology review by                       (b) (6) , dated

          March 2, 2016. No preclinical data were submitted for this efficacy supplement.The
          reviewer’s only recommendations were labeling changes. His comments were conveyed
          to the Sponsor.



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          Per               (b) (6)   review, the supplement is approvable from a Pharmacology/Toxicology
          standpoint.

          4.4 Clinical Pharmacology
          The Clinical Pharmacology review by                       (b) (6) concluded with the

          following recommendation:
                 “                                 (b) (6) ,                              (b) (6) has

                 reviewed the available clinical pharmacology information in relation to the newly
                 proposed regimen for Mifeprex®. We find the application to be acceptable from a
                 Clinical Pharmacology perspective, provided that an agreement on the language
                 in the package insert is reached between the Sponsor and the Division.”

                  No postmarketing commitments or requirement are recommended.

          4.4.1 Mechanism of Action
          The original approved label states:
                “The anti-progestational activity of mifepristone results from competitive
                interaction with progesterone at progesterone-receptor sites. Based on studies
                with various oral doses in several animal species (mouse, rat, rabbit, and
                monkey), the compound inhibits the activity of endogenous or exogenous
                progesterone. The termination of pregnancy results.
                   …..During pregnancy, the compound sensitizes the myometrium to the
                  contraction-inducing activity of prostaglandins.”

          4.4.2 Pharmacodynamics
          No new studies were submitted with this Application. See the original approved label.

          4.4.3 Pharmacokinetics
                      review states the following:
                  (b) (6)


              The pharmacokinetics (PK) of 200 mg mifepristone tablet has not been
              characterized in women. However, the PK data of 200 mg mifepristone tablet in
              men are available (1996 study): the mean maximum concentration (Cmax) (±
              standard error) = 1.77 (±0.23) mg/L, the mean time to reach Cmax (Tmax) = 0.81
              (±0.16) hour, and the mean area-under-the curve (AUC) = 25.8 (±2.2) mgh/L. While
              the effects of sex on the disposition of mifepristone have not been evaluated using
              Mifeprex®, no sex differences in PK of mifepristone were seen with 300 mg
              mifepristone in a different NDA review (KorlymTM, NDA 202107, Clinical
              Pharmacology review). Therefore, Section 12.3 of the proposed label in a PLR
              format should include the available PK data of mifepristone 200 mg tablet.

              Cytochrome P450 3A4 (CYP3A4) plays an important role in the metabolism of
              mifepristone. Therefore, concomitant intake of CYP3A4 inducers with mifepristone

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               is anticipated to have a significant effect on the disposition of mifepristone.
               However, the Sponsor did not conduct any in vivo studies to evaluate the effect of
               CYP3A4 inducers on the PK of Mifeprex®. Although the lowest effective therapeutic
               margin of mifepristone for termination of pregnancy has been not characterized
               clearly, the use of misoprostol in the regimen for Mifeprex® contributes to efficacy for
               inducing termination of pregnancy. In addition, concomitant intake of CYP3A4
               inducers does not appear to affect the systemic exposure of misoprostol. In the
               proposed new regimen, another dose of misoprostol can be administered following
               day 7 to 14 of post-treatment of mifepristone if termination of pregnancy does not
               occur.

               In summary, the contribution of misoprostol in termination of pregnancy and
               additional dosing option of misoprostol may compensate the possibly diminished
               efficacy of Mifeprex® in the users of CYP3A4 inducers. However, the labeling
               information should include the practical clinical guidance for the subject who has
               been exposed to CYP3A4 inducers.

          Reviewers comments:
             We agree with the Clinical Pharmacology conclusions and
               recommendations made by               (b) (6) .




                  Within the last 10 years, administration of oral mifepristone followed by
                   buccal misoprostol for early medical abortion has become the standard of
                   care for MAB in many countries, including the US. This is based on 1) the
                   PK profile of different doses and routes of administration for misoprostol,
                   and 2) many clinical trials comparing the efficacy and safety of different
                   dosing regimens.

               From Chen and Creinin (2015)12:
                  “With buccal administration, misoprostol is held in the buccal pouch
                  between the teeth and gums for 30 minutes before swallowing any
                  remaining tablets. Buccal misoprostol is slowly absorbed, unlike oral
                  misoprostol, which is rapidly absorbed and undergoes extensive first-pass
                  metabolism. After a dose of oral misoprostol, plasma misoprostol acid
                  levels peak quickly at 30 minutes and decrease rapidly by 120 minutes. In
                  contrast, after buccal administration, plasma misoprostol acid levels rise
                  gradually to peak concentration after a median time of 75 minutes and fall
                  slowly over several hours.”



          12
           Chen MJ, Creinin MD. Mifepristone with Buccal Misoprostol for Medical Abortion Obstet Gynecol: a
          Systematic Review. Obstet Gynecol 2015;126(1):12-21.



                                                                                                              16

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              The PK profile of vaginal misoprostol is very similar to that of buccal
              misoprostol. These pharmacological differences between vaginal and buccal
              misoprostol do not have a clinically meaningful effect on the efficacy at
              different gestational weeks and the adverse event profile for the combination
              of mifepristone and misoprostol for early medical abortion. Those routes with
              rapid and significant absorption (e.g., sublingual) also have high efficacy
              (ACOG Bulletin1). This review, however, focuses primarily on the new dosing
              regimen proposed by the Applicant with some supportive data from studies
              that used vaginal and sublingual misoprostol.


          5 Sources of Clinical Data
          5.1 Tables of Studies/Clinical Trials
          There were many studies that provided data for this NDA review. The original US trial
          that was reviewed for the Mifeprex approval in 2000 was performed over 20 years ago
          in 1994-95. Subsequently, there has been 20 years of experience with MAB, guidelines
          from professional organizations here and abroad, and clinical trials that have been
          published in the peer-reviewed medical literature. This review focuses on the
          information submitted by the Applicant for the change in the dosing regimen and follow-
          up.

          For a complete list of all sources of information, see the extensive list of references in
          Appendix 9.6 at the end of this review.




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          Table 1: List of Major Studies Reviewed
                    USA                                 International
                               13                                   14,
                    Gatter 2015 , retrospective         Louie 2014        Azerbaijan,
                                                        prospective
                                15                                 16,
                    Ireland 2015 , retrospective        Ngoc 2014         Vietnam, prospective
                                   17                                      18
                    Chong, 2015 , prospective single-   Raymond 2013 , International,
                    arm                                 including US, retrospective
                                    19                                      20
                    Winikoff 2012 , prospective         Goldstone 2012 , Australia,
                                                        retrospective
                                    21                                    22
                    Perriera 2010 , prospective         Boersma 2011 , Curacao,
                                                        prospective
                                    23                                     24,
                    Winikoff 2008 , RCT*                Middleton 2005           prospective
                                25,                               26
                    Creinin 2007         prospective    Spitz 1998 , single arm trial


          13
            Gatter M, Cleland K, Nucatola DL. Efficacy and safety of medical abortion using mifepristone and
          buccal misoprostol through 63 days. Contraception 2015; 91:269-273.
          14
           Louie KS, Tsereteli T, Chong E, Ailyeva F, Rzayeva G, Winikoff B. Acceptability and feasibility of
          mifepristone medical abortion in the early first trimester in Azerbaijan. Eur J Contracept Reprod Health
          Care 2014;19(6):457-464.
          15
            Ireland LD, Gatter M, Chen AY. Medical compared with surgical abortion for effective pregnancy
          termination in the first trimester. Obstet Gynecol 2015;126:22-8.
          16
            Ngoc NTN, et al. Acceptability and feasibility of phone follow-up after early medical abortion in Vietnam:
          A randomized controlled trial. Obstet Gynecol 2014;123:88-95.
          17
            Chong E, Frye LJ, Castle J, Dean G, Kuehl L, Winikoff B. A prospective, non-randomized study of
          home use of mifepristone for medical abortion in the US. Contraception 2015;92:215-291.
          18
            Raymond EG, et al. First-trimester medical abortion with mifepristone 200 mg and misoprostol: a
          systematic review. Contraception 2013;87(1):26-37.
          19
            Winikoff B, Dzuba IG, Chong E, et al. Extending outpatient medical abortion services through 70 days
          of gestational age. Obstet Gynecol 2012;120:1070-6.
          20
            Goldstone P, Michelson J, Williamson E. Early medical abortion using low-dose mifepristone followed
          by buccal misoprostol: A large Australian observational study. Med J Austral 2012; 197: 282-6.
          21
            Perriera LK, Reeves MF, Chen BA, Hohmann HL, Hayes J, Creinin MD. Feasibility of telephone follow-
          up after medical abortion. Contraception 2010;81:143-149.
          22
            Boersma AA, Meyboom-de Jong B, Kleiverda G. Mifepristone followed by home administration of
          buccal misoprostol for medical abortion up to 70 days of amenorrhoea in a general practice in Curacao.
          Eur J Contracept Reprod Health Care 2011;16:61-6.
          23
            Winikoff B, Dzuba IG, Creinin MD, Crowden WA, Goldberg AB, Gonzales J, Howe M, Moskowitz J,
          Prine L, Shannon CS. Two distinct oral routes of misoprostol in mifepristone medical abortion: a
          randomized controlled trial. Obstet Gynecol 2008;112(6):1303-1310.
          24
             Middleton T, et al. Randomized trial of mifepristone and buccal or vaginal misoprostol for abortion
          through 56 days of last menstrual period. Contraception 2005;72:328-32.
          25
               Creinin MD, Schreiber CA, Bednarek P, Lintu H, Wagner MS, Meyn LA. Medical Abortion at the Same


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                  Source: compiled by clinical reviewers. *Randomized controlled trial.


          Reviewer’s comment:
          Table 1 above lists the major studies and review articles covering over 45,000
          women who had an early MAB through 70 days gestation. Both retrospective and
          prospective studies were found to be valuable for this review. There are
          additional studies submitted by the Applicant that are not quoted or reviewed
          primarily because they did not use a dosing regimen relevant to that proposed by
          the Applicant or did not contain information pertinent to the other requested
          changes (e.g., less restrictive follow-up requirements or gestations through 70
          days) in the NDA supplement. In some cases, studies that used variants of the
          proposed regimen were considered because PK, PD and clinical data indicate the
          relevance of data on vaginally-administered misoprostol, and because lower
          doses and certain other routes of administration of misoprostol are expected to
          have lower or similar levels of effectiveness.

          5.1.1 Submissions during the Review Process
          During the course of the review, the Applicant submitted additional supportive articles
          from the peer-reviewed medical literature, and provided more detailed data from
          previously submitted articles based on direct communication with the authors. Further,
          the Applicant submitted changes to some of the original proposals. Below in Table 2 is
          a list of the clinical submissions to the NDA after the initial submission dated May 18,
          2015.




          Time (MAST Study Trial Group). Mifepristone and misoprostol administered simultaneously versus 24
          hours apart for abortion a randomized controlled trial. Obstet Gynecol 2007;109:885-894.
          26
           Spitz IM, et al. Early Pregnancy Termination with Mifepristone and Misoprostol in the United States.
          NEJM 1998;338(18):1241-47.




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          Table 2 Clinical Submissions during the Course of the Review
          Item                                             Submission Type, Date
          Additional supportive articles                   Amendment # 3, dated 9/23/2015
          More detailed data from previously               Amendment # 4, dated 10/13/2015
          submitted articles                               Amendment # 5, dated 11/16/2015
                                                           Amendment # 6, dated 12/8/2015
          Additional supportive documents on patient Follow-up to 1/27/2016 teleconference,
          counseling                                 dated 2/2/2016
          Additional supportive articles                   Amendment # 8, dated 2/25/2016
                                            Proposed Additional Changes
          REMS amendment, Revised REMS                     Amendment # 2, dated 7/16/2015
          Supporting Document
          Additional supportive articles
          REMS modification                                Dated 11/4/2015
          Labeling:       (b) (4)   Indication Statement   Amendment # 4, dated 10/13/2015
          Labeling changes: (b) (4) the proposed new       Follow-up to 1/27/2016 teleconference,
          dosage regimen                     (b) (4)       dated 2/15/2016, Also in Amendment # 9,
                                                           dated 2/25/2016

          Labeling: changes to Sections 2.4, 5.2, 6.1, Amendment # 7, dated 2/23/2016
          7, 8.1, 8.2, 8.6, 12.3, 14
          Labeling changes: revise indication              Amendment # 9, dated 2/25/2016
          statement to state “through 70 days
          gestation
          Labeling: changes to Sections 2.3, 6.1 and       Amendment # 10, dated 3/17/2016
          14
          REMS documents                                   Amendment #11, dated 3/21/2016
          Source: Reviewer table.

          5.2 Review Strategy
          This is a joint review by two medical officers:                        (b) (6) reviewed the

          efficacy data and                            (b) (6) reviewed safety data and related issues.

          Other sections are jointly completed.

          Within the last 10 years, use of buccal misoprostol with mifepristone for MAB has
          become commonplace. However, the published literature did not contain abundant
          information about medical abortion outcomes with buccal misoprostol at the time of the

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          original NDA review. In this review, we summarize clinical outcomes and adverse
          effects of medical abortion regimens consisting of oral mifepristone 200 mg followed in
          24-48 hours by buccal misoprostol 800 mcg in pregnancies through 70 days of
          gestation.


          5.2.1 Discussion of Individual Studies/Clinical Trials
          Information and findings from individual clinical trials and reviews in the published
          medical literature, websites, the Applicant and other sources are discussed in different
          sections throughout this review. As acknowledged during pre-submission discussions
          between the Applicant and          (b) (6) and as is typical for literature-based submissions,

          original datasets from the trials that are cited were not available for submission in this
          supplement.


          6 Review of Efficacy
          Efficacy Summary
          This summary lists the final conclusions based on review of the data. Not all of
          the conclusions, regarding covariates such as ethnicity, parity, previous abortion,
          are specifically addressed in labeling, but the reviewers believe that it is
          important to show that we evaluated many different aspects and potential risk
          factors for safe and effective MAB:
                 Medical termination of pregnancies through 70 days gestation is safe and
                  effective and should be approved using the new proposed regimen.
                 The original approved dosing regimen remains safe and effective but the new
                  proposed dosing regimen is effective and should be approved for use in
                  gestations through 70 days (10 weeks) gestation.
                 2015 Chen-Creinin review12 of over 33,800 MABs concluded that regimens with a
                  24-hour time interval between mifepristone and buccal misoprostol administration
                  are slightly less effective (94.2% success) compared to those with a 24-48-hour
                  interval (96.8% success).
                 2013 Raymond review18 of over 45,500 MABs using oral mifepristone 200 mg
                  and various misoprostol doses concluded that the effectiveness decreases when:
                     o misoprostol is taken orally compared to the three other routes of
                        administration (buccal, sublingual, or vaginal)
                     o the gestational age increases
                     o the mifepristone-misoprostol interval is less than 24 hours
                     o the total misoprostol dose is 400 mcg or less

                 Efficacy in the adolescent population is the same or slightly better compared to
                  non-adolescent women.

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                                                                                                   (b) (4)

                                                                     .

          These requests were thoroughly reviewed by the Agency and we believe the product is
          safe and effective for the indication, which reads:
                “Mifeprex is indicated, in a regimen with misoprostol, for the medical termination
                of intrauterine pregnancy through 70 days gestation.”

          6.1.1 Methods
          There were numerous articles from the peer-reviewed medical literature that were
          submitted by the Applicant. Articles were also cited in three letters sent to CDER
          Center Director Janet Woodcock, MD from 1) ACOG, 2) a group of academic
          professionals and women's health non-profit organizations, and 3) thirty professional
          and academic organizations, all of which requested changes to the Mifeprex labeling
          and REMS. All relevant publications cited in those three letters were also submitted by
          the Applicant for our review. The articles and sources of data used for this review are
          listed in the Reference List in Appendix 9.6 at the end of this review.

          The various studies noted in the articles had slightly different designs, inclusion criteria,
          dosing regimens and endpoints for safety and efficacy. The review focus is on clinical
          trials and follow-up methods for early medical abortion, including gestations through 70
          days (10 weeks).

          6.1.2 Demographics
          Many of the trials were randomized and some were blinded to the actual dose of the two
          drugs that were administered. The route of misoprostol administration could not be
          easily blinded. Although there may have been some small differences in the
          demographic data for the different arms, it is doubtful that demographic differences such
          as race or ethnicity are clinically meaningful in relation to the safety and efficacy of
          medical abortion.

          6.1.3 Subject Disposition
          Most of the studies noted the number of women who were lost to follow-up and did not
          count them in the efficacy analysis. All women with any available safety data were
          included in the safety analyses. See Safety Section for further discussion.

          6.1.4 Analysis of Primary Endpoint(s)
          The studies analyzed for data used in this NDA review almost universally defined their
          primary efficacy endpoint as expulsion of the pregnancy from the uterus without need
          for any surgical evacuation or procedure for any reason (including patient request).




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                 4. Option that a repeat dose of misoprostol may be used if needed for women
                    using the new proposed dosing regimen

                 5. Follow-up timing and methods: follow-up is needed at 7-14 days after
                    Mifeprex administration; the specific nature and timing of the follow-up to
                    be agreed upon by the                             (b) (4) and patient. The

                    current approved label states: “Patients will return for a follow-up visit
                    approximately 14 days after the administration of Mifeprex.”

          Discussion and analysis of the data supporting the five changes follows in five individual
          sections.

          1. Proposal of a new dosing regimen that:
             1) decreases the oral dose of Mifeprex from 600 mg to 200 mg orally,
             2) increases the misoprostol dose from 400 mcg orally to 800 mcg
             misoprostol administered buccally, and
             3) revises the interval between Mifeprex and misoprostol dosing from 48 hours
             to “24-48 hours.”
                                                                                                                (b) (4)




                      .

          Background on some dosing data and US practices:
          There is ample medical evidence that the currently approved dose regimen (oral
          mifepristone 600 mg followed 2 days later with oral misoprostol 400 mcg) is safe and
          efficacious up to 49 days gestation. It was approved in September 2000 based on the
          US clinical trial of 1994-95 and two French trials. After 1995, however, more studies
          gradually became available using lower doses of mifepristone and different doses and
          routes of administration for misoprostol. These newer data were not submitted to or
          considered in the original NDA review. Studies also showed that with lower doses (<
          600 mg) of oral mifepristone followed by oral misoprostol 400 mcg, the treatment
          success rate is greater than 95% up to 49 days gestation.

          It is difficult to tell how many MABs in the US actually used the FDA-approved dosing
          regimen following the 2000 approval. It is clear that many clinics and individual
          practitioners did not. For example, from 2001 to March 2006, Planned Parenthood
          Federation of America (PPFA) health centers throughout the United States provided
          medical abortions principally using a regimen of oral mifepristone 200 mg, followed 24–
          48 hours later by 800 mcg misoprostol administered vaginally at home.27 Of note,
          PPFA has been and continues to be the largest provider of MAB services in the US.

          27
               Fjerstad M, Sivin I, Lichtenberg ES, Trussell J, Cleland K, Cullins V. Effectiveness of medical abortion


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          Reviewer’s comment:
          The 2009 Fjerstad article28 states that PPFA was a federation of 97 independent
          local affiliates operating 880 health centers throughout the US; roughly 300 of
          those centers provided medical abortion. So, within one year of the FDA Mifeprex
          approval, PPFA was using a dosing regimen (actual doses and routes of
          administration) very similar to that proposed in this efficacy supplement.

          Meanwhile, from September 2003 to June 2005, there were four fatalities in the US and
          one in August 2001 in a Canadian clinical trial, all due to a sudden and rapid sepsis
          secondary to the bacteria Clostridium sordellii. The five cases were with early MAB (all
          around 7 weeks gestation) in women who had used 800 mcg vaginal misoprostol. By
          late March 2006, consideration of these fatal uterine infections led PPFA to 1) change
          the route of administration of the 800 mcg misoprostol from vaginal to buccal (or, much
          less commonly, oral) and 2) employ additional measures (sexually transmitted infection
          [STI] testing and treatment if positive, or use of prophylactic antibiotics) to minimize the
          risk of subsequent serious uterine infections. In July 2007, PPFA began requiring
          routine treatment with antibiotics for all medical abortions at their health centers.28

          Reviewer’s comment:
          As stated in currently approved labeling “No causal relationship between the use
          of Mifeprex and misoprostol and these events [serious and sometimes fatal
          infections and bleeding] has been established.” There is no clear evidence that
          the vaginal use of misoprostol causes infection, and no causal association has
          been identified between the cases of sepsis and vaginal administration of
          misoprostol. While labeling was revised in November 2004 and July 2005 to
          recommend that providers have a high index of suspicion in order to rule out
          serious infection and sepsis, the Agency did not consider there was sufficient
          evidence to justify recommending prophylactic antibiotics.

          A 2006 article showed that in pregnancies greater than 49 days gestation, compared to
          oral administration of misoprostol, the bioavailability and efficacy with use of misoprostol
          is increased by vaginal, sublingual and buccal administration, avoiding first-pass
          metabolism by the liver.29 Furthermore, a 2009 review of MAB30 noted that:
                    “Consistent with other kinetic studies, clinical trials have demonstrated no change
                    in efficacy when mifepristone doses are reduced from 600 to 200 mg. Multiple


          with mifepristone and buccal misoprostol through 59 gestational days. Contraception 2009;80:282-6.
          28
           Fjerstad M, Trussell J, et al. Rates of serious infection after changes in regimens for medical abortion.
          NEJM 2009;361:145-51.
          29
            Fiala C, Gemzell-Danielsson K. Review of medical abortion using mifepristone in combination with
          prostaglandin analogue. Contraception 2006;74:66-86.
          30
               Bartz B, Goldberg A. Medical Abortion. Clin Obstet and Gyn 2009; 52:140-50.



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                  clinical studies, including a 2004 Cochrane meta-analysis, reported that a
                  regimen of 200 mg of oral mifepristone followed 24 to 48 hours later by 800 mcg
                  of vaginal misoprostol results in complete abortion in 96% of cases at gestations
                  of up to 63 days and that increasing the mifepristone dose to 600 mg does not
                  improve efficacy.”

          In a 2010 review article covering 25 years of the clinical development of mifepristone
          followed by a prostaglandin for MAB, Spitz31 noted similar conclusions:
                  “In the US, most investigators administer 200 mg rather than 600 mg
                  mifepristone as many trials have shown equivalent results with these two dose
                  schedules. A recent meta-analysis of four randomized controlled trials compared
                  the two dose regimens. Endpoints were complete abortion, continuing
                  pregnancy and side effects. The two doses [600 v. 200 mg mifepristone] result in
                  similar rates of complete abortion with no difference in adverse events.”

          Another change in clinical practice was related to the labeling stipulation that women
          return to the clinic/office two days after Mifeprex was administered to take the
          misoprostol dose. Many experts involved with termination of early pregnancies also
          advocated misoprostol self-administration at home to mitigate the time, travel and
          inconvenience of this additional visit.

          In the US, the American College of Obstetricians and Gynecologists (ACOG), National
          Abortion Federation32, and PPFA currently all endorse the lower oral dose of
          mifepristone followed in 24-48 hours with misoprostol. According to the 2014 ACOG
          Practice Bulletin, the misoprostol route of administration may be oral, buccal, sublingual
          or vaginal; sublingual administration, however, has a more rapid absorption resulting in
          a higher incidence of adverse side effects.1

          European practice:
          In December 2011, the International Federation of Obstetrics and Gynaecology (FIGO)
          published revised guidelines for the use of mifepristone and misoprostol for MAB up to
          63 days, 64-84 days, and after 84 days (12 weeks) gestation.33 The FIGO
          recommended regimens using 200 mg of oral mifepristone followed by 800 mcg of
          misoprostol administered vaginally, buccally, or sublingually. Up to 57-63 days
          gestational age, misoprostol is taken 24-48 hours after mifepristone. Per the review of
          data available to them, FIGO decided additional doses of 400 mcg misoprostol may be


          31
             Spitz IM. Mifepristone: where do we come from and where are we going? Clinical development over a
          quarter of a century. Contraception 2010;82:442–52.
          32
             National Abortion Federation Guidelines 2015.
          33
           Faundes A. The combination of mifepristone and misoprostol for the termination of pregnancy. Int J
          Gynecol Obstet 2011;115:1-4.



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          safely used depending on gestational age, and these combinations result in a complete
          termination in more than 95% of cases.

          Similar guidelines using either vaginal, buccal, or sublingual misoprostol are endorsed
          by the World Health Organization (WHO), the United Kingdom Royal College of
          Obstetricians and Gynecologists34, and a recent Cochrane Review (2011, Issue11).35

          Reviewer’s Comment:
          From the above discussion, it is clear that the standard of care in the US for early
          MAB has deviated from the FDA-approved dosing regimen. PPFA provides the
          largest number of medical abortions each year in the US and as early as 2001,
          was already using the regimen of 200 mg oral mifepristone followed 24-48 hours
          later by 800 mcg vaginal misoprostol.

          There are a large number of studies and reviews that support the efficacy of the
          proposed new dose regimen through 63-70 days gestation. Efficacy was defined in
          these studies as a complete expulsion of the pregnancy without need for surgical
          intervention for any reason during the follow up period. The 2015 review by Chen and
          Creinin summarized clinical outcomes and adverse effects from 20 MAB studies
          including a total of 33,846 women using regimens consisting of 200 mg oral
          mifepristone followed by buccal misoprostol through 70 days gestation. All studies
          except two used 800 mcg misoprostol. Two studies (827 women) used 400 mcg buccal
          misoprostol. Six studies used a 24-hour time interval between mifepristone and buccal
          misoprostol administration and 14 used a 24-48 hour window for the dosing interval.
          The table below lists the 15 studies using the proposed doses (200 mg plus 800 mcg)
          with a 24-48 hour dosing interval.




          34
            Royal College of Obstetricians and Gynaecologists. The care of women requesting induced abortion:
          evidence-based clinical guideline Number 7. 3rd ed. London (UK):RCOG Press 2011.
          35
            Kulier R, Kapp N, et al. Medical methods for first trimester abortion (Review). The Cochrane Library
          2011, Issue 11:1-126.


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          Table 3: Efficacy- Mifepristone 200 mg with Buccal Misoprostol 800 mcg 24-48
          Hours Later - US Studies
               Study &Year                 Design,          Gestation   M-M Interval    Evaluable       Success - no
                                           Location        (maximum        (hrs)       Subjects (N)   intervention (%)
                                                             days)
                                 24
         Middleton 2005                    Prospective        56           24-48           216             94.9
         US
                            23
         Winikoff 2008                     Prospective        63           24-36           421             96.2
         US
                         27
         Fjerstad 2009                     Retrospective      59           24-48          1,349            98.3
         US
                                 36
         Grossman 2011                     Prospective        63           24-48           449         Clinic: 96.9%
         US - Clinic Mife v.                                                                          Telemed: 98.7%
         Tele-med
                            19
         Winikoff 2012                US   Prospective       57-70         24-48           629             93.2
                    13
         Gatter 2015                       Retrospective      63           24-48         13,373            97.7
         US
                       17
         Chong 2015                   US   Prospective        63           24-48           357             96.7
                TOTALS                       7 Studies     56-70 days    24-48 hr        16,794            97.4
          Source: Modified from Table 3, page 14-15, Chen-Creinin 2015 Review and submitted articles. All
          subjects had 200 mg oral mifepristone followed by 800 mcg buccal misoprostol.
          Success percentages calculated by clinical reviewer.




          36
           Grossman D, Grindlay K, Buchacker T, Lane K, Blanchard K. Effectivenesss and acceptability of
          medical abortion provided thorugh telemedicine. Obstet Gynecol 2011;118:296-303.


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          Table 4: Efficacy- Mifepristone 200 mg with Buccal Misoprostol 800 mcg 24-48
          Hours Later- Non- US Studies
         Study &Year/Country                     Design,          Gestation   M-M Interval    Evaluable       Success - no
                                                 Location        (maximum)       (hrs)       Subjects (N)   intervention (%)
                      37
         Alam 2013                               Prospective        63            24             629             92.7
         Bangladesh
                          70
         Blum 2012                               Prospective        63            24             210             92.9
                                    22
         Boersma 2011                            Prospective        70           24-48           307             97.7
         Curacao
                      38
         Chai 2013         Hong Kong             Prospective        63            48             45              95.6
                               39
         Dahiya 2012                India        Prospective        50            24             50               92
                           40
         Chong 2012                              Prospective        63           36-48           560             96.4
         Georgia, Vietnam
                     41
         Giri 2011                       Nepal   Prospective        63            24             95              93.6
                                     20
         Goldstone 2012                          Retrospective      63           24-48         11,155            96.5
         Australia
                          14
         Louie 2014                              Prospective        63           24-48           863             97.3
         Azerbaijan
                     42
         Ngo 2012                        China   Retrospective      63           36-48           167             91.0
                          43
         Ngoc 2011                  Vietnam      Prospective        63            24             201             96.5
                          16
         Ngoc 2014                  Vietnam      Prospective        63           24-48          1,371            94.7
                                         85
         Olavarietta 2015                        Prospective        70            24             884             98.2
         Mexico
                      44
         Pena 2014                  Mexico       Prospective        70           24-48           971             97.3

          37
             Alam A, Bracken H et al. Acceptability and Feasibility of Mifepristone-Misoprostol for Menstrual
          Regulation in Bangladesh. Intnational Persp on Sexual and Reprod Health 2013;39(2):79-87.
          38
             Chai J, Wong CY, Ho PC. A randomized clinical trial comparing the short-term side effects of
          sublingual and buccal routes of misoprostol administration for medical abortions up to 63 days’ gestation.
          Contraception 2013;87:480-5.
          39
             Dahiya K, Ahuja K, Dhingra A et al. Efficacy and safety of mifepristone and buccal misoprostol versus
          buccal misoprostol alone for medical abortion. Arch Gynecol Obstet 2012; 285: 1055-8
          40
             Chong E, Tsereteli T, Nguyen NN, Winikoff B. A randomized controlled trial of different buccal
          misoprostol doses in mifepristone medical abortion. Contraception 2012;86:251-6.
          41
             Giri A, Tuladhar H et al. Prospective study of medical abortion in Nepal Medical College- a one year
          experience. Nepal Medical Coll J 2011;13(3):213-15.
          42
             Ngo TD, Park MH, Xiao Y. Comparing the WHO versus China recommended protocol for first trimester
          medical abortion: a retrospective analysis. Int J Womens Health 2012;4:123-7.
          43
             Ngoc NTN, et al. Comparing two early medical abortion regimens: mifepristone+misoprostol vs.
          misoprostol alone. Contraception 2011;83:410-17.
          44
             Pena M, Dzuba IG, Smith PS, et al. Efficacy and acceptability of a mifepristone-misoprostol combined


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Reference ID: 3909590                                            Add. 690
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                        48
         Sanhueza 2015             Prospective           70             24-48            896               93.3
         Mexico
                TOTALS               15 Studies      56-70 days       24-48 hrs         18,425            96.1%
          Source: Modified from Table 3, page 14-15, Chen-Creinin 2015 Review and submitted articles. All
          subjects had 200 mg oral mifepristone followed by 800 mcg buccal misoprostol.
          Success percentages calculated by clinical reviewer.

          Reviewer’s comments:
          The data above in Table 3 and Table 4 from ~16,800 US women and ~18,400 non-
          US women in clinical studies of MAB through 70 days gestation with success
          rates of 97.4% (US) and 96.1% (non-US) strongly support the proposed new
          dosing regimen and the extension of the acceptable gestational age. The number
          of US and non-US studies, the number of evaluable women, and the overall
          complete abortion rates (termination with no surgical intervention) will be
          described in the efficacy table in Section 14 CLINICAL STUDIES in the new
          approved label. Additional discussion on increasing the gestational age through
          70 days follows in the next major section.

          Precise timing of the administration of misoprostol has not been shown to result in a
          higher success rate which is why the majority of the above studies allowed a range of
          hours between the mifepristone dose and misoprostol dose rather than one set time
          between the two drugs. The 2013 Raymond systematic review18 of 87 studies that
          exclusively used a mifepristone 200 mg oral dose in over 45,000 women, followed by
          varying doses and routes of administration of misoprostol, concluded that if the
          mifepristone-misoprostol interval is < 24 hours, the procedure is less effective compared
          to an interval of 24-48 hours.

          Another study45 also looked at the question of the mifepristone-misoprostol interval.
          The authors conducted a systematic review of randomized controlled trials published
          from 1999 to 2008 to assess the evidence for a shorter mifepristone and misoprostol
          administration interval for first trimester medical termination. Searching strategy
          included MEDLINE, EMBASE, CLINAHL and Cochrane Library. The primary outcome
          measure was complete abortion without the need for a surgical procedure. “Five
          randomized controlled trials (RCTs) compared the efficacy of mifepristone-misoprostol
          administration intervals between 0 and 72 hours in 5,139 participants. The complete
          abortion rates varied between 90% and 98%. Although the meta-analysis of pooled
          data of all five RCTs showed no statistically significant difference in efficacy between

          regimen for early induced abortion among women in Mexico City. Int J Gynaecol Obstet 2014;127:82-5.

          45
             Wedisinghe L and Elsandabesee D. Flexible mifepristone and misoprostol administration interval for
          first-trimester medical termination. Contraception 2010;81(4):269-74. doi: 10.1016/
          j.contraception.2009.09.007. Epub Oct 29, 2009.



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          the shorter and longer dosing intervals, there was a trend toward slightly lower success
          rates with administration intervals < 8 hours.” This study supports the finding that the
          proposed regimen is effective with the 24-48 hour flexible interval. Labeling will indicate
          that the regimen may not work as well if the misoprostol is taken earlier than 24 hours
          after Mifeprex.

          Reviewer’s Final Recommendation:
          The new proposed regimen of 200 mg oral mifepristone followed in 24-48 hours
          with 800 mcg buccal misoprostol should be approved; there are sufficient data
          from the medical literature with over 35,000 women supporting the regimen’s
          efficacy (termination without any additional surgical intervention) as being in the
          91-98% range.

          6.1.7 Increase in gestational age from 49 days to 70 days
          Original NDA review:
          The US clinical trial31 was conducted from September 1994 to September 1995 and
          treated 2,121 women. A total of 2,015 women (95%) returned at the 14-day follow-up
          visit. The trial categorized women into three groups based on gestational age at the
          time of procedure, and evaluated the rates of “Success” (a complete pregnancy
          termination without use of any additional doses of misoprostol or surgical intervention),
          and the rates of “Failure” (with four sub-categories of incomplete abortion, ongoing
          pregnancy, intervention for medical reason, and intervention solely because of patient
          request). The success and failure data are shown in Table 5.


          Table 5: Original NDA Efficacy Results
                        OUTCOME                    ≤ 49 Days    50-56 Days   57-63 Days
                                                   N= 827 (%)   N= 678 (%)   N= 510 (%)
          Success (mifepristone + misoprostol       762 (92)     563 (83)    395 (77)*†
          Failure (any surgical intervention for any reason) N (%)
            Total failures                            8%             17%       23%*†
             Incomplete abortion                     39 (5)      51 (8)‡       36 (7)
             Ongoing pregnancy                        8 (1)       25 (4)*     46 (9)* §
             Medical indication for intervention     13 (2)      26 (4)‡      21 (4)‡
             Patient’s request for intervention      5 (0.6)      13 (2)      12 (2)‡
          *P<0.001 for the comparison with the ≤ 49-days group.
          †P= 0.02 for the comparison with the 50 to 56-days group.
          ‡ 0.001 ≤ P<0.03 for the comparison with the ≤ 49-days group.
          § P<0.001 for the comparison with the 50 to 56-days group.
          Source: Modified from Table 1, pg 1243 in the Spitz NEJM article (1998).



                                                                                                  32

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          Reviewer’s comments:
          Looking at the results in the table above, it is reasonable that the approved use
          was only for women in the first 49 days’ gestation, given the 8% “failure rate” in
          this subgroup, compared to 17% and 23% failure rates for the longer gestations.
          It is important to note that failure was defined as any case requiring surgical
          intervention for any of the following reasons:
                incomplete abortion (incomplete expulsion)
                documented ongoing pregnancy
                medical reasons (usually heavy vaginal bleeding with or without retained
                  products of conception)
                patient request (usually for bleeding)
          As has been pointed out, since the US trial data used for the FDA approval of
          Mifeprex, given the experience and data gained in the last 20 years from millions
          of women in the US and abroad, the success rates and overall outcomes are very
          different. Currently, when a “failure” occurs, using the original definition, options
          that are now commonly available include the following:
               expectant management (wait and see) in the case of an incomplete abortion
                 (i.e., pregnancy terminated but not fully expelled)*
               medical treatment for bleeding, pain and other common symptoms
               clinical evaluation with the use of 1) office ultrasound and/or 2) hCG data
                 determined by rapid, sensitive urine and/or serum testing*
               additional doses of misoprostol for an incomplete abortion*
               less invasive surgical intervention (vacuum aspiration) in the clinic/office
                 instead of a D&C under anesthesia in an operating room
               continuing the pregnancy (although the medical recommendation is to
                 proceed to a surgical abortion in such a case, we acknowledge that a
                 woman could potentially decide to continue the pregnancy)
              * per protocol, these options were NOT available in the original US trial
          It is also evident that the proposed new dosing regimen is considerably more
          effective for all gestations through 70 days [see data and discussion that follows
          for 57-63 and 64-70 days gestation], especially when compared to the original
          data using the FDA-approved regimen which had “success” rates of only 83%
          and 77% at 50-56 and 57-63 days gestation, respectively.

          Current evidence for increasing the gestational age to 70 days
          Current evidence demonstrates that the new proposed medical abortion regimen is
          effective for women in the range of 57-63 days and 64-70 days of gestation. A 2015




                                                                                               33

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          systematic review identified six published studies that recorded data on outcomes of
          medical abortions performed during gestational Days 64-70.46
          The published studies were conducted in the United States, UK, Mexico, Curaçao,
          Vietnam, and the Republic of Georgia. All subjects were treated as outpatients between
          2007 and 2015. The older UK study evaluated 127 women who were at 64-70 days
          gestation and treated with 200 mg oral mifepristone followed by 800 mcg vaginal
          misoprostol.47
          Reviewer comment:
          We evaluated the data separately for 57-63 and 64-70 days of gestation. The
          following two tables show the efficacy data for 57-63 and 64-70 days gestation
          (also known as Week 9 and Week 10).




          46
            Abbas D, Chong E, Raymond EG. Outpatient medical abortion is safe and effective through 70days
          gestation. Contraception 2015;92:197-9.
          47
            Gouk EV, et al. Medical termination of pregnancy at 63-83 days gestation. British J Obstet Gyn
          1999;106:535-539.


                                                                                                             34

Reference ID: 3909590                                Add. 694
                  Case: 23-10362        Document: 27 Page: 705 Date Filed: 04/10/2023
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          Table 6: MAB Efficacy Outcome 57-63 Days Gestation
               Study      Enrolled    Followed      Success       Ongoing        Lost to        Comment
                                                                 Pregnancy      Follow up
                              N           N           N (%)
                                                                   N (%)            %
          Winikoff 23       132          115          109              2          13.0%        * Proposed
          2008 US-                                   (94.8)          (1.7)                       Dosing
          Winikoff 19       379          325          304             10          14.2%        * Proposed
          2012 US                                    (93.5)          (3.1)                       Dosing
          Gatter13          1527        1286          1228            21          15.8%        * Proposed
          2015 US                                    (95.5)          (1.6)                       Dosing
          Sanhueza48        196          190          171              6           3.1%        * Proposed
          2015                                       (90.0)          (3.2)                       dosing
          Mexico City

          Boersma22         105           95           91              2           9.5%        *Proposed
          2011**                                     (95.8)          (2.1)                    dosing @ 24-
          Curacao                                                                             36 hr @ home

          Pena44 2014       177          171          164              2           3.4%        * Proposed
          Mexico City                                (95.9)          (1.2)                       dosing
          Chong40            86           85           79              2           1.2%        *Proposed
          2012                                       (92.9)          (2.4)                    dosing 36-48
          Viet Nam,                                                                                hr
          Georgia            81           81           77              2            0%          400 mcg
                                                     (95.1)          (2.5)                    buccal @ 36-
                                                                                                 48 hr
          Bracken49         389          382          362              7           1.3%         400 mcg
          2014                                       (94.8)          (1.8)      (2 women       sublingual
          4 countries-                                                          withdrew)      @ 24-48 hr

               TOTAL                                 2,585           54          11.1%
                           3,072       2,730         (94.7)        (2.0%)
          *Mifepristone oral 200 mg followed in 24-48 hour range with misoprostol buccal 800 mcg.
          **Boersma study reported the interval from 50-63 days without further breakdown.
          Source: Data from published studies.

          48
            Sanhueza Smith P, Pena M, Dzuba IG, et al. Safety, efficacy and acceptability of outpatient
          mifepristone-misoprostol medical abortion through 70 days since last menstrual period in public sector
          facilities in Mexico City. Reprod Health Matters 2015;22:75-82.

          49
             Bracken H ,Dabash R, Tsertsvadze G et al. A two-pill sublingual misoprostol outpatient regimen
          following mifepristone for medical abortion through 70 days' LMP: a prospective comparative open-label
          trial. Contraception 2014;89(3):181-6.



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          Reviewer comments:
          Although the Chong and Bracken studies do not use the exact proposed dosing
          regimen, it is felt that their efficacy results are relevant because both used a
          lower dose of misoprostol, which, if anything, would have been expected to
          provide lower efficacy.

          After careful review of the above eight studies, we find the following results. A
          combined total of 3,072 women were treated at 57-63 days of gestation, with 2,730
          (88.9%) providing outcome data. Of these women, 2,585 (94.7%) had a complete
          medical abortion (pregnancy termination without any surgical intervention), and
          54 (2.0%) had ongoing pregnancies. This successful treatment rate is better
          (94.7% compared to 92.1%) than the rate in the data on which the 2000 FDA
          Mifeprex approval was based. The data are sufficient and acceptable for
          extending the approval of Mifeprex up to at least 63 days gestation.

          The numbers here do not exactly match the results shown in the efficacy table for
          57-63 gestational days that are in Section 14 CLINICAL STUDIES in the new
          approved label, which is limited to studies using the identical dosing regimen to
          that proposed in this supplement. The number of evaluable women here is higher
          because the Chong and Bracken data are included, as noted above in the
          comment. The label, however, states the same conclusion of a 94.7% complete
          medical abortion rate and a 2% ongoing pregnancy rate.

          Data for 64-70 days gestation are found in the next table.




                                                                                         36

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          Table 7: MAB Efficacy Outcome 64-70 Days Gestation
              Study      Enrolled     Followed    Success       Ongoing       Lost to       Comment
                                                               Pregnancy     Follow up
                             N            N         N (%)
                                                                 N (%)           %
          Winikoff19        350         304         282             9           13.1       *Proposed
          2012                                     (92.8)         (3.0)                      dosing
          Sanhueza48        150         147         134             5           2.0        * Proposed
          2015                                     (91.2)         (3.4)                      dosing


          Boersma22         26           26          25             1            0          Proposed
          2011†                                    (96.2)         (3.8)                   dosing @ 24-
                                                                                          36 hr @ home
          Pena44             2            2           2            0             0         * Proposed
          2014                                      (100)         (0)                        dosing
          Chong40            1            1           1            0             0         * Proposed
          2012                                      (100)         (0)                        dosing
             RCT                                                                           @ 36-48 hr
                             6            6           6            0             0          400 mcg
                                                    (100)         (0)                        buccal
          Y                 127         127         120             7            0          800 mcg
           Gouk47
          1999                                     (94.5)         (5.5)                     vaginal
                                                                                           @ 36-48 hr
          UK-
          misoprostol
          in hospital
          Bracken49         325         321         295             7           1.2         400 mcg
          2014                                     (91.9)         (2.2)                    sublingual
                                                                                           @ 24-48 hr

              TOTAL        987          934         865         29/934        53/987
                                                   (92.6)        (3.1)         (5.4)
          *Mifepristone oral 200 mg followed in 24-48 hour range with misoprostol buccal 800 mcg.
          Y
           The Gouk study in 1996-97 included 253 women at 63-83 days gestation (Weeks 10-12).
          Source: Table modified with data from published studies. See Abbas D et al. Contraception [MAB
          through 70 days gestation] 92 (2015):197-199.

          Reviewer comments:
          Use of the Chong and Bracken data is discussed above. Although the Gouk
          regimen used a different route of administration for misoprostol, the
          effectiveness of the vaginal route appears to be similar to that of the buccal
          route; therefore, these data are considered relevant. Data on sublingual
          administration of misoprostol may be less generalizable due to the different
          pharmacokinetic (PK) profile and higher AE frequency compared to buccal


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          administration. Also, see Section 4.4.3 Pharmacokinetics and the Cross
          Discipline Team Leader review.
          The abortion success rates shown above from seven studies are comparable to
          (and in several studies, greater than) the success rates for medical abortion in the
          initial 2000 decision for Mifeprex up to 49 days gestation. The proportion of
          subjects with complete success without any medical or surgical intervention in
          the US pivotal trial that supported the original approval was 92.1%, as shown in
          Table 5, in 827 women encompassing all gestational weeks up to 49 days. The
          data in the above two tables include 3,072 women treated at 57-63 days gestation
          and 987 women at 64-70 days gestation. We believe that this comprises a
          sufficient number of women in each gestational week upon which to make a
          clinical decision, and that the overall 94.7% and 92.6% success rates are
          acceptable for approval.
          The data here clearly establish the efficacy of medical abortion with mifepristone
          and misoprostol through 70 days gestation. At least two Gynuity Health studies
          of outpatient medical abortion through 70 days are ongoing, so more information
          from clinical studies will be available in the future.
          It is also worth noting that in November 2015, the National Medical Committee of
          PPFA approved medical abortion through 70 days, so this is currently their
          standard of care.

          Reviewer’s Final Recommendation:
          The new proposed regimen of 200 mg oral mifepristone followed in 24-48 hours
          with 800 mcg buccal misoprostol should be approved for use through 70 days
          gestation (10 weeks from the first day of the LMP).


          6.1.8 At-home Administration of Misoprostol
          For the majority of women, the most significant cramping and bleeding will occur within
          2-24 hours after taking misoprostol. Requiring women to take misoprostol in the office
          necessitates another visit and can interfere with the woman’s ability to make reasonable
          plans for the expected bleeding and cramping. With the option to take misoprostol at
          home the woman can:
              Plan to experience cramping and bleeding at a safe and convenient time
                 when support is available
              Minimize loss of income (for childcare or missed days of work)
              Experience improved comfort, satisfaction and privacy

          Data (graph below) from Winikoff (2012)19 shows the time in hours to complete
          expulsion of the pregnancy after misoprostol administration for gestations at 57-63 and
          64-70 days. Within about 5 hours after misoprostol dosing, 50-60% of the MABs are
          complete.

                                                                                                38

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          Many studies have recorded data on home use in the US and elsewhere and
          “demonstrated that 87-97% of women find home use of misoprostol acceptable. Home
          use of misoprostol is now standard in the US.”50 The 2009-10 Swica comparative study
          focused on the option to take both mifepristone and misoprostol at home after being
          counseled at the office/clinic. There was no significant difference in either efficacy or
          safety for the 139 women (46%) who took both medications at home compared to 161
          women who took mifepristone in the office and misoprostol at home.

          Table 8 that follows is a list of studies where data are available on home use of
          misoprostol and the specific efficacy findings.




          50
            Swica Y, et al. Acceptability of home use of mifepristone for medical abortion. Contraception
          2013;88:122-127.


                                                                                                            39

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          Table 8: Misoprostol Self-administration at Home
             Study           Evaluable     Misoprostol           Success                   Comment
                                 N          at home

                                                       US Studies
             Gatter            13,373      All subjects           97.7%             Through 63 days;
               13
           2015 US                          at 24-48 hr                             buccal miso 800 mcg
          Winikoff              421        All subjects           96.2%             Through 63 days;
               23
          2008     US                       at 24-36 hr                             buccal miso 800 mcg
          Winikoff              629        All subjects       93.5% (Wk 9)          Week 9 v Week 10;
               19
          2012     US                       at 24-48 hr       92.8% (Wk 10)         buccal miso 800 mcg
          Swica                 301        All subjects     96.7 %- home mife       Through 63 days;
               50
          2013    US                        at 6-48 hr       95.6%- clinic mife     800 mcg miso

                                                  Foreign Studies
                        14
          Louie 2014            863        794 (92%) at            97%              Through 63 days;
          Azerbaijan                       home at 24-                              buccal miso 800 mcg
                                              48 hr
                       44
          Pena 2014            1,000       All subjects           97.3%             Through 63 days;
          Mexico                            at 24-48 hr                             buccal miso 800 mcg
          Bracken               703         543 (77%)         94.8% (Wk 9) v        Week* 9 v Week 10 400
          2014
               49
                             (382 v 321)   took miso at       91.9% (Wk 10)         mcg sublingual miso used
                                             24-48 hr
          4 countries
          Boersma               307        All subjects           97.7%             Through 70 days (Wk
               22
          2011                              at 24-36 hr                             10);
          Curacao                                                                   GP care; buccal miso
                                                                                    800 mcg;
          Chong                 1115       851 (76%) at      96.8% with home        Through 63 days;
               40
          2012               (559 v 563      36-48 hr             miso;             *DB, RCT in Vietnam and
          400 v 800             were                       95.1% with clinic miso   Georgia
          buccal              enrolled)

          Goldstone            11,155      All subjects           96.5%             Through 63 days;
               20
          2012                              at 24-48 hr                             buccal miso 800 mcg
          Australia:
          Sanhueza              896        All subjects            93.3             Through 70 days (Wk
               48
          2015                              at 24-48 hr                             10)
             TOTAL             30,763         30,210            92%-97.7%           Different gestations,
                                             (98.2%)                                and regimens
          *DB, RCT: double-blind, randomized clinical trial.
          Source: FDA clinical reviewer table.

          Reviewer comments:
          The above table with data for home administration of misoprostol for 30,763
          women in the US and other countries shows a success rate ranging from 91.9 to
                                                                                                               40

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          97.7%. The two largest studies (Gatter and Goldstone) pooled showed 97%
          success using the new proposed dosing regimen with home use of buccal
          misoprostol. The lowest success rate above of 91.9% in the Bracken study is still
          supportive for approval and does not differ significantly from results with
          misoprostol taken in the clinic/office.

          Of note is that 4 of the above studies provided data on home use of misoprostol
          through 70 days gestation.

          Home use of misoprostol has been evaluated as part of the proposed protocol in
          studies including well over 30,000 patients, as well as in studies of home use of
          both mifepristone and misoprostol. The Raymond (2013) review18 of early MAB
          with mifepristone 200 mg and misoprostol (different doses and routes of
          administration), analyzed 87 trials with 47,283 treated women up to 63 days
          gestation. The article concludes: “We found no evidence that allowing women to
          take the misoprostol at home increased the rate of abortion failure or serious
          complications.” It is also notable that the NAF and ACOG guidances encourage
          home administration of misoprostol and it has been standard protocol for most
          PPFA clinics for since 2005.

          While we do not have age-specific efficacy data for adolescents who took
          misoprostol at home, it is evident that many adolescents did take buccal
          misoprostol at home. In the Goldstone 2012 study, there were eight 14 year olds
          and 931 women ages 15-19 who took misoprostol at home. In the Gatter 2015
          study, there were 24 adolescents age 11-14, 82 age 15, 216 age 16, and 435 age 17
          who took misoprostol at home. The overall efficacy in these two large studies
          was excellent, as previously noted.

          Reviewer’s Final Recommendation:
          There is no medical rationale against permitting the woman to be given the
          misoprostol on the day of the initial clinic/office visit and self-administer it at a
          convenient time in the next 24-48 hours at home. This would avoid another visit
          and the time, transportation, loss of work, inconvenience, etc. that such a visit
          would involve. Furthermore, given the fact that 22-38% of women abort within 3
          hours and 50-60% within 5 hours of buccal misoprostol19, it is preferable for the
          woman to be in a convenient, safe place (home or at a support person’s location)
          for the expected uterine cramping and vaginal bleeding to occur. The new
          proposed regimen of 200 mg oral mifepristone followed in 24-48 hours with 800
          mcg buccal misoprostol shows acceptable efficacy when misoprostol is self-
          administered at home.

          6.1.9 Use of a Repeat Dose of Misoprostol if Needed
          Several studies using buccal misoprostol allowed the option of repeat misoprostol at
          follow-up one week after mifepristone for persistent gestational sac; however, only a few

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          studies report specific outcomes. The Chen and Creinin 2015 review12 of mifepristone
          with buccal misoprostol for MAB reported on four studies. Chong (2012)40 provided
          additional information from 1,122 women. In the study protocols, women with an
          ongoing pregnancy at follow-up were recommended to undergo uterine suction
          curettage, whereas women who had retained products of conception were given the
          options of expectant management, suction curettage/aspiration, or a second dose of
          misoprostol. Limited additional data were provided by Gatter (2015)13: data on the use
          of a repeat dose of misoprostol were available from a subset of 7,335 women, of whom
          87 (1.2%) received a repeat dose. Efficacy results, however, are not stated in the
          Gatter article, so this study is not included in Table 9, which highlights success rates
          after a repeat dose of misoprostol in seven published articles that included this specific
          outcome.

          Table 9: Success with a Repeat Dose of Misoprostol - Incomplete MAB
                                                                   nd
          Study/Country              Total N   Mife-Miso   Took 2       Dose   Success with    Comment
                                                                                  nd
                                                Interval                         2 dose
                                                  (hrs)                           N (%)

          *Raghavan                   277         24               2                2 (100)    Buccal Miso 400
                 51
          2010        Moldova

          *Winikoff 200823            421        24-36          14                  13 (93)    Buccal Miso 800
          US
                                                               Y               Y
          *Winikoff 201219            629        24-48          20             Wk 9- 11 (91)   Week 9 v. Week 10:
          US                                                                                   Buccal Miso 800
                                                                               Wk 10: 9 (67)
                          14
          *Louie 2014                 863        24-48          16                 16 (100)    Buccal Miso 800
          Azerbaijan
                          40
          Chong 2012                  1122       36-48          47                  43 (92)    Buccal Miso 400 and
          Georgia, Vietnam                                                                     800 mcg
                                22
          Boersma 2011                307      24-36 hr            5                4 (80)     GP care; Buccal Miso
          Curacao                                                                              800 at home
                               49
          Bracken 2014                703      24-48 hr         33                  29 (88)    Sublingual Miso 400
          4 countries
               TOTALS                4,018        --        137 (3.4%)             123 (90%)
          *These 4 studies are in Table 4 of the Chen and Creinin 2015 review article.
          Y
           These data are directly from the Winikoff article; the Chen and Creinin review had incorrect data.
          Source: table modified by FDA reviewer from Chen and Creinin 2015 article and 3 other studies.



          51
            Raghavan S, et al. Comparison of 400 mcg buccal and 400 mcg sublingual misoprostol after
          mifepristone medical abortion through 63 days’ LMP: a randomized controlled trial. Contraception 2010;
          82:513-9.



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          Reviewer’s comment:
          The completion success rates shown above are high. While only 3.4% of the
          women took a second misoprostol dose, 90% of these women avoided a surgical
          procedure to complete their termination. We believe the option of a repeat dose
          of misoprostol is acceptable and safe in the case that complete expulsion has not
          occurred after initial dosing (provided that the pregnancy is not still ongoing): it
          offers a choice for the healthcare provider and the patient on how to manage an
          incomplete expulsion (retained products of conception) following the initial
          treatment. As noted above, the other options are expectant management, suction
          aspiration in the office, or a surgical D&C in the operating room. It is also of note
          that it is standard protocol in many US clinics to offer the choice of a repeat
          misoprostol dose, especially for women with an incomplete termination (retained
          tissue/clots or a documented non-viable pregnancy). A second dose of
          misoprostol is generally not offered in the case of a documented ongoing
          pregnancy following use of mifepristone and misoprostol.

          Reviewer’s Final Recommendation:
          Use of a repeat dose of misoprostol may be offered when using the new dosing
          regimen if the pregnancy has ended, but the expulsion is incomplete.

          6.1.10 Physician v Other Healthcare Provider Treatment
          The Applicant provided data on the efficacy of medical abortion provided by non-
          physician healthcare providers, including four studies with 3,200 women in randomized
          controlled clinical trials and 596 women in prospective cohorts. These studies took
          place in varying settings (urban, rural, international, low resource). The efficacy results
          are as follows:
                  Olavarietta85 demonstrated efficacy of 97.9% when the MAB was provided by
                   nurses as compared with 98.4% with physicians
                  Kopp Kallner84 showed efficacy of 99% with certified nurse midwives versus
                   97.4% with physicians
                  Warriner52 demonstrated efficacy of 97.4% with nurses versus 96.3% with
                   physicians
                  Puri83 showed efficacy of 96.8% compared with 97.4% in the “standard care”
                   group

          Reviewer comment:
          The above findings for MAB efficacy from 5 studies clearly demonstrates that
          efficacy is the same with non-physician providers compared to physicians or the

          52
            Warriner IK, Wang D, Huong NTM, Thapa K, Tamang A, Shah I et al. Can midlevel health-care
          providers administer early medical abortion as safely and effectively as doctors? A randomized controlled
          equivalence trial in Nepal. Lancet 2011; 377: 1155-61.



                                                                                                                43

Reference ID: 3909590                                Add. 703
                  Case: 23-10362        Document: 27 Page: 714 Date Filed: 04/10/2023
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          “standard care” treatment.


          6.1.11 Follow-up Timing and Method
          Concerning follow-up timing and method, follow-up within the 7-14 day interval after
          mifepristone administration is universally recommended; however, follow-up does not
          necessarily need to be done as currently labeled “in the clinic or healthcare provider’s
          office 14 days after Mifeprex administration.”
          One strong argument for flexibility in follow-up timing, location and method after the
          administration of Mifeprex and misoprostol is to avoid placing an undue burden on
          either the provider or the patient, while maintaining the ability to identify incomplete
          terminations. The currently approved labeling specifies three visits (two for dosing, one
          for follow-up) at fairly rigid times that are often not practical, convenient or necessary.
          Several articles were submitted by the Applicant to support flexible follow-up. The most
          noteworthy article is the 2013 Raymond review18 of over 45,000 MABs using 200 mg
          oral mifepristone that concluded: “we observed no significant association between
          abortion failure rates and the timing of the follow-up evaluation.” This topic is discussed
          thoroughly in the Section Submission-Specific Primary Safety Concerns.
          Reviewer comment:
          Follow-up during the 7-14 day window after the administration of mifepristone is
          necessary to determine that the termination was successful and the woman is in
          good health. If for some reason the follow-up contact is not made (the woman is
          “lost to follow-up”), the clinical guidelines of NAF state that “all attempts to
          contact the patient (phone calls and letters) must be documented in the patient’s
          medical record.” This guideline emphasizes the importance of follow-up but
          accepts the fact that women are sometimes lost to follow-up and there is no
          mechanism that can guarantee 100% follow-up in the normal clinical setting.
          Reviewer’s Final Recommendation:
          Follow-up after taking Mifeprex and misoprostol is necessary. The exact timing
          and method should be flexible and determined jointly by the healthcare provider
          and the individual woman being treated, and should follow the standard
          guidelines for the office/clinic where the Mifeprex is being dispensed.
          Fortunately, there are several choices/methods of follow-up that can be used and
          it appears that no single option is superior to the others. The woman should
          always have the option to be seen at the office/clinic.

          6.1.12 Subpopulations
          Parity
          The Raymond (2013) review article18 had 74 trials with parity data for ~ 32,000 women.
          In 34 trials whose study populations comprised > 50% nulliparous women, the MAB
          success rate was 96.4%; in 40 trials with ≤ 50% nulliparous women, the success rate
          was 94.9%. This suggests that women who have not had a previous term pregnancy

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          delivery have a slightly higher early MAB success rate. These data are not definitive,
          however, because such factors as the dosing regimen, route of administration, and
          gestational age could also influence the success rates.

          Previous abortion
          One study26 found that success rates are slightly better in women who have not had a
          previous abortion. Prior abortion, however, did not appear to be an important risk factor
          for abortion failure or success (Raymond18.

          Race
          There does not appear to be any efficacy difference based on race. Results are
          reported in studies enrolling a large number of women. Gatter (2015)13 had five
          racial/ethnicity groups among over 13,000 women at the PPFA centers in the Los
          Angeles area; the success rates ranged from a low of 97.2% (African-American) to a
          high of 97.8% (White, Asian and Other), which is not clinically or statistically significant.

          Adolescents v. Older Women
          There are at least three articles that support the efficacy of MAB in adolescents; each
          study used the same definition of success as the need for no further medical or surgical
          intervention:
                Phelps et al. 200153 conducted a pilot study in 28 adolescents aged 14-17, at ≤ 56
                 days gestation, using Mifeprex 200 mg followed 48 hours later by misoprostol 800
                 mcg vaginally. All 28 had complete medical terminations without complications or
                 surgical intervention. Five adolescents did not require any misoprostol.
                Niinimaki et al. April 2011:54 Finnish Registry from 2000-06 comparing rates of AEs
                 in adolescents and adult women with MAB at ≤ 20 weeks gestation, which included
                 3,024 women < age 18 and 24,006 women age 18 or older. By gestational age,
                 2,424 adolescents were < 64 days gestation and 139 were within 64-84 days
                 gestation. The specific dose regimens are not stated and may have varied
                 according to the gestational ages. The odds ratio for an incomplete abortion for
                 adolescents under age 18 compared to the women ≥ age 18 was 0.69, meaning that
                 the younger women had a lower rate of incomplete abortions.
                Gatter, Cleland and Nucatola (2015):13 US data using the proposed regimen of
                 mifepristone 200 mg and misoprostol 800 mcg buccally through 63 days included
                 283 women aged 17 years and 322 under age 17 (see Table 10). The 605 women
                 under age 18 had a 98.7% success rate while the 6,674 18-24 year olds had a
                 98.1% success rate. The four older age groups had success rates that ranged from
                 96.5 to 97.5% without any need for a surgical procedure and additional treatment. In
          53
               Phelps RH, et al. Mifepristone abortion in minors. Contraception 2001;64:339-343.
          54
           Niinimaki M, et al. Comparison of rates of adverse events in adolescent and adult women undergoing
          medical abortion: population register based study. BJM 2011;342: d2111.



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Reference ID: 3909590                                   Add. 705
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              the pediatric population, there were no cases requiring transfusion, hospitalization or
              treatment for severe infection.

          The table below shows the age distribution from the Gatter study. There were 24
          adolescents between ages 11-14, 82 adolescents age 15, and 216 age 16 totaling 322
          adolescents. As noted, 283 adolescents were age 17.

          Table 10: MAB Success by Age Group
                   Age Group            Total N                    Comment
                    (years)           Success (%)
                         < 18          605 (98.7)              322 were age 11-16
                                                                283 were age 17
                         18-24           6684 (98.1)       The age distribution here is
                         25-29           3317 (97.5)        representative of other US
                                                           data on MAB - largest group
                         30-34           1613 (96.5)
                                                          is age 18-24 followed by age
                         35-39           855 (97.0)                   25-29
                          40+            299 (97.3)
                        TOTAL              13,373
                                  97.7% overall success
              Source: Data from Gatter 2015 review.

          Reviewer comments:
          Data from 3,657 adolescents under age 18 in the above three studies shows a
          MAB success rate that is consistently equal to or higher than that found in the
          women older than age 17. It is interesting that five (18%) of the adolescents in the
          Phelps study did not even need misoprostol. The percentage of women not
          needing any misoprostol is generally much lower, perhaps 1-3%, in other early
          MAB studies. From the articles reviewed, efficacy of early MAB in the adolescent
          population is not a concern.

          Additional adolescent data were reported in the Goldstone 2012 study20, where
          there were eight 14 year olds and 931 women ages 15-19 who took misoprostol at
          home for a MAB up to 63 days gestation. Efficacy and safety data by age groups
          were not reported in the article.


          6.1.13 Analysis of Clinical Information Relevant to Dosing
                Recommendations
          As noted in some of the reviewer comments and tables, there is evidence that lower
          doses of misoprostol (400 mcg), other ROAs (vaginal and sublingual), inclusion of more
          advanced gestational ages, and different dosing intervals between mifepristone and
          misoprostol have shown acceptable efficacy and safety results. However, for the
          purposes of this NDA review, our final recommendations are focused on the dosing
          regimen and other requests specifically made by the Applicant.

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          6.1.14 Discussion of Persistence of Efficacy and/or Tolerance Effects
          There is no evidence that repeated medical or surgical abortion is unsafe or that there is
          a tolerance effect. Return to fertility is well-documented: in the Patient Counseling
          Information section, the labeling states “inform the patient that another pregnancy can
          occur following medical abortion and before resumption of normal menses” and “inform
          the patient that contraception can be initiated as soon as pregnancy expulsion has been
          confirmed, or before she resumes sexual intercourse.”

          6.1.15 Additional Efficacy Issues/Analyses
          The Applicant has requested that revised labeling provide only for the new proposed
          regimen and that the original approved regimen be deleted.

          Reviewer Final Recommendation:
          While there are no safety or efficacy reasons that would lead us to withdraw
          approval of the currently labeled dosing regimen, we concur that it may be
          deleted from labeling because very few providers currently use it, and inclusion
          of two options for dosing could be confusing. Of note, PPFA and NAF guidelines
          have used mifepristone 200 mg oral and misoprostol 800 mcg (initially given
          vaginally and now buccally) since 2001.


          7 Review of Safety
          Safety Summary
                 Medical abortion with the new proposed regimen of Mifeprex 200 mg followed
                  24-48 hours later by misoprostol 800 mcg buccally through 70 days gestation is
                  safe. Major adverse events including death, hospitalization, serious infection,
                  bleeding requiring transfusion and ectopic pregnancy with the proposed regimen
                  are reported rarely in the literature on over 30,000 patients. The rates, when
                  noted, are exceedingly rare, generally far below 0.1% for any individual adverse
                  event. The number of postmarketing deaths associated with Mifeprex
                  pharmacovigilance is very low. Non-vaginal routes of administration of
                  misoprostol have increased and since the C. sordellii deaths associated with
                  vaginal misoprostol, there have been no C. sordellii deaths. Given that the
                  numbers of these adverse events appear to be stable or decreased over time, it
                  is likely that these serious adverse events will remain acceptably low.

                 Common adverse events associated with medical abortion occur at varying but
                  acceptable rates.

                 There are scarce cases of uterine rupture associated with early medical abortion.
                  Medical abortion using mifepristone with or without misoprostol in the first
                  trimester is safe from this perspective.


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                 There does appear to be an association between angioedema and mifepristone
                  administration. The risks of anaphylaxis and angioedema should be included in
                  the labeling for Mifeprex and there should be continued pharmacovigilance for
                  anaphylaxis.

                 Home use of misoprostol has been evaluated as part of the proposed dosing
                  regimen in studies including well over 30,000 patients, demonstrating an
                  acceptable safety profile, with rates of adverse events equal to or lower than
                  those with the approved regimen requiring in-office dispensing of misoprostol.
                  Home use of misoprostol can increase patient convenience, autonomy and
                  privacy without increased burden on the healthcare system.

                 In the articles about repeat misoprostol after mifepristone administration, there is
                  little information provided about safety. The need for a second dose is a relatively
                  uncommon occurrence. In studies of medical abortion using misoprostol alone,
                  using two or more doses as compared to one dose of misoprostol does increase
                  the risk of the common adverse event of diarrhea. There are a very few reports of
                  uterine rupture with multiple doses of misoprostol, in almost all cases in women
                  with prior uterine surgery, such as a cesarean section.

                 The Applicant demonstrates that alternatives to in-clinic follow-up, including
                  standardized questions, telephone follow-up, and use of low and high sensitivity
                  urine pregnancy tests, serum pregnancy tests, and ultrasound are effective and
                  safe. Loss-to-follow-up rates do not exceed those of in-clinic follow-up. This
                  option can increase flexibility and accessibility of medical abortion for women.

                 Medical abortion in adolescents appears to be at least as safe, if not safer, as in
                  adult women. These data support the safety of Mifeprex in adolescents and
                  satisfy requirements for PREA. No information on safety or efficacy if used in
                  premenarchal girls is required, as the medication is not indicated in that subset of
                  the pediatric population.

                 Midlevel providers in the United States, such as nurse practitioners, nurse
                  midwives and physician assistants currently provide family planning services and
                  abortion care, including medical abortion care, under the supervision of
                  physicians. In light of the REMS requirements, midlevel providers who are
                  currently practicing abortion care are doing so under the supervision of
                  physicians. Therefore, facilities that employ midlevel providers already have an
                  infrastructure in place for consultation and referral if, as required under the
                  REMS, a prescriber is unable to provide additional care, including surgical
                  management if needed.

                 It is appropriate to modify the current adverse event reporting requirements
                  under the REMS, which are currently outlined in the Prescriber’s Agreement to
                  include “hospitalization, transfusion or other serious event.” FDA has received

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                  such reports for 15 years, and it has determined that the safety profile of
                  Mifeprex is well-characterized, that no new safety concerns have arisen in recent
                  years, and that the known serious risks occur rarely. For this reason, FDA does
                  not believe ongoing reporting of all of the specified adverse events is warranted.
                  The proposed Prescriber’s Agreement Form (to replace the Prescriber’s
                  Agreement) will continue to require that qualified healthcare providers report any
                  deaths. The Applicant will still be required by law, as is every NDA holder, to
                  report serious, unexpected adverse events as 15-day safety reports, and to
                  submit non-expedited individual case safety reports, and periodic adverse drug
                  experience.

                 Upon review of historical documents and of current guidelines for REMS
                  materials, the phrase “under Federal law” can be removed from the Prescribers’
                  Agreement. We concur with        (b) (6) review of the REMS document.




                 The revised Indication Statement should read:
          “Mifeprex is indicated, in a regimen with misoprostol, for the medical termination of
          intrauterine pregnancy through 70 days gestation.” Safe use of Mifeprex would be
          enhanced when other information necessary to describe appropriate use (i.e., the need
          to use Mifeprex in a combined regimen with misoprostol and the gestational age for
          use) is included in the Indication Statement. This would be consistent with current FDA
          thinking (e.g., the internal Label Review Tool) which states that the indication and use
          statement should include “Information if drug is to be used only in conjunction with
          another therapy.”


          7.1 Methods
          The assessment of the clinical safety of Mifeprex through 70 days gestation is based on
          the Applicant’s submission of numerous articles from the peer-reviewed medical
          literature. The various studies have different designs, inclusion criteria, dosing regimens
          and endpoints for safety and efficacy. For the evaluation of safety, this reviewer
          focused on the studies that evaluated the proposed dosing regimen . All the articles
          used for this review can be found in the extensive list of references in Section 9.6 at the
          end of this review.

          7.1.1 Studies/Clinical Trials Used to Evaluate Safety
          The reviewer evaluated safety based on the studies that focused on the proposed
          dosing regimen, specifically Mifeprex 200 mg followed by misoprostol 800 mcg buccally
          24-48 hours later, as listed in Table 11 below. Supportive data from studies that have
          less specific numerical data or studies that included other regimens, specifically with
          different routes of administration of misoprostol (vaginal, oral, sublingual) are not
          included in this portion of the review, but are discussed in Sections Major Safety Results
          and Supportive Safety Results. Table 11 lists the studies referenced in these
          discussions.

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          Table 11: Studies Used to Evaluate Safety
                                         Study
          USA                               International
                                                      16
                        13                  Ngoc 2014 , Vietnam,
          Gatter 2015 , retrospective
                                            prospective
                                                             20
                        15                  Goldstone 2012 , Australia,
          Ireland 2015 , retrospective
                                            retrospective
                        17                                  22
          Chong 2015 , prospective          Boersma 2011 , Curacao,
          single-arm                        prospective
                             19
          Winikoff 2012 , prospective
                                  36
          Grossman 2011 , prospective
                             23
          Winikoff 2008 , prospective RCT
                         25
          Creinin 2007 , prospective
                                  24
          Middleton 2005 , prospective
          Source: NDA clinical reviewer table.

          7.1.2 Categorization of Adverse Events
          For the purposes of this review, adverse events categorized as serious include death;
          hospitalization; infection, including severe infection requiring hospitalization; bleeding
          requiring transfusion; and ectopic pregnancy. Other non-serious adverse events
          include: nausea, vomiting, diarrhea, fever, bleeding and cramping.

          7.1.3 Pooling of Data Across Studies/Clinical Trials to Estimate and
                Compare Incidence
          The data are not pooled across studies as the study designs are quite different. The
          incidence of individual adverse events is noted for each study, and can be used to
          provide an estimated range.

          7.2 Adequacy of Safety Assessments

          7.2.1 Overall Exposure at Appropriate Doses/Durations and Demographics
                of Target Populations
          Per the Applicant, there have been approximately 2.5 million US uses of Mifeprex by US
          women since its approval in 2000. If evaluation is limited to the studies listed in Table
          11 focusing specifically on the proposed new dosing regimen, exposure for this safety
          analysis is based on well over 30,000 patients. The exact number cannot be determined
          because two retrospective studies (Gatter13 and Ireland15) are likely based on
          overlapping cohorts of patients from Planned Parenthood clinics in Los Angeles. There
          are likely some differences in the demographic data for the different studies; therefore,
          the descriptions are separated into US and international data. However, it is doubtful

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Reference ID: 3909590                              Add. 710
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          that demographic differences such as race or ethnicity are clinically meaningful in
          relation to the safety and efficacy of medical abortion. The data do include adolescents
          exposed to Mifeprex; information on safety in this population is discussed in Section
          7.4.5.

          7.2.2 Explorations for Dose Response
          NA for this review.

          7.2.3 Special Animal and/or In Vitro Testing
          NA for this review.

          7.2.4 Routine Clinical Testing
          From this reviewer’s assessment of the literature, no routine clinical testing is needed to
          evaluate the proposed changes to the Mifeprex labeling.

          7.2.5 Metabolic, Clearance, and Interaction Workup
          NA for this review.

          7.2.6 Evaluation for Potential Adverse Events for Similar Drugs in Drug
                Class
          Please see Important Safety Issues with Consideration to Related Drugs for discussion
          of potential adverse events for drugs in this class.

          7.3 Major Safety Results

          7.3.1 Deaths
          Deaths are rare with medical abortion. Most of the articles provided did not specifically
          report on deaths with medical abortion. Among the seven US studies, only one reported
          on deaths (Grossman, 201136) and noted zero deaths among 578 subjects. Among the
          three international studies, only one20 reported on deaths. In this retrospective review of
          13,345 medical abortions with the proposed regimen, the authors reported only one
          death, yielding a rate of 0.007%. More information on deaths associated with medical
          abortion is found in Section 8 Postmarket Experience.

          7.3.2 Nonfatal Serious Adverse Events
          The nonfatal serious adverse events typically discussed in the literature are
          hospitalization, serious infection, bleeding requiring transfusion and ectopic pregnancy.
          See narratives below and Table 12, Table 13, and Table 14 for details.

          Hospitalization data:
          Most articles do not report hospitalization data. In the US studies, 19 patients were
          reported as being hospitalized out of a total of 16,696 subjects. The overall rates range

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          from 0.003-1.1%. Only three articles separated out hospitalizations by gestational age.
          In Gatter 201513, there were 3/8495 hospitalizations among women ≤ 49 days, 3/3142
          among women at 50-56 days gestation and none among women at 57-63 days. In
          Winikoff 201219, there were only two hospitalizations, both among women at 57-63
          days, and none in the 64-70 days gestation group. In Creinin25 two of six total
          hospitalizations were in the 50-56 days group and two in the 57-63 days group. The
          two remaining hospitalizations in that study were unrelated to study drug and
          gestational age information was not provided for these two cases. There were none
          among women at 64-70 days gestation. See Table 12 below.

          Among the international studies, only 3 of 15,109 women were hospitalized, with rates
          from 0.07-0.6%. These rates were not separated out by gestational age. See Table 12.




                                        APPEARS THIS WAY ON ORIGINAL




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          Table 12: Hospitalizations by Gestational Age
         Study           Design          Subjects    Hospitalizations by gestational age [Total N in subgroup,
                                           (N)                               rate (%)]
                                                     All Gestational ≤ 49 days       50-56       57-63    64-70
                                                          Ages                        days       days     days
                                                      (Overall/not
                                                        specified)
                                                            USA
         Gatter          retrospective    13,373            6‡         N=8945       N=3142      N=1286     N/A
              13
         2015                                            (0.04%)        3/8945       (0.1%)        0
                                                                       (0.03%)
         Chong           prospective       400           2 (0.5%)        NR*           NR         NR       N/A
              17
         2015
         Winikoff        prospective       729          2 (0.27%)          N/A       N/A           N=325       N=
              19
         2012                                                                                         2        304
                                                                                                  (0.61%)^     0%
         Grossman        prospective       578              0             N=283        N=103        N=63       N/A
              36
         2011                                                              0%            0%          0%
         Winikoff        prospective       421          3(0.71%)          N=213         N=93       N= 115      N/A
              23
         2008                                                              NR            NR          NR
         Creinin         prospective       546          6 (1.1%)§         N=229        N=172       N=145       NA
              25
         2007                                                              0%             2           2
                                                                                      (1.16%)§    (1.38%)§
         Middleton       prospective       223             NR               NR          NR           N/A       N/A
              24
         2005
                                                         International
                     16
         Ngoc 2014       prospective        1433          1 (0.07%)           NR          NR            NR       N/A
         Vietnam
         Goldstone       retrospective     13,345            NR           N=11,855     N= 1441         N=49      N/A
               20
         2012                                                                 NR          NR            NR
         Australia
         Boersma         prospective         331       2/331 (0.6%)         N=199       N=105           NR     N=26
               22
         2011                                                                 NR       (50-63 d)                 NR
         Curacao                                                                          NR
           * NR= not reported
           ‡numbers of hospitalizations for Gatter study includes those for bleeding and infection in subsequent
           tables.
           ^ includes woman with sepsis noted in Table 13, and one woman with chronic pancreatitis, recurrent.
           §includes subjects receiving transfusions noted in Table 14.
           Source: NDA clinical reviewer table.


          Serious infection:
          Infections requiring hospitalization or IV antibiotics were rare in the studies. Only three
          US studies captured this information, with rates ranging from 0-0.015%. Two studies
          separated this information out by gestational age. In Gatter 201513, the two serious
          infections were in women ≤ 49 days gestation. There were no serious infections in


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          women at 50-56 or 57-63 days gestation. In Winikoff 201219, there was one serious
          infection in a woman at 57-63 days and none in women at 64-70 days. See Table 13.

          Among the international studies, there were five women hospitalized with rates from
          0.03-0.07%. This information was not broken down by gestational age. See Table 13.

          Table 13: Serious Infection by Gestational Age
         Study              Design          Subjects   Serious Infection by gestational age {Total N in subgroup,
                                              (N)                               rate (%)]
                                                       All Gestational      ≤ 49       50-56      57-63     64-70
                                                        Ages (Overall/      days        days      days      days
                                                        not specified)
                                                             USA
                       13
         Gatter 2015        retrospective    13,373      2 (0.015%)       N= 8945     N= 3142 N=1286         N/A
                                                                              2          0%        0%
                                                                          (0.022%)
         Chong              prospective       400            NR*             NR          NR        NR        N/A
              17
         2015
         Winikoff           prospective       729        1 (0.014%)         N/A        N/A        N=325    N=304
              19
         2012                                                                                        1      0%
                                                                                                 (0.31%)
         Grossman           prospective       578            NR            N=283      N=103       N=63      N/A
              36
         2011                                                               NR         NR           NR
         Winikoff           prospective       421            NR            N=213      N=93        N=115     N/A
              23
         2008                                                               NR         NR           NR
         Creinin            prospective       546             0            N=229      N=172       N=145     N/A
              25
         2007                                                               0%         0%           0%
         Middleton          prospective       223            NR             NR         NR          N/A      N/A
              24
         2005
                                                        International
                     16
         Ngoc 2014      prospective      1433             1 (0.07%)         NR          NR         NR       N/A
         Vietnam
         Goldstone      retrospective  13,345             4 (0.03%)      N=11,855    N=1441       N=49      N/A
              20
         2012                                                              NR          NR          NR
         Australia
         Boersma        prospective       331                NR            N=199      N=105        NR      N=26
              22
         2011                                                               NR       (50-63 d)              NR
         Curacao                                                                        NR
           * NR= not reported
           Source: NDA clinical reviewer table.

          Transfusion data:
          With regard to bleeding requiring transfusion, five of the seven US studies included this
          information as shown in Table 14. The rates of transfusion range from 0.03-0.7%.
          Three of the studies provided a breakdown by gestational age. In Gatter 201513, there
          were the following: one woman in the ≤ 49 days group, three in the 50-56 days and zero
          in the 57-63 days group. In Winikoff 201219, there were: two in the 57-63 days group

                                                                                                              54

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          and 1 in the 64-70 days group. In Creinin 200725, there were two women transfused
          each in the 50-56 days and 57-63 days. Only one international study20 (Goldstone 2012)
          reported on transfusions and 11/13,345 women or 0.08% required transfusion.

          Table 14: Transfusion by Gestational Age
         Study            Design          Subjects   Bleeding Requiring Blood Transfusion by gestational age
                                            (N)                    [Total N in subgroup, rate (%)]
                                                     All Gestational      ≤ 49       50-56      57-63 64-70
                                                          Ages            days       days       days  days
                                                      (Overall/not
                                                        specified)
                                                            USA
         Gatter           retrospective    13,373       4 (0.03%)       N=8945      N=3142     N=1286  N/A
              13
         2015                                                          1 (0.01%) 3 (0.1%)         0
         Chong            prospective       400             NR             NR         NR         NR    N/A
              17
         2015
         Winikoff         prospective       729        3 (0.41%)        N/A        N/A        N=325     N=304
              19
         2012                                                                                    2         1
                                                                                             (0.53%)   (0.29%)
         Grossman         prospective       578        1 (0.17%)       N=283      N=103       N=63       N/A
              36
         2011                                                           NR          NR          NR
         Winikoff         prospective       421           NR           N=213      N=93        N=115     N/A
              23
         2008                                                           NR          NR          NR
         Creinin          prospective       546         4(0.7%)        N=229      N=172       N=145     N/A
              25
         2007                                                            0           2           2
                                                                                 (0.36%)     (0.36%)
         Middleton        prospective       223        1 (0.45%)         NR         NR         N/A      N/A
              24
         2005
                                                      International
                     16
         Ngoc 2014      prospective     1433              NR             NR        NR          NR       N/A
         Vietnam
         Goldstone      retrospective  13,345          11 (0.08%)     N=11,855   N=1441       N=49      N/A
              20
         2012                                                           NR         NR          NR
         Australia
         Boersma        prospective      331              NR           N=199      N=105        NR       N=26
              22
         2011                                                           NR       (50-63 d)               NR
         Curacao                                                                    NR
           *NR= not reported
           Source: NDA clinical reviewer table.


          Ectopic pregnancy:
          Ectopic pregnancies were rarely reported in the supporting literature submitted with this
          efficacy supplement. Only one ectopic pregnancy was reported among 847 patients
          (0.12%) in Winikoff 200823.

          Several studies also included less detailed, though still useful, information on adverse
          events. Ireland et al15 conducted a retrospective review of 30,146 women undergoing

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          medical or surgical abortion at ≤ 63 days gestation at Planned Parenthood clinics in Los
          Angeles between November 1, 2010 and August 31, 2013. The authors reported that 29
          women of 13,221 (0.1%) undergoing medical abortion experienced a major
          complication, which was defined as including: emergency department presentation,
          hospitalization, infection, perforation and hemorrhage requiring transfusion. The article
          did not specify the rate of each event. No deaths or ectopic pregnancies were reported
          in this study. In 2011, Grossman36 reported on a study of medical abortion provided
          through telemedicine, in which 578 women seeking abortion services at Planned
          Parenthood of the Heartland clinics in Iowa were offered in-person services or
          telemedicine services. The serious adverse event outcomes are reported in Table 12,
          Table 13 and Table 14 above, but in addition, he reported on adverse events among all
          medical abortion patients from July 1, 2008 through October 31, 2009 (a wider time
          frame than the study itself). Four of 1,172 telemedicine patients (0.3%) required a blood
          transfusion compared to 0.1% of 2,384 in-person patients. These figures were reported
          in the paper to support study findings of low rates of serious adverse events, including
          transfusion. Pena (2014)44 reported on 1,000 women in Mexico who had a medical
          abortion up to 63 days gestation. Their paper reported that “there were no serious
          complications as defined by any occurrence that was unexpected, serious, and related
          to the induced abortion.” Upadhyay et al55 used 2009 through 2010 patient-level billing
          data from Medi-Cal, California’s state Medicaid program, to evaluate the incidence of
          complications after abortion, including medical abortion. Major complications were
          defined as those which required hospitalization, surgery or blood transfusion. There
          were 11,319 medical abortions, with 35 women (0.31%) having a major complication.

          Winikoff (2012)19 provides data on other serious adverse events through 70 days.
          Regarding hospitalization, there were zero hospitalizations among 350 women receiving
          medical abortion at 64-70 days compared with 2/379 women at 57-63 days (0.5% rate).
          There were no serious infections in the 64-70 day group, compared with 1/379 (0.3%
          rate) in the 57-63 day group. There was one transfusion (1/350=0.3% rate) in the 64-70
          day group, compared with 2/379 (0.5% rate) in the 57-63 day group.

          Reviewer comments:
                                                                                                     (b) (4)

                                                          . Serious adverse events including
          death, hospitalization, serious infection, bleeding requiring transfusion and
          ectopic pregnancy with the proposed regimen are rarely reported in the literature.
          The rates, when noted are exceedingly rare, with rates generally far below 1.0%
          for any individual adverse event. This indicates that medical abortion with the
          proposed regimen up through 63 days is safe.



          55
            Upadhyay UD, Desai S, Lidar V, Waits TA, Grossman D, Anderson P, Taylor D. Incidence of
          emergency department visits and complications after abortion. Obstet Gynecol 2015;125(1):175-183.



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          Serious fatal or nonfatal adverse events in the 64-70 days gestation group, were
          evaluated in one US study (Winikoff 2012)19. This study with 379 women in the
          64-70 day range is reassuring in that the rates of hospitalization, serious infection
          and transfusion are no higher than in the lower gestational age ranges. Based on
          the available safety data on medical abortion in totality, it appears that serious
          fatal or nonfatal adverse events are very rare through 70 days as well. This
          regimen should be approved for use through 70 days gestation.

          Reviewer's Final Recommendation:
          The regimen of mifepristone 200 mg followed by misoprostol 800 mcg buccally in
          24-48 hours is safe to approve for use through 70 days gestation.

          7.3.3 Dropouts and/or Discontinuations
          The studies included in this safety review revealed a wide range of loss to follow-up,
          from 0.6% loss to follow-up in the study with telephone follow-up (Ngoc 201416) to 22%
          in the Grossman36 study using telemedicine to deliver medical abortion services. One
          study noted no differences in demographics between the subjects on whom follow-up
          was available, compared with those on whom no follow-up information was available.
          Only two studies evaluated other subgroups of women lost to follow-up. Gatter et al
          201513 found a higher odds of loss to follow-up with age <18 and with income at or
          below the federal poverty level. Additionally they noted increased odds of loss to follow-
          up with increasing gestational age. As compared with women 43-49 days gestation, the
          Odds Ratio (OR) for loss to follow-up at 50-56 days was 1.17 (95% CI 1.05-1.31) and at
          57-63 days was 1.28 (95% CI 1.10-1.48). The Boersma study22 had a 7% loss to follow-
          up rate. The rate of loss to follow-up was 6.5% at ≤ 49 days, 7.6% at 50-63 days and
          7.7% at 64-70 days. No tests for significance were applied to these numbers. Only one
          study reported on withdrawals: Winikoff 201219 reported that 0.27% of patients withdrew
          and noted this was similar to rates previously reported in the literature.

          Reviewer comment:
          There is a wide range of loss to follow-up in the studies submitted with the
          efficacy supplement. The loss to follow-up rate cannot be reliably linked to
          method of follow-up, though it is notable that the lowest rate of loss-to-follow-up
          occurred in the Ngoc trial with telephone follow-up (0.6%) and the highest with
          abortion services provided via telemedicine (22%). The range of loss to follow-up
          is well-within the range documented in literature covering real-world abortion
          practice.1

          7.4 Significant Adverse Events
          The label for misoprostol currently includes a boxed warning against the use past 8
          weeks gestation, due to the risk of uterine rupture. The    (b) (6) safety reviewer and




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                conducted separate literature searches on this topic. Chen et al 200856 evaluated
               (b) (6)

          488 women with a mean gestational age of 7.8 weeks who received 800 mcg
          misoprostol as part of a randomized study of misoprostol vs. curettage for early
          pregnancy failure. They found that 78 (16%) of women in the misoprostol group had
          previous uterine surgery (>1 C-section or myomectomy). There were no uterine ruptures
          in that study. Gautam et al57 reported in 2003 on 66 women up to 60 days’ gestation
          and with previous Caesarean section scar, who received misoprostol 800 mcg for
          termination and found no uterine ruptures. The literature search also revealed five case
          reports of uterine rupture.58, 59, 60 , 61, 62 Of these five cases, three occurred with
          combined mifepristone/misoprostol dosing. Four women had uterine scars, most
          commonly from at least one prior cesarean section, and one of them had had a prior
          uterine rupture in labor. Only one woman had no prior uterine scar (Willmott). In these
          case reports and studies, women received varying doses of misoprostol ranging from
          400 mcg to 600 mcg to 800 mcg, and in two, the women received multiple doses of
          misoprostol (4 and 5 doses in the Wilmot and Bika reports respectively). The women
          required surgery to repair the uterus or hysterectomy and transfusion. See Table 15.




                                             APPEARS THIS WAY ON ORIGINAL




          56 Chen BA, Reeves MF, Creinin MD, Gilles JM, Barnhart K, Westhoff C, Zhang J. National Institute of
          Child Health and Human Development Management of Early Pregnancy Failure Trial. Am J Obstet
          Gynecol 2008;198(6):626. d1-5 doi: 10.1016/j.ajog.2007.11.045. Epub Feb 15, 2008.
          57
             Gautam R, Agrawal V. Early medical termination pregnancy with methotrexate and misoprostol in lower
          segment cesarean section cases. J Obstet Gynaecol Res 2003; 29(4):251-256.
          58
           Khan S, et al. Uterine rupture at 8 weeks' gestation following 600 μg of oral misoprostol for
          management of delayed miscarriage. J Obstet Gynaecol 2007;27(8):869-870.
          59
           Kim JO, et al. Oral misoprostol and uterine rupture in the first trimester of pregnancy: A case report.
          Reproductive Toxicology 2005;20:575–577.
          60
            Jwarah E, Greenhalf JO. Rupture of the uterus after 800 micrograms misoprostol given vaginally for
          termination of pregnancy. BJOG 2000;107:807.
          61
            Bika O, Huned D, Jha S, Selby K. Uterine rupture following termination of pregnancy in a scarred uterus
          J Obstet Gynaecol 2014;34(2):198-9. doi: 10.3109/01443615.2013.841132.
          62
            Willmott F, et al. Rupture of uterus in the first trimester during medical termination of pregnancy for
          exomphalos using mifepristone/misoprostol. BJOG 2008;115:1575-1577.



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          Table 15: Uterine Rupture with Misoprostol Case Reports
          Study                  GA        Mifepristone      Dose of          Number of     Risk Factor for
                                 (weeks)   used?             Misoprostol      doses of      Rupture
                                                                              misoprostol
                      58
          Khan                   8         Yes; dose not     600 mcg          1             1 prior C-
                                           specified                                        section,
                                                                                            1 prior uterine
                                                                                            rupture at 32
                                                                                            weeks
                59
          Kim                    8         No                400 mcg          1             1 prior C-section
                           60
          Jwarah                 8 2/7     No                800 mcg          1             1 prior C-section
                 61
          Bika                   10 2/7    Yes; 200 mg       800 mcg x 2      4             2 prior C-
                                                             doses then 400                 sections
                                                             mcg x 2 doses
                            62
          Willmott     12 3/7       Yes; 200 mg              400 mcg          5             none
          Source: NDA clinical reviewer table.


                also conducted a review of FAERS cases from January 1,1965 through October
            (b) (6)

          15, 2015 for reports of uterine rupture with mifepristone alone, misoprostol alone, or a
          combined regimen, with special interest in cases occurring in women ≤ 10 weeks
          pregnant (≤ 70 days). The FAERS search retrieved 80 cases of uterine rupture, with 77
          citing misoprostol use alone and 3 citing both mifepristone and misoprostol use. No
          cases of uterine rupture were reported with mifepristone use alone. Vaginal
          administration of misoprostol was documented in the majority of the cases. The majority
          of the FAERS cases either occurred in the 3rd trimester of pregnancy, or did not report
          gestational age. In the cases where the gestational age was not reported, it is likely that
          most of these cases occurred during the 2nd or 3rd trimester, as many noted the
          induction of labor as the reason for misoprostol use. The majority of cases also noted at
          least one additional potential risk factor, with a history of at least one previous c-section,
          or the use of additional uterotonic drugs (e.g., oxytocin or dinoprostone) being the most
          commonly reported. The use of misoprostol during the 3rd trimester for the induction of
          labor, cervical ripening, or both, in women that had at least one previous c-section, was
          also documented in many cases.

          There were only two cases (2.5% of all reports) that reported uterine rupture within the
          first 10 weeks of pregnancy. In both cases, misoprostol alone was utilized for
          termination of pregnancy. The first case provided minimal information other than
          documentation of a 5 week gestation, and an ultrasound noting “an important uterine
          separation” during an unspecified time after misoprostol (route not specified)
          administration. The remaining case was also a published case report in which uterine
          rupture was documented as occurring approximately 2.5 hours after 800 mcg of
          misoprostol was administered vaginally for cervical preparation prior to surgical
          termination of pregnancy. The patient was 8 weeks and 2 days pregnant, had a history
          of a prior c-section, and was of advanced maternal age. (b) (6) concluded that uterine

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          rupture associated with the use of mifepristone alone, misoprostol alone, or both, is
          likely a rare event in the 1st trimester.

          Reviewer comment:
          Based on the scarcity of reported cases in the first trimester of pregnancy,
          uterine rupture associated with early medical abortion using mifepristone with or
          without misoprostol is likely rare. There are a three reports of uterine rupture
          with mifepristone and misoprostol in the first trimester, most of which occurred
          in women with prior uterine surgery (e.g., a cesarean section).

          7.4.1 Submission-Specific Primary Safety Concerns
          Summary of requested dosing changes in the NDA Supplement that could affect
          safety:
          1. Proposing a new dosing regimen that uses mifepristone 200 mg oral and the
             buccal administration of 800 mcg misoprostol at 24-48 hours after Mifeprex
             and increasing the gestational age from 49 days to 70 days

               The Applicant submitted several articles in support of the proposed dosing regimen
               as well as increasing the gestational age through 70 days using the proposed
               regimen, including the 24-48 hour interval. See Section 7.3 Major Safety Results for
               fatal and nonfatal serious adverse events reported with the proposed regimen and
               gestational age. The data submitted show these events to be exceedingly rare,
               indicating that the new dosing regimen and increasing the gestational age to 70 days
               is safe. Please see Section 7.3 Major Safety Results on Nonfatal Serious Adverse
               Events for a review of this information.

               In further support of changing the dosing interval for misoprostol to 24-48 hours after
               mifepristone is taken, the Applicant also provided a systematic review by Shaw et
               al.63 In this study the authors searched Medline, ClinicalTrials.gov, Popline and the
               Cochrane Controlled Trials Register and included 20 randomized controlled trials
               and 9 observational studies. The majority of the studies used the proposed 200 mg
               dose of mifepristone, but three RCTs and two observational studies used 600 mg of
               mifepristone. The doses and route of misoprostol administration varied, including
               doses of 400 mcg, 600 mcg, and 800 mcg, some with repeat doses, and included
               vaginal, buccal, oral and sublingual routes. There was wide variation in time to
               administration of the misoprostol, ranging from <24 hours, 24-48 hours, 36-48 hours.
               Adverse events were not reported consistently. There was no statistically significant
               difference in nausea, vomiting or diarrhea.




          63
            Shaw KA, Topp NJ, Shaw JG, Blumenthal PB. Mifepristone-misoprostol dosing interval and effect on
          induction abortion times. Obstet Gynecol 2013;121(6):1335-1347.


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          Reviewer comment:
          Unlike the efficacy data, which is based on studies that look specifically at
          individual changes proposed by the Applicant, the adverse event data typically
          come from studies or reviews that include multiple changes (e.g., dose of each
          drug, dosing interval, gestational age) simultaneously. Therefore, it is not
          possible to provide safety data specific to each individual change.
          The changing of the dosing interval to 24-48 hours does not appear to increase
          the risk of serious fatal or nonfatal adverse events or to increase the risk of
          common adverse events associated with medical abortion.

          Reviewer’s Final Recommendation:
          Based on the available evidence, changing the dosing interval between
          mifepristone and misoprostol to 24-48 hours is safe to approve, including for use
          in gestations up through 70 days.

       2. Home administration of misoprostol
               Currently, the Dosage and Administration section of labeling for Mifeprex requires
               that patients return to the healthcare provider on Day 3 (two days after ingesting
               Mifeprex) for misoprostol. The Applicant proposes that the label be changed to allow
               for home administration of the misoprostol. The Applicant reasons that all published
               US trials after the initial trial by Spitz et al26, as well as numerous international trials,
               included distribution of misoprostol for self-administration at home with evidence of
               safe and effective medical abortion. The Applicant also emphasizes that women
               usually start having bleeding within two hours of administration of the misoprostol
               and home administration gives the opportunity for more privacy in the process.

               The Applicant submitted many articles to support this change. See Table 8 for US
               and foreign studies that enrolled over 30,000 women who administered misoprostol
               at home. None of the studies directly compare home versus clinic/office
               administration of misoprostol. Most of the studies include protocols where all of the
               subjects take misoprostol at home. Gatter13 and Ireland15 reported separately on
               large numbers of clients of Planned Parenthood Los Angeles (13,373 and 13,221
               clients respectively, though likely with some overlap, in 2010-2011), while Winikoff
               (201219 and 200823), Grossman36, Creinin25 and Middleton 24 reported on smaller
               numbers of US subjects. Internationally, Goldstone20 reported on 13,345 medical
               abortions, while Kopp Kallner64, Løkeland65, Chong (2012)40, Bracken49, Pena44,

          64
            Kopp Kallner H, Fiala C, Stephansson O, Gemzell-Danielsson K. Home self-administration of vaginal
          misoprostol for medical abortion at 50-63 days compared with gestation of below 50 days. Human Reprod
          2010;25(5):1153-1157.
          65
            Løkeland M, Iversen OE, Engeland A, Økland I. Medical abortion with mifepristone and home
          administration of misoprostol up to 63 days’ gestation. Acta Obstet Gynecol Scand 2014;93:647-653.



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               Ngoc16, Louie14, Sanhueza Smith48, Boersma22 and Lynd66 report on smaller
               numbers of subjects. All of these studies have been reviewed above in Sections
               Deaths, Nonfatal Serious Adverse Events and Common Adverse Events. This
               information shows that home administration of misoprostol, as part of the proposed
               regimen, is associated with exceedingly low rates of serious adverse events, and
               with rates of common adverse events comparable to those in the original studies of
               clinic administration of misoprostol.

               Swica et al50 similarly conducted a non-randomized trial with 301 US women, 139 of
               whom chose home use of mifepristone and misoprostol and 162 of whom chose
               clinic administration of mifepristone followed by home use of misoprostol. The
               majority of women (74%) who chose home use took the mifepristone at the
               appointed 6-48 hour window; for those who took it at a different time than that
               planned with their provider, the median interval was 25 hours. Over 90% of women
               in both groups took the misoprostol at the scheduled time, and none waited past 72
               hours to take the misoprostol. There were no significant differences in the mean
               number of days of work or school missed or dependent care needed. Most women
               made no additional calls (85% for home use group and 90% for office use group) or
               unscheduled visits to the doctor’s office (96% for home use group and 99% for office
               use group).

               The Applicant also submitted a commentary by Gold and Chong67, in which they
               discuss benefits of home administration of Mifeprex and misoprostol. They cite the
               convenience of scheduling for women, the possibility of greater autonomy and
               privacy, the lack of burden on staff, and the safety.

               Reviewer comment:
               Home use of misoprostol has been evaluated as part of the proposed protocol
               in studies including well over 30,000 patients, as well as in dedicated studies
               of home use of mifepristone and misoprostol. The studies demonstrate that
               women take the misoprostol at the recommended time. The safety profile is
               acceptable, with rates of adverse events equal to or lower than those with the
               approved regimen requiring in-office dispensing of misoprostol. The studies,
               including those of home use of mifepristone and misoprostol, show increased
               convenience, autonomy and privacy for the woman, a smaller impact on their
               lifestyles, and no increased burden on the healthcare system. The safety data
               on the home use of misoprostol are adequate to support revision of labeling.



          66
            Lynd K, Blum J, Ngoc NTN, Shochet T, Blumenthal PD, Winikoff B. Simplified medical abortion using a
          semi-quantitative pregnancy test for home-based follow-up. Int J Gynecol Obstet 2013;121:144-148.
          67
           Gold M, Chong E. If we can do it for misoprostol, why not for mifepristone? The case for taking
          mifepristone out of the office in medical abortion. Contraception 2015;92:194-196.


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               Reviewer’s Final Recommendation:
               Based on the available data, home use of misoprostol is safe to approve.

          3. Repeat dose of misoprostol if needed.

          The Applicant reasoned that studies include an option for a repeat dose of misoprostol
          to allow women to avoid a surgical procedure if possible and that this is a safe way to
          treat an incomplete medical abortion. The Applicant submitted two articles on the
          repeat use of misoprostol, one randomized trial and one systematic review, that were
          relevant to this safety review (other articles12, 17, 22 did not present safety data stratified
          by number of misoprostol doses). Only one randomized trial reviewed the safety of
          repeat misoprostol. Coyaji et al68 conducted a randomized controlled trial of 300
          women seeking medical abortion in India. After taking mifepristone, women in one
          group took 400 mcg misoprostol followed by placebo 3 hours later, while women in the
          other group took two doses of 400 mcg misoprostol 3 hours apart. As discussed in the
          efficacy portion of this review, there was no significant difference in the complete
          abortion rate between the groups; however, the repeat misoprostol reduced need for
          surgical intervention. Before discharge home, there was no significant difference in the
          adverse effects observed—similar percentages of women experienced cramping (87%
          in the single dose group, 89% in the repeat dose group), nausea (both groups 1%),
          vomiting (both groups 0%), and diarrhea (0% in the single dose group versus 2% in the
          repeat dose group). More women in the repeat dose arm experienced moderate to
          severe cramping than women in the single dose arm on Day 4 (24% versus 15%,
          p=0.032) and on Day 7 (10% versus 4%, p=0.006).

          Gallo69 performed a systematic review of data relating to the safety and efficacy of more
          than one dose of misoprostol after mifepristone for medical abortion. The search
          yielded three randomized controlled trials that studied medical abortion ≤ 63 days. The
          studies included doses of mifepristone ranging from 200 mg to 600 mg followed by
          misoprostol 6 to 48 hours later, in doses ranging from 400 mcg to 800 mcg via the oral,
          sublingual or vaginal routes. In two trials, all subjects received repeat misoprostol—in
          one, three hours later, while in the other study subjects received misoprostol twice a day
          for days 4-10. In the third trial, subjects only received repeat misoprostol if there was
          still a gestational sac present. The only side effects discussed in the trials were
          diarrhea, which was more common in those groups receiving misoprostol orally than in
          those receiving it exclusively vaginally (26-27% versus 9%). Rash was reported <1%.

          There is a good deal of literature on the use of misoprostol alone for medical abortion
          and in those regimens, doses of up to 800 mcg repeated in three hours have been

          68
           Coyaji K, Krishna U, Ambardekar S, Bracken H, Raote V, Mandlekar A, Winikoff B. Are two doses of
          misoprostol after mifepristone for early abortion better than one? BJOG 2007;114:271-278.
          69
            Gallo MF, Cahill S, Castelman L, Mitchell EMH. A systematic review of more than one dose of
          misoprostol after mifepristone for abortion up to 10 weeks gestation. Contraception 2006;74:36-41.



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          used. In a study by Blum et al70, misoprostol only, given as two doses of 800 mcg three
          hours apart, was compared to mifepristone-misoprostol medical abortion where only
          one dose of 800 mcg misoprostol was administered. The two groups had similar rates
          of nausea, vomiting, fever and chills. Subjects in the repeat misoprostol group had more
          diarrhea than in the mifepristone-misoprostol group (83.9% vs. 61.2%, p<0.001). Please
          see Section 7.4 Significant Adverse Events for additional discussion on safety concerns
          with repeat doses of misoprostol.

          Reviewer comment:
          There are few articles concerning the safety of repeat misoprostol after
          mifepristone administration. Generally, the success of mifepristone-misoprostol
          medical abortion renders the need for a second dose of misoprostol to be
          relatively uncommon. In studies of misoprostol alone given using a single repeat
          dose, there is an increased risk of the common adverse event of diarrhea. There
          have been rare reports of uterine rupture in women with a prior uterine scar who
          receive repeated doses of misoprostol.

          Reviewer’s Final Recommendation:
          Based on the available data, the option for repeat misoprostol in women whose
          pregnancy has been terminated, but who have not completely expelled the
          pregnancy is safe and should be approved. For women whose pregnancy is
          ongoing at follow-up, surgical intervention is recommended, rather than repeated
          misoprostol. The rare reports of uterine rupture in women with a prior uterine
          scar who receive repeated doses of misoprostol is discussed in labeling.

          4. Follow-up timing and method: follow-up is needed, but not necessarily in the
             clinic or licensed healthcare provider’s office at 14 days after mifepristone
             administration

          The Dosage and Administration section of the current approved label for Mifeprex
          stipulates that patients will return for a follow-up visit approximately 14 days after the
          administration of Mifeprex to confirm by clinical examination or ultrasonographic scan
          that a complete termination of pregnancy has occurred. The Applicant acknowledges
          that follow-up is important to diagnose and treat complications, and to ensure complete
          abortion or identify ongoing pregnancies. However, the Applicant proposes to change
          the labeling to state that the provider should perform an assessment at 1-2 weeks, in
          order to broaden the timeframe and method used, to give patients and providers more
          flexibility and reduce loss to follow-up rates. Use of ultrasound, serum and urine
          pregnancy testing (semi-quantitative, and quantitative) and telephone calls have all
          been evaluated in the literature as options for follow-up of patients after medical

          70
             Blum J, Raghavan S, Dabash R, Ngoc NTN, Chelli H, Hajri S, Conkling K, Winikoff B. comparison of
          misoprostol-only and combined mifepristone-misoprostol regimens for home-based early medical abortion
          in Tunisia and Vietnam. Int J Gynecol Obstet 2012;118:166-171.



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          abortion. Grossman and Grindlay71 conducted a systematic review of the literature on
          alternatives to ultrasound for medical abortion follow-up. They identified eight studies,
          but found that outcomes of interest (ongoing pregnancy) were rare with medical
          abortion and not consistently defined across studies. Nonetheless, they found that
          serum hCG, a low sensitivity urine pregnancy test combined with a standardized
          assessment with multiple questions about women’s symptoms, or standardized
          telephone follow-up, perhaps followed by high-sensitivity urine pregnancy test, all had
          sensitivities >90% and negative predictive values (NPVs) >99% and they resulted in a
          proportion of “screen positives (or women who had a self-assessment of ongoing
          pregnancy and had an unscheduled visit) ≤33%.”

          This reviewer analyzed relevant studies that were submitted by the Applicant and
          referenced in the Grossman and Grindlay assessment.71 Perriera et al21 conducted a
          prospective cohort study of 139 US women with ≤63 days gestation undergoing medical
          abortion at one center. Up to three attempts were made to phone subjects 7 days after
          taking mifepristone. The subjects were asked to confirm when they took misoprostol
          and generally to describe their experience. They were then asked a series of five
          standardized questions to assess for expulsion, including:
               1   Did you have cramping and bleeding heavier than a period?
               2   Did you pass clots or tissue?
               3   What was the highest number of pads you soaked per hour?
               4   Do you still feel pregnant now?
               5   Do you think you passed the pregnancy?

          If the clinician or the subject did not think the pregnancy had passed, the subject was
          asked to return to the center for an ultrasound within 7 days. If there was an ongoing
          pregnancy, women were offered additional misoprostol or a D&C. If the clinician and
          subject believed the pregnancy had passed, she was instructed to begin birth control or
          schedule a visit for injectable, implantable or intrauterine contraception. On Day 30, the
          subject was to perform a urine pregnancy test. Follow-up was obtained for 97.1% of
          subjects. Four subjects did not complete follow-up (2.9%)—one was never reached by
          phone, three were and two of them had positive pregnancy tests while one had an
          inconclusive test. These three never returned for an in-person visit and outcomes are
          not available on them. The sensitivity for correctly predicting an expelled pregnancy
          (completed abortion) was 95.9%, specificity was 50%, positive predictive value 97.5%
          and negative predictive value 37.5%. This study suggests that clinicians and subjects
          are almost always correct when they believe a pregnancy has passed. The loss to
          follow-up rate was not higher than for standard medical abortion follow-up.

          Fiala et al72 compared hCG with ultrasound for verification of completed abortion in 217
          women ≤49 days with intrauterine pregnancy in Scotland. Successful expulsions were
          71
             Grossman D, Grindlay K. Alternatives to ultrasound for follow-up after medication abortion: a systematic
          review. Contraception 2011;83:504-510.
          72
             Fiala C, Safar P, Bygdeman M, Gemzell-Danielsson K. Verifying the effectiveness of medical abortion;


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          consistent with a marked decline in hCG values at follow-up. Using 20% of the initial
          value as cut-off at follow-up gave a high sensitivity. It allowed correct diagnosis in
          98.5% of the patients with successful expulsion. When 20% of the initial hCG value
          was used as cut-off, a positive predictive value for successful expulsion was 99.5%. If
          the reduction of the hCG level was less than 80%, the negative predictive value was
          50% and further evaluation was warranted. By contrast, the reliability of ultrasound
          examination in diagnosing successful expulsion was 89.8%.

          Lynd et al66 studied 300 women at ≤ 63 days gestation who underwent medical abortion
          in Vietnam. Women were given mifepristone and sent home with misoprostol and a
          semi-quantitative urine pregnancy test, a urine cup, instructions and a questionnaire.
          They were to take the urine test, record their impression of the results and complete the
          questionnaire on the morning of an in-person follow-up visit 2 weeks after mifepristone
          administration. Fifty-four women (18.5%) still felt pregnant at the follow-up visit, but only
          11 of the semiquantitative urine tests indicated ongoing pregnancies. All 11 correctly
          identified ongoing pregnancies, with 100% sensitivity and 89.7% specificity. Ten of the
          11 women with an ongoing pregnancy understood in-person follow-up was necessary.

          Similarly, Cameron et al73 reported on 1791 women undergoing medical abortion in
          Scotland, 1,726 (96%) of whom chose self-assessment with a low-sensitivity urine
          pregnancy test, instructions on how to interpret it, and signs/symptoms of ongoing
          pregnancy. The rest of the women chose in-clinic follow-up with an ultrasound or a
          phone call. Eight women in the self-assessment group had ongoing pregnancies, but
          only four of them had a positive low-sensitivity pregnancy test at the appointed time—
          within 4 weeks. Of the four who did not follow up in 4 weeks, two had a positive or
          invalid pregnancy test within two weeks after the medical abortion and should have
          presented for care, and two reported their pregnancy test was negative and did not
          present for care. All has successful termination either with repeat medical dosing or
          surgical aspiration. Most women presented within four weeks, but two women presented
          only after two missed menses. The delayed follow-up was not different from that for an
          in-person visit or an ultrasound.

          Reviewer comments:
          While the number of articles is not extensive, they include almost 2,400 subjects.
          The Applicant demonstrates that alternatives to in-clinic follow-up are effective
          and safe, detecting most of the ongoing pregnancies so that women can get
          needed treatment. It appears that, using standardized questionnaires or
          instructions or a telephone call along with a low or high sensitivity pregnancy
          test, ongoing pregnancies can be detected allowing for further treatment. There
          is some loss-to-follow-up, but the rates do not appear to exceed those associated

          ultrasound versus hCG testing. Eur J Obstet Gynecol Reprod Biol 2003;109;190-195.
          73
             Cameron ST, Glasier A, Johnstone A, Dewart H, Campbell A. Can women determine the success of
          early medical termination of pregnancy themselves? Contraception 2015;91:6-11.



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          with a planned in-clinic follow-up. Women should be allowed to have an in-
          person visit if desired, but also allowed the flexibility of other options if desired.
          It is important to note that since 2005, Planned Parenthood Federation of America
          has waived the follow-up visit if it poses undue hardships owing to distances
          from abortion facilities or other reasons, and women manage their follow-up with
          serial hCG testing.74 From the clinical reviewers’ perspective, this is safe and
          acceptable. We further note that the NAF 2015 guidelines (page 23) state the
          following:
             “Success of the medical abortion must be assessed by ultrasonography, hCG
             testing, or by clinical means in the office or by telephone. If the patient has
             failed to follow-up as planned, clinic staff must document attempts to reach the
             patient. All attempts to contact the patient (phone calls and letters) must be
             documented in the patient’s medical record.”

          The ACOG 2014 Practice Bulletin1 on management of early MAB states “Follow-
          up after receiving mifepristone and misoprostol for medical abortion is important,
          although an in-clinic evaluation is not always necessary.” Several options for
          follow up without an office/clinic visit are discussed and no specific method or
          algorithm is definitely recommended (i.e., it is left to the discretion of the provider
          and patient).

          Reviewer’s Final Recommendation:
          Based on the available evidence, flexibility in the timing and method of follow-up
          is safe to approve.

          7.5 Supportive Safety Results

          7.5.1 Common Adverse Events
          According to the currently approved Mifeprex label,75 common adverse events include
          the following:
              Vaginal bleeding up to 16 days, with 8% of women experiencing bleeding up to
                  30 days. 4.8% of women in the original US trials and 4.3% in the original French
                  trials required administration of uterotonic agents to control the bleeding. Only
                  1% of women required intravenous fluids and 1% required curettage. In the
                  original French trials, 5.5% of women had a drop in hemoglobin of more than 2
                  g/dL.
              Abdominal pain in 96% of US women
              Uterine cramping in 83% of French women
              Nausea in 43-61%, vomiting in 18-26%
          74
             Fjerstad M. Figuring out follow-up. Mife Matters. Planned Parenthood Federation of America/Coalition
          of Abortion Providers 2006;13:2–3.
          75
               http://www.accessdata.fda.gov/drugsatfda_docs/label/2000/20687lbl.htm


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                 Diarrhea in 12-20%
                 Headache in 2-31%
                 Dizziness in 1-12%

          A review of the literature submitted in the efficacy supplement, which includes Mifeprex
          at the proposed dose but also includes misoprostol administered buccally, vaginally or
          orally, reveals the following. Table 16 addresses bleeding that did not require
          transfusion (which is covered inTable 14: Transfusion by Gestational Age above), but
          was still significant in terms of requiring another intervention or in terms of a decrease in
          measured hemoglobin. Most of the studies include subjects up to 63 days’ gestation,
          with the exception of Middleton 200524, which includes subject to 56 days, and
          Sanhueza Smith 201548 and Winikoff 201219, which include subjects through 70 days.

          Table 16: Bleeding and Cramping in Literature
          Study              N      Maximal       Route of                  Adverse Event Rate (%)
                                    Gestation    misoprostol
                                     al Age     administration
                                                                 Bleeding        Bleeding       Cramping/pain
                                                                 requiring       with drop in
                                                                 intervention*   hemoglobin
                                                                                 > 2g/dL
          Middleton         216       56 d          buccal            4.2            NR               NR
               24
          2005
          Coyaji                                                                     NR              87-89
               68
          2007
          Løkeland                                                    4.9            NR              96.6
               65
          2014
          Kopp              395       63 d          vaginal           0.5            NR               NR
          Kallner
               64
          2010
                    44
          Pena 2014          971      63 d          Buccal            1.7            NR*              NR
                    16
          Ngoc 2014         1433      63 d          buccal           0.07            NR               NR
                      13
          Gatter 2015      13,373     63 d          buccal            1.8            NR               NR
          Ireland          13,221     63 d.         buccal            1.8            NR               NR
               15
          2015
          Winikoff          729       70 d          buccal            1.1            NR               NR
               19
          2012
          Sanhueza          960       70 d          buccal            1.7            NR               NR
                     48
          Smith 2015
          *Intervention includes aspiration or uterine evacuation, use of uterotonics, intravenous fluids
          *NR=not reported
          Source: NDA clinical reviewer table.

          Reviewer Comments:
          Given that Mifeprex and misoprostol are taken to terminate an intrauterine
          pregnancy, vaginal bleeding and cramping or abdominal pain are an expected

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          and necessary part of the process; therefore, these should only be considered
          adverse events if the amount of bleeding or pain exceeds what would be
          expected for such a process. The rate of bleeding requiring intervention is low
          and ranges from 0.5% to 4.2%, with the rates in the largest studies being around
          1.8%. Two articles parsed the bleeding requiring intervention by gestational age.
          In Sanhueza Smith et al.48 the rate was 1.1% (7/622) among women ≤ 56 days,
          4.2% (8/190) in women 57-63 days and 1.4% (2/148) in women 64-70 days. In
          Gatter 201513, the rate was 0.65-1.43% up to 49 days, 2.04% in women 50-56
          days, and 2.49% in women 57-63 days. These differing numbers from the two
          studies do not reveal a trend toward bleeding requiring intervention with
          increasing gestational age, specifically even through 70 days.
          No articles submitted discussed a drop in hemoglobin of > 2 g/dL, most likely
          because routine laboratory studies are not obtained in medical abortion unless
          anemia or a medical illness is reported or suspected. Also not surprisingly, pain
          and cramping are an expected part of the medical abortion process, so most
          studies do not comment on the percentage of women who experience this.




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          Table 17: Common Adverse Events in Literature
          Study         N      Maximal      Route of                                   Adverse Event Rate (%)
                              GA (days)    Misoprostol

                                                         nausea   vomiting    diarrhea    fever   chill   headache   dizziness   weakness
                                                                                                  s
          Middleton     216      56 d        Buccal        70        37          36        42      NR         44        41          51
               24
          2005
          Blum                               buccal       45.9      37.8        61.2      28.2     30.6                            NR
               70
          2012
          Coyaji                                           1         0-2        NR*        NR      NR                              NR
               68
          2007
          Kopp          395      63 d        vaginal      87.1      57.3        6.3       26.3     NR       4.1         3.6        2-3.1
          Kallner
               64
          2010
          Louie         860      63 d        buccal       38-53    13-25        1-3       15-                                      NR
               14
          2014                                                                            23†
          Pena          971      63 d        buccal        NR        NR         7.8       8.9†      †       NR          NR         14.3
               44
          2014
          Creinin       544      63 d        vaginal       9.4       5.7        4.8       10.3†     †       6.6         6.8        NR
               25
          2007
          Chong         563      63 d        buccal        47        22         NR         33†      †         33        24          42
               40
          2012
          Winikoff      618      70 d        buccal       50.8      40.6        17.6      11.2     23.5     NR          NR         NR
               19
          2012
          Sanhueza      960      70 d        buccal        27        23         44.6       46†      †       14.3        9.7         21
          Smith
               48
          2015
          GA = gestational age; *NR= not reported. † includes fever and chills, which were grouped together
          Source: NDA clinical reviewer table.




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          Reviewer comment:
          The range of reported percentages for each adverse event is wide, with some
          studies reporting virtually no patients experiencing nausea, vomiting or diarrhea,
          while others report at least half of subjects suffering these side effects. Only the
          Winikoff 201219 article parses out these side effects by gestational age (57-63
          days versus 64-70 days). There is no statistically significant difference in the
          rates of any side effect between gestational age group except for vomiting, where
          35.8% of women 57-63 days had vomiting and 45.7% of women 64-70 days did
          (p=0.008). It is hard to determine a value that could be used in labeling based on
          these wide variations, but the adverse events are common, expected and well-
          known with the medical abortion regimen and the ranges should be reported in
          labeling.

          7.5.2 Laboratory Findings
          Mifepristone with misoprostol is a well-established regimen for termination of
          pregnancy. Few laboratory tests are necessary before use of the regimen. Those that
          are commonly performed include confirmation of pregnancy (urine or serum pregnancy
          testing) as well as Rh testing (unless it has been previously documented), such that
          RhD immunoglobulin can be administered as indicated. Pre-medical abortion
          assessment of hemoglobin or hematocrit is indicated when anemia is suspected.
          Routine follow-up laboratory testing is also not indicated unless dictated by the patient’s
          clinical condition, for example, heavy bleeding or signs of infection. Lab results are not
          typically reported in the literature, except for when studies look at decreases in
          hemoglobin related to bleeding.

          7.5.3 Vital Signs
          Vital signs are not typically reported in the literature on medical abortion.

          7.5.4 Electrocardiograms (ECGs)
          Mifepristone used with a prostaglandin analogue has been approved for medical
          termination of pregnancy since 1988 in France and subsequently in many countries
          around the globe. It has been well-established that doing an ECG prior to MAB is not
          standard procedure. It can be done if individual circumstances warrant its use.
          Literature does not typically report on ECGs.

          7.5.5 Special Safety Studies/Clinical Trials
          The pediatric studies are addressed in Section 7.6.3.

          7.5.6 Immunogenicity
          NA to this review

          7.6 Other Safety Explorations
          This section is not relevant to this application.
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          7.6.1 Additional Safety Evaluations

          7.6.2 Human Carcinogenicity
          The Applicant submitted no new data on human carcinogenicity.

          7.6.3 Human Reproduction and Pregnancy Data
          As noted in the efficacy portion of this review, some women who use Mifeprex do have
          ongoing pregnancies. Most of these are treated with an aspiration or a surgical
          evacuation of the uterus; there is little information on outcomes of ongoing pregnancies
          not terminated by another method. At the time of approval of the drug, the Applicant
          agreed to two postmarketing commitments, including one to conduct a surveillance
          study of the outcomes of ongoing pregnancies. On January 11, 2008, the Applicant was
          released from this commitment due to the lack of an adequate number of women
          enrolled. The Applicant explained that the small number was due, in part, to the
          requirement that the patients consent to participation [in the surveillance study] after
          seeking a pregnancy termination.

          A review of all of the articles submitted by the Applicant for outcomes of ongoing
          pregnancies after mifepristone administration yielded minimal information. There is one
          article reporting a case of a fetus with sirenomelia, a cleft palate and lip, micrognathia,
          and hygroma; this infant was born to a woman who had received mifepristone as RU
          486 at 18 weeks and was reported to Roussel-Uclef in France in 1989.76 A prospective
          observational study77 from fifteen French pharmacovigilance centers followed women
          exposed to mifepristone in the first trimester between1997 and 2010. The study
          included pregnant women who sought counseling on mifepristone exposure from a
          pharmacovigilance center or Paris Teratology Information Service (TIS). A total of 105
          pregnancies were exposed to mifepristone in the first trimester; 46 to mifepristone
          alone, and 59 to mifepristone and misoprostol. The mean gestational age at exposure
          was 7.9 weeks; 81% were exposed between weeks 5 and 9 of gestation. About 40% of
          patients received 200 mg of mifepristone while about 50% received 600 mg. Of the
          patients who received both mifepristone and misoprostol, 48 received repeat
          misoprostol with four receiving 1200–2000 mcg of misoprostol, a significantly higher
          dose than recommended. Among all exposed women, there were 94 live births
          (90.4%),10 (9.6%) miscarriages (including one with a major malformation of major
          hydrocephalus associated with adductus thumb and a normal karyotype) and one
          patient had an elective termination of pregnancy for the subsequent diagnosis of trisomy
          21. Eight of the ten miscarriages occurred in the mifepristone-only group; however,
          after potential confounding factors such as maternal age, gestational age at inclusion,

          76
               Pons JC, Papiernik E. Mifepristone teratogenicity. Lancet 1991;338(8778):1332-3.
          77
            Bernard N, Elefant E, Carlier P.Tebacher M, Barjhoux CE, Bos-Thompson MA, Amar E,
          Descotes J, Vial T. Continuation of pregnancy after first-trimester exposure to mifepristone: an
          observational prospective study. BJOG 2013;120:568–575.


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Reference ID: 3909590                                  Add. 732
                  Case: 23-10362        Document: 27 Page: 743 Date Filed: 04/10/2023
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          drug exposure, and mifepristone dose were controlled for by logistic regression, the rate
          of miscarriage did not differ across mifepristone only versus mifepristone-misoprostol
          groups (p= 0.08). Among the live births, the mean gestational age at delivery was 39.5
          weeks and there was no difference in birth weights between groups. The overall rate of
          major congenital malformations among the 95 examinable cases was 4.2% (95% CI
          1.2–10.4%), with two cases among 38 patients exposed to mifepristone alone, and two
          cases among 57 patients exposed to both mifepristone and misoprostol. Three of the
          four major congenital malformations occurred with exposure to 600 mg of mifepristone,
          while one occurred in exposure to 400 mg of mifepristone. The malformations included:
              Claude Bernard–Horner syndrome with stridor
              Hydrocephalus with triventricular dilatation and adductus thumb (miscarriage
                 patient noted above)
              Möbius syndrome
              Retrognathism, slight cleft palate, trismus, swallowing disorder, club foot with four
                 toes, incomplete genital development and mild hypoplasia of the cerebellar
                 vermis

          The authors posit that the cases of major malformations in patients exposed to
          mifepristone alone could be explained by associated medical conditions, for example,
          the case of congenital Claude Bernard Horner syndrome could have been related to
          traumatic vaginal delivery of a high birth weight newborn, a well-recognized cause of
          this syndrome, while the spontaneously aborted hydrocephalic fetus may have been
          caused by streptococcus B chorioamnionitis, which was subsequently confirmed on
          pathological examination, or be an X-linked hydrocephalus. The authors also note that
          the two cases of major malformations in patients exposed to both mifepristone and
          misoprostol were consistent with malformations described after exposure to misoprostol
          alone. The authors concluded that major malformations after first-trimester exposure to
          mifepristone is only slightly higher than the expected 2–3% rate in the general
          population, which was reassuring regarding the risk evaluation for continuation of
          pregnancy after mifepristone exposure.

          There are reports that misoprostol can result in congenital anomalies when used during
          the first trimester, including defects in the frontal or temporal bones, limb abnormalities
          with or without Mobius syndrome.1 The Korlym label notes in Important Safety Issues
          with Consideration to Related Drugs: “In a report of thirteen live births after single dose
          mifepristone exposure, no fetal abnormalities were noted.”

          Reviewer Comment:
          There are anomalies associated with the use of misoprostol in the first trimester.
          The risk of teratogenic effects with a continued pregnancy after a failed
          pregnancy termination with Mifeprex in a regimen with misoprostol is unknown.
          Birth defects have been reported with a continued pregnancy after a failed
          pregnancy termination with Mifeprex in a regimen with misoprostol, but it is not
          clear if this just represents the usual background rate of birth defects.

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          adolescents and 24,006 adult women undergoing medical abortion (regimen
          unspecified). The study population included women ≤ 20 week’s gestation; 84.6% of the
          adolescents were ≤ 12 weeks, while 86.6% of the adults were ≤ 12 weeks. Adolescents
          ranged in age from 13-17, with a mean age of 16.1 years. The study showed that after
          adjustment for parity, previous abortion, marital status, types of residence, duration of
          gestation and year of abortion, in adolescents, the adjusted ORs were significantly
          lower for hemorrhage (0.87, 95% CI 0.77 to 0.99), incomplete abortion (0.69, 95% CI
          0.59 to 0.82) and surgical evacuation (0.78, 95% CI 0.67 to 0.90) compared to adults.
          There was no significant difference in the OR for infection (0.97, 95% CI 0.73 to 1.30).

          Phelps53 had previously conducted a pilot study in 28 adolescents aged 14-17, at ≤ 56
          days gestation, using Mifeprex 200 mg followed 48 hours later by misoprostol 800 mcg
          vaginally. As reported in Section Subpopulations, 100% of study subjects had a
          complete abortion, with five not requiring misoprostol. There were no serious adverse
          events. Subjects noted common expected adverse events including bleeding (100%),
          cramping (95%), nausea (62%), and vomiting (43%).

          It is also important to consider adherence to the proposed regimen (including taking
          misoprostol at a location other than the clinic) and adherence to follow-up among
          adolescents versus adults.

          There are no data specifically comparing adherence to the regimen among adolescents
          <17 with women >17 years old. The Gatter13 study clearly demonstrates the efficacy
          and safety is the same for both age groups, suggesting that there is no clinically
          significant difference in adherence to the regimen between age groups. The
          Goldstone20 article included 8 subjects aged 14 and 931 subjects aged 15-19. The
          efficacy and safety are not separated out by age; however, all subjects did take the
          proposed regimen and overall efficacy and safety is reassuring, indicating that
          adolescents and adults alike likely did adhere to the mifepristone and misoprostol
          regimen in a safe and effective way.

          Regarding adherence to follow-up, four articles included 346 subjects <17 years old.
          Ngoc16 is based in Vietnam and Cameron73 is based in Scotland, while Gatter13 and
          Horning78, are US-based studies.                                              (b) (4), (b) (6)

                                                                        . The difference in the
          follow-up rate for the combined data is 6.5%. The Gatter study accounts for 85% of all
          patients being compared. The difference in follow-up adherence is not clinically relevant
          as there is no difference in efficacy between the two age groups.




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          Table 20: Adherence to Follow-Up Among Adolescents vs. Adults
                                  <17 years old                   ≥17 years old
                                                                                      #
                                               #          Adherenc                 Adheren      Adherence
                                 N          Adherent        e%             N          t            %
           Gatter13             322            251          78.0%       15,517      13,122         84.6%
           Cameron71              5              4          80.0%         607         516          85.0%
           Ngoc16                 1              1         100.0%        1,406       1,345         95.7%
           Horning78             18             16          88.9%         846         648          76.6%
           TOTAL                346            272          78.6%       18,376      15,631         85.1%

          Reviewer Comment:
          Medical abortion in adolescents appears to be at least as safe, if not safer, as in
          adult women. Adolescents appear able to comply with the regimen, including use
          of misoprostol outside of the clinic setting, as well as with alternative follow-up
          methods. These data support the safety of Mifeprex in adolescents and satisfy
          requirements for PREA. No information on safety and efficacy of use in
          premenarchal girls is required, as the medication is not indicated in that subset of
          the pediatric population.

          Reviewer's Final Recommendation:
          The available evidence supports that Mifeprex and the new proposed dosing
          regimen are safe to use in adolescents.

          7.6.5 Overdose, Drug Abuse Potential, Withdrawal and Rebound
          The Applicant submitted no new data on overdose, drug abuse potential withdrawal and
          rebound.

          7.7 Additional Submissions / Issues
          Summary of additional changes in labeling that may affect safety of Mifeprex
          1. Change in labeled time for expulsion from 4-24 hours to 2-24 hours

          The Applicant proposes to change the time to expulsion described in the labeling from
          4-24 hours to 2-24 hours post misoprostol to more accurately reflect the data and real-
          life experiences with the drug. The Applicant reasons that in the large US trial upon

          78
            Horning EL, Chen BA, Meyn LA, Creinin MD. Comparison of medical abortion follow-up with serum
          human chorionic gonadotropin testing and in-office assessment. Contraception 2012;85:402-407.


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Reference ID: 3909590                                Add. 736
                  Case: 23-10362        Document: 27 Page: 747 Date Filed: 04/10/2023
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          which labeling is based (Spitz, 199826), the median time to expulsion was 4 hours.
          Indeed, in that study, women were observed for several hours after misoprostol
          administration, and during the four hours of observation, 49% of the women expelled
          the products of conception, and 60% had by the fifth hour. Several studies are provided
          to corroborate this. Only one uses buccal misoprostol; however, the misoprostol was
          administered within 5 minutes of the Mifeprex, not at the 24-48 hour interval as
          proposed in this supplement. Nonetheless, in this trial, Lohr79 found the median time to
          onset of cramping to be 2 hours (range 10 minutes to 13 hours) and bleeding to be 3
          hours (range 9 minutes to 11 hours). This shorter duration to expulsion is also seen in
          several other pilot studies submitted where subjects took vaginal misoprostol
          immediately or within 6-8 hours of mifepristone. If the focus is shifted to the randomized
          controlled studies that report times to onset of bleeding and cramping and include
          vaginal misoprostol, we find data confirming the timing of expulsion in the 2-24 hour
          window proposed by the Applicant. Creinin25 noted a median time to onset of cramping
          of 1.7 hours and to onset of bleeding of 2 hours after misoprostol (administered 24
          hours after Mifeprex). In a similar study80 comparing misoprostol administered 24 vs. 6-
          8 hours after Mifeprex, the median time to onset of cramping was 1.5 hours and to
          bleeding was 2 hours in women with misoprostol given 24 hours after Mifeprex.

          Reviewer comment:
          The data from vaginal and buccal administration of misoprostol around 24 hours
          after mifepristone support the assertion that bleeding and cramping begin before
          the 4 hour mark that is currently labeled. Therefore the label should be revised to
          make this clearer. Median times seem to be around 1.5 to 2 hours. It is
          reasonable to label the time to expulsion 2-24 hours, but it could be labeled as
          beginning even earlier. A clearer label will help providers better counsel patients
          and patients can better select an appropriate time frame within the 24-48 hour
          window to take their misoprostol and can be prepared when the expulsion starts.

          Reviewer’s Final Recommendation:
          Based on the available evidence, it is acceptable to revise the label so that it
          notes that the time to expulsion after misoprostol dosing is 2-24 hours.

          2. Use of the term “                                       (b) (4)




          The Applicant proposes to use the term “                           (b) (4) in place of all

          other terms in labeling and in the REMS materials, for consistency and               (b) (4)

                                                                               The Applicant

          79
            Lohr PA, Reeves MF, Hayes JL, Harwood B, Creinin MD. Oral mifepristone and buccal misoprostol
          administered simultaneously for abortion: a pilot study. Contraception 2007;76:215-220.
          80
            Creinin MD, Fox MC, Teal S, Chen A, Schaff EA, Meyn LA. MOD Study Trial Group: A randomized
          comparison of misoprostol 6-8 hours versus 24 hours after mifepristone for abortion. Obstet Gynecol
          2004;103:851-859.



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          submitted an article demonstrating that nurse practitioners, certified nurse midwives and
          physician assistants can safely provide aspiration abortion.81 The Division asked the
          Applicant to provide articles specifically addressing the provision of medical abortion
          services by non-physician practitioners, since that is the issue at hand.

          The Applicant provided data on the efficacy of medical abortion provided by non-
          physician healthcare providers, including four studies with 3,200 women in randomized
          controlled clinical trials and 596 women in prospective cohorts. These studies took
          place in varying settings (urban, rural, international, low resource). The efficacy results
          are discussed in Section 6.1.10.

          Regarding the safety of medical abortion provided by non-physician health care
          providers, a systematic review by Renner82 identified five studies with a total of 8,908
          subjects. A RCT in Nepal included 1,104 of those subjects, comparing medical
          abortions by nurses or auxiliary nurse midwives with those offered by physicians.
          Outcome data on 1,077 women showed no serious complications (hemorrhage
          requiring transfusion or condition necessitating hospitalization) and the rate of ongoing
          pregnancy or incomplete abortion did not vary by physician versus midlevel provider.
          Also in Nepal, Puri et al83 described training female community health volunteers to
          provide education, and training auxiliary nurse midwives to provide medical abortion in
          intervention districts, and compared knowledge and medical abortion outcomes with
          those in neighboring districts where there were no interventions. Medical abortions were
          performed on 307 women in the intervention areas and 289 women in the comparison
          areas. There were five incomplete abortions (1.6%) in the intervention areas, treated
          with manual vacuum aspiration by the auxiliary nurse midwives, and 7 (2.4%)
          incomplete abortions in the comparison areas. The difference was not statistically
          significant. Kopp Kallner84 conducted a randomized controlled equivalence trial of 1,068
          women in Sweden who were randomized to receive medical abortion care from two
          nurse midwives experienced in medical terminations and trained in early pregnancy
          ultrasound versus a group of 34 physicians with varying training and experience. The
          trial showed fewer complications for the nurse midwife group, though this was not
          statistically significant (4.1% for nurse midwives, versus 6.1% for doctors, p=0.14).

          81
            Weitz TA, Taylor D, Desai S, Upadhyay UD, Waldman J, Battistelli MF, Drey EA. Safety of aspiration
          abortion performed by nurse practitioners, certified nurse midwives, and physician assistants under a
          California legal waiver. Am J Public Health 2013;103:454-461.
          82
            Renner R-M, Brahmi D, Kapp N. Who can provide effective and safe termination of pregnancy care: a
          systematic review. BJOG 2013;10:23-31.
          83
            Puri M, Tamang A, Shrestha P, Joshi D. The role of auxiliary nurse-midwives and community health
          volunteers in expanding access to medical abortion in rural Nepal. Reproductive Health Matters
          2015;Suppl(44):94-103.
          84
             Kopp Kallner H, Gomperts R, Salomonsson E, Johansson M, Marions L, Gemzell-Danielsson K. The
          efficacy, safety and acceptability of medical termination of pregnancy provided by standard care by
          doctors or by nurse-midwives: a randomized controlled equivalence trial. BJOG 2015;122:510-517.



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                  Case: 23-10362        Document: 27 Page: 749 Date Filed: 04/10/2023
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          There were no serious complications and no blood transfusions in the study. There was
          no difference in unscheduled visits. Nurse midwives did call for more second opinions
          (26%) versus doctors (4%). Olavarrieta85 conducted a randomized controlled non-
          inferiority trial in Mexico City abortion clinics. Eight physicians and seven nurses who
          had not previously independently provided medical abortion care received 1.5 weeks of
          training. A total of 1,088 women were randomized to two groups of providers. Nurses
          were not found to be inferior to physicians in the provision of abortion care. There was
          only one serious adverse event in the physician group, a woman requiring admission
          and surgical aspiration for heavy bleeding. Nurses requested consultation with an
          experienced obstetrician in 9 cases, whereas physicians requested consultation only
          twice.

          Reviewer Comments:
          The Applicant provided data from over 3,200 women in randomized controlled
          trials and data on 596 women in prospective cohorts comparing medical abortion
          care by physicians versus nurses or nurse midwives. The studies were
          conducted in varying settings (international, urban, rural, low-resource) and
          found no differences in efficacy, serious adverse events, ongoing pregnancy or
          incomplete abortion between the groups. Two studies did show that nurses or
          nurse midwives called for more second opinions than physicians, but these
          numbers were a small portion of the total subjects included.

          Midlevel providers in the United States, such as nurse practitioners, nurse
          midwives and physician assistants currently provide family planning services
          and abortion care, including medical abortion care, under the supervision of
          physicians. The data here demonstrate that it would be safe to allow healthcare
          providers who are licensed to prescribe medications and who meet the criteria in
          the REMS to become certified to provide medical abortion care with Mifeprex and
          misoprostol. Midlevel providers are already practicing abortion care under the
          supervision of physicians, and the approved labeling and the REMS Prescriber’s
          Agreement already stipulate that prescribers must be able to refer patients for
          additional care, including surgical management if needed. Therefore, facilities
          that employ midlevel prescribers already have an infrastructure in place for
          consultation and referral.

          Reviewer’s Final Recommendation:
          Based on the available evidence, it is safe for midlevel providers to administer
          medical abortion. The term in the revised Prescriber Agreement Form will be “a
          healthcare provider who prescribes.” Per the review by the                  (b) (6)

                       (    (b) (6) dated March 29, 2016, this term provides an accurate

          85
            Olavarrieta CD, Ganatra B, Sorhaindo A, Karver TS, Seuc A, Villalobos A, Garcia SG, Pérez M,
          Bousieguez M, Sanhueza P. Nurse versus physician-provision of early medical abortion in Mexico: a
          randomized controlled non-inferiority trial. Bull World Health Organ 2015;93:249-258.


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Reference ID: 3909590                               Add. 739
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          representation of the varied practitioners who are prescribers, while at the same
          time using language that is consistent with statute. We concur with the       (b) (6)

          review.

          3. Removal of references to “Under Federal Law” from the Prescriber’s
             Agreement

          The Applicant requests removal of the phrase “under Federal law” from the Prescriber’s
          Agreement portion of the REMS materials. The phrase appears in two places:
              “Under Federal law, Mifeprex must be provided by or under the supervision of a
                licensed physician who meets the following qualifications:
                    o Ability to assess the duration of pregnancy accurately.
                    o Ability to diagnose ectopic pregnancies.
                    o Ability to provide surgical intervention in cases of incomplete abortion or
                       severe bleeding, or have made plans to provide such care through others,
                       and are able to assure patient access to medical facilities equipped to
                       provide blood transfusions and resuscitation, if necessary.”
              “Under Federal law, each patient must be provided with a Medication Guide. You
                must fully explain the procedure to each patient, provide her with a copy of the
                Medication Guide and Patient Agreement, give her an opportunity to read and
                discuss them, obtain her signature on the Patient Agreement, and sign it
                yourself.”

          The Applicant rationalizes that all of the conditions of Mifeprex approval, including the
          REMS, are under Federal law and that the statement is redundant and are no more
          subject to Federal law than the other conditions of approval.

          Reviewer comment:
          A rationale for the original inclusion of the phrase “Under Federal law” cannot be
          discerned from available historical documents, nor is it consistent with REMS
          materials for other products. All the conditions of approval, including the REMS
          materials, are under Federal law; therefore, the phrase is unnecessary and can be
          removed from the Prescriber’s Agreement.

          Reviewer’s Final Recommendation:
          The term “under Federal law” can be removed from the Prescriber’s Agreement.

          4. Addition of misoprostol to the indication statement

          The Indication and Usage section of the currently approved labeling is as follows:

               “Mifeprex is indicated for the medical termination of intrauterine pregnancy through
               49 days' pregnancy. For purposes of this treatment, pregnancy is dated from the
               first day of the last menstrual period in a presumed 28 day cycle with ovulation


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                 the mention of misoprostol enhances the goal of labeling, which is to give
                  healthcare providers information necessary for safe and effective use of
                  Mifeprex.

          Subsequently on February 25, 2016, the Applicant proposed             (b) (4)    (b) (4)

          gestational age through 70 days, based on the literature already submitted.

          Reviewer comment:
          We recommend that the Indication Statement read:
               “Mifeprex is indicated, in a regimen with misoprostol, for the medical
               termination of intrauterine pregnancy through 70 days gestation.”
          The rationale for this is that:
              All supporting data are based on the combined regimen
              Inclusion of misoprostol in the Indication Statement would be consistent
                with the rest of Mifeprex labeling and with current medical practice
              It would be consistent with current FDA thinking (e.g., the internal Label
                Review Tool) which states that the indication and use statement should
                include “Information if drug is to be used only in conjunction with another
                therapy.”

          Reviewer’s Final Recommendation:
          Misoprostol should be included in the Indication Statement for Mifeprex.


          8 Postmarket Experience
          A comprehensive review of the adverse events associated with Mifeprex from
          September 28, 2000 through November 17, 2015, performed by                       (b) (6)

                                ,                                       (b) (6) , yielded the following

          information on reported deaths. Regarding the US cases, there were 17 reported
          deaths. Deaths were associated with sepsis in eight of the 17 (seven cases tested
          positive for Clostridium sordellii, one case tested positive for Clostridium perfringens).
          Seven of the eight fatal sepsis cases reported vaginal misoprostol use; one case
          reported buccal misoprostol use. Seven of the nine remaining U.S. deaths involved two
          cases of ruptured ectopic pregnancy and one case each of the following: substance
          abuse/drug overdose; methadone overdose; suspected homicide; suicide; and a case of
          delayed onset toxic shock-like syndrome. In the eighth case, the cause of death could
          not be established despite performance of an autopsy; tissue samples were negative for
          C. sordellii. The autopsy report on the ninth death became available to the Agency and
          was reviewed on December 2, 2015. It showed the woman died of pulmonary
          emphysema.

          There were 11 additional deaths in women in foreign countries who used mifepristone
          for medical termination of pregnancy. These fatal cases were associated with the

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          following: sepsis (Clostridium sordellii identified in tissue samples) in a foreign clinical
          trial; sepsis (Group A Streptococcus pyogenes); a ruptured gastric ulcer; severe
          hemorrhage; severe hemorrhage and possible sepsis; “multivisceral failure;” thrombotic
          thrombocytopenic purpura leading to intracranial hemorrhage; toxic shock syndrome
          (Clostridium sordellii was identified through uterine biopsy cultures); asthma attack with
          cardiac arrest; respiratory decompensation with secondary pulmonary infection 30 days
          after mifepristone in a patient on the lung transplant list with diabetes, a jejunostomy
          feeding tube, and severe cystic fibrosis; and a case of Clostridium sordellii sepsis (from
          a published literature report).

          Reviewer Comments:
          While an exact rate of death with use of mifepristone cannot be calculated from
          this information, given that there have been over 2.5 million uses of Mifeprex by
          US women since its marketing in 2000, the number of deaths is very low.
          Moreover, half of the deaths were associated with C. sordellii sepsis. Seven out of
          8 of these cases occurred in women who used misoprostol via the vaginal route
          while one used buccal misoprostol. Since at least 2006, PPFA (comprising the
          majority of US medical abortion providers) switched its national guidelines to
          avoid vaginal administration of misoprostol (even though the data did not find a
          causal relationship).23 Although the possibility that Mifeprex might increase the
          likelihood of infection by adversely affecting immune system function has been
          raised, the overall event rate of serious infections does not support this.

          Since 2009, there have been no C. sordellii deaths associated with medical
          abortion in the US. This reviewer finds that the postmarketing data on deaths
          associated with medical abortion demonstrate low numbers and an improved
          safety profile with the buccal route of misoprostol administration as compared
          with the vaginal route.

          The review by (b) (6) (b) (6) also yielded the following
          Table 21 summarizing hospitalizations, blood loss requiring transfusions, and severe
          infections.

          Table 21: US Postmarketing AEs- Mifepristone for Medical Abortion

          Date ranges of reports received       09/28/00†-10/31/12          11/1/12 - 04/30/14‡
          Cases with any adverse event                2740                         504
          Hospitalized, excluding deaths              768                          110
          *Experienced blood loss requiring           416                          66
          transfusions§
          Infections||                              308 (57)                      37 (5)
          (*Severe infections¶)



                                                                                                    83

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          †
             U.S. approval date.
          ‡
             FDA implemented FAERS on September 10, 2012, and migrated all of the data from the previous reporting
          system (AERS) to FAERS. Differences may exist when comparing case counts in AERS and FAERS. FDA
          validated and recoded product information as the AERS reports were migrated to FAERS. As a result of this
          change, it is not recommended to calculate a cumulative number when reviewing the data provided in Table 5.
          *
             The majority of these women are included in the hospitalized category in Table 5.
          §
             As stated in the approved Mifeprex (mifepristone) labeling, bleeding or spotting can be expected for an average of
          9-16 days, and may last for up to 30 days. Excessive vaginal bleeding usually requires treatment by uterotonics,
          vasoconstrictor drugs, curettage, administration of saline infusions, and/or blood transfusions.
          ||
             This category includes endometritis (inflammation resulting from an infection involving the lining of the womb),
          pelvic inflammatory disease (involving the nearby reproductive organs such as the fallopian tubes or ovaries), and
          pelvic infections with sepsis (a serious systemic infection that has spread beyond the reproductive organs). Not
          included are women with reported sexually transmitted infections such as chlamydia and gonorrhea, cystitis, and
          toxic shock syndrome not associated with a pelvic infection.
          ¶
             This subset of infections includes cases that were determined to be severe based on medical review of the available
          case details. Severe infections generally result in death or hospitalization for at least 2-3 days, require intravenous
          antibiotics for at least 24 hours and total antibiotic usage for at least 3 days, or have other physical or clinical
          findings, laboratory data, or surgery that suggest a severe infection.
          Source: Review by                                  (b) (6)                                    (b) (6)   (b) (6)   dated
          08/27/2015.

          The     (b) (6)   review also describes ectopic pregnancies:

          Table 22: US Postmarketing Ectopic Cases- Mifepristone for Medical Abortion
          Date Range of Cumulative                         9/28/2000-10/31/14*               11/1/14-4/30/2015
          Reports
          Ectopic Pregnancies†                                         79                              10
          * U.S. approval date
          † Administration of mifepristone and misoprostol is contraindicated in patients with confirmed or
          suspected ectopic pregnancy (a pregnancy outside the uterus).
          Source:                         (b) (6)                                 (b) (6) (b) (6) Mifepristone U.S.

          Post-marketing Adverse Events 6 month Update Summary through 04/30/2015, dated 08/20/2015.

          Reviewer comment:
          While exact rates cannot be calculated, as these reports are spontaneously
          generated, a few conclusions can be drawn from the information provided:
             Given that there have been over 2.5 million uses of Mifeprex by US women
              since its marketing in 2000, including the use of the proposed dosing regimen
              and extended gestational age at many clinic/office sites, the numbers of
              hospitalizations, severe infections, blood loss requiring transfusion and
              ectopic pregnancy will likely remain acceptably low.
             The numbers of each of these adverse events appears to have remained
              steady over time, with a possible decrease in severe infections.

          A discussion of a          (b) (6)   review of uterine rupture is found in the Section Significant
          Adverse Events.

                                                                                                                                    84

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               identified another safety signal in a review dated January 27, 2016. A FAERS
            (b) (6)

          search retrieved one case of anaphylaxis and six cases of angioedema with
          mifepristone administration. A literature search did not reveal any case reports of either
          adverse event with mifepristone. Six of the seven cases were seen in women using
          mifepristone for termination of pregnancy. Six of the seven cases noted some type of
          medical intervention, such as treatment with an antihistamine, a histamine H2
          antagonist, a corticosteroid, or a combination of the various medications.
          Hospitalization was noted in three of the seven total cases; all three hospitalization
          cases occurred in patients who experienced angioedema.

          In the case of anaphylaxis, it was reported that the patient experienced an anaphylactic
          reaction three hours after mifepristone administration; however, co-administration of
          doxycycline was also documented. Because both mifepristone and doxycycline were
          discontinued simultaneously, the exact cause of the anaphylactic reaction cannot be
          determined.

          Regarding angioedema, five of the six cases noted a time-to-onset within 24 hours of
          mifepristone administration for the termination of pregnancy, with no additional suspect
          medications reported. The remaining case of angioedema with mifepristone reported a
          time-to-onset of approximately one week in a Cushing’s syndrome patient with a
          complex medical history and multiple concomitant medications; however, this case
          noted both a positive dechallenge and rechallenge upon sole re-introduction of
          mifepristone therapy. Evaluation of these FAERS cases provides supportive evidence
          of a drug-event association between angioedema and mifepristone. The (b) (6) reviewer
          recommends the inclusion of anaphylaxis and angioedema within the Mifeprex labeling,
          specifically to the Contraindications and Adverse Reactions Postmarketing Experience
          sections.

          Reviewer Comment:
          There does appear to be an association with angioedema and mifepristone
          administration. The reviewers agree with inclusion of anaphylaxis and
          angioedema in the labeling for Mifeprex and with continued pharmacovigilance
          for anaphylaxis.


          9 Appendices
          9.1 Literature Review/References
          This NDA review obviously involved an extensive review of resources and the peer-
          reviewed medical literature that was pertinent to the requested changes of the
          Applicant. Such sources are noted throughout the review in footnotes. A detailed
          Reference List is found in Appendix 9.6.



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          9.2 Labeling Recommendations
          The package insert (PI) for this product was submitted in the Physician Labeling Rule
          (PLR) format. Although not required for this supplement, Section 8 was revised in
          accord with the Pregnancy and Lactation Labeling Rule (PLLR). Section 17 Patient
          Counseling Information was also revised to be compatible with the new dosing regimen
          and follow-up. Major changes were made that updated the labeling with new safety and
          efficacy information, especially in two areas:
          1) 6.1 Clinical Trials Experience in the section 6 Adverse Reactions
          2) 14 Clinical Studies

          Changes were also made in the patient package insert (PPI) and Medication Guide for
          the product. These format and content updates marked a significant improvement in
          the label. Agreement on the Final Approved label was reached with the Applicant on
          March 29, 2016.

          Reviewer comment:
          The new dosing regimen was based on the extensive number of articles
          submitted by the Applicant from the peer reviewed medical literature. The
          revised label used the new PLR format which is a complete change from the
          previous style. This meant that the newly approved label was extensively
          rewritten and much improved from the old format.

          9.3 Advisory Committee Meeting
          An Advisory Committee met in 1996 to discuss the approval of mifepristone plus
          misoprostol for medical termination of early pregnancy. There has been extensive US
          (15+ years with over 2.5 million uses) and global use (27+ years) of mifepristone and
          misoprostol for the medical termination of early pregnancy. No special external
          consultations were requested by the review Divisions. The FDA determined that the
          efficacy supplement did not raise complex scientific or other issues that would warrant
          holding an advisory committee meeting before approval of the supplement.

            9.4     (b) (6)
                              (                               (b) (6)
                                                                        Meeting
          As noted in Product Regulatory Information, Mifeprex was originally approved under 21
          CFR part 314, subpart H, “Accelerated Approval of New Drugs for Serious or Life-
          Threatening Illnesses” (subpart H). Specifically, in accordance with § 314.520 of subpart
          H, FDA restricted the distribution of Mifeprex and required that Mifeprex be provided by
          or under the supervision of a physician who met certain qualifications. Further,
          practitioners had to complete a Prescriber’s Agreement, provide patients with a
          Medication Guide and have patients sign a Patient Agreement. Mifeprex was included
          on the list of products deemed to have in effect an approved REMS86 under section


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                                                                                                86

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          505-1 of the Federal Food, Drug, and Cosmetic Act with the passage of FDA
          Amendments Act (FDAAA) of 2007. A formal REMS proposal was submitted by Danco
          and approved on June 8, 2011, with the essential elements unchanged. The REMS
          included:
               Medication Guide
               Elements to Assure Safe Use (ETASU):
                    o Prescribed only by certified prescribers (ETASU A; includes a Prescriber’s
                        Agreement)
                    o Dispensed only in certain healthcare settings (ETASU C)
                    o Dispensed with documentation of safe use conditions (ETASU D; includes
                        a Patient Agreement)
               Implementation System
                    o Distributed only by certified distributors
          Following this approval, two REMS assessment reports were completed. The Year 1
          assessment was completed on June 1, 2012 and the Years 2-4 assessment was
          completed on June 2, 2015. Agency review of these reports determined that the REMS
          goals were being met and that no modifications were required to the REMS at that time.

          On July 16, 2015, the Applicant submitted a revised REMS as part of the efficacy
          supplement. The proposed modifications included:
              Prescriber’s Agreement Form
                   o Remove “Under Federal law”
                   o Replace “physician” with “                         (b) (4)




          The Agency determined that broader review of the REMS was warranted concurrently
          with the efficacy supplement because some proposed changes in labeling dovetail with
          proposed changes to the REMS, and the documents should remain consistent with
          each other. Further, extensive review of the postmarketing experience based on the
          literature submitted to support the efficacy supplement, and pharmacovigilance,
          suggested that certain components of the REMS may no longer be necessary to assure
          safe use of Mifeprex.

          In light of the efficacy review, upon assessment of the proposed modifications,          (b) (6)

          concurs with          (b) (6) recommendations that:


                Removal of “under Federal law” from the Prescribers’ Agreement was acceptable
                  (see discussion in Additional Submissions / Issues)
                The term “healthcare providers who prescribe” is preferable to            (b) (4)

                                             (see discussion in Additional Submissions / Issues)

                       and
                  (b) (6)      (b) (6) also proposed the following modifications:


                     Removal of the Medication Guide from the REMS (will remain a part of labeling
                      and must be distributed by the prescriber as required under 21 CFR part 208)
                     Removal of the Patient Agreement form - Documentation of Safe Use (ETASU D)

                                                                                                       87

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                      Revision of the Prescriber’s Agreement form
                      Revision of the REMS goal to reflect above changes

          FDA considered the need for the current adverse event reporting requirements under
          the REMS, which are currently outlined in the Prescriber’s Agreement to include
          “hospitalization, transfusion or other serious event.” FDA has received such reports for
          15 years; the safety profile of Mifeprex is well-characterized, no new safety concerns
          have arisen in recent years, and the known serious risks occur rarely. For this reason,
          the reviewers do not believe ongoing reporting of all of the specified adverse events is
          warranted. The Applicant will still be required by law, as is every NDA holder, to report
          serious, unexpected adverse events as 15-day safety reports, and to submit non-
          expedited individual case safety reports, and periodic adverse drug experience.

                    and
                   (b) (6)       (b) (6) met with the                             (b) (6) ( (b) (6) on January 15,

          2015, to discuss the proposed modifications. The (b) (6) concurred with the removal of
          the term “under Federal law” and with use of the term “healthcare providers who
          prescribe.” The (b) (6) also concurred with the removal of the Medication Guide (MG)
          from the REMS, though the document would remain a part of labeling. FDA has been
          maintaining MGs as labeling but removing them from REMS when, as here, inclusion in
          REMS is not necessary to ensure that the benefits of a drug outweigh the risks, such as
          when the MG is redundant and not providing additional use or information to the patient
          about the risk(s) the REMS is intended to mitigate. This is consistent with ongoing
          efforts to streamline REMS by allowing for updates to the MG without need for a REMS
          modification.            (b) (6) and the  (b) (6) had subsequent interactions and on February 23,

          2016, the     (b) (6) concurred with the decision to remove the Patient Agreement (ETASU
          D) from the REMS. This decision was based on the following rationale:
                      The safety profile of Mifeprex is well-characterized over 15 years of experience,
                       with known risks occurring rarely; the safety profile has not changed over the
                       period of surveillance
               
             Established clinical practice includes patient counseling and documentation of
             Informed Consent, and, more specifically with Mifeprex, includes counseling an
             all options for termination of pregnancy, access to pain management and
APPEARS THIS emergency services if needed. The National Abortion Federation (NAF) provides
  WAY ON     clinical practice guidelinesError! Bookmark not defined. and evidence shows that
  ORIGINAL   practitioners are providing appropriate patient counseling and education; a
             survey published in 2009 demonstrated that 99% of facilities surveyed provided
             pre-abortion counseling with patient education.87 This indicates that the Patient
             Agreement form is duplicative and no longer necessary to ensure that the
             benefits of the drug outweigh the risks.


          87
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                 Medical abortion with Mifeprex is provided by a small group of organizations and
                  their associated providers. Their documents and guidelines cover the safety
                  information that is duplicated in the Patient Agreement.
                 ETASUs A and C remain in place: The Prescriber’s Agreement under ETASU A
                  requires that providers “explain the procedure, follow-up, and risks to each
                  patient and give her an opportunity to discuss them.” The REMS will continue to
                  require that Mifeprex be dispensed to patients only in certain healthcare settings,
                  specifically, clinics, medical offices, and hospitals. This ensures that Mifeprex
                  can only be dispensed under the supervision of a certified prescriber at the time
                  the patient receives treatment with Mifeprex.
                 Labeling mitigates risk: The Medication Guide, which will remain a part of
                  labeling, contains the same risk information covered under the Patient
                  Agreement.




                                        APPEARS THIS WAY ON ORIGINAL




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          9.4 Abbreviations
                                      List of Abbreviations
          Abbreviation        Term
          ACOG                American College of Obstetrics and Gynecology
          APHA                American Public Health Association
          CDER                Center for Drug Evaluable and Research
          CDRH                Center for Devices and Radiological Health
                  (b) (6)                                                     (b) (6)


          FU                  follow up
          GA                  gestational age
          IRB                 Institutional Review Board
          LFU                 lost to follow up
          LMP                 last menstrual period
          MAB                 medical abortion
          MG                  Medication Guide
          Miso                misoprostol
          NA                  not applicable
          NAF                 National Abortion Federation
          NDA                 New drug application
          NR                  not reported
          NSAID               non-steroidal anti-inflammatory drug
          PPFA                Planned Parenthood Federation of America
          PREA                Pediatric Research Equity Act
          REMS                Risk Evaluation and Mitigation Strategies
          ROA                 route of administration
            (b) (6)                                  (b) (6)


          SAB                 surgical abortion
          WHO                 World Health Organization




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          Clinical Review
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          NDA 020687/S-020- Mifeprex

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          Clinical Review
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          NDA 020687/S-020- Mifeprex

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          NDA 020687/S-020- Mifeprex

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          Clinical Review
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          NDA 020687/S-020- Mifeprex

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          NDA 020687/S-020- Mifeprex

                                    2003                       2015
          9.6 Mifepristone                 Estonia                    Canada
              Approvals             2004
              Globally                     Guyana
                                           Moldova
          1988
                                    2005
                  China
                                           Albania
                  France
                                           Hungary
          1991-                            Mongolia
                  UK                       Uzbekistan
          1992                      2006
                  Sweden                   Kazakhstan
          1999                      2007
                  Austria                  Armenia
                  Belgium                  Kyrgyzstan
                  Denmark                  Portugal
                  Finland                  Tajikistan
                  Germany           2008
                  Greece                   Nepal
                  Iceland                  Romania
                  Israel            2009
                  Luxembourg               Cambodia
                  Netherlands              Italy
                  Russia            2010
                  Spain                    Zambia
                  Switzerland       2011
          2000                             Ghana
                  Norway                   Mexico
                  Taiwan                   Mozambique
                  Tunisia           2012
                  US                       Australia
          2001                             Bangladesh
                  New Zealand              Ethiopia
                  South Africa             Kenya
                  Ukraine           2013
          2002                             Azerbaijan
                  Belarus                  Bulgaria
                  Georgia                  Czech Republic
                  India                    Slovenia
                  Latvia                   Uganda
                  Serbia                   Uruguay
                  Vietnam

                                    2014
                                           Thailand

                                                                                   99

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          Clinical Review
                               and
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     electronically and this page is the manifestation of the electronic
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     03/29/2016

                                 (b) (6)


     03/29/2016

                     (b) (6)


     03/29/2016
                                                     (b) (6)
     I concur with                                             conclusions and recommendations for approval of this
     efficacy supplement.




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                   CLINICAL FILING CHECKLIST FOR NDA/BLA or Supplement

              NDA/BLA Number: 020687                   Applicant: Danco Labs             Stamp Date: May 29, 2015
              Drug Name: Mifeprex                      NDA/BLA Type: supplement
              (Mifepristone)                           #020

              On initial overview of the NDA/BLA application for filing:

                                    Content Parameter                             Yes   No    NA         Comment
              FORMAT/ORGANIZATION/LEGIBILITY
              1. Identify the general format that has been used for this          x                 Paper submission.
                 application, e.g. electronic CTD.
              2. On its face, is the clinical section organized in a manner to    x
                 allow substantive review to begin?
              3. Is the clinical section indexed (using a table of contents)      x
                 and paginated in a manner to allow substantive review to
                 begin?
              4. For an electronic submission, is it possible to navigate the                 x
                 application in order to allow a substantive review to begin
                 (e.g., are the bookmarks adequate)?
              5. Are all documents submitted in English or are English            x
                 translations provided when necessary?
              6. Is the clinical section legible so that substantive review can   x
                 begin?
              LABELING
              7. Has the applicant submitted the design of the development        x
                 package and draft labeling in electronic format consistent
                 with current regulation, divisional, and Center policies?
              SUMMARIES
              8. Has the applicant submitted all the required discipline                x           The applicant has not
                 summaries (i.e., Module 2 summaries)?                                              provided module 2
                                                                                                    summaries as this is an
                                                                                                    NDA based on
                                                                                                    published literature.
                                                                                                    The applicant has
                                                                                                    provided a
                                                                                                    justification
                                                                                                    summarizing the
                                                                                                    evidence of safety and
                                                                                                    efficacy for the
                                                                                                    proposed changes.
              9.  Has the applicant submitted the integrated summary of                 x           See comment for 8.
                  safety (ISS)?
              10. Has the applicant submitted the integrated summary of                 x           See comment for 8.
                  efficacy (ISE)?
              11. Has the applicant submitted a benefit-risk analysis for the     x                 Scientific justification-
                  product?                                                                          30 pg document
              12. Indicate if the Application is a 505(b)(1) or a 505(b)(2).      x                 (b) (2)
              505(b)(2) Applications
              13. If appropriate, what is the reference drug?                                 X
              14. Did the applicant provide a scientific bridge demonstrating     x                 The sponsor provides
                  the relationship between the proposed product and the                             a bridge from the
                  referenced product(s)/published literature?                                       approved product to
                                                                                                    the proposed changes,
                                                                                                    with literature based

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                                     Content Parameter                            Yes   No   NA        Comment
                                                                                                  on both the approved
                                                                                                  product and the
                                                                                                  proposed regimen.
              15. Describe the scientific bridge (e.g., BA/BE studies)            x               See #14.
              DOSE
              16. If needed, has the applicant made an appropriate attempt to     x
                  determine the correct dosage and schedule for this product
                  (i.e., appropriately designed dose-ranging studies)?
                  Study Number:
                  Many articles from the published medical literature.
                       Study Title:
                     Sample Size:                           Arms:
                  Location in submission:
              EFFICACY
              17. Do there appear to be the requisite number of adequate and      x               The applicant provides
                  well-controlled studies in the application?                                     54 articles total, with
                                                                                                  32 specifically on
                  Pivotal Study #1                                                                efficacy of the
                                                      Indication:                                 proposed regimen.
                                                                                                  These include
                                                                                                  controlled trials, meta-
                                                                                                  analyses,
                  Pivotal Study #2                                                                observational and
                                                      Indication:                                 retrospective studies.



              18. Do all pivotal efficacy studies appear to be adequate and       x
                  well-controlled within current divisional policies (or to the
                  extent agreed to previously with the applicant by the
                  Division) for approvability of this product based on
                  proposed draft labeling?
              19. Do the endpoints in the pivotal studies conform to previous     x
                  Agency commitments/agreements? Indicate if there were
                  not previous Agency agreements regarding
                  primary/secondary endpoints.
              20. Has the application submitted a rationale for assuming the                 x    The applicant provides
                  applicability of foreign data to U.S. population/practice of                    54 articles total. 46 are
                  medicine in the submission?                                                     studies (trials,
                                                                                                  retrospective,
                                                                                                  observational studies)
                                                                                                  and of these 17 are
                                                                                                  foreign. There are also
                                                                                                  3 metanalyses which
                                                                                                  include foreign
                                                                                                  studies.
              SAFETY
              21. Has the applicant presented the safety data in a manner         x               The applicant provides
                  consistent with Center guidelines and/or in a manner                            21 articles with
                  previously requested by the Division?                                           information on safety,
                                                                                                  specifically on the
                                                                                                  serious adverse events
                                                                                                  of interest
                                                                                                  (hospitalization,

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                  CLINICAL FILING CHECKLIST FOR NDA/BLA or Supplement

                                     Content Parameter                             Yes      No     NA           Comment
                                                                                                           transfusion, infection
                                                                                                           requiring IV
                                                                                                           antibiotics, death).
                                                                                                           There are another 5
                                                                                                           articles with limited
                                                                                                           safety information and
                                                                                                           6 articles with safety
                                                                                                           information, but using
                                                                                                           different dosing
                                                                                                           regimens (e.g. not the
                                                                                                           approved or proposed
                                                                                                           new regimen).
              22. Has the applicant submitted adequate information to assess                       x
                  the arythmogenic potential of the product (e.g., QT interval
                  studies, if needed)?
              23. Has the applicant presented a safety assessment based on all     x
                  current worldwide knowledge regarding this product?
              24. For chronically administered drugs, have an adequate                             x
                  number of patients (based on ICH guidelines for exposure1)
                  been exposed at the dose (or dose range) believed to be
                  efficacious?
              25. For drugs not chronically administered (intermittent or          x
                  short course), have the requisite number of patients been
                  exposed as requested by the Division?
              26. Has the applicant submitted the coding dictionary2 used for                      x       There is no mapping
                  mapping investigator verbatim terms to preferred terms?                                  of investigator terms
                                                                                                           to preferred terms.
                                                                                                           AE’s were variably
                                                                                                           ascertained; 21 studies
                                                                                                           include data on SAE’s
                                                                                                           of interest, 7 have
                                                                                                           limited safety
                                                                                                           information, 6 have
                                                                                                           safety information on
                                                                                                           the approved dosing
                                                                                                           regimen. Some 7
                                                                                                           studies report no
                                                                                                           safety information.
              27. Has the applicant adequately evaluated the safety issues that    x
                  are known to occur with the drugs in the class to which the
                  new drug belongs?
              28. Have narrative summaries been submitted for all deaths and                       x       As of 7/16/15, there is
                  adverse dropouts (and serious adverse events if requested                                one reported death; a
                  by the Division)?                                                                        complete report will
                                                                                                           be forthcoming. This

              1
                For chronically administered drugs, the ICH guidelines recommend 1500 patients overall, 300-600
              patients for six months, and 100 patients for one year. These exposures MUST occur at the dose or dose
              range believed to be efficacious.
              2
                The “coding dictionary” consists of a list of all investigator verbatim terms and the preferred terms to
              which they were mapped. It is most helpful if this comes in as a SAS transport file so that it can be sorted
              as needed; however, if it is submitted as a PDF document, it should be submitted in both directions
              (verbatim -> preferred and preferred -> verbatim).
              File name: 5_Clinical Filing Checklist for NDA_BLA or Supplement 010908
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                                    Content Parameter                            Yes   No   NA        Comment
                                                                                                 is not part of the
                                                                                                 presently submitted
                                                                                                 application.
              OTHER STUDIES
              29. Has the applicant submitted all special studies/data                      x
                  requested by the Division during pre-submission
                  discussions?
              30. For Rx-to-OTC switch and direct-to-OTC applications, are                  x
                  the necessary consumer behavioral studies included (e.g.,
                  label comprehension, self selection and/or actual use)?
              PEDIATRIC USE
              31. Has the applicant submitted the pediatric assessment, or       x               The applicant
                  provided documentation for a waiver and/or deferral?                           requested a partial
                                                                                                 waiver for patients
                                                                                                 <12 and a waiver for
                                                                                                 patients 12-17, based
                                                                                                 on data from one study
                                                                                                 which included 322
                                                                                                 subjects <17 years old.
              ABUSE LIABILITY
              32. If relevant, has the applicant submitted information to                   x
                  assess the abuse liability of the product?
              FOREIGN STUDIES
              33. Has the applicant submitted a rationale for assuming the                  X    29/46 studies are US
                  applicability of foreign data in the submission to the U.S.                    data, 17 are based on
                  population?                                                                    foreign data.
              DATASETS
              34. Has the applicant submitted datasets in a format to allow                 x    NDA relies upon
                  reasonable review of the patient data?                                         published studies;
                                                                                                 datasets were not
                                                                                                 provided.
              35. Has the applicant submitted datasets in the format agreed to              x
                  previously by the Division?
              36. Are all datasets for pivotal efficacy studies available and               x
                  complete for all indications requested?
              37. Are all datasets to support the critical safety analyses                  x
                  available and complete?
              38. For the major derived or composite endpoints, are all of the              x
                  raw data needed to derive these endpoints included?
              CASE REPORT FORMS
              39. Has the applicant submitted all required Case Report Forms                x    NDA relies upon
                  in a legible format (deaths, serious adverse events, and                       published studies;
                  adverse dropouts)?                                                             CRFs were not
                                                                                                 provided.
              40. Has the applicant submitted all additional Case Report                    x
                  Forms (beyond deaths, serious adverse events, and adverse
                  drop-outs) as previously requested by the Division?
              FINANCIAL DISCLOSURE
              41. Has the applicant submitted the required Financial                        X
                  Disclosure information?
              GOOD CLINICAL PRACTICE
              42. Is there a statement of Good Clinical Practice; that all                  x
                  clinical studies were conducted under the supervision of an

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                                   Content Parameter                               Yes   No     NA        Comment
                  IRB and with adequate informed consent procedures?


              IS THE CLINICAL SECTION OF THE APPLICATION FILEABLE? ___yes_____

              If the Application is not fileable from the clinical perspective, state the reasons and provide
              comments to be sent to the Applicant.


              Please identify and list any potential review issues to be forwarded to the Applicant for the 74-
              day letter.
                       There is one review issue which will need to be addressed.
                       The proposed label contains information from the original studies and not from the
                       studies supporting the new dosing regimen and the other proposed changes (e.g.,
                       including healthcare providers prescribing Mifeprex and home use of misoprostol). The
                       Sponsor will need to update the proposed label.

                                                                         (b) (6)
                                                                                                     7/16/15
              Reviewing Medical Officers                                                      Date
                                      (b) (6)
                                                                                                     7/16/15
                                                                                              Date




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     electronically and this page is the manifestation of the electronic
     signature.
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                             Add. 768
                                                                 EX. 31 pg. 01
                                                               MPI App. 616
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                             Add. 769
                                                                 EX. 31 pg. 02
                                                               MPI App. 617
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                             Add. 770
                                                                 EX. 31 pg. 03
                                                               MPI App. 618
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        If the new indication for use introduces unexpected risks


        If a REMS assessment was submitted in the 18 months prior to submission of the
        supplemental application for a new indication for use


        If a REMS assessment has not been submitted in the 18 months prior to submission of the
        supplemental application for a new indication for use:

        If you propose a REMS modification based on a change in the benefit-risk profile or
        because of the new indication of use, submit an adequate rationale to support the
        modification, including




                                   If you are not proposing REMS modifications




                                    Add. 771
                                                                                   EX. 31 pg. 04
                                                                                 MPI App. 619
    Case: 23-10362   Document: 27 Page: 782 Date Filed: 04/10/2023
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                   or




                   or




                   or




                             Add. 772
                                                                 EX. 31 pg. 05
                                                               MPI App. 620
    Case: 23-10362   Document: 27 Page: 783 Date Filed: 04/10/2023
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                             Add. 773
                                                                 EX. 31 pg. 06
                                                               MPI App. 621
    Case: 23-10362   Document: 27 Page: 784 Date Filed: 04/10/2023
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                             Add. 774
                                                                 EX. 31 pg. 07
                                                               MPI App. 622
    Case: 23-10362   Document: 27 Page: 785 Date Filed: 04/10/2023
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                             Add. 775
                                                                 EX. 31 pg. 08
                                                               MPI App. 623
     Case: 23-10362   Document: 27 Page: 786 Date Filed: 04/10/2023
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                   APPLICATION NUMBER:




                             Add. 776
                                                                  EX. 32 pg. 01
                                                                MPI App. 625
     Case: 23-10362   Document: 27 Page: 787 Date Filed: 04/10/2023
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                             Add. 777
                                                                  EX. 32 pg. 02
                                                                MPI App. 626
     Case: 23-10362   Document: 27 Page: 788 Date Filed: 04/10/2023
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                             Add. 778
                                                                  EX. 32 pg. 03
                                                                MPI App. 627
     Case: 23-10362   Document: 27 Page: 789 Date Filed: 04/10/2023
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                             Add. 779
                                                                  EX. 32 pg. 04
                                                                MPI App. 628
     Case: 23-10362   Document: 27 Page: 790 Date Filed: 04/10/2023
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 Comment: On March 10, 2016, a separate CMC supplement was approved that allowed
 the packaging of individual 200 mg tablets of mifepristone; previously packaging
 consisted of three 200 mg tablets per blister pack (a total of 600 mg Mifeprex as
 administered under the originally approved dosing regimen).




                                  Add. 780
                                                                             EX. 32 pg. 05
                                                                          MPI App. 629
     Case: 23-10362   Document: 27 Page: 791 Date Filed: 04/10/2023
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                             Add. 781
                                                                  EX. 32 pg. 06
                                                                MPI App. 630
     Case: 23-10362   Document: 27 Page: 792 Date Filed: 04/10/2023
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       Support for the proposed dose and dosing regimen of 200 mg of Mifeprex orally
       and 800 mcg of misoprostol buccally 24-48 hours after Mifeprex administration:




       Support for extending the gestational age to 70 days:




                                   Add. 782
                                                                                EX. 32 pg. 07
                                                                             MPI App. 631
     Case: 23-10362   Document: 27 Page: 793 Date Filed: 04/10/2023
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       Administration of misoprostol after Mifeprex administration at home:




       Use of a repeat misoprostol dose, if necessary:




                                    Add. 783
                                                                                EX. 32 pg. 08
                                                                              MPI App. 632
     Case: 23-10362   Document: 27 Page: 794 Date Filed: 04/10/2023
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       Requirements regarding follow-up care:




                                  Add. 784
                                                                  EX. 32 pg. 09
                                                                MPI App. 633
     Case: 23-10362   Document: 27 Page: 795 Date Filed: 04/10/2023
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                              Add. 785
                                                                  EX. 32 pg. 010
                                                                MPI App. 634
     Case: 23-10362   Document: 27 Page: 796 Date Filed: 04/10/2023
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  Exposure




  Deaths:




  Nonfatal serious adverse events




                                    Add. 786
                                                                  EX. 32 pg. 011
                                                                MPI App. 635
     Case: 23-10362   Document: 27 Page: 797 Date Filed: 04/10/2023
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  Comment:




  Loss to follow-up:




                              Add. 787
                                                                  EX. 32 pg. 012
                                                                MPI App. 636
     Case: 23-10362   Document: 27 Page: 798 Date Filed: 04/10/2023
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  Comment



  Common adverse events:




                              Add. 788
                                                                  EX. 32 pg. 013
                                                                MPI App. 637
     Case: 23-10362   Document: 27 Page: 799 Date Filed: 04/10/2023
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                              Add. 789
                                                                  EX. 32 pg. 014
                                                                MPI App. 638
     Case: 23-10362   Document: 27 Page: 800 Date Filed: 04/10/2023
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                              Add. 790
                                                                  EX. 32 pg. 015
                                                                MPI App. 639
     Case: 23-10362   Document: 27 Page: 801 Date Filed: 04/10/2023
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       Changing the timing interval between Mifeprex and misoprostol and change in
       the gestational age to 70 days:




       Home administration of misoprostol:




       Use of a repeat dose of misoprostol:




                                   Add. 791
                                                                              EX. 32 pg. 016
                                                                            MPI App. 640
     Case: 23-10362   Document: 27 Page: 802 Date Filed: 04/10/2023
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       Change in the follow-up timeframe and method of follow-up:




       Allowing providers other than physicians to provide Mifeprex




                                   Add. 792
                                                                       EX. 32 pg. 017
                                                                      MPI App. 641
     Case: 23-10362   Document: 27 Page: 803 Date Filed: 04/10/2023
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                              Add. 793
                                                                  EX. 32 pg. 018
                                                                MPI App. 642
     Case: 23-10362   Document: 27 Page: 804 Date Filed: 04/10/2023
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                              Add. 794
                                                                  EX. 32 pg. 019
                                                                MPI App. 643
     Case: 23-10362   Document: 27 Page: 805 Date Filed: 04/10/2023
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                              Add. 795
                                                                  EX. 32 pg. 020
                                                                MPI App. 644
     Case: 23-10362   Document: 27 Page: 806 Date Filed: 04/10/2023
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                              Add. 796
                                                                  EX. 32 pg. 021
                                                                MPI App. 645
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                              Add. 797
                                                                  EX. 32 pg. 022
                                                                MPI App. 646
     Case: 23-10362   Document: 27 Page: 808 Date Filed: 04/10/2023
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                              Add. 798
                                                                  EX. 32 pg. 023
                                                                MPI App. 647
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                              Add. 799
                                                                  EX. 32 pg. 024
                                                                MPI App. 648
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                              Add. 800
                                                                  EX. 32 pg. 025
                                                                MPI App. 649
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                              Add. 801
                                                                  EX. 32 pg. 026
                                                                MPI App. 650
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                              Add. 802
                                                                  EX. 32 pg. 027
                                                                MPI App. 651
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                              Add. 803
                                                                  EX. 32 pg. 028
                                                                MPI App. 652
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                                No. 23-10362

          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT

  ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION OF
 PRO-LIFE OBSTETRICIANS & GYNECOLOGISTS; AMERICAN COLLEGE OF
PEDIATRICIANS; CHRISTIAN MEDICAL & DENTAL ASSOCIATIONS; SHAUN
    JESTER, D.O.; REGINA FROST-CLARK, M.D.; TYLER JOHNSON, D.O.;
                       GEORGE DELGADO, M.D.,
                                       Plaintiffs-Appellees,
                                 v.

U.S. FOOD AND DRUG ADMINISTRATION; ROBERT M. CALIFF, Commissioner
of Food and Drugs; JANET WOODCOOK, M.D., in her official capacity as Principal
      Deputy Commissioner, U.S. Food and Drug Administration; PATRIZIA
CAVAZZONI, M.D., in her official capacity as Director, Center for Drug Evaluation
       and Research, U.S. Food and Drug Administration; UNITED STATES
   DEPARTMENT OF HEALTH AND HUMAN SERVICES; XAVIER BECERRA,
           Secretary, U.S. Department of Health and Human Services,
                                               Defendants-Appellants,

                       DANCO LABORATORIES, L.L.C.,
                                       Intervenor-Appellant.


              ADDENDUM TO EMERGENCY MOTION
                FOR A STAY PENDING APPEAL

                                           BRIAN M. BOYNTON
                                            Principal Deputy Assistant
                                            Attorney General
                                           LEIGHA SIMONTON
                                            United States Attorney
                                           SARAH E. HARRINGTON
                                            Deputy Assistant Attorney
                                            General
                                           MICHAEL S. RAAB
                                           CYNTHIA A. BARMORE
                                            Civil Division, Appellate Staff
                                            U.S. Department of Justice
                                            950 Pennsylvania Ave., NW
                                            Washington, DC 20530
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                             Add. 805
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                             Add. 807
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                              Add. 820
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                              Add. 828
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                                No. 23-10362

          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT

  ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION OF
 PRO-LIFE OBSTETRICIANS & GYNECOLOGISTS; AMERICAN COLLEGE OF
PEDIATRICIANS; CHRISTIAN MEDICAL & DENTAL ASSOCIATIONS; SHAUN
    JESTER, D.O.; REGINA FROST-CLARK, M.D.; TYLER JOHNSON, D.O.;
                       GEORGE DELGADO, M.D.,
                                       Plaintiffs-Appellees,
                                 v.

U.S. FOOD AND DRUG ADMINISTRATION; ROBERT M. CALIFF, Commissioner
of Food and Drugs; JANET WOODCOOK, M.D., in her official capacity as Principal
      Deputy Commissioner, U.S. Food and Drug Administration; PATRIZIA
CAVAZZONI, M.D., in her official capacity as Director, Center for Drug Evaluation
       and Research, U.S. Food and Drug Administration; UNITED STATES
   DEPARTMENT OF HEALTH AND HUMAN SERVICES; XAVIER BECERRA,
           Secretary, U.S. Department of Health and Human Services,
                                               Defendants-Appellants,

                       DANCO LABORATORIES, L.L.C.,
                                       Intervenor-Appellant.


              ADDENDUM TO EMERGENCY MOTION
                FOR A STAY PENDING APPEAL

                                           BRIAN M. BOYNTON
                                            Principal Deputy Assistant
                                            Attorney General
                                           LEIGHA SIMONTON
                                            United States Attorney
                                           SARAH E. HARRINGTON
                                            Deputy Assistant Attorney
                                            General
                                           MICHAEL S. RAAB
                                           CYNTHIA A. BARMORE
                                            Civil Division, Appellate Staff
                                            U.S. Department of Justice
                                            950 Pennsylvania Ave., NW
                                            Washington, DC 20530
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